     Case: 23-30825    Document: 113-1     Page: 1   Date Filed: 01/11/2024




                               No. 23-30825

            IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT


KENTRELL PARKER, on behalf of themselves and all others similarly situated;
 FARRELL SAMPIER, on behalf of themselves and all others similarly situated;
   REGINALD GEORGE; JOHN TONUBBEE, on behalf of themselves and all
   others similarly situated; OTTO BARRERA, on behalf of themselves and all
   others similarly situated; CLYDE CARTER, on behalf of themselves and all
                                     others
similarly situated; EDWARD GIOVANNI, on behalf of themselves and all others
   similarly situated; RICKY D. DAVIS, on behalf of themselves and all others
  similarly situated; LIONEL TOLBERT, on behalf of themselves and all others
    similarly situated; RUFUS WHITE, on behalf of themselves and all others
  similarly situated; SHANNON HURD; ALTON ADAMS; IAN CAZENAVE;
                 EDWARD WASHINGTON; ALTON BATISTE,

                                                          Plaintiffs-Appellees
                                      v.

 TIM HOOPER, Warden, Louisiana State Penitentiary, in His Official Capacity;
   ASHLI OLIVEAUX, Assistant Warden for Health Services, in Her Official
 Capacity; JAMES M. LEBLANC, Secretary Of The Louisiana Department Of
Public Safety And Corrections, in His Official Capacity; RANDY LAVESPERE,
   Medical Doctor; STACYE FALGOUT; PAUL TOCE; BILL HAWKINS;
  CYNTHIA PARK, ACNP; THE LOUISIANA DEPARTMENT OF PUBLIC
                      SAFETY AND CORRECTIONS,

                                                          Defendants-Appellants

               On Appeal from the United States District Court
                    for the Middle District of Louisiana


                RECORD EXCERPTS OF APPELLANTS
Case: 23-30825   Document: 113-1   Page: 2   Date Filed: 01/11/2024




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       Case: 23-30825          Document: 113-1            Page: 3        Date Filed: 01/11/2024




                                   TABLE OF CONTENTS

TAB#                                                                                                   ROA

  1      Docket Sheet ..................................................................................... ROA.1

  2      Notice of Appeal....................................................................... ROA.30669

  3      Opinion entered November 6, 2023 ......................................... ROA.30557

  4      Remedial Order......................................................................... ROA.30661

  5      Judgment ................................................................................... ROA.30666

  6      Ruling Granting Motion for Class Certification ...................... ROA.17733

  7      Opinion entered March 31, 2021 .............................................. ROA.22399

  8      Optional Record Excerpts
Case: 23-30825   Document: 113-1   Page: 4   Date Filed: 01/11/2024




                    TAB 1
             Case: 23-30825          Document: 113-1          Page: 5   Date Filed: 01/11/2024


                                                                              APPEAL,ATTENTION,CLOSED
                                  U.S. District Court
                      Middle District of Louisiana (Baton Rouge)
                 CIVIL DOCKET FOR CASE #: 3:15-cv-00318-SDD-RLB

Lewis et al v. Cain et al                                           Date Filed: 05/20/2015
Assigned to: Chief Judge Shelly D. Dick                             Date Terminated: 11/06/2023
Referred to: Magistrate Judge Richard L. Bourgeois, Jr.             Jury Demand: None
Related Case: 3:22-cv-00573-SDD-RLB                                 Nature of Suit: 555 Prisoner Conditions
Case in other court: 5th Circuit Court of Appeals, 23-30825         Jurisdiction: Federal Question
Cause: 42:1983 Civil Rights Act
Plaintiff
Joseph Lewis, Jr.                                   represented by Jamila Asha Johnson
on behalf of themselves and all others                             The Lawyering Project
similarly situated                                                 3157 Gentilly Blvd., No. 2231
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Case: 23-30825   Document: 113-1   Page: 6   Date Filed: 01/11/2024

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             Case: 23-30825          Document: 113-1   Page: 7      Date Filed: 01/11/2024

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Plaintiff
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on behalf of themselves and all others                         (See above for address)

                                                                                               23-30825.3
             Case: 23-30825   Document: 113-1   Page: 8   Date Filed: 01/11/2024

similarly situated                                   TERMINATED: 12/05/2022
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                                                                                      23-30825.4
Case: 23-30825   Document: 113-1   Page: 9   Date Filed: 01/11/2024


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            Case: 23-30825          Document: 113-1   Page: 10    Date Filed: 01/11/2024

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Plaintiff
Farrell Sampier                                 represented by Jamila Asha Johnson
on behalf of themselves and all others                         (See above for address)
similarly situated                                             TERMINATED: 12/05/2022
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                                                             LEAD ATTORNEY

                                                                                             23-30825.6
Case: 23-30825   Document: 113-1   Page: 11   Date Filed: 01/11/2024

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                                         Amanda Christine Zarrow
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                                         TERMINATED: 08/21/2019
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                                         Brendan R. Schneiderman
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                                         Bruce Warfield Hamilton
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                                         Candice Cheree Sirmon
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                                         Derek Allen Warden
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                                         Elena Malik
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                                                                       23-30825.7
            Case: 23-30825   Document: 113-1   Page: 12    Date Filed: 01/11/2024

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                                                      Lydia Wright
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                                                      Meredith Angelson
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                                                      Miranda Tait
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                                                      Nishi Lal Kumar
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                                                      Nora Ahmed
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                                                      ATTORNEY TO BE NOTICED

                                                      Rebecca Rose Ramaswamy
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                                                      TERMINATED: 12/01/2022
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Samantha Nicole Bosalavage
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Plaintiff
Reginald George                          represented by Jamila Asha Johnson
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                                                        TERMINATED: 12/05/2022
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                                                                                    23-30825.8
Case: 23-30825   Document: 113-1   Page: 13   Date Filed: 01/11/2024

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                                         Ronald Kenneth Lospennato
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                                         Amanda Christine Zarrow
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                                         TERMINATED: 08/21/2019
                                         ATTORNEY TO BE NOTICED

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                                         Bruce Warfield Hamilton
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                                         ATTORNEY TO BE NOTICED

                                         Candice Cheree Sirmon
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                                         Derek Allen Warden
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                                         Elena Malik
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                                                                       23-30825.9
Case: 23-30825   Document: 113-1   Page: 14   Date Filed: 01/11/2024


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                                                                       23-30825.10
            Case: 23-30825          Document: 113-1   Page: 15    Date Filed: 01/11/2024

Plaintiff
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on behalf of themselves and all others                         (See above for address)
similarly situated                                             TERMINATED: 12/05/2022
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                                                             Amanda Christine Zarrow
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                                                             Candice Cheree Sirmon
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                                                             Derek Allen Warden
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                                                             Elena Malik
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                                                             TERMINATED: 07/25/2022
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                                                             Elizabeth Claire O'K Compa
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                                                             Emily Blythe Lubin

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Case: 23-30825   Document: 113-1   Page: 16   Date Filed: 01/11/2024

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                                         Jared Fletcher Davidson
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                                         Justin Paul Harrison
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                                         Lydia Wright
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                                         ATTORNEY TO BE NOTICED

                                         Meredith Angelson
                                         (See above for address)
                                         TERMINATED: 02/03/2020
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                                         Miranda Tait
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                                         TERMINATED: 09/19/2019
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                                         Nishi Lal Kumar
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                                         PRO HAC VICE
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            Case: 23-30825          Document: 113-1   Page: 17    Date Filed: 01/11/2024

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Plaintiff
Otto Barrera                                    represented by Mercedes Hardy Montagnes
on behalf of themselves and all others                         (See above for address)
similarly situated                                             TERMINATED: 03/30/2023
                                                               LEAD ATTORNEY
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                                                             Ronald Kenneth Lospennato
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                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Amanda Christine Zarrow
                                                             (See above for address)
                                                             TERMINATED: 08/21/2019
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                                                             PRO HAC VICE
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                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Candice Cheree Sirmon
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                                                             TERMINATED: 08/24/2016
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                                                             Daniel A, Small
                                                             (See above for address)
                                                             PRO HAC VICE
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                                                             Derek Allen Warden
                                                             (See above for address)
                                                             TERMINATED: 08/09/2017
                                                             ATTORNEY TO BE NOTICED

                                                             Elena Malik
                                                             (See above for address)
                                                             TERMINATED: 07/25/2022
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                                                             Elizabeth Claire O'K Compa
                                                             (See above for address)
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                                                             ATTORNEY TO BE NOTICED


                                                                                           23-30825.13
Case: 23-30825   Document: 113-1   Page: 18   Date Filed: 01/11/2024

                                         Emily Blythe Lubin
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Erica Lauren Navalance
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Jamila Asha Johnson
                                         (See above for address)
                                         TERMINATED: 12/05/2022
                                         ATTORNEY TO BE NOTICED

                                         Jared Fletcher Davidson
                                         (See above for address)
                                         TERMINATED: 09/24/2020
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey B. Dubner
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Justin Paul Harrison
                                         (See above for address)
                                         TERMINATED: 11/07/2016
                                         ATTORNEY TO BE NOTICED

                                         Lydia Wright
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Meredith Angelson
                                         (See above for address)
                                         TERMINATED: 02/03/2020
                                         ATTORNEY TO BE NOTICED

                                         Miranda Tait
                                         (See above for address)
                                         TERMINATED: 09/19/2019
                                         ATTORNEY TO BE NOTICED

                                         Nishi Lal Kumar
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Nora Ahmed
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Rebecca Rose Ramaswamy
                                         (See above for address)


                                                                       23-30825.14
            Case: 23-30825          Document: 113-1   Page: 19    Date Filed: 01/11/2024

                                                             TERMINATED: 12/01/2022
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Samantha Nicole Bosalavage
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Plaintiff
Clyde Carter                                    represented by Mercedes Hardy Montagnes
on behalf of themselves and all others                         (See above for address)
similarly situated                                             TERMINATED: 03/30/2023
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                             Ronald Kenneth Lospennato
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Amanda Christine Zarrow
                                                             (See above for address)
                                                             TERMINATED: 08/21/2019
                                                             ATTORNEY TO BE NOTICED

                                                             Brendan R. Schneiderman
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Bruce Warfield Hamilton
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Candice Cheree Sirmon
                                                             (See above for address)
                                                             TERMINATED: 08/24/2016
                                                             ATTORNEY TO BE NOTICED

                                                             Daniel A, Small
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Derek Allen Warden
                                                             (See above for address)
                                                             TERMINATED: 08/09/2017
                                                             ATTORNEY TO BE NOTICED

                                                             Elena Malik
                                                             (See above for address)
                                                             TERMINATED: 07/25/2022
                                                             ATTORNEY TO BE NOTICED

                                                                                           23-30825.15
Case: 23-30825   Document: 113-1   Page: 20   Date Filed: 01/11/2024


                                         Elizabeth Claire O'K Compa
                                         (See above for address)
                                         TERMINATED: 04/13/2017
                                         ATTORNEY TO BE NOTICED

                                         Emily Blythe Lubin
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Erica Lauren Navalance
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Jamila Asha Johnson
                                         (See above for address)
                                         TERMINATED: 12/05/2022
                                         ATTORNEY TO BE NOTICED

                                         Jared Fletcher Davidson
                                         (See above for address)
                                         TERMINATED: 09/24/2020
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey B. Dubner
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Justin Paul Harrison
                                         (See above for address)
                                         TERMINATED: 11/07/2016
                                         ATTORNEY TO BE NOTICED

                                         Lydia Wright
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Meredith Angelson
                                         (See above for address)
                                         TERMINATED: 02/03/2020
                                         ATTORNEY TO BE NOTICED

                                         Miranda Tait
                                         (See above for address)
                                         TERMINATED: 09/19/2019
                                         ATTORNEY TO BE NOTICED

                                         Nishi Lal Kumar
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Nora Ahmed


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            Case: 23-30825          Document: 113-1   Page: 21    Date Filed: 01/11/2024

                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Rebecca Rose Ramaswamy
                                                             (See above for address)
                                                             TERMINATED: 12/01/2022
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Samantha Nicole Bosalavage
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Plaintiff
Cedric Evans                                    represented by Jamila Asha Johnson
on behalf of themselves and all others                         (See above for address)
similarly situated                                             TERMINATED: 12/05/2022
TERMINATED: 06/21/2016                                         LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                             Mercedes Hardy Montagnes
                                                             (See above for address)
                                                             TERMINATED: 03/30/2023
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Samantha Nicole Bosalavage
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Bruce Warfield Hamilton
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Candice Cheree Sirmon
                                                             (See above for address)
                                                             TERMINATED: 08/24/2016
                                                             ATTORNEY TO BE NOTICED

                                                             Daniel A, Small
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Derek Allen Warden
                                                             (See above for address)
                                                             TERMINATED: 08/09/2017
                                                             ATTORNEY TO BE NOTICED

                                                             Elena Malik
                                                             (See above for address)

                                                                                           23-30825.17
            Case: 23-30825          Document: 113-1   Page: 22    Date Filed: 01/11/2024

                                                             TERMINATED: 07/25/2022
                                                             ATTORNEY TO BE NOTICED

                                                             Elizabeth Claire O'K Compa
                                                             (See above for address)
                                                             TERMINATED: 04/13/2017
                                                             ATTORNEY TO BE NOTICED

                                                             Jared Fletcher Davidson
                                                             (See above for address)
                                                             TERMINATED: 09/24/2020
                                                             ATTORNEY TO BE NOTICED

                                                             Jeffrey B. Dubner
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Justin Paul Harrison
                                                             (See above for address)
                                                             TERMINATED: 11/07/2016
                                                             ATTORNEY TO BE NOTICED

                                                             Meredith Angelson
                                                             (See above for address)
                                                             TERMINATED: 02/03/2020
                                                             ATTORNEY TO BE NOTICED

                                                             Miranda Tait
                                                             (See above for address)
                                                             TERMINATED: 09/19/2019
                                                             ATTORNEY TO BE NOTICED

                                                             Rebecca Rose Ramaswamy
                                                             (See above for address)
                                                             TERMINATED: 12/01/2022
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

Plaintiff
Edward Giovanni                                 represented by Jamila Asha Johnson
on behalf of themselves and all others                         (See above for address)
similarly situated                                             TERMINATED: 12/05/2022
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                             Mercedes Hardy Montagnes
                                                             (See above for address)
                                                             TERMINATED: 03/30/2023
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Ronald Kenneth Lospennato

                                                                                           23-30825.18
Case: 23-30825   Document: 113-1   Page: 23   Date Filed: 01/11/2024

                                         (See above for address)
                                         LEAD ATTORNEY
                                         ATTORNEY TO BE NOTICED

                                         Amanda Christine Zarrow
                                         (See above for address)
                                         TERMINATED: 08/21/2019
                                         ATTORNEY TO BE NOTICED

                                         Brendan R. Schneiderman
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Bruce Warfield Hamilton
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Candice Cheree Sirmon
                                         (See above for address)
                                         TERMINATED: 08/24/2016
                                         ATTORNEY TO BE NOTICED

                                         Daniel A, Small
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Derek Allen Warden
                                         (See above for address)
                                         TERMINATED: 08/09/2017
                                         ATTORNEY TO BE NOTICED

                                         Elena Malik
                                         (See above for address)
                                         TERMINATED: 07/25/2022
                                         ATTORNEY TO BE NOTICED

                                         Elizabeth Claire O'K Compa
                                         (See above for address)
                                         TERMINATED: 04/13/2017
                                         ATTORNEY TO BE NOTICED

                                         Emily Blythe Lubin
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Erica Lauren Navalance
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Jared Fletcher Davidson
                                         (See above for address)


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            Case: 23-30825          Document: 113-1   Page: 24    Date Filed: 01/11/2024

                                                             TERMINATED: 09/24/2020
                                                             ATTORNEY TO BE NOTICED

                                                             Jeffrey B. Dubner
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Justin Paul Harrison
                                                             (See above for address)
                                                             TERMINATED: 11/07/2016
                                                             ATTORNEY TO BE NOTICED

                                                             Lydia Wright
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Meredith Angelson
                                                             (See above for address)
                                                             TERMINATED: 02/03/2020
                                                             ATTORNEY TO BE NOTICED

                                                             Miranda Tait
                                                             (See above for address)
                                                             TERMINATED: 09/19/2019
                                                             ATTORNEY TO BE NOTICED

                                                             Nishi Lal Kumar
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Nora Ahmed
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Rebecca Rose Ramaswamy
                                                             (See above for address)
                                                             TERMINATED: 12/01/2022
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Samantha Nicole Bosalavage
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Plaintiff
Ricky D. Davis                                  represented by Mercedes Hardy Montagnes
on behalf of themselves and all others                         (See above for address)
similarly situated                                             TERMINATED: 03/30/2023
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED


                                                                                           23-30825.20
Case: 23-30825   Document: 113-1   Page: 25   Date Filed: 01/11/2024

                                         Ronald Kenneth Lospennato
                                         (See above for address)
                                         LEAD ATTORNEY
                                         ATTORNEY TO BE NOTICED

                                         Amanda Christine Zarrow
                                         (See above for address)
                                         TERMINATED: 08/21/2019
                                         ATTORNEY TO BE NOTICED

                                         Brendan R. Schneiderman
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Bruce Warfield Hamilton
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Candice Cheree Sirmon
                                         (See above for address)
                                         TERMINATED: 08/24/2016
                                         ATTORNEY TO BE NOTICED

                                         Daniel A, Small
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Derek Allen Warden
                                         (See above for address)
                                         TERMINATED: 08/09/2017
                                         ATTORNEY TO BE NOTICED

                                         Elena Malik
                                         (See above for address)
                                         TERMINATED: 07/25/2022
                                         ATTORNEY TO BE NOTICED

                                         Elizabeth Claire O'K Compa
                                         (See above for address)
                                         TERMINATED: 04/13/2017
                                         ATTORNEY TO BE NOTICED

                                         Emily Blythe Lubin
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Erica Lauren Navalance
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Jamila Asha Johnson


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            Case: 23-30825   Document: 113-1   Page: 26   Date Filed: 01/11/2024

                                                     (See above for address)
                                                     TERMINATED: 12/05/2022
                                                     ATTORNEY TO BE NOTICED

                                                     Jared Fletcher Davidson
                                                     (See above for address)
                                                     TERMINATED: 09/24/2020
                                                     ATTORNEY TO BE NOTICED

                                                     Jeffrey B. Dubner
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Justin Paul Harrison
                                                     (See above for address)
                                                     TERMINATED: 11/07/2016
                                                     ATTORNEY TO BE NOTICED

                                                     Lydia Wright
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Meredith Angelson
                                                     (See above for address)
                                                     TERMINATED: 02/03/2020
                                                     ATTORNEY TO BE NOTICED

                                                     Miranda Tait
                                                     (See above for address)
                                                     TERMINATED: 09/19/2019
                                                     ATTORNEY TO BE NOTICED

                                                     Nishi Lal Kumar
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Nora Ahmed
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Rebecca Rose Ramaswamy
                                                     (See above for address)
                                                     TERMINATED: 12/01/2022
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Samantha Nicole Bosalavage
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Plaintiff

                                                                                   23-30825.22
            Case: 23-30825          Document: 113-1   Page: 27    Date Filed: 01/11/2024

Lionel Tolbert                                  represented by Jamila Asha Johnson
on behalf of themselves and all others                         (See above for address)
similarly situated                                             TERMINATED: 12/05/2022
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                             Mercedes Hardy Montagnes
                                                             (See above for address)
                                                             TERMINATED: 03/30/2023
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Ronald Kenneth Lospennato
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Amanda Christine Zarrow
                                                             (See above for address)
                                                             TERMINATED: 08/21/2019
                                                             ATTORNEY TO BE NOTICED

                                                             Bruce Warfield Hamilton
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Candice Cheree Sirmon
                                                             (See above for address)
                                                             TERMINATED: 08/24/2016
                                                             ATTORNEY TO BE NOTICED

                                                             Daniel A, Small
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Derek Allen Warden
                                                             (See above for address)
                                                             TERMINATED: 08/09/2017
                                                             ATTORNEY TO BE NOTICED

                                                             Elena Malik
                                                             (See above for address)
                                                             TERMINATED: 07/25/2022
                                                             ATTORNEY TO BE NOTICED

                                                             Elizabeth Claire O'K Compa
                                                             (See above for address)
                                                             TERMINATED: 04/13/2017
                                                             ATTORNEY TO BE NOTICED

                                                             Emily Blythe Lubin
                                                             (See above for address)


                                                                                           23-30825.23
Case: 23-30825   Document: 113-1   Page: 28   Date Filed: 01/11/2024

                                         ATTORNEY TO BE NOTICED

                                         Erica Lauren Navalance
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Jared Fletcher Davidson
                                         (See above for address)
                                         TERMINATED: 09/24/2020
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey B. Dubner
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Justin Paul Harrison
                                         (See above for address)
                                         TERMINATED: 11/07/2016
                                         ATTORNEY TO BE NOTICED

                                         Lydia Wright
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Meredith Angelson
                                         (See above for address)
                                         TERMINATED: 02/03/2020
                                         ATTORNEY TO BE NOTICED

                                         Miranda Tait
                                         (See above for address)
                                         TERMINATED: 09/19/2019
                                         ATTORNEY TO BE NOTICED

                                         Nishi Lal Kumar
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Nora Ahmed
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Rebecca Rose Ramaswamy
                                         (See above for address)
                                         TERMINATED: 12/01/2022
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Samantha Nicole Bosalavage
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED


                                                                       23-30825.24
            Case: 23-30825          Document: 113-1   Page: 29    Date Filed: 01/11/2024


Plaintiff
Rufus White                                     represented by Jamila Asha Johnson
on behalf of themselves and all others                         (See above for address)
similarly situated                                             TERMINATED: 12/05/2022
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                             Mercedes Hardy Montagnes
                                                             (See above for address)
                                                             TERMINATED: 03/30/2023
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Ronald Kenneth Lospennato
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Amanda Christine Zarrow
                                                             (See above for address)
                                                             TERMINATED: 08/21/2019
                                                             ATTORNEY TO BE NOTICED

                                                             Bruce Warfield Hamilton
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Candice Cheree Sirmon
                                                             (See above for address)
                                                             TERMINATED: 08/24/2016
                                                             ATTORNEY TO BE NOTICED

                                                             Daniel A, Small
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Derek Allen Warden
                                                             (See above for address)
                                                             TERMINATED: 08/09/2017
                                                             ATTORNEY TO BE NOTICED

                                                             Elena Malik
                                                             (See above for address)
                                                             TERMINATED: 07/25/2022
                                                             ATTORNEY TO BE NOTICED

                                                             Elizabeth Claire O'K Compa
                                                             (See above for address)
                                                             TERMINATED: 04/13/2017
                                                             ATTORNEY TO BE NOTICED



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Case: 23-30825   Document: 113-1   Page: 30   Date Filed: 01/11/2024

                                         Emily Blythe Lubin
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Erica Lauren Navalance
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Jared Fletcher Davidson
                                         (See above for address)
                                         TERMINATED: 09/24/2020
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey B. Dubner
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Justin Paul Harrison
                                         (See above for address)
                                         TERMINATED: 11/07/2016
                                         ATTORNEY TO BE NOTICED

                                         Lydia Wright
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Meredith Angelson
                                         (See above for address)
                                         TERMINATED: 02/03/2020
                                         ATTORNEY TO BE NOTICED

                                         Miranda Tait
                                         (See above for address)
                                         TERMINATED: 09/19/2019
                                         ATTORNEY TO BE NOTICED

                                         Nishi Lal Kumar
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Nora Ahmed
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Rebecca Rose Ramaswamy
                                         (See above for address)
                                         TERMINATED: 12/01/2022
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Samantha Nicole Bosalavage


                                                                       23-30825.26
            Case: 23-30825   Document: 113-1   Page: 31   Date Filed: 01/11/2024

                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Shannon Hurd                             represented by Jamila Asha Johnson
                                                        (See above for address)
                                                        TERMINATED: 12/05/2022
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Mercedes Hardy Montagnes
                                                      (See above for address)
                                                      TERMINATED: 03/30/2023
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Ronald Kenneth Lospennato
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Amanda Christine Zarrow
                                                      (See above for address)
                                                      TERMINATED: 08/21/2019
                                                      ATTORNEY TO BE NOTICED

                                                      Brendan R. Schneiderman
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Bruce Warfield Hamilton
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Candice Cheree Sirmon
                                                      (See above for address)
                                                      TERMINATED: 08/24/2016
                                                      ATTORNEY TO BE NOTICED

                                                      Daniel A, Small
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Derek Allen Warden
                                                      (See above for address)
                                                      TERMINATED: 08/09/2017
                                                      ATTORNEY TO BE NOTICED

                                                      Elena Malik
                                                      (See above for address)
                                                      TERMINATED: 07/25/2022

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Case: 23-30825   Document: 113-1   Page: 32   Date Filed: 01/11/2024

                                         ATTORNEY TO BE NOTICED

                                         Elizabeth Claire O'K Compa
                                         (See above for address)
                                         TERMINATED: 04/13/2017
                                         ATTORNEY TO BE NOTICED

                                         Emily Blythe Lubin
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Erica Lauren Navalance
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Jared Fletcher Davidson
                                         (See above for address)
                                         TERMINATED: 09/24/2020
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey B. Dubner
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Justin Paul Harrison
                                         (See above for address)
                                         TERMINATED: 11/07/2016
                                         ATTORNEY TO BE NOTICED

                                         Lydia Wright
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Meredith Angelson
                                         (See above for address)
                                         TERMINATED: 02/03/2020
                                         ATTORNEY TO BE NOTICED

                                         Miranda Tait
                                         (See above for address)
                                         TERMINATED: 09/19/2019
                                         ATTORNEY TO BE NOTICED

                                         Nishi Lal Kumar
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Nora Ahmed
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED



                                                                       23-30825.28
            Case: 23-30825   Document: 113-1   Page: 33    Date Filed: 01/11/2024

                                                      Rebecca Rose Ramaswamy
                                                      (See above for address)
                                                      TERMINATED: 12/01/2022
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Samantha Nicole Bosalavage
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Alton Adams                              represented by Mercedes Hardy Montagnes
                                                        (See above for address)
                                                        TERMINATED: 03/30/2023
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Ronald Kenneth Lospennato
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Amanda Christine Zarrow
                                                      (See above for address)
                                                      TERMINATED: 08/21/2019
                                                      ATTORNEY TO BE NOTICED

                                                      Brendan R. Schneiderman
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Bruce Warfield Hamilton
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Candice Cheree Sirmon
                                                      (See above for address)
                                                      TERMINATED: 08/24/2016
                                                      ATTORNEY TO BE NOTICED

                                                      Daniel A, Small
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Derek Allen Warden
                                                      (See above for address)
                                                      TERMINATED: 08/09/2017
                                                      ATTORNEY TO BE NOTICED

                                                      Elena Malik
                                                      (See above for address)

                                                                                    23-30825.29
Case: 23-30825   Document: 113-1   Page: 34   Date Filed: 01/11/2024

                                         TERMINATED: 07/25/2022
                                         ATTORNEY TO BE NOTICED

                                         Elizabeth Claire O'K Compa
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                                         TERMINATED: 04/13/2017
                                         ATTORNEY TO BE NOTICED

                                         Emily Blythe Lubin
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Erica Lauren Navalance
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Jamila Asha Johnson
                                         (See above for address)
                                         TERMINATED: 12/05/2022
                                         ATTORNEY TO BE NOTICED

                                         Jared Fletcher Davidson
                                         (See above for address)
                                         TERMINATED: 09/24/2020
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey B. Dubner
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Justin Paul Harrison
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                                         TERMINATED: 11/07/2016
                                         ATTORNEY TO BE NOTICED

                                         Lydia Wright
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Meredith Angelson
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                                         TERMINATED: 02/03/2020
                                         ATTORNEY TO BE NOTICED

                                         Miranda Tait
                                         (See above for address)
                                         TERMINATED: 09/19/2019
                                         ATTORNEY TO BE NOTICED

                                         Nishi Lal Kumar
                                         (See above for address)
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                                                                       23-30825.30
            Case: 23-30825   Document: 113-1   Page: 35    Date Filed: 01/11/2024


                                                      Nora Ahmed
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                                                      PRO HAC VICE
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                                                      Rebecca Rose Ramaswamy
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                                                      TERMINATED: 12/01/2022
                                                      PRO HAC VICE
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                                                      Samantha Nicole Bosalavage
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Plaintiff
Ian Cazenave                             represented by Mercedes Hardy Montagnes
                                                        (See above for address)
                                                        TERMINATED: 03/30/2023
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Ronald Kenneth Lospennato
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                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Amanda Christine Zarrow
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                                                      TERMINATED: 08/21/2019
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                                                      Brendan R. Schneiderman
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                                                      PRO HAC VICE
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                                                      Bruce Warfield Hamilton
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                                                      ATTORNEY TO BE NOTICED

                                                      Candice Cheree Sirmon
                                                      (See above for address)
                                                      TERMINATED: 08/24/2016
                                                      ATTORNEY TO BE NOTICED

                                                      Daniel A, Small
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                                                      PRO HAC VICE
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                                                      Derek Allen Warden

                                                                                    23-30825.31
Case: 23-30825   Document: 113-1   Page: 36   Date Filed: 01/11/2024

                                         (See above for address)
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                                         Elena Malik
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                                         TERMINATED: 07/25/2022
                                         ATTORNEY TO BE NOTICED

                                         Elizabeth Claire O'K Compa
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                                         TERMINATED: 04/13/2017
                                         ATTORNEY TO BE NOTICED

                                         Emily Blythe Lubin
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Erica Lauren Navalance
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Jamila Asha Johnson
                                         (See above for address)
                                         TERMINATED: 12/05/2022
                                         ATTORNEY TO BE NOTICED

                                         Jared Fletcher Davidson
                                         (See above for address)
                                         TERMINATED: 09/24/2020
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey B. Dubner
                                         (See above for address)
                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Justin Paul Harrison
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                                         TERMINATED: 11/07/2016
                                         ATTORNEY TO BE NOTICED

                                         Lydia Wright
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                                         ATTORNEY TO BE NOTICED

                                         Meredith Angelson
                                         (See above for address)
                                         TERMINATED: 02/03/2020
                                         ATTORNEY TO BE NOTICED

                                         Miranda Tait
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                                                                       23-30825.32
            Case: 23-30825   Document: 113-1   Page: 37    Date Filed: 01/11/2024

                                                      TERMINATED: 09/19/2019
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                                                      Nishi Lal Kumar
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                                                      Nora Ahmed
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                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Rebecca Rose Ramaswamy
                                                      (See above for address)
                                                      TERMINATED: 12/01/2022
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Samantha Nicole Bosalavage
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                                                      ATTORNEY TO BE NOTICED

Plaintiff
Edward Washington                        represented by Jamila Asha Johnson
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                                                        TERMINATED: 12/05/2022
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Mercedes Hardy Montagnes
                                                      (See above for address)
                                                      TERMINATED: 03/30/2023
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Ronald Kenneth Lospennato
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                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Amanda Christine Zarrow
                                                      (See above for address)
                                                      TERMINATED: 08/21/2019
                                                      ATTORNEY TO BE NOTICED

                                                      Bruce Warfield Hamilton
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Candice Cheree Sirmon
                                                      (See above for address)
                                                      TERMINATED: 08/24/2016
                                                      ATTORNEY TO BE NOTICED

                                                                                    23-30825.33
Case: 23-30825   Document: 113-1   Page: 38   Date Filed: 01/11/2024


                                         Daniel A, Small
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                                         PRO HAC VICE
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                                         Derek Allen Warden
                                         (See above for address)
                                         TERMINATED: 08/09/2017
                                         ATTORNEY TO BE NOTICED

                                         Elena Malik
                                         (See above for address)
                                         TERMINATED: 07/25/2022
                                         ATTORNEY TO BE NOTICED

                                         Elizabeth Claire O'K Compa
                                         (See above for address)
                                         TERMINATED: 04/13/2017
                                         ATTORNEY TO BE NOTICED

                                         Emily Blythe Lubin
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Erica Lauren Navalance
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Jared Fletcher Davidson
                                         (See above for address)
                                         TERMINATED: 09/24/2020
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey B. Dubner
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                                         PRO HAC VICE
                                         ATTORNEY TO BE NOTICED

                                         Justin Paul Harrison
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                                         TERMINATED: 11/07/2016
                                         ATTORNEY TO BE NOTICED

                                         Lydia Wright
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                                         ATTORNEY TO BE NOTICED

                                         Meredith Angelson
                                         (See above for address)
                                         TERMINATED: 02/03/2020
                                         ATTORNEY TO BE NOTICED



                                                                       23-30825.34
            Case: 23-30825   Document: 113-1   Page: 39    Date Filed: 01/11/2024

                                                      Miranda Tait
                                                      (See above for address)
                                                      TERMINATED: 09/19/2019
                                                      ATTORNEY TO BE NOTICED

                                                      Nishi Lal Kumar
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Nora Ahmed
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Rebecca Rose Ramaswamy
                                                      (See above for address)
                                                      TERMINATED: 12/01/2022
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Samantha Nicole Bosalavage
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Plaintiff
Alton Batiste                            represented by Mercedes Hardy Montagnes
                                                        (See above for address)
                                                        TERMINATED: 03/30/2023
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Ronald Kenneth Lospennato
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Amanda Christine Zarrow
                                                      (See above for address)
                                                      TERMINATED: 08/21/2019
                                                      ATTORNEY TO BE NOTICED

                                                      Brendan R. Schneiderman
                                                      (See above for address)
                                                      PRO HAC VICE
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                                                      Bruce Warfield Hamilton
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Candice Cheree Sirmon
                                                      (See above for address)
                                                      TERMINATED: 08/24/2016

                                                                                    23-30825.35
Case: 23-30825   Document: 113-1   Page: 40   Date Filed: 01/11/2024

                                         ATTORNEY TO BE NOTICED

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                                         PRO HAC VICE
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                                         Derek Allen Warden
                                         (See above for address)
                                         TERMINATED: 08/09/2017
                                         ATTORNEY TO BE NOTICED

                                         Elena Malik
                                         (See above for address)
                                         TERMINATED: 07/25/2022
                                         ATTORNEY TO BE NOTICED

                                         Elizabeth Claire O'K Compa
                                         (See above for address)
                                         TERMINATED: 04/13/2017
                                         ATTORNEY TO BE NOTICED

                                         Emily Blythe Lubin
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Erica Lauren Navalance
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Jamila Asha Johnson
                                         (See above for address)
                                         TERMINATED: 12/05/2022
                                         ATTORNEY TO BE NOTICED

                                         Jared Fletcher Davidson
                                         (See above for address)
                                         TERMINATED: 09/24/2020
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey B. Dubner
                                         (See above for address)
                                         PRO HAC VICE
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                                         Justin Paul Harrison
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                                         TERMINATED: 11/07/2016
                                         ATTORNEY TO BE NOTICED

                                         Lydia Wright
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                                                                       23-30825.36
            Case: 23-30825         Document: 113-1   Page: 41      Date Filed: 01/11/2024


                                                             Meredith Angelson
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                                                             TERMINATED: 02/03/2020
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                                                             Miranda Tait
                                                             (See above for address)
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                                                             ATTORNEY TO BE NOTICED

                                                             Nishi Lal Kumar
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Nora Ahmed
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Rebecca Rose Ramaswamy
                                                             (See above for address)
                                                             TERMINATED: 12/01/2022
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Samantha Nicole Bosalavage
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED


V.
Defendant
Burl Cain                                      represented by Connell Lee Archey
Warde of the Louisiana State Pententiary,                     Butler Snow
in his official capacity                                      445 North Boulevard
TERMINATED: 06/21/2016                                        Ste 300
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                                         Elizabeth Baker Murrill
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                                         James L. Hilburn
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                                         Litigation
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                                                                            23-30825.39
            Case: 23-30825          Document: 113-1   Page: 44    Date Filed: 01/11/2024

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                                                             TERMINATED: 02/15/2019
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Defendant
Stephanie Lamartiniere                          represented by Edmond Wade Shows
Assistant Warden for Health Services, in                       (See above for address)
her official capacity                                          TERMINATED: 06/07/2017
TERMINATED: 09/11/2018                                         LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                             Mary E. Roper
                                                             (See above for address)
                                                             TERMINATED: 02/15/2019
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Randal J. Robert
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Allena Brooke McCain
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Andrea Leigh Barient
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                                                             Andrew Blanchfield
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Case: 23-30825   Document: 113-1   Page: 45   Date Filed: 01/11/2024

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                                         Colin Andrew Clark
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                                         ATTORNEY TO BE NOTICED

                                         Connell Lee Archey
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Elizabeth Baker Murrill
                                         (See above for address)
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                                         Grant Joseph Guillot
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                                         ATTORNEY TO BE NOTICED

                                         James L. Hilburn
                                         (See above for address)
                                         TERMINATED: 09/19/2016
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey K. Cody
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         John Clifton Conine , Jr.


                                                                        23-30825.41
            Case: 23-30825         Document: 113-1   Page: 46    Date Filed: 01/11/2024

                                                            (See above for address)
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                                                            Kathryn Dufrene
                                                            (See above for address)
                                                            TERMINATED: 10/04/2017
                                                            ATTORNEY TO BE NOTICED

                                                            Keith Fernandez
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                                                            Louisiana State Board of Medical Examiners
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                                                            504-568-1082
                                                            Email: pwilton@lsbme.la.gov
                                                            ATTORNEY TO BE NOTICED

Defendant
James M. LeBlanc                               represented by Edmond Wade Shows
Secretary of the Louisiana Department of                      (See above for address)
Public Safety and Corrections, in his                         TERMINATED: 06/07/2017
official capacity                                             LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                            Mary E. Roper
                                                            (See above for address)
                                                            TERMINATED: 02/15/2019
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Randal J. Robert
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Allena Brooke McCain

                                                                                           23-30825.42
Case: 23-30825   Document: 113-1   Page: 47   Date Filed: 01/11/2024

                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Andrea Leigh Barient
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Andrew Blanchfield
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Angelique Duhon Freel
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Caroline M Tomeny
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Chelsea Acosta Payne
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Colin Andrew Clark
                                         (See above for address)
                                         TERMINATED: 10/10/2019
                                         ATTORNEY TO BE NOTICED

                                         Connell Lee Archey
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Elizabeth Baker Murrill
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         George Holmes
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Grant Joseph Guillot
                                         (See above for address)
                                         TERMINATED: 12/29/2016
                                         ATTORNEY TO BE NOTICED

                                         James L. Hilburn
                                         (See above for address)
                                         TERMINATED: 09/19/2016
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey K. Cody
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                                                                       23-30825.43
            Case: 23-30825     Document: 113-1   Page: 48    Date Filed: 01/11/2024


                                                        John Clifton Conine , Jr.
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Kathryn Dufrene
                                                        (See above for address)
                                                        TERMINATED: 10/04/2017
                                                        ATTORNEY TO BE NOTICED

                                                        Keith Fernandez
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Michelle Marney White
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Patricia Hill Wilton
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Defendant
The Louisiana Department of Public         represented by Edmond Wade Shows
Safety and Corrections                                    (See above for address)
                                                          TERMINATED: 06/07/2017
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Mary E. Roper
                                                        (See above for address)
                                                        TERMINATED: 02/15/2019
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Randal J. Robert
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Allena Brooke McCain
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Andrea Leigh Barient
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Andrew Blanchfield
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Angelique Duhon Freel

                                                                                      23-30825.44
Case: 23-30825   Document: 113-1   Page: 49   Date Filed: 01/11/2024

                                         (See above for address)
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                                         ATTORNEY TO BE NOTICED

                                         Chelsea Acosta Payne
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Colin Andrew Clark
                                         (See above for address)
                                         TERMINATED: 10/10/2019
                                         ATTORNEY TO BE NOTICED

                                         Connell Lee Archey
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Elizabeth Baker Murrill
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         George Holmes
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Grant Joseph Guillot
                                         (See above for address)
                                         TERMINATED: 12/29/2016
                                         ATTORNEY TO BE NOTICED

                                         James L. Hilburn
                                         (See above for address)
                                         TERMINATED: 09/19/2016
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey K. Cody
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         John Clifton Conine , Jr.
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Kathryn Dufrene
                                         (See above for address)
                                         TERMINATED: 10/04/2017
                                         ATTORNEY TO BE NOTICED

                                         Keith Fernandez
                                         (See above for address)


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            Case: 23-30825   Document: 113-1   Page: 50   Date Filed: 01/11/2024

                                                      ATTORNEY TO BE NOTICED

                                                      Michelle Marney White
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Patricia Hill Wilton
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
Darrel Vannoy                            represented by Edmond Wade Shows
Warden of Angola                                        (See above for address)
                                                        TERMINATED: 06/07/2017
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Mary E. Roper
                                                      (See above for address)
                                                      TERMINATED: 02/15/2019
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Randal J. Robert
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Allena Brooke McCain
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Andrea Leigh Barient
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Andrew Blanchfield
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Caroline M Tomeny
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Chelsea Acosta Payne
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Colin Andrew Clark
                                                      (See above for address)
                                                      TERMINATED: 10/10/2019
                                                      ATTORNEY TO BE NOTICED


                                                                                   23-30825.46
            Case: 23-30825   Document: 113-1   Page: 51   Date Filed: 01/11/2024

                                                      Connell Lee Archey
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      George Holmes
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Grant Joseph Guillot
                                                      (See above for address)
                                                      TERMINATED: 12/29/2016
                                                      ATTORNEY TO BE NOTICED

                                                      James L. Hilburn
                                                      (See above for address)
                                                      TERMINATED: 09/19/2016
                                                      ATTORNEY TO BE NOTICED

                                                      Jeffrey K. Cody
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      John Clifton Conine , Jr.
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Kathryn Dufrene
                                                      (See above for address)
                                                      TERMINATED: 10/04/2017
                                                      ATTORNEY TO BE NOTICED

                                                      Keith Fernandez
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
Raman Singh                              represented by Edmond Wade Shows
MD                                                      (See above for address)
TERMINATED: 09/11/2018                                  TERMINATED: 06/07/2017
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Mary E. Roper
                                                      (See above for address)
                                                      TERMINATED: 02/15/2019
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Randal J. Robert
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED


                                                                                   23-30825.47
            Case: 23-30825   Document: 113-1   Page: 52   Date Filed: 01/11/2024

                                                     Allena Brooke McCain
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Andrea Leigh Barient
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Caroline M Tomeny
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Colin Andrew Clark
                                                     (See above for address)
                                                     TERMINATED: 10/10/2019
                                                     ATTORNEY TO BE NOTICED

                                                     Connell Lee Archey
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     George Holmes
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Grant Joseph Guillot
                                                     (See above for address)
                                                     TERMINATED: 12/29/2016
                                                     ATTORNEY TO BE NOTICED

                                                     James L. Hilburn
                                                     (See above for address)
                                                     TERMINATED: 09/19/2016
                                                     ATTORNEY TO BE NOTICED

                                                     Jeffrey K. Cody
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     John Clifton Conine , Jr.
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Kathryn Dufrene
                                                     (See above for address)
                                                     TERMINATED: 10/04/2017
                                                     ATTORNEY TO BE NOTICED

                                                     Keith Fernandez
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant

                                                                                   23-30825.48
           Case: 23-30825   Document: 113-1   Page: 53    Date Filed: 01/11/2024

Stacye Falgout                          represented by Edmond Wade Shows
                                                       (See above for address)
                                                       TERMINATED: 06/07/2017
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Mary E. Roper
                                                     (See above for address)
                                                     TERMINATED: 02/15/2019
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Randal J. Robert
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Allena Brooke McCain
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Andrea Leigh Barient
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Andrew Blanchfield
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Brendan R. Schneiderman
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Caroline M Tomeny
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Chelsea Acosta Payne
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Colin Andrew Clark
                                                     (See above for address)
                                                     TERMINATED: 10/10/2019
                                                     ATTORNEY TO BE NOTICED

                                                     Connell Lee Archey
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     George Holmes
                                                     (See above for address)


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            Case: 23-30825   Document: 113-1   Page: 54   Date Filed: 01/11/2024

                                                      ATTORNEY TO BE NOTICED

                                                      Grant Joseph Guillot
                                                      (See above for address)
                                                      TERMINATED: 12/29/2016
                                                      ATTORNEY TO BE NOTICED

                                                      James L. Hilburn
                                                      (See above for address)
                                                      TERMINATED: 09/19/2016
                                                      ATTORNEY TO BE NOTICED

                                                      Jeffrey K. Cody
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      John Clifton Conine , Jr.
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Kathryn Dufrene
                                                      (See above for address)
                                                      TERMINATED: 10/04/2017
                                                      ATTORNEY TO BE NOTICED

                                                      Keith Fernandez
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Nora Ahmed
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

Defendant
Randy Lavespere                          represented by Edmond Wade Shows
MD                                                      (See above for address)
                                                        TERMINATED: 06/07/2017
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Mary E. Roper
                                                      (See above for address)
                                                      TERMINATED: 02/15/2019
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Randal J. Robert
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Allena Brooke McCain

                                                                                   23-30825.50
Case: 23-30825   Document: 113-1   Page: 55   Date Filed: 01/11/2024

                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Andrea Leigh Barient
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Andrew Blanchfield
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Caroline M Tomeny
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Chelsea Acosta Payne
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Colin Andrew Clark
                                         (See above for address)
                                         TERMINATED: 10/10/2019
                                         ATTORNEY TO BE NOTICED

                                         Connell Lee Archey
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         George Holmes
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Grant Joseph Guillot
                                         (See above for address)
                                         TERMINATED: 12/29/2016
                                         ATTORNEY TO BE NOTICED

                                         James L. Hilburn
                                         (See above for address)
                                         TERMINATED: 09/19/2016
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey K. Cody
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         John Clifton Conine , Jr.
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Kathryn Dufrene
                                         (See above for address)
                                         TERMINATED: 10/04/2017


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            Case: 23-30825   Document: 113-1   Page: 56   Date Filed: 01/11/2024

                                                      ATTORNEY TO BE NOTICED

                                                      Keith Fernandez
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
Sherwood Poret                           represented by Edmond Wade Shows
RN                                                      (See above for address)
                                                        TERMINATED: 06/07/2017
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Mary E. Roper
                                                      (See above for address)
                                                      TERMINATED: 02/15/2019
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Randal J. Robert
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Allena Brooke McCain
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Andrea Leigh Barient
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Andrew Blanchfield
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Caroline M Tomeny
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Chelsea Acosta Payne
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Colin Andrew Clark
                                                      (See above for address)
                                                      TERMINATED: 10/10/2019
                                                      ATTORNEY TO BE NOTICED

                                                      Connell Lee Archey
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED


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            Case: 23-30825   Document: 113-1   Page: 57   Date Filed: 01/11/2024

                                                      George Holmes
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Grant Joseph Guillot
                                                      (See above for address)
                                                      TERMINATED: 12/29/2016
                                                      ATTORNEY TO BE NOTICED

                                                      James L. Hilburn
                                                      (See above for address)
                                                      TERMINATED: 09/19/2016
                                                      ATTORNEY TO BE NOTICED

                                                      Jeffrey K. Cody
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      John Clifton Conine , Jr.
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Kathryn Dufrene
                                                      (See above for address)
                                                      TERMINATED: 10/04/2017
                                                      ATTORNEY TO BE NOTICED

                                                      Keith Fernandez
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
Cynthia Park                             represented by Edmond Wade Shows
ACNP                                                    (See above for address)
                                                        TERMINATED: 06/07/2017
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Mary E. Roper
                                                      (See above for address)
                                                      TERMINATED: 02/15/2019
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Randal J. Robert
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Allena Brooke McCain
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED


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Case: 23-30825   Document: 113-1   Page: 58   Date Filed: 01/11/2024

                                         Andrea Leigh Barient
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Andrew Blanchfield
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Caroline M Tomeny
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Chelsea Acosta Payne
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Colin Andrew Clark
                                         (See above for address)
                                         TERMINATED: 10/10/2019
                                         ATTORNEY TO BE NOTICED

                                         Connell Lee Archey
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         George Holmes
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Grant Joseph Guillot
                                         (See above for address)
                                         TERMINATED: 12/29/2016
                                         ATTORNEY TO BE NOTICED

                                         James L. Hilburn
                                         (See above for address)
                                         TERMINATED: 09/19/2016
                                         ATTORNEY TO BE NOTICED

                                         Jeffrey K. Cody
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         John Clifton Conine , Jr.
                                         (See above for address)
                                         ATTORNEY TO BE NOTICED

                                         Kathryn Dufrene
                                         (See above for address)
                                         TERMINATED: 10/04/2017
                                         ATTORNEY TO BE NOTICED

                                         Keith Fernandez


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            Case: 23-30825   Document: 113-1   Page: 59   Date Filed: 01/11/2024

                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
John Morrison                            represented by Randal J. Robert
M. D.                                                   (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Allena Brooke McCain
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Andrea Leigh Barient
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Andrew Blanchfield
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Angelique Duhon Freel
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Caroline M Tomeny
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Chelsea Acosta Payne
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Colin Andrew Clark
                                                      (See above for address)
                                                      TERMINATED: 10/10/2019
                                                      ATTORNEY TO BE NOTICED

                                                      Connell Lee Archey
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Elizabeth Baker Murrill
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      George Holmes
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jeffrey K. Cody
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

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            Case: 23-30825   Document: 113-1   Page: 60   Date Filed: 01/11/2024


                                                      John Clifton Conine , Jr.
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Keith Fernandez
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Mary E. Roper
                                                      (See above for address)
                                                      TERMINATED: 02/15/2019
                                                      ATTORNEY TO BE NOTICED

                                                      Michelle Marney White
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
Tracy Falgout                            represented by Randal J. Robert
R.N.                                                    (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Allena Brooke McCain
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Andrea Leigh Barient
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Andrew Blanchfield
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Angelique Duhon Freel
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Brendan R. Schneiderman
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Caroline M Tomeny
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Colin Andrew Clark
                                                      (See above for address)
                                                      TERMINATED: 10/10/2019
                                                      ATTORNEY TO BE NOTICED

                                                                                   23-30825.56
             Case: 23-30825      Document: 113-1         Page: 61       Date Filed: 01/11/2024


                                                                  Connell Lee Archey
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Elizabeth Baker Murrill
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  George Holmes
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Jeffrey K. Cody
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  John Clifton Conine , Jr.
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Keith Fernandez
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Mary E. Roper
                                                                  (See above for address)
                                                                  TERMINATED: 02/15/2019
                                                                  ATTORNEY TO BE NOTICED

                                                                  Michelle Marney White
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Nora Ahmed
                                                                  (See above for address)
                                                                  PRO HAC VICE
                                                                  ATTORNEY TO BE NOTICED


Date Filed       #    Docket Text

05/20/2015        1   COMPLAINT against All Defendants ( Filing fee $ 400 receipt number 053N-1236257.),
                      filed by Lionel Tolbert, Clyde Carter, Kentrell Parker, Joseph Lewis, Jr, Otto Barrera,
                      Farrell Sampier, Edward Giovanni, Rufus White, Cedric Evans, Reginald George, Ricky
                      D. Davis, John Wayne Tonubbee. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit
                      Exhibit B, # 3 Exhibit Exhibit C, # 4 Attachment Civil Cover Sheet, # 5 Attachment
                      Summons (Cain), # 6 Attachment Summons (Lamartiniere), # 7 Attachment Summons
                      (Leblanc), # 8 Attachment Summons (DOC))(Montagnes, Mercedes) Modified on
                      5/21/2015 to flatten summons and replace (LLH). (Entered: 05/20/2015)

05/21/2015        2   Summons Issued as to Burl Cain, Stephanie Lamartiniere, James LeBlanc, The Louisiana
                      Department of Public Safety and Corrections. (NOTICE: Counsel shall print and serve
                      both the summons and all attachments in accordance with Federal Rule of Civil Procedure

                                                                                                   23-30825.57
             Case: 23-30825       Document: 113-1         Page: 62      Date Filed: 01/11/2024

                      4.) (LLH) (Entered: 05/21/2015)

06/05/2015        3   Ex-Parte MOTION for Admission to Appear Pro Hac Vice for Jeffrey B. Dubner (Filing
                      fee $100.00, Receipt Number 053N-1243024) by All Plaintiffs. (Attachments: # 1 Exhibit
                      Declaration of Jeffrey Dubner, # 2 Attachment Cert. of Good Standing NY, # 3
                      Attachment Cert. of Good Standing DC)(Compa, Elizabeth) Modified on 6/5/2015 to edit
                      text(ELW). (Entered: 06/05/2015)

06/05/2015            MOTION(S) REFERRED: 3 MOTION for Jeffrey B. Dubner to Appear Pro Hac Vice
                      (Filing fee $100.00, Receipt Number 053N-1243024). This motion is now pending before
                      the USMJ. (ELW) (Entered: 06/05/2015)

06/05/2015        4   ORDER granting 3 Motion for Jeffrey Dubner to Appear Pro Hac Vice. Signed by
                      Magistrate Judge Richard L. Bourgeois, Jr on 6/5/2015. (This is a TEXT ENTRY ONLY.
                      There is no hyperlink or PDF document associated with this entry.) (SMG) (Entered:
                      06/05/2015)

06/22/2015        5   SUMMONS Returned Executed by Lionel Tolbert, Clyde Carter, Kentrell Parker, Joseph
                      Lewis, Jr, Otto Barrera, Farrell Sampier, Edward Giovanni, Rufus White, Cedric Evans,
                      Reginald George, Ricky D. Davis, John Tonubbee. All Defendants. (Compa, Elizabeth)
                      (Entered: 06/22/2015)

06/22/2015        6   MOTION to Designate Additional Lead Counsel by All Plaintiffs. (Compa, Elizabeth)
                      Modified to edit text on 6/23/2015 (BCL). Modified to substitute document per rec. doc. 9
                      on 6/26/2015 (BCL). (Entered: 06/22/2015)

06/23/2015        7   MOTION for Extension of Time Responsive Pleadings by All Defendants. (Attachments:
                      # 1 Proposed Pleading; Proposed Order)(Hilburn, James) Modified on 6/26/2015 to edit
                      event(LLH). (Entered: 06/23/2015)

06/23/2015            MOTION(S) REFERRED: 6 MOTION to Designate Additional Lead Counsel, 7
                      MOTION for Extension of Time Responsive Pleadings. This motion is now pending
                      before the USMJ. (BCL) (Entered: 06/23/2015)

06/24/2015        8   MOTION Substitute Document 6 To Address Typographical Errors by All Plaintiffs.
                      (Attachments: # 1 Proposed Pleading; Corrected Motion to Designate Additional Lead
                      Counsel)(Compa, Elizabeth) (Entered: 06/24/2015)

06/25/2015            MOTION(S) REFERRED: 7 MOTION for Extension of Time Responsive Pleadings. This
                      motion is now pending before the USMJ. (LLH) (Entered: 06/25/2015)

06/25/2015            MOTION(S) REFERRED: 8 MOTION Substitute Document 6 To Address Typographical
                      Errors. This motion is now pending before the USMJ. (LLH) (Entered: 06/25/2015)

06/26/2015        9   ORDER granting 8 Motion to Substitute Document 6. Plaintiffs may substitute the
                      Attachment to the Motion (R. Doc. 8-1) for the previously filed Document 6. Signed by
                      Magistrate Judge Richard L. Bourgeois, Jr on 6/26/2015. (This is a TEXT ENTRY
                      ONLY. There is no hyperlink or PDF document associated with this entry.) (SMG)
                      (Entered: 06/26/2015)

06/26/2015       10   ORDER granting 7 Motion for Extension of Time to Answer. Burl Cain, Stephanie
                      Lamartiniere, James LeBlanc, The Louisiana Department of Public Safety and Corrections
                      answer due 7/8/2015. Signed by Magistrate Judge Richard L. Bourgeois, Jr on 6/26/2015.
                      (LLH) (Entered: 06/26/2015)

06/26/2015       11   ORDER denying 6 Motion to Designate Additional Lead Counsel. Signed by Magistrate
                      Judge Richard L. Bourgeois, Jr on 6/26/2015. (LLH) (Entered: 06/26/2015)

                                                                                                    23-30825.58
             Case: 23-30825       Document: 113-1         Page: 63       Date Filed: 01/11/2024

07/08/2015       12   MOTION for Daniel A. Small to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                      Number 053N-1257656) by All Plaintiffs. (Attachments: # 1 Attachment Declaration of
                      Daniel Small, # 2 Attachment Cert. of Good Standing Maryland, # 3 Attachment Cert. of
                      Good Standing DC)(Compa, Elizabeth) (Entered: 07/08/2015)

07/08/2015       13   ANSWER and Affirmative Defenses to 1 Complaint, with Jury Demand by Burl Cain,
                      Stephanie Lamartiniere, James LeBlanc, The Louisiana Department of Public Safety and
                      Corrections.(Hilburn, James) Modified on 7/9/2015 to edit text (LLH). (Entered:
                      07/08/2015)

07/09/2015       14   90 DAY CONFERENCE ORDER: Scheduling Conference set for 8/20/2015 at 01:30 PM
                      in chambers before Magistrate Judge Richard L. Bourgeois Jr. Status Report due by
                      8/6/2015. Signed by Magistrate Judge Richard L. Bourgeois, Jr on 7/9/2015. (JSL)
                      (Entered: 07/09/2015)

07/09/2015            MOTION(S) REFERRED: 12 MOTION for Daniel A. Small to Appear Pro Hac Vice
                      (Filing fee $100.00, Receipt Number 053N-1257656). This motion is now pending before
                      the USMJ. (LLH) (Entered: 07/09/2015)

07/09/2015       15   ORDER granting 12 Motion for Daniel A. Small to Appear Pro Hac Vice. Signed by
                      Magistrate Judge Richard L. Bourgeois, Jr on 7/9/2015. (This is a TEXT ENTRY ONLY.
                      There is no hyperlink or PDF document associated with this entry.) (JSL) (Entered:
                      07/09/2015)

07/28/2015       16   There is no # 16 Docket Entry, filed in error by Case Administrator. (LLH). (Entered:
                      07/28/2015)

08/06/2015       17   Joint STATUS REPORT by All Plaintiffs. (Dubner, Jeffrey) (Main Document 17 replaced
                      on 8/17/2015 in accordance with record document 19) (NLT). (Entered: 08/06/2015)

08/07/2015       18   MOTION to Amend 17 Status Report by All Plaintiffs. (Attachments: # 1 Attachment
                      Revised Joint Status Report, # 2 Attachment Proposed Order)(Montagnes, Mercedes)
                      (Entered: 08/07/2015)

08/10/2015            MOTION(S) REFERRED: 18 MOTION to Amend 17 Status Report . This motion is now
                      pending before the USMJ. (JDL) (Entered: 08/10/2015)

08/17/2015       19   ORDER granting 18 Motion to Amend Pleading. Revised Status Report (R. Doc. 18-1)
                      attached to Motion to Amend (R. Doc. 18) be substituted for the previously filed Joint
                      Status Report (R. Doc. 17). Signed by Magistrate Judge Richard L. Bourgeois, Jr on
                      8/17/2015. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (JSL) (Entered: 08/17/2015)

08/19/2015       20   Notice to Counsel: The scheduling conference set for 8/20/2015 at 1:30 p.m. before
                      United States Magistrate Judge Richard L. Bourgeois, Jr. is CANCELLED. A scheduling
                      order will be issued as appropriate. (This is a TEXT ENTRY ONLY. There is no
                      hyperlink or PDF document associated with this entry.) (JSL) (Entered: 08/19/2015)

08/28/2015       21   MOTION for Leave to File Supplemental and Amended Answer and Affirmative
                      Defenses by Burl Cain, Stephanie Lamartiniere, James LeBlanc, The Louisiana
                      Department of Public Safety and Corrections. (Attachments: # 1 Proposed Pleading;
                      Proposed Order, # 2 Proposed Pleading; Supplemental and Amending Answer and
                      Affirmative Defenses)(Hilburn, James) (Entered: 08/28/2015)

08/31/2015            MOTION(S) REFERRED: 21 MOTION for Leave to File Supplemental and Amended
                      Answer and Affirmative Defenses . This motion is now pending before the USMJ. (LLH)


                                                                                                     23-30825.59
             Case: 23-30825       Document: 113-1          Page: 64       Date Filed: 01/11/2024

                      (Entered: 08/31/2015)

08/31/2015       22   ORDER granting 21 MOTION for Leave to File Supplemental and Amended Answer and
                      Affirmative Defenses. The Supplemental and Amended Answer and Affirmative Defenses
                      (R. Doc. 21-2) shall be filed. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      8/31/2015. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (Bourgeois, Richard) (Entered: 08/31/2015)

08/31/2015       23   SUPPLEMENTAL AND AMENDED ANSWER to 1 Complaint by Stephanie
                      Lamartiniere, James LeBlanc, The Louisiana Department of Public Safety and
                      Corrections. (NLT) (Entered: 09/02/2015)

09/11/2015       24   SCHEDULING ORDER: In accordance with FRCP 16(b), the following discovery
                      deadlines are established. Amended Pleadings due by 3/11/2016. F.R.C.P. 26(a)(1)
                      disclosures due by 9/18/2015. Discovery due by 6/6/2016. Plaintiff`s Expert Witness List
                      due by 3/18/2016. Filing motion for class certification: 7/6/2016. Defendant`s Expert
                      Witness List due by 4/18/2016. Plaintiff`s Expert Reports due by 7/6/2016. Pltfs' Rebuttal:
                      9/6/2016. Defendant`s Expert Reports due by 8/5/2016. Discovery from Experts due by
                      10/7/2016. Motions shall be filed by 11/7/2016. Proposed Pretrial Order due by
                      2/27/2017. Pretrial Conference set for 3/16/2017 at 01:30 PM in chambers before Chief
                      Judge Brian A. Jackson. Motions In Limine shall be filed by 3/27/2017. Responses to
                      Motions In Limine shall be filed by 4/17/2017. Affidavit of Settlement Efforts due by
                      4/17/2017. Joint jury instructions, voir dire, verdict forms, and trial briefs due by
                      5/1/2017. Jury Trial set for 5/15/2017-6/5/2017 at 08:30 AM in Courtroom 2 before Chief
                      Judge Brian A. Jackson. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      9/11/2015. (JSL) (Entered: 09/11/2015)

12/14/2015       25   Consent MOTION for Entry of Protective Order Governing Protected and Individually
                      Identifiable Health Information by All Plaintiffs. (Attachments: # 1 Proposed Pleading;, #
                      2 Proposed Order)(Sirmon, Candice) Modified on 12/14/2015 to edit text (LLH).
                      (Entered: 12/14/2015)

12/14/2015            MOTION(S) REFERRED: 25 Consent MOTION for Protective Order . This motion is
                      now pending before the USMJ. (LLH) (Entered: 12/14/2015)

12/16/2015       26   ORDER granting 25 Consent Motion for Entry of Protective Order. Signed by Magistrate
                      Judge Richard L. Bourgeois, Jr. on 12/16/2015. (JDL) (Entered: 12/16/2015)

12/16/2015       27   PROTECTIVE ORDER. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      12/16/2015. (JDL) (Entered: 12/16/2015)

02/23/2016       28   MOTION for Temporary Restraining Order by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Exhibit Exhibit 1, # 3 Exhibit Exhibit 2, # 4 Exhibit Exhibit
                      3, # 5 Exhibit Exhibit 4, # 6 Exhibit Exhibit 5, # 7 Exhibit Exhibit 6, # 8 Exhibit Exhibit
                      7, # 9 Exhibit Exhibit 8, # 10 Exhibit Exhibit 9, # 11 Exhibit Exhibit 10, # 12 Exhibit
                      Exhibit 11, # 13 Exhibit Exhibit 12, # 14 Exhibit Exhibit 13)(Montagnes, Mercedes)
                      (Entered: 02/23/2016)

02/23/2016       29   Notice to Counsel: A Status Conference regarding the MOTION for Temporary
                      Restraining Order filed by All Plaintiffs on February 23, 2016 [ doc. 28] is set for
                      2/24/2016 at 02:30 PM in Chambers before Chief Judge Brian A. Jackson. ( There is no
                      hyperlink or PDF document associated with this entry.) (PJH) (Entered: 02/23/2016)

02/24/2016       30   Notice to Counsel: Status Conference reset for 2/24/2016 at 02:15 PM in chambers before
                      Chief Judge Brian A. Jackson.



                                                                                                      23-30825.60
             Case: 23-30825       Document: 113-1          Page: 65       Date Filed: 01/11/2024

                      Evidence, in electronic format, shall be provided in accordance with Local Rule 79 and
                      Administrative Procedures.

                      (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                      this entry.) THIS IS A TIME CHANGE ONLY!(PJH) (Entered: 02/24/2016)

02/24/2016       31   MEMORANDUM in Opposition to 28 MOTION for Temporary Restraining Order filed
                      by Burl Cain, Stephanie Lamartiniere, James LeBlanc, The Louisiana Department of
                      Public Safety and Corrections. (Attachments: # 1 Exhibit Exhibit A)(Hilburn, James)
                      (Entered: 02/24/2016)

02/24/2016       32   MOTION to Withdraw 28 MOTION for Temporary Restraining Order by All Plaintiffs.
                      (Attachments: # 1 Memorandum in Support)(Montagnes, Mercedes) (Entered:
                      02/24/2016)

02/24/2016       34   Minute Entry for proceedings held before Chief Judge Brian A. Jackson: Status
                      Conference held on 2/24/2016. Matter discussed. (Court Reporter C. Smith-Neely.) (This
                      is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                      entry.) (PJH) (Entered: 03/02/2016)

03/01/2016       33   ORDER: In view of attached correspondence from counsel,Telephone Conference set for
                      3/2/2016 at 10:00 AM before Magistrate Judge Richard L. Bourgeois Jr. Pltfs' counsel
                      shall initiate the conference call to chambers at 225-389-3602. Signed by Magistrate
                      Judge Richard L. Bourgeois, Jr. on 3/1/2016. (JSL) (Entered: 03/01/2016)

03/02/2016       35   Minute Entry/ORDER for proceedings held before Magistrate Judge Richard L.
                      Bourgeois, Jr.: Telephone Conference held on 3/2/2016. The parties discussed the status
                      of this matter and the best way to proceed to request modification of the current deadlines.
                      Specifically, the parties have yet to finalize an agreed upon protocol for the production of
                      electronically stored information (ESI). The parties anticipated filing a motion seeking
                      modification of the scheduling order within a week. (LLH) (Entered: 03/02/2016)

03/04/2016       36   Joint MOTION to Revise Scheduling Order by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Proposed Pleading;, # 3 Proposed Order)(Montagnes,
                      Mercedes) (Entered: 03/04/2016)

03/07/2016            MOTION(S) REFERRED: 36 Joint MOTION to Revise Scheduling Order . This motion
                      is now pending before the USMJ. (LLH) (Entered: 03/07/2016)

03/09/2016       37   ORDER granting 32 Motion to Withdraw 28 Motion for Temporary Restraining Order.
                      Signed by Chief Judge Brian A. Jackson on 3/8/2016. (LLH) (Entered: 03/09/2016)

03/11/2016       38   ORDER granting 36 Motion to Extend Discovery Deadlines. Amended Pleadings due by
                      6/10/2016. Discovery due by 9/6/2016. Plaintiff`s Expert Witness List due by 3/18/2016.
                      Defendant`s Expert Witness List due by 4/18/2016. Plaintiff`s Expert Reports due by
                      9/9/2016. Defendant`s Expert Reports due by 9/30/2016. Discovery from Experts due by
                      11/4/2016. Motions shall be filed by 11/30/2016. Signed by Magistrate Judge Richard L.
                      Bourgeois, Jr. on 03/11/2016. (NLT) (Entered: 03/11/2016)

03/11/2016       39   NOTICE TO COUNSEL: A letter requesting a status conference is not the appropriate
                      method to present this matter to the court. Plaintiff should file a motion, in accordance
                      with the Federal Rules of Civil Procedure . Signed by Magistrate Judge Richard L.
                      Bourgeois, Jr. on 3/11/2016. (LLH) Modified on 3/11/2016 to edit text (LLH). (Entered:
                      03/11/2016)

04/01/2016       40


                                                                                                       23-30825.61
             Case: 23-30825       Document: 113-1          Page: 66       Date Filed: 01/11/2024

                      Joint STATUS REPORT Regarding Production of ESI Discovery by All Plaintiffs.
                      (Compa, Elizabeth) (Entered: 04/01/2016)

05/06/2016       41   Joint STATUS REPORT by All Plaintiffs. (Dubner, Jeffrey) (Entered: 05/06/2016)

06/08/2016       42   RULE 37 MOTION to Compel Production, Amend Deadline, and Award Sanctions by
                      All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Exhibit Exhibit A, # 3
                      Exhibit Exhibit B, # 4 Exhibit Exhibit C, # 5 Exhibit Exhibit D, # 6 Exhibit Exhibit E, # 7
                      Exhibit Exhibit F, # 8 Exhibit Exhibit G)(Montagnes, Mercedes) Modified on 6/9/2016 to
                      add motions and edit text (LLH). Added MOTION for Extension of Discovery Deadlines,
                      MOTION for Sanctions on 6/9/2016 (LLH). (Entered: 06/08/2016)

06/09/2016            MOTION(S) REFERRED: 42 MOTION to Compel MOTION for Extension of Discovery
                      Deadlines MOTION for Sanctions. This motion is now pending before the USMJ. (LLH)
                      (Entered: 06/09/2016)

06/10/2016       43   ORDER: Defendants shall file any response to Plaintiffs' 42 Motion on or before
                      6/16/2016. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 6/9/2016. (LLH)
                      (Entered: 06/10/2016)

06/10/2016       44   AMENDED COMPLAINT against All Defendants, filed by Lionel Tolbert, Clyde Carter,
                      Kentrell Parker, Joseph Lewis, Jr, Otto Barrera, Farrell Sampier, Edward Giovanni, Rufus
                      White, Cedric Evans, Reginald George, Ricky D. Davis, John Tonubbee. (Attachments: #
                      1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit Exhibit C)(Compa, Elizabeth)
                      (Entered: 06/10/2016)

06/16/2016       45   MEMORANDUM in Opposition to Rule 37 Motion to Compel Production, Amend
                      Deadlines, and Award Sanctions filed by All Defendants. (Attachments: # 1 Exhibit A, #
                      2 Exhbit B, # 3 Affidavit)(Cody, Jeffrey) Modified on 6/24/2016 to edit text. (EDC).
                      (Entered: 06/16/2016)

06/17/2016       46   NOTICE OF NON-COMPLIANCE with LR 7(g) as to 45 Memorandum in Opposition to
                      Motion. REQUIRED CORRECTION: A combined Motion for Leave to Exceed the Page
                      Limits and Motion to Strike the Incorrect Pleading must filed within 24 hours of this
                      notice. Otherwise, the original filing may be stricken by the Court without further notice.
                      (EDC) (Entered: 06/17/2016)

06/17/2016       47   MOTION to Withdraw Request for Extension by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Attachment Proposed Order)(Compa, Elizabeth) (Entered:
                      06/17/2016)

06/17/2016            MOTION(S) REFERRED: 47 MOTION to Withdraw Request for Extension. This motion
                      is now pending before the USMJ. (EDC) (Entered: 06/17/2016)

06/17/2016       48   MOTION for Leave to File Excess Pages and to Strike Rec. Doc. 45 by All Defendants.
                      (Cody, Jeffrey) (Entered: 06/17/2016)

06/17/2016       49   MOTION to Enroll Elizabeth Baker Murrill, Colin Clark and Andrea Barient as
                      Additional Attorney by All Defendants. (Cody, Jeffrey) (Entered: 06/17/2016)

06/20/2016            MOTION(S) REFERRED: 49 MOTION to Enroll Elizabeth Baker Murrill, Colin Clark
                      and Andrea Barient as Additional Attorney , 48 MOTION for Leave to File Excess Pages
                      and to Strike Rec. Doc. 45. This motion is now pending before the USMJ. (EDC)
                      (Entered: 06/20/2016)

06/20/2016       50   MOTION for Leave to File Reply to Defendants' Opposition to Plaintiffs' Rule 37 Motion
                      to Compel by All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Proposed

                                                                                                      23-30825.62
             Case: 23-30825       Document: 113-1           Page: 67       Date Filed: 01/11/2024

                      Pleading; Reply, # 3 Attachment Proposed Order)(Compa, Elizabeth) (Entered:
                      06/20/2016)

06/20/2016       51   ORDER granting 49 Motion to Enroll Additional Counsel of Record. Added attorneys
                      Elizabeth Baker Murrill, Colin Andrew Clark & Andrea Leigh Barient as additional
                      counsel for Burl Cain/Darrel Vannoy in his official capacity as Warden of LSP, Stephanie
                      Lamartiniere, James LeBlanc & The Louisiana Department of Public Safety and
                      Corrections. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 6/20/2016. (This is
                      a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                      entry.) (JSL) (Entered: 06/20/2016)

06/21/2016            MOTION(S) REFERRED: 50 MOTION for Leave to File Reply to Defendants'
                      Opposition to Plaintiffs' Rule 37 Motion to Compel. This motion is now pending before
                      the USMJ. (EDC) (Entered: 06/21/2016)

06/21/2016       52   ORDER granting 47 Motion to Withdraw Request for Extension of Deadline to File an
                      Amended Complaint. The request to extend the deadline contained in the Motion to
                      Compel (R. Doc. 42) will be considered withdrawn. In all other respects, the motion
                      remains pending. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 6/21/2016.
                      (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                      this entry.) (Bourgeois, Richard) (Entered: 06/21/2016)

06/21/2016       53   ORDER granting 48 Motion for Leave to File Excess Pages. Defendants opposition [R.
                      Doc. 45] will be considered by the court. Striking and refilling is unnecessary. In the
                      future, leave of court should be sought prior to filing any brief in excess of the permissible
                      page limits. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 6/21/2016. (This is a
                      TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                      entry.) (Bourgeois, Richard) (Entered: 06/21/2016)

06/21/2016       54   ORDER granting 50 MOTION for Leave to File Reply to Defendants' Opposition to
                      Plaintiffs' Rule 37 Motion to Compel. The Reply [50-2] shall be filed. Signed by
                      Magistrate Judge Richard L. Bourgeois, Jr. on 6/21/2016. (This is a TEXT ENTRY
                      ONLY. There is no hyperlink or PDF document associated with this entry.) (Bourgeois,
                      Richard) (Entered: 06/21/2016)

06/21/2016       57   REPLY in Support of 42 Rule 37 MOTION to Compel Production, Amend Deadlines,
                      and Award Sanctions filed by All Plaintiffs. (LLH) (Entered: 06/23/2016)

06/23/2016       55   Notice to Counsel: Telephone Conference set for 6/17/2016 at 02:00 PM before
                      Magistrate Judge Richard L. Bourgeois Jr. The purpose of the conference is to discuss the
                      status of discovery. Plaintiffs' counsel shall initiate the conference call to chambers at
                      (225) 389-3602. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                      document associated with this entry.)(JSL) (Entered: 06/23/2016)

06/23/2016       56   Notice to Counsel of CORRECTED DATE: Telephone Conference set for 6/24/2016 at
                      02:00 PM before Magistrate Judge Richard L. Bourgeois Jr. The purpose of the
                      conference is to discuss the status of discovery. Plaintiffs' counsel shall initiate the
                      conference call to chambers at (225) 389-3602. (This is a TEXT ENTRY ONLY. There is
                      no hyperlink or PDF document associated with this entry.)(JSL) (Entered: 06/23/2016)

06/24/2016       58   MOTION for Extension of Time to File Answer to 44 Amended Complaint, by Stephanie
                      Lamartiniere, James M LeBlanc, The Louisiana Department of Public Safety and
                      Corrections, Darrel Vannoy. (Hilburn, James) (Entered: 06/24/2016)

06/24/2016       59   ORDER/Minute Entry for proceedings held before Magistrate Judge Richard L.
                      Bourgeois, Jr.: Telephone Conference held on 6/24/2016. During conference, parties

                                                                                                        23-30825.63
             Case: 23-30825       Document: 113-1          Page: 68      Date Filed: 01/11/2024

                      discussed procedural posture of the case, including status of outstanding production at
                      issue in Pltfs Motion to Compel (R. Doc. 42). IT IS ORDERED that Pltfs Motion to
                      Compel (R. Doc. 42) is GRANTED in part to the extent Pltfs requested a deadline for
                      production of the remaining documents, absent those documents undergoing further
                      privilege review. In all other respects, the Motionremains pending. Deft ORDERED to
                      produce remaining documents, absent those marked as potentially privileged &
                      undergoing further privilege review, on or before 7/1/2016. Telephone Conference set for
                      7/1/2016 at 10:30 AM before Magistrate Judge Richard L. Bourgeois Jr. to discuss status
                      of the production due by 7/1/2016. Additional Telephone Conference set for 7/12/2016 at
                      10:30 AM before Magistrate Judge Richard L. Bourgeois Jr. to follow-up on any
                      remaining discovery related issues. (JSL) (Entered: 06/24/2016)

06/27/2016            MOTION(S) REFERRED: 58 MOTION for Extension of Time to File Answer to 44
                      Amended Complaint, . This motion is now pending before the USMJ. (TNB) (Entered:
                      06/27/2016)

07/01/2016       60   Minute Entry/Order for proceedings held before Magistrate Judge Richard L. Bourgeois,
                      Jr.: Telephone Status Conference held on 7/1/2016. The parties are ORDERED to submit
                      a letter to the Court by 5:00 p.m. on 7/11/2016, summarizing the parties' discussions, the
                      status of the 11,000 documents currently undergoing privilege review, and any proposed
                      modification of any deadlines. The letter should note any productions that have already
                      been made, the amount of documents that have been reviewed and any production (or
                      anticipated production) of a privilege log. The telephone status conference on 7/12/2016
                      at 10:30 a.m. before Magistrate Judge Richard L. Bourgeois, Jr. will remain as scheduled.
                      (SGO) (Entered: 07/01/2016)

07/01/2016       61   ORDER granting 58 Motion for Extension of Time to Answer. Responsive pleadings shall
                      be filed on or before July 8, 2016. Signed by Magistrate Judge Richard L. Bourgeois, Jr.
                      on 7/1/2016. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (Bourgeois, Richard) (Entered: 07/01/2016)

07/08/2016       62   ANSWER to 44 Amended Complaint and Affirmative Defenses by Stephanie
                      Lamartiniere, James M LeBlanc, The Louisiana Department of Public Safety and
                      Corrections, Darrel Vannoy.(Hilburn, James) Modified on 7/11/2016 to edit the text
                      (TNB). (Entered: 07/08/2016)

07/12/2016       63   ORDER: The Court's 38 Scheduling Order is modified as follows: Discovery due by
                      9/13/2016. Motion for Class Certification due 9/30/2016. Plaintiff`s Expert Reports due
                      by 9/16/2016. Defendant`s Expert Reports due by 10/7/2016. Plaintiff's Rebuttal Reports
                      due by 10/28/2016. Discovery from Experts due by 11/18/2016. Signed by Magistrate
                      Judge Richard L. Bourgeois, Jr. on 7/12/2016. (SGO) (Entered: 07/12/2016)

07/12/2016       64   Minute Entry for proceedings held before Magistrate Judge Richard L. Bourgeois, Jr.
                      Telephone Conference held on 7/12/2016. Mercedes Hardy Montagnes, Jefffrey Dubner
                      and Elizabeth O'K Compa were present for Plaintiff. James Hilburn, Andrea Leigh Barient
                      and Jeffrey K. Cody were present for Defendants. the parties are ORDERED to submit a
                      letter to the Court by 5:00 p.m. Central Standard Time on July 25, 2016, summarizing the
                      status of the privilege review and any related document production(s). The Court will hold
                      a telephone status conference on July 26, 2016 at 10:30 a.m. By separate Order, the Court
                      will modify certain existing deadlines as agreed upon by the parties and referenced in the
                      attached letter.Telephone Conference set for 7/26/2016 at 10:30 AM before Magistrate
                      Judge Richard L. Bourgeois Jr. (Attachments: # 1 Exhibit) (ELW) (Entered: 07/13/2016)

07/19/2016       65   MOTION to File Plaintiffs' Second Amended Complaint regarding 44 Amended
                      Complaint by All Plaintiffs. (Attachments: # 1 Exhibit Exhibit 1, # 2 Proposed Pleading;

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             Case: 23-30825       Document: 113-1          Page: 69       Date Filed: 01/11/2024

                      Second Amended Complaint, # 3 Attachment Proposed Order)(Compa, Elizabeth)
                      Modified on 7/19/2016 to edit text.(EDC). (Entered: 07/19/2016)

07/19/2016            MOTION(S) REFERRED: 65 MOTION to Amend 44 Amended Complaint, . This
                      motion is now pending before the USMJ. (EDC) (Entered: 07/19/2016)

07/22/2016       66   MOTION for Protective Order Pursuant to FRCP 26(c) by Stephanie Lamartiniere, James
                      M LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Exhibit Exhibits A & B, # 3 Proposed
                      Pleading; Proposed Protective Order)(Hilburn, James) Modified on 7/22/2016 to edit text.
                      (EDC). (Entered: 07/22/2016)

07/22/2016       67   MOTION for Expedited Consideration of 66 MOTION for Protective Order Pursuant to
                      FRCO 26(c) by Stephanie Lamartiniere, James M LeBlanc, The Louisiana Department of
                      Public Safety and Corrections, Darrel Vannoy. (Attachments: # 1 Proposed Pleading;
                      Proposed Order)(Hilburn, James) Modified on 7/22/2016 to edit text. (EDC). (Entered:
                      07/22/2016)

07/22/2016            MOTION(S) REFERRED: 66 MOTION for Protective Order , 67 MOTION for
                      Expedited Hearing on 66 MOTION for Protective Order . This motion is now pending
                      before the USMJ. (EDC) (Entered: 07/22/2016)

07/24/2016       68   RESPONSE in Opposition to 66 MOTION for Protective Order filed by All Plaintiffs.
                      (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B)(Montagnes, Mercedes)
                      (Entered: 07/24/2016)

07/25/2016       69   ORDER granting 67 Motion for Expedited Hearing. The underlying motion has been
                      briefed and the parties should be prepared to discuss potential resolution of the motion on
                      the conference call set for 7/26/2016. Signed by Magistrate Judge Richard L. Bourgeois,
                      Jr. on 7/25/2016. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                      document associated with this entry.) (Bourgeois, Richard) (Entered: 07/25/2016)

07/25/2016       70   ORDER granting 65 Motion to Amend. Signed by Magistrate Judge Richard L.
                      Bourgeois, Jr. on 07/25/2016. (ELW) (Entered: 07/26/2016)

07/25/2016       71   AMENDED COMPLAINT against Burl Cain, Stacye Falgout, Stephanie Lamartiniere,
                      Randy Lavespere, James M LeBlanc, Cynthia Park, Sherwood Poret, The Louisiana
                      Department of Public Safety and Corrections, filed by Lionel Tolbert, Clyde Carter,
                      Kentrell Parker, Joseph Lewis, Jr., Otto Barrera, Farrell Sampier, Edward Giovanni, Rufus
                      White, Cedric Evans, Reginald George, Ricky D. Davis, John Tonubbee.(ELW) (Entered:
                      07/26/2016)

07/26/2016       72   MOTION for Leave to Depose by All Plaintiffs. (Attachments: # 1 Memorandum in
                      Support, # 2 Attachment Proposed Order)(Compa, Elizabeth) (Entered: 07/26/2016)

07/26/2016       73   MOTION for Expedited Hearing on 72 MOTION for Leave to Depose by All Plaintiffs.
                      (Attachments: # 1 Memorandum in Support, # 2 Attachment Proposed Order)(Compa,
                      Elizabeth) (Entered: 07/26/2016)

07/26/2016       75   Minute Entry/Order for proceedings held before Magistrate Judge Richard L. Bourgeois,
                      Jr.: Telephone Status Conference held on 7/26/2016. Defendants shall submit a letter to
                      the Court by 5:00 p.m. on 8/5/2016, summarizing the status of the privilege log being
                      prepared. Concerning Plaintiff's request for costs associated with their 42 Motion to
                      Compel, Plaintiffs are ordered to file an affidavit of costs by 8/5/2016. Defendants may
                      file their response, if any, on or before 8/12/2016. The Defendants' 66 Motion for
                      Protective Order will be denied in a separate order providing reasons. (SGO) (Entered:


                                                                                                       23-30825.65
             Case: 23-30825         Document: 113-1        Page: 70       Date Filed: 01/11/2024

                      07/27/2016)

07/27/2016       74   ORDER granting (R. Doc. 73) Motion for Expedited Consideration of MOTION for
                      Leave to Depose by All Plaintiffs (R. Doc. 72). Signed by Magistrate Judge Richard L.
                      Bourgeois, Jr. on 7/27/2016. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                      PDF document associated with this entry.) (JSL) (Entered: 07/27/2016)

07/27/2016            MOTION(S) REFERRED: 72 MOTION for Leave to Depose . This motion is now
                      pending before the USMJ. (SGO) (Entered: 07/27/2016)

07/27/2016       76   ORDER granting 72 MOTION for Leave to Depose. Signed by Magistrate Judge Richard
                      L. Bourgeois, Jr. on 7/27/2016. (SGO) (Entered: 07/27/2016)

07/27/2016       77   ORDER denying 66 Motion for Protective Order. Signed by Magistrate Judge Richard L.
                      Bourgeois, Jr. on 07/27/2016. (ELW) (Entered: 07/27/2016)

07/27/2016       78   Minute Entry for proceedings held before Magistrate Judge Richard L. Bourgeois, Jr.
                      Telephone Conference held on 7/27/2016. Mercedes Montagnes (Plaintiffs counsel) and
                      James Hilburn (Defendants counsel) spoke with Judge Richard L. Bourgeois, Jr. about a
                      dispute that arose between the parties. The Court heard the dispute and provided guidance.
                      (ELW) (Entered: 07/28/2016)

07/29/2016       79   MOTION to Enroll Additional Counsel by Stephanie Lamartiniere, James M LeBlanc,
                      The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Proposed Pleading; Proposed Order)(Hilburn, James) Modified on
                      8/1/2016 to edit text (ELW). (Entered: 07/29/2016)

08/01/2016            MOTION(S) REFERRED: 79 MOTION to Enroll Grant J. Guillot as Additional Attorney
                      . This motion is now pending before the USMJ. (ELW) (Entered: 08/01/2016)

08/03/2016       80   Rule 37 MOTION to Compel Production of 67 Medical Records and Award Sanctions by
                      All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Exhibit, # 3 Exhibit, # 4
                      Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11
                      Attachment)(Compa, Elizabeth) Modified on 8/3/2016 to edit text.(EDC). (Attachment 5
                      replaced on 8/3/2016) (EDC). Modified on 8/3/2016 to rotate pages. (EDC). (Entered:
                      08/03/2016)

08/03/2016       81   MOTION for Expedited Consideration on 80 MOTION to Compel Production of 67
                      Medical Records by All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2
                      Attachment)(Compa, Elizabeth) Modified on 8/3/2016 to edit text. (EDC). (Entered:
                      08/03/2016)

08/03/2016            MOTION(S) REFERRED: 81 MOTION for Expedited Hearing on 80 MOTION to
                      Compel Production of 67 Medical Records , 80 MOTION to Compel Production of 67
                      Medical Records. This motion is now pending before the USMJ. (EDC) (Entered:
                      08/03/2016)

08/03/2016       82   ORDER granting 79 Motion to Enroll Additional Attorney. Added attorney Grant Joseph
                      Guillot Defendants, Darrel Vannoy, in his official capacity as Warden of the Louisiana
                      State Penitentiary (LSP), Stephanie Lamartiniere, in her official capacity as Assistant
                      Warden for Health Services, James M. LeBlanc, in his official capacity as Secretary of the
                      Louisiana Department of Public Safety and Corrections, and the Louisiana Department of
                      Public Safety and Corrections. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      8/3/2016. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (JSL) (Entered: 08/03/2016)



                                                                                                       23-30825.66
             Case: 23-30825      Document: 113-1         Page: 71      Date Filed: 01/11/2024

08/05/2016       83   ORDER granting 81 Motion for Expedited Consideration on 80 Motion to Compel.
                      Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 08/05/2016. (ELW) (Entered:
                      08/05/2016)

08/05/2016            Set Response Deadline as to 80 MOTION to Compel Production of 67 Medical Records
                      must be filed by August 10, 2016. (ELW) (Entered: 08/05/2016)

08/05/2016       84   AFFIDAVIT in Support of 42 MOTION to Compel MOTION for Extension of Discovery
                      Deadlines MOTION for Sanctions filed by All Plaintiffs. (Compa, Elizabeth) (Entered:
                      08/05/2016)

08/05/2016       85   MOTION for Leave to Depose Plaintiff Alton Adams by Stephanie Lamartiniere, James
                      M LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn, James)
                      (Entered: 08/05/2016)

08/05/2016       86   MOTION for Leave to Depose Plaintiff Otto Barrera by Stephanie Lamartiniere, James M
                      LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn, James)
                      (Entered: 08/05/2016)

08/05/2016       87   MOTION for Leave to Depose Plaintiff Alton Batiste by Stephanie Lamartiniere, James
                      M LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn, James)
                      (Entered: 08/05/2016)

08/05/2016       88   MOTION for Leave to Depose Plaintiff Clyde Carter by Stephanie Lamartiniere, James M
                      LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn, James)
                      (Entered: 08/05/2016)

08/05/2016       89   MOTION for Leave to Depose Plaintiff Ian Cazenave by Stephanie Lamartiniere, James
                      M LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn, James)
                      (Entered: 08/05/2016)

08/05/2016       90   MOTION for Leave to Depose Plaintiff Ricky Davis by Stephanie Lamartiniere, James M
                      LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn, James)
                      (Entered: 08/05/2016)

08/05/2016       91   MOTION for Leave to Depose Plaintiff Reginald George by Stephanie Lamartiniere,
                      James M LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel
                      Vannoy. (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn,
                      James) (Entered: 08/05/2016)

08/05/2016       92   MOTION for Leave to Depose Plaintiff Kentrell Parker by Stephanie Lamartiniere, James
                      M LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn, James)
                      (Entered: 08/05/2016)

08/05/2016       93   MOTION for Leave to Depose Plaintiff Farrell Sampier by Stephanie Lamartiniere, James
                      M LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn, James)
                      (Entered: 08/05/2016)



                                                                                                  23-30825.67
             Case: 23-30825       Document: 113-1          Page: 72      Date Filed: 01/11/2024

08/05/2016       94   MOTION for Leave to Depose Plaintiff Lionel Tolbert by Stephanie Lamartiniere, James
                      M LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn, James)
                      (Entered: 08/05/2016)

08/05/2016       95   MOTION for Leave to Depose Plaintiff John Tonubbee by Stephanie Lamartiniere, James
                      M LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn, James)
                      (Entered: 08/05/2016)

08/05/2016       96   MOTION for Leave to Depose Plaintiff Edward Washington by Stephanie Lamartiniere,
                      James M LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel
                      Vannoy. (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn,
                      James) (Entered: 08/05/2016)

08/05/2016       97   MOTION for Leave to Depose Plaintiff Rufus White by Stephanie Lamartiniere, James M
                      LeBlanc, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Hilburn, James)
                      (Entered: 08/05/2016)

08/08/2016       98   MOTION to Enroll Kathryn A. Dufrene as Additional Attorney by Stephanie
                      Lamartiniere, James M LeBlanc, The Louisiana Department of Public Safety and
                      Corrections, Darrel Vannoy. (Attachments: # 1 Proposed Pleading;)(Hilburn, James)
                      (Entered: 08/08/2016)

08/08/2016            MOTION(S) REFERRED: 90 MOTION for Leave to Depose Plaintiff Ricky Davis , 94
                      MOTION for Leave to Depose Plaintiff Lionel Tolbert , 88 MOTION for Leave to
                      Depose Plaintiff Clyde Carter , 86 MOTION for Leave to Depose Plaintiff Otto Barrera ,
                      97 MOTION for Leave to Depose Plaintiff Rufus White , 93 MOTION for Leave to
                      Depose Plaintiff Farrell Sampier , 91 MOTION for Leave to Depose Plaintiff Reginald
                      George , 85 MOTION for Leave to Depose Plaintiff Alton Adams , 95 MOTION for
                      Leave to Depose Plaintiff John Tonubbee , 87 MOTION for Leave to Depose Plaintiff
                      Alton Batiste , 92 MOTION for Leave to Depose Plaintiff Kentrell Parker , 96 MOTION
                      for Leave to Depose Plaintiff Edward Washington , 98 MOTION to Enroll Kathryn A.
                      Dufrene as Additional Attorney , 89 MOTION for Leave to Depose Plaintiff Ian Cazenave
                      . This motion is now pending before the USMJ. (NLT) (Entered: 08/08/2016)

08/08/2016            MOTION(S) REFERRED: 98 MOTION to Enroll Kathryn A. Dufrene as Additional
                      Attorney . This motion is now pending before the USMJ. (EDC) (Entered: 08/08/2016)

08/09/2016       99   ANSWER to 71 Second Amended Complaint and Affirmative Defenses by Burl Cain,
                      Stacye Falgout, Stephanie Lamartiniere, Randy Lavespere, James M LeBlanc, Cynthia
                      Park, Sherwood Poret, Raman Singh, The Louisiana Department of Public Safety and
                      Corrections, Darrel Vannoy.(Cody, Jeffrey) Modified on 8/10/2016 to edit text. (EDC).
                      (Entered: 08/09/2016)

08/10/2016      100   ORDER granting 98 Motion to Enroll Additional Attorney. Added attorney Kathryn
                      Dufrene as additional counsel for Darrell Vannoy, in his official capacity as Warden of
                      the Louisiana State Penitentiary, Stephanie Lamartiniere, and James M LeBlanc, in his
                      official capacity as Secretary of the Louisiana Department of Public Safety and
                      Corrections. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 8/10/2016. (This is
                      a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                      entry.) (JSL) (Entered: 08/10/2016)

08/10/2016      101   MEMORANDUM in Opposition to 80 MOTION to Compel Production of 67 Medical
                      Records filed by All Defendants. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit

                                                                                                     23-30825.68
             Case: 23-30825       Document: 113-1         Page: 73       Date Filed: 01/11/2024

                      3)(Cody, Jeffrey) (Attachment 3 replaced on 8/11/2016) (EDC). Modified on 8/11/2016 to
                      rotate pages. (EDC). (Entered: 08/10/2016)

08/11/2016      102   ORDER granting 85 , 86 , 87 , 88 , 89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , and 97 MOTION
                      for Leave to Depose Plaintiffs. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      8/11/2016. (LLH) (Entered: 08/11/2016)

08/11/2016      103   MOTION for Leave to File Reply in Support of Rule 37 Motion to Compel Production
                      (Rec. Doc. 80) by All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2
                      Proposed Pleading;, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8
                      Proposed Pleading;)(Montagnes, Mercedes) Modified on 8/11/2016 to edit the text (TNB).
                      (Entered: 08/11/2016)

08/11/2016            MOTION(S) REFERRED: 103 MOTION for Leave to File Reply . This motion is now
                      pending before the USMJ. (TNB) (Entered: 08/11/2016)

08/12/2016      104   RESPONSE to 84 Affidavit in Support of Motion filed by All Defendants. (Cody, Jeffrey)
                      (Entered: 08/12/2016)

08/15/2016      105   MOTION for Leave to File Reply to Defendants' Response to Affidavit of Jeff Dubner by
                      All Plaintiffs. (Attachments: # 1 Proposed Pleading; Reply re Affidavit, # 2 Attachment
                      Proposed Order)(Compa, Elizabeth) (Entered: 08/15/2016)

08/16/2016      106   MOTION to Substitute Justin P. Harrison in place of Candice C. Sirmon as Attorney by
                      All Plaintiffs. (Sirmon, Candice) (Entered: 08/16/2016)

08/16/2016      107   MOTION for Leave to Depose Inmates by Stephanie Lamartiniere, James M LeBlanc,
                      The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                      (Attachments: # 1 Memorandum in Support, # 2 Attachment, # 3 Attachment, # 4
                      Attachment, # 5 Attachment, # 6 Attachment, # 7 Attachment, # 8 Attachment, # 9
                      Attachment, # 10 Attachment, # 11 Attachment, # 12 Attachment, # 13 Attachment, # 14
                      Attachment, # 15 Attachment)(Hilburn, James) (Entered: 08/16/2016)

08/17/2016      108   ORDER granting 107 MOTION for Leave to Depose Plaintiffs. Pursuant to FRCP
                      30(a)(2)(B) and the agreement between the parties, the depositions may proceed as
                      noticed. The parties may also reschedule any deposition, if necessary and upon agreement
                      by the parties, without further seeking leave of court. Signed by Magistrate Judge Richard
                      L. Bourgeois, Jr. on 8/17/2016. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                      PDF document associated with this entry.) (Bourgeois, Richard) (Entered: 08/17/2016)

08/18/2016            MOTION(S) REFERRED: 106 MOTION to Substitute Justin P. Harrison in place of
                      Candice C. Sirmon as Attorney , 105 MOTION for Leave to File Reply to Defendants'
                      Response to Affidavit of Jeff Dubner . This motion is now pending before the USMJ.
                      (NLT) (Entered: 08/18/2016)

08/19/2016      109   ORDER granting 103 MOTION for Leave to File Reply in Support of Rule 37 Motion to
                      Compel Production (R. Doc. 103). Plaintiffs' Reply (R. Doc. 103-2) and its attached
                      Exhibits (R. Docs. 103-3 to 103-7) shall be filed. Signed by Magistrate Judge Richard L.
                      Bourgeois, Jr. on 8/19/2016. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                      PDF document associated with this entry.) (Bourgeois, Richard) (Entered: 08/19/2016)

08/19/2016      110   ORDER granting 105 MOTION for Leave to File Reply to Defendants' Response to
                      Affidavit of Jeff Dubner. Plaintiffs' Reply (R. Doc. 105-1) shall be filed. Signed by
                      Magistrate Judge Richard L. Bourgeois, Jr. on 8/19/2016. (This is a TEXT ENTRY
                      ONLY. There is no hyperlink or PDF document associated with this entry.) (Bourgeois,
                      Richard) (Entered: 08/19/2016)


                                                                                                     23-30825.69
             Case: 23-30825       Document: 113-1           Page: 74       Date Filed: 01/11/2024

08/19/2016      111   REPLY to 101 Memorandum in Opposition to 80 MOTION to Compel Production of 67
                      Medical Records filed by Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter, Ian
                      Cazenave, Ricky D. Davis, Reginald George, Edward Giovanni, Shannon Hurd, Kentrell
                      Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward Washington, Rufus
                      White. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                      5)(SGO) (Entered: 08/22/2016)

08/19/2016      112   REPLY to 104 Response to 84 Affidavit in Support of 42 MOTION to Compel filed by
                      Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter, Ian Cazenave, Ricky D. Davis,
                      Reginald George, Edward Giovanni, Shannon Hurd, Kentrell Parker, Farrell Sampier,
                      Lionel Tolbert, John Tonubbee, Edward Washington, Rufus White. (SGO) (Entered:
                      08/22/2016)

08/22/2016      113   MOTION to Withdraw Jury Demand by All Defendants. (Attachments: # 1 Proposed
                      Pleading;)(Dufrene, Kathryn) (Entered: 08/22/2016)

08/23/2016            MOTION(S) REFERRED: 113 MOTION to Withdraw Jury Demand. This motion is now
                      pending before the USMJ. (TNB) (Entered: 08/23/2016)

08/24/2016      114   ORDER granting 106 Motion to Substitute Attorney. Justin Paul Harrison substituted as
                      counsel for Plaintiffs in this matter, replacing Candice C. Sirmon. Signed by Magistrate
                      Judge Richard L. Bourgeois, Jr. on 8/24/2016. (This is a TEXT ENTRY ONLY. There is
                      no hyperlink or PDF document associated with this entry.) (JSL) (Entered: 08/24/2016)

08/24/2016      115   ORDER granting 113 Motion to Withdraw Jury Demand. This matter will proceed as a
                      bench trial. The deadline to file proposed jury instructions, voir dire and verdict forms are
                      cancelled. The parties are advised of Chief Judge Jackson's Pretrial Order Instructions
                      found on the Court's website requiring, among other things, the submission of Trial Briefs
                      in non-jury trials. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 08/24/2016.
                      (NLT) (Entered: 08/24/2016)

08/24/2016      116   MOTION to Withdraw 80 MOTION to Compel Production of 67 Medical Records by All
                      Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Attachment)(Montagnes,
                      Mercedes) (Entered: 08/24/2016)

08/25/2016      117   Joint MOTION to Revise Scheduling Order and Set Status Conference by All Plaintiffs.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;, # 3
                      Attachment)(Montagnes, Mercedes) Modified on 8/25/2016 to edit text. (EDC). Modified
                      on 8/29/2016 to edit event (LLH). (Entered: 08/25/2016)

08/25/2016            MOTION(S) REFERRED: 116 MOTION to Withdraw 80 MOTION to Compel
                      Production of 67 Medical Records . This motion is now pending before the USMJ. (EDC)
                      (Entered: 08/25/2016)

08/25/2016            MOTION(S) REFERRED: 117 Joint MOTION Revise Scheduling Order . This motion is
                      now pending before the USMJ. (EDC) (Entered: 08/25/2016)

08/25/2016      118   ORDER granting 116 Motion to Withdraw 80 MOTION to Compel Production of 67
                      Medical Records. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 8/25/2016.
                      (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                      this entry.) (Bourgeois, Richard) (Entered: 08/25/2016)

08/25/2016      119   ORDER finding as moot 80 Motion to Compel. The Motion to Compel has been
                      withdrawn [R. Doc. 118]. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      8/25/2016. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (Bourgeois, Richard) (Entered: 08/25/2016)


                                                                                                        23-30825.70
             Case: 23-30825       Document: 113-1         Page: 75      Date Filed: 01/11/2024

08/29/2016      120   ORDER granting 117 Joint Motion to Extend Discovery Deadlines. Discovery due by
                      9/30/2016. Motions for Class Certification due by 10/14/2016. Plaintiff`s Expert Reports
                      due by 10/3/2016. Defendant`s Expert Reports due by 10/24/2016. Plaintiff's Rebuttal due
                      by 11/14/2016. Discovery from Experts due by 12/9/2016. Dispositive and Daubert
                      Motions shall be filed by 1/6/2017. Signed by Magistrate Judge Richard L. Bourgeois, Jr.
                      on 8/29/2016. (LLH) (Entered: 08/29/2016)

08/31/2016      121   ORDER: Plaintiffs' Motion to Compel is DENIED to the extent it seeks an award for costs
                      pursuant to Rule 37(a)(5). In all other respects, the Motion to Compel is denied as moot.
                      Because the Motion to Compel was granted in part and denied in part, and because the
                      Court finds that Defendants' failure to meet the parties agreed upon deadlines was
                      substantially justified and that awarding expenses under the circumstances would be
                      unjust, each party shall bear its own costs. Signed by Magistrate Judge Richard L.
                      Bourgeois, Jr. on 08/31/2016. (NLT) (Entered: 08/31/2016)

09/12/2016      122   Revised MOTION to Substitute MARY E. ROPER in place of JAMES L. HILBURN as
                      Attorney of Record by All Defendants. (Attachments: # 1 Proposed Pleading; Proposed
                      Order)(Guillot, Grant) Modified on 9/16/2016 to replace documents as per Order #124
                      (LLH). (Entered: 09/12/2016)

09/13/2016            MOTION(S) REFERRED: 122 MOTION to Substitute MARY E. ROPER in place of
                      JAMES L. HILBURN as Attorney of Record. This motion is now pending before the
                      USMJ. (EDC) (Entered: 09/13/2016)

09/13/2016      123   MOTION for Leave to Substitute Motion to Withdraw and Substitute Counsel of Record
                      by All Defendants. (Attachments: # 1 Proposed Pleading; Proposed Order_Motion for
                      Leave, # 2 Proposed Pleading; Revised Motion to Withdraw and Substitute Counsel of
                      Record, # 3 Proposed Pleading; Proposed Order_Motion to Withdraw and Substitute
                      Counsel of Record)(Hilburn, James) Modified on 9/13/2016 to edit text.(EDC). (Entered:
                      09/13/2016)

09/13/2016            MOTION(S) REFERRED: 123 MOTION for Leave to File Revised Motion to Withdraw
                      and Substitute Counsel of Record . This motion is now pending before the USMJ. (EDC)
                      (Entered: 09/13/2016)

09/14/2016      124   ORDER granting 123 MOTION for Leave to File Revised Motion to Withdraw and
                      Substitute Counsel of Record filed by Sherwood Poret, Burl Cain, Cynthia Park, Raman
                      Singh, The Louisiana Department of Public Safety and Corrections, Stacye Falgout,
                      Darrel Vannoy, James M LeBlanc, Randy Lavespere, Stephanie Lamartiniere. IT IS
                      FURTHER ORDERED that the Revised Motion to Withdraw & Substitute Counsel of
                      Record (R. Doc. 123-2) shall be substituted in the record in place of the motion to
                      withdraw (R. Doc. 122). Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      9/14/2016. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (JSL) (Entered: 09/14/2016)

09/19/2016      125   ORDER granting 122 Motion to Substitute Attorney. Mary E. Roper substituted as
                      counsel of record for Defendants Stacye Falgout, Stephanie Lamartiniere, Randy
                      Lavespere, James M LeBlanc, Cynthia Park, Sherwood Poret, Raman Singh, The
                      Louisiana Department of Public Safety and Corrections and Darrel Vannoy replacing
                      James L. Hilburn. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 9/19/2016.
                      (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                      this entry.) (JSL) (Entered: 09/19/2016)

09/27/2016      126   MOTION to Compel Discovery Responses by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Exhibit Ex. A, # 3 Exhibit Ex. B, # 4 Exhibit Ex. C, # 5


                                                                                                    23-30825.71
             Case: 23-30825       Document: 113-1           Page: 76       Date Filed: 01/11/2024

                      Exhibit Ex. D, # 6 Exhibit Ex. E, # 7 Exhibit Ex. F, # 8 Exhibit Ex. G, # 9 Exhibit Ex. H,
                      # 10 Attachment Proposed Order)(Compa, Elizabeth) (Entered: 09/27/2016)

09/28/2016      127   Rule 37(a)(1) Certification for Motion to Compel in support of 126 MOTION to Compel
                      Discovery Responses filed by All Plaintiffs. (Compa, Elizabeth) Modified on 9/28/2016 to
                      edit text. (EDC). (Entered: 09/28/2016)

09/28/2016            MOTION(S) REFERRED: 126 MOTION to Compel Discovery Responses. This motion
                      is now pending before the USMJ. (EDC) (Entered: 09/28/2016)

09/30/2016      128   Joint MOTION for Extension of Discovery Deadlines by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Attachment Proposed Order)(Compa, Elizabeth) (Entered:
                      09/30/2016)

10/03/2016            MOTION(S) REFERRED: 128 Joint MOTION for Extension of Discovery Deadlines .
                      This motion is now pending before the USMJ. (TNB) (Entered: 10/03/2016)

10/06/2016      129   ORDER granting 128 Motion to Extend Discovery Deadlines. The parties are ORDERED
                      to submit a joint status report on October 28, 2016 informing the Court as to the status of
                      Item Nos. 1, 2, 4, 5, 6 and 9, and providing proposed deadlines for any Items that remain
                      outstanding as of October 28, 2016. Signed by Magistrate Judge Richard L. Bourgeois, Jr.
                      on 10/06/2016. (NLT) (Entered: 10/06/2016)

10/07/2016      130   Joint MOTION for Revision to Scheduling Order by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Attachment)(Montagnes, Mercedes) Modified on 10/7/2016
                      to edit the text (TNB). (Entered: 10/07/2016)

10/12/2016      131   Supplemental MEMORANDUM in Support of 126 MOTION to Compel Discovery
                      Responses filed by All Plaintiffs. (Montagnes, Mercedes) Modified on 10/13/2016 to edit
                      the text (TNB). (Entered: 10/12/2016)

10/13/2016      132   MEMORANDUM in Opposition to 126 MOTION to Compel Discovery Responses filed
                      by All Defendants. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3
                      Exhibit Exhibit C)(Guillot, Grant) (Entered: 10/13/2016)

10/13/2016            MOTION(S) REFERRED: 130 Joint MOTION for Extension of Discovery Deadlines .
                      This motion is now pending before the USMJ. (SGO) (Entered: 10/13/2016)

10/14/2016      133   MOTION for Class Certification by All Plaintiffs. (Attachments: # STRICKEN FROM
                      THE RECORD (1) Memorandum in Support, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, #
                      5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11
                      Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16
                      Exhibit 15, # 17 Exhibit 16, # 18 Exhibit 17, # 19 Exhibit 18, # 20 Exhibit 19, # 21
                      Exhibit 20, # 22 Exhibit 21, # 23 Exhibit 22, # 24 Exhibit 23, # 25 Exhibit 24, # 26
                      Exhibit 25, # 27 Exhibit 26, # 28 Exhibit 27, # 29 Exhibit 28, # 30 Exhibit 29, # 31
                      Exhibit 30, # 32 Exhibit 31, # 33 Exhibit 32, # 34 Exhibit 33, # 35 Exhibit 34, # 36
                      Exhibit 35, # 37 Exhibit 36, # 38 Exhibit 37, # 39 Exhibit 38, # 40 Exhibit 39, # 41
                      Exhibit 40, # 42 Exhibit 41, # 43 Exhibit 42, # 44 Exhibit 43, # 45 Exhibit 44, # 46
                      Exhibit 45, # 47 Exhibit 46)(Montagnes, Mercedes) Modified on 10/17/2016 to edit text.
                      (EDC). (Attachments 4,41 & 42 replaced on 10/17/2016) (EDC). Modified on 10/17/2016
                      to rotate pages.(EDC). Modified on 10/21/2016 to remove memo as it has been stricken
                      (LLH). Modified on 10/24/2016 (NLT). (Attachment 42 replaced on 5/16/2017 as per rec
                      doc 257) (NLT). (Entered: 10/14/2016)

10/17/2016      134   NOTICE OF NON-COMPLIANCE with LR 7(g) as to 133 Motion to Certify Class,,,,.
                      REQUIRED CORRECTION: A combined Motion for Leave to Exceed the Page Limits


                                                                                                        23-30825.72
             Case: 23-30825       Document: 113-1          Page: 77      Date Filed: 01/11/2024

                      and Motion to Strike the Incorrect Pleading must filed within 24 hours of this notice.
                      Otherwise, the original filing may be stricken by the Court without further notice. (EDC)
                      (Entered: 10/17/2016)

10/17/2016      135   MOTION for Leave to Exceed the Page Limits and to Strike the Incorrect Pleading by All
                      Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;, # 3
                      Attachment)(Montagnes, Mercedes) Modified on 10/18/2016 to edit text. (EDC). Added
                      MOTION to Strike on 10/18/2016 (EDC). (Entered: 10/17/2016)

10/17/2016      136   MOTION to Compel Production by All Defendants. (Attachments: # 1 Memorandum in
                      Support, # 2 Attachment Rule 37 Certificate, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                      Exhibit, # 7 Proposed Pleading;)(Dufrene, Kathryn) Modified on 10/18/2016 to edit text.
                      (EDC). (Entered: 10/17/2016)

10/18/2016            MOTION(S) REFERRED: 136 MOTION to Compel . This motion is now pending before
                      the USMJ. (EDC) (Entered: 10/18/2016)

10/18/2016      137   ORDER: Any response to Defendants' 136 Motion to Compel Production must be filed by
                      Plaintiffs on or before 11/2/2016. Signed by Magistrate Judge Richard L. Bourgeois, Jr.
                      on 10/18/2016. (LLH) (Entered: 10/18/2016)

10/18/2016      138   ORDER Granting 130 Joint MOTION for Extension of Discovery Deadlines. Status
                      Report due by 10/28/2016. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      10/18/2016. (ELW) (Entered: 10/18/2016)

10/21/2016      139   ORDER granting 135 Motion for Leave to File Excess Pages and Strike Incorrect
                      Pleading. Signed by Chief Judge Brian A. Jackson on 10/20/2016. (LLH) (Entered:
                      10/21/2016)

10/21/2016      140   MEMORANDUM in Support of 133 MOTION to Certify Class filed by All Plaintiffs.
                      (LLH) (Entered: 10/21/2016)

10/24/2016      141   MOTION for Extension of Time to Submit the Expert Report of Dr. Jacqueline Moore by
                      All Defendants. (Attachments: # 1 Proposed Pleading;)(Dufrene, Kathryn) Modified on
                      10/25/2016 to edit event (LLH). (Entered: 10/24/2016)

10/24/2016      142   MOTION to Withdraw 126 MOTION to Compel Discovery Responses by All Plaintiffs.
                      (Attachments: # 1 Memorandum in Support, # 2 Attachment)(Montagnes, Mercedes)
                      (Entered: 10/24/2016)

10/25/2016            MOTION(S) REFERRED: 142 MOTION to Withdraw 126 MOTION to Compel
                      Discovery Responses , 141 MOTION for Extension of Time to Submit the Expert Report
                      of Dr. Jacqueline Moore. This motion is now pending before the USMJ. (EDC) (Entered:
                      10/25/2016)

10/25/2016      143   ORDER granting 142 Motion to Withdraw 126 MOTION to Compel Discovery
                      Responses. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 10/25/2016. (This is
                      a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                      entry.) (Bourgeois, Richard) (Entered: 10/25/2016)

10/25/2016      144   ORDER denying 126 Motion to Compel. The Motion has been withdrawn. Signed by
                      Magistrate Judge Richard L. Bourgeois, Jr. on 10/25/2016. (This is a TEXT ENTRY
                      ONLY. There is no hyperlink or PDF document associated with this entry.) (Bourgeois,
                      Richard) (Entered: 10/25/2016)

10/25/2016      145   ORDER granting 141 Motion for Extension of Time to Submit the Expert Report of Dr.
                      Jacqueline Moore. Defendant`s Expert Report of Dr. Jacqueline Moore due by

                                                                                                     23-30825.73
             Case: 23-30825       Document: 113-1         Page: 78       Date Filed: 01/11/2024

                      10/27/2016. Plaintiff's Rebuttal due by 11/17/2016. Signed by Magistrate Judge Richard
                      L. Bourgeois, Jr. on 10/25/2016. (LLH) (Entered: 10/25/2016)

10/25/2016      146   MOTION to Withdraw 136 MOTION to Compel Production by All Defendants.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Dufrene, Kathryn)
                      (Entered: 10/25/2016)

10/26/2016            MOTION(S) REFERRED: 146 MOTION to Withdraw 136 MOTION to Compel
                      Production. This motion is now pending before the USMJ. (ELW) (Entered: 10/26/2016)

10/28/2016      147   Joint STATUS REPORT by All Defendants. (Cody, Jeffrey) Modified on 11/7/2016 to
                      replace document as per Order #151 (LLH). (Entered: 10/28/2016)

10/31/2016      148   ORDER granting 146 Motion to Withdraw 136 MOTION to Compel. Signed by
                      Magistrate Judge Richard L. Bourgeois, Jr. on 10/31/2016. (This is a TEXT ENTRY
                      ONLY. There is no hyperlink or PDF document associated with this entry.) (Bourgeois,
                      Richard) (Entered: 10/31/2016)

10/31/2016      149   ORDER denying 136 Motion to Compel. The Motion has been withdrawn. Signed by
                      Magistrate Judge Richard L. Bourgeois, Jr. on 10/31/2016. (This is a TEXT ENTRY
                      ONLY. There is no hyperlink or PDF document associated with this entry.) (Bourgeois,
                      Richard) (Entered: 10/31/2016)

10/31/2016      150   MOTION for Leave to Substitute Joint Status Report by All Defendants. (Attachments: #
                      1 Proposed Pleading;, # 2 Proposed Pleading;)(Dufrene, Kathryn) (Entered: 10/31/2016)

11/01/2016            MOTION(S) REFERRED: 150 MOTION for Leave to Substitute Joint Status Report .
                      This motion is now pending before the USMJ. (EDC) (Entered: 11/01/2016)

11/01/2016      151   ORDER granting 150 MOTION for Leave to Substitute Corrected Status Report. R. Doc.
                      150-2 shall be substituted in the place of R. Doc. 147. Signed by Magistrate Judge
                      Richard L. Bourgeois, Jr. on 11/1/2016. (This is a TEXT ENTRY ONLY. There is no
                      hyperlink or PDF document associated with this entry.) (Bourgeois, Richard) (Entered:
                      11/01/2016)

11/03/2016      152   MOTION to Compel Production of Documents by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Rule 37 Certification, # 3 Exhibit)(Montagnes, Mercedes)
                      Modified on 11/4/2016 to edit text (ELW). Modified on 11/10/2016 (ELW). (Entered:
                      11/03/2016)

11/03/2016      153   MOTION to Substitute Counsel by All Plaintiffs. (Harrison, Justin) Modified on
                      11/4/2016 to edit text (ELW). (Entered: 11/03/2016)

11/03/2016      161   Minute Entry for proceedings held before Chief Judge Brian A. Jackson: At the request of
                      Counsel, Status Conference held on 11/3/2016. The Court will withhold ruling on Motion
                      to Certify Class at this time. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                      PDF document associated with this entry.) (PJH) (Entered: 11/16/2016)

11/04/2016      154   Joint MOTION for Extension of Time to File Opposing and Supplemental Memoranda in
                      regards to Plaintiffs Motion for Class Certification by All Defendants. (Attachments: # 1
                      Proposed Pleading; Proposed Order)(Guillot, Grant) (Entered: 11/04/2016)

11/04/2016            MOTION(S) REFERRED: 152 MOTION to Compel . This motion is now pending before
                      the USMJ. (ELW) (Entered: 11/04/2016)

11/04/2016            MOTION(S) REFERRED: 154 Joint MOTION for Extension of Time to File Opposing
                      and Supplemental Memoranda in regards to Plaintiffs Motion for Class Certification. This


                                                                                                     23-30825.74
             Case: 23-30825       Document: 113-1           Page: 79       Date Filed: 01/11/2024

                      motion is now pending before the USMJ. (ELW) (Entered: 11/04/2016)

11/07/2016            MOTION(S) REFERRED: 153 MOTION to Substitute Bruce W. Hamilton in place of
                      Justin P. Harrison as Attorney . This motion is now pending before the USMJ. (NLT)
                      (Entered: 11/07/2016)

11/07/2016            Motions No Longer Referred: 154 Joint MOTION for Extension of Time to File Opposing
                      and Supplemental Memoranda in regards to Plaintiffs Motion for Class Certification. This
                      motion is now pending before the USDJ. (NLT) (Entered: 11/07/2016)

11/07/2016      155   ORDER as to 152 Motion to Compel. Any response to Plaintiffs Motion to Compel must
                      be filed by Defendants on or before November 14, 2016. Signed by Magistrate Judge
                      Richard L. Bourgeois, Jr. on 11/07/2016. (ELW) Modified on 11/10/2016 to edit text
                      (ELW). (Entered: 11/07/2016)

11/07/2016      156   ORDER granting 153 Motion to Substitute Attorney. Bruce Warfield substituted as
                      counsel for plaintiffs Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter, Ian
                      Cazenave, Ricky D. Davis, Reginald George, Edward Giovanni, Shannon Hurd, Kentrell
                      Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward Washington and Rufus
                      White replacing Justin P. Harrison as counsel for plaintiffs. Signed by Magistrate Judge
                      Richard L. Bourgeois, Jr. on 11/7/2016. (This is a TEXT ENTRY ONLY. There is no
                      hyperlink or PDF document associated with this entry.) (JSL) (Entered: 11/07/2016)

11/07/2016            Set Deadlines as to 152 MOTION to Compel . Replies due by 11/14/2016. (ELW)
                      (Entered: 11/10/2016)

11/11/2016      157   Revised Second Joint STATUS REPORT by All Defendants. (Dufrene, Kathryn)
                      Modified on 11/15/2016 to edit text. (EDC). Modified to substitute the document per rec.
                      doc. 160 on 11/15/2016 (SGO). (Main Document 157 replaced as ordered by the court on
                      11/16/2016) (ELW). (Entered: 11/11/2016)

11/14/2016      158   MEMORANDUM in Opposition to 152 MOTION to Compel Production of Documents
                      filed by All Defendants. (Attachments: # 1 Exhibit)(Dufrene, Kathryn) Modified on
                      11/15/2016 to edit text. (EDC). (Entered: 11/14/2016)

11/15/2016      159   MOTION for Leave to Substitute Second Joint Status Report by All Defendants.
                      (Attachments: # 1 Proposed Pleading;, # 2 Proposed Pleading;)(Dufrene, Kathryn)
                      (Entered: 11/15/2016)

11/15/2016            MOTION(S) REFERRED: 159 MOTION for Leave to Substitute Second Joint Status
                      Report . This motion is now pending before the USMJ. (SGO) (Entered: 11/15/2016)

11/15/2016      160   ORDER granting 159 MOTION for Leave to Substitute Second Joint Status Report. The
                      Clerk shall substitute the revised report [R. Doc. 159-2] in the place of the previously filed
                      version [R. Doc. 157]. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      11/15/2016. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (Bourgeois, Richard) (Entered: 11/15/2016)

11/16/2016      162   MOTION for Leave to File Reply in Support of Rule 37 Motion to Compel Production
                      (Rec. Doc. 152) by All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2
                      Proposed Pleading;, # 3 Exhibit, # 4 Attachment)(Montagnes, Mercedes) Modified on
                      11/17/2016 to edit text.(EDC). (Entered: 11/16/2016)

11/17/2016      163   ORDER granting 162 MOTION for Leave to File Reply in Support of Rule 37 Motion to
                      Compel Production. The Reply Memorandum [162-2] and attachment [162-3] shall be
                      filed. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 11/17/2016. (This is a


                                                                                                        23-30825.75
             Case: 23-30825       Document: 113-1         Page: 80       Date Filed: 01/11/2024

                      TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                      entry.) (Bourgeois, Richard) (Entered: 11/17/2016)

11/17/2016      164   REPLY in Support of to 152 MOTION to Compel Production of Documents filed by
                      Plaintiffs. (Attachments: # 1 Exhibit)(LLH) (Entered: 11/21/2016)

11/21/2016      165   Joint MOTION to Extend Expert Discovery Deadline by All Defendants. (Attachments: #
                      1 Proposed Pleading;)(Dufrene, Kathryn) Modified on 11/22/2016 to edit text.(EDC).
                      (Entered: 11/21/2016)

11/22/2016            MOTION(S) REFERRED: 165 Joint MOTION for Extension of Discovery Deadlines .
                      This motion is now pending before the USMJ. (EDC) (Entered: 11/22/2016)

11/28/2016      166   ORDER granting 165 Motion to Extend Discovery Deadlines. Discovery from Experts
                      shall be completed by 12/23/2016. Signed by Magistrate Judge Richard L. Bourgeois, Jr.
                      on 11/28/2016. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (Bourgeois, Richard) (Entered: 11/28/2016)

11/28/2016      167   MOTION to Enroll Derek Warden as Additional Attorney by All Plaintiffs. (Attachments:
                      # 1 Memorandum in Support, # 2 Attachment Proposed Order)(Montagnes, Mercedes)
                      (Entered: 11/28/2016)

11/29/2016      168   ORDER granting 154 Joint MOTION for Extension of Time to File Opposing and
                      Supplemental Memoranda in regards to Plaintiffs Motion for Class Certification. The
                      deadline for Defendants' submission of their memorandum in opposition to Plaintiff's
                      Motion for Class Certification is extended thirty days. Signed by Chief Judge Brian A.
                      Jackson on 11/29/2016. (EDC) (Entered: 11/29/2016)

11/29/2016      169   ORDER granting 167 Motion to Enroll Additional Attorney. Added attorney Derek Allen
                      Warden as additional counsel for Plaintiffs, Alton Adams, Otto Barrera, Alton Batiste,
                      Clyde Carter, Ian Cazenave, Ricky D. Davis, Reginald George, Edward Giovanni,
                      Shannon Hurd, Kentrell Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward
                      Washington and Rufus White. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      11/29/2016. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (JSL) (Entered: 11/29/2016)

12/05/2016      170   Joint MOTION for Extension of Time to File Response to 133 MOTION to Certify Class ,
                      154 Joint MOTION for Extension of Time to File Opposing and Supplemental
                      Memoranda in regards to Plaintiffs Motion for Class Certification by All Defendants.
                      (Attachments: # 1 Proposed Pleading; Proposed Order)(Guillot, Grant) (Entered:
                      12/05/2016)

12/05/2016      171   ORDER granting 170 Motion for Extension of Time to File Response. Signed by Chief
                      Judge Brian A. Jackson on 12/05/2016. (ELW) (Entered: 12/05/2016)

12/05/2016      172   Joint MOTION for Clarification of 171 Order by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Proposed Pleading;)(Montagnes, Mercedes) Modified on
                      12/7/2016 to edit text (LLH). (Entered: 12/05/2016)

12/07/2016      173   ORDER granting 152 Motion to Compel Production of Documents. Signed by Magistrate
                      Judge Richard L. Bourgeois, Jr. on 12/7/2016. (LLH) (Entered: 12/07/2016)

12/12/2016      174   MEMORANDUM in Opposition to 133 MOTION to Certify Class filed by All
                      Defendants. (Guillot, Grant) (Entered: 12/12/2016)

12/12/2016      175   ORDER denying as moot 172 Motion to Clarify Order on Second Joint Motion to Extend
                      Deadlines for Submission of Opposing and Supplemental Memoranda in Regards to

                                                                                                     23-30825.76
             Case: 23-30825       Document: 113-1          Page: 81       Date Filed: 01/11/2024

                      Plaintiffs Motion for Class Certification. Signed by Chief Judge Brian A. Jackson on
                      12/12/2016. (NLT) (Entered: 12/12/2016)

12/12/2016      176   MOTION for Relief From Order Denying Joint Motion to Clarify Order by All Plaintiffs.
                      (Attachments: # 1 Memorandum in Support)(Montagnes, Mercedes) Modified on
                      12/13/2016 to edit text (ELW). (Entered: 12/12/2016)

12/16/2016      177   ORDER granting 176 MOTION for Relief From Order Denying Joint Motion to Clarify
                      Order. The Court's Order Denying as Moot the Joint Motion to Clarify Order on Second
                      Joint Motion to Extend Deadlines for Submission of Opposing and Supplemental
                      Memorandum in Regards to Plaintiff's Motion for Class Certification 175 is VACATED.
                      The deadline for Plaintiff's submission of any supplemental memorandum in support of
                      their Motion for Class Certification is extended to 12/19/2016. Signed by Chief Judge
                      Brian A. Jackson on 12/15/2016. (EDC) (Entered: 12/16/2016)

12/16/2016      178   Unopposed MOTION for Leave to File Supplemental Memorandum in Opposition to
                      Plaintiffs' Motion for Class Certification by All Defendants. (Attachments: # 1 Proposed
                      Pleading; Supplemental Memorandum in Opposition to Plaintiffs' Motion for Class
                      Certification, # 2 Proposed Pleading; Proposed Order)(Guillot, Grant) (Entered:
                      12/16/2016)

12/19/2016      179   MOTION for Leave to File Reply Memorandum by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Proposed Pleading;, # 3 Attachment)(Montagnes,
                      Mercedes) Modified on 12/21/2016 to edit text. (EDC). (Entered: 12/19/2016)

12/19/2016      180   Additional Exhibits to 179 MOTION for Leave to File Reply by All Plaintiffs. filed by All
                      Plaintiffs. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                      Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I)(Montagnes,
                      Mercedes) (Entered: 12/19/2016)

12/19/2016      181   MOTION to File Supplement to Memorandum in Support of Motion for Class
                      Certification on ADA pursuant to this Courts' December 16, 2016 Order (Rec. Doc. 1770
                      by All Plaintiffs. (Attachments: # 1 Proposed Pleading;, # 2 Exhibit A, # 3 Exhibit B, # 4
                      Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10
                      Exhibit I, # 11 Exhibit J, # 12 Exhibit K, # 13 Attachment)(Montagnes, Mercedes)
                      Modified on 12/21/2016 to edit text. (EDC). (Attachment 12 replaced on 12/21/2016)
                      (EDC). Modified on 12/21/2016 to rotate pages.(EDC). (Attachment 6 replaced on
                      12/23/2016) (EDC). Modified on 12/23/2016 to rotate pages. (EDC). (Entered:
                      12/19/2016)

12/23/2016      182   ORDER granting 178 Unopposed MOTION for Leave to File Supplemental
                      Memorandum in Opposition to Plaintiffs' Motion for Class Certification filed by
                      Sherwood Poret, Burl Cain, Cynthia Park, Raman Singh, The Louisiana Department of
                      Public Safety and Corrections, Stacye Falgout, Darrel Vannoy, James M LeBlanc, Randy
                      Lavespere, Stephanie Lamartiniere. Signed by Chief Judge Brian A. Jackson on
                      12/22/2016. (EDC) (Entered: 12/23/2016)

12/23/2016      183   SUPPLEMENTAL MEMORANDUM in Opposition to 133 MOTION to Certify Class
                      filed by Stacye Falgout, Stephanie Lamartiniere, Randy Lavespere, James M LeBlanc,
                      Cynthia Park, Sherwood Poret, Raman Singh, The Louisiana Department of Public Safety
                      and Corrections, Darrel Vannoy. (EDC) (Entered: 12/23/2016)

12/23/2016      184   ORDER granting 181 MOTION to File Supplement to Memorandum in Support of
                      Motion for Class Certification on ADA pursuant to this Courts' December 16, 2016 Order
                      filed by Clyde Carter, Kentrell Parker, Shannon Hurd, Cedric Evans, Lionel Tolbert,
                      Reginald George, Rufus White, Alton Adams, Ian Cazenave, John Tonubbee, Edward

                                                                                                      23-30825.77
             Case: 23-30825        Document: 113-1           Page: 82        Date Filed: 01/11/2024

                      Giovanni, Farrell Sampier, Alton Batiste, Ricky D. Davis, Edward Washington, Otto
                      Barrera, Joseph Lewis, Jr. Signed by Chief Judge Brian A. Jackson on 12/22/2016. (EDC)
                      (Entered: 12/23/2016)

12/23/2016      185   Supplemental MEMORANDUM in Support of 133 MOTION to Certify Class filed by
                      Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter, Ian Cazenave, Ricky D. Davis,
                      Reginald George, Edward Giovanni, Shannon Hurd, Kentrell Parker, Farrell Sampier,
                      Lionel Tolbert, John Tonubbee, Edward Washington, Rufus White. (Attachments: # 1
                      exhibits, # 2 exhibits, # 3 exhibits, # 4 exhibits, # 5 exhibits, # 6 exhibits, # 7 exhibits, # 8
                      exhibits, # 9 exhibits, # 10 exhibits, # 11 exhibits)(EDC) (Entered: 12/23/2016)

12/23/2016      186   ORDER granting 179 MOTION for Leave to File Reply Memorandum filed by Clyde
                      Carter, Kentrell Parker, Shannon Hurd, Cedric Evans, Lionel Tolbert, Reginald George,
                      Rufus White, Alton Adams, Ian Cazenave, John Tonubbee, Edward Giovanni, Farrell
                      Sampier, Alton Batiste, Ricky D. Davis, Edward Washington, Otto Barrera, Joseph Lewis,
                      Jr. Signed by Chief Judge Brian A. Jackson on 12/22/2016. (EDC) (Entered: 12/23/2016)

12/23/2016      187   REPLY in Support to 174 Memorandum in Opposition to Motion to Certify Class, 133
                      MOTION to Certify Class filed by Alton Adams, Otto Barrera, Alton Batiste, Clyde
                      Carter, Ian Cazenave, Ricky D. Davis, Reginald George, Edward Giovanni, Shannon
                      Hurd, Kentrell Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward
                      Washington. (Attachments: # 1 exhibits, # 2 exhibits, # 3 exhibits, # 4 exhibits, # 5
                      exhibits, # 6 exhibits, # 7 exhibits, # 8 exhibits, # 9 exhibits)(EDC) (Entered: 12/23/2016)

12/29/2016      188   MOTION for Grant J. Guillot to Withdraw as Attorney by All Defendants. (Attachments:
                      # 1 Proposed Pleading; Proposed Order)(Guillot, Grant) (Entered: 12/29/2016)

12/29/2016      189   ORDER granting 188 Motion to Withdraw as Attorney. Attorney Grant J. Guillot is
                      withdrawn as counsel for defendants. Signed by Magistrate Judge Richard L. Bourgeois,
                      Jr. on 12/29/2016. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                      document associated with this entry.) (JSL) (Entered: 12/29/2016)

01/01/2017      190   MOTION for Leave to File two Summary Judgment Motions by All Plaintiffs.
                      (Attachments: # 1 Memorandum in Support, # 2 Attachment)(Montagnes, Mercedes)
                      (Entered: 01/01/2017)

01/06/2017      191   First MOTION to Strike Expert Testimony Jacqueline Moore by All Plaintiffs.
                      (Attachments: # 1 Memorandum in Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, #
                      5 Exhibit D, # 6 Exhibit E)(Montagnes, Mercedes) Modified on 1/10/2017 to edit text
                      (LLH). (Attachment 1 replaced on 5/16/2017 as per rec doc 256) (NLT). (Entered:
                      01/06/2017)

01/06/2017      192   Second MOTION to Exclude Expert Testimony of David Thomas by All Plaintiffs.
                      (Attachments: # 1 Memorandum in Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, #
                      5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, #
                      11 Exhibit J, # 12 Exhibit K, # 13 Exhibit L, # 14 Exhibit M, # 15 Exhibit N)(Montagnes,
                      Mercedes) Modified on 1/10/2017 to edit text (LLH). (Entered: 01/06/2017)

01/06/2017      193   First MOTION for Partial Summary Judgment on Plaintiffs' ADA Claims by All Plaintiffs.
                      (Attachments: # 1 Statement of Undisputed Facts, # 2 Memorandum in Support, # 3
                      Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9
                      Exhibit G, # 10 Exhibit H, # 11 Exhibit I, # 12 Exhibit J, # 13 Exhibit K, # 14 Exhibit L, #
                      15 Exhibit M, # 16 Exhibit N, # 17 Exhibit O, # 18 Exhibit P, # 19 Exhibit Q, # 20 Exhibit
                      R, # 21 Exhibit S, # 22 Exhibit T, # 23 Exhibit U)(Montagnes, Mercedes) . Modified on
                      1/10/2017 to rotate and replace exhibit D (LLH). Modified on 8/29/2018 to replace
                      Exhibit D as per Order # 452 (LLH). (Entered: 01/06/2017)

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             Case: 23-30825       Document: 113-1           Page: 83       Date Filed: 01/11/2024

01/06/2017      194   Second MOTION for Partial Summary Judgment Plaintiffs' Eighth Amendment Claim by
                      All Plaintiffs. (Attachments: # 1 Statement of Undisputed Facts, # 2 Memorandum in
                      Support, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8
                      Exhibit F, # 9 Exhibit G, # 10 Exhibit H, # 11 Exhibit I, # 12 Exhibit J, # 13 Exhibit K, #
                      14 Exhibit L, # 15 Exhibit M, # 16 Exhibit N, # 17 Exhibit O, # 18 Exhibit P, # 19 Exhibit
                      Q, # 20 Exhibit R, # 21 Exhibit S, # 22 Exhibit T, # 23 Exhibit U, # 24 Exhibit V, # 25
                      Exhibit W, # 26 Exhibit X, # 27 Exhibit Y, # 28 Exhibit Z, # 29 Exhibit AA, # 30 Exhibit
                      AB, # 31 Exhibit AC, # 32 Exhibit AD, # 33 Exhibit AE, # 34 Exhibit AF, # 35 Exhibit
                      AG, # 36 Exhibit AH, # 37 Exhibit AI, # 38 Exhibit AJ, # 39 Exhibit AK, # 40 Exhibit
                      AL, # 41 Exhibit AM, # 42 Exhibit AN, # 43 Exhibit AO, # 44 Exhibit AP, # 45 Exhibit
                      AQ, # 46 Exhibit AR, # 47 Exhibit AS, # 48 Exhibit AT, # 49 Exhibit AU, # 50 Exhibit
                      AV, # 51 Exhibit AW, # 52 Exhibit AX, # 53 Exhibit AY, # 54 Exhibit AZ, # 55 Exhibit
                      BA, # 56 Exhibit BB, # 57 Exhibit BC, # 58 Exhibit BD, # 59 Exhibit BE, # 60 Exhibit
                      BF, # 61 Exhibit BG, # 62 Exhibit BH, # 63 Exhibit BI, # 64 Exhibit BJ, # 65 Exhibit BK,
                      # 66 Exhibit BL, # 67 Exhibit BM, # 68 Exhibit BN)(Montagnes, Mercedes) (Entered:
                      01/06/2017)

01/06/2017      195   SEALED MOTION for Leave to File Exhibits Under Seal by All Plaintiffs. (Attachments:
                      # 1 Memorandum in Support, # 2 Exhibit T, # 3 Exhibit V, # 4 Exhibit Z, # 5 Exhibit AP,
                      # 6 Exhibit AZ, # 7 Exhibit BH, # 8 Exhibit BN, # 9 Proposed Order)(Montagnes,
                      Mercedes) Modified on 1/9/2017 to edit text (LLH). (Entered: 01/06/2017)

01/06/2017      196   SEALED MOTION for Leave to File Motion for Summary Judgment and Exhibits Under
                      Seal by All Defendants. (Attachments: # 1 Memorandum in Support, # 2 Proposed
                      Pleading;, # 3 Attachment, # 4 Memorandum in Support, # 5 Proposed Pleading;, # 6
                      Attachment, # 7 Statement of Undisputed Facts, # 8 Memorandum in Support, # 9
                      Proposed Pleading;, # 10 Exhibit Exhibit 1, # 11 Exhibit Exhibit 1(a), # 12 Exhibit Exhibit
                      1(b) - Part 1, # 13 Exhibit Exhibit 1(b) - Part 2, # 14 Exhibit Exhibit 1(b) - Part 3a, # 15
                      Exhibit Exhibit 1(b) - Part 3b, # 16 Exhibit Exhibit 1(b) - Part 4, # 17 Exhibit Exhibit 1(b)
                      - Part 5, # 18 Exhibit Exhibit 1(b) - Part 6, # 19 Exhibit Exhibit 1(b) - Part 7a, # 20
                      Exhibit Exhibit 1(b) - Part 7b, # 21 Exhibit Exhibit 1(b) - Part 8, # 22 Exhibit Exhibit 1(b)
                      - Part 9, # 23 Exhibit Exhibit 1(b) - Part 10a, # 24 Exhibit Exhibit 1(b) - Part 10b, # 25
                      Exhibit Exhibit 1(b) - Part 11, # 26 Exhibit Exhibit 1(b) - Part 12, # 27 Exhibit Exhibit
                      1(b) - Part 13, # 28 Exhibit Exhibit 1(b) - Part 14, # 29 Exhibit Exhibit 1(b) - Part 15, # 30
                      Exhibit Exhibit 2, # 31 Exhibit Exhibit 3, # 32 Exhibit Exhibit 4, # 33 Exhibit Exhibit 5, #
                      34 Exhibit Exhibit 6, # 35 Exhibit Exhibit 7, # 36 Exhibit Exhibit 8, # 37 Exhibit Exhibit
                      9, # 38 Exhibit Exhibit 10, # 39 Exhibit Exhibit 11, # 40 Exhibit Exhibit 12, # 41 Exhibit
                      Exhibit 13, # 42 Exhibit Exhibit 14)(Dufrene, Kathryn) Modified on 1/9/2017 to rotate
                      and replace exhbits #12, 16 and 19 (LLH). Modified on 2/7/2017 to replace exhibit as per
                      Order #212 (LLH). (Entered: 01/06/2017)

01/09/2017      197   OPPOSITION to 185 Supplemental Memorandum in Support of Motion for Class
                      Certification filed by All Defendants. (Dufrene, Kathryn) Modified on 1/10/2017 (NLT).
                      (Entered: 01/09/2017)

01/10/2017      198   MOTION for Leave to Substitute Exhibit by All Defendants. (Attachments: # 1 Proposed
                      Pleading;, # 2 Proposed Pleading;)(Dufrene, Kathryn) (Entered: 01/10/2017)

01/18/2017      199   ORDER granting 190 MOTION for Leave to to File two Summary Judgment Motions.
                      Signed by Chief Judge Brian A. Jackson on 01/18/2017. (ELW) (Entered: 01/18/2017)

01/20/2017      200   Unopposed MOTION to Reset the Trial Date and Set a Scheduling Conference by All
                      Plaintiffs. (Attachments: # 1 Attachment)(Montagnes, Mercedes) Modified on 1/23/2017
                      to edit text. (EDC). (Entered: 01/20/2017)


                                                                                                        23-30825.79
             Case: 23-30825       Document: 113-1          Page: 84       Date Filed: 01/11/2024

01/27/2017      201   MOTION for Leave to File Excess Pages by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Attachment, # 3 Proposed Pleading;, # 4 Statement of
                      Undisputed Facts Response, # 5 Exhibit A, # 6 Exhibit B, # 7 Exhibit C, # 8 Exhibit D, #
                      9 Exhibit E, # 10 Exhibit F, # 11 Exhibit G, # 12 Exhibit H, # 13 Exhibit I, # 14 Exhibit J,
                      # 15 Exhibit K, # 16 Exhibit L, # 17 Exhibit M, # 18 Exhibit N, # 19 Exhibit
                      O)(Montagnes, Mercedes) (Entered: 01/27/2017)

01/27/2017      202   MEMORANDUM in Opposition to 191 MOTION to Exclude Testimony of Jacqueline
                      Moore filed by All Defendants. (Attachments: # 1 Exhibit)(Dufrene, Kathryn) Modified
                      on 1/31/2017 to edit the text (KAH). (Entered: 01/27/2017)

01/27/2017      203   MOTION for Leave to Exceed Page Limits by All Defendants. (Attachments: # 1
                      Memorandum in Support, # 2 Proposed Pleading;, # 3 Statement of Undisputed Facts, # 4
                      Proposed Pleading;, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10
                      Exhibit)(Dufrene, Kathryn) (Attachment 7 replaced on 1/31/2017) (KAH). (Entered:
                      01/27/2017)

01/27/2017      204   MEMORANDUM in Opposition to 194 MOTION for Partial Summary Judgment filed by
                      All Defendants. (Attachments: # 1 Statement of Undisputed Facts, # 2 Exhibit, # 3
                      Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit)(Dufrene, Kathryn) Modified on 1/31/2017
                      to edit the text(KAH). (Additional attachment(s) added on 2/14/2017: # 7 Exhibit) (ELW).
                      Modified on 2/14/2017 added exhibit as granted by the court (ELW). (Entered:
                      01/27/2017)

01/27/2017      205   MEMORANDUM in Opposition to 192 Second MOTION to Strike Expert Testimony of
                      David Thomas filed by All Defendants. (Attachments: # 1 Exhibit)(Dufrene, Kathryn)
                      (Entered: 01/27/2017)

02/03/2017      206   MOTION for Leave to Supplement Defendants' memorandum in Oppositon to Motion for
                      partial Summary Judgment [Rec Doc 204] with additional exhibits by All Defendants.
                      (Attachments: # 1 Exhibit Proposed Exhibit, # 2 Memorandum in Support, # 3
                      Attachment Proposed Order)(Roper, Mary) Modified on 2/6/2017 to edit text (ELW).
                      (Entered: 02/03/2017)

02/06/2017      207   ORDER granting 200 Motion to Reset the Trial Date and Set a Scheduling Conference.
                      The bench trial currently scheduled for 5/15/2017 - 6/2/2017 is CONTINUED and RESET
                      for 7/31/2017 - 08/15/2017. Oral argument shall be held on 3/16/2017, at 1:30 p.m. on all
                      pending motions for summary judgment. The Court will address any further deadlines that
                      the parties wish to reschedule at the hearing on 03/16/2017. Signed by Chief Judge Brian
                      A. Jackson on 02/06/2017. (EDC) Modified on 2/9/2017 to put deadline on report. (EDC).
                      (Entered: 02/06/2017)

02/06/2017            Set/Reset Trial and Related Deadlines:, Set/Reset Deadlines: Bench Trial set for
                      7/31/2017 - 08/15/2017 at 08:30 AM in Courtroom 2 before Chief Judge Brian A.
                      Jackson. (EDC) (Entered: 02/06/2017)

02/06/2017      208   ORDER granting 201 and 203 Motion for Leave to File Excess Pages. Granting 206
                      Unopposed MOTION for Leave to Supplement Defendants' Memorandum in Opposition.
                      Signed by Chief Judge Brian A. Jackson on 02/06/2017. (ELW) (Entered: 02/06/2017)

02/07/2017      209   MOTION to Reinstate Original Trial Date by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support)(Montagnes, Mercedes) (Entered: 02/07/2017)

02/07/2017      210   SEALED MOTION for Leave to File Declaration Under Seal by All Plaintiffs.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Montagnes,
                      Mercedes) (Entered: 02/07/2017)

                                                                                                       23-30825.80
             Case: 23-30825       Document: 113-1          Page: 85       Date Filed: 01/11/2024

02/07/2017      211   MOTION for Expedited Consideration on 209 MOTION to Reinstate Original Trial Date
                      by All Plaintiffs. (Attachments: # 1 Memorandum in Support)(Montagnes, Mercedes)
                      Modified on 2/7/2017 to edit text (LLH). (Entered: 02/07/2017)

02/07/2017      212   ORDER granting 198 MOTION for Leave to Substitute Exhibit. Signed by Chief Judge
                      Brian A. Jackson on 02/06/2017. (EDC) (Entered: 02/07/2017)

02/07/2017      213   MOTION to Set Status Conference by All Defendants. (Attachments: # 1 Memorandum
                      in Support, # 2 Exhibit, # 3 Proposed Pleading;)(Dufrene, Kathryn) Modified on 2/8/2017
                      to edit text (LLH). (Attachment 1 replaced on 5/16/2017 as per rec doc 252) (NLT).
                      (Entered: 02/07/2017)

02/07/2017      214   MOTION for Leave to Withdraw and Substitute Document 213-1 by All Defendants.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;, # 3 Proposed
                      Pleading;)(Dufrene, Kathryn) (Entered: 02/07/2017)

02/08/2017      215   MOTION for Expedited Consideration of 213 MOTION for Status Conference by All
                      Defendants. (Attachments: # 1 Memorandum in Support, # 2 Proposed
                      Pleading;)(Dufrene, Kathryn) Modified on 2/8/2017 to edit text(LLH). (Entered:
                      02/08/2017)

02/08/2017      216   ORDER granting 213 and 215 Motion to Set Status Conference and Motion for Expedited
                      Consideration on Motion to Set Status Conference. Status Conference set for 2/14/2017 at
                      10:30 AM in chambers before Chief Judge Brian A. Jackson. Signed by Chief Judge Brian
                      A. Jackson on 02/08/2017. (EDC) (Entered: 02/08/2017)

02/13/2017      217   Notice to Counsel: Due to an unforeseen scheduling conflict, the Status Conference
                      scheduled in this matter on 2/14/2017 is RESET for 2/24/2017 at 10:30 AM in chambers
                      before Chief Judge Brian A. Jackson.

                      Evidence, in electronic format, shall be provided in accordance with Local Rule 79 and
                      Administrative Procedures.

                      (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                      this entry.)(PJH) (Entered: 02/13/2017)

02/13/2017      218   ORDER Vacating 208 Order on Motion for Leave to File Excess Pages. Signed by Chief
                      Judge Brian A. Jackson on 02/13/2017. (ELW) (Entered: 02/13/2017)

02/13/2017      219   ORDER granting 203 MOTION for Leave to to Exceed Page Limit Pursuant to Local
                      Rule 7(g) AND 206 MOTION for Leave to Exceed Page Limits. Signed by Chief Judge
                      Brian A. Jackson on 02/13/2017. (ELW) (Entered: 02/13/2017)

02/13/2017      220   MEMORANDUM in Opposition to 193 First MOTION for Partial Summary Judgment on
                      Plaintiffs' ADA Claims filed by Stacye Falgout, Stephanie Lamartiniere, Randy
                      Lavespere, James M LeBlanc, Cynthia Park, Sherwood Poret, Raman Singh, Darrel
                      Vannoy. (Attachments: # 1 Statement of Undisputed Facts, # 2 Exhibit, # 3 Exhibit, # 4
                      Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit)(ELW) (Entered: 02/14/2017)

02/23/2017      221   Notice to Counsel: The status conference scheduled for 2/24/2017 is CANCELLED.
                      Plaintiffs' Motion to Continue and/or Reschedule the Trial of this matter will be discussed
                      at the Hearing scheduled March 16, 2017 at 1:30 p.m. in Courtroom 2.

                      Evidence, in electronic format, shall be provided in accordance with Local Rule 79 and
                      Administrative Procedures.



                                                                                                      23-30825.81
             Case: 23-30825       Document: 113-1         Page: 86      Date Filed: 01/11/2024

                      (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                      this entry.) (PJH) (Entered: 02/23/2017)

02/23/2017            Set/Reset Hearings: Hearing on all pending Motions for Summary Judgment set for
                      3/16/2017 at 01:30 PM in Courtroom 2 before Chief Judge Brian A. Jackson. (PJH)
                      Modified on 2/23/2017 (PJH). (Entered: 02/23/2017)

02/27/2017      222   Joint Pretrial Order by All Plaintiffs (For your free look at document, enter your ECF
                      login and pw to confirm your right to view). (Attachments: # 1 Attachment A, # 2
                      Attachment B1, # 3 Attachment B2, # 4 Attachment C, # 5 Attachment D, # 6 Attachment
                      E, # 7 Attachment F)(Montagnes, Mercedes) Modified to edit text on 2/28/2017 (SGO).
                      (Entered: 02/27/2017)

02/28/2017      223   MOTION to Disqualify Judge by All Defendants. (Attachments: # 1 Memorandum in
                      Support, # 2 Exhibit, # 3 Attachment)(Roper, Mary) (Entered: 02/28/2017)

03/01/2017      224   MOTION for Expedited Hearing on 223 MOTION to Disqualify Judge by All
                      Defendants. (Attachments: # 1 Memorandum in Support, # 2 Attachment)(Roper, Mary)
                      (Entered: 03/01/2017)

03/02/2017      225   ORDER granting 224 MOTION for Expedited Hearing on 223 MOTION to Disqualify
                      Judge. The oral argument on all pending motions for summary judgment scheduled for
                      3/16/2017, at 1:30 is CONVERTED to oral argument on 223 Motion to Disqualify.
                      Opposition to 223 Motion to Disqualify due on or before 3/13/2017. Signed by Chief
                      Judge Brian A. Jackson on 3/2/2017. (LLH) (Entered: 03/02/2017)

03/06/2017      226   MOTION for Leave to File Reply to Rec. Doc. 192 by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Proposed Pleading;, # 3 Attachment)(Montagnes,
                      Mercedes) (Entered: 03/06/2017)

03/06/2017      227   MOTION for Leave to File Reply to Rec. Doc. 194 by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Proposed Pleading;, # 3 Exhibit, # 4
                      Attachment)(Montagnes, Mercedes) (Entered: 03/06/2017)

03/06/2017      228   MOTION for Leave to File Reply to Rec. Doc. 193 by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Proposed Pleading;, # 3 Exhibit A, # 4 Exhibit B, # 5
                      Attachment)(Montagnes, Mercedes) (Entered: 03/06/2017)

03/06/2017      229   MOTION to Amend 191 First MOTION to Strike Expert Testimony by All Plaintiffs.
                      (Attachments: # 1 Proposed Pleading;, # 2 Attachment)(Montagnes, Mercedes) (Entered:
                      03/06/2017)

03/07/2017      230   Notice to Counsel: The Pretrial Conference scheduled in this matter for 3/16/2017 is
                      cancelled. Hearing on Motion to Disqualify scheduled for 3/16/2017 at 1:30 p.m. will go
                      forward as scheduled.

                      Evidence, in electronic format, shall be provided in accordance with Local Rule 79 and
                      Administrative Procedures.

                      (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                      this entry.) (PJH) (Entered: 03/07/2017)

03/09/2017      231   Notice to Counsel: Motion Hearing on Defendants' Motion to Disqualify is RESET for
                      3/16/2017 at 08:30 AM in Courtroom 2 before Chief Judge Brian A. Jackson. ***THIS IS
                      A TIME CHANGE ONLY!



                                                                                                    23-30825.82
             Case: 23-30825       Document: 113-1           Page: 87       Date Filed: 01/11/2024

                      Evidence, in electronic format, shall be provided in accordance with Local Rule 79 and
                      Administrative Procedures.

                      (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                      this entry.) (PJH) (Entered: 03/09/2017)

03/13/2017      232   MEMORANDUM in Opposition to 223 MOTION to Disqualify Judge filed by All
                      Plaintiffs. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Montagnes, Mercedes) (Entered:
                      03/13/2017)

03/15/2017      233   MOTION for Leave to File Reply Memorandum in Support of Motion to Disqualify by All
                      Defendants. (Attachments: # 1 Memorandum in Support, # 2 Attachment, # 3
                      Attachment)(Roper, Mary) (Entered: 03/15/2017)

03/16/2017      234   Minute Entry for proceedings held before Chief Judge Brian A. Jackson: Motion Hearing
                      held on 3/16/2017 223 MOTION to Disqualify Judge filed by Sherwood Poret, Burl Cain,
                      Cynthia Park, Raman Singh, The Louisiana Department of Public Safety and Corrections,
                      Stacye Falgout, Darrel Vannoy, Stephanie Lamartiniere, Randy Lavespere, James M
                      LeBlanc. The Court grants 233 MOTION for Leave to File Reply Memorandum in
                      Support of Motion to Disqualify filed by Sherwood Poret, Burl Cain, Cynthia Park, Raman
                      Singh, The Louisiana Department of Public Safety and Corrections, Stacye Falgout,
                      Darrel Vannoy, James M LeBlanc, Randy Lavespere, Stephanie Lamartiniere. Counsel
                      presents oral argument to the Court. Matter is taken under advisement. As stated by the
                      Court, the current deadline for filing of Motions In Limine is extended. Motions in Limine
                      shall be filed by 4/28/2017. (Court Reporter N. Breaux.) (This is a TEXT ENTRY ONLY.
                      There is no hyperlink or PDF document associated with this entry.) (PJH) (Entered:
                      03/16/2017)

03/28/2017      235   TRANSCRIPT REQUEST by Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter,
                      Ian Cazenave, Ricky D. Davis, Cedric Evans, Reginald George, Edward Giovanni,
                      Shannon Hurd, Joseph Lewis, Jr, Kentrell Parker, Farrell Sampier, Lionel Tolbert, John
                      Tonubbee, Edward Washington, Rufus White for proceedings held on March 16 2017
                      before Judge Brian A. Jackson.. (Montagnes, Mercedes) (Entered: 03/28/2017)

04/12/2017      236   MOTION for Elizabeth Compa to Withdraw as Attorney by All Plaintiffs. (Compa,
                      Elizabeth) (Entered: 04/12/2017)

04/13/2017            MOTION(S) REFERRED: 236 MOTION for Elizabeth Compa to Withdraw as Attorney .
                      This motion is now pending before the USMJ. (KAH) (Entered: 04/13/2017)

04/13/2017      237   ORDER granting 236 Motion to Withdraw as Counsel of Record. Attorney Elizabeth
                      Compa is withdrawn as counsel for Plaintiffs in this matter. Signed by Magistrate Judge
                      Richard L. Bourgeois, Jr. on 4/13/2017. (This is a TEXT ENTRY ONLY. There is no
                      hyperlink or PDF document associated with this entry.) (JSL) (Entered: 04/13/2017)

04/17/2017      238   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings Motion to Disqualify
                      hearing before Judge Chief Judge Brian A. Jackson held on March 16, 2017. Court
                      Reporter: Natalie W. Breaux.

                      NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                      days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                      such Notice is filed, the transcript will be made remotely electronically available to the
                      public without redaction after 90 calendar days. The policy is located on our website at
                      www.lamd.uscourts.gov.



                                                                                                         23-30825.83
             Case: 23-30825       Document: 113-1           Page: 88       Date Filed: 01/11/2024

                      Transcript may be viewed at the court public terminal or purchased through the Court
                      Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                      date it may be obtained through PACER.. Redaction Request due 5/5/2017. Redacted
                      Transcript Deadline set for 5/15/2017. Release of Transcript Restriction set for 7/13/2017.
                      (Breaux, Natalie) (Entered: 04/17/2017)

04/17/2017      239   AFFIDAVIT by All Plaintiffs. (Montagnes, Mercedes) Modified to edit text on 4/18/2017
                      (SGO). (Entered: 04/17/2017)

04/19/2017      240   MOTION Substitute Pleading by All Plaintiffs. (Attachments: # 1 Attachment, # 2
                      Order)(Montagnes, Mercedes) Modified on 4/20/2017 to edit text (ELW). (Entered:
                      04/19/2017)

04/20/2017      241   ORDER granting 223 Motion to Disqualify Judge. Signed by Chief Judge Brian A.
                      Jackson on 4/20/2017. (EDC) (Entered: 04/20/2017)

04/20/2017            Case Reassigned to Judge Shelly D. Dick. Chief Judge Brian A. Jackson no longer
                      assigned to the case. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                      document associated with this entry.) (EDC) (Entered: 04/20/2017)

04/23/2017      242   MOTION for Leave to File First Amended Joint Pretrial Order by All Plaintiffs.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;, # 3 Attachment A, #
                      4 Attachment B, # 5 Attachment B (Supp), # 6 Attachment C, # 7 Attachment D, # 8
                      Attachment E, # 9 Attachment F)(Montagnes, Mercedes) (Entered: 04/23/2017)

04/24/2017      243   MOTION for Status Conference by All Plaintiffs. (Attachments: # 1 Memorandum in
                      Support)(Montagnes, Mercedes) (Entered: 04/24/2017)

04/25/2017      244   ORDER granting 195 SEALED MOTION for Leave to File Exhibits Under Seal. Signed
                      by Judge Shelly D. Dick on 4/25/2017. (SGO) (Entered: 04/25/2017)

04/25/2017      245   SEALED DOCUMENT Plaintiff's Exhibits to Motion for Partial Summary Judgment on
                      Plaintiffs' Eighth Amendment Claim (Attachments: # 1 Exhibit V, # 2 Exhibit Z, # 3
                      Exhibit AP, # 4 Exhibit AZ, # 5 Exhibit BH, # 6 Exhibit BN) (SGO) (Entered:
                      04/25/2017)

04/28/2017      246   MOTION in Limine by All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2
                      Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8
                      Exhibit 7)(Montagnes, Mercedes) (Entered: 04/28/2017)

04/28/2017      247   MOTION for Request of Judicial Notice by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Exhibit 1)(Montagnes, Mercedes) (Entered: 04/28/2017)

04/28/2017      248   MOTION in Limine to Exclude Evidence and Testimony by All Defendants.
                      (Attachments: # 1 Memorandum in Support, # 2 Attachment)(Roper, Mary) Modified on
                      5/10/2017 to edit text (ELW). (Entered: 04/28/2017)

05/12/2017      249   ORDER granting 196 Sealed Motion for Leave to File Motion for Summary Judgment
                      and Exhibits Under Seal. Signed by Judge Shelly D. Dick on 5/12/17. (This is a TEXT
                      ENTRY ONLY. There is no hyperlink or PDF document associated with this entry.)
                      (DCB) (Entered: 05/12/2017)

05/12/2017      250   ORDER granting 201 Motion for Leave to File Excess Pages. Signed by Judge Shelly D.
                      Dick on 5/12/17. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                      document associated with this entry.) (DCB) (Entered: 05/12/2017)

05/12/2017      251


                                                                                                        23-30825.84
             Case: 23-30825      Document: 113-1         Page: 89      Date Filed: 01/11/2024

                      ORDER granting 210 Sealed Motion for Leave to File Declaration Under Seal. Signed by
                      Judge Shelly D. Dick on 5/12/17. (This is a TEXT ENTRY ONLY. There is no hyperlink
                      or PDF document associated with this entry.) (DCB) (Entered: 05/12/2017)

05/12/2017      252   ORDER granting [214 ]MOTION for Leave to Withdraw and Substitute Document 213-1.
                      Signed by Judge Shelly D. Dick on 5/12/17. (This is a TEXT ENTRY ONLY. There is no
                      hyperlink or PDF document associated with this entry.) (DCB) (Entered: 05/12/2017)

05/12/2017      253   ORDER granting 226 MOTION for Leave to File Reply to Rec. Doc. 192 filed by Clyde
                      Carter, Kentrell Parker, Shannon Hurd, Cedric Evans, Lionel Tolbert, Reginald George,
                      Rufus White, Alton Adams, Ian Cazenave, John Tonubbee, Edward Giovanni, Farrell
                      Sampier, Alton Batiste, Ricky D. Davis, Edward Washington, Otto Barrera, Joseph Lewis,
                      Jr. Signed by Judge Shelly D. Dick on 5/12/17. (This is a TEXT ENTRY ONLY. There is
                      no hyperlink or PDF document associated with this entry.) (DCB) (Entered: 05/12/2017)

05/12/2017      254   ORDER granting 227 MOTION for Leave to File Reply to Rec. Doc. 194 filed by Clyde
                      Carter, Kentrell Parker, Shannon Hurd, Cedric Evans, Lionel Tolbert, Reginald George,
                      Rufus White, Alton Adams, Ian Cazenave, John Tonubbee, Edward Giovanni, Farrell
                      Sampier, Alton Batiste, Ricky D. Davis, Edward Washington, Otto Barrera, Joseph Lewis,
                      Jr. Signed by Judge Shelly D. Dick on 5/12/17. (This is a TEXT ENTRY ONLY. There is
                      no hyperlink or PDF document associated with this entry.) (DCB) (Entered: 05/12/2017)

05/12/2017      255   ORDER granting 228 MOTION for Leave to File Reply to Rec. Doc. 193 filed by Clyde
                      Carter, Kentrell Parker, Shannon Hurd, Cedric Evans, Lionel Tolbert, Reginald George,
                      Rufus White, Alton Adams, Ian Cazenave, John Tonubbee, Edward Giovanni, Farrell
                      Sampier, Alton Batiste, Ricky D. Davis, Edward Washington, Otto Barrera, Joseph Lewis,
                      Jr. Signed by Judge Shelly D. Dick on 5/12/17. (This is a TEXT ENTRY ONLY. There is
                      no hyperlink or PDF document associated with this entry.) (DCB) (Entered: 05/12/2017)

05/12/2017      256   ORDER granting 229 Motion to Amend 191 First Motion to Strike Expert Testimony.
                      Signed by Judge Shelly D. Dick on 5/12/17. (This is a TEXT ENTRY ONLY. There is no
                      hyperlink or PDF document associated with this entry.) (DCB) (Entered: 05/12/2017)

05/12/2017      257   ORDER granting 240 Motion to Substitute Exhibit. Signed by Judge Shelly D. Dick on
                      5/12/17. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (DCB) (Entered: 05/12/2017)

05/12/2017      258   ORDER granting 242 MOTION for Leave to File First Amended Joint Pretrial Order filed
                      by Clyde Carter, Kentrell Parker, Shannon Hurd, Cedric Evans, Lionel Tolbert, Reginald
                      George, Rufus White, Alton Adams, Ian Cazenave, John Tonubbee, Edward Giovanni,
                      Farrell Sampier, Alton Batiste, Ricky D. Davis, Edward Washington, Otto Barrera, Joseph
                      Lewis, Jr. Signed by Judge Shelly D. Dick on 5/12/17. (This is a TEXT ENTRY ONLY.
                      There is no hyperlink or PDF document associated with this entry.) (DCB) (Entered:
                      05/12/2017)

05/12/2017      259   ORDER denying 209 Motion to Reinstate Original Trial Date. Signed by Judge Shelly D.
                      Dick on 5/12/17. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                      document associated with this entry.) (DCB) (Entered: 05/12/2017)

05/12/2017      260   ORDER granting 243 Motion for Conference Status Conference set for 6/7/2017 at 02:00
                      PM in Courtroom 3 before Judge Shelly D. Dick. Signed by Judge Shelly D. Dick on
                      5/12/17. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (DCB) (Entered: 05/12/2017)

05/12/2017      261   SEALED MOTION Summary Judgment by All Defendants. (Attachments: # 1 Statement
                      of Undisputed Facts, # 2 Memorandum in Support, # 3 Exhibit 1, # 4 Exhibit 1a, # 5

                                                                                                  23-30825.85
             Case: 23-30825       Document: 113-1           Page: 90       Date Filed: 01/11/2024

                      Exhibit 1b Part 1, # 6 Exhibit 1b Part 2, # 7 Exhibit 1b Part 3a, # 8 Exhibit 1b Part 3b, # 9
                      Exhibit 1b Part 4, # 10 Exhibit 1b Part 5, # 11 Exhibit 1b Part 6, # 12 Exhibit 1b Part 7a, #
                      13 Exhibit 1b Part 7b, # 14 Exhibit 1b Part 8, # 15 Exhibit 1b Part 9, # 16 Exhibit 1b Part
                      10a, # 17 Exhibit 1b Part 10b, # 18 Exhibit 1b Part 11, # 19 Exhibit 1b Part 12, # 20
                      Exhibit 1b Part 13, # 21 Exhibit 1b Part 14, # 22 Exhibit 1b Part 15, # 23 Exhibit 2-5, # 24
                      Exhibit 6, # 25 Exhibit 7, # 26 Exhibit 8, # 27 Exhibit 9, # 28 Exhibit 10, # 29 Exhibit 11,
                      # 30 Exhibit 12, # 31 Exhibit 13, # 32 Exhibit 14)(NLT) (Entered: 05/16/2017)

05/12/2017      262   MEMORANDUM in Opposition to 261 SEALED MOTION for Summary Judgment filed
                      by All Plaintiffs. (Attachments: # 1 Statement of Undisputed Facts, # 2 Exhibit A to
                      O)(NLT) (Entered: 05/16/2017)

05/12/2017      263   SEALED DOCUMENT: Declaration by All Plaintiffs. (NLT) (Entered: 05/16/2017)

05/12/2017      264   Reply MEMORANDUM in Support of 192 Second MOTION to Strike Expert Testimony
                      filed by All Plaintiffs. (NLT) (Entered: 05/16/2017)

05/12/2017      265   Reply MEMORANDUM in Support of 194 Second MOTION for Partial Summary
                      Judgment Plaintiffs' Eighth Amendment Claim filed by All Plaintiffs. (Attachments: # 1
                      Exhibit)(NLT) (Entered: 05/16/2017)

05/12/2017      266   Reply MEMORANDUM in Support of 193 First MOTION for Partial Summary
                      Judgment on Plaintiffs' ADA Claims filed by All Plaintiffs. (Attachments: # 1 Exhibit A, #
                      2 Exhibit B)(NLT) (Entered: 05/16/2017)

05/12/2017      267   First Amended Joint Pretrial Order by All Parties (For your free look at document, enter
                      your ECF login and pw to confirm your right to view). (Attachments: # 1 Attachment A to
                      F)(NLT) (Entered: 05/16/2017)

05/16/2017      268   NOTICE of Briefing Schedule on 261 SEALED MOTION Summary Judgment :
                      Opposition to the motion shall be filed within 21 days from the filing of the motion and
                      shall not exceed 10 pages excluding attachments. The mover may file a reply brief within
                      14 days of the filing of the opposition and shall be limited to a total of 5 pages. No motion
                      for leave will be required.(This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                      document associated with this entry.)(DCB) (Entered: 05/16/2017)

05/17/2017      269   MOTION to Participate in Status Conference via Telephone by All Defendants.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;)(Dufrene, Kathryn)
                      (Entered: 05/17/2017)

05/19/2017      270   SEALED MOTION for Leave to File Response Under Seal by All Plaintiffs.
                      (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;, # 3 Exhibit 1, # 4
                      Exhibit 2, # 5 Exhibit 3, # 6 Exhibit 4, # 7 Exhibit 5, # 8 Exhibit 6, # 9 Exhibit 7, # 10
                      Exhibit 8, # 11 Exhibit 9, # 12 Exhibit 10, # 13 Exhibit 11, # 14 Exhibit 12, # 15 Exhibit
                      13, # 16 Exhibit 14, # 17 Exhibit 15, # 18 Attachment)(Montagnes, Mercedes) (Entered:
                      05/19/2017)

05/19/2017      271   Unopposed MOTION for Leave to File Excess Pages by All Plaintiffs. (Attachments: # 1
                      Memorandum in Support, # 2 Attachment)(Montagnes, Mercedes) Modified on 5/24/2017
                      to edit text (SGO). (Entered: 05/19/2017)

05/19/2017      272   MEMORANDUM in Opposition to 247 MOTION for Request of Judicial Notice filed by
                      All Defendants. (Attachments: # 1 Exhibit, # 2 Exhibit)(Dufrene, Kathryn) (Entered:
                      05/19/2017)

05/19/2017      273   MEMORANDUM in Opposition to 246 MOTION in Limine filed by All Defendants.


                                                                                                        23-30825.86
             Case: 23-30825       Document: 113-1           Page: 91       Date Filed: 01/11/2024

                      (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Dufrene, Kathryn) (Entered:
                      05/19/2017)

05/26/2017      274   AMENDED MOTION to File Exhibit Under Seal by All Plaintiffs. (Attachments: # 1
                      Proposed Order, # 2 Proposed Pleading; Opposition to Defendants' Motion In Limine, # 3
                      Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10
                      Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16 Exhibit,
                      # 17 Exhibit)(Hamilton, Bruce) Modified on 5/30/2017 to edit text (LLH). (Entered:
                      05/26/2017)

05/26/2017      275   SEALED MOTION for Leave to File Reply to Plaintiff's Opposition to Defendant's
                      Motion for Summary Judgment Under Seal by All Defendants. (Attachments: # 1
                      Memorandum in Support, # 2 Attachment, # 3 Proposed Pleading;, # 4 Exhibit, # 5
                      Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12
                      Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit)(Dufrene, Kathryn) Modified on
                      5/31/2017 to rotate and replace exhibits 11, 13 and 14 (LLH). (Entered: 05/26/2017)

05/26/2017      276   MOTION for Leave to Exceed Page Limits by All Defendants. (Attachments: # 1
                      Memorandum in Support, # 2 Attachment)(Dufrene, Kathryn) (Entered: 05/26/2017)

05/31/2017      277   MOTION for Expedited Hearing on 269 MOTION to Participate in Status Conference via
                      Telephone by All Defendants. (Attachments: # 1 Memorandum in Support, # 2
                      Attachment)(Dufrene, Kathryn) (Entered: 05/31/2017)

05/31/2017      278   MOTION to Withdraw and Substitute Counsel of Record by All Defendants.
                      (Attachments: # 1 Attachment)(Dufrene, Kathryn) Modified on 6/1/2017 to edit the text
                      (KAH). (Entered: 05/31/2017)

06/01/2017            MOTION(S) REFERRED: 278 MOTION to Substitute John C. Conine, Jr. in place of E.
                      Wade Shows as Attorney . This motion is now pending before the USMJ. (KAH)
                      (Entered: 06/01/2017)

06/02/2017      279   Unopposed Motion for Leave to File Reply In Support Of Plaintiffs Request for Judicial
                      Notice and Motions in Limine by All Plaintiffs. (Attachments: # 1 Memorandum in
                      Support Memorandum in support of motion for leave to reply, # 2 Proposed Pleading;
                      REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS MOTIONS IN LIMINE
                      AND REQUEST FOR JUDICIAL NOTICE, # 3 Proposed order granting leave, # 4
                      Exhibit Exhibit A for Reply Memorandum)(Warden, Derek) Modified on 6/5/2017 to edit
                      the text (KAH). (Attachment 2 replaced on 6/16/2017) (ELW). Modified on 6/16/2017 as
                      ordered by the court (ELW). (Entered: 06/02/2017)

06/02/2017      280   ORDER granting 269 Motion to Participate in Status Conference via Telephone and
                      denying as moot 277 Motion for Expedited Hearing. Signed by Judge Shelly D. Dick on
                      06/02/2017. (NLT) (Entered: 06/02/2017)

06/06/2017      281   ORDER granting 276 MOTION for Leave to Exceed Page Limit. Signed by Judge Shelly
                      D. Dick on 6/5/2017. (EDC) (Entered: 06/06/2017)

06/06/2017      282   ORDER granting 271 Motion for Leave to File Excess Pages. Signed by Judge Shelly D.
                      Dick on 6/5/2017. (EDC) (Entered: 06/06/2017)

06/06/2017      283   ORDER granting 274 Amended Motion for leave to file Memorandum in Opposition to
                      248 Motion in Limine. The motion and all attachments shall be filed into the record,
                      exhibit 15 to be filed under seal. The 270 Sealed Motion for Leave is DENIED AS
                      MOOT. Signed by Judge Shelly D. Dick on 6/6/2017. (LLH) (Entered: 06/06/2017)



                                                                                                        23-30825.87
             Case: 23-30825       Document: 113-1           Page: 92       Date Filed: 01/11/2024

06/06/2017      284   MEMORANDUM in Opposition to 248 MOTION in Limine filed by All Plaintiffs.
                      (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6
                      Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, #
                      12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14)(LLH) (Additional attachment(s) added on
                      6/6/2017: # 15 Exhibit) (LLH). (Entered: 06/06/2017)

06/06/2017      285   ORDER granting 279 Motion for Leave to File Reply In Support Of Plaintiffs' Request for
                      Judicial Notice and Motions in Limine. Signed by Judge Shelly D. Dick on 6/5/2017.
                      (EDC) (Entered: 06/06/2017)

06/06/2017      286   UNOPPOSED MOTION to Substitute Pleading by All Plaintiffs. (Attachments: # 1
                      Proposed Pleading; Plaintiffs Reply Memorandum in Support of Plaintiffs Request for
                      Judicial Notice and Motions in Limine, # 2 Proposed Order)(Warden, Derek) Modified on
                      6/7/2017 to edit text (ELW). (Entered: 06/06/2017)

06/06/2017      287   REPLY Memorandum in Support of MOTIONS in Limine and Request of Judicial Notice
                      filed by all plaintiffs. (Attachments: # 1 exhibit)(EDC) Modified on 6/7/2017 to correct
                      date.(EDC). (Entered: 06/06/2017)

06/06/2017      288   MOTION to Strike 275 SEALED MOTION for Leave to File Reply to Plaintiff's
                      Opposition to Defendant's Motion for Summary Judgment Under Seal, OR, In the
                      Alternative, For Limited Discovery by All Plaintiffs. (Attachments: # 1 Memorandum in
                      Support)(Warden, Derek). Added MOTION for Limited Discovery on 6/7/2017 (KAH).
                      Modified on 6/7/2017 to edit the text (KAH). (Entered: 06/06/2017)

06/07/2017      289   ORDER granting 278 Motion to Withdraw and Substitute Attorney. John Clifton Conine,
                      Jr. enrolled as additional counsel for defendants Stacye Falgout, Stephanie Lamartiniere,
                      Randy Lavespere, James M LeBlanc, Cynthia Park, Sherwood Poret, Raman Singh, The
                      Louisiana Department of Public Safety and Corrections and Darrel Vannoy replacing E.
                      Wade Shows. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 6/7/2017. (This is
                      a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                      entry.) (JSL) (Entered: 06/07/2017)

06/08/2017      290   ORDER granting 275 SEALED MOTION for Leave to File Reply to Plaintiff's
                      Opposition to Defendant's 261 Motion for Summary Judgment Under Seal. Signed by
                      Judge Shelly D. Dick on 6/8/2017. (LLH) (Entered: 06/08/2017)

06/08/2017      291   SEALED REPLY Memorandum to 262 Opposition to 261 Motion for Summary
                      Judgment filed by Defendants. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4
                      Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11
                      Exhibit, # 12 Exhibit) (LLH) (Entered: 06/08/2017)

06/14/2017      292   NOTICE of Change of Address by Bruce Warfield Hamilton (Hamilton, Bruce) (Entered:
                      06/14/2017)

06/14/2017      293   NOTICE of Briefing Schedule on 288 MOTION to Strike 275 SEALED MOTION for
                      Leave to File Reply to Plaintiff's Opposition to Defendant's Motion for Summary
                      Judgment Under Seal MOTION for Limited Discovery : Opposition to the motion shall be
                      filed within 21 days from the filing of the motion and shall not exceed 10 pages excluding
                      attachments. The mover may file a reply brief within 14 days of the filing of the
                      opposition and shall be limited to a total of 5 pages. No motion for leave will be
                      required.(This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.)(DCB) (Entered: 06/14/2017)

06/14/2017      294   ORDER granting 286 Motion to Substitute Pleading. Signed by Judge Shelly D. Dick on
                      6/14/17. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document

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             Case: 23-30825       Document: 113-1          Page: 93      Date Filed: 01/11/2024

                      associated with this entry.) (DCB) (Entered: 06/14/2017)

06/21/2017      295   MOTION for Leave to File Reply Memorandum in Support of Motion in Limine and to
                      Exceed Page Limitation by All Defendants. (Attachments: # 1 Memorandum in Support, #
                      2 Attachment, # 3 Proposed Pleading;, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit)(Roper, Mary)
                      (Attachment 1 replaced on 6/29/2017) (ELW). Modified on 6/29/2017 substituted as
                      ordered. (ELW). (Entered: 06/21/2017)

06/21/2017      296   MOTION for Leave to Substitute 295 Memorandum in Support by All Defendants.
                      (Attachments: # 1 Attachment, # 2 Proposed Pleading;)(Roper, Mary) Modified to edit the
                      text on 6/22/2017 (KAH). (Entered: 06/21/2017)

06/27/2017      297   MEMORANDUM in Opposition to 288 MOTION to Strike Defendants' Reply
                      Memorandum Which Was Filed in Support of Defendants' Motion for Summary
                      Judgment filed by All Defendants. (Roper, Mary) Modified to edit text on 6/29/2017
                      (SGO). (Entered: 06/27/2017)

06/29/2017      298   ORDER granting 295 MOTION for Leave to File Reply Memorandum in Support of
                      Motion in Limine and to Exceed Page Limitation. Signed by Judge Shelly D. Dick on
                      06/29/2017. (ELW) (Entered: 06/29/2017)

06/29/2017      299   MEMORANDUM IN REPLY to 284 Memorandum in Opposition to Motion; 248
                      MOTION in Limine filed by All Defendants. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                      Exhibit)(ELW) (Entered: 06/29/2017)

06/29/2017      300   ORDER granting 296 MOTION for Leave to File Corrected Memorandum in Support of
                      Motion for Leave to File Reply Memorandum in Support of Motion in Limine and to
                      Exceed Page Limits. Signed by Judge Shelly D. Dick on 6/29/2017. (ELW) (Entered:
                      06/29/2017)

06/30/2017      301   Notice to Counsel: As discussed at the 6/7/17 Status Conference, the Class Certification
                      Hearing is set for 9/19/2017 at 09:30 AM in Courtroom 3 before Judge Shelly D. Dick.
                      Any motions to continue that hearing shall be filed on or before July 14, 2017.

                      Evidence, in electronic format, shall be provided in accordance with Local Rule 79 and
                      Administrative Procedures.

                      (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                      this entry.)(DCB) (Entered: 06/30/2017)

07/11/2017      302   REPLY to 288 MOTION to Strike 275 SEALED MOTION for Leave to File Reply to
                      Plaintiff's Opposition to Defendant's Motion for Summary Judgment Under Seal
                      MOTION for Limited Discovery, 297 Memorandum in Opposition to Motion filed by All
                      Plaintiffs. (Attachments: # 1 Exhibit A)(Warden, Derek) (Main Document 302 replaced
                      on 7/20/2017) (EDC). Modified on 7/20/2017 in accordance with record document 306.
                      (EDC). (Entered: 07/11/2017)

07/13/2017      303   NOTICE OF NON-COMPLIANCE with LR 7(g) as to 302 Reply to Response to Motion,.
                      REQUIRED CORRECTION: A combined Motion for Leave to Exceed the Page Limits
                      and Motion to Strike the Incorrect Pleading must filed within 24 hours of this notice.
                      Otherwise, the original filing may be stricken by the Court without further notice. (ELW)
                      (Entered: 07/13/2017)

07/13/2017      304   Combined Motion to Strike Incorrect Pleading and Substitute Amended Pleading by All
                      Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading; Amended
                      Reply Memorandum, # 3 Exhibit)(Warden, Derek) Modified to edit text on 7/20/2017

                                                                                                     23-30825.89
             Case: 23-30825       Document: 113-1         Page: 94       Date Filed: 01/11/2024

                      (SGO). (Entered: 07/13/2017)

07/14/2017      305   MOTION to Continue Evidentiary Hearing on Motion for Class Certification by All
                      Defendants. (Attachments: # 1 Attachment)(Dufrene, Kathryn) (Entered: 07/14/2017)

07/20/2017      306   ORDER granting 304 Motion to Strike Incorrect Pleading and Substitute Amended
                      Pleading. Signed by Judge Shelly D. Dick on 7/20/2017. (EDC) (Entered: 07/20/2017)

07/27/2017      307   ORDER granting 305 Motion to Continue Evidentiary Hearing previously set for
                      9/19/2017 is hereby reset for 10/26/2017 at 09:30 AM in Courtroom 3 before Judge Shelly
                      D. Dick.. Signed by Judge Shelly D. Dick on 7/27/2017. (This is a TEXT ENTRY ONLY.
                      There is no hyperlink or PDF document associated with this entry.) (BKA) (Entered:
                      07/27/2017)

07/28/2017      308   MOTION for Reconsideration of 307 Order on Motion to Continue, and Motion to
                      Expedite by All Plaintiffs. (Attachments: # 1 Memorandum in Support)(Hamilton, Bruce).
                      Added MOTION for Expedited Consideration on 7/28/2017 (LLH). (Entered: 07/28/2017)

08/02/2017      309   ORDER: Plaintiffs' 308 Motion for Reconsideration and Motion to Expedite will be
                      treated as an opposition to the Defendant's 305 Motion to Continue. The Defendants shall
                      have until Friday, August 11, 2017 to respond to this pleading. Signed by Judge Shelly D.
                      Dick on 8/2/2017. (EDC) (Entered: 08/02/2017)

08/02/2017            Set Deadlines: Defendants have until Friday, August 11, 2017 to respond to 305 Motion to
                      Continue Evidentiary Hearing on Motion for Class Certification. (EDC) (Entered:
                      08/02/2017)

08/07/2017      310   MOTION for Derek Warden to Withdraw as Attorney by All Plaintiffs. (Attachments: # 1
                      Proposed Order)(Warden, Derek) (Entered: 08/07/2017)

08/08/2017            MOTION(S) REFERRED: 310 MOTION for Derek Warden to Withdraw as Attorney .
                      This motion is now pending before the USMJ. (SGO) (Entered: 08/08/2017)

08/09/2017      311   ORDER granting 310 Motion to Withdraw as Attorney. Attorney Derek Warden, Esq. is
                      withdrawn as counsel for Plaintiffs in this matter. Signed by Magistrate Judge Richard L.
                      Bourgeois, Jr. on 8/9/2017. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                      PDF document associated with this entry.) (JSL) (Entered: 08/09/2017)

08/09/2017      312   REPLY to 308 MOTION for Reconsideration of 307 Order on Motion to Continue,
                      MOTION for Expedited Hearing, 305 MOTION to Continue Evidentiary Hearing on
                      Motion for Class Certification filed by All Defendants. (Dufrene, Kathryn) (Entered:
                      08/09/2017)

08/15/2017      313   ORDER: The Court has reconsidered its Ruling 307 granting the Defendants Motion to
                      Continue Evidentiary Hearing on Motion for Class Certification 305 and declines
                      reconsideration. The Court has considered the Plaintiff's opposition 308 and and the
                      Defendants Response 312 and denies reconsideration. The Class Certification hearing is
                      hereby confirmed and will be conducted on 10/26/2017 at 09:30 AM in Courtroom 3.
                      Signed by Judge Shelly D. Dick on 8/15/2017. (This is a TEXT ENTRY ONLY. There is
                      no hyperlink or PDF document associated with this entry.)(Dick, Shelly) (Entered:
                      08/15/2017)

08/31/2017      314   MOTION for Leave to File Supplemental Memorandum in Support of Defendants' 261
                      Motion for Summary Judgment by All Defendants. (Attachments: # 1 Memorandum in
                      Support, # 2 Proposed Pleading;, # 3 Attachment)(Dufrene, Kathryn) Modified to edit the
                      text on 9/1/2017 (KAH). (Entered: 08/31/2017)


                                                                                                     23-30825.90
             Case: 23-30825       Document: 113-1           Page: 95       Date Filed: 01/11/2024

09/01/2017      315   Notice to Counsel Resetting Hearing: Due to an unforeseen scheduling conflict the
                      Motion Hearing set for 10/26/2017 is hereby Reset for 11/1/2017 at 09:30 AM in
                      Courtroom 3 before Judge Shelly D. Dick. (This is a TEXT ENTRY ONLY. There is no
                      hyperlink or PDF document associated with this entry.)(BKA) (Entered: 09/01/2017)

09/11/2017      316   NOTICE TO COUNSEL: PLEASE BE ADVISED that a Telephone Status Conference is
                      set in this matter for 9/21/2017 at 2:30 pm. The Parties are to set up the call into the
                      Chamber's main line with all Parties on the line. (This is a TEXT ENTRY ONLY. There
                      is no hyperlink or PDF document associated with this entry.) (BKA) (Entered:
                      09/11/2017)

09/12/2017            Set/Reset Hearings: Telephone Status Conference set for 9/21/2017 at 02:30 PM before
                      Judge Shelly D. Dick. This entry for docketing purposes only. (BKA) (Entered:
                      09/12/2017)

09/21/2017      317   ORDER: Because the class certification issue must be decided before dispositive motions,
                      and the Court believes that resolution of this issue may (or may not) alter the facts and /or
                      analysis regarding the dispositive motions filed in this case, the Court will deny the 193
                      Motion for Partial Summary Judgment on Plaintiffs ADA Claims, 194 Motion for Partial
                      Summary Judgment on Plaintiffs Eighth Amendment Claims, and the Defendants 261
                      Motion for Summary Judgment without prejudice. Following the class certification
                      hearing, the Parties are granted leave of Court to re-urge these motions by reference to
                      record document numbers, without the necessity of re-filing same. Should supplemental
                      briefing be required based on the class certification determination, such leave is granted to
                      file supplemental briefs not to exceed 15 pages without leave of Court. Signed by Judge
                      Shelly D. Dick on 9/21/2017. (LLH) (Entered: 09/21/2017)

09/21/2017      318   Minute Entry for proceedings held before Judge Shelly D. Dick: Telephone Conference
                      held on 9/21/2017. (BKA) (Entered: 09/21/2017)

09/22/2017      319   ORDER denying without prejudice 314 MOTION for Leave to File Supplemental
                      Memorandum in Support of Defendants' 261 Motion for Summary Judgment. Signed by
                      Judge Shelly D. Dick on 9/22/2017. (LLH) (Entered: 09/22/2017)

09/25/2017      320   MOTION to Withdraw and Substitute Counsel of Record by All Defendants. (Conine,
                      John) Modified on 9/25/2017 to edit text (ELW). (Entered: 09/25/2017)

09/26/2017            MOTION(S) REFERRED: 320 MOTION to Substitute Caroline Tomeny Bond in place
                      of Kathryn A. Dufrene as Attorney . This motion is now pending before the USMJ.
                      (ELW) (Entered: 09/26/2017)

09/27/2017      321   RULING denying 191 Motion to Exclude Testimony of Jacqueline Moore. Signed by
                      Judge Shelly D. Dick on 9/27/2017. (LLH) (Entered: 09/27/2017)

09/29/2017      322   RULING granting 192 MOTION to Exclude Testimony of David Thomas. Signed by
                      Judge Shelly D. Dick on 9/29/2017. (SGO) (Entered: 09/29/2017)

09/29/2017      323   ORDER granting in part and denying in part 320 Motion to Substitute Attorney. Motion
                      granted to enroll Caroline T. Bond as additional counsel for Louisiana Department of
                      Public Safety and Corrections, Darrel Vannoy, Stephanie Lamartiniere, James M.
                      LeBlanc, Raman Singh, MD, Stacye Falgout, Randy Lavespere, MD, Sherwood Poret, RN
                      and Cynthia Park. Motion denied as to Kathryn Dufrene, as motion not signed by
                      withdrawing attorney. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      9/29/2017. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (JSL) (Entered: 09/29/2017)



                                                                                                        23-30825.91
             Case: 23-30825       Document: 113-1         Page: 96      Date Filed: 01/11/2024

10/02/2017      324   MOTION for Kathryn A. Dufrene to Withdraw as Attorney by All Defendants.
                      (Attachments: # 1 Attachment Proposed Order)(Dufrene, Kathryn) (Entered: 10/02/2017)

10/03/2017            MOTION(S) REFERRED: 324 MOTION for Kathryn A. Dufrene to Withdraw as
                      Attorney . This motion is now pending before the USMJ. (ELW) (Entered: 10/03/2017)

10/04/2017      325   ORDER granting 324 Motion to Withdraw as Attorney. Attorney Kathryn A. Dufrene is
                      withdrawn as counsel for defendants, Louisiana Department of Public Safety and
                      Corrections, Darrel Vannoy, Stephanie Lamartiniere, James M. Leblanc, Raman Singh,
                      MD, Stacye Falgout, Randy Lavespere, MD, Sherwood Poret, RN and Cynthia Park,
                      ACNP in this matter. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 10/4/2017.
                      (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                      this entry.) (JSL) (Entered: 10/04/2017)

10/06/2017      326   MOTION for Clarification of and Relief From 322 Ruling on Motion to Exclude
                      Testimony of David Thomas by All Defendants. (Attachments: # 1 Memorandum in
                      Support, # 2 Exhibit, # 3 Attachment Proposed Order)(Cody, Jeffrey) Modified to edit the
                      text on 10/10/2017 (KAH). (Entered: 10/06/2017)

10/06/2017      327   MOTION for Expedited Consideration on 326 MOTION for Clarification of and Relief
                      From 322 Ruling on Motion to Exclude Testimony of David Thomas by All Defendants.
                      (Attachments: # 1 Memorandum in Support, # 2 Attachment Proposed Order)(Cody,
                      Jeffrey) Modified to edit the text on 10/10/2017 (KAH). (Entered: 10/06/2017)

10/10/2017      328   MOTION to Enroll Nishi Kumar as Additional Attorney by All Plaintiffs. (Attachments: #
                      1 Memorandum in Support, # 2 Attachment Proposed Order)(Montagnes, Mercedes)
                      (Entered: 10/10/2017)

10/10/2017      329   MOTION for Amanda Boozer to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                      Number 053N-1651623) by All Plaintiffs. (Attachments: # 1 Exhibit Exhibit A, # 2
                      Exhibit Exhibit A1, # 3 Exhibit Exhibit A2, # 4 Attachment Proposed Order)(Montagnes,
                      Mercedes) (Entered: 10/10/2017)

10/10/2017            MOTION(S) REFERRED: 329 MOTION for Amanda Boozer to Appear Pro Hac Vice
                      (Filing fee $100.00, Receipt Number 053N-1651623), 328 MOTION to Enroll Nishi
                      Kumar as Additional Attorney . This motion is now pending before the USMJ. (EDC)
                      (Entered: 10/10/2017)

10/11/2017      330   ORDER granting 328 Motion to Enroll Additional Attorney. Added attorney Nishi Lal
                      Kumar as additional counsel for Plaintiffs Alton Adams, Otto Barrera, Alton Batiste,
                      Clyde Carter, Ian Cazenave, Ricky D. Davis, Reginald George, Edward Giovanni,
                      Shannon Hurd, Kentrell Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward
                      Washington and Rufus White. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      10/11/2017. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (JSL) (Entered: 10/11/2017)

10/11/2017      331   ORDER granting 329 Motion for Amanda Boozer to Appear Pro Hac Vice as co-counsel
                      for Plaintiffs in this matter. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      10/11/2017. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (JSL) (Entered: 10/11/2017)

10/12/2017      332   STRICKEN FROM THE RECORD MOTION in Limine for Class Certification Hearing
                      by All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Exhibit A, # 3 Exhibit
                      B, # 4 Exhibit C, # 5 Exhibit D)(Montagnes, Mercedes) Modified on 10/26/2017 Stricken
                      in accordance with rec doc 348 (ELW). (Entered: 10/12/2017)



                                                                                                    23-30825.92
             Case: 23-30825       Document: 113-1          Page: 97       Date Filed: 01/11/2024

10/13/2017      333   ORDER granting 327 Motion for Expedited Hearing on 326 Defendants Motion for
                      Clarification of Court's Limine Order 322 . Oral arguments are not necessary. The Court
                      will rule upon the Motion for Clarification expeditiously. Opposition or response, if any,
                      shall be filed on or before October 17, 2017. Signed by Judge Shelly D. Dick on
                      10/13/2017. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (Dick, Shelly) (Entered: 10/13/2017)

10/13/2017      334   MOTION for Expedited Hearing on 332 MOTION in Limine for Class Certification
                      Hearing by All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Attachment
                      Proposed Order)(Montagnes, Mercedes) (Entered: 10/13/2017)

10/16/2017      335   MOTION to Enroll Angelique Freel, Michelle White, and Patricia Wilton as Additional
                      Attorney by All Defendants. (Barient, Andrea) (Entered: 10/16/2017)

10/17/2017            MOTION(S) REFERRED: 335 MOTION to Enroll Angelique Freel, Michelle White, and
                      Patricia Wilton as Additional Attorney . This motion is now pending before the USMJ.
                      (KAH) (Entered: 10/17/2017)

10/17/2017      336   ORDER granting 334 Motion for Expedited Consideration of Plaintiffs' 332 Motion to
                      Exclude the Declarations of Tiffany Bellue and Nyesha Kelly. Defendants shall file a
                      response to the motion on before 10/23/2017. The Court does not need oral argument.
                      Signed by Judge Shelly D. Dick on 10/17/2017. (SGO) (Entered: 10/17/2017)

10/17/2017            Set/Reset Deadlines (Court Use Only) (SGO) (Entered: 10/17/2017)

10/17/2017      337   ORDER granting 335 Motion to Enroll Additional Attorney. Added attorneys Angelique
                      Duhon Freel, Michelle Marney White and Patricia Hill Wilton as additional counsel of
                      record for Stephanie Lamartiniere, James M LeBlanc and The Louisiana Department of
                      Public Safety and Corrections. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                      10/17/2017. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (JSL) (Entered: 10/17/2017)

10/17/2017      338   STRICKEN FROM THE RECORD MEMORANDUM in Opposition to 326 MOTION
                      for Clarification of and Relief From 322 Ruling on Motion to Exclude Testimony of
                      David Thomas filed by All Plaintiffs. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                      Exhibit C)(Kumar, Nishi) Modified on 10/24/2017 Stricken as ordered (ELW). (Entered:
                      10/17/2017)

10/18/2017      339   NOTICE OF NON-COMPLIANCE with LR 7(g) as to 338 Memorandum in Opposition
                      to Motion. REQUIRED CORRECTION: A combined Motion for Leave to Exceed the
                      Page Limits and Motion to Strike the Incorrect Pleading must filed within 24 hours of this
                      notice. Otherwise, the original filing may be stricken by the Court without further notice.
                      (ELW) (Entered: 10/18/2017)

10/18/2017      340   MOTION for Leave to File Excess Pages , MOTION to Strike the Incorrect Pleading by
                      All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;, # 3
                      Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Attachment Proposed Order)(Kumar, Nishi)
                      (Entered: 10/18/2017)

10/18/2017      341   MOTION for Leave to File Reply Brief in support of Motion for Clarification of and
                      Relief from Order Granting Motion to Exclude Testimony of David Thomas by All
                      Defendants. (Attachments: # 1 Memorandum in Support, # 2 Attachment Proposed order,
                      # 3 Proposed Pleading; Reply Brief, # 4 Exhibit Redacted Report)(Cody, Jeffrey)
                      (Entered: 10/18/2017)

10/20/2017      342


                                                                                                       23-30825.93
             Case: 23-30825       Document: 113-1          Page: 98       Date Filed: 01/11/2024

                      ORDER granting 341 MOTION for Leave to File Reply Brief in support of Motion for
                      Clarification of and Relief from Order Granting Motion to Exclude Testimony of David
                      Thomas filed by Sherwood Poret, Burl Cain, Cynthia Park, Raman Singh, The Louisiana
                      Department of Public Safety and Corrections, Stacye Falgout, Darrel Vannoy, James M
                      LeBlanc, Randy Lavespere, Stephanie Lamartiniere. Signed by Judge Shelly D. Dick on
                      10/20/2017. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                      associated with this entry.) (Dick, Shelly) (Entered: 10/20/2017)

10/20/2017      352   REPLY BRIEF in Support of 326 MOTION for Clarification of and Relief From 322
                      Ruling on Motion to Exclude Testimony of David Thomas filed by All Defendants.
                      (Attachments: # 1 Exhibit)(ELW) (Entered: 10/25/2017)

10/23/2017      343   RULING granting 326 MOTION for Clarification of and Relief From 322 Ruling on 192
                      Motion to Exclude Testimony of David Thomas. The Courts' Prior 322 RULING is
                      vacated in part . Plaintiff' s 192 Motion in Limine to exclude Dr. David Thomas' opinion
                      testimony as relating to legal and security issues is GRANTED; the motion to exclude
                      standard of care opinion testimony is DENIED, and all objections to admissibility are
                      reserved. Defendants' request to vacate and amend the Scheduling Order and for leave to
                      name a substitute expert is DENIED, as moot. Signed by Judge Shelly D. Dick on
                      10/23/2017. (LLH) (Entered: 10/23/2017)

10/23/2017      344   ORDER granting 340 Motion for Leave to File Excess Pages and granting 340 Motion to
                      Strike. Signed by Judge Shelly D. Dick on 10/23/2017. (This is a TEXT ENTRY ONLY.
                      There is no hyperlink or PDF document associated with this entry.) (BKA) (Entered:
                      10/23/2017)

10/23/2017      345   MOTION for Status Conference by All Defendants. (Attachments: # 1 Memorandum in
                      Support, # 2 Attachment Proposed Order)(Cody, Jeffrey) (Entered: 10/23/2017)

10/23/2017      346   MOTION to Strike 332 Plaintiffs Motion to Exclude the Declarations of Tiffany Bellue
                      and Nyesha Kelly, or in the Alternative, Opposition to Plaintiffs Motion to Exclude the
                      Declarations of Tiffany Bellue and Nyesha Kelly by All Defendants. (Attachments: # 1
                      Memorandum in Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Attachment
                      Proposed Order)(Cody, Jeffrey) Modified to edit the text on 10/24/2017 (KAH).
                      (Attachment 2 replaced on 10/24/2017) (KAH). (Entered: 10/23/2017)

10/23/2017      350   MEMORANDUM in Opposition to Defendant's 326 MOTION for Clarification filed by
                      All Plaintiffs. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(ELW) (Entered:
                      10/24/2017)

10/24/2017      347   RULING : The 246 Motion in Limine is DENIED with full reservation of rights to urge
                      objections at the time of trial. Signed by Judge Shelly D. Dick on 10/24/2017. (LLH)
                      (Entered: 10/24/2017)

10/24/2017      348   ORDER granting 346 Motion to Strike 332 Plaintiffs Motion to Exclude the Declarations
                      of Tiffany Bellue and Nyesha Kelly. The Motion is GRANTED for the reason that the
                      Motion in Limine 322 was untimely filed. Signed by Judge Shelly D. Dick on 10/24/2017.
                      (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                      this entry.) (Dick, Shelly) (Entered: 10/24/2017)

10/24/2017      349   ORDER granting 247 Plaintiffs Motion Request of Judicial Notice of the licensure status
                      of physicians, without prejudice to the parties right to make evidentiary objections at the
                      time of hearing or trial. Signed by Judge Shelly D. Dick on 10/24/2017. (This is a TEXT
                      ENTRY ONLY. There is no hyperlink or PDF document associated with this entry.)
                      (Dick, Shelly) (Entered: 10/24/2017)


                                                                                                       23-30825.94
             Case: 23-30825       Document: 113-1           Page: 99       Date Filed: 01/11/2024

10/24/2017      351   ORDER denying 345 Motion for Conference. The parties are hereby advised that each
                      side will be permitted the time required to present their respective evidence at the Class
                      Certification Hearing set for Nov. 1, 2017. In the event of the desire of either party to
                      make a proffer, the Court will provide guidance on same at the time of the hearing. Signed
                      by Judge Shelly D. Dick on 10/24/2017. (This is a TEXT ENTRY ONLY. There is no
                      hyperlink or PDF document associated with this entry.) (Dick, Shelly) (Entered:
                      10/24/2017)

10/25/2017      353   RULING granting in part and denying in part Defendant's 248 Motion in Limine. Signed
                      by Judge Shelly D. Dick on 10/25/2017. (LLH) (Entered: 10/25/2017)

11/01/2017      375   Minute Entry for proceedings held before Judge Shelly D. Dick: Motion Hearing held on
                      11/1/2017 re 133 MOTION to Certify Class filed by Clyde Carter, Kentrell Parker,
                      Shannon Hurd, Cedric Evans, Lionel Tolbert, Reginald George, Rufus White, Alton
                      Adams, Ian Cazenave, John Tonubbee, Edward Giovanni, Farrell Sampier, Alton Batiste,
                      Ricky D. Davis, Edward Washington, Otto Barrera, Joseph Lewis, Jr.. (Court Reporter
                      Judy Francisco.) Pursuant to Local Rules, offering parties shall retain custody of
                      exhibits..(BKA) (Entered: 12/01/2017)

11/02/2017      354   NOTICE of Hearing on Motion 133 MOTION to Certify Class :Motion Hearing
                      continuation set for 11/2/2017 at 01:30 PM in Courtroom 3 before Judge Shelly D. Dick.
                      (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                      this entry.) (BKA) (Entered: 11/02/2017)

11/02/2017      355   Minute Entry for proceedings held before Judge Shelly D. Dick: Motion Hearing
                      concluded on 11/2/2017 re 133 MOTION to Certify Class filed by Clyde Carter, Kentrell
                      Parker, Shannon Hurd, Cedric Evans, Lionel Tolbert, Reginald George, Rufus White,
                      Alton Adams, Ian Cazenave, John Tonubbee, Edward Giovanni, Farrell Sampier, Alton
                      Batiste, Ricky D. Davis, Edward Washington, Otto Barrera, Joseph Lewis, Jr. (Court
                      Reporter Judy Francisco.) Pursuant to Local Rules, offering parties shall retain custody of
                      exhibits..(BKA) (Entered: 11/02/2017)

11/03/2017      356   TRANSCRIPT REQUEST by Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter,
                      Ian Cazenave, Ricky D. Davis, Cedric Evans, Reginald George, Edward Giovanni,
                      Shannon Hurd, Joseph Lewis, Jr, Kentrell Parker, Farrell Sampier, Lionel Tolbert, John
                      Tonubbee, Edward Washington, Rufus White for proceedings held on November 1, 2017
                      and November 2, 2017 before Judge Shelly D. Dick.. (Kumar, Nishi) (Entered:
                      11/03/2017)

11/09/2017      357   TRANSCRIPT REQUEST by Darrel Vannoy for proceedings held on 11/1/2017 -
                      11/2/2017 before Judge Shelly D. Dick. Fee $ 30, receipt number 053N-1672909.
                      (Conine, John) Modified to flatten main document and edit the text on 11/9/2017 (KAH).
                      (Entered: 11/09/2017)

11/09/2017      358   Exhibit(s) to 355 Motion Hearing,, by All Plaintiffs. (Attachments: # 1 Exhibit List
                      (Joint), # 2 Exhibit 1-2, # 3 Exhibit 3-15, # 4 Exhibit 16-36, # 5 Exhibit 37-47, # 6 Exhibit
                      48-56)(Kumar, Nishi) Modified to rotate attachments 2, 3 and 6 on 11/13/2017 (KAH).
                      (Entered: 11/09/2017)

11/09/2017      359   Additional Exhibits to 358 Exhibit(s) by All Plaintiffs. filed by All Plaintiffs.
                      (Attachments: # 1 Exhibit 62-67, # 2 Exhibit 68-78, # 3 Exhibit 79 part 1, # 4 Exhibit 79
                      part 2)(Kumar, Nishi) (Entered: 11/09/2017)

11/09/2017      360   Additional Exhibits to 358 Exhibit(s) by All Plaintiffs. filed by All Plaintiffs.
                      (Attachments: # 1 Exhibit 81, # 2 Exhibit 82-87, # 3 Exhibit 88-94, # 4 Exhibit 95 part
                      1)(Kumar, Nishi) (Main Document 360 replaced on 11/13/2017) (KAH). (Entered:

                                                                                                        23-30825.95
         Case: 23-30825       Document: 113-1          Page: 100        Date Filed: 01/11/2024

                   11/09/2017)

11/09/2017   361   Additional Exhibits to 358 Exhibit(s) by All Plaintiffs. filed by All Plaintiffs.
                   (Attachments: # 1 Exhibit 96-97, # 2 Exhibit 98-99, # 3 Exhibit 100-104, # 4 Exhibit
                   105-107 part 1)(Kumar, Nishi) (Entered: 11/09/2017)

11/09/2017   362   Additional Exhibits to 358 Exhibit(s) by All Plaintiffs. filed by All Plaintiffs.
                   (Attachments: # 1 Exhibit 107 part 3, # 2 Exhibit 107 part 4, # 3 Exhibit 107 part 5, # 4
                   Exhibit 107 part 6)(Kumar, Nishi) Modified to rotate attachments 1-3 on 11/13/2017
                   (KAH). (Entered: 11/09/2017)

11/09/2017   363   Additional Exhibits to 358 Exhibit(s) by All Plaintiffs. filed by All Plaintiffs.
                   (Attachments: # 1 Exhibit 108-109, # 2 Exhibit 110 part 1, # 3 Exhibit 110 part 2, # 4
                   Exhibit 110 part 3)(Kumar, Nishi) (Entered: 11/09/2017)

11/09/2017   364   Additional Exhibits to 358 Exhibit(s) by All Plaintiffs. filed by All Plaintiffs.
                   (Attachments: # 1 Exhibit 110 part 5, # 2 Exhibit 110 part 6, # 3 Exhibit 110 part 7, # 4
                   Exhibit 110 part 8)(Kumar, Nishi) (Entered: 11/09/2017)

11/09/2017   365   Additional Exhibits to 358 Exhibit(s) by All Plaintiffs. filed by All Plaintiffs.
                   (Attachments: # 1 Exhibit 111 part 1, # 2 Exhibit 111 part 2, # 3 Exhibit 112-113, # 4
                   Exhibit 114 part 1)(Kumar, Nishi) Modified to rotate pages in main document and
                   attachment 4 on 11/13/2017 (KAH). (Entered: 11/09/2017)

11/09/2017   366   Additional Exhibits to 358 Exhibit(s) by All Plaintiffs. filed by All Plaintiffs.
                   (Attachments: # 1 Exhibit 114 part 3, # 2 Exhibit 114 part 4, # 3 Exhibit 114 part 5, # 4
                   Exhibit 115-116 part 1)(Kumar, Nishi) Modified to rotate main document and attachments
                   1-3 on 11/13/2017 (KAH). (Entered: 11/09/2017)

11/09/2017   367   Additional Exhibits to 358 Exhibit(s) by All Plaintiffs. filed by All Plaintiffs.
                   (Attachments: # 1 Exhibit 116 part 3, # 2 Exhibit 117 part 1, # 3 Exhibit 117 part 2, # 4
                   Exhibit 118 part 1)(Kumar, Nishi) (Attachment 2 replaced on 11/13/2017) (ELW).
                   (Attachment 4 replaced on 11/13/2017) (ELW). Modified on 11/13/2017 to correct page
                   orientation(ELW). (Entered: 11/09/2017)

11/09/2017   368   Additional Exhibits to 358 Exhibit(s) by All Plaintiffs. filed by All Plaintiffs.
                   (Attachments: # 1 Exhibit 118 part 3, # 2 Exhibit 119-125, # 3 Exhibit 126 part 1, # 4
                   Exhibit 126 part 2-127)(Kumar, Nishi) (Main Document 368 replaced on 11/13/2017)
                   (KAH). (Entered: 11/09/2017)

11/09/2017   369   Additional Exhibits to 358 Exhibit(s) by All Plaintiffs. filed by All Plaintiffs.
                   (Attachments: # 1 Exhibit 136-145, # 2 Exhibit 146 part 1, # 3 Exhibit 146 part 2, # 4
                   Exhibit 146 part 3, # 5 Exhibit 146 part 4)(Kumar, Nishi) (Attachment 4 replaced on
                   11/13/2017) (KAH). (Attachment 5 replaced on 11/13/2017) (KAH). Modified to rotate
                   attachments 4 & 5 on 11/13/2017 (KAH). (Attachment 2 replaced on 11/13/2017) (ELW).
                   (Attachment 2 replaced on 12/13/2017) (SGO). (Entered: 11/09/2017)

11/13/2017   370   ORDER denying as moot 288 Motion to Strike ; denying as moot 288 Motion for
                   Discovery. Signed by Judge Shelly D. Dick on 11/13/2017. (This is a TEXT ENTRY
                   ONLY. There is no hyperlink or PDF document associated with this entry.) (BKA)
                   (Entered: 11/13/2017)

11/13/2017   371   TRANSCRIPT REQUEST by The Louisiana Department of Public Safety and
                   Corrections for proceedings held on 11/1/2017 - 11/2/2017 before Judge Shelly D. Dick..
                   (Conine, John) (Main Document 371 replaced on 11/14/2017 to flatten the image) (NLT).
                   (Entered: 11/13/2017)


                                                                                                    23-30825.96
         Case: 23-30825        Document: 113-1          Page: 101        Date Filed: 01/11/2024

11/13/2017   372   ORDER denying as moot 332 Motion in Limine. Signed by Judge Shelly D. Dick on
                   11/13/2017. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                   associated with this entry.) (BKA) (Entered: 11/13/2017)

11/15/2017   373   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings Trancript of Class
                   Certification Hearing before Judge Shelly D. Dick held on November 1, 2017. Court
                   Reporter: Judy Y. Francisco, CCR. Phone Number: 225-389-3566.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 12/6/2017. Redacted
                   Transcript Deadline set for 12/18/2017. Release of Transcript Restriction set for
                   2/13/2018. (Francisco, Judy) (Entered: 11/15/2017)

11/15/2017   374   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings Transcript of Class
                   Certification Hearing before Judge Shelly D. Dick held on November 2, 2017. Court
                   Reporter: Judy Y. Francisco, CCR. Phone Number: 225-389-3566.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 12/6/2017. Redacted
                   Transcript Deadline set for 12/18/2017. Release of Transcript Restriction set for
                   2/13/2018. (Francisco, Judy) (Main Document 374 replaced on 11/16/2017 to include
                   index as per court reporter) (DCB). Modified on 11/16/2017 (DCB). (Entered:
                   11/15/2017)

12/04/2017   376   MOTION for Evidentiary Sanctions by All Plaintiffs. (Attachments: # 1 Memorandum in
                   Support, # 2 Exhibit A, # 3 Exhibit B)(Hamilton, Bruce) Modified to edit text on
                   12/5/2017 (SGO). (Entered: 12/04/2017)

12/04/2017   377   Post-Hearing Brief in Support of 133 MOTION to Certify Class filed by All Plaintiffs.
                   (Attachments: # 1 Attachment A, # 2 Attachment B, # 3 Attachment C)(Montagnes,
                   Mercedes) Modified on 12/5/2017 to edit text (LLH). (Entered: 12/04/2017)

12/05/2017   378   Post-Hearing Brief in Opposition to 133 MOTION to Certify Class by James M LeBlanc.
                   (Roper, Mary) Modified on 12/5/2017 to edit text (LLH). (Entered: 12/05/2017)

12/08/2017   379   MOTION for Leave to Supplement Memo in Support of Motion for Evidentiary Sanctions
                   by All Plaintiffs. (Attachments: # 1 Proposed Pleading; Supplement to Memo, # 2 Exhibit
                   Proposed Order)(Hamilton, Bruce) (Entered: 12/08/2017)

12/11/2017   380   ORDER granting 379 MOTION for Leave to Supplement Memo. Signed by Judge Shelly
                   D. Dick on 12/11/2017. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF

                                                                                                      23-30825.97
         Case: 23-30825       Document: 113-1          Page: 102        Date Filed: 01/11/2024

                   document associated with this entry.) (BKA) (Entered: 12/11/2017)

12/11/2017   381   SUPPLEMENTAL to MEMORANDUM in Support of 376 MOTION for Sanctions filed
                   by All Plaintiffs. (ELW) (Entered: 12/12/2017)

12/26/2017   382   MEMORANDUM in Opposition to 376 MOTION for Sanctions filed by All Defendants.
                   (Cody, Jeffrey) (Entered: 12/26/2017)

01/09/2018   383   MOTION for Leave to File Reply by All Plaintiffs. (Attachments: # 1 Memorandum in
                   Support, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Proposed Pleading;, # 5 Exhibit A, # 6 Exhibit
                   B, # 7 Exhibit C, # 8 Exhibit D, # 9 Exhibit E, # 10 Attachment Proposed
                   Order)(Montagnes, Mercedes) Modified on 1/10/2018to rotate and replace Exhibit B,
                   E(LLH). (Entered: 01/09/2018)

01/10/2018   384   Ex Parte MOTION to Enroll Randal J. Robert, Connell L. Archey, Keith J. Fernandez,
                   and George P. Holmes as Additional Attorney by All Defendants. (Attachments: # 1
                   Attachment Proposed Order)(Roper, Mary) Modified on 1/11/2018 to edit text (LLH).
                   (Entered: 01/10/2018)

01/11/2018         MOTION(S) REFERRED: 384 MOTION to Enroll Randal J. Robert, Connell L. Archey,
                   Keith J. Fernandez, and George P. Holmes as Additional Attorney . This motion is now
                   pending before the USMJ. (LLH) (Entered: 01/11/2018)

01/11/2018   385   ORDER granting 383 MOTION for Leave to File Reply filed by Clyde Carter, Kentrell
                   Parker, Shannon Hurd, Cedric Evans, Lionel Tolbert, Reginald George, Rufus White,
                   Alton Adams, Ian Cazenave, John Tonubbee, Edward Giovanni, Farrell Sampier, Alton
                   Batiste, Ricky D. Davis, Edward Washington, Otto Barrera, Joseph Lewis, Jr.. Signed by
                   Judge Shelly D. Dick on 1/11/2018. (This is a TEXT ENTRY ONLY. There is no
                   hyperlink or PDF document associated with this entry.) (BKA) (Entered: 01/11/2018)

01/11/2018   387   REPLY in Support of 376 MOTION for Sanctions filed by All Plaintiffs. (Attachments: #
                   1 Attachment, # 2 Attachment, # 3 Attachment, # 4 Attachment, # 5 Attachment)(ELW)
                   (Entered: 01/12/2018)

01/12/2018   386   ORDER granting 384 Motion to Enroll Additional Counsel of Record for Defendants.
                   Added attorneys Randal J. Robert, Connell Lee Archey, Keith Fernandez and George
                   Holmes as additional counsel of record for defendants Stacye Falgout, Stephanie
                   Lamartiniere, Randy Lavespere, James M LeBlanc, Cynthia Park, Sherwood Poret,
                   Raman Singh, The Louisiana Department of Public Safety and Corrections and Darrel
                   Vannoy, and designating Randal J. Robert as lead attorney for defendants. Signed by
                   Magistrate Judge Richard L. Bourgeois, Jr. on 1/12/2018. (This is a TEXT ENTRY
                   ONLY. There is no hyperlink or PDF document associated with this entry.) (JSL)
                   (Entered: 01/12/2018)

01/12/2018   388   RULING granting 376 Motion for Evidentiary Sanctions. The Court will exclude any
                   evidence or documents not produced in discovery unless such documents were attached to
                   pleadings filed into the record prior to the class certification hearing. The Court declines
                   to award any monetary sanctions. Signed by Judge Shelly D. Dick on 1/12/2018. (SGO)
                   (Entered: 01/12/2018)

01/17/2018   389   MOTION for Scheduling Conference by All Plaintiffs. (Attachments: # 1 Memorandum
                   in Support, # 2 Attachment Proposed Order)(Kumar, Nishi) (Entered: 01/17/2018)

01/18/2018   390   RESPONSE to 389 MOTION for Scheduling Conference filed by All Defendants.
                   (Robert, Randal) (Entered: 01/18/2018)



                                                                                                    23-30825.98
         Case: 23-30825       Document: 113-1          Page: 103       Date Filed: 01/11/2024

01/19/2018         MOTION(S) REFERRED: 389 MOTION for Scheduling Conference . This motion is
                   now pending before the USMJ. (SGO) (Entered: 01/19/2018)

01/29/2018   391   ORDER: Plaintiffs are ordered to submit supplemental brief advisingthe Court which
                   Named Plaintiffs have fully exhausted their administrative remedies prior to 5/20/2015.
                   Plaintiffs are ordered to submit this supplement to the Court on or before 2/6/2018. Signed
                   by Judge Shelly D. Dick on 1/29/2018. (SGO) (Entered: 01/29/2018)

02/06/2018   392   SUPPLEMENTAL BRIEF on Exhaustion of Administrative Remedies filed by All
                   Plaintiffs. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Montagnes, Mercedes) Modified to
                   edit text on 2/7/2018 (SGO). (Entered: 02/06/2018)

02/09/2018   393   MOTION for Leave to File Defendants' Reply to Plaintiffs' Supplemental Brief on
                   Exhaustion of Administrative Remedies by All Defendants. (Attachments: # 1 Proposed
                   Order, # 2 Exhibit A)(Robert, Randal) (Entered: 02/09/2018)

02/21/2018         Motions No Longer Referred: 389 MOTION for Scheduling Conference . This motion is
                   now pending before the USDJ. (DCB) (Entered: 02/21/2018)

02/26/2018   394   RULING granting 133 Motion for Class Certification. Signed by Judge Shelly D. Dick on
                   2/26/2018. (SGO) (Entered: 02/26/2018)

03/12/2018   395   ORDER granting 393 MOTION for Leave to File Defendants' Reply to Plaintiffs'
                   Supplemental Brief on Exhaustion of Administrative Remedies filed by Sherwood Poret,
                   Burl Cain, Cynthia Park, Raman Singh, The Louisiana Department of Public Safety and
                   Corrections, Stacye Falgout, Darrel Vannoy, James M LeBlanc, Randy Lavespere,
                   Stephanie Lamartiniere. Signed by Judge Shelly D. Dick on 3/12/18. (This is a TEXT
                   ENTRY ONLY. There is no hyperlink or PDF document associated with this entry.)
                   (BKA) (Entered: 03/12/2018)

03/12/2018   396   REPLY to 392 Supplemental Brief on Exhaustion of Administrative Remedies filed by
                   Burl Cain, Stacye Falgout, Stephanie Lamartiniere, Randy Lavespere, James M LeBlanc,
                   Cynthia Park, Sherwood Poret, Raman Singh, The Louisiana Department of Public Safety
                   and Corrections, Darrel Vannoy. (SGO) (Entered: 03/13/2018)

03/15/2018   397   MOTION for Leave to substitute witnesses and take depositions by All Plaintiffs.
                   (Attachments: # 1 Memorandum in Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, #
                   5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, #
                   11 Exhibit J, # 12 Exhibit K, # 13 Exhibit L, # 14 Exhibit M, # 15
                   Attachment)(Montagnes, Mercedes) (Entered: 03/15/2018)

03/22/2018   398   ORDER granting 389 Motion for a Scheduling Conference. A Telephone Conference set
                   for 4/19/2018 at 02:30 PM before Judge Shelly D. Dick. Counsel for Plaintiff shall
                   arrange the call into chambers and have all Parties on the line. Signed by Judge Shelly D.
                   Dick on 3/22/2018. (SGO) (Entered: 03/22/2018)

03/27/2018   399   MOTION for Leave to File Motion to Re-Urge Motions for Summary Judgment by All
                   Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Attachment Proposed, # 3
                   Attachment Motion to Re-Urge, # 4 Attachment Memorandum in Support of Motion to
                   Re-Urge, # 5 Attachment Proposed Order for Motion to Re-Urge)(Montagnes, Mercedes)
                   (Entered: 03/27/2018)

04/05/2018   400   MEMORANDUM in Opposition to 397 MOTION for Leave to substitute witnesses and
                   take depositions filed by All Defendants. (Attachments: # 1 Exhibit A, # 2 Exhibit
                   B)(Robert, Randal) (Entered: 04/05/2018)



                                                                                                   23-30825.99
         Case: 23-30825       Document: 113-1         Page: 104       Date Filed: 01/11/2024

04/11/2018   401   ORDER granting 399 MOTION for Leave to File Motion to Re-Urge Motions for
                   Summary Judgment filed by Clyde Carter, Kentrell Parker, Shannon Hurd, Cedric Evans,
                   Lionel Tolbert, Reginald George, Rufus White, Alton Adams, Ian Cazenave, John
                   Tonubbee, Edward Giovanni, Farrell Sampier, Alton Batiste, Ricky D. Davis, Edward
                   Washington, Otto Barrera, Joseph Lewis, Jr.. Signed by Judge Shelly D. Dick on
                   4/11/2018. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                   associated with this entry.) (BKA) (Entered: 04/11/2018)

04/11/2018   403   MOTION to Re-Urge 193 First MOTION for Partial Summary Judgment on Plaintiffs'
                   ADA Claims, 194 Second MOTION for Partial Summary Judgment Plaintiffs' Eighth
                   Amendment Claim by Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2
                   Order)(LLH) (Entered: 04/13/2018)

04/12/2018   402   MOTION for Leave to File Reply in Support of Plaintiffs' 397 Motion for Leave to
                   Substitute Witnesses and Take Depositions by All Plaintiffs. (Attachments: # 1
                   Memorandum in Support, # 2 Proposed Pleading;, # 3 Exhibit A, # 4 Exhibit B, # 5
                   Exhibit C, # 6 Attachment Proposed Order)(Kumar, Nishi) Modified on 4/13/2018 to edit
                   text (LLH). (Entered: 04/12/2018)

04/18/2018   404   ORDER granting 402 MOTION for Leave to File Reply in Support of Plaintiffs' Motion
                   for Leave to Substitute Witnesses and Take Depositions filed by Clyde Carter, Kentrell
                   Parker, Shannon Hurd, Cedric Evans, Lionel Tolbert, Reginald George, Rufus White,
                   Alton Adams, Ian Cazenave, John Tonubbee, Edward Giovanni, Farrell Sampier, Alton
                   Batiste, Ricky D. Davis, Edward Washington, Otto Barrera, Joseph Lewis, Jr. Signed by
                   Judge Shelly D. Dick on 4/18/18. (This is a TEXT ENTRY ONLY. There is no hyperlink
                   or PDF document associated with this entry.) (BKA) (Entered: 04/18/2018)

04/18/2018   407   REPLY in Support of 397 MOTION for Leave to substitute witnesses and take
                   depositions filed by Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter, Ian
                   Cazenave, Ricky D. Davis, Cedric Evans, Reginald George, Edward Giovanni, Shannon
                   Hurd, Joseph Lewis, Jr., Kentrell Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee,
                   Edward Washington, Rufus White. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                   Exhibit)(EDC) (Entered: 04/23/2018)

04/19/2018   405   Minute Entry for proceedings held before Judge Shelly D. Dick: Telephone Status
                   Conference held on 4/19/2018. (BKA) (Entered: 04/19/2018)

04/19/2018   406   Notice Setting Trial and Related Deadlines: Jury Trial set for 10/9/2018 at 09:00 AM in
                   Courtroom 3 before Judge Shelly D. Dick. Pretrial Conference set for 9/25/2018 at 02:30
                   PM in chambers before Judge Shelly D. Dick. Affidavit of Settlement Efforts due by
                   8/28/2018. All other Trial deadlines are set as stated in the attached Notice. Signed by
                   Judge Shelly D. Dick on 4/19/18. (BKA) (Entered: 04/19/2018)

04/24/2018   408   Notice to Counsel: The Jury Trial set for 10/9/2018 is hereby Canceled. A Bench Trial is
                   hereby set for 10/9/2018 at 09:00 AM in Courtroom 3 before Judge Shelly D. Dick.

                   Evidence, in electronic format, shall be provided in accordance with Local Rule 79 and
                   Administrative Procedures.

                   (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                   this entry.)(BKA) (Entered: 04/24/2018)

04/24/2018   409   MOTION for Copy of Audio Recording of Conference by All Plaintiffs. (Attachments: #
                   1 Memorandum in Support, # 2 Attachment Proposed Order)(Kumar, Nishi) (Entered:
                   04/24/2018)


                                                                                                 23-30825.100
         Case: 23-30825       Document: 113-1           Page: 105       Date Filed: 01/11/2024

04/26/2018   410   Witness List by Stacye Falgout, Stephanie Lamartiniere, Randy Lavespere, James M
                   LeBlanc, Cynthia Park, Sherwood Poret, Raman Singh, The Louisiana Department of
                   Public Safety and Corrections, Darrel Vannoy. (For your free look at document, enter
                   your ECF login and pw to confirm your right to view). (Robert, Randal) (Entered:
                   04/26/2018)

04/26/2018   411   Witness List for Trial by Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter, Ian
                   Cazenave, Ricky D. Davis, Reginald George, Edward Giovanni, Shannon Hurd, Kentrell
                   Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward Washington, Rufus
                   White. (For your free look at document, enter your ECF login and pw to confirm your
                   right to view). (Attachments: # 1 Exhibit A Will Call List, # 2 Exhibit B May Call
                   List)(Kumar, Nishi) Modified to edit text on 4/27/2018 (SGO). (Entered: 04/26/2018)

05/15/2018   412   ORDER denying 397 MOTION for Leave to Substitute Witnesses and Take Depositions.
                   Signed by Judge Shelly D. Dick on 5/15/2018. (SGO) (Entered: 05/15/2018)

05/15/2018   413   MOTION to Enroll Jamila Johnson, Meredith Angelson, and Jared Davidson as
                   Additional Attorney by All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2
                   Attachment Proposed Order)(Montagnes, Mercedes) (Entered: 05/15/2018)

05/15/2018         MOTION(S) REFERRED: 413 MOTION to Enroll Jamila Johnson, Meredith Angelson,
                   and Jared Davidson as Additional Attorney . This motion is now pending before the
                   USMJ. (SGO) (Entered: 05/15/2018)

05/17/2018   414   Unopposed MOTION for Leave to File a Motion to Exclude Evidence of Post-Discovery
                   Conditions or, in the Alternative, to Compel Additional Discovery by All Plaintiffs.
                   (Attachments: # 1 Memorandum in Support, # 2 Attachment, # 3 Proposed Pleading;, # 4
                   Memorandum in Support, # 5 Attachment, # 6 Exhibit A, # 7 Exhibit B, # 8 Exhibit C, # 9
                   Exhibit D, # 10 Exhibit E, # 11 Exhibit F, # 12 Exhibit G, # 13 Exhibit H, # 14 Exhibit I,
                   # 15 Exhibit J, # 16 Exhibit K)(Montagnes, Mercedes) Modified to edit text on 5/17/2018
                   (SGO). (Entered: 05/17/2018)

05/18/2018   415   ORDER granting 413 Motion to Enroll Additional Counsel for Plaintiffs. Added attorney
                   Jamila Asha Johnson, Meredith Jane Angelson and Jared Fletcher Davidson for Plaintiffs.
                   Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 5/18/2018. (This is a TEXT
                   ENTRY ONLY. There is no hyperlink or PDF document associated with this entry.) (JSL)
                   (Entered: 05/18/2018)

05/22/2018   416   ORDER granting 414 Unopposed MOTION for Leave to File a Motion to Exclude
                   Evidence of Post-Discovery Conditions or, in the Alternative, to Compel Additional
                   Discovery filed by Clyde Carter, Kentrell Parker, Shannon Hurd, Cedric Evans, Lionel
                   Tolbert, Reginald George, Rufus White, Alton Adams, Ian Cazenave, John Tonubbee,
                   Edward Giovanni, Farrell Sampier, Alton Batiste, Ricky D. Davis, Edward Washington,
                   Otto Barrera, Joseph Lewis, Jr..Signed by Judge Shelly D. Dick on 5/22/18. (This is a
                   TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                   entry.) (BKA) (Entered: 05/22/2018)

05/22/2018   417   MOTION to Exclude Evidence of Post-Discovery Conditions or, in the Alternative, to
                   Compel Additional Discovery by All Plaintiffs. (Attachments: # 1 Memorandum in
                   Support, # 2 Proposed Order, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, #
                   7 Exhibit E, # 8 Exhibit F, # 9 Exhibit G, # 10 Exhibit H, # 11 Exhibit I, # 12 Exhibit J, #
                   13 Exhibit K)(SGO). Added MOTION to Compel on 5/23/2018 (SGO). (Entered:
                   05/23/2018)

06/11/2018   418   MEMORANDUM in Opposition to 417 MOTION in Limine or in the Alternative
                   MOTION to Compel Additional Discovery filed by All Defendants. (Attachments: # 1

                                                                                                   23-30825.101
         Case: 23-30825       Document: 113-1           Page: 106       Date Filed: 01/11/2024

                   Exhibit A)(Robert, Randal) Modified on 6/11/2018 to text (LLH). (Entered: 06/11/2018)

06/21/2018   419   ORDER: Plaintiff's 417 MOTION to Exclude Evidence of Post-DiscoveryConditions is
                   hereby GRANTED, and the 417 MOTION to Compel Additional Discovery is hereby
                   DENIED. A bench trial on liability only, limited to evidence of the conditions as they
                   existed on or before 9/30/2016 will go forward commencing on 10/9/2018. Signed by
                   Judge Shelly D. Dick on 6/20/2018. (LLH) (Entered: 06/21/2018)

06/29/2018   420   Joint MOTION for Extension of Discovery Deadlines to Depose "Will Call" Witness
                   Francis Brauner by All Defendants. (Attachments: # 1 Attachment Proposed
                   Order)(Conine, John) (Entered: 06/29/2018)

07/09/2018   421   SEALED MOTION for Leave to File Supplemental Memorandum in Support of 261
                   Motion for Summary Judgment Under Seal by All Defendants. (Attachments: # 1
                   Proposed Pleading; Order, # 2 Proposed Pleading; Supplemental Memorandum)(Robert,
                   Randal) Modified on 7/10/2018 to edit text (LLH). (Entered: 07/09/2018)

07/09/2018   426   SUPPLEMENTAL BRIEF TO 193 First MOTION for Partial Summary Judgment on
                   Plaintiffs' ADA Claims, 194 Second MOTION for Partial Summary Judgment Plaintiffs'
                   Eighth Amendment Claim filed by All Plaintiffs. (Montagnes, Mercedes) (Entered:
                   07/09/2018)

07/10/2018   427   MOTION Seal Exhibits in Documents Nos. 422, 423, 424 and 425 by All Defendants.
                   (Attachments: # 1 Proposed Pleading; Order)(Robert, Randal) (Entered: 07/10/2018)

07/11/2018   428   MOTION to Re-Urge Motion for Summary Judgment by All Defendants. (Attachments: #
                   1 Memorandum in Support, # 2 Attachment Proposed Order)(Conine, John) (Entered:
                   07/11/2018)

07/12/2018   429   ORDER granting 421 Sealed Motion for Leave to File Supplemental Memorandum in
                   Support of 261 Motion for Summary Judgment Under Seal. Signed by Judge Shelly D.
                   Dick on 7/12/2018. (LLH) (Entered: 07/12/2018)

07/12/2018   430   SEALED ORDER granting 427 MOTION to Seal Exhibits in Documents Nos. 422, 423,
                   424 and 425 filed by Sherwood Poret, Burl Cain, Cynthia Park, Raman Singh, The
                   Louisiana Department of Public Safety and Corrections, Stacye Falgout, Darrel Vannoy,
                   James M LeBlanc, Randy Lavespere, Stephanie Lamartiniere. Signed by Judge Shelly D.
                   Dick on 7/12/2018. (LLH) (Entered: 07/12/2018)

07/12/2018   431   SEALED EXHIBITS to 261 SEALED MOTION Summary Judgment filed by All
                   Defendants. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, #
                   6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, #
                   13 Exhibit, # 14 Exhibit, # 15 Exhibit)(LLH) (Entered: 07/12/2018)

07/12/2018   432   SEALED Supplemental Memorandum in Support of 261 SEALED MOTION Summary
                   Judgment filed by All Defendants. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4
                   Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11
                   Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16 Exhibit)(LLH)
                   (Entered: 07/12/2018)

07/16/2018   433   ORDER granting 428 Motion to Re-urge Motion for Summary Judgment. Signed by
                   Judge Shelly D. Dick on 7/16/18. (This is a TEXT ENTRY ONLY. There is no hyperlink
                   or PDF document associated with this entry.) (BKA) (Entered: 07/16/2018)

07/23/2018   434   Supplemental MEMORANDUM in Opposition to 193 First MOTION for Partial
                   Summary Judgment on Plaintiffs' ADA Claims, 194 Second MOTION for Partial


                                                                                                    23-30825.102
         Case: 23-30825       Document: 113-1           Page: 107        Date Filed: 01/11/2024

                   Summary Judgment Plaintiffs' Eighth Amendment Claim filed by All Defendants.
                   (Attachments: # 1 Exhibit 6)(Robert, Randal) Modified on 7/24/2018 to rotate and replace
                   exhibit (LLH). (Entered: 07/23/2018)

07/23/2018   435   Supplemental MEMORANDUM in Opposition to 421 SEALED MOTION for Leave to
                   File Supplemental Memorandum in Support of Motion for Summary Judgment Under
                   Seal filed by All Plaintiffs. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                   Exhibit D)(Montagnes, Mercedes) (Entered: 07/23/2018)

07/24/2018   436   ORDER granting Joint MOTION for Extension of Discovery Deadlines to Depose "Will
                   Call" Witness Francis Brauner. The remaining deposition will take place by 7/27/2018.
                   Signed by Chief Judge Shelly D. Dick on 7/24/2018. (LLH) (Entered: 07/24/2018)

07/24/2018   437   ADDENDUM to 435 Plaintiffs' Opposition to Defendants' Supplemental Memorandum in
                   Support of Motion for Summary Judgment filed by All Plaintiffs. (Attachments: # 1
                   Exhibit)(Montagnes, Mercedes) (Attachment 1 replaced on 7/25/2018) (EDC). Modified
                   on 7/25/2018 to rotate pages and to edit text. (EDC). (Entered: 07/24/2018)

08/10/2018   438   MOTION for Leave to Motion for Judicial Notice Out of Time. by All Plaintiffs.
                   (Attachments: # 1 Memorandum in Support, # 2 Attachment Order, # 3 Proposed
                   Pleading;, # 4 Proposed Pleading; MIS, # 5 Exhibit 1, # 6 Exhibit 2, # 7 Exhibit 3, # 8
                   Exhibit 4, # 9 Exhibit 5, # 10 Exhibit 6, # 11 Exhibit 7, # 12 Exhibit 8, # 13 Exhibit 9, #
                   14 Exhibit 10, # 15 Exhibit 11, # 16 Exhibit 12)(Montagnes, Mercedes) (Entered:
                   08/10/2018)

08/10/2018   439   MOTION for Permission for Secretary James M. LeBlanc to be Absent During a Portion
                   of the Trial Due to Travel by All Defendants. (Attachments: # 1 Memorandum in Support,
                   # 2 Exhibit, # 3 Attachment Proposed Order)(Roper, Mary) Modified on 8/13/2018 to edit
                   text (LLH). (Entered: 08/10/2018)

08/10/2018   440   MOTION for Expedited Hearing on 439 MOTION for Permission for Secretary James M.
                   LeBlanc to be Absent During a Portion of the Trial Due to Travel by All Defendants.
                   (Attachments: # 1 Attachment Proposed Order)(Roper, Mary) Modified on 8/13/2018 to
                   edit text (LLH). (Entered: 08/10/2018)

08/13/2018   441   MOTION to Clarify Order by All Defendants. (Attachments: # 1 Memorandum in
                   Support, # 2 Proposed Pleading; Order)(Robert, Randal) Modified on 8/15/2018 to replace
                   main doc. per R. Doc. 446 (SWE). (Entered: 08/13/2018)

08/13/2018   442   MOTION to Re-Urge Motion to Strike by All Plaintiffs. (Attachments: # 1 Memorandum
                   in Support, # 2 Attachment Order)(Montagnes, Mercedes) Modified on 8/14/2018 to edit
                   the text (NLT). (Entered: 08/13/2018)

08/13/2018   443   ORDER granting 440 Motion for Expedited Hearing on 439 MOTION for Permission for
                   Secretary James M. LeBlanc to be Absent During a Portion of the Trial Due to Travel.
                   Signed by Chief Judge Shelly D. Dick on 8/13/18. (This is a TEXT ENTRY ONLY.
                   There is no hyperlink or PDF document associated with this entry.) (BKA) (Entered:
                   08/13/2018)

08/13/2018   444   ORDER granting 439 MOTION for Permission for Secretary James M. LeBlanc to be
                   Absent During a Portion of the Trial Due to Travel. The Parties are to cooperate on the
                   presentation of evidence in light of this ruling. Signed by Chief Judge Shelly D. Dick on
                   8/13/18. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                   associated with this entry.) (BKA) (Entered: 08/13/2018)

08/13/2018   445


                                                                                                     23-30825.103
         Case: 23-30825       Document: 113-1          Page: 108       Date Filed: 01/11/2024

                   MOTION to Substitute Defendants' Motion to Clarify Order by All Defendants.
                   (Attachments: # 1 Attachment Correct Document to be Substituted, # 2 Proposed
                   Pleading; Order)(Robert, Randal) (Entered: 08/13/2018)

08/14/2018   446   ORDER granting 445 MOTION to Substitute Defendants' Motion to Clarify Order filed
                   by Sherwood Poret, Burl Cain, Cynthia Park, Raman Singh, The Louisiana Department of
                   Public Safety and Corrections, Stacye Falgout, Darrel Vannoy, James M LeBlanc, Randy
                   Lavespere, Stephanie Lamartiniere. Signed by Chief Judge Shelly D. Dick on 8/14/18.
                   (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                   this entry.) (BKA) (Entered: 08/14/2018)

08/21/2018   447   ORDER granting 441 Motion to Clarify Order. Signed by Chief Judge Shelly D. Dick on
                   8/21/2018. (SWE) (Entered: 08/21/2018)

08/24/2018   448   MOTION for Leave to Amend Witness Lists by All Plaintiffs. (Attachments: # 1
                   Proposed Pleading;, # 2 Proposed Pleading;, # 3 Attachment)(Montagnes, Mercedes)
                   (Entered: 08/24/2018)

08/27/2018   449   MOTION to Substitute Party Under RULE 25(D) by All Defendants. (Attachments: # 1
                   Proposed order)(Cody, Jeffrey) Modified on 8/28/2018 to edit text (LLH). (Entered:
                   08/27/2018)

08/27/2018   450   MOTION to Substitute Exhibit as to 193 MOTION for Partial Summary Judgment on
                   Plaintiffs' ADA Claims by All Plaintiffs. (Attachments: # 1 Exhibit D1, # 2 Exhibit D2, #
                   3 Attachment)(Montagnes, Mercedes) Modified on 8/28/2018 to edit text (LLH).
                   (Entered: 08/27/2018)

08/28/2018   451   AFFIDAVIT of Settlement by All Plaintiffs. (Montagnes, Mercedes) (Entered:
                   08/28/2018)

08/28/2018   452   ORDER granting 450 MOTION to Substitute Exhibit as to 193 MOTION for Partial
                   Summary Judgment on Plaintiffs' ADA Claims filed by Clyde Carter, Kentrell Parker,
                   Shannon Hurd, Cedric Evans, Lionel Tolbert, Reginald George, Rufus White, Alton
                   Adams, Ian Cazenave, John Tonubbee, Edward Giovanni, Farrell Sampier, Alton Batiste,
                   Ricky D. Davis, Edward Washington, Otto Barrera, Joseph Lewis, Jr.. Signed by Chief
                   Judge Shelly D. Dick on 8/28/18. (This is a TEXT ENTRY ONLY. There is no hyperlink
                   or PDF document associated with this entry.) (BKA) (Entered: 08/28/2018)

09/04/2018   453   MOTION to Re-Urge Defendants' Opposition to Plaintiffs' Motion to Strike by All
                   Defendants. (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;
                   Order)(Robert, Randal) (Entered: 09/04/2018)

09/11/2018   454   ORDER granting 438 MOTION for Leave to Motion for Judicial Notice Out of Time.
                   Signed by Chief Judge Shelly D. Dick on 9/11/18. (This is a TEXT ENTRY ONLY.
                   There is no hyperlink or PDF document associated with this entry.) (BKA) (Entered:
                   09/11/2018)

09/11/2018   455   ORDER granting 448 MOTION for Leave to Amend Witness Lists. Signed by Chief
                   Judge Shelly D. Dick on 9/11/18. (This is a TEXT ENTRY ONLY. There is no hyperlink
                   or PDF document associated with this entry.) (BKA) (Entered: 09/11/2018)

09/11/2018   456   ORDER granting 453 Motion to Re-Urge Defendants' Opposition to Plaintiffs' Motion to
                   Strike. Signed by Chief Judge Shelly D. Dick on 9/11/18. (This is a TEXT ENTRY
                   ONLY. There is no hyperlink or PDF document associated with this entry.) (BKA)
                   (Entered: 09/11/2018)



                                                                                                  23-30825.104
         Case: 23-30825       Document: 113-1          Page: 109       Date Filed: 01/11/2024

09/11/2018   457   ORDER denying 409 Motion for Copy of Audio Recording of Conference. Signed by
                   Chief Judge Shelly D. Dick on 9/11/18. (This is a TEXT ENTRY ONLY. There is no
                   hyperlink or PDF document associated with this entry.) (BKA) (Entered: 09/11/2018)

09/11/2018   458   ORDER granting 442 Motion to Re-Urge Motion to Strike. Signed by Chief Judge Shelly
                   D. Dick on 9/11/18. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                   document associated with this entry.) (BKA) (Entered: 09/11/2018)

09/11/2018   459   MOTION for Leave to Permit Dr. Jane Andrews to Testify Remotely at Trial by All
                   Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Exhibit A, # 3 Attachment
                   Proposed Order)(Montagnes, Mercedes) Modified on 9/12/2018 to edit the text (NLT).
                   (Entered: 09/11/2018)

09/11/2018   460   ORDER granting 449 Motion to Substitute Party Under RULE 25(D). John Morrison,
                   M.D. and Tracy Falgout, R.N., added in place of Raman Singh, M.D. and Stephanie
                   Lamartiniere. Signed by Chief Judge Shelly D. Dick on 9/11/2018. (LLH) (Entered:
                   09/11/2018)

09/11/2018   461   MOTION for Site Visit by Judge by All Defendants. (Attachments: # 1 Memorandum in
                   Support, # 2 Proposed Pleading; Order)(Robert, Randal) (Entered: 09/11/2018)

09/11/2018   465   AMENDED Witness List Filed by Plaintiffs'. (LLH) (Entered: 09/13/2018)

09/11/2018   466   Second Motion Requesting Judicial Notice by All Plaintiffs. (Attachments: # 1
                   Memorandum in Support, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, #
                   7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13
                   Exhibit)(EDC) (Entered: 09/13/2018)

09/12/2018   462   ORDER: The 403 Motion for Reconsideration of 193 First MOTION for Partial Summary
                   Judgment on Plaintiffs' ADA Claims, 194 Second MOTION for Partial Summary
                   Judgment Plaintiffs' Eighth Amendment Claim is DENIED except as to exhaustion of
                   administrative remedies. Plaintiff's Re-Urged 288 Motion to Strike is DENIED as moot.
                   Signed by Chief Judge Shelly D. Dick on 9/12/2018. (LLH) (Entered: 09/12/2018)

09/12/2018   463   MEMORANDUM in Opposition to 459 MOTION for Leave to Permit Dr. Jane Andrews
                   to Testify Remotely at Trial filed by All Defendants. (Attachments: # 1 Exhibit 1, # 2
                   Exhibit 2)(Robert, Randal) Modified on 9/12/2018 to edit the text (NLT). (Entered:
                   09/12/2018)

09/12/2018   464   MOTION for Leave to File Excess Pages for deposition designations by All Plaintiffs.
                   (Attachments: # 1 Memorandum in Support, # 2 Attachment)(Montagnes, Mercedes)
                   (Entered: 09/12/2018)

09/14/2018   467   MOTION to Enroll Amanda Zarrow as Additional Attorney by All Plaintiffs.
                   (Attachments: # 1 Memorandum in Support, # 2 Attachment)(Montagnes, Mercedes)
                   (Entered: 09/14/2018)

09/17/2018   468   MOTION for Leave to File Reply in Support of 459 MOTION for Leave to Permit Dr.
                   Jane Andrews to Testify Remotely at Trial by All Plaintiffs. (Attachments: # 1
                   Memorandum in Support, # 2 Proposed Pleading;, # 3 Attachment Proposed
                   Order)(Montagnes, Mercedes) Modified on 9/18/2018 to edit text(LLH). (Entered:
                   09/17/2018)

09/19/2018   469   ORDER granting 468 Motion for Leave to File Reply in Support of 459 MOTION for
                   Leave to Permit Dr. Jane Andrews to Testify Remotely at Trial. Signed by Chief Judge
                   Shelly D. Dick on 9/19/2018. (LLH) (Entered: 09/19/2018)


                                                                                                 23-30825.105
         Case: 23-30825       Document: 113-1           Page: 110       Date Filed: 01/11/2024

09/19/2018   470   REPLY Memorandum in Support of 459 MOTION for Leave to Permit Dr. Jane Andrews
                   to Testify Remotely at Trial filed by Alton Adams. (LLH) (Entered: 09/19/2018)

09/19/2018   471   ORDER granting 467 Motion to Enroll Amanda Zarrow as Additional Attorney for
                   Plaintiffs. Signed by Chief Judge Shelly D. Dick on 9/19/2018. (LLH) (Entered:
                   09/19/2018)

09/19/2018   472   MOTION for Leave to File Surreply Memorandum in Opposition to Plaintiffs' Motion for
                   Leave to Permit Dr. Jane Andrews to Testify Remotely at Trial by All Defendants.
                   (Attachments: # 1 Proposed Pleading; Surreply in Opposition to Plaintiffs' Motion for
                   Leave to Permit Dr. Jane Andrews to Testify Remotely at Trial, # 2 Proposed Pleading;
                   Order)(Robert, Randal) (Entered: 09/19/2018)

09/23/2018   473   RESPONSE to 461 MOTION for Site Visit by Judge filed by All Plaintiffs. (Montagnes,
                   Mercedes) (Entered: 09/23/2018)

09/24/2018   474   MEMORANDUM in Opposition to 466 MOTION Second Motion Requesting Judicial
                   Notice filed by All Defendants. (Robert, Randal) (Entered: 09/24/2018)

09/25/2018   475   ORDER: The Parties are hereby ordered to submit Proposed Findings of Fact and
                   Conclusions of Law to the Court on or before Wednesday, 10/3/2018. Signed by Chief
                   Judge Shelly D. Dick on 9/24/2018. (KAH) (Entered: 09/25/2018)

09/25/2018   476   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Pretrial Conference
                   held on 9/25/2018. (BKA) (Entered: 09/25/2018)

09/26/2018   477   ORDER granting 472 MOTION for Leave to File Surreply Memorandum in Opposition
                   filed by Sherwood Poret, Burl Cain, Cynthia Park, Raman Singh, Tracy Falgout, The
                   Louisiana Department of Public Safety and Corrections, John Morrison, Stacye Falgout,
                   Darrel Vannoy, James M LeBlanc, Randy Lavespere, Stephanie Lamartiniere. There will
                   be no further replies permitted. Signed by Chief Judge Shelly D. Dick on 9/26/18. (This is
                   a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                   entry.) (BKA) (Entered: 09/26/2018)

09/26/2018   478   Defendants' SUR-REPLY to 459 MOTION for Leave to Permit Dr. Jane Andrews to
                   Testify Remotely at Trial filed by Stacye Falgout, Tracy Falgout, Randy Lavespere, James
                   M LeBlanc, John Morrison, Cynthia Park, Sherwood Poret, The Louisiana Department of
                   Public Safety and Corrections, Darrel Vannoy. (SWE) (Entered: 09/27/2018)

09/28/2018   479   MOTION to Enroll Erica Navalance as Additional Attorney by All Plaintiffs.
                   (Attachments: # 1 Memorandum in Support, # 2 Attachment Proposed Order)(Montagnes,
                   Mercedes) (Entered: 09/28/2018)

10/02/2018   480   ORDER: Considering the length of the bench trial, in addition to the one laptop per
                   counsel, Plaintiffs and Defendants are allowed up to three (3) additional laptops per side,
                   without asking for leave. Signed by Chief Judge Shelly D. Dick on 10/2/2018. (LLH)
                   (Entered: 10/02/2018)

10/02/2018   481   MOTION for Writ of Habeas Corpus ad testificandum by Alton Adams. (Attachments: #
                   1 Attachment Order)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   482   MOTION for Writ of Habeas Corpus ad testificandum by Otto Barrera. (Attachments: # 1
                   Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   483   MOTION for Writ of Habeas Corpus ad testificandum for Charles Butler by All
                   Plaintiffs. (Attachments: # 1 Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)


                                                                                                    23-30825.106
         Case: 23-30825       Document: 113-1         Page: 111       Date Filed: 01/11/2024

10/02/2018   484   MOTION for Writ of Habeas Corpus ad testificandum by Clyde Carter. (Attachments: # 1
                   Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   485   MOTION for Writ of Habeas Corpus ad testificandum by Ian Cazenave. (Attachments: #
                   1 Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   486   MOTION for Writ of Habeas Corpus ad testificandum by Ricky D. Davis. (Attachments:
                   # 1 Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   487   MOTION for Writ of Habeas Corpus ad testificandum by Reginald George. (Attachments:
                   # 1 Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   488   MOTION for Writ of Habeas Corpus ad testificandum Lawrence Jenkins by All Plaintiffs.
                   (Attachments: # 1 Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   489   MOTION for Writ of Habeas Corpus ad testificandum by All Plaintiffs. (Attachments: # 1
                   Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   490   MOTION for Writ of Habeas Corpus ad testificandum by Kentrell Parker. (Attachments:
                   # 1 Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   491   MOTION for Writ of Habeas Corpus ad testificandum by All Plaintiffs. (Attachments: # 1
                   Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   492   MOTION for Writ of Habeas Corpus ad testificandum by Farrell Sampier. (Attachments:
                   # 1 Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   493   MOTION for Writ of Habeas Corpus ad testificandum by Lionel Tolbert. (Attachments: #
                   1 Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   494   MOTION for Writ of Habeas Corpus ad testificandum by John Tonubbee. (Attachments:
                   # 1 Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   495   MOTION for Writ of Habeas Corpus ad testificandum by Edward Washington.
                   (Attachments: # 1 Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/02/2018   496   MOTION for Writ of Habeas Corpus ad testificandum by Rufus White. (Attachments: # 1
                   Attachment)(Montagnes, Mercedes) (Entered: 10/02/2018)

10/03/2018   497   Proposed Findings of Fact by Stacye Falgout, Tracy Falgout, Randy Lavespere, James M
                   LeBlanc, John Morrison, Cynthia Park, Sherwood Poret, The Louisiana Department of
                   Public Safety and Corrections, Darrel Vannoy. (Robert, Randal) (Entered: 10/03/2018)

10/03/2018   498   Proposed Findings of Fact by Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter, Ian
                   Cazenave, Ricky D. Davis, Reginald George, Edward Giovanni, Shannon Hurd, Kentrell
                   Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward Washington, Rufus
                   White. (Montagnes, Mercedes) (Entered: 10/03/2018)

10/04/2018   499   ORDER granting 479 Motion to Enroll Additional Attorney. Added attorney Erica Lauren
                   Navalance for Plaintiffs. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (This is a
                   TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                   entry.) (SWE) (Entered: 10/04/2018)

10/04/2018   500   ORDER granting 481 Motion for Writ of Habeas Corpus ad testificandum as to Alton
                   Adams. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered:
                   10/04/2018)

10/04/2018   501


                                                                                                23-30825.107
         Case: 23-30825      Document: 113-1         Page: 112      Date Filed: 01/11/2024

                   ORDER granting 482 Motion for Writ of Habeas Corpus ad testificandum as to Otto
                   Barrera. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) Modified on
                   10/4/2018 to rotate page (SWE). (Entered: 10/04/2018)

10/04/2018   502   ORDER granting 483 Motion for Writ of Habeas Corpus ad testificandum as to Charles
                   Butler. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered: 10/04/2018)

10/04/2018   503   ORDER granting 484 Motion for Writ of Habeas Corpus ad testificandum as to Clyde
                   Carter. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered: 10/04/2018)

10/04/2018   504   ORDER granting 485 Motion for Writ of Habeas Corpus ad testificandum as to Ian
                   Cazenave. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered:
                   10/04/2018)

10/04/2018   505   ORDER granting 486 Motion for Writ of Habeas Corpus ad testificandum Ricky Davis.
                   Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered: 10/04/2018)

10/04/2018   506   ORDER granting 487 Motion for Writ of Habeas Corpus ad testificandum as to Reginald
                   George. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered:
                   10/04/2018)

10/04/2018   507   ORDER granting 488 Motion for Writ of Habeas Corpus ad testificandum as to Lawrence
                   Jenkins. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered:
                   10/04/2018)

10/04/2018   508   ORDER granting 490 Motion for Writ of Habeas Corpus ad testificandum as to Kentrell
                   Parker. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered:
                   10/04/2018)

10/04/2018   509   ORDER granting 489 Motion for Writ of Habeas Corpus ad testificandum as to Anthony
                   Mandigo. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered:
                   10/04/2018)

10/04/2018   510   ORDER granting 491 Motion for Writ of Habeas Corpus ad testificandum as to Daniel
                   Price. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered: 10/04/2018)

10/04/2018   511   ORDER granting 492 Motion for Writ of Habeas Corpus ad testificandum as to Farrell
                   Sampier. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered:
                   10/04/2018)

10/04/2018   512   ORDER granting 493 Motion for Writ of Habeas Corpus ad testificandum as to Lionel
                   Tolbert. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered:
                   10/04/2018)

10/04/2018   513   ORDER granting 494 Motion for Writ of Habeas Corpus ad testificandum as to John
                   Tonubbee. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered:
                   10/04/2018)

10/04/2018   514   ORDER granting 495 Motion for Writ of Habeas Corpus ad testificandum as to Edward
                   Washington. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered:
                   10/04/2018)

10/04/2018   515   ORDER granting 496 Motion for Writ of Habeas Corpus ad testificandum as to Rufus
                   White. Signed by Chief Judge Shelly D. Dick on 10/4/2018. (SWE) (Entered: 10/04/2018)

10/05/2018   516   Return on ORDER. ACCEPTED BY RHONDA WELDON - DOC PARALEGAL ON
                   10/04/2018. (US Marshal, ) (Entered: 10/05/2018)


                                                                                              23-30825.108
         Case: 23-30825       Document: 113-1          Page: 113       Date Filed: 01/11/2024

10/05/2018   517   SUPPLEMENTAL Information Offered Pursuant to Ruling on 438 Second MOTION for
                   Leave to Motion for Judicial Notice Out of Time. filed by All Plaintiffs. (Attachments: # 1
                   Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                   Exhibit 7)(Montagnes, Mercedes) Modified on 10/9/2018 to edit the text (NLT). (Entered:
                   10/05/2018)

10/09/2018   518   Exhibit List for Plaintiffs by Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter, Ian
                   Cazenave, Ricky D. Davis, Reginald George, Edward Giovanni, Shannon Hurd, Kentrell
                   Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward Washington, Rufus
                   White.. (Montagnes, Mercedes) (Entered: 10/09/2018)

10/09/2018   519   Exhibit List for Joint Exhibits by Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter,
                   Ian Cazenave, Ricky D. Davis, Reginald George, Edward Giovanni, Shannon Hurd,
                   Kentrell Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward Washington,
                   Rufus White.. (Montagnes, Mercedes) (Entered: 10/09/2018)

10/09/2018   520   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 10/9/2018. (Court Reporter Shannon Thompson.) Pursuant to Local Rules, offering
                   parties shall retain custody of exhibits..(BKA) (Entered: 10/10/2018)

10/09/2018   555   ELECTRONIC EXHIBITS for Bench Trial dated 10/9/2018 - Submitted to the court
                   conventionally due to the voluminous nature . (SWE) (Entered: 04/04/2019)

10/10/2018   521   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 10/10/2018. (Court Reporter Shannon Thompson.) Pursuant to Local Rules, offering
                   parties shall retain custody of exhibits..(BKA) (Entered: 10/10/2018)

10/11/2018   522   Exhibit List by Stacye Falgout, Tracy Falgout, Randy Lavespere, James M LeBlanc, John
                   Morrison, Cynthia Park, Sherwood Poret, The Louisiana Department of Public Safety and
                   Corrections, Darrel Vannoy.. (Bond, Caroline) (Entered: 10/11/2018)

10/11/2018   523   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 10/11/2018. (Court Reporter Shannon Thompson.) Pursuant to Local Rules, offering
                   parties shall retain custody of exhibits..(BKA) (Entered: 10/12/2018)

10/12/2018   524   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 10/12/2018. (Court Reporter Shannon Thompson.) Pursuant to Local Rules, offering
                   parties shall retain custody of exhibits..(BKA) (Entered: 10/12/2018)

10/15/2018   525   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 10/15/2018. (Court Reporter Shannon Thompson.) Pursuant to Local Rules, offering
                   parties shall retain custody of exhibits..(BKA) (Entered: 10/15/2018)

10/16/2018   526   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 10/16/2018. (Court Reporter Shannon Thompson.) Pursuant to Local Rules, offering
                   parties shall retain custody of exhibits..(BKA) (Entered: 10/17/2018)

10/17/2018   527   ORDER: The Bench Trial of this matter is currently proceeding. However, due to a
                   scheduling conflict, the Court has canceled the Bench Trial on 10/19/2018. Accordingly,
                   any previous Orders requiring the Warden of the LSP to produce inmate parties or
                   witnesses for 10/19/2018, are hereby vacated, and no LSP inmate parties or witnesses
                   should be produced on this date. The Bench Trial is scheduled to resume on 10/22/2018,
                   and any Orders requiring the Warden of LSP to produce inmate parties or witnesses
                   during the week of October 22, 2018 remain in effect. Signed by Chief Judge Shelly D.
                   Dick on 10/17/2018. (NLT) (Entered: 10/17/2018)



                                                                                                  23-30825.109
         Case: 23-30825       Document: 113-1         Page: 114       Date Filed: 01/11/2024

10/17/2018   529   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 10/17/2018. (Court Reporter Shannon Thompson.) (BKA) (Entered: 10/18/2018)

10/18/2018   528   Return on ORDER. ACCEPTED BY RHONDA WELDON, DOC PARALEGAL ON
                   10/17/2018. (US Marshal, ) (Entered: 10/18/2018)

10/22/2018   530   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 10/22/2018. (Court Reporter Shannon Thompson.) (BKA) (Entered: 10/23/2018)

10/23/2018   531   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 10/23/2018. (Court Reporter Shannon Thompson.) Pursuant to Local Rules, offering
                   parties shall retain custody of exhibits..(BKA) (Entered: 10/24/2018)

10/24/2018   532   AMENDED ORDER: The Bench Trial of this matter, which began on October 9, 2018, is
                   currently proceeding. Due to a change in scheduling, the Warden of the Louisiana State
                   Penitentiary at Angola, Louisiana, Darell Vannoy, is hereby ORDERED to transport and
                   produce Plaintiff, KENTRELL PARKER, DOC# 371212, for the trial before Chief Judge
                   Dick scheduled to be held at 9:00 a.m. on October 25, 2018. Signed by Chief Judge Shelly
                   D. Dick on 10/24/2018. (NLT) (Entered: 10/24/2018)

10/24/2018   533   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 10/24/2018. (Court Reporter Shannon Thompson.) Pursuant to Local Rules, offering
                   parties shall retain custody of exhibits..(BKA) Modified on 10/25/2018 (BKA). (Entered:
                   10/25/2018)

10/25/2018   534   ORDER: The Bench Trial of this matter, which began on10/9/2018, is currently
                   proceeding. However, due to a scheduling conflict, the Court has canceled the Bench Trial
                   on 10/26/2018. Accordingly, any previous Orders requiring the Warden of LSP to produce
                   inmate parties or witnesses for 10/26/2018, are hereby vacated, and no LSP inmate parties
                   or witnesses should be produced on this date. Signed by Chief Judge Shelly D. Dick on
                   10/25/2018. (NLT) Modified on 10/26/2018 to edit text (LLH). (Entered: 10/25/2018)

10/25/2018   535   Return on ORDER. ACCEPTED BY RHONDA WELDON - DOC PARALEGAL. (US
                   Marshal, ) (Entered: 10/25/2018)

10/25/2018   536   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial
                   completed on 10/25/2018. (Court Reporter Shannon Thompson.) Pursuant to Local Rules,
                   offering parties shall retain custody of exhibits..(BKA) (Entered: 10/25/2018)

11/05/2018   537   TRANSCRIPT REQUEST by Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter,
                   Ian Cazenave, Ricky D. Davis, Cedric Evans, Reginald George, Edward Giovanni,
                   Shannon Hurd, Joseph Lewis, Jr, Kentrell Parker, Farrell Sampier, Lionel Tolbert, John
                   Tonubbee, Edward Washington, Rufus White for proceedings held on October 9, 2018
                   through October 25, 2018 before Judge Shelly D. Dick.. (Kumar, Nishi) (Entered:
                   11/05/2018)

11/06/2018   538   TRANSCRIPT REQUEST by Burl Cain, Stacye Falgout, Tracy Falgout, Stephanie
                   Lamartiniere, Randy Lavespere, James M LeBlanc, John Morrison, Cynthia Park,
                   Sherwood Poret, Raman Singh, The Louisiana Department of Public Safety and
                   Corrections, Darrel Vannoy for proceedings held on 10/9/2018 before Judge Shelly D.
                   Dick. (Robert, Randal) Modified on 11/7/2018 to flatten and replace doc (LLH). (Entered:
                   11/06/2018)

11/06/2018   539   TRANSCRIPT REQUEST by Burl Cain, Stacye Falgout, Tracy Falgout, Stephanie
                   Lamartiniere, Randy Lavespere, James M LeBlanc, John Morrison, Cynthia Park,
                   Sherwood Poret, Raman Singh, The Louisiana Department of Public Safety and


                                                                                                23-30825.110
         Case: 23-30825        Document: 113-1          Page: 115        Date Filed: 01/11/2024

                   Corrections, Darrel Vannoy for proceedings held on 10/9/2018-10/25/2018 before Judge
                   Shelly D. Dick.. (Robert, Randal) (Entered: 11/06/2018)

11/06/2018   540   ORDER: A Telephone Conference is set for 11/15/2018 at 01:30 PM in chambers before
                   Magistrate Judge Richard L. Bourgeois Jr. Signed by Magistrate Judge Richard L.
                   Bourgeois, Jr. on 11/6/2018. (Attachments: # 1 Attachment)(KAH) (Entered: 11/06/2018)

11/15/2018   541   Minute Entry for proceedings held before Magistrate Judge Richard L. Bourgeois, Jr.:
                   Telephone Conference held on 11/15/2018. The parties discussed the scheduling of a
                   settlement conference in this matter. Upon the completion and filing of the trial
                   transcripts, the parties are to confer with one another and contact the undersigneds
                   chambers with proposed dates for a settlement conference. The Court's order setting the
                   settlement conference will provide additional instructions regarding the required
                   submissions in advance of the conference. (SGO) (Entered: 11/16/2018)

02/13/2019   542   MOTION for Mary E. Roper to Withdraw as Attorney by All Defendants. (Attachments:
                   # 1 Attachment Proposed Order)(Roper, Mary) (Entered: 02/13/2019)

02/14/2019         MOTION(S) REFERRED: 542 MOTION for Mary E. Roper to Withdraw as Attorney .
                   This motion is now pending before the USMJ. (SWE) (Entered: 02/14/2019)

02/15/2019   543   ORDER granting 542 Motion to Withdraw Attorney Mary E. Roper as Attorney for
                   Defendants in this matter. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                   2/15/2019. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                   associated with this entry.) (JSL) (Entered: 02/15/2019)

03/18/2019   544   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Bench Trial before Judge Shelly D.
                   Dick held on 10/09/2018. Court Reporter: Shannon Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 4/8/2019. Redacted
                   Transcript Deadline set for 4/18/2019. Release of Transcript Restriction set for 6/17/2019.
                   (Thompson, Shannon) (Entered: 03/18/2019)

03/18/2019   545   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 10/10/2018. Court Reporter: Shannon Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 4/8/2019. Redacted

                                                                                                     23-30825.111
         Case: 23-30825        Document: 113-1          Page: 116        Date Filed: 01/11/2024

                   Transcript Deadline set for 4/18/2019. Release of Transcript Restriction set for 6/17/2019.
                   (Thompson, Shannon) (Entered: 03/18/2019)

03/18/2019   546   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 10/12/2018. Court Reporter: Shannon Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
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                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 4/8/2019. Redacted
                   Transcript Deadline set for 4/18/2019. Release of Transcript Restriction set for 6/17/2019.
                   (Thompson, Shannon) (Entered: 03/18/2019)

03/18/2019   547   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 10/15/2018. Court Reporter: Shannon Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
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                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 4/8/2019. Redacted
                   Transcript Deadline set for 4/18/2019. Release of Transcript Restriction set for 6/17/2019.
                   (Thompson, Shannon) (Entered: 03/18/2019)

03/18/2019   548   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 10/16/2018. Court Reporter: Shannon Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
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                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 4/8/2019. Redacted
                   Transcript Deadline set for 4/18/2019. Release of Transcript Restriction set for 6/17/2019.
                   (Thompson, Shannon) (Entered: 03/18/2019)

03/18/2019   549   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 10/17/2018. Court Reporter: Shannon Thompson, CCR. Phone Number:
                   225-389-3567.


                                                                                                     23-30825.112
         Case: 23-30825        Document: 113-1          Page: 117        Date Filed: 01/11/2024

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 4/8/2019. Redacted
                   Transcript Deadline set for 4/18/2019. Release of Transcript Restriction set for 6/17/2019.
                   (Thompson, Shannon) (Entered: 03/18/2019)

03/18/2019   550   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 10/11/2018. Court Reporter: Shannon Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 4/8/2019. Redacted
                   Transcript Deadline set for 4/18/2019. Release of Transcript Restriction set for 6/17/2019.
                   (Thompson, Shannon) (Entered: 03/18/2019)

03/18/2019   551   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 10/22/2018. Court Reporter: Shannon Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
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                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 4/8/2019. Redacted
                   Transcript Deadline set for 4/18/2019. Release of Transcript Restriction set for 6/17/2019.
                   (Thompson, Shannon) (Entered: 03/18/2019)

03/18/2019   552   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 10/23/18. Court Reporter: Shannon Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.


                                                                                                     23-30825.113
         Case: 23-30825        Document: 113-1          Page: 118        Date Filed: 01/11/2024

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 4/8/2019. Redacted
                   Transcript Deadline set for 4/18/2019. Release of Transcript Restriction set for 6/17/2019.
                   (Thompson, Shannon) (Entered: 03/18/2019)

03/18/2019   553   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Bench Trial before Judge Shelly
                   D. Dick held on 10/24/18. Court Reporter: Shannon Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 4/8/2019. Redacted
                   Transcript Deadline set for 4/18/2019. Release of Transcript Restriction set for 6/17/2019.
                   (Thompson, Shannon) (Entered: 03/18/2019)

03/18/2019   554   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 10/25/18. Court Reporter: Shannon Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 4/8/2019. Redacted
                   Transcript Deadline set for 4/18/2019. Release of Transcript Restriction set for 6/17/2019.
                   (Thompson, Shannon) (Entered: 03/18/2019)

04/17/2019   556   Post-Trial Memorandum by All Defendants. (Robert, Randal) (Entered: 04/17/2019)

04/17/2019   557   ATTENTION: To view the corrected version of this document, please see rec. doc.
                   573....Proposed Findings of Fact by Alton Adams, Otto Barrera, Alton Batiste, Clyde
                   Carter, Ian Cazenave, Ricky D. Davis, Reginald George, Edward Giovanni, Shannon
                   Hurd, Kentrell Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward
                   Washington, Rufus White. (Attachments: # 1 Attachment Appendix A)(Montagnes,
                   Mercedes) (Main Document 557 and Attachment 1 replaced on 5/2/2019 in accordance
                   with RD 559) (SWE). Modified on 10/21/2019 to substitute document as per Order # 571
                   (LLH). This entry was modified on 1/7/2020 to notate that rec. doc. 573 replaces rec. doc.
                   557 and shall be considered the operative document and replaces any and all previously
                   filed documents (DCB). (Entered: 04/17/2019)

04/17/2019   558   MOTION to Substitute Plaintiffs' FFCL by All Plaintiffs. (Attachments: # 1 Memorandum
                   in Support, # 2 Proposed Pleading; Revised FFCL, # 3 Attachment Appendix, # 4
                   Attachment Proposed Order)(Montagnes, Mercedes) (Attachment 2 replaced on


                                                                                                     23-30825.114
         Case: 23-30825       Document: 113-1          Page: 119        Date Filed: 01/11/2024

                   10/17/2019 in accordance with RD 571) (SWE). (Entered: 04/17/2019)

04/17/2019   573   Corrected Plaintiffs' Proposed Findings of Fact and Conclusions of Law . by Alton
                   Adams, Otto Barrera, Alton Batiste, Clyde Carter, Ian Cazenave, Ricky D. Davis, Cedric
                   Evans, Reginald George, Edward Giovanni, Shannon Hurd, Joseph Lewis, Jr, Kentrell
                   Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward Washington, Rufus
                   White (Attachments: # 1 Attachment Appendix A)(Kumar, Nishi). As per rec. doc. no.
                   572 this entry was modified to reflect that this corrected pleading replaces rec. doc. 557
                   and shall be considered the operative document and replaces any and all previously filed
                   documents(DCB). (Entered: 01/07/2020)

04/29/2019   559   ORDER granting 558 MOTION to Substitute Plaintiffs' FFCL filed by Clyde Carter,
                   Kentrell Parker, Shannon Hurd, Cedric Evans, Lionel Tolbert, Reginald George, Rufus
                   White, Alton Adams, Ian Cazenave, John Tonubbee, Edward Giovanni, Farrell Sampier,
                   Alton Batiste, Ricky D. Davis, Edward Washington, Otto Barrera, Joseph Lewis, Jr..
                   Signed by Chief Judge Shelly D. Dick on 4/29/19. (This is a TEXT ENTRY ONLY.
                   There is no hyperlink or PDF document associated with this entry.) (BKA) (Entered:
                   04/29/2019)

05/07/2019   560   Post-Trial Memorandum by All Defendants. (Robert, Randal) (Entered: 05/07/2019)

05/07/2019   561   Reply to 556 Post-Trial Memorandum filed by All Plaintiffs. (Attachments: # 1 Exhibit
                   A)(Montagnes, Mercedes) Modified on 5/8/2019 to edit to the docket text to match the
                   document (KMW). (Entered: 05/07/2019)

05/16/2019   562   ORDER: Settlement Conference set for 7/24/2019 at 09:30 AM in chambers before
                   Magistrate Judge Richard L. Bourgeois Jr. The parties shall submit confidential settlement
                   position papers by noon on July 17, 2019 to the judge's chambers either via facsimile
                   transmission to (225) 389-3603 or hand delivery. The statement shall be succinct and not
                   exceed twenty pages. Before arriving at the settlement conference the parties are to
                   negotiate and make a good faith effort to settle the case without the involvement of the
                   Court. A specific settlement offer, in writing, must be submitted by the plaintiff by June
                   28, 2019, with a brief explanation of why settlement is appropriate on any particular issue.
                   If unacceptable to the defendant, a specific counteroffer, in writing, must be submitted by
                   the defendant by July 12, 2019. If settlement is not achieved, plaintiff's counsel shall
                   deliver or fax copies of all letters to Judge Bourgeois no later than noon on July 19, 2019.
                   Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 5/16/2019. (JSL) (Entered:
                   05/16/2019)

07/24/2019   563   Order/Minute Entry for proceedings held before Magistrate Judge Richard L. Bourgeois,
                   Jr.: Settlement Conference held on 7/24/2019. The parties were unable to reach a
                   resolution. The parties will continue negotiations themselves and will contact the Court
                   again should a follow-up settlement conference be desired. (KAH) (Entered: 07/26/2019)

08/09/2019   564   MOTION to Substitute Plaintiffs' Proposed Remedy by All Plaintiffs. (Attachments: # 1
                   Memorandum in Support, # 2 Proposed Pleading; Proposed Remedy, # 3 Attachment
                   Proposed Order)(Kumar, Nishi) (Entered: 08/09/2019)

08/15/2019   565   MOTION to Withdraw as Counsel of Record by All Plaintiffs. (Attachments: # 1
                   Attachment Proposed Order)(Zarrow, Amanda) Modified on 8/15/2019 to edit the docket
                   text (KMW). (Entered: 08/15/2019)

08/15/2019         MOTION(S) REFERRED: 565 MOTION to Withdraw as Counsel of Record . This
                   motion is now pending before the USMJ. (KMW) (Entered: 08/15/2019)

08/21/2019   566

                                                                                                   23-30825.115
         Case: 23-30825        Document: 113-1          Page: 120        Date Filed: 01/11/2024

                   ORDER granting 565 Motion to Withdraw as Counsel of Record. Attorney Amanda
                   Zarrow is withdrawn as co-counsel of record for plaintiffs. Signed by Magistrate Judge
                   Richard L. Bourgeois, Jr. on 8/21/2019. (This is a TEXT ENTRY ONLY. There is no
                   hyperlink or PDF document associated with this entry.) (SGO) (Entered: 08/21/2019)

09/09/2019   567   MOTION to Substitute Ronald K. Lospennato in place of Miranda Tait as Attorney by All
                   Plaintiffs. (Attachments: # 1 Attachment Proposed Order)(Kumar, Nishi) (Entered:
                   09/09/2019)

09/19/2019   568   ORDER granting 567 Motion to Substitute Attorney. Ronald Kenneth Lospennato for all
                   plaintiffs replacing Miranda Tait. Signed by Chief Judge Shelly D. Dick on 09/18/2019.
                   (ELW) (Entered: 09/19/2019)

10/09/2019   569   MOTION for Colin Clark to Withdraw as Attorney by All Defendants. (Attachments: # 1
                   Proposed Order)(Clark, Colin) (Entered: 10/09/2019)

10/10/2019         MOTION(S) REFERRED: 569 MOTION for Colin Clark to Withdraw as Attorney . This
                   motion is now pending before the USMJ. (LT) (Entered: 10/10/2019)

10/10/2019   570   ORDER granting 569 Motion to Withdraw Counsel of Record. Attorney Colin Clark is
                   withdrawn as co-counsel for defendants. Signed by Magistrate Judge Richard L.
                   Bourgeois, Jr. on 10/10/2019. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry.) (SGO) (Entered: 10/10/2019)

10/17/2019   571   ORDER granting 564 MOTION to Substitute Plaintiffs' Proposed Remedy . Signed by
                   Chief Judge Shelly D. Dick on 10/17/2019. (SWE) (Entered: 10/17/2019)

01/06/2020   572   ORDER: This matter is before the Court on Plaintiffs' Motion to Substitute Plaintiffs
                   Proposed Remedy, which the Court granted. However, rather than substitute only the
                   remedy portion of Plaintiffs' memorandum, Plaintiffs' Post-Trial memorandum, originally
                   298 pages, was substituted entirely by Plaintiffs' substituted remedy. Thus, the current
                   record does not contain Plaintiffs' Post-Trial Memorandum. Counsel for Plaintiffs are
                   hereby ordered to confer with the Clerk of Court's Office to correct the docket by close of
                   business Wednesday, January 8, 2020. Signed by Chief Judge Shelly D. Dick on 1/6/2020.
                   (EDC) (Entered: 01/06/2020)

01/31/2020   574   MOTION for Meredith Angelson to Withdraw as Attorney for Plaintiffs by All Plaintiffs.
                   (Attachments: # 1 Proposed Pleading; Order)(Angelson, Meredith) (Entered: 01/31/2020)

01/31/2020         MOTION(S) REFERRED: 574 MOTION for Meredith Angelson to Withdraw as
                   Attorney for Plaintiffs. This motion is now pending before the USMJ. (EDC) (Entered:
                   01/31/2020)

02/03/2020   575   ORDER granting 574 Motion to Withdraw as Co-Counsel of Record. Attorney Meredith
                   Angelson is withdrawn as co-counsel for Plaintiffs. Signed by Magistrate Judge Richard
                   L. Bourgeois, Jr. on 2/3/2020. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry.) (SGO) (Entered: 02/03/2020)

02/04/2020   576   ORDER: Upon request of all parties the Court will conduct a site visit of Louisiana State
                   Penitentiary on Wednesday February 5th commencing at 10 am. The Court's site visit
                   shall include the following: R.E.Barrow Treatment Center, The Acute Treatment Center,
                   Nursing Unit 1, Nursing Unit 2, and the Ash 2 Medical Dormitory. Counsel for the parties
                   may be present and are invited to attend and accompany the Court as their interests may
                   require. Counsel for LSP is Ordered to coordinate the necessary arrangements and
                   security clearances for the Court's site visit. Counsel is instructed to contact the Louisiana
                   Middle District Marshal Service (225-389-0359) and coordinate with Deputy Marshal


                                                                                                     23-30825.116
         Case: 23-30825       Document: 113-1          Page: 121        Date Filed: 01/11/2024

                   Clayton McDonough, who will accompany the Court to the site. Signed by Chief Judge
                   Shelly D. Dick on 2/4/2020. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry.)(Dick, Shelly) (Entered: 02/04/2020)

02/04/2020   577   ORDER: The Parties are hereby advised that, for tomorrow's Angola site visit, there is a
                   limit of two counsel for Plaintiffs and two counsel for Defendants. Additionally, the
                   Parties are hereby ordered to advise the Court and the U.S. Marshal of the identity of the
                   attorneys attending by 4:00 p.m. CST today. Signed by Chief Judge Shelly D. Dick on
                   2/4/2020. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                   associated with this entry.)(BKA) (Entered: 02/04/2020)

02/21/2020   578   ORDER: The Court has taken under advisement the parties claims and defenses and is
                   preparing to issue a Ruling on the merits. The Court will find that the medical care at
                   Angola State Penitentiary is unconstitutional in some respects and is prepared to Order
                   injunctive relief addressing conditions which the Court finds unconstitutional. The Court
                   considers it to be in the best interests of the litigants to attempt to reach an amicable
                   resolution on some or all of the claims. It is ORDERED that Randal Robert, only,for the
                   Defendants and Mercedes Montagnes,only,for the Plaintiffs, meet and confer in person for
                   the purposes of reaching resolution on some or all claims. It is FURTHER ORDERED
                   that Secretary LeBlanc attend the in person meeting of counsel Robert and Montagnes.
                   Mr. Robert and Ms. Montagnes are hereby ORDERED to contact United States
                   Magistrate Judge Richard Bourgeois to schedule a date and time to meet and confer under
                   the the direction and assistance of Magistrate Judge. Signed by Chief Judge Shelly D.
                   Dick on 2/21/2020. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                   document associated with this entry.)(Dick, Shelly) (Entered: 02/21/2020)

03/03/2020   579   SETTLEMENT CONFERENCE ORDER: Settlement Conference set for 4/14/2020 at
                   09:30 AM in chambers before Magistrate Judge Richard L. Bourgeois Jr.. Signed by
                   Magistrate Judge Richard L. Bourgeois, Jr. on 3/3/2020. (EDC) (Entered: 03/03/2020)

03/28/2020   580   Emergency MOTION to Re-open Discovery Regarding COVID-19 by All Plaintiffs.
                   (Attachments: # 1 Memorandum in Support, # 2 Attachment Declaration of Dr. Puisis, # 3
                   Attachment Declaration of Jeff Dubner, # 4 Attachment Email Correspondence, # 5
                   Attachment Proposed Order)(Montagnes, Mercedes) Modified on 3/30/2020 to edit the
                   docket text (KMW). (Entered: 03/28/2020)

03/28/2020   581   MOTION for Expedited Consideration on 580 Emergency MOTION for Discovery by All
                   Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Attachment Proposed
                   Order)(Montagnes, Mercedes) Modified on 3/30/2020 to edit the docket text (KMW).
                   (Entered: 03/28/2020)

03/30/2020         MOTION(S) REFERRED: 580 Emergency MOTION to Re-open Discovery Regarding
                   COVID-19. This motion is now pending before the USMJ. (KMW) (Entered: 03/30/2020)

03/30/2020         MOTION(S) REFERRED: 581 MOTION for Expedited Consideration on 580 Emergency
                   MOTION for Discovery . This motion is now pending before the USMJ. (KMW)
                   (Entered: 03/30/2020)

03/31/2020   582   Plaintiff's Emergency MOTION to Restrain Defendants from Transferring COVID-19
                   Carriers to Louisiana State Penitentiary by All Plaintiffs. (Attachments: # 1 Memorandum
                   in Support, # 2 Attachment Declaration of Dr. Puisis, # 3 Attachment Declaration of Jeff
                   Dubner, # 4 Attachment Email Correspondence, # 5 Attachment Proposed
                   Order)(Montagnes, Mercedes) Modified on 3/31/2020 to edit text (LT). (Entered:
                   03/31/2020)

03/31/2020   583

                                                                                                   23-30825.117
         Case: 23-30825       Document: 113-1           Page: 122        Date Filed: 01/11/2024

                   MOTION to Continue Post-Trial Settlement Conference by Stacye Falgout, Tracy
                   Falgout, Randy Lavespere, James M LeBlanc, John Morrison, Cynthia Park, Sherwood
                   Poret, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy.
                   (Attachments: # 1 Memorandum in Support Memorandum in Support, # 2 Proposed
                   Pleading; Proposed Order)(Tomeny, Caroline) (Entered: 03/31/2020)

03/31/2020         MOTION(S) REFERRED: 583 MOTION to Continue Post-Trial Settlement Conference .
                   This motion is now pending before the USMJ. (KMW) (Entered: 03/31/2020)

03/31/2020   584   RESPONSE to 583 MOTION to Continue Post-Trial Settlement Conference filed by All
                   Plaintiffs. (Montagnes, Mercedes) (Entered: 03/31/2020)

04/01/2020         Motions No Longer Referred: 581 MOTION for Expedited Consideration on 580
                   Emergency MOTION for Discovery , 580 Emergency MOTION to Re-open Discovery
                   Regarding COVID-19. This motion is now pending before the USDJ. (KMW) (Entered:
                   04/01/2020)

04/01/2020   585   MEMORANDUM in Opposition to 582 Plaintiff's Emergency MOTION to Restrain
                   Defendants from Transferring COVID-19 Carriers to Louisiana State Penitentiary by All
                   Plaintiffs filed by Stacye Falgout, Tracy Falgout, Stephanie Lamartiniere, Randy
                   Lavespere, James M LeBlanc, Cynthia Park, Sherwood Poret, The Louisiana Department
                   of Public Safety and Corrections, Darrel Vannoy. (Attachments: # 1 Exhibit Affidavit of
                   James M. LeBlanc, # 2 Exhibit Affidavit of Tracy Falgout, # 3 Exhibit Affidavit of Dr.
                   John E. Morrison, # 4 Exhibit 4, # 5 Exhibit 5)(Robert, Randal) (Entered: 04/01/2020)

04/02/2020   586   ORDER granting 583 Motion to Continue. The settlement conference set for 4/14/2020 is
                   CANCELLED. A telephone conference is set for 4/21/2020 at 11:00 a.m. Signed by
                   Magistrate Judge Richard L. Bourgeois, Jr. on 4/1/2020. (EDC) (Entered: 04/02/2020)

04/02/2020         Set/Reset Deadlines/Hearings: (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry) Telephone Conference before the Magistrate
                   Judge set for 4/21/2020 at 11:00 AM in chambers before Magistrate Judge Richard L.
                   Bourgeois Jr.. (EDC) (Entered: 04/02/2020)

04/02/2020   587   RULING granting 581 Motion for Expedited Hearing on 580 Emergency Motion to
                   Re-Open Discovery Regarding COVID-19. Plaintiffs' 580 Emergency Motion to Re-Open
                   Discovery Regarding COVID-19 and 582 Emergency Motion to Restrain Defendants
                   from Transferring COVID-19 Carriers to Louisiana State Penitentiary are DENIED.
                   Signed by Chief Judge Shelly D. Dick on 4/2/2020. (SWE) (Entered: 04/02/2020)

04/20/2020   588   Considering the current national emergency relating to COVID-19, the telephone
                   conference set April 21, 2020 at 11:00 a.m. remains premature. Accordingly, it is
                   CANCELLED and RESET for 5/19/2020 at 10:30 AM. Attorney Randal J. Robert,
                   counsel for defendants, and attorney Mercedes Montagnes, counsel for plaintiff, shall
                   participate in the telephone conference. Attorney Randal J. Robert shall initiate the call to
                   all parties then contact the Court at (225) 389-3602 once both attorneys are on the line.
                   (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                   this entry.)(Bourgeois, Richard) (Entered: 04/20/2020)

05/19/2020   589   Minute Entry/Order for proceedings held before Magistrate Judge Richard L. Bourgeois,
                   Jr.: Telephone Conference held on 5/19/2020. (LT) Modified on 5/21/2020 to edit text
                   (LT). (Entered: 05/19/2020)

05/28/2020   590   Notice to Counsel: A Settlement Conference with Randal J. Robert and Secretary LeBlanc
                   is set for 6/4/2020 at 03:00 PM in by video before Magistrate Judge Richard L. Bourgeois
                   Jr. Participant instructions shall be sent to Mr. Robert and Secretary LeBlanc via separate

                                                                                                     23-30825.118
         Case: 23-30825        Document: 113-1          Page: 123        Date Filed: 01/11/2024

                   e-mail by the courtroom deputy. (This is a TEXT ENTRY ONLY. There is no hyperlink
                   or PDF document associated with this entry.)(SGO) (Entered: 05/28/2020)

06/04/2020   591   Minute Entry/Order for proceedings held before Magistrate Judge Richard L. Bourgeois,
                   Jr.: Video Settlement Conference held on 6/4/2020. (LT) Modified on 6/8/2020 to edit
                   text (LT). Modified on 6/9/2020 to edit title (LT). (Entered: 06/05/2020)

09/22/2020   592   MOTION to Withdraw as Co-Counsel of Record by All Plaintiffs. (Davidson, Jared)
                   (Entered: 09/22/2020)

09/22/2020         MOTION(S) REFERRED: 592 MOTION to Withdraw as Co-Counsel of Record. This
                   motion is now pending before the USMJ. (KMW) (Entered: 09/22/2020)

09/24/2020   593   ORDER granting 592 Motion to Withdraw as Co-Counsel of Record. Attorney Jared
                   Davidson is withdrawn as co-counsel for Plaintiffs. Signed by Magistrate Judge Richard
                   L. Bourgeois, Jr. on 9/24/2020. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry.) (SGO) (Entered: 09/24/2020)

03/31/2021   594   OPINION: For the reasons stated, the Court holds that the Defendants, in their official
                   capacities, are violating the Eighth Amendment rights of the Plaintiff Class and the ADA
                   and RA rights of the Plaintiff Subclass. Based on the overwhelming evidence presented at
                   trial, judgment shall be entered in favor of Plaintiffs following the remedy phase. The
                   Court shall order injunctive relief as stated herein. By separate notice, the Court will set a
                   State Conference to discuss proceeding to the remedy phase of this matter. Signed by
                   Chief Judge Shelly D. Dick on 3/31/2021. (SWE) (Entered: 03/31/2021)

03/31/2021   595   ORDER: This matter is hereby temporarily STAYED and ADMINISTRATIVELY
                   CLOSED pending a docket review and preparation for the remedy phase. This matter
                   shall be re-opened upon the setting of a Status Conference to discuss how the remedial
                   phase will proceed. Signed by Chief Judge Shelly D. Dick on 3/31/2021. (EDC) (Entered:
                   03/31/2021)

03/31/2021   596   GENERAL ORDER: All pleadings and other papers filed under seal in civil and criminal
                   actions shall be maintained under seal for thirty days following final disposition of the
                   action. After that time, all sealed pleadings and other papers shall be placed in the case
                   record unless a District Judge or Magistrate Judge, upon motion and for good cause
                   shown, orders that the pleading or other paper be maintained under seal.

                   The deadline for filing any motions regarding the unsealing of any document shall be
                   within thirty days of the final disposition of any action and shall contain a concise
                   statement of reasons for maintaining the pleading or other paper under seal.

                   ATTENTION: If a motion to retain documents under seal is NOT filed, all documents
                   shall be placed in the public case record, unless specifically identified in the attached
                   General Order

                   Signed by Chief Judge Shelly D. Dick on 7/8/2019. (EDC) (Entered: 03/31/2021)

04/12/2021   597   MOTION to Lift Stay to Allow Filing of a Motion for Reconsideration or, in the
                   Alternative, MOTION to Certify Ruling for Interlocutory Appeal by Burl Cain, Stacye
                   Falgout, Tracy Falgout, Stephanie Lamartiniere, Randy Lavespere, James M LeBlanc,
                   John Morrison, Cynthia Park, Sherwood Poret, Darrel Vannoy. (Attachments: # 1
                   Memorandum in Support, # 2 Proposed Pleading; Order, # 3 Exhibit A - Defendants'
                   Motion for Reconsideration, # 4 Exhibit B - Defendants' Memorandum in Support of
                   Motion for Reconsideration)(Robert, Randal). (Entered: 04/12/2021)


                                                                                                     23-30825.119
         Case: 23-30825       Document: 113-1           Page: 124        Date Filed: 01/11/2024

04/13/2021   598   ORDER granting 597 Motion to Lift Stay and this case is hereby REOPENED. Signed by
                   Chief Judge Shelly D. Dick on 4/13/2021. (This is a TEXT ENTRY ONLY. There is no
                   hyperlink or PDF document associated with this entry.) (BKA) (Entered: 04/13/2021)

04/13/2021   599   Unopposed MOTION for Extension of Time file Motion for Attorneys' Fees and Costs by
                   All Plaintiffs. (Attachments: # 1 Attachment Proposed Order)(Kumar, Nishi) (Entered:
                   04/13/2021)

04/13/2021   600   MOTION to Enroll Rebecca Rose Ramaswamy as Additional Attorney by All Plaintiffs.
                   (Attachments: # 1 Memorandum in Support, # 2 Attachment Proposed Order)(Kumar,
                   Nishi) (Entered: 04/13/2021)

04/13/2021         MOTION(S) REFERRED: 600 MOTION to Enroll Rebecca Rose Ramaswamy as
                   Additional Attorney . This motion is now pending before the USMJ. (EDC) (Entered:
                   04/13/2021)

04/14/2021   601   ORDER granting 599 Motion for Extension of Time of 90 (ninety) days. Signed by Chief
                   Judge Shelly D. Dick on 4/14/2021. (This is a TEXT ENTRY ONLY. There is no
                   hyperlink or PDF document associated with this entry.) (BKA) (Entered: 04/14/2021)

04/15/2021   602   ORDER granting 600 Motion to Enroll Additional Counsel for Plaintiffs. Attorney
                   Rebecca Rose Ramaswamy is enrolled as co-counsel for Plaintiffs. Signed by Magistrate
                   Judge Richard L. Bourgeois, Jr. on 4/15/2021. (This is a TEXT ENTRY ONLY. There is
                   no hyperlink or PDF document associated with this entry.) (SGO) (Entered: 04/15/2021)

04/15/2021   603   MOTION for Reconsideration of 594 Opinion,, or, in the Alternative, to Certify Ruling for
                   Interlocutory Appeal by Burl Cain, Stacye Falgout, Tracy Falgout, Randy Lavespere,
                   James M LeBlanc, John Morrison, Cynthia Park, Sherwood Poret, The Louisiana
                   Department of Public Safety and Corrections, Darrel Vannoy. (Attachments: # 1
                   Memorandum in Support)(Robert, Randal). Added MOTION on 4/15/2021 (EDC).
                   Modified on 7/6/2021 to add motion text (NLT). (Entered: 04/15/2021)

05/03/2021   604   MEMORANDUM in Opposition to 603 MOTION for Reconsideration of 594 Opinion,,
                   or, in the Alternative, to Certify Ruling for Interlocutory Appeal filed by All Plaintiffs.
                   (Attachments: # 1 Exhibit Email Exchange)(Ramaswamy, Rebecca) (Entered:
                   05/03/2021)

05/03/2021   605   MOTION for Status Conference by All Plaintiffs. (Attachments: # 1 Memorandum in
                   Support, # 2 Exhibit, # 3 Attachment Proposed Order)(Kumar, Nishi) (Entered:
                   05/03/2021)

05/26/2021   606   MOTION for Bruce Hamilton to Withdraw as Attorney by All Plaintiffs. (Hamilton,
                   Bruce) (Entered: 05/26/2021)

05/26/2021   607   MOTION for Nora Ahmed to Appear Pro Hac Vice (Filing fee $100.00, Receipt Number
                   ALAMDC-2292000) by All Plaintiffs. (Attachments: # 1 Exhibit A, # 2 Attachment
                   Certificate, # 3 Attachment Proposed Order)(Kumar, Nishi) (Entered: 05/26/2021)

05/27/2021         MOTION(S) REFERRED: 606 MOTION for Bruce Hamilton to Withdraw as Attorney ,
                   607 MOTION for Nora Ahmed to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                   Number ALAMDC-2292000). This motion is now pending before the USMJ. (ELW)
                   (Entered: 05/27/2021)

05/27/2021   608   ORDER granting 607 Motion for Nora Ahmed to Appear Pro Hac Vice on behalf of
                   plaintiffs. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 5/27/2021. (This is a
                   TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this


                                                                                                    23-30825.120
         Case: 23-30825       Document: 113-1           Page: 125       Date Filed: 01/11/2024

                   entry.) (SGO)

                   ATTENTION: Local counsel shall provide the following link to those attorneys granted
                   leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                   for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                   (Entered: 05/27/2021)

06/02/2021   609   ORDER granting 606 Motion to Withdraw. Attorney Bruce Hamilton is withdrawn as
                   co-counsel for Plaintiffs. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on
                   6/2/2021. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                   associated with this entry.) (SGO) (Entered: 06/02/2021)

07/02/2021   610   Unopposed MOTION for Extension of Time to File Motion for Attorneys' Fees and Costs
                   by All Plaintiffs. (Attachments: # 1 Attachment Proposed Order)(Ramaswamy, Rebecca)
                   (Entered: 07/02/2021)

07/12/2021   611   ORDER granting 610 Motion for Extension of Time. Signed by Chief Judge Shelly D.
                   Dick on 7/12/2021. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                   document associated with this entry.) (Dick, Shelly) (Entered: 07/12/2021)

08/04/2021   612   MOTION to Enroll Bruce Hamilton as Additional Attorney by All Plaintiffs.
                   (Attachments: # 1 Attachment Proposed Order)(Kumar, Nishi) (Entered: 08/04/2021)

08/05/2021         MOTION(S) REFERRED: 612 MOTION to Enroll Bruce Hamilton as Additional
                   Attorney . This motion is now pending before the USMJ. (ELW) (Entered: 08/05/2021)

08/05/2021   613   ORDER granting 612 Motion to Enroll Attorney adding Bruce Warfield Hamilton as
                   additional counsel for all plaintiffs. Signed by Chief Judge Shelly D. Dick on 8/5/2021.
                   (DCB) (Entered: 08/05/2021)

08/24/2021   614   Consent MOTION for Leave to File Excess Pages for Motion for Fees and Costs by All
                   Plaintiffs. (Attachments: # 1 Memorandum in Support Memo in Support of Motion to
                   Exceed Page Limit, # 2 Attachment Proposed Order Granting Motion to File Excess
                   Pages, # 3 Proposed Pleading; Motion for Fees, # 4 Exhibit Memo in Support of Motion
                   for Fees, # 5 Exhibit (1) Montagnes Decl, # 6 Exhibit (1-L) PJI Costs 1 of 2, # 7 Exhibit
                   (1-L) PJI Costs 2 of 2, # 8 Exhibit (2) Zarrow Decl, # 9 Exhibit (3) Navalance Decl, # 10
                   Exhibit (4) Farris Decl, # 11 Exhibit (5) Compa Decl, # 12 Exhibit (6) Glass Decl, # 13
                   Exhibit (7) Kumar Decl, # 14 Exhibit (8) Ramaswamy Decl, # 15 Exhibit (9) Dubner
                   Decl, # 16 Exhibit (10) Hamilton Decl, # 17 Exhibit (11) Sirmon Decl, # 18 Exhibit (12)
                   Harrison Decl, # 19 Exhibit (13) ACLU Costs, # 20 Exhibit (14) Lospennato Decl, # 21
                   Exhibit (15) Small Decl, # 22 Exhibit (16) J. Johnson Decl, # 23 Exhibit (17) Davidson
                   Decl, # 24 Exhibit (18) Angelson Decl, # 25 Exhibit (19) Clark Decl, # 26 Exhibit (20)
                   Gaffney Decl, # 27 Exhibit (21) Kendell Decl, # 28 Exhibit (22) Graybill Decl, # 29
                   Exhibit (23) SPLC Costs 1 of 3, # 30 Exhibit (23) SPLC Costs 2 of 3, # 31 Exhibit (23)
                   SPLC Costs 3 of 3, # 32 Exhibit (24) Master Fees Spreadsheet)(Ramaswamy, Rebecca)
                   (Attacements 6,7, 29, 30 and 31 replaced on 8/25/2021) (EDC). Modified on 8/25/2021 to
                   rotate pages.(EDC). (Entered: 08/24/2021)

08/25/2021   615   ORDER granting 614 Motion for Leave to File Excess Pages. Signed by Chief Judge
                   Shelly D. Dick on 8/25/2021. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry.) (BKA) (Entered: 08/25/2021)

08/27/2021   616   MOTION for Attorney Fees and Costs by Plaintiffs. (Attachments: # 1 Memorandum in
                   Support, # 2 Exhibit 1, # 3 Exhibit 1-L-1, # 4 Exhibit 1-L-2, # 5 Exhibit 2, # 6 Exhibit 3, #
                   7 Exhibit 4, # 8 Exhibit 5, # 9 Exhibit 6, # 10 Exhibit 7, # 11 Exhibit 8, # 12 Exhibit 9, #

                                                                                                    23-30825.121
         Case: 23-30825       Document: 113-1          Page: 126       Date Filed: 01/11/2024

                   13 Exhibit 10, # 14 Exhibit 11, # 15 Exhibit 12, # 16 Exhibit 13, # 17 Exhibit 14, # 18
                   Exhibit 15, # 19 Exhibit 16, # 20 Exhibit 17, # 21 Exhibit 18, # 22 Exhibit 19, # 23
                   Exhibit 20, # 24 Exhibit 21, # 25 Exhibit 22, # 26 Exhibit 23, # 27 Exhibit 23-2, # 28
                   Exhibit 23-3, # 29 Exhibit 24)(LLH) (Entered: 08/27/2021)

09/13/2021   617   JOINT MOTION to Enroll Andrew Blanchfield and Chelsea A. Payne as Additional
                   Attorney by Stacye Falgout, Tracy Falgout, Randy Lavespere, James M LeBlanc, John
                   Morrison, Cynthia Park, Sherwood Poret, The Louisiana Department of Public Safety and
                   Corrections, Darrel Vannoy. (Attachments: # 1 Proposed Pleading; Order)(Robert,
                   Randal) Modified on 9/14/2021 to edit text (LLH). (Main Document 617 replaced on
                   9/16/2021 in accordance with RD 619) (SWE). (Entered: 09/13/2021)

09/14/2021         MOTION(S) REFERRED: 617 MOTION to Enroll Andrew Blanchfield and Chelsea A.
                   Payne as Additional Attorney . This motion is now pending before the USMJ. (LLH)
                   (Entered: 09/14/2021)

09/14/2021   618   MOTION to Substitute Joint Motion to Enroll Additional Counsel of Record by Stacye
                   Falgout, Tracy Falgout, Randy Lavespere, James M LeBlanc, John Morrison, Cynthia
                   Park, Sherwood Poret, The Louisiana Department of Public Safety and Corrections,
                   Darrel Vannoy. (Attachments: # 1 Proposed Pleading;, # 2 Proposed Pleading;
                   Order)(Robert, Randal) (Entered: 09/14/2021)

09/14/2021         MOTION(S) REFERRED: 618 MOTION to Substitute Joint Motion to Enroll Additional
                   Counsel of Record . This motion is now pending before the USMJ. (LLH) (Entered:
                   09/14/2021)

09/16/2021   619   ORDER granting 618 MOTION to Substitute Joint Motion to Enroll Additional Counsel
                   of Record filed by Sherwood Poret, Cynthia Park, Tracy Falgout, The Louisiana
                   Department of Public Safety and Corrections, John Morrison, Stacye Falgout, Darrel
                   Vannoy, James M LeBlanc, Randy Lavespere. Signed by Magistrate Judge Richard L.
                   Bourgeois, Jr. on 9/16/2021. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry.) (SWE) (Entered: 09/16/2021)

09/16/2021   620   ORDER granting 617 Motion to Enroll Additional Attorney. Added attorney Andrew
                   Blanchfield,Chelsea Acosta Payne for Stacye Falgout,Andrew Blanchfield,Chelsea Acosta
                   Payne for Stephanie Lamartiniere,Andrew Blanchfield,Chelsea Acosta Payne for Randy
                   Lavespere,Andrew Blanchfield,Chelsea Acosta Payne for James M LeBlanc,Andrew
                   Blanchfield,Chelsea Acosta Payne for John Morrison,Andrew Blanchfield,Chelsea Acosta
                   Payne for Cynthia Park,Andrew Blanchfield,Chelsea Acosta Payne for Sherwood
                   Poret,Andrew Blanchfield,Chelsea Acosta Payne for The Louisiana Department of Public
                   Safety and Corrections,Andrew Blanchfield,Chelsea Acosta Payne for Darrel Vannoy.
                   Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 9/16/2021. (This is a TEXT
                   ENTRY ONLY. There is no hyperlink or PDF document associated with this entry.)
                   (SWE) (Entered: 09/16/2021)

09/16/2021   621   Unopposed MOTION for Extension of Time to File Response to 616 MOTION for
                   Attorney Fees by Stacye Falgout, Tracy Falgout, Stephanie Lamartiniere, Randy
                   Lavespere, James M LeBlanc, John Morrison, Cynthia Park, Sherwood Poret.
                   (Attachments: # 1 Attachment Proposed Order)(Blanchfield, Andrew) (Entered:
                   09/16/2021)

09/30/2021   622   ORDER granting 621 Motion for Extension of Time to File Response to 616 MOTION
                   for Attorney Fees. Defendants be and they are hereby granted a ninety-day extension from
                   the original deadline to file an opposition to Plaintiffs Motion for Attorneys Fees and
                   Costs. Opposition due by 12/16/2021. Signed by Chief Judge Shelly D. Dick on


                                                                                                   23-30825.122
         Case: 23-30825       Document: 113-1         Page: 127       Date Filed: 01/11/2024

                   09/30/2021. (ELW) (Entered: 09/30/2021)

10/08/2021   623   RULING denying 603 Motion for Reconsideration or, in the Alternative, to Certify Ruling
                   for Interlocutory Appeal and granting 605 Motion for Status Conference to discuss the
                   remedy phase in this matter. A status conference is set for 12/15/2021 at 2:00 p.m. in
                   Courtroom 3. Signed by Chief Judge Shelly D. Dick on 10/08/2021. (NLT) (Entered:
                   10/08/2021)

11/29/2021   624   ORDER of USCA - Action Taken at the Circuit: COURT ORDER denying Petition for
                   writ of mandamus filed by Petitioners Mr. James M. LeBlanc, Secretary, Department of
                   Public Safety and Corrections, Louisiana Department of Public Safety and Corrections,
                   Ms. Stephanie Lamartiniere and Mr. Darrel Vannoy, Warden, Louisiana State
                   Penitentiary. (SWE) (Entered: 11/29/2021)

12/08/2021   625   MOTION to Stay and/or Deny Plaintiffs' Motion for Attorneys' Fees and Costs (R. Doc.
                   616) on Grounds of Prematurity by Stacye Falgout, Stephanie Lamartiniere, Randy
                   Lavespere, James M LeBlanc, John Morrison, Cynthia Park, Sherwood Poret, The
                   Louisiana Department of Public Safety and Corrections, Darrel Vannoy. (Attachments: #
                   1 Memorandum in Support, # 2 Proposed Pleading;)(Blanchfield, Andrew). Added
                   MOTION to Deny Plaintiffs' Motion for Attorneys' Fees and Costs on 12/9/2021 (SWE).
                   (Entered: 12/08/2021)

12/08/2021   626   Ex Parte MOTION for Expedited Hearing on 625 MOTION to Stay and/or Deny
                   Plaintiffs' Motion for Attorneys' Fees and Costs (R. Doc. 616) on Grounds of Prematurity
                   by Stacye Falgout, Stephanie Lamartiniere, Randy Lavespere, James M LeBlanc, John
                   Morrison, Cynthia Park, Sherwood Poret, The Louisiana Department of Public Safety and
                   Corrections, Darrel Vannoy. (Attachments: # 1 Proposed Pleading;)(Blanchfield, Andrew)
                   (Entered: 12/08/2021)

12/10/2021   627   MOTION to Enroll Samantha Bosalavage and Elena Malik as Additional Attorney by All
                   Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Attachment Proposed
                   Order)(Kumar, Nishi) (Entered: 12/10/2021)

12/10/2021         MOTION(S) REFERRED: 627 MOTION to Enroll Samantha Bosalavage and Elena
                   Malik as Additional Attorney . This motion is now pending before the USMJ. (SWE)
                   (Entered: 12/10/2021)

12/13/2021   628   ORDER granting 627 Motion to Enroll Additional Counsel for Plaintiffs. Attorneys Elena
                   Malik and Samantha Nicole Bosalavage are enrolled as co-counsel for Plaintiffs. Signed
                   by Magistrate Judge Richard L. Bourgeois, Jr. on 12/13/2021. (This is a TEXT ENTRY
                   ONLY. There is no hyperlink or PDF document associated with this entry.) (SGO)
                   (Entered: 12/13/2021)

12/15/2021   629   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Status Conference
                   held on 12/15/2021. (Court Reporter Shannon Thompson.) (BKA) (Entered: 12/15/2021)

12/15/2021   630   Notice to Counsel: Evidentiary (Remedy) Hearing set for 6/6/2022 through 6/17/2022 at
                   09:30 AM in Courtroom 3 before Chief Judge Shelly D. Dick. Pre-Hearing Conference set
                   for 5/24/2022 at 10:00 AM in Courtroom 3 before Chief Judge Shelly D. Dick.

                   Evidence, in electronic format, shall be provided in accordance with Local Rule 79 and
                   Administrative Procedures.

                   (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                   this entry.) (BKA) (Entered: 12/15/2021)


                                                                                                 23-30825.123
         Case: 23-30825       Document: 113-1          Page: 128       Date Filed: 01/11/2024

12/15/2021   631   ORDER granting 625 Motion to Stay the Motion at Record Document 616. Signed by
                   Chief Judge Shelly D. Dick on 12/15/2021. (This is a TEXT ENTRY ONLY. There is no
                   hyperlink or PDF document associated with this entry.) (BKA) (Entered: 12/15/2021)

12/15/2021   632   ORDER finding as moot 626 Motion for Expedited Hearing on Motion at Rec. Doc. 625.
                   Signed by Chief Judge Shelly D. Dick on 12/15/2021. (This is a TEXT ENTRY ONLY.
                   There is no hyperlink or PDF document associated with this entry.) (BKA) (Entered:
                   12/15/2021)

12/22/2021   633   Joint MOTION for Extension of Time exchange exhibit and witness lists by All Plaintiffs.
                   (Attachments: # 1 Attachment Proposed Order)(Bosalavage, Samantha) (Entered:
                   12/22/2021)

01/05/2022   634   ORDER granting 633 Joint MOTION for Extension of Time exchange exhibit and witness
                   lists.. Signed by Chief Judge Shelly D. Dick on 1/5/2022. (This is a TEXT ENTRY
                   ONLY. There is no hyperlink or PDF document associated with this entry.) (Dick, Shelly)
                   (Entered: 01/05/2022)

01/05/2022   635   ORDER: Witness Lists are due 2/18/2022. Exhibit Lists are due 3/18/2022. Signed by
                   Chief Judge Shelly D. Dick on 1/5/2022. (This is a TEXT ENTRY ONLY. There is no
                   hyperlink or PDF document associated with this entry.)(BKA) (Entered: 01/05/2022)

01/31/2022   636   MOTION for Protective Order by All Defendants. (Attachments: # 1 Memorandum in
                   Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Proposed Pleading; Proposed
                   Order)(Cody, Jeffrey) (Entered: 01/31/2022)

02/01/2022   637   MOTION for Expedited Hearing on 636 MOTION for Protective Order by All
                   Defendants. (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;
                   Proposed Order)(Cody, Jeffrey) (Entered: 02/01/2022)

02/02/2022         MOTION(S) REFERRED: 636 MOTION for Protective Order , 637 MOTION for
                   Expedited Hearing on 636 MOTION for Protective Order . This motion is now pending
                   before the USMJ. (NLT) (Entered: 02/02/2022)

02/02/2022   638   ORDER: as to 637 MOTION for Expedited Hearing on 636 MOTION for Protective
                   Order. Plaintiffs shall give notice to the Court on or before noon Friday 2/4/2022 if they
                   will oppose Defendants' 636 Motion. Signed by Chief Judge Shelly D. Dick on 2/2/2022.
                   (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                   this entry.)(SWE) (Entered: 02/02/2022)

02/02/2022         Motions No Longer Referred: 636 MOTION for Protective Order , 637 MOTION for
                   Expedited Hearing on 636 MOTION for Protective Order . This motion is now pending
                   before the USDJ. (SGO) (Entered: 02/02/2022)

02/03/2022   639   NOTICE OF Opposition to 636 MOTION for Protective Order by Alton Adams, Otto
                   Barrera, Alton Batiste, Clyde Carter, Ian Cazenave, Ricky D. Davis, Cedric Evans,
                   Reginald George, Edward Giovanni, Shannon Hurd, Joseph Lewis, Jr, Kentrell Parker,
                   Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward Washington, Rufus White
                   (Malik, Elena) Modified on 2/4/2022 to edit the text (NLT). (Entered: 02/03/2022)

02/08/2022   640   RESPONSE in Opposition to 636 MOTION for Protective Order filed by All Plaintiffs.
                   (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Kumar, Nishi)
                   (Entered: 02/08/2022)

02/11/2022   641   MOTION for Leave to File Reply Brief in support of 636 Motion for Protective Order by
                   All Defendants. (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;


                                                                                                  23-30825.124
         Case: 23-30825        Document: 113-1          Page: 129        Date Filed: 01/11/2024

                   Reply Brief, # 3 Proposed Pleading; Proposed Order)(Cody, Jeffrey) Modified on
                   2/14/2022 to edit text (ELW) (Entered: 02/11/2022)

02/14/2022         MOTION(S) REFERRED: 641 MOTION for Leave to File Reply Brief . This motion is
                   now pending before the USMJ. (NLT) (Entered: 02/14/2022)

02/15/2022         Motions No Longer Referred: 641 MOTION for Leave to File Reply Brief . This motion
                   is now pending before the USDJ. (SWE) (Entered: 02/15/2022)

02/15/2022   642   ORDER granting 641 MOTION for Leave to File Reply Brief in support of Motion for
                   Protective Order. Signed by Chief Judge Shelly D. Dick on 2/15/2022. (This is a TEXT
                   ENTRY ONLY. There is no hyperlink or PDF document associated with this entry.)
                   (SWE) (Entered: 02/15/2022)

02/15/2022   643   REPLY BRIEF in Support of 636 MOTION for Protective Order filed by All Defendants.
                   (SWE) (Entered: 02/15/2022)

02/16/2022   644   NOTICE OF Joinder in Motion for Expedited Consideration by Alton Adams, Otto
                   Barrera, Alton Batiste, Clyde Carter, Ian Cazenave, Ricky D. Davis, Cedric Evans,
                   Reginald George, Edward Giovanni, Shannon Hurd, Joseph Lewis, Jr, Kentrell Parker,
                   Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward Washington, Rufus White
                   (Attachments: # 1 Exhibit A)(Kumar, Nishi) (Entered: 02/16/2022)

02/17/2022   645   RULING denying 636 Motion for Protective Order. However, the Court limits the
                   beginning of remedy phase discovery to January 1, 2019, unless such requests seek
                   policies, directives, protocols, guidelines, or forms relative to the said constitutional
                   deficiencies but created or revised since September 30, 2016. Considering the date of this
                   Ruling, the Court will extend the deadline to fulfill Plaintiffs' discovery requests to Friday,
                   February 25, 2022. The Court urges the Parties to continue to meet and confer in good
                   faith before filing any future discovery motions. Signed by Chief Judge Shelly D. Dick on
                   2/17/2022. (EDC) (Entered: 02/17/2022)

02/18/2022   646   MOTION to Compel Production of Documents by Alton Adams, Otto Barrera, Alton
                   Batiste, Clyde Carter, Ian Cazenave, Ricky D. Davis, Cedric Evans, Reginald George,
                   Edward Giovanni, Shannon Hurd, Joseph Lewis, Jr, Kentrell Parker, Farrell Sampier,
                   Lionel Tolbert, John Tonubbee, Edward Washington, Rufus White. (Attachments: # 1
                   Memorandum in Support, # 2 Exhibit Ex. A, Defs' Responses to Pls' 2nd Set of Remedy
                   RFPs, # 3 Exhibit Ex. B, Email Exchange Feb 11-16, # 4 Exhibit Ex. C, Vassallo
                   Dec.)(Ramaswamy, Rebecca) (Entered: 02/18/2022)

02/18/2022         MOTION(S) REFERRED: 646 MOTION to Compel Production of Documents. This
                   motion is now pending before the USMJ. (NLT) (Entered: 02/18/2022)

02/18/2022   647   Joint MOTION for Extension of Time fact deposition deadline by All Plaintiffs.
                   (Attachments: # 1 Proposed Pleading;)(Malik, Elena) (Entered: 02/18/2022)

02/18/2022         Motions No Longer Referred: 646 MOTION to Compel Production of Documents. This
                   motion is now pending before the USDJ. (SGO) (Entered: 02/18/2022)

02/21/2022   648   MOTION to Enroll Emily Blythe Lubin as Additional Attorney by All Plaintiffs.
                   (Attachments: # 1 Proposed Pleading; Draft order)(Hamilton, Bruce) (Entered:
                   02/21/2022)

02/22/2022         MOTION(S) REFERRED: 648 MOTION to Enroll Emily Blythe Lubin as Additional
                   Attorney . This motion is now pending before the USMJ. (ELW) (Entered: 02/22/2022)

02/22/2022   649

                                                                                                      23-30825.125
         Case: 23-30825       Document: 113-1          Page: 130       Date Filed: 01/11/2024

                   Consent MOTION to Withdraw 646 MOTION to Compel Production of Documents by
                   All Plaintiffs. (Attachments: # 1 Exhibit Defs' Email, # 2 Attachment Proposed
                   Order)(Ramaswamy, Rebecca) (Entered: 02/22/2022)

02/23/2022   650   ORDER granting 648 Motion to Enroll Additional Counsel. Attorney Emily Blythe Lubin
                   is enrolled as co-counsel for Plaintiffs. Signed by Magistrate Judge Richard L. Bourgeois,
                   Jr. on 2/23/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                   document associated with this entry.) (SGO) (Entered: 02/23/2022)

02/23/2022   651   ORDER granting 649 Consent Motion to Withdraw 646 MOTION to Compel Production
                   of Documents. The 646 MOTION to Compel Production of Documents is DENIED AS
                   MOOT. Signed by Chief Judge Shelly D. Dick on 2/23/2022. (This is a TEXT ENTRY
                   ONLY. There is no hyperlink or PDF document associated with this entry.) (SWE)
                   (Entered: 02/23/2022)

03/04/2022   652   ORDER granting 647 Joint Motion to Extend Fact Depositions Deadline. The parties'
                   deadline to complete fact depositions is 4/1/2022. Signed by Chief Judge Shelly D. Dick
                   on 3/4/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                   associated with this entry.) (SWE) (Entered: 03/04/2022)

03/14/2022   653   MOTION for Brendan R. Schneiderman to Appear Pro Hac Vice (Filing fee $100.00,
                   Receipt Number ALAMDC-2405565) by All Plaintiffs. (Attachments: # 1 Exhibit
                   Declaration of Brendan Schneiderman, # 2 Attachment Cert. of Good Standing DC, # 3
                   Attachment Proposed Order)(Bosalavage, Samantha) (Entered: 03/14/2022)

03/14/2022         MOTION(S) REFERRED: 653 MOTION for Brendan R. Schneiderman to Appear Pro
                   Hac Vice (Filing fee $100.00, Receipt Number ALAMDC-2405565). This motion is now
                   pending before the USMJ. (LLH) (Entered: 03/14/2022)

03/15/2022   654   ORDER granting 653 Motion for Brendan R. Schneiderman to Appear Pro Hac Vice on
                   behalf of Plaintiffs. Signed by Magistrate Judge Richard L. Bourgeois, Jr. on 3/15/2022.
                   (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                   this entry.) (SGO)

                   ATTENTION: Local counsel shall provide the following link to those attorneys granted
                   leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                   for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                   (Entered: 03/15/2022)

03/15/2022   655   Joint MOTION for Extension of Time Exchange Exhibit Lists by All Plaintiffs.
                   (Attachments: # 1 Proposed Pleading;)(Malik, Elena) (Entered: 03/15/2022)

03/15/2022   656   ORDER granting 655 Motion for Extension of Time. The Parties deadline to exchange
                   exhibit lists is 4/8/2022. Signed by Chief Judge Shelly D. Dick on 3/15/2022. (This is a
                   TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                   entry.) (SWE) (Entered: 03/15/2022)

03/17/2022   657   Joint MOTION for Preliminary Approval of Partial Class Action Settlement, Setting of
                   Fairness Hearing by All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2
                   Affidavit, # 3 Proposed Pleading;)(Bosalavage, Samantha) Modified on 3/18/2022 to edit
                   text (ELW). (Entered: 03/17/2022)

03/17/2022   658   Joint MOTION for Final Approval of Partial Class Action Settlement by All Plaintiffs.
                   (Attachments: # 1 Memorandum in Support, # 2 Affidavit, # 3 Proposed
                   Pleading;)(Bosalavage, Samantha) Modified on 3/18/2022 (ELW). (Entered: 03/17/2022)

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         Case: 23-30825       Document: 113-1           Page: 131       Date Filed: 01/11/2024

03/18/2022   659   MOTION to Withdraw 657 Joint MOTION for Settlement Preliminary Approval, Notice,
                   and Fairness Hearing, 658 Joint MOTION for Settlement Final Approval (Partial) by All
                   Defendants. (Attachments: # 1 Memorandum in Support Memorandum in Support, # 2
                   Attachment Proposed Order)(Tomeny, Caroline) (Entered: 03/18/2022)

03/21/2022   660   ORDER granting 659 Motion to Withdraw 657 Joint MOTION for Settlement
                   Preliminary Approval, Notice, and Fairness Hearing, 658 Joint MOTION for Settlement
                   Final Approval (Partial) . Signed by Chief Judge Shelly D. Dick on 3/21/2022. (This is a
                   TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                   entry.) (SWE) (Entered: 03/21/2022)

03/22/2022   661   MOTION for Sanctions Discovery by All Plaintiffs. (Attachments: # 1 Memorandum in
                   Support, # 2 Exhibit Ex. A, # 3 Exhibit Ex. B, # 4 Exhibit Ex. C, # 5 Exhibit Ex. D, # 6
                   Exhibit Ex. E)(Bosalavage, Samantha) (Entered: 03/22/2022)

03/22/2022   662   MOTION for Expedited Hearing on 661 MOTION for Sanctions Discovery by All
                   Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Attachment Proposed
                   Order)(Bosalavage, Samantha) (Entered: 03/22/2022)

03/23/2022   663   ORDER granting 662 Motion for Expedited Hearing on 662 MOTION for Expedited
                   Hearing on 661 MOTION for Sanctions Discovery. Defendants shall file a response by
                   close of business 3/28/2022. Signed by Chief Judge Shelly D. Dick on 3/23/2022. (This is
                   a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                   entry.) (SWE) (Entered: 03/23/2022)

03/25/2022   664   MOTION to Exclude Defendants' Expert Witness List in Part by All Plaintiffs.
                   (Attachments: # 1 Memorandum in Support)(Bosalavage, Samantha) (Entered:
                   03/25/2022)

03/25/2022   665   Additional Exhibits to 664 MOTION to Exclude Defendants' Expert Witness List in Part
                   by All Plaintiffs. filed by All Plaintiffs. (Attachments: # 1 Exhibit B, # 2 Exhibit C, # 3
                   Exhibit D)(Bosalavage, Samantha) (Entered: 03/25/2022)

03/25/2022   666   MOTION for Expedited Hearing on 664 MOTION to Exclude Defendants' Expert
                   Witness List in Part by All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2
                   Attachment Proposed Order)(Bosalavage, Samantha) (Entered: 03/25/2022)

03/28/2022   667   Joint MOTION for Status Conference by All Plaintiffs. (Bosalavage, Samantha) (Entered:
                   03/28/2022)

03/28/2022   668   MEMORANDUM in Opposition to 661 MOTION for Sanctions Discovery filed by All
                   Defendants. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Cody, Jeffrey) (Entered:
                   03/28/2022)

03/29/2022   669   ORDER granting 667 Motion for Conference. Status Conference set for 4/11/2022 at
                   10:00 AM in Courtroom 3 before Chief Judge Shelly D. Dick. Signed by Chief Judge
                   Shelly D. Dick on 3/29/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry.) (SWE) (Entered: 03/29/2022)

03/30/2022   670   ORDER: (TIME CHANGE ONLY) Status Conference re-set for 4/11/2022 at 02:00 PM
                   in Courtroom 3. Signed by Chief Judge Shelly D. Dick on 3/30/2022. (This is a TEXT
                   ENTRY ONLY. There is no hyperlink or PDF document associated with this
                   entry.)(SWE) (Entered: 03/30/2022)

03/30/2022   671   ORDER granting 666 Motion for Expedited Hearing on 666 MOTION for Expedited
                   Hearing on 664 MOTION to Exclude Defendants' Expert Witness List in Part. Defendants


                                                                                                    23-30825.127
         Case: 23-30825       Document: 113-1          Page: 132        Date Filed: 01/11/2024

                   shall file a response on or before close of business on 3/31/2022. Signed by Chief Judge
                   Shelly D. Dick on 3/30/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry.) (SWE) (Entered: 03/30/2022)

03/30/2022   672   MOTION for Leave to File Reply by All Plaintiffs. (Attachments: # 1 Proposed Order, # 2
                   Proposed Pleading; Reply Memo, # 3 Exhibit Ex. A, # 4 Exhibit Ex. B, # 5 Exhibit Ex. C,
                   # 6 Exhibit Ex. D)(Malik, Elena) (Entered: 03/30/2022)

03/31/2022   673   MEMORANDUM in Opposition to 664 MOTION to Exclude Defendants' Expert Witness
                   List in Part filed by All Defendants. (Archey, Connell) (Entered: 03/31/2022)

04/01/2022   674   MOTION for Leave to File Sur-Reply by All Defendants. (Attachments: # 1
                   Memorandum in Support, # 2 Proposed Pleading; Sur-Reply, # 3 Proposed Pleading;
                   Order)(Tomeny, Caroline) (Entered: 04/01/2022)

04/01/2022   675   ORDER granting Defendants' 674 MOTION for Leave to File Sur-Reply in Support of
                   Opposition to Plaintiffs' Motion for Discovery Sanctions. Signed by Chief Judge Shelly D.
                   Dick on 4/1/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                   document associated with this entry.) (SWE) (Entered: 04/01/2022)

04/01/2022   676   SUR-REPLY in support of 668 Memorandum in Opposition to 661 MOTION for
                   Discovery Sanctions filed by All Defendants. (SWE) (Entered: 04/01/2022)

04/01/2022   677   ORDER granting Plaintiffs' 672 MOTION for Leave to File Reply in Support of Plaintiffs'
                   Motion for Discovery Sanctions. Signed by Chief Judge Shelly D. Dick on 4/1/2022.
                   (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                   this entry.) (SWE) (Entered: 04/01/2022)

04/01/2022   678   REPLY MEMORANDUM in Support of 661 MOTION for Discovery Sanctions filed by
                   All Plaintiffs. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                   D)(SWE) (Entered: 04/01/2022)

04/04/2022   679   RULING: Granting in part and denying in part 661 Motion for Sanctions. To the extent
                   the motion calls for procedural sanctions, Plaintiffs motionfor an extension of time to
                   produce expert reports in and through May 3, 2022 is GRANTED. Plaintiffs motion that
                   the Court order the Defendants to cover the costs of Plaintiffs experts review of the
                   supplemental eMARs is DENIED. Signed by Chief Judge Shelly D. Dick on 4/4/2022.
                   (ELW) (Entered: 04/04/2022)

04/11/2022   680   Notice to Counsel: The Status Conference set for 4/11/2022 at 02:00 PM is converted to a
                   video conference. Zoom instructions will be sent by separate email. (This is a TEXT
                   ENTRY ONLY. There is no hyperlink or PDF document associated with this
                   entry.)(SWE) (Entered: 04/11/2022)

04/11/2022   681   ORDER denying 664 Motion to Exclude Defendants' Expert Witness List in Part.
                   Defendants will be permitted to call LSP nurse practitioners who were employed by LSP
                   as 0f 1/14/2022 as fact witnesses. Plaintiffs concede that they know the identities of the
                   nurse practitioners and thus there is no prejudice owing to surprise. Accordingly the
                   Motion is DENIED.. Signed by Chief Judge Shelly D. Dick on 4/11/2022. (This is a
                   TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                   entry.) (Dick, Shelly) (Entered: 04/11/2022)

04/11/2022   682   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Video Status
                   Conference held on 4/11/2022. The parties discussed procedures for the upcoming
                   evidentiary hearing set for 6/6/2022. The parties shall file Findings of Fact and
                   Conclusions of Law which shall be limited to 10 pages by the close of business on or


                                                                                                   23-30825.128
         Case: 23-30825       Document: 113-1           Page: 133       Date Filed: 01/11/2024

                   before 5/13/2022. All deadlines have been set and will not be extended. (SWE) (Entered:
                   04/13/2022)

05/04/2022   683   MOTION to Enroll Allena W. McCain as Additional Attorney by All Defendants.
                   (Attachments: # 1 Attachment Proposed Order)(Robert, Randal) (Entered: 05/04/2022)

05/04/2022         MOTION(S) REFERRED: 683 MOTION to Enroll Allena W. McCain as Additional
                   Attorney . This motion is now pending before the USMJ. (ELW) (Entered: 05/04/2022)

05/05/2022   684   ORDER granting 683 Motion to Enroll Additional Counsel of Record for Defendants.
                   Attorney Allena Brooke McCain is enrolled as co-counsel for Defendants. Signed by
                   Magistrate Judge Richard L. Bourgeois, Jr on 5/5/2022. (This is a TEXT ENTRY ONLY.
                   There is no hyperlink or PDF document associated with this entry.) (SGO) (Entered:
                   05/05/2022)

05/10/2022   685   Unopposed MOTION for Extension of Time to file Pretrial Order by All Plaintiffs.
                   (Attachments: # 1 Attachment Proposed Order)(Kumar, Nishi) (Entered: 05/10/2022)

05/10/2022   686   Unopposed MOTION for Expedited Hearing on 685 Unopposed MOTION for Extension
                   of Time to file Pretrial Order by All Plaintiffs. (Attachments: # 1 Attachment Proposed
                   Order)(Kumar, Nishi) (Entered: 05/10/2022)

05/10/2022   687   ORDER granting 686 Motion for Expedited Hearing on 685 Unopposed MOTION for
                   Extension of Time to file Pretrial Order .. Signed by Chief Judge Shelly D. Dick on
                   5/10/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                   associated with this entry.) (SWE) (Entered: 05/10/2022)

05/10/2022   688   ORDER granting 685 Unopposed Motion for Extension of Time to File Pretrial Order.
                   The Parties' deadline to file the pretrial order is 5/13/2022. Signed by Chief Judge Shelly
                   D. Dick on 5/10/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                   document associated with this entry.) (SWE) (Entered: 05/10/2022)

05/13/2022   689   Proposed Findings of Fact by Clyde Carter, Ian Cazenave, Ricky D. Davis, Reginald
                   George, Kentrell Parker, Lionel Tolbert, John Tonubbee, Edward Washington.
                   (Ramaswamy, Rebecca) (Entered: 05/13/2022)

05/13/2022   690   Proposed Findings of Fact by Stacye Falgout, Tracy Falgout, Randy Lavespere, James M
                   LeBlanc, John Morrison, Cynthia Park, Sherwood Poret, The Louisiana Department of
                   Public Safety and Corrections, Darrel Vannoy. (McCain, Allena) (Entered: 05/13/2022)

05/13/2022   691   Proposed Pretrial Order by All Plaintiffs (For your free look at document, enter your
                   Individual PACER login and pw to confirm your right to view). (Attachments: # 1
                   Attachment Plaintiffs' Exhibit List, # 2 Attachment Defendants' Exhibit List, # 3
                   Attachment Plaintiffs' Witness List, # 4 Attachment Defendants' Witness List)(Kumar,
                   Nishi) (Entered: 05/13/2022)

05/16/2022   692   MOTION in Limine re Burden of Proof by All Plaintiffs. (Attachments: # 1 Memorandum
                   in Support)(Ramaswamy, Rebecca) (Entered: 05/16/2022)

05/16/2022   693   MOTION in Limine re Evidentiary Issues by All Plaintiffs. (Attachments: # 1
                   Memorandum in Support, # 2 Exhibit 1 Email Conine, # 3 Exhibit 2 Email Supp Disc, # 4
                   Exhibit 3 Resp 1st Rogs, # 5 Exhibit 4 Lavespere Dep, # 6 Exhibit 5 Resp 2nd Rogs, # 7
                   Exhibit 6 Resp 2nd RFPs, # 8 Exhibit 7 Resp 3rd RFPs, # 9 Exhibit 8 1st
                   RFPs)(Ramaswamy, Rebecca) (Entered: 05/16/2022)

05/16/2022   694   MOTION in Limine to Admit Additional Evidence by All Defendants. (Attachments: # 1
                   Memorandum in Support, # 2 Exhibit A - Email from Dubner, # 3 Exhibit B - Email from

                                                                                                    23-30825.129
         Case: 23-30825       Document: 113-1           Page: 134        Date Filed: 01/11/2024

                   Ramaswamy, # 4 Exhibit C - Dockery v. Hall District Court Order, # 5 Exhibit D - Memo
                   re Self-Declared Emergency Sick Call, # 6 Exhibit E - Email from Conine, # 7 Exhibit F -
                   Inmate Orderly Training Records)(Robert, Randal) Modified on 5/18/2022 to edit the text
                   (NLT). (Entered: 05/16/2022)

05/16/2022   695   MOTION to Limit Scope of Testimony and Evidence by All Defendants. (Attachments: #
                   1 Memorandum in Support, # 2 Exhibit A - Plaintiffs Medical Expert Report, # 3 Exhibit
                   B - Report of Mazz)(Robert, Randal) Modified on 5/18/2022 to edit the text (NLT).
                   (Entered: 05/16/2022)

05/16/2022   696   MOTION to Exclude Expert Testimony of John Morrison by All Plaintiffs. (Attachments:
                   # 1 Memorandum in Support, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit
                   4)(Kumar, Nishi) (Entered: 05/16/2022)

05/16/2022   697   MOTION to Exclude Expert Testimony of Michael McMunn by All Plaintiffs.
                   (Attachments: # 1 Memorandum in Support, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, #
                   5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7)(Bosalavage, Samantha) (Entered:
                   05/16/2022)

05/16/2022   698   MOTION to Exclude Expert Testimony of David M. Mathis in Part by All Plaintiffs.
                   (Attachments: # 1 Memorandum in Support, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, #
                   5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8)(Bosalavage,
                   Samantha) (Entered: 05/16/2022)

05/16/2022   699   MOTION to Exclude Expert Testimony of Dr. Dora B. Schriro by All Defendants.
                   (Attachments: # 1 Memorandum in Support, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, #
                   5 Proposed Order)(Cody, Jeffrey) Modified text to remove duplicate text on 5/17/2022
                   (JEG). (Entered: 05/16/2022)

05/23/2022   700   SEALED MOTION for Leave to File Exhibits 5 and 6 to Plaintiffs' Opposition to
                   Defendants' Motion to Exclude Expert Testimony of Dr. Dora B. Schriro Under Seal by
                   All Plaintiffs. (Attachments: # 1 Proposed Pleading; Ex 5, Schriro Notes, # 2 Proposed
                   Pleading; Ex 6, Class Member ID List, # 3 Attachment Proposed Order)(Ramaswamy,
                   Rebecca) (Entered: 05/23/2022)

05/23/2022   701   MEMORANDUM in Opposition to 699 MOTION to Exclude Expert Testimony of Dr.
                   Dora B. Schriro filed by All Plaintiffs. (Attachments: # 1 Exhibit 1, Falgout Dep, # 2
                   Exhibit 2, Oliveaux Dep, # 3 Exhibit 3, Req for Accommodation, # 4 Exhibit 4, Spears
                   Dep, # 5 Exhibit 5, Schriro Notes (Sealed), # 6 Exhibit 6, Class Member ID List (Sealed),
                   # 7 Exhibit 7, List of Orderlies)(Ramaswamy, Rebecca) (Additional attachment(s) added
                   on 5/23/2022: # 8 Sealed Exhibit 5, # 9 Sealed Exhibit 6) (JEG). (Entered: 05/23/2022)

05/23/2022   702   MEMORANDUM in Opposition to 694 MOTION in Limine to Admit Additional
                   Evidence filed by All Plaintiffs. (Attachments: # 1 Exhibit Ex. A - Stipulation, # 2 Exhibit
                   Ex. B - Email, # 3 Exhibit Ex. C - Email, # 4 Exhibit Ex. D - Email, # 5 Exhibit Ex. E -
                   Pls Med Expert Report, # 6 Exhibit Ex. F - Mathis Dep., # 7 Exhibit Ex. G - Hawkins
                   Dep., # 8 Exhibit Ex. H - Lavespere 30b6 Dep., # 9 Exhibit Ex. I - Lavespere Indiv. Dep.,
                   # 10 Exhibit Ex. J - Resp to First Interrog., # 11 Exhibit Ex. K - Email, # 12 Exhibit Ex. L
                   - Falgout 30b6 Dep., # 13 Exhibit Ex. M - Spears Dep., # 14 Exhibit Ex. N - Email, # 15
                   Exhibit Ex. O - Email, # 16 Exhibit Ex. P - Resp to Second Interrog., # 17 Exhibit Ex. Q -
                   Stickells Dep., # 18 Exhibit Ex. R - Johnson Dep., # 19 Exhibit Ex. S - Rodriguez Trial
                   Test., # 20 Exhibit Ex. T - Rodriguez Dep.)(Malik, Elena) (Entered: 05/23/2022)

05/23/2022   703   MEMORANDUM in Opposition to 695 MOTION to Limit Scope of Testimony and
                   Evidence filed by All Plaintiffs. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3,
                   # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(Bosalavage, Samantha)

                                                                                                    23-30825.130
         Case: 23-30825       Document: 113-1          Page: 135       Date Filed: 01/11/2024

                   (Entered: 05/23/2022)

05/23/2022   704   MEMORANDUM in Opposition to 696 MOTION to Exclude Expert Testimony of John
                   Morrison filed by All Defendants. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                   Exhibit)(Robert, Randal) (Entered: 05/23/2022)

05/23/2022   705   MEMORANDUM in Opposition to 692 MOTION in Limine re Burden of Proof filed by
                   All Defendants. (Robert, Randal) (Entered: 05/23/2022)

05/23/2022   706   MEMORANDUM in Opposition to 693 MOTION in Limine re Evidentiary Issues filed
                   by All Defendants. (Robert, Randal) (Entered: 05/23/2022)

05/23/2022   707   MEMORANDUM in Opposition to 698 MOTION to Exclude Expert Testimony of David
                   M. Mathis in Part filed by All Defendants. (Attachments: # 1 Exhibit 1 - Dr. Mathis' CV,
                   # 2 Exhibit 2 - Mathis deposition, # 3 Exhibit 3 - LaMarre deposition, # 4 Exhibit 4 -
                   Goehring deposition, # 5 Exhibit 5 - Puisis deposition, # 6 Exhibit 6 - Mathis review of
                   Patient #14, # 7 Exhibit 7 - Mathis review of Patient #16, # 8 Exhibit 8 - Mathis review of
                   Patient #34, # 9 Exhibit 9 - Mathis review of Patient #36, # 10 Exhibit 10 - Mathis review
                   of Patient #54, # 11 Exhibit 11 - Vassallo Review of Patient #54, # 12 Exhibit 12 -
                   Vassallo deposition, # 13 Exhibit 13 - Mathis review of Patient #57)(Robert, Randal)
                   (Entered: 05/23/2022)

05/23/2022   708   MEMORANDUM in Opposition to 697 MOTION to Exclude Expert Testimony of
                   Michael McMunn filed by All Defendants. (Attachments: # 1 Exhibit 1 - McMunn CV, #
                   2 Exhibit 2 - McMunn Report)(Robert, Randal) (Entered: 05/23/2022)

05/23/2022   709   ORDER: The Evidentiary Hearing set for 6/6/2022 will begin at 01:00 PM in Courtroom
                   3 before Chief Judge Shelly D. Dick. Signed by Chief Judge Shelly D. Dick on 5/23/2022.
                   (SWE) (Entered: 05/23/2022)

05/23/2022   710   ORDER granting 700 SEALED Motion for Leave to File Documents Under Seal. Signed
                   by Chief Judge Shelly D. Dick on 5/23/2022. (JEG) Modified text on 5/23/2022 to remove
                   duplicate text (JEG). (Entered: 05/23/2022)

05/24/2022   711   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Pretrial Conference
                   held on 5/24/2022. The pending Motions were discussed. Court will issue written ruling
                   shortly. Court encouraged parties to meet and confer to agree upon submission of
                   testimony by deposition and remote testimony by video of witnesses. (SWE) (Entered:
                   05/24/2022)

05/25/2022   712   RULING denying Plaintiffs' 696 Motion Exclude Expert Testimony of John Morrison.
                   Signed by Chief Judge Shelly D. Dick on 5/25/2022. (SWE) (Entered: 05/25/2022)

05/26/2022   713   RULING: For the written reasons assigned herein: Plaintiffs' 692 Motion in Limine
                   Regarding Burden of Proof is DENIED; Plaintiffs' 693 Motion in Limine Regarding
                   Evidentiary Issues is DENIED without prejudice; Defendants' 694 Motion in Limine to
                   Admit Additional Evidence is GRANTED without prejudice to objections at the time of
                   trial; Defendants' 695 Motion to Limit Scope of Testimony and Evidence as to items 1-7
                   is DENIED, without prejudice to the right of the Defendants to urge objections at trial.
                   Defendants' 695 Motion to exclude opinion as to Treatment Unit Cell Block #28 is
                   DENIED as stated. The 695 Motion as to Mazz's evaluation and opinions of the Visiting
                   Areas is DENIED. Signed by Chief Judge Shelly D. Dick on 5/26/2022. (SWE) (Entered:
                   05/26/2022)

05/30/2022   714   Pre-Hearing MOTION to Reopen Depositions and Admit Expert Reports with
                   Attachments by All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Exhibit 1,


                                                                                                   23-30825.131
         Case: 23-30825       Document: 113-1         Page: 136       Date Filed: 01/11/2024

                   Oliveaux Dep, # 3 Exhibit 2, ADA 30(b)(6) Dep, # 4 Exhibit 3, Email re Oliveaux
                   Witness List, # 5 Exhibit 4, Spears Dep, # 6 Exhibit 5, Email re Additional ADA
                   Changes, # 7 Exhibit 6, Email re Additional Evidence, # 8 Exhibit 7, Cashio Dep, # 9
                   Attachment Proposed Order)(Ramaswamy, Rebecca) Modified on 5/31/2022 to edit text
                   (LLH). (Entered: 05/30/2022)

05/31/2022   715   MOTION to Amend 691 Proposed Pretrial Order, by All Plaintiffs. (Attachments: # 1
                   Memorandum in Support Memo in Support, # 2 Proposed Pleading; Amended Joint
                   Pretrial Order)(Malik, Elena) (Entered: 05/31/2022)

05/31/2022   716   ORDER granting 715 Motion to Amend Proposed Pretrial Order. Signed by Chief Judge
                   Shelly D. Dick on 5/31/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry.) (SWE) (Entered: 05/31/2022)

05/31/2022   717   AMENDED Pretrial Order by All Plaintiffs (For your free look at document, enter your
                   Individual PACER login and pw to confirm your right to view). (LLH) (Entered:
                   05/31/2022)

05/31/2022   718   MOTION for Expedited Hearing on 714 MOTION Reopen Depositions and Admit Expert
                   Reports with Attachments by All Plaintiffs. (Attachments: # 1 Memorandum in Support, #
                   2 Attachment Proposed Order)(Bosalavage, Samantha) (Entered: 05/31/2022)

06/01/2022   719   MEMORANDUM in Opposition to 714 MOTION Reopen Depositions and Admit Expert
                   Reports with Attachments filed by All Defendants. (Robert, Randal) (Entered:
                   06/01/2022)

06/01/2022   720   RULING denying in part and granting in part 697 Motion in Limine to Exclude Expert
                   Testimony of Michael McMunn. Signed by Chief Judge Shelly D. Dick on 6/1/2022.
                   (SWE) (Entered: 06/01/2022)

06/01/2022   721   RULING granting 714 Motion to Reopen Depositions and Admit Expert Reports with
                   Attachments and 718 Motion for Expedited Hearing, subject to the limitations as written.
                   Signed by Chief Judge Shelly D. Dick on 6/1/2022. (SWE) (Entered: 06/01/2022)

06/01/2022   722   Unopposed MOTION for Writ of Habeas Corpus ad testificandum for Dennis Mischler by
                   All Plaintiffs. (Attachments: # 1 Attachment Proposed Order)(Bosalavage, Samantha)
                   (Entered: 06/01/2022)

06/02/2022   723   RULING denying in part and granting in part 698 Motion in Limine to Exclude Expert
                   Testimony of David M. Mathis in Part. Signed by Chief Judge Shelly D. Dick on
                   6/1/2022. (SWE) (Entered: 06/02/2022)

06/02/2022   724   Unopposed MOTION for Writ of Habeas Corpus ad testificandum JeanPaul Creppel by
                   All Plaintiffs. (Attachments: # 1 Proposed Pleading; Proposed Order)(Malik, Elena)
                   (Entered: 06/02/2022)

06/02/2022   725   Unopposed MOTION for Writ of Habeas Corpus ad testificandum Charles Butler by All
                   Plaintiffs. (Attachments: # 1 Proposed Pleading; Proposed Order)(Malik, Elena) (Entered:
                   06/02/2022)

06/03/2022   726   ORDER granting 722 Unopposed MOTION for Writ of Habeas Corpus ad testificandum
                   for Dennis Mischler. The Warden of the Louisiana State Penitentiary at Angola,
                   Louisiana, Timothy Hooper, transport and produce class member, DENNIS MISCHLER,
                   DOC #731698, as written. Signed by Chief Judge Shelly D. Dick on 6/2/2022. (LLH)
                   (Entered: 06/03/2022)

06/03/2022   727

                                                                                                 23-30825.132
         Case: 23-30825       Document: 113-1          Page: 137        Date Filed: 01/11/2024

                   RULING denying 699 Motion in Limine to Exclude Expert Testimony of Dr. Dora B.
                   Schriro, Ed.D., J.D. Signed by Chief Judge Shelly D. Dick on 6/3/2022. (SWE) (Entered:
                   06/03/2022)

06/03/2022   728   Return on 726 Order on Motion for Writ of Habeas Corpus ad testificandum,. (US
                   Marshal, ) (Entered: 06/03/2022)

06/03/2022   729   ORDER granting 724 Motion for Writ of Habeas Corpus ad testificandum for JeanPaul
                   Creppel. The Warden of the Louisiana State Penitentiary at Angola, Louisiana, Timothy
                   Hooper,transport (using side restraints) and produce class member, JEANPAUL
                   CREPPEL, DOC #501207, as written. Signed by Chief Judge Shelly D. Dick on 6/3/2022.
                   (ELW) (Entered: 06/03/2022)

06/03/2022   730   ORDER granting 725 Motion for Writ of Habeas Corpus ad testificandum for Charles
                   Butler. The Warden of the Louisiana State Penitentiary at Angola, Louisiana, Timothy
                   Hooper, transport and produce class member, CHARLES BUTLER, # 209995, as written.
                   Signed by Chief Judge Shelly D. Dick on 6/3/2022. (ELW) (Entered: 06/03/2022)

06/06/2022   731   Return on 730 Order on Motion for Writ of Habeas Corpus ad testificandum,. (US
                   Marshal, ) (Entered: 06/06/2022)

06/06/2022   732   Return on 729 Order on Motion for Writ of Habeas Corpus ad testificandum,. (US
                   Marshal, ) (Entered: 06/06/2022)

06/06/2022   733   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 6/6/2022. Exhibits filed. Parties present opening statements. Witnesses sworn and
                   testify. Court recesses until 6/7/2022 at 9:00 a.m. (Court Reporter S. Thompson.) Pursuant
                   to Local Rules, offering parties shall retain custody of exhibits..(SWE) (Entered:
                   06/09/2022)

06/06/2022   791   ELECTRONIC EXHIBIT List for hearing dated 6/6/2022 - Submitted to the Court
                   Conventionally due to voluminous nature. (SWE) (Entered: 11/28/2023)

06/06/2022   792   SEALED ELECTRONIC EXHIBITS for hearing dated 06/06/2022 - Submitted to the
                   court conventionally due to the voluminous nature .(NLT) (Entered: 11/28/2023)

06/07/2022   734   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 6/7/2022. Witnesses sworn and testify. Exhibits filed. Court recesses until 6/8/2022 at
                   9:00 a.m. (Court Reporter S. Thompson.) Pursuant to Local Rules, offering parties shall
                   retain custody of exhibits..(SWE) (Entered: 06/09/2022)

06/08/2022   735   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 6/8/2022. Witnesses sworn and testify. Exhibits filed. Court recesses until 6/9/2022, at
                   9:00 a.m. (Court Reporter S. Thompson.) Pursuant to Local Rules, offering parties shall
                   retain custody of exhibits..(SWE) (Entered: 06/09/2022)

06/09/2022   736   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 6/9/2022. Witness sworn and testify. Exhibits filed. Court recesses until 6/10/2022 at
                   9:00 a.m. (Court Reporter S. Thompson.) Pursuant to Local Rules, offering parties shall
                   retain custody of exhibits..(SWE) Modified on 6/10/2022 to edit file date (SWE).
                   (Entered: 06/10/2022)

06/10/2022   737   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 6/10/2022. Witnesses testify and exhibits filed. Court recesses until 6/13/2022 at 12:00
                   p.m. (Court Reporter S. Thompson.) Pursuant to Local Rules, offering parties shall retain
                   custody of exhibits..(SWE) (Entered: 06/13/2022)


                                                                                                   23-30825.133
         Case: 23-30825       Document: 113-1          Page: 138        Date Filed: 01/11/2024

06/13/2022   738   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 6/13/2022. Witnesses sworn and testify. Plaintiffs rest. Court recesses until Tuesday,
                   6/14/2022 at 9:00 a.m. (Court Reporter N. Breaux.) (SWE) (Main Document 738 replaced
                   on 6/14/2022 to correct text) (SWE). (Entered: 06/14/2022)

06/14/2022   739   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 6/14/2022. Witnesses testified and exhibits filed. Court recesses until 6/15/2022 at 9:00
                   a.m. (Court Reporter G. Delatte-Richard.) Pursuant to Local Rules, offering parties shall
                   retain custody of exhibits..(SWE) (Entered: 06/15/2022)

06/15/2022   740   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 6/15/2022. Witnesses testify and exhibits filed. Court recesses until 6/16/2022 at 10:30
                   a.m. (Court Reporter G. Delatte-Richard (am) Natalie Breaux (pm).) Pursuant to Local
                   Rules, offering parties shall retain custody of exhibits..(SWE) (Main Document 740
                   replaced on 6/16/2022 to edit text) (SWE). (Entered: 06/16/2022)

06/16/2022   741   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                   on 6/16/2022. Witnesses testify and exhibits filed. Court recesses until 6/27/2022 at 9:00
                   a.m. (Court Reporter G. Delatte-Richard.) Pursuant to Local Rules, offering parties shall
                   retain custody of exhibits..(SWE) (Entered: 06/17/2022)

06/17/2022   744   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial
                   completed on 6/17/2022. Witnesses testify, exhibits filed. Case is submitted. The Court
                   will issue a briefing schedule at a later date. (Court Reporter N. Breaux.) Pursuant to
                   Local Rules, offering parties shall retain custody of exhibits..(SWE) (Entered:
                   07/11/2022)

06/22/2022   742   TRANSCRIPT REQUEST by Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter,
                   Ian Cazenave, Ricky D. Davis, Cedric Evans, Reginald George, Edward Giovanni,
                   Shannon Hurd, Joseph Lewis, Jr., Kentrell Parker, Farrell Sampier, Lionel Tolbert, John
                   Tonubbee, Edward Washington, Rufus White for proceedings held on 6/6/22 - 6/17/22
                   before Judge Shelly D. Dick.. (Malik, Elena) (Main Document 742 replaced on
                   6/22/2022) (ELW). Modified on 6/22/2022 to flatten document (ELW). (Entered:
                   06/22/2022)

06/22/2022   743   TRANSCRIPT REQUEST by Burl Cain, Stacye Falgout, Tracy Falgout, Stephanie
                   Lamartiniere, Randy Lavespere, James M LeBlanc, John Morrison, Cynthia Park,
                   Sherwood Poret, Raman Singh, The Louisiana Department of Public Safety and
                   Corrections, Darrel Vannoy for proceedings held on 6/6/2022 to 6/17/2022 before Judge
                   Shelly D. Dick.. (McCain, Allena) (Entered: 06/22/2022)

07/21/2022   745   MOTION for Elena Malik to Withdraw as Attorney by All Plaintiffs (Attachments: # 1
                   Proposed Order)(Malik, Elena) (Entered: 07/21/2022)

07/25/2022         MOTION(S) REFERRED: 745 MOTION for Elena Malik to Withdraw as Attorney . This
                   motion is now pending before the USMJ. (NLT) (Entered: 07/25/2022)

07/25/2022   746   ORDER granting 745 Motion to Withdraw as Counsel of Record. Attorney Elena Malik is
                   withdrawn as counsel for Plaintiffs. Signed by Magistrate Judge Richard L. Bourgeois, Jr.
                   on 7/25/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                   associated with this entry.) (SGO) (Entered: 07/25/2022)

11/04/2022   747   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 06/06/2022. Court Reporter: Shannon L. Thompson, CCR. Phone Number:
                   225-389-3567.



                                                                                                   23-30825.134
         Case: 23-30825        Document: 113-1          Page: 139        Date Filed: 01/11/2024

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 11/25/2022. Redacted
                   Transcript Deadline set for 12/5/2022. Release of Transcript Restriction set for 2/2/2023.
                   (Thompson, Shannon) (Entered: 11/04/2022)

11/04/2022   748   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 06/07/2022. Court Reporter: Shannon L. Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 11/25/2022. Redacted
                   Transcript Deadline set for 12/5/2022. Release of Transcript Restriction set for 2/2/2023.
                   (Thompson, Shannon) (Entered: 11/04/2022)

11/04/2022   749   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 06/08/2022. Court Reporter: Shannon L. Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 11/25/2022. Redacted
                   Transcript Deadline set for 12/5/2022. Release of Transcript Restriction set for 2/2/2023.
                   (Thompson, Shannon) (Entered: 11/04/2022)

11/04/2022   750   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 06/09/2022. Court Reporter: Shannon L. Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.


                                                                                                     23-30825.135
         Case: 23-30825        Document: 113-1          Page: 140        Date Filed: 01/11/2024

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 11/25/2022. Redacted
                   Transcript Deadline set for 12/5/2022. Release of Transcript Restriction set for 2/2/2023.
                   (Thompson, Shannon) (Entered: 11/04/2022)

11/04/2022   751   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                   Dick held on 06/10/2022. Court Reporter: Shannon L. Thompson, CCR. Phone Number:
                   225-389-3567.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 11/25/2022. Redacted
                   Transcript Deadline set for 12/5/2022. Release of Transcript Restriction set for 2/2/2023.
                   (Thompson, Shannon) (Entered: 11/04/2022)

11/04/2022   752   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Day 7 of the bench trial before
                   the Honorable Shelly D. Dick held on June 14, 2022. Court Reporter: Gina
                   Delatte-Richard. Phone Number: 225-389-3564.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 11/25/2022. Redacted
                   Transcript Deadline set for 12/5/2022. Release of Transcript Restriction set for 2/2/2023.
                   (Delatte-Richard, Gina) (Entered: 11/04/2022)

11/04/2022   753   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Day 8 of the bench trial before
                   Judge the Honorable Shelly D. Dick held on June 15, 2022. Court Reporter: Gina
                   Delatte-Richard. Phone Number: 225-389-3564.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 11/25/2022. Redacted
                   Transcript Deadline set for 12/5/2022. Release of Transcript Restriction set for 2/2/2023.
                   (Delatte-Richard, Gina) (Entered: 11/04/2022)


                                                                                                     23-30825.136
         Case: 23-30825        Document: 113-1          Page: 141        Date Filed: 01/11/2024

11/04/2022   754   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Day 9 of the Bench Trial before
                   the Honorable Shelly D. Dick held on June 16, 2022. Court Reporter: Gina
                   Delatte-Richard. Phone Number: 225-389-3564.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 11/25/2022. Redacted
                   Transcript Deadline set for 12/5/2022. Release of Transcript Restriction set for 2/2/2023.
                   (Delatte-Richard, Gina) (Entered: 11/04/2022)

11/05/2022   755   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings: Bench Trial Day 6,
                   before Chief Judge Shelly D. Dick held on June 13, 2022. Court Reporter: Natalie W.
                   Breaux. Phone Number: 225-389-3565.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 11/28/2022. Redacted
                   Transcript Deadline set for 12/6/2022. Release of Transcript Restriction set for 2/3/2023.
                   (Breaux, Natalie) (Entered: 11/05/2022)

11/05/2022   756   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings: Bench Trial Day 8
                   before Chief Judge Shelly D. Dick held on June 15, 2022. Court Reporter: Natalie W.
                   Breaux. Phone Number: 225-389-3565.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 11/28/2022. Redacted
                   Transcript Deadline set for 12/6/2022. Release of Transcript Restriction set for 2/3/2023.
                   (Breaux, Natalie) (Entered: 11/05/2022)

11/05/2022   757   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings: Bench Trial Day 10
                   before Chief Judge Shelly D. Dick held on June 17, 2022. Court Reporter: Natalie W.
                   Breaux. Phone Number: 225-389-3565.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no

                                                                                                     23-30825.137
         Case: 23-30825        Document: 113-1          Page: 142        Date Filed: 01/11/2024

                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 11/28/2022. Redacted
                   Transcript Deadline set for 12/6/2022. Release of Transcript Restriction set for 2/3/2023.
                   (Breaux, Natalie) (Entered: 11/05/2022)

11/05/2022   758   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings: Bench Trial Excerpt
                   of Defense Proffer Day 10 before Chief Judge Shelly D. Dick held on June 17, 2022.
                   Court Reporter: Natalie W. Breaux. Phone Number: 225-389-3565.

                   NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                   days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                   such Notice is filed, the transcript will be made remotely electronically available to the
                   public without redaction after 90 calendar days. The policy is located on our website at
                   www.lamd.uscourts.gov.

                   Transcript may be viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                   date it may be obtained through PACER.. Redaction Request due 11/28/2022. Redacted
                   Transcript Deadline set for 12/6/2022. Release of Transcript Restriction set for 2/3/2023.
                   (Breaux, Natalie) (Entered: 11/05/2022)

11/08/2022   759   Joint MOTION To Set Deadline for Parties' Findings of Fact and Conclusions of Law by
                   All Plaintiffs (Attachments: # 1 Attachment Proposed Order)(Kumar, Nishi) (Entered:
                   11/08/2022)

11/10/2022   760   ORDER: The 759 MOTION To Set Deadline for Parties' Findings of Fact and
                   Conclusions of Law is GRANTED. Proposed Findings of Facts and Conclusions of Law
                   due by 12/9/2022, limited to 75 pages. Responses due by 1/13/2023, limited to 25 pages.
                   Signed by Chief Judge Shelly D. Dick on 11/10/2022. (SWE) (Entered: 11/10/2022)

11/16/2022   761   MOTION for Rebecca R. Ramaswamy to Withdraw as Attorney by All Plaintiffs
                   (Attachments: # 1 Attachment Proposed Order)(Ramaswamy, Rebecca) (Entered:
                   11/16/2022)

11/17/2022   762   MOTION to Supplement the Record and Admit certain Specific Evidence of Current
                   Conditions by Burl Cain (Attachments: # 1 Exhibit Jacob Johnson's declaration, # 2
                   Exhibit Warden Hooper and Govenor Edwards; advising of re-accreditation, # 3 Exhibit
                   Justin Dillard's resume, # 4 Exhibit Rebecca Cranford's resume, # 5 Exhibit Dr. Robert
                   Cleveland's resume, # 6 Attachment Proposed Order, # 7 Attachment Memorandum in
                   Support of Motion to Supplement the Records and Admit Specific Evidence of Current
                   Conditions)(Archey, Connell) Modified on 11/18/2022 to edit text (ELW). Modified on
                   11/21/2022 to edit text (LLH). (Entered: 11/17/2022)

11/17/2022   763   MOTION for Expedited Consideration of 762 Motion to Supplement the Record and
                   Admit Certain Specific Evidence of Current Conditions by Burl Cain (Attachments: # 1
                   Attachment Memorandum in Support of Ex Parte Motion for Expedited Consideration of
                   Def's Motion to Supplement the Records and Admit Certian Specific Evidence of Current
                   Conditions (R.Doc.762), # 2 Attachment Proposed Order)(Archey, Connell) Modified on
                   11/29/2022 to edit the docket and motion text(NLT). (Entered: 11/17/2022)


                                                                                                     23-30825.138
         Case: 23-30825       Document: 113-1          Page: 143       Date Filed: 01/11/2024

11/18/2022   764   ORDER granting 763 Motion for Expedited Consideration of Defendants 762 Motion to
                   Supplement the Record and Admit Certain Evidence of Current Conditions. Plaintiffs
                   shall file a response to RD 762 by close of business on Wednesday, 11/23/2022. Signed
                   by Chief Judge Shelly D. Dick on 11/18/202. (This is a TEXT ENTRY ONLY. There is
                   no hyperlink or PDF document associated with this entry.) (SWE) (Entered: 11/18/2022)

11/23/2022   765   MEMORANDUM in Opposition to 762 MOTION Supplement the Record and Admit
                   Certain Evidence of Current Conditions filed by All Plaintiffs. (Attachments: # 1 Exhibit
                   1 - Mathis Deposition Transcript)(Kumar, Nishi) (Entered: 11/23/2022)

11/30/2022         MOTION(S) REFERRED: 761 MOTION for Rebecca R. Ramaswamy to Withdraw as
                   Attorney . This motion is now pending before the USMJ. (NLT) (Entered: 11/30/2022)

12/01/2022   766   ORDER granting 761 Motion to Withdraw as Counsel of Record. Attorney Rebecca
                   Ramaswamy is withdrawn as co-counsel for Plaintiffs. Signed by Magistrate Judge
                   Richard L. Bourgeois, Jr. on 12/1/2022. (This is a TEXT ENTRY ONLY. There is no
                   hyperlink or PDF document associated with this entry.) (SGO) (Entered: 12/01/2022)

12/01/2022   767   MOTION for Jamila Johnson to Withdraw as Attorney by All Plaintiffs (Attachments: # 1
                   Proposed Order)(Johnson, Jamila) (Entered: 12/01/2022)

12/02/2022         MOTION(S) REFERRED: 767 MOTION for Jamila Johnson to Withdraw as Attorney .
                   This motion is now pending before the USMJ. (LLH) (Entered: 12/02/2022)

12/05/2022   768   ORDER granting 767 Motion to Withdraw as Counsel of Record. Attorney Jamila
                   Johnson is withdrawn as counsel for Plaintiffs. Signed by Magistrate Judge Richard L.
                   Bourgeois, Jr. on 12/5/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry.) (SGO) (Entered: 12/05/2022)

12/07/2022   769   RULING denying 762 Motion Supplement the Record and Admit Certain Specific
                   Evidence of Current Conditions. Signed by Chief Judge Shelly D. Dick on 12/07/2022.
                   (SWE) (Entered: 12/07/2022)

12/09/2022   770   Proposed Findings of Fact by Stacye Falgout, Tracy Falgout, Randy Lavespere, James M
                   LeBlanc, John Morrison, Cynthia Park, Sherwood Poret, The Louisiana Department of
                   Public Safety and Corrections, Darrel Vannoy. (Robert, Randal) (Entered: 12/09/2022)

12/09/2022   771   Proposed Findings of Fact by Alton Adams, Otto Barrera, Alton Batiste, Clyde Carter, Ian
                   Cazenave, Ricky D. Davis, Reginald George, Edward Giovanni, Shannon Hurd, Kentrell
                   Parker, Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward Washington, Rufus
                   White. (Attachments: # 1 Attachment Proposed Remedial Order)(Bosalavage, Samantha)
                   (Entered: 12/09/2022)

01/04/2023   772   MOTION to Enroll Lydia Wright as Additional Attorney by All Plaintiffs (Attachments: #
                   1 Attachment Memorandum in Support, # 2 Attachment Proposed Order)(Bosalavage,
                   Samantha) (Entered: 01/04/2023)

01/05/2023         MOTION(S) REFERRED: 772 MOTION to Enroll Lydia Wright as Additional Attorney .
                   This motion is now pending before the USMJ. (ELW) (Entered: 01/05/2023)

01/09/2023   773   ORDER granting 772 Motion to Enroll Additional Counsel. Attorney Lydia Wright is
                   enrolled as co-counsel for Plaintiffs. Signed by Magistrate Judge Richard L. Bourgeois, Jr.
                   on 1/9/2023. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                   associated with this entry.) (SGO) (Entered: 01/09/2023)

01/13/2023   774   RESPONSE to 771 Proposed Findings of Fact, filed by All Defendants. (Robert, Randal)
                   (Entered: 01/13/2023)

                                                                                                  23-30825.139
         Case: 23-30825       Document: 113-1           Page: 144        Date Filed: 01/11/2024

01/13/2023   775   RESPONSE to 770 Proposed Findings of Fact filed by All Plaintiffs. (Bosalavage,
                   Samantha) (Entered: 01/13/2023)

03/29/2023   776   MOTION for Mercedes Montagnes to Withdraw as Attorney by All Plaintiffs
                   (Attachments: # 1 Attachment Proposed Order)(Bosalavage, Samantha) (Entered:
                   03/29/2023)

03/30/2023         MOTION(S) REFERRED: 776 MOTION for Mercedes Montagnes to Withdraw as
                   Attorney . This motion is now pending before the USMJ. (JEG) (Entered: 03/30/2023)

03/30/2023   777   ORDER granting 776 Motion to Withdraw as Counsel of Record. Attorney Mercedes
                   Montagnes is withdrawn as counsel for Plaintiffs. Signed by Magistrate Judge Richard L.
                   Bourgeois, Jr. on 3/30/2023. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry.) (SGO) (Entered: 03/30/2023)

11/06/2023   778   OPINION : For the reasons set forth above, The Court finds that Plaintiffs have
                   established their entitlement to permanent injunctive relief by a preponderance of the
                   evidence. The Court will enter judgment in favor of Plaintiffs and against Defendants.
                   Signed by Chief Judge Shelly D. Dick on 11/6/2023. (SWE) (Entered: 11/06/2023)

11/06/2023   779   REMEDIAL ORDER: For the reasons set forth in the Courts Rulings, dated March 31,
                   2021 (Liability Ruling) and November 6, 2023, (Remedial Ruling): the parties shall
                   comply with the order, as stated. Signed by Chief Judge Shelly D. Dick on 11/6/2023.
                   (SWE) (Entered: 11/06/2023)

11/06/2023   780   JUDGMENT: For the written reasons assigned: Judgment is hereby entered in favor of
                   Class Plaintiffs and the ADA Sub-Class Plaintiffs and against Defendants, the current
                   Warden of the Louisiana State Penitentiary, et al. This matter shall be closed by the Clerk
                   of Court; however, the Court retains jurisdiction over the procedures set forth in the
                   Courts Remedial Order and any issues pertaining thereto. IT IS SO ORDERED. Signed
                   by Chief Judge Shelly D. Dick on 11/6/2023. (SWE) (Entered: 11/06/2023)

11/07/2023   781   GENERAL ORDER: All pleadings and other papers filed under seal in civil and criminal
                   actions shall be maintained under seal for thirty days following final disposition of the
                   action. After that time, all sealed pleadings and other papers shall be placed in the case
                   record unless a District Judge or Magistrate Judge, upon motion and for good cause
                   shown, orders that the pleading or other paper be maintained under seal.

                   The deadline for filing any motions regarding the unsealing of any document shall be
                   within thirty days of the final disposition of any action and shall contain a concise
                   statement of reasons for maintaining the pleading or other paper under seal.

                   ATTENTION: If a motion to retain documents under seal is NOT filed, all documents
                   shall be placed in the public case record, unless specifically identified in the attached
                   General Order

                   Signed by Chief Judge Shelly D. Dick on 7/8/2019. (LLH) (Entered: 11/07/2023)

11/20/2023   782   NOTICE OF APPEAL to the USCA for the 5th Circuit of 778 Opinion, 394 Order on
                   Motion to Certify Class, 780 Judgment, 594 Opinion,, 779 Order, by Burl Cain, Stacye
                   Falgout, Tracy Falgout, Stephanie Lamartiniere, Randy Lavespere, James M. LeBlanc,
                   John Morrison, Cynthia Park, Sherwood Poret, Raman Singh, The Louisiana Department
                   of Public Safety and Corrections, Darrel Vannoy. Filing fee $ 505, receipt number
                   ALAMDC-2672118. The transcript request form for appeal cases is located at
                   www.lamd.uscourts.gov/local-forms/all-local-forms. (Archey, Connell) (Entered:


                                                                                                    23-30825.140
         Case: 23-30825       Document: 113-1          Page: 145        Date Filed: 01/11/2024

                   11/20/2023)

11/20/2023   783   MOTION to Stay Remedial Order and Judgment Pending Appeal by All Defendants
                   (Attachments: # 1 Attachment Memorandum in Support of Motion to Stay Remedial
                   Order and Judgment Pending Appeal, # 2 Attachment Declaration of Paul Toce, MD, # 3
                   Attachment A-1: Letter from Warden to Governor Edwards advising of re-accreditation
                   and memo to staff re. the ACA audit closing, # 4 Attachment A-2: Employment
                   Application and Resume for Justin Dillard, Nurse Practitioner, # 5 Attachment A-3:
                   Employment Application and Associated Documents for Rebecca Cranford, NP, # 6
                   Attachment A-4: Resume of Robert Lyle Cleveland, MD, # 7 Attachment A-5: Sample
                   Chart Summary, # 8 Attachment A-6: Sample EHR template for Sick Call Encounters, # 9
                   Attachment A-7: Sample EHR template for Chronic Care Encounters, # 10 Attachment
                   A-8: Sample EHR template for Diabetes Chronic Care Encounters, # 11 Attachment A-9:
                   Sample EHR template for Anticoagulation/Coumadin, Asthma, Cancer, CHF, CAD,
                   COPD, HIV, HLD, HTN, # 12 Attachment A-10: Sample EHR forum used for an ATU
                   encounter, # 13 Attachment A-11: Sample of the LabCorp Requisition Manager used to
                   order labs, # 14 Attachment A-12: Screenshot of the sMARt Report Page, # 15
                   Attachment A-13: Updated Sick Call Form)(Archey, Connell) (Entered: 11/20/2023)

11/20/2023   784   Ex Parte MOTION to Expedite Consideration of Defendants' Motion to Stay Remedial
                   Order and Judgment Pending Appeal by All Defendants (Attachments: # 1 Proposed
                   Pleading; Proposed Order on Defendant's Ex Parte Motion for Expedited Consideration of
                   Defendants' Motion to Stay Remedial Order and Judgment Pending Appeal)(Archey,
                   Connell) (Entered: 11/20/2023)

11/20/2023   785   MOTION for Leave to File Excess Pages by All Plaintiffs (Attachments: # 1 Attachment
                   Memorandum in Support, # 2 Attachment Proposed Order)(Bosalavage, Samantha)
                   (Entered: 11/20/2023)

11/21/2023   786   RESPONSE in Opposition to 784 Ex Parte MOTION to Expedite Consideration of
                   Defendants' Motion to Stay Remedial Order and Judgment Pending Appeal filed by All
                   Plaintiffs. (Bosalavage, Samantha) (Entered: 11/21/2023)

11/27/2023   787   ORDER granting 785 Motion for Leave to File Excess Pages. Signed by Chief Judge
                   Shelly D. Dick on 11/27/2023. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                   PDF document associated with this entry.) (SWE) (Entered: 11/27/2023)

11/27/2023   788   ORDER denying 784 Ex Parte Motion to Expedite Consideration of Defendants' Motion
                   to Stay Remedial Order and Judgment Pending Appeal. Defendants have failed to
                   demonstrate an emergency that justifies denying Plaintiffs a full opportunity to respond to
                   the Motion to Stay. Plaintiffs shall file a response on or before December 11, 2023.
                   Signed by Chief Judge Shelly D. Dick on 11/27/2023. (This is a TEXT ENTRY ONLY.
                   There is no hyperlink or PDF document associated with this entry.) (SWE) (Entered:
                   11/27/2023)

11/27/2023   789   MOTION to Substitute Melanie A. Bray in place of Ronald K. Lospennato as Attorney by
                   All Plaintiffs (Attachments: # 1 Attachment Proposed Order)(Bosalavage, Samantha)
                   (Entered: 11/27/2023)

11/28/2023   790   USCA Case Number 23-30825 for 782 Notice of Appeal to the USCA for the 5th Circuit,,
                   filed by Sherwood Poret, Burl Cain, Cynthia Park, Raman Singh, Tracy Falgout, The
                   Louisiana Department of Public Safety and Corrections, John Morrison, Stacye Falgout,
                   James M. LeBlanc, Darrel Vannoy, Randy Lavespere, Stephanie Lamartiniere. (NLT)
                   (Entered: 11/28/2023)

12/01/2023   793

                                                                                                   23-30825.141
         Case: 23-30825       Document: 113-1          Page: 146       Date Filed: 01/11/2024

                   MOTION for an Indicative Ruling by All Plaintiffs (Attachments: # 1 Attachment
                   Memorandum in Support, # 2 Exhibit Ex. 1 Defs. Motion to Stay in the 5th Circuit, # 3
                   Attachment Proposed Order)(Bosalavage, Samantha) (Entered: 12/01/2023)

12/01/2023   794   MOTION for Expedited Hearing on 793 MOTION for an Indicative Ruling by All
                   Plaintiffs (Attachments: # 1 Attachment Memorandum in Support, # 2 Attachment
                   Proposed Order)(Bosalavage, Samantha) (Entered: 12/01/2023)

12/04/2023   795   RULING granting 794 Motion for Expedited Hearing and denying 793 MOTION for an
                   Indicative Ruling . Signed by Chief Judge Shelly D. Dick on 12/4/2023. (SWE) (Entered:
                   12/04/2023)

12/04/2023   796   TRANSCRIPT REQUEST by Burl Cain, Stacye Falgout, Tracy Falgout, Stephanie
                   Lamartiniere, Randy Lavespere, James M. LeBlanc, John Morrison, Cynthia Park,
                   Sherwood Poret, Raman Singh, The Louisiana Department of Public Safety and
                   Corrections, Darrel Vannoy for proceedings held on 6/6/22, 6/7/22, 6/8/22, 6/9/22,
                   6/10/22 before Judge Shelly D. Dick, re 782 Notice of Appeal to the USCA for the 5th
                   Circuit,, (Archey, Connell) (Entered: 12/04/2023)

12/04/2023   797   TRANSCRIPT REQUEST by Burl Cain, Stacye Falgout, Tracy Falgout, Stephanie
                   Lamartiniere, Randy Lavespere, James M. LeBlanc, John Morrison, Cynthia Park,
                   Sherwood Poret, Raman Singh, The Louisiana Department of Public Safety and
                   Corrections, Darrel Vannoy for proceedings held on 6/13/22, 6/15/22, 6/17/22 before
                   Judge Shelly D. Dick, re 782 Notice of Appeal to the USCA for the 5th Circuit,, (Archey,
                   Connell) (Entered: 12/04/2023)

12/04/2023   798   TRANSCRIPT REQUEST by Burl Cain, Stacye Falgout, Tracy Falgout, Stephanie
                   Lamartiniere, Randy Lavespere, James M. LeBlanc, John Morrison, Cynthia Park,
                   Sherwood Poret, Raman Singh, The Louisiana Department of Public Safety and
                   Corrections, Darrel Vannoy for proceedings held on 6/14/22, 6/15/22, 6/16/22 before
                   Judge Shelly D. Dick, re 782 Notice of Appeal to the USCA for the 5th Circuit,, (Archey,
                   Connell) (Entered: 12/04/2023)

12/06/2023   799   MOTION for Attorney Fees , Costs, and Service Awards by All Plaintiffs (Attachments: #
                   1 Attachment Memorandum in Support, # 2 Exhibit List Exhibit List, # 3 Exhibit 1 Master
                   Lodestar Spreadsheet, # 4 Exhibit 2 L. Wright Declaration, # 5 Exhibit 3 S. Bosalavage
                   Declaration, # 6 Exhibit 4 J. Dubner Declaration, # 7 Exhibit 5 T. Harper Declaration, # 8
                   Exhibit 6 D. Small Declaration, # 9 Exhibit 7 B. Schneiderman Declaration, # 10 Exhibit
                   8 W. Most Declaration, # 11 Exhibit 9 C. Denson Declaration, # 12 Exhibit 10 K.
                   Schwartzmann Declaration, # 13 Attachment Proposed Order)(Bosalavage, Samantha)
                   (Entered: 12/06/2023)

12/06/2023   800   NOTICE of Defendants' List of Candidates to Serve as Special Masters/Monitors per 779
                   Order, by Burl Cain, Stacye Falgout, Tracy Falgout, Stephanie Lamartiniere, Randy
                   Lavespere, James M. LeBlanc, John Morrison, Cynthia Park, Sherwood Poret, Raman
                   Singh, The Louisiana Department of Public Safety and Corrections, Darrel Vannoy
                   (Attachments: # 1 Exhibit A- CV of Dr. Chad Zewitz, # 2 Exhibit B- CV of Dr. Carl
                   Keldie, # 3 Exhibit C- CV of Randall Stoltz, # 4 Exhibit D- Resume of Becky Pinney, # 5
                   Exhibit E- Resume of Ruth Naglich, # 6 Exhibit F- Resume of Erica Upzen, # 7 Exhibit
                   G- CV of Randal Atlas, # 8 Exhibit H- Resume of Kristi Avalos, # 9 Exhibit I- Sabot
                   Consulting- Resume of Julian Martinez, # 10 Exhibit J- Sabot Consulting- Resume of
                   Robert Wahl)(Robert, Randal) (Entered: 12/06/2023)

12/06/2023   801   NOTICE of Plaintiffs' List of Special Master/Monitor Candidates by Alton Adams, Otto
                   Barrera, Alton Batiste, Clyde Carter, Ian Cazenave, Ricky D. Davis, Cedric Evans,


                                                                                                 23-30825.142
          Case: 23-30825        Document: 113-1         Page: 147       Date Filed: 01/11/2024

                     Reginald George, Edward Giovanni, Shannon Hurd, Joseph Lewis, Jr., Kentrell Parker,
                     Farrell Sampier, Lionel Tolbert, John Tonubbee, Edward Washington, Rufus White
                     (Attachments: # 1 Exhibit A - Dr. Benjamin Springgate CV, # 2 Exhibit B - Dr. Michele
                     DiTomas CV, # 3 Exhibit C - Dr. Lisa Pratt CV, # 4 Exhibit D - Jackie Clark, # 5 Exhibit
                     E - Johnnie Lambert, # 6 Exhibit F - Aaron Fischer, # 7 Exhibit G - William Van Der
                     Pol)(Kumar, Nishi) (Entered: 12/06/2023)

 12/06/2023    802   Unopposed MOTION to Maintain Filings Under Seal by All Plaintiffs (Attachments: # 1
                     Memorandum in Support, # 2 Attachment Proposed Order)(Bosalavage, Samantha)
                     (Entered: 12/06/2023)

 12/07/2023    803   ORDER granting 802 Unopposed MOTION to Maintain Filings Under Seal, as written.
                     Signed by Chief Judge Shelly D. Dick on 12/7/2023. (LLH) (Entered: 12/07/2023)

 12/07/2023    804   NOTICE of Administrative Stay by Burl Cain, Stacye Falgout, Tracy Falgout, Stephanie
                     Lamartiniere, Randy Lavespere, James M. LeBlanc, John Morrison, Cynthia Park,
                     Sherwood Poret, Raman Singh, The Louisiana Department of Public Safety and
                     Corrections, Darrel Vannoy (Attachments: # 1 Exhibit A- Fifth Circuit Order dated
                     December 6, 2023)(Archey, Connell) (Entered: 12/07/2023)

 12/07/2023    805   MOTION to Substitute Pleading by All Plaintiffs (Attachments: # 1 Proposed Pleading;
                     Motion to Withdraw and Substitute Counsel, # 2 Attachment Proposed
                     Order)(Bosalavage, Samantha) (Entered: 12/07/2023)

Case #: 3:15-cv-00318-SDD-RLB




                                                                                                   23-30825.143
Case: 23-30825   Document: 113-1   Page: 148   Date Filed: 01/11/2024




                     TAB 2
      Case:
       Case23-30825    Document: 113-1
            3:15-cv-00318-SDD-RLB       Page: 782
                                     Document 149 11/20/23
                                                   Date Filed: 01/11/2024
                                                             Page  1 of 2




                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA



JOSEPH LEWIS, ET AL.                                              CIVIL DOCKET

VERSUS                                                            15-318-SDD-RLB

BURL CAIN, ET AL.

                                   NOTICE OF APPEAL

       Notice is given that all Defendants, the Louisiana Department of Public Safety and

Corrections (“DOC”); James LeBlanc, Secretary of the DOC; Timothy Hooper, Warden of

Louisiana State Penitentiary (“LSP”); Ashli Oliveaux, Assistant Warden for Health Services and

ADA Coordinator for LSP; Randy Lavespere, M.D., Medical Director of the DOC; Stacye

Rodriguez, Chief Nursing Officer of the DOC; Paul Toce, M.D., Medical Director for LSP; Bill

Hawkins, Director of Nursing for LSP; and Cynthia Park, Nurse Practitioner at LSP in the above-

referenced case, appeal the following orders to the United States Court of Appeals for the Fifth

Circuit:

       1. Ruling granting [R.Doc. 394] granting Plaintiffs’ Motion for Class Certification

           [R.Doc. 133], entered on February 26, 2018;

       2. Opinion [R.Doc. 594] entered on March 31, 2021;

       3. Opinion [R.Doc. 778] entered on November 6, 2023;

       4. Remedial Order [R.Doc. 779] entered on November 6, 2023; and

       5. Judgment [R.Doc. 780] entered on November 6, 2023.

Dated: November 20, 2023.




                                                                                      23-30825.30669
       Case:
        Case23-30825    Document: 113-1
             3:15-cv-00318-SDD-RLB       Page: 782
                                      Document 150 11/20/23
                                                    Date Filed: 01/11/2024
                                                              Page  2 of 2




                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has this day been filed electronically
with the Clerk of Court using the CM/ECF system, which will deliver notice of this filing to all
counsel of record.

        Baton Rouge, Louisiana this 20th day of November, 2023.

                                                      /s/ Connell L. Archey
                                                      Connell Archey
84559087.v1




                                                                                          23-30825.30670
Case: 23-30825   Document: 113-1   Page: 151   Date Filed: 01/11/2024




                     TAB 3
         Case: 23-30825   Document: 113-1
         Case 3:15-cv-00318-SDD-RLB       Page:778
                                      Document  152 11/06/23
                                                      Date Filed: 01/11/2024
                                                               Page  1 of 104




                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA



JOSEPH LEWIS, JR., ET AL.                                                 CIVIL DOCKET

VERSUS                                                                    15-318-SDD-RLB

BURL CAIN, ET AL.



                                            OPINION

I.         INTRODUCTION

           In 1989, the United States Department of Justice opened an investigation into the

conditions of confinement at the Louisiana State Penitentiary (“LSP”) at Angola

(“Angola”). The Justice Department found that multiple conditions at Angola deprived

inmates of their constitutional rights, among them the failure to provide adequate medical

and psychiatric care.1

           In 1992, a class action lawsuit was filed, alleging that the healthcare at Angola was

so deficient that it violated the United States Constitution’s Eighth Amendment prohibition

against cruel and unusual punishment. The United States Department of Justice

intervened in the lawsuit and joined in the allegations against Angola.

           In 2009, the Louisiana Department of Corrections engaged Wexford, a third-party

consultant, to assess the medical care at Angola and report its findings to the Department.

Wexford found multiple medical care deficiencies, which Angola disputes. Whether

Wexford’s findings were substantiated was not an issue in this case, but LSP and the



1
    Liability Trial PX 239.

                                                                                 Page 1 of 104

                                                                                      23-30825.30557
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:778
                                     Document  153 11/06/23
                                                     Date Filed: 01/11/2024
                                                              Page  2 of 104




Department of Corrections were aware as early as 2009 that Wexford had identified

persistent health care deficiencies at Angola.

        All this to say that the healthcare of inmates at Angola has been the subject of

consternation and criticism since 1989. In 2015, this Class Action suit was filed. After

years of discovery,2 21 days of trial,3 and two site visits to Angola by the Court, the

Plaintiffs proved that, rather than receiving medical “care,” the inmates are instead

subjected to cruel and unusual punishment by medical mistreatment. The human cost of

these 26 YEARS is unspeakable.

        In the following pages, the Court will make detailed and extensive findings of the

callous and wanton disregard for the medical care of inmates at Angola. The finding is

that the “care” is not care at all, but abhorrent cruel and unusual punishment that violates

the United States Constitution. These are but a few examples:

    x   After a 3-month delay in getting a CT scan that was ordered when a chest x-ray
        revealed a suspected malignancy, the CT confirmed the suspicious lesion, and the
        patient was referred to a pulmonologist. Yet the patient did not see a pulmonologist
        for another 4 months. After finally seeing the pulmonologist, twice the
        pulmonologist ordered a biopsy which the patient never received. The
        pulmonologist charted his frustration:
               “the biopsy didn’t occur, what gives?”
                                                 ***
               “strongly suggest immediate IR [interventional radiology], FNA [fine
               needle aspiration] of left upper lobe nodule.”4




2
  Both pretrial liability and remedy phase.
3
  11 days on liability dates October 9-25, 2018, and 10 days on remedy June 6-17, 2022.
4
  Rec. Doc. 544, Puisis Testimony at 162:19-163:3.

                                                                                          Page 2 of 104

                                                                                              23-30825.30558
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:778
                                     Document  154 11/06/23
                                                     Date Filed: 01/11/2024
                                                              Page  3 of 104




        Yet a biopsy was never completed. More than a year after the initial suspicious x-
        ray findings, the patient was hospitalized for a partial lung removal due to cancer,
        after which the patient was ordered to begin chemotherapy. Commencement of
        chemotherapy was also inexplicably delayed. The patient died.5
    x    A 50-year-old inmate made seven requests for medical attention for escalating
        back pain that went unanswered. The man became incontinent and bed ridden.
        When medics finally evaluated him, he was found lying on the floor. He was finally
        seen by a doctor but died within hours. His autopsy revealed a large liver abscess
        and resulting spinal cord compression.6
    x   An inmate underwent a colectomy due to untreated Chron’s disease. Angola failed
        to refer him to gastroenterologist, failed to provide indicated immunosuppressive
        therapy, and failed perform to adequate physical examinations. The patient died.7
    x   An inmate complained of chest pain for more than 16 months. When he was finally
        referred to a thoracic surgeon, a biopsy of a pulmonary nodule was ordered. When
        finally performed, the biopsy revealed adenocarcinoma of the lung. The patient
        died a week later.8
    x   An inmate complained for nearly three years of symptoms consistent with laryngeal
        cancer, yet he saw an Angola physician only a few times. After 33 months of
        constant complaints, he was diagnosed with laryngeal cancer from which he
        subsequently died.9
    x   A 65-year-old man with a history of diabetes, severe coronary artery disease and
        heart failure presented seven times in a single month with fevers as high as 103.6
        degrees, altered mental state, and complaints of chest tightness. At one point,
        while exhibiting an altered mental state and a fever of 103.6 degrees, he was
        confined to a “locked room” in the infirmary with the “hatch up,” after which he was
        not seen by physician for three days. Two days after being discharged from the




5
  Patient #7.
6
  Patient #6.
7
  Patient #11.
8
  Patient #17.
9
  Plaintiff Joseph Lewis.

                                                                             Page 3 of 104

                                                                                  23-30825.30559
          Case: 23-30825   Document: 113-1
          Case 3:15-cv-00318-SDD-RLB       Page:778
                                       Document  155 11/06/23
                                                       Date Filed: 01/11/2024
                                                                Page  4 of 104




          infirmary, he was found vomiting in his cell. Angola doctors ordered EMTs not to
          transport the sick man to the hospital. He died in his cell the next day.10
      x   An inmate made an emergency sick call for severe flank pain. An x-ray and
          physical exam yielded no diagnosis. The pain progressed to the point that the man
          could not get out of bed, yet Angola’s medical director refused EMT requests to
          transfer him to a hospital. Three days later he was found unresponsive in his cell.
          He died the following day.11
      x   An inmate with a tracheotomy presented with a progressively worsening cold and
          made repeated emergency sick calls. The inmate was seen in Angola’s Acute
          Treatment Unit (“ATU”) multiple times but each time he was simply returned to his
          dormitory where he finally died.12
      x   An inmate experienced two years of abdominal pain and weight loss that was
          unheeded and untreated leading to hospitalization and a diagnosis of advanced
          stage colon cancer, resulting in a preventable death.13
      x   An inmate suffered repeated and extensive delays in getting a colonoscopy that
          was ordered which resulted in emergency treatment, two hospital stays, and five
          surgical interventions - all avoidable.14
      x   The failure to administer ordered Statin drugs to an inmate resulted in a heart
          attack and stroke requiring the inmate’s repeated avoidable hospitalizations.15


II.       BACKGROUND16

          Before the Court is a class action case alleging unconstitutional medical care

provided at Louisiana State Penitentiary (“LSP”) as well as violations of the Americans

with Disabilities Act (“ADA”) and the Rehabilitation Act (“RA”) at the prison. The Court


10
   Patient #39.
11
   Patient #34.
12
   Rec. Doc. 547, Prince Testimony at 101:14-102:5.
13
   Patient #5.
14
   Patient #11.
15
   Patient #13.
16
   The Court adopts by reference, and in full, its prior Opinion following the bench trial on liability. Rec. Doc.
594. All previous findings of fact and legal conclusions set forth therein are incorporated by reference in
this Opinion.

                                                                                               Page 4 of 104

                                                                                                      23-30825.30560
         Case: 23-30825   Document: 113-1
         Case 3:15-cv-00318-SDD-RLB       Page:778
                                      Document  156 11/06/23
                                                      Date Filed: 01/11/2024
                                                               Page  5 of 104




bifurcated the case into separate liability and remedial phases. Following a trial on

liability,17 the Court found that LSP violated the Eighth Amendment and found violations

of the ADA and RA in the following ways:

      1. Failing to provide constitutionally adequate clinical care in the following
           particulars:
               a. privacy in examinations;
               b. lack of routine medical equipment in exam rooms;
               c. lack of adequate medical records management;
               d. lack of clinical hygiene and spacing;
               e. episodic treatment of complaints;
      2. Failing to provide constitutionally adequate medical care w/ qualified providers at
           sick call;
      3. Failing to provide constitutionally adequate access to medically necessary
           specialty care:
               a. in a timely manner;
               b. failure to schedule and track specialty appointments;
               c. failure to comply with testing and diagnostic requirements;
               d. failure to execute appropriate follow-up care ordered by specialty care
                   providers;
               e. and failure to coordinate care;
      4. Failing to provide constitutionally adequate emergency care in the evaluation and
           assessment of emergencies by qualified providers and failing to timely treat and/or
           transport to hospital for emergent care;
      5. Failing to provide constitutionally adequate, qualified staff in infirmary/inpatient
           care;
      6. Failing to provide constitutionally adequate medical leadership and organization
           in the following particulars:
               a. lack of meaningful mortality review;
               b. use of correctional personnel to manage medical decisions;

17
     The liability trial took place from October 9, 2018 through October 25, 2018.

                                                                                     Page 5 of 104

                                                                                         23-30825.30561
       Case: 23-30825   Document: 113-1
       Case 3:15-cv-00318-SDD-RLB       Page:778
                                    Document  157 11/06/23
                                                    Date Filed: 01/11/2024
                                                             Page  6 of 104




            c. lack of peer review;
            d. lack of medical staff involvement in budgeting;
            e. lack of medical supervision by Dr. Lavespere; and
            f. failure to maintain proper credentialing records;
     7. Failing to comply with the ADA and RA in providing disabled inmates access to
        programs and services due to physical and architectural barriers;
     8. Failing to provide adequately trained, staffed, and safe orderly assistance where
        physical modifications have not been made to provide access; failure to provide
        proper oversight of health care orderlies;
     9. Failing to comply with LSP’s ADA Directives in maintaining a qualified ADA
        Coordinator and advisory committee to handle ADA issues;
     10. Failing to make efforts to integrate disabled inmates within the spirit of the ADA
        implementing regulations; 18
     11. Failing to adequately train medical staff regarding ADA compliance;
     12. Failing to appropriately evaluate and address ADA accommodation requests and
        disability-related grievances;
     13. Failing to identify and track disabilities and accommodation requests in a
        meaningful way;
     14. Failing to accommodate disabled inmates in applying discipline;
     15. Maintaining blanket exclusionary policies for disabled inmates regarding access
        to various services, activities, and programs in violation of the ADA.19



        It should be noted that, after the trial on the liability phase had concluded,20 but

before the Court issued its Ruling, the Court telegraphed to the parties that:

        The Court has taken under advisement the parties claims and defenses and
        is preparing to issue a Ruling on the merits. The Court will find that the
        medical care at Angola State Penitentiary is unconstitutional in some
        respects and is prepared to Order injunctive relief addressing conditions
        which the Court finds unconstitutional. The Court considers it to be in the

18
   Plaintiffs state that they “raise no claims of unjust segregation under the ADA;” therefore, the Court will
consider this claim abandoned and it will not be addressed herein. Rec. Doc. 775, p. 26 (citation omitted).
19
   Rec. Doc. 594, pp. 122-124.
20
   Trial concluded on October 25, 2018.

                                                                                            Page 6 of 104

                                                                                                  23-30825.30562
       Case: 23-30825   Document: 113-1
       Case 3:15-cv-00318-SDD-RLB       Page:778
                                    Document  158 11/06/23
                                                    Date Filed: 01/11/2024
                                                             Page  7 of 104




        best interests of the litigants to attempt to reach an amicable resolution on
        some or all of the claims.21

        The record reflects that the parties engaged in settlement negotiations with the

assistance of the Magistrate Judge.22 When resolution appeared futile, in March 2021,

the Court issued its 124-page Opinion finding the Constitutional and statutory violations

noted above. The Court set the matter for a remedy trial. The Parties stipulated and

agreed that “for the remedy phase of trial, January 1, 2019 begins the relevant and

appropriate time period (“Relevant Period”) for the Court to assess whether the

constitutional deficiencies listed in the Court’s March 31, 2021 opinion have since been

remedied and what (if any) injunctive relief is necessary in light of the findings at trial.”23

The remedy trial was scheduled for June 2022, permitting LSP 15 months to address and

rectify the constitutional and statutory violations identified above.

        The Court held a two-week remedy phase trial in this matter and admitted evidence

of current conditions24 to allow LSP to demonstrate, through proof, steps taken to address

and/or cure these constitutional and statutory violations.25           While LSP made some

changes during the pendency of this litigation, LSP steadfastly defends its healthcare

system and denies that it was constitutionally deficient at any time.

        As the Court held previously in this case,

        [T]he Fifth Circuit instructs that in a “prison injunction case.... The evidence
        must show over the course of the timeline that officials knowingly and
        unreasonably disregarded an objectively intolerable risk of harm, and that
        they will continue to do so; and finally to establish eligibility for an injunction,




21
   Rec. Doc. 578.
22
   Rec. Doc. 579.
23
   Rec. Doc. 636-3.
24
   Up to the date of the remedy trial discovery cut-off date.
25
   See Rec. Docs. 733, 744.

                                                                                   Page 7 of 104

                                                                                         23-30825.30563
       Case: 23-30825   Document: 113-1
       Case 3:15-cv-00318-SDD-RLB       Page:778
                                    Document  159 11/06/23
                                                    Date Filed: 01/11/2024
                                                             Page  8 of 104




        the inmate must demonstrate the continuance of that disregard during
        the remainder of the litigation and into the future.”26

While the burden of proof remains with Plaintiffs to establish entitlement to injunctive

relief, in circumstances like these, if Plaintiffs offer evidence that nothing has changed

since the liability phase, the burden shifts to the Defendants to demonstrate that the

constitutional deficiencies have been remedied. Because deliberate indifference may be

shown by a risk of harm that is “longstanding, pervasive, well-documented, or expressly

noted by prison officials in the past,”27 a “defendant’s past conduct” is a relevant factor to

consider in determining “that there is a reasonable likelihood of further violations in the

future.”28 Hence, the evidence underpinning the Court’s liability conclusions remain

relevant for purposes of crafting injunctive relief, unless LSP can demonstrate that current

conditions ameliorate the “likelihood of future transgressions.”29

        Following the remedy phase trial, the Court permitted the Parties to submit Post

Trial Findings of Fact and Conclusions of Law and a Reply.30 Additionally, the Court

encouraged the Parties to find common ground and settle or stipulate on any issues

possible, and the Court provided the Parties significant time to reach an agreement

themselves, which proved fruitless. The Court has considered the Parties’ arguments,

the record and trial evidence, and the applicable law in reaching the conclusion that

injunctive relief is required in this case. The Court’s credibility findings, findings of fact,




26
   Rec. Doc. 713, pp. 2-3 (quoting Valentine v. Collier, 993 F.3d 270, 282 (5th Cir. 2021) (quoting Farmer
v. Brennan, 511 U.S. 825, 846 (1993))(emphasis added)).
27
   Farmer, 511 U.S. at 842.
28
   CAE Integrated, L.L.C. v. Moov Technologies, Incorp., 44 F. 4th 257, 263 (5th Cir. 2022)(citation omitted).
29
   Valentine, 993 F.3d at 280.
30
   Rec. Docs. 770, 771, 774, 775.

                                                                                            Page 8 of 104

                                                                                                  23-30825.30564
       Case: 23-30825   Document: 113-1
       Case 3:15-cv-00318-SDD-RLB       Page:778
                                    Document  160 11/06/23
                                                    Date Filed: 01/11/2024
                                                             Page  9 of 104




and conclusions of law are set forth below pursuant to Rule 52(a) of the Federal Rules of

Civil Procedure.

III.   GLOSSARY

       ACA                 American Correctional Association

       ATU                 Acute Treatment Unit

       DOC                 Department of Corrections

       eMARs               Electronic Medical Administration Records

       EMT                 Emergency Medical Technician

       ITO                 Individual Treatment Order

       LPN                 Licensed Practical Nurse

       LSP                 Louisiana State Penitentiary

       NCCHC               National Commission on Correctional Health Care

       NP                  Nurse Practitioner

       NU                  Nursing Unit

       OLOL                Our Lady of the Lake Hospital

       PLRA                Prison Litigation Reform Act

       RN                  Registered Nurse

       SDE                 Self-declared Emergency

       UMC or UMCNO        University Medical Center (at New Orleans)




                                                                          Page 9 of 104

                                                                               23-30825.30565
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   161 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   10 of 104




IV.     FINDINGS OF FACT

        The following findings of fact are supported by the evidence in the record. Where

a particular fact was controverted, the Court weighed the evidence and evaluated the

credibility of the testifying witnesses to make a finding.

                               EIGHTH AMENDMENT VIOLATIONS

        A. Expert Witnesses - Credibility31

1.      Plaintiffs’ expert Madeleine LaMarre (“LaMarre”) is a nurse practitioner with over

30 years of experience in corrections, including serving as the Nursing Director and

Clinical Services Manager in the Georgia Department of Corrections and 15 years of

experience monitoring correctional facilities. The Court accepted LaMarre as an expert in

correctional health and found her testimony credible.32

2.      Plaintiffs’ expert Dr. Susi Vassallo (“Dr. Vassallo”) is a board-certified physician in

emergency medicine and medical toxicology. Dr. Vassallo was accepted by the Court as

an expert in emergency medicine, toxicology, and correctional medicine, and the Court

found her testimony credible.33

3.      Plaintiffs’ expert Dr. Mike Puisis (“Dr. Puisis”) is a board-certified physician in

internal medicine with over 30 years of experience in correctional settings. Dr. Puisis was




31
   The credibility of fact witnesses is discussed specifically when referenced.
32
   PX 1-a, p.5; Rec. Doc. 748, LaMarre Testimony at 86:6-9, 87:3-14, 90:24-91:2. LaMarre currently
consults with the Department of Homeland Security and previously consulted with the Centers for Disease
Control and Prevention. She served as an associate editor of the textbook Clinical Practice in Correctional
Medicine, Second Edition. See id.
33
   Dr. Vassallo treats patients from correctional facilities, including the New York penal institution Rykers
Island, at Bellevue Hospital in New York City. She also consults with the Department of Homeland Security,
Division of Civil Rights and Civil Liberties regarding medical care in Immigration and Customs Enforcement
Detention Centers. PX 1-a, p. 6; Rec. Doc. 749, Vassallo Testimony at 11:5-7; 14:8-12.

                                                                                          Page 10 of 104

                                                                                                 23-30825.30566
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   162 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   11 of 104




accepted by the Court as an expert in internal medicine and correctional medicine, and

the Court found his testimony credible.34

4.      Plaintiffs’ expert Angela Goehring (“Goehring”) is a registered nurse with over 25

years of experience in correctional health care, including serving as Chief Nursing Officer

for a private correctional health care company. Goehring was accepted by the Court as

an expert “in the field of correctional medicine with an emphasis on nursing care and

administration,” and the Court found her testimony credible.35

5.      Plaintiffs’ experts reviewed a sample of 60 inmate patients who died or required

hospitalization after January 1, 2019, the start of the “relevant and appropriate time period

for the Court to assess whether the constitutional deficiencies listed in the [Liability

Opinion] have since been remedied and what (if any) injunctive relief is necessary in light

of the findings at trial.”36 LaMarre, Dr. Vassallo, and Goehring visited LSP on April 6, 7,

and 8, 2022.37 Plaintiffs’ experts reviewed numerous policies, minutes, reports, and other

documents from LSP and DOC in preparation for formulating their opinions and preparing

their joint expert report.38




34
   He was Assistant Medical Director, Medical Director, and Chief Operating Officer for the Cook County
Jail, served as Regional Medical Director with Correctional Medical Services for New Mexico, and served
as Medical Director of correctional facilities with Addus Health Care. He has been retained by the United
States Department of Justice, the District Court for the Northern District of California, and numerous
state/local jurisdictions, and he has served as a court-appointed expert or monitor in several cases. He is
the author of the leading textbook on correctional medicine and has helped revise or establish standards
of care for the American Diabetes Association, the National Commission on Correctional Health Care, and
the American Public Health Association. PX 1-a at 5; Rec. Doc. 750, Puisis Testimony at 7:10-15; 9:1-6;
15:23-25.
35
   She served on the American Correctional Association’s Commission for Accreditation, has worked with
court-appointed monitors, and has served as an expert and consultant. PX 1-a, p. 6; Rec. Doc. 751,
Goehring Testimony at 35:13-16; 58:9-12.
36
   PX 1-a, p. 4; see generally PX 1-c (full chart review for all 60 patients), JX 77-a (stipulation).
37
   PX 1-a, p. 3.
38
   Id. at 7-8.

                                                                                        Page 11 of 104

                                                                                                23-30825.30567
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   163 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   12 of 104




6.      Plaintiffs’ experts submitted a 136-page joint report, including a 443-page appendix

of detailed chart reviews.39 A supplemental report was submitted jointly by LaMarre and

Goehring after they evaluated LSP’s electronic medical administration records

(“eMAR”).40

7.      Generally, Plaintiffs’ experts opined that “[p]atients at LSP with serious medical

needs continue to face a substantial risk of serious harm, including preventable

hospitalizations and deaths.”41 Furthermore, “the vast majority of medical records from

the remedy period contained multiple examples–typically pervasive–of often grossly

substandard medical care.”42

8.      Defendants’ expert Dr. David Mathis (“Dr. Mathis”) is a physician board-certified in

family medicine who serves as a medical consultant for the Office of Legal Affairs for

California Correctional Health Care Services.43 The Court accepted Dr. Mathis as an

expert in the field of correctional medicine.44 Nevertheless, while the Court does not

discount Dr. Mathis’ opinions in full, the Court finds that, in several instances, Dr. Mathis’

medical opinions were entitled to less weight than those offered by Plaintiffs’ experts.

Outside of the Maryland prison, Dr. Mathis has never been tasked with evaluating the

overall delivery of medical care at a prison; he has evaluated one jail.45 In his expert

report, almost half of Dr. Mathis’ chart review section (approximately 50 pages) is a

verbatim copy of LSP’s mortality reviews with no independent analysis or comment by


39
   See id.; PX 1-c.
40
   See PX 5-a; PX 5-b (amended chart reviews incorporating eMARs).
41
   PX 1-a, p. 8.
42
   Id.
43
   Rec. Doc. 752, Mathis Testimony at 139:22-140:23. Dr. Mathis is also a Certified Correctional Health
Professional. Dr. Mathis previously worked at a California prison and served as the medical director at a
Maryland prison. Id. at 141:14-22; 143:17-144:4, 145:23-146:11.
44
   Id. at 154:11-12.
45
   Rec. Doc. 753, Mathis Testimony at 9:1-3; 9:22-10:5.

                                                                                      Page 12 of 104

                                                                                              23-30825.30568
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   164 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   13 of 104




Dr. Mathis.46 Although Dr. Mathis opined in his report that he found less than five

standard of care violations by LSP, at trial he testified that he found ten instances of care

that fell below the standard of care.47 During the course of his testimony, he

acknowledged additional standard of care deficiencies.48 Further, although Dr. Mathis

criticized Plaintiffs’ experts’ sampling methodology in both his report and deposition,

stating that accreditation bodies review records randomly, when presented with

contradictory testimony from members of such bodies at trial, he admitted he could not

refute that testimony.49 Notably, Dr. Mathis did not opine on several critical issues before

the Court regarding the systemwide delivery of medical care at LSP, including: (a)

whether providers treat complaints episodically;50 (b) whether providers routinely fail to

obtain adequate medical histories upon evaluation;51 (c) whether providers routinely

perform physician examinations;52 (d) whether providers read and monitor testing,53 (e)

whether providers monitor or manage medications;54 (f) whether patients are timely and

correctly sent out for emergency care;55 or (g) whether LSP’s “new” method of responding




46
   Id. at 29:24-30:4; 24:15-30:4 (comparing Dr. Mathis’ expert report to LSP mortality reviews); see DX 35-
c at 94-211.
47
   Compare DX 35-c at 212 with Rec. Doc. 753, Mathis Testimony at 12:10-15:14.
48
   See, e.g., Rec. Doc. 753, Mathis Testimony at 30:7-31:14 (nurses in an infirmary should note the time
they take vital signs, which did not occur at LSP); id. at 31:17-32:15 (trained personnel should use an AED
for a pulseless person not breathing, which did not happen for Patient #25); id. at 34:6-9, 42:11-44:11
(patient who is incontinent and cannot get out of bed due to back pain should be presented to provider,
which did not happen for Patient #6); id. at 47:17-51:5 (patient with acute hepatic failure should go to
emergency room, which did not happen for Patient #33).
49
   See id. at 8:11-9:21; see also DX 35-c at 206-07; Rec. Doc. 698-1 at 11.
50
   Rec. Doc. 753, Mathis Testimony at 65:21-23.
51
   Id. at 65:4-8.
52
   Id. at 65:9-12.
53
   Id. at 65:13-16.
54
   Id. at 65:17-20.
55
   Id. at 59:11-17.

                                                                                        Page 13 of 104

                                                                                                23-30825.30569
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   165 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   14 of 104




to emergency sick call was adequate.56               The Court found Dr. Mathis’ opinions ill-

supported and unpersuasive.

9.      Defendants’ expert Michael McMunn (“McMunn”) is a nurse practitioner with a

Ph.D. in Nursing, and he is a Certified Correctional Healthcare Professional.57 McMunn

currently works for Southern Health Partners as a contractor in seven jails and one prison

work camp.58 The Court accepted McMunn as an expert in the field of correctional

medicine.59 For the remedy phase of this case, McMunn conducted a two-day site visit to

LSP during which he reviewed 22 charts, conducted 63 interviews, observed 50 “medical

encounters” involving inmate patients – five of which were sick calls. McMunn took no

notes during this site visit, admitted he performed no calculations to support his

conclusion that LSP is complaint with 95% of the National Commission on Correctional

Health Care (“NCCHC”) regulations, and admitted he relied solely on his memory in

reaching his conclusions.60 For more detailed reasons set forth infra, the Court finds that

McMunn’s testimony and conclusions are entitled to little weight.

10.     Defendants’ expert Dr. John Morrison (“Dr. Morrison”) is a general surgeon who

previously served as the DOC Medical Director from April 2018 until April 2020.61 He

currently serves as the Section Chief of General Surgery for Louisiana State University’s

section of University Medical Center New Orleans (“UMCNO” or “UMC”).62 In this role,

Dr. Morrison performs procedures on LSP inmate patients at LSP and UMC.63 The Court



56
   Id. at 61:23-63:15.
57
   Rec. Doc. 756, McMunn Testimony at 4:25-5:2; 5:6-7.
58
   Id. at 6:9-12; 8:12-22.
59
   Id. at 17:16-18.
60
   Id. at 22:25-23:2; 85:23-86:3; 88:12-14.
61
   Rec. Doc. 754, Morrison Testimony at 5:18-21; 10:6-9.
62
   Id. at 7:4-6.
63
   Id. at 9:16-10:5.

                                                                               Page 14 of 104

                                                                                     23-30825.30570
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   166 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   15 of 104




accepted Dr. Morrison as an expert in the field of general surgery with an emphasis in

surgical administration.64 The Court found Dr. Morrison’s testimony credible but largely

irrelevant to the majority of the constitutional violations at issue during the remedy trial.

       B. Clinical Care

11.    Based on the testimony and a review of evidence discussed below, the Court finds

that the delivery of clinical care at LSP remains constitutionally deficient. Because sick

call is a part of clinical care, some records discussed below will include references to sick

call encounters.

       The Court previously found clinical care constitutionally inadequate in the following

ways: (a) privacy in examinations; (b) lack of routine medical equipment in exam rooms;

(c) lack of adequate medical records management; (d) lack of clinical hygiene and

spacing; and (e) episodic treatment of complaints. Considering the evidence presented

at trial, the Court finds that LSP has properly remedied (a) privacy in examinations;65 (b)

lack of routine medical equipment in exam rooms;66 and (d) lack of clinical hygiene and

spacing.67 Plaintiffs concede these improvements.68 However, the lack of adequate

medical records management and the episodic treatment of complaints persist in LSP’s

delivery of clinical care. Clean rooms and the availability of medical equipment do not

solve the constitutionally substandard care.




64
   Id. at 14:3-5.
65
   Rec. Doc. 752 at 100:10-18; Rec. Doc. 755 at 74:1-3, 81:6-12; Rec. Doc. 757 at 131:4-6.
66
   Rec. Doc. 748 at 198:2-13; Rec. Doc. 752 at 100:15-18; DX46.0013; DX46.0152; DX46.0188.
67
   Rec. Doc. 748 at 196:22-197:8; Rec. Doc. 755 at 76:15-24; DX46.0013; DX46.0152; DX46.0188;
68
   Rec. Doc. 771, p. 27 (citing PX 1-a, p. 37; PX 44-c, p. 4, Response to ROG 1; Rec. Doc. 748, LaMarre
Testimony at 146:16-22; see also PX 1-a at 36-37).

                                                                                     Page 15 of 104

                                                                                            23-30825.30571
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   167 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   16 of 104




        Laudably, LSP hired additional nurse practitioners and utilizes them in clinical

care.69 However, this fact alone does not establish that clinical care at LSP is now

constitutionally adequate.

        The Court rejects Defendants’ contention that medication administration is not an

issue before the Court “because it was not addressed in the Liability Ruling.”70 This

contention is demonstrably false as the Court explicitly held that LSP’s failure to monitor

and manage medications contributed to constitutionally inadequate clinical care.71

                                               Patient # 13

        Patient #13, 61 years old, had numerous health problems, including HIV and

chronic kidney disease.72 This patient’s record documents multiple medical errors, the

most egregious being the administration of Toradol for an infection known to be resistant

to this medication. LSP providers repeatedly failed to administer his HIV medication,

provided erroneous information to specialists regarding his medication dosage, and

disregarded the prescriptions ordered by specialists, reverting instead to prior, ineffective

medications.73

        Specialists repeatedly instructed that Patient #13 was not to be given Toradol or

other NSAIDs because they worsened his kidney function. The cover of his medical

record indicated in bold letters “NO TORADOL IS TO BE GIVEN.”74 Yet, during the last

week of Patient #13’s life, he was given Toradol by a LSP provider.75 Hours later, Patient


69
   Rec. Doc. 756, McMunn Testimony, at 74; see also PX1-a, p. 16.
70
   Rec. Doc. 770, p. 16.
71
   Rec. Doc. 594, p. 10. The Court specifically discussed the failure of medication administration with
respect to Patient #13, id. at 11, Patient #6, id. at 17, Patient #53, id. at 19, and Patient #18, id. at 24.
72
   Rec. Doc. 748, LaMarre Testimony at 110:23-111:2; PX 1-a, pp. 66-67; JX 13.
73
   Rec. Doc. 748, LaMarre Testimony at 112:11-116:12, 123:14-127:13; JX 13, pp. 58, 158, 755, 883, 919,
1080-82, 1152; JX 68, pp. 2222, 2252, 2321.
74
   Rec. Doc. 748, LaMarre Testimony at 127:14-132:17; JX 13, pp. 1, 402, 404, 405, 1074, 1035, 1085.
75
   Id.

                                                                                          Page 16 of 104

                                                                                                 23-30825.30572
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   168 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   17 of 104




#13 made a self-declared emergency (“SDE”) request, advising that he was unable to

urinate since receiving the shot of Toradol.76 In response, LSP providers treated him for

a urinary tract infection with an ineffective medication, discharged him to his room, and

set up a follow-up for the next week.77 Patient #13 never made the follow-up as he died

within the week due to sepsis, which “may very well have come from an improperly treated

urinary tract infection.”78

        Defendants’ attempt to invalidate LaMarre’s “initial opinions” about Patient #13 for

her purported admission that they were “mistaken and inaccurate,” falls flat.79 Defendants

inflate the impact of these errors and claim that “Plaintiffs offered no explanation for NP

LaMarre’s errors,”80 which is demonstrably false. LaMarre acknowledged that she had

erroneously concluded that this patient had not had a urology consult and had not been

treated for pneumonia.81 However, LaMarre explained the reason for her errors:

        What I'd like to report is that in preparing for trial, I realized that there were
        two medical record volumes for this patient, but I had only reviewed one
        medical record volume because they were produced at different times.

        In reviewing the second volume -- or both volumes, I realized that each --
        that both volumes were basically for the same chronological period. Both
        volumes contained documents from the same time period, except that one
        volume contained some documents that were not in the other volume. There
        were some duplicate documents. They were not in chronological order; and
        therefore, there are some -- while my overall opinions remained the same,
        there are a few factual statements made in my report that I would like to
        correct. So I'd just like to mention that before I testify about this case.82

LaMarre further testified that the two volumes of medical records for Patient #13 was



76
   Id. at 129:23-130:4; JX 13, p. 405.
77
   Id. at 130:5-131:4; 131:14-132:9; JX 13, pp. 404-05.
78
   Id. at 132:10-17.
79
   Rec. Doc. 770, p. 18.
80
   Rec. Doc. 774, p. 9.
81
   Rec. Doc. 748, LaMarre Testimony, at 109-110.
82
   Id. at 109:7-21.

                                                                                Page 17 of 104

                                                                                       23-30825.30573
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   169 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   18 of 104




        an illustration of the systematic issues involving the medical records. When
        you have two separate medical volumes that are covering the -- you know,
        that are not chronological and complete, then the providers don't know
        what's happening with the patient, either. So their ability to be up to date
        and current and know the latest -- have a copy of the latest documents and
        consults and hospital reports is impaired by the lack of a complete and
        chronological record, and it leads to errors in treatment.83

        These benign errors, caused by LSP’s egregious medical records management,

do not render LaMarre’s otherwise supported conclusions about Patient #13’s care

invalid.84 The Court finds that LSP’s medical records remain in shambles. They are

disorganized and incoherent. Medical records are the most important repository of

healthcare information and a critical source of historical complaints and treatment. The

utter and complete disarray of the medical records is emblematic of indifference.

        Defendants rely on Dr. Mathis’ opinion that using an antibiotic “long enough” could

“still work” even where an infection has been historically resistant.85 That LSP’s hired

expert advocates for the prolonged use medication known to be ineffective, in the hopes

that it might work, is deliberately indifferent to the patient’s medical needs. In any event,

Defendants failed to rebut Plaintiffs’ evidence regarding Patient #13’s HIV medication

lapses, providing specialists with incorrect information, or disregarding specialists’

prescription orders without explanation.

        The treatment of Patient #13 is unrebutted evidence of LSP’s failure to follow

specialists’ orders, callous indifference to medication efficacy, indifference to treatment




83
   Id. at 110:10-18.
84
   Defendants’ suggestion that LaMarre’s criticism of giving Patient #13 Toradol is a “newly developed
opinion” raised somehow as a last resort and “provided only after her other opinions were refuted,” is
completely without merit. Rec. Doc. 774, p. 9. It is undisputed that the cover of Patient #13’s chart contained,
in bold letters, “NO TORADOL IS TO BE GIVEN.”
85
   Rec. Doc. 753, Mathis Testimony, at 108:4-11.

                                                                                            Page 18 of 104

                                                                                                    23-30825.30574
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   170 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   19 of 104




plans and protocols, and incoherent, disorganized, untrustworthy medical records, all of

which contribute to abysmal, unconstitutional medical care.

                                              Patient #20

        Patient #20 was 52 years old and had suffered from hepatitis C since 2021.86 He

made four sick calls between February and August 2021 complaining of a wide range of

symptoms, from lower abdominal pain to yellow eyes and an inability to lie on his left side;

he also complained he was not receiving his hepatitis C medication.87 The EMT referrals

of the patient for “M.D. review” were disregarded.88 Defendants admit that Patient #20

was not seen by a provider until he was referred to the hospital three weeks later.89

Defendants’ expert Dr. Mathis agreed that the three week failure to see Patient #20

between August 31, 2021 and September 21, 2021 fell below the standard of care.90

Clinical care was non-existent for this Patient. The neglect and apathy shown rise to the

level of callous disregard.

                                              Patient #42

        Patient #42 is 25 years old with a history of asthma and cavitary pneumonia who

was also under mental health treatment.91 This patient made numerous sick call requests

for several symptoms, including spitting up blood, with no subsequent physical evaluation




86
   JX 20, pp. 5, 123.
87
   Rec. Doc. 755, Goehring Testimony at 13:8-17:11; JX 20, pp. 112, 116, 123-24.
88
   Id.
89
   Rec. Doc. 774, p. 10.
90
    Rec. Doc. 753, Mathis Testimony at 13:16-20. Goehring admitted that she was incorrect about the
breadth of the alleged delay in treatment for Patient #20. She acknowledged that she did not see the
hospital record demonstrating that Patient #20 was in the hospital from September 22, 2021 until October
31, 2021, and LSP could not have responded to this patient’s needs or refill medications during that time.
See Rec. Doc. 755, Goehring Testimony at 118:21-119:22. Nevertheless, even Dr. Mathis still found that
delays in treating this patient attributable to LSP were below the standard of care.
91
   Rec. Doc. 748, LaMarre Testimony at 133:1-2.

                                                                                       Page 19 of 104

                                                                                               23-30825.30575
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   171 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   20 of 104




by a provider.92 On April 3, 2020, the patient reported a SDE after spitting up blood.

LaMarre testified that spitting up blood is a “red flag symptom” of potentially serious

medical issues, and this should have prompted a physician examination “right away.”93

Although the patient was “seen” on April 4, 2020, because of the utter disarray of LSP’s

medical records, the record for this patient is indecipherable.

        A physician doesn’t document any action or acknowledgement of the [April
        3rd SDE] form until April 6th. And it appears that the initial response of the
        physical was sick call, as needed, or medical provider.”

        That may be – we actually don’t know who that is. We don’t know if it’s a
        physician. We don’t know if it’s a nurse practitioner. Because one of the
        medical record issues is that the providers do not legibly date, time, sign,
        and you don’t know their credentials. So you don’t know who is seeing the
        patient. But at any rate, they – the plan is clinical follow-up in eight weeks.94

        After a third SDE on April 6, 2020, the patient was sent to the ATU and ultimately

to the hospital where he was diagnosed with cavitary pneumonia.95

        Defendants’ new sick call policy, whereby sick call was conducted via telemedicine

by a nurse practitioner, did not improve the quality of care for this patient.                           After

implementation of the new sick call policy, on January 14, 2022, Patient #42 made a SDE

complaining that he was suffering chest pain for two days; the EMT provided no treatment

and referred the request to a provider, who noted only “S/C PRN [sick call as needed]”

four days later without ever seeing the patient.96


92
   Id. at 132:24-137:4, 139:13-144:24; PX 1-a, pp. 53, 55-56, 58-59; JX 42, pp. 38-39, 41-42, 74-76.
93
   Id. at 134-135. Defendants criticize LaMarre’s evaluation of Patient #42’s treatment, claiming that, for
the April 2020 incident, the patient was experiencing an adverse reaction to the use of “Mojo.” Rec. Doc.
770, p. 19, n. 106. However, this is irrelevant to the question of whether this patient was adequately
assessed and treated for the reported symptoms.
94
   Id. at 135:11-21.
95
   Id. at 136:8-14.
96
   Id. at 139:13-140:9; JX 42 at 42. Again, the state of LSP’s medical records made it difficult to discern who
provided the patient with care: “so initially when I reviewed this I thought that the patient was seen by an
EMT because there’s no legible signature. But I came to appreciate that a nurse practitioner saw this
patient on the 19th.” Id. at 140:24-141:2.

                                                                                           Page 20 of 104

                                                                                                   23-30825.30576
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   172 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   21 of 104




        Five days later, he made another sick call request and was seen via telemedicine

by Nurse Practitioner Ronald Bordelon (“Bordelon”), who failed to take an adequate

history, failed to physically examine the patient, and failed to chart or acknowledge

awareness of the patient’s previous cavitary pneumonia and the risk of reoccurrence.97

        Defendants note that this patient had three encounters with providers over a two-

week period. However, a mere encounter with a health care provider is not evidence of

medical care or treatment, and frequency does not establish constitutionally adequate

care. Defendants did not address why no physical examination of this patient was

performed, why he was not seen by a doctor after three days of spitting up blood, or why

a medical provider did not review his sick call form for seven days although he was ill

enough to be sent to OLOL in the meantime.98

        Patient #42’s care, particularly subsequent to LSP’s purportedly improved sick call

procedure, is disturbing. It suggests a level of apathy and indifference impervious to

changes.

                                       Other Patients, Generally

        Dr. Puisis documented numerous additional patient charts that revealed systemic,

recurring problems with clinical care.99 Dr. Mathis also acknowledged the following


97
   Id. at 140:17-142:18; JX 42, p. 41. (“Now in telemedicine the patient is not with the nurse practitioner, so
I’m not sure exactly how that got documented. But it’s an inadequate history for heart pain: ‘When did it
start? What is the heart pain like? Do you have any associated symptoms? Do you have cough? Do you
have palpitations?’ there does not appear – even though the medical record should be with the nurse
practitioner, it doesn’t appear that the nurse practitioner looked back and saw what had happened with the
patient to know that in the past he’s had cavitary pneumonia … the nurse practitioner doesn’t make a
diagnosis. What is this patient – he just says he got intermittent pain when laying down. Not a particularly
relevant medical evaluation.”).
98
   See PX 1-a, p. 59.
99
   See PX 1-a, pp. 68-69 (Patient #15, whose condition of COPD was left off the “problem list” in his medical
records and therefore was not addressed in the “woefully inadequate” medical evaluations in his clinical
visits; even after a test showed severe obstruction, Dr. Toce did not document a follow-up plan or see the
patient before his death from COPD); id. at 120 (Patient #29, who was given NSAIDs despite hypertension


                                                                                           Page 21 of 104

                                                                                                   23-30825.30577
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   173 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   22 of 104




standard of care violations in LSP’s clinical care: Patient #2 was not given thyroid function

tests for hypothyroidism; Patient #47 had hematuria that was assessed as stable without

urinalysis; Patient #32 did not receive an EKG ordered to diagnose chest pain; Patient

#28 was not put on insulin despite elevated hemoglobin A1-C and the failure of oral

diabetic medications;100 and Patient #33 had autoimmune hepatitis and developed signs

of acute hepatic failure but was discharged to quarters instead of being sent to the

hospital.101

                          Medication Administration/Security Oversight

        Medication administration, a critical part of clinical care, is abysmal at LSP, and

like the general medical records, the medication administration records remain unreliable

and disorganized.102 The state of these records directly contributes to the failure of health




and kidney damage and whose hypertension was not treated); id. at 121 (Patient #30, who made sick call
requests or ATU visits five times in a month without being examined by a provider, delaying the diagnosis
of metastatic colon cancer); id. at 121-23 (Patient #17, who was incorrectly diagnosed with venous
insufficiency instead of deep vein thrombosis); id. at 123-24 (Patient #18, who did not receive physical
examination, monitoring, or a history in clinical encounters); id. at 124 (Patient #19, who submitted multiple
health services requests related to a degenerative joint disease without a timely and appropriate
evaluation); id. at 53-54, 65 (identifying problems in health care encounters in January 2022 in Patients
#42, #49, #48, & #47); PX 1-c at 87 (noting inadequate assessments for Patient #46 in January and
February 2022); id. at 91, 349 (noting problems in records for Patient #47 in January 2022); id. at 99-100
(same for Patient #48); id. at 106-107 (same for Patient #49); id. at 193 (noting problems in the MARs
between December 2021 to March 2022 for Patient #39); id. at 194 (noting problems in the February 2022
MARs for Patient #40); id. at 215 (noting inadequate assessment in January 2022 for Patient #41); id. at
219-220 (identifying multiple issues in the records from January 2022 for Patient #42); Rec. Doc. 748,
LaMarre Testimony at 155:22-160:5 (describing inadequate sick call from January 2022 for Patient #49);
JX 49, p. 288.
100
     Rec. Doc. 753, Mathis Testimony at 12:10-15:3.
101
     Id. at 48:17-51:4
102
     PX 1-a, pp. 10-11; 38-40; 72-79; PX 2; see, e.g., Rec. Doc. 748, LaMarre Testimony at 179:6-180:21
(testifying about the unreliability of the MARs in Patient #14, and how it this error was not isolated to this
patient); see also Rec. Doc. 755 Goehring Testimony at 6:18-7:13 (describing how Dr. Johnson and the
Director of Nursing continued to give Plaintiffs’ medical experts the wrong information about the timing of
pill call, indicating that they did not even know when pill call took place); Rec. Doc. 749, Creppel Testimony
at 241:21-242:24 (describing gaps in receiving necessary medication, and issues with the correctional
officers administering the medications).

                                                                                          Page 22 of 104

                                                                                                  23-30825.30578
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   174 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   23 of 104




care providers to adequately monitor and evaluate patients’ medical regimens.103

        Defendants admit no changes have been made to medication management, other

than the reduction in the frequency of administration,104 and they continue to improperly

allow “correctional officers [to] supervise the delivery of medications by other correctional

officers,” as criticized by the Court in the Liability Ruling.105

        The change in the time of medication dispensation is particularly dangerous for

insulin-dependent patients, who are not receiving sufficient or timely insulin medication or

testing strips to determine the amount of insulin they need.106

        LaMarre credibly opined that the “medication management system is completely

broken, from ordering the meds, to getting them to the pharmacy, to timely dispensing the

meds, to administering the meds, to documenting the meds in the medication

administration record.”107

        Considering the evidence submitted at trial relating to clinical care at LSP, the

Court finds that the delivery of clinical care remains constitutionally inadequate. While the

physical space and equipment in the treatment rooms has improved, the quality of clinic


103
    Rec. Doc. 748, LaMarre Testimony at 98:19-25; see, e.g., Rec. Doc. 749, Vassallo Testimony at 54:4-
15 (describing how Patient #55’s MARs did not include the information for the provider treating him in the
emergency room to know the accurate information regarding his blood pressure medication).
104
    PX 1-a at 73; see Rec. Doc. 748, LaMarre Testimony at 175:18-178:8 (describing how the reduced
frequency results in therapeutically inappropriate time between doses, especially for insulin administration);
id. at 178:4-8; 178:19-21 (describing the reduction in frequency of pill call as illustrative of the fact that
“medication administration has been turned completely over to custody. It is a security operation with no
oversight by the medical team.”).
105
    Rec. Doc. 594, ¶ 99; see also PX 1-a, p. 72; JX 78, T. Hooper Depo. at 62:1-4; JX 69-a, R. Lavespere
Depo. at 124:1-4, 20-23; see also Rec. Doc. 748, LaMarre Testimony at 174:16-175:17 (describing how
the training for correctional officers at LSP is inadequate and how their use in pill call contravenes national
standards based on the prison’s size).
106
    PX 1-a at 10-11; 38-40; 72-79; see Rec. Doc. 594 at ¶ 33; see, e.g., Rec. Doc. 747 Mischler Testimony
at 49:4-50:23; 68:1-9 (describing the process for receiving his sliding-scale insulin twice a day from
correctional officers and how LSP, as often as once a week, including the day prior to his testimony, does
not have the test tabs for him to test his levels preventing him from knowing how much insulin to give
himself); Rec. Doc. 748, LaMarre Testimony at 151:1-152:7 (testifying on how LSP does not record how
much insulin patients receive twice-daily in their medical records).
107
    Rec. Doc. 748, LaMarre Testimony at 97:4-8, 115:14-19.

                                                                                           Page 23 of 104

                                                                                                   23-30825.30579
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   175 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   24 of 104




care provided is unchanged. The evidence demonstrates that patients continue to be

treated episodically, and medical records management and medication administration are

still seriously flawed. The medical records remain a significant impairment to delivering

minimally adequate clinical care.

           C. Sick Call

12.    Sick call is an integral part of clinical care. Sick call is the principal means through

which a clinical healthcare encounter is triggered. The Court previously made the specific

finding that LSP’s sick call policy was constitutionally inadequate because it failed to

provide patients with medical care by qualified providers. While the Court is encouraged

by some changes made to sick call, LSP’s sick call process remains a constitutionally

inadequate component of clinical care.

       It is undisputed that LSP made changes to its sick call policy and procedures

between the liability trial108 and the remedy trial.109 Pursuant to LSP’s new sick call policy,

effective approximately November 1, 2021, inmates who submit a sick call request

received by noon Sunday through Thursday are seen by a nurse practitioner via

telemedicine on the following day.110 NP Bordelon is responsible for sick call at LSP.111

LSP secured telemedicine equipment and acquired portable buildings so patients could

be seen via telemed by nurse practitioners from their dorms or cell blocks.112

       Bordelon described the new sick call process as follows: inmates submit routine

sick call slips before noon Sunday through Thursday, and the slips are taken to the ATU



108
    The Liability Trial began on October 9, 2018.
109
    The Remedy Trial began on June 6, 2022.
110
    Rec. Doc. 752, Bordelon Testimony at 90; DX8-aaa; PX 44-c, p. 9, Response to ROG No. 12; Rec. Doc.
717, pp. 4-5; PX 21-ssss, LSP Directive 13.061 (Mar. 3, 2022).
111
    Rec. Doc. 752, Bordelon Testimony at 90.
112
    Id. at 91-92.

                                                                                    Page 24 of 104

                                                                                           23-30825.30580
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   176 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   25 of 104




where a nurse or a NP performs a paper triage of the slips;113 any sick call slip stating an

urgent condition can be seen immediately.114 The remainder are seen the next morning

on Monday through Friday by a NP via telemed.115 The NP has in their possession the

sick call slip and the patient’s medical record.116 The NP also has electronic access to the

patient’s list of medications, lab reports, duty status, and upcoming appointments.117 The

patient is in a private room during the sick call visit,118 and an EMT is with the patient to

take vital signs and facilitate the sick call visit.119

        While the Court is encouraged by the improvements made to the sick call process,

Plaintiffs presented evidence which demonstrates that these improvements have not

transformed the level of care.120

        NCCHC standards require daily sick call triage.121 LSP’s sick call policy has

complaints reviewed the next day; further, sick call requests are only reviewed five days

of the week at LSP.122 Additionally, the sick call request form provides no place for the

patient to time and date their request; there is likewise no place to time and date when

the request was received. Thus, there is no documentation of policy compliance, i.e., that

triage actually occurs within the timeline set forth in the policy.123




113
    Id. at 107-108. The ACA provides for paper triage, meaning that the nurse triages the sick call slips
without a face-to-face encounter. Rec. Doc. 755, Goehring Testimony at 72:7-13.
114
    Rec. Doc. 752, Bordelon Testimony at 108.
115
    Id. at 92–93, 96.
116
    Id. at 93, 95-96.
117
    Id. at 94:10-14.
118
    Id. at 100; see also Rec. Doc. 755, Goehring Testimony at 74:1-3; Rec. Doc. 757, Johnson Testimony
at 131–132.
119
    Rec. Doc. 752, Bordelon Testimony at 99:13-19, 196:5-16; see also Rec. Doc. 757, Johnson Testimony
at 131–132.
120
    PX 1-a, pp. 49-58.
121
    Rec. Doc 748, LaMarre Testimony at 156:17-157:2.
122
    Id.
123
    PX 1-a, p. 50; Rec. Doc 748, LaMarre Testimony at 156:17-157:2.

                                                                                      Page 25 of 104

                                                                                              23-30825.30581
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   177 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   26 of 104




        While LSP’s sick call policy defines triage as “[t]he review or screening of offender

health concerns by health care personnel to determine the priority of need and the

appropriate level of intervention[,]” the triage process is not explained and triage is not

noted in patient charts.124 Additionally, patient charts are replete with examples of sick

calls where vitals were not taken, physical examinations were not performed,

documentation of symptoms/medical history did not occur, and patients were charged a

co-pay despite receiving no examination, diagnosis, or treatment.125

        The lack of physical examinations during sick call encounters is highly problematic.

The encounters appear to be “driven and controlled by the EMT who was with the patient

[rather] than by the Nurse Practitioner who should be guiding the encounter as the

provider.”126 The telemedicine equipment contributes to the lack of an adequate physical

exam since the camera used to assess the patients has a poor resolution quality.

Defendants and Dr. Mathis acknowledged that this equipment was not always available

or properly functional.127 Additionally, performing a physical examination is beyond the

skill training of an EMT. The NP should be directing the hands-on examination. As

implemented, LSP’s telemedicine sick call policy amounts to a band-aid on a gaping

wound.




124
     DX 8-aaa; see Rec. Doc. 757, Johnson Testimony at 199:18-200:1 (admitting that the updated policy
does not describe the nurse or nurse practitioners conducting a triage step); Rec. Doc. 752, Bordelon
Testimony at 123:2-125:6 (testifying that there is no documentation of the “triage” on the sick call form, nor
is it mentioned in the LSP directive for sick call or Defendants’ interrogatory response describing the new
sick call procedure); JX 71-d; Rec. Doc. 752, Bordelon Testimony at 108:9-11 (admitting that he has never
found some patients that had an emergent issue when conducting the “triage” of the forms the day before);
Rec. Doc 748, LaMarre Testimony at 202:16-203:1.
125
    See PX 1-a, pp. 52-55.
126
    Id. at 52.
127
    Rec. Doc. 752, Bordelon Testimony at 101:20-102:6; JX 69-a, Lavespere Depo. at 128:15-21; Rec. Doc.
753, Mathis Testimony at 75:13-16. This problem is exacerbated by the fact that EMTs do not receive
training before assisting in telemedicine sick calls. JX 69-a, Lavespere Depo. at 225:7-18.

                                                                                          Page 26 of 104

                                                                                                  23-30825.30582
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   178 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   27 of 104




        The Court agrees that:

        The use of telemedicine is a helpful adjunct option when the patient is
        unable to be transported, such as after clinic hours when the provider is not
        physically on-site, and during times such as severe weather, etc. The use
        of telemedicine as the only mechanism to conduct patient sick call
        encounters is not optimal. Given the limited optics, poor resolution, and
        placing the responsibility of the physical exam on an EMT is not the same
        as an in person patient-physician/nurse practitioner encounter. Many
        physical findings such as heart tones, lung sounds, abdominal examination,
        and close examination of many skin issues can be easily lost when done
        via camera. Every effort should be made to conduct the sick call encounters
        in person, unless extenuating circumstances place a burden on the patient
        to travel to the clinic location.128

        The access to a patient’s medical record during sick call is certainly an

improvement; however, the evidence demonstrates that the medical records are not

necessarily being reviewed during sick call, rendering this ostensible improvement

meaningless. Plaintiffs’ experts observed a sick call encounter with Patient #42 where

NP Bordelon did not attempt to access eMARs. Bordelon testified that, although he

reviewed the patient’s medical list–which does not show whether the patient received the

medications–he was unable to access the medical record via eMARs because he did not

know his login.129

        Evidence that sick call is still essentially performed by EMTs even though there is

a NP on the other end of the screen went unrefuted. Patient #42, discussed previously,

is one example of the persistent incompetence of the sick call process at Angola. As a

matter of their discipline, EMT’s are not qualified to medically manage sick call. To

alleviate this scope of practice dilemma, LSP added a layer of medical oversight by a


128
   PX 1-a, pp. 51-52.
129
   Rec. Doc. 752, Bordelon Testimony at 128:9-129:9. Plaintiffs claim that Bordelon does not know how
to “access medical administration records” is not exactly supported by this testimony. Nevertheless,
Bordelon’s testimony demonstrates that there is no point to having access if providers are not using eMARs
during sick call visits, whether it is because they forget their logins or for any other reason.

                                                                                       Page 27 of 104

                                                                                               23-30825.30583
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   179 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   28 of 104




nurse practitioner, but the qualitative nature of the medical care is unchanged, and it is

exacerbated by the physician’s avoidance of clinical care.

       Sick call is the most important component to the delivery of health care because it

is the access point to meaningful and early diagnosis and treatment; it should minimize

the risk of (or worsening of) an acute disease process becoming chronic and the attendant

human and economic impacts of a worsening illness or disease. An ounce of prevention

is worth a pound of cure.

       C. Specialty Care

13.    While there has been some improvement in this area, the Court finds that specialty

care at LSP continues to be constitutionally inadequate in the following ways: (a)

timeliness; (b) failure to schedule and track specialty appointments; (c) failure to comply

with testing and diagnostic requirements; (d) failure to execute appropriate follow-up care;

and (e) failure to coordinate care. The Eceptionist program utilized to schedule specialty

appointments may be robust, but its use has not resolved failures in timely scheduling

and tracking adherence to specialty provider orders and follow-up.

       LSP provides specialty care in three ways: (a) on-site specialty clinics where

specialists come to LSP, (b) telemedicine visits with specialists, and (c) off-site visits to

specialists.130   Specialty care appointments (trips and follow-up) are scheduled and

tracked by DOC headquarters using the Eceptionist program.131

       Since 2016, LSP has added the following on-site specialty clinics: cardiology,

urology, infectious disease, and dietary.132 Since 2016, LSP has expanded the number



130
    DX 35-c, p. 31.
131
    Rec. Doc. 754, Benedict Testimony at 104-105.
132
    Rec. Doc. 750, Lavespere Testimony at 164:2-10.

                                                                            Page 28 of 104

                                                                                   23-30825.30584
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   180 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   29 of 104




and scope of specialists available via telemedicine to include: neurology, infectious

disease, hepatitis, ENT (ear, nose and throat), hematology and oncology, dermatology,

endocrinology, and gastrointerology.133

        By 2021, the number of specialty referrals and appointments had substantially

increased since 2015/2016.134 The amount of missed specialty appointments since 2016

has also decreased.135 Further, since the liability trial, LSP has installed monitors in the

Ash dorms to notify inmates of their appointments, replacing the previous method of

inmates reviewing paper print outs to determine if they had appointments.136

        These changes provide a framework for constitutionally adequate health care, but

the evidence demonstrates that these changes have not resolved the constitutional

deficiencies in the delivery of specialty care. Dr. Lavespere testified that LSP’s policies

and practices regarding specialty care are essentially unchanged.137 Further, the policies

in place are not necessarily followed.                   LSP Directive 13.001 provides: “All

recommendations by non-departmental health care practitioners concerning an

offender’s treatment shall be reviewed by the offender’s primary care provider. If the

decision is made not to carry out any or all recommendations, justification shall be

documented in the offender’s medical record.”138 However, Dr. Lavespere’s testimony




133
    Id. at 164:19-24.
134
    Rec. Doc. 754, Benedict Testimony at 64:9-20, 110:2-3, 154:2-4; PX 1-a, p. 83.
135
    Rec. Doc. 750, Lavespere Testimony at 173:8-12.
136
    PX1-a, p. 83.
137
    JX 69-a, Lavespere Depo. at 111:17-113:1, 122:23-123:8; see also Rec. Doc. 717, p. 5 (stipulating that
“LSP’s polices or practices have not changed regarding recommending, authorizing, and scheduling
specialty health care services; getting people to appointments or making sure patients have all necessary
tests, paperwork, and fasting; or ensuring that specialists’ recommendations are implemented or the
decision not to implement them is documented.”); Rec. Doc. 750, Puisis Testimony at 28:10-16 (opining
that the stipulation is consistent with Dr. Puisis’ review of the depositions, interrogatory responses, and
chart reviews).
138
    PX 21-t, p. 3 (emphasis added).

                                                                                        Page 29 of 104

                                                                                                23-30825.30585
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   181 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   30 of 104




reveals that LSP’s medical leadership is either unaware of or knowingly disregards this

policy requiring documentation of such decisions.139 Dr. Johnson admitted LSP does not

track this information,140 and Dr. Toce, LSP’s current medical director, denied that it would

improve care to track specialist recommendations to completion.141

        A review of patient charts shows that specialty care remains constitutionally

deficient. And while Dr. Mathis ultimately concluded that the specialty care LSP provides

meets the standard of care, even he acknowledged instances where LSP medical

personnel ignored specialist’s warnings, changed prescriptions without explanation, and

failed to contact specialists when patients’ conditions deteriorated.142 The following

patients exemplify the persisting problems in LSP’s delivery of specialty care.

                                              Patient #7

        Patient #7, 65 years old, had three positive fecal occult blood tests in 2019 and a

history of constipation.143       Dr. Puisis concluded that this called for an immediate

colonoscopy, but the patient’s chart contains no indication that any provider considered

or noted the need for a colonoscopy or that colonoscopy was discussed with the

patient.144 He was not sent to the hospital until July 2021, when it was discovered he had




139
     JX 70-a, Lavespere Depo. at 44:15-45:1, 48:4-10; PX 21-t, p. 3, LSP Directive 13.001 (requiring
documentation). See also JX 70-a, Lavespere Depo. at 43:24-44:1 (“There are certain things that we don’t
follow the recommendation of specialists on . . . .”); JX 69-a, Lavespere Depo. at 111:17-112:12, 122:21-
123:20, 212:11-15.
140
    Rec. Doc. 757, Johnson Testimony at 198:2-10.
141
    JX 71-b, P. Toce Depo. at 54:24-55:21.
142
    Rec. Doc. 753, Mathis Testimony at 12:21-13:11 (discussing Patients #5 & 7), 103:14-18, 104:19-109:9
(discussing Patients #13 & 33).
143
    Rec. Doc. 750, Puisis Testimony at 70:16-73:25; PX 1-a, pp. 97-98; JX 7, pp. 44, 103.
144
    Rec. Doc. 750, Puisis Testimony at 71:12-24, 245:8-22; PX 1-a, pp. 97-98.

                                                                                      Page 30 of 104

                                                                                              23-30825.30586
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   182 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   31 of 104




metastatic colon cancer, resulting in a fatal pulmonary embolism.145 Dr. Puisis credibly

concluded that Patient #7’s death was preventable.146

        By deposition, Dr. Toce testified that Patient #7 refused the colonoscopy.147

Defendants admit they failed to obtain a written refusal by this patient, which Dr. Mathis

agreed was below the standard of care.148 Defendants could not refute the fact that this

patient’s medical record was devoid of any references to the three bloody stool tests or

the need for a colonoscopy.149 The Court finds Dr. Toce’s testimony of this patient’s

undocumented colonoscopy refusal incredible in light of the medical records.

                                             Patient #10

        Patient #10 is a perfect example of LSP’s failure to timely recognize his need to be

referred to a neurologist. Patient #10 was sixty years old and suffering from hypertension

and high blood lipids, placing him at risk for a stroke.150 His medical records reveal that

he had eight episodes of elevated blood pressure, inability to speak clearly, altered gait,

and/or left-sided symptoms, and symptoms consistent with transient ischemic attacks,

which can indicate stroke and require higher-level diagnostic testing.151 His records also

show that he was sporadically treated for high blood pressure but that he also presented

on several occasions as possibly intoxicated or having used illicit drugs.152 On numerous

occasions, it appears that this patient’s high blood pressure was blamed on illicit drug use

and dismissed, without treatment.            While Defendants contend Patient #10’s blood


145
    Id. at 73:4-25; PX 1-a, p. 98; JX 7, p. 44.
146
    PX 1-a, p. 98.
147
    JX71-a, p. 142:8-14.
148
    DX 35-c, p. 189.
149
    JX 71-a at 142:8-14.
150
    Rec. Doc. 750, Puisis Testimony at 76:13-81:1; PX 1-a, pp. 61-63; JX 10, pp. 113, 122, 125, 172.
151
    Rec. Doc. 750, Puisis Testimony at 77:1-15, 245:23-248:20; PX 1-a, pp. 62-63.
152
    JX 10, pp. 187, 180, 176, 172, 163, 164, 154, 153, 149, 147, 144, 141, 137, 136, 129, 125, 114, 113,
120, 105, 106.

                                                                                     Page 31 of 104

                                                                                             23-30825.30587
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   183 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   32 of 104




pressure “was generally controlled except when he presented with altered mental

status,”153 the records show multiple occasions of high blood pressure without any

notation of an altered mental state.154

        On another occasion, Patient #10 advised a physical therapist that he believed he

had a stroke, but he was not evaluated by LSP providers or referred to a neurologist, and

there is no documentation that any provider addressed this at all.155 Patient #10 ultimately

suffered a fatal stroke.156 It is indeterminate whether the fatal stroke was due to lack of

care or drug use, but the vagueness of this patient’s cause of death does not change the

fact that Defendants were indifferent to Patient #10’s diagnosis and treatment.

                                                 Patient #4

        Patient #4 was 63 years old and suffering from seizure disorder, renal cancer,

pulmonary hypertension and interstitial lung disease, all conditions warranting

pulmonology follow-up.157 Defendants point to UMCNO records which note that, as of

May 2019, this patient was “lost to follow-up” due to the COVID-19 pandemic.158 He did

not see a pulmonologist until December 2020.159 While delays caused by the pandemic

were unavoidable and not caused by LSP, about half of the delay of this patient’s care

occurred before the pandemic began. Further, before and after the pandemic delay, this

patient presented on several occasions with oxygen levels which required hospitalization;


153
    Rec. Doc. 770, p. 34.
154
    Id. at pp. 34-35 (noting blood pressures above 140/90 with no evidence of drug use on 7/23/20, 9/4/20,
10/2/20, 12/9/20); see also JX 10, pp. 153, 144, 141, 129, 125 (same); see generally Rec. Doc. 750, Puisis
Testimony, at 245:23-248:20 (responding to Defendants’ analysis). As stated previously, an inmate-
patient’s illicit substance use is not a justification not to provide medical treatment that meets the standard
of care; Defendants have not submitted any authority to the contrary.
155
    Rec. Doc. 750, Puisis Testimony at 79:14-81:1; JX 10, pp. 112, 113.
156
    PX 1-a, p. 63.
157
    Rec. Doc. 750, Puisis Testimony at 89:16-106:11; PX 1-a, pp. 89-92; JX 4.
158
    JX 04, p. 190.
159
    Rec. Doc. 750, Puisis Testimony at 89:14-90:21; PX 1-a, p. 90.

                                                                                           Page 32 of 104

                                                                                                   23-30825.30588
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   184 11/06/23
                                              778     Date Filed:
                                                              Page01/11/2024
                                                                    33 of 104




however, a pulmonologist was not consulted and the patient was not hospitalized.160

When this patient finally did see a pulmonologist, LSP failed to provide the patient with

tests the pulmonologist ordered, delayed filling prescriptions for weeks, and failed to

“integrate the specialty care into the primary care of the patient.”161

         The initial failure to timely refer this patient to a specialist was exacerbated by

LSP’s failure to follow the specialist’s orders, which failures persisted from early 2021 until

his death from respiratory failure in October 2021.162 Patient #4 suffered an egregious

lack of care that cannot be justified by a “pandemic defense.” It is evidence of deliberate

indifference wholly unexplained or justified by the pandemic.

                                             Patient #48

      Patient #48, 51 years old, suffers from supraventricular tachycardia (“SVT”), other

cardiac issues, and significant gastrointestinal problems.163                Defendants submitted

evidence of sporadic treatment this patient received for his cardiac problems;164 however,

Dr. Puisis credibly opined about this patient’s significant symptoms that were largely

ignored.165

         For example, this patient was noted as having seizure disorder, schizophrenia, and

major depression, but his records show that he was on no medication, and no explanation

was provided as to why he was not being treated for these conditions. There was also no

provider evaluation.166 At one point, this patient was referred to a physician for an



160
    Rec. Doc. 750, Puisis Testimony at 95:1-24; 99:1-106:11; PX 1-a, pp. 90-92; JX 4, pp. 165, 194, 240,
272-73, 279, 292, 295, 342.
161
    Rec. Doc. 750, Puisis Testimony at 97:9-98:25; PX 1-a, pp. 90-92; JX 4, pp. 25, 172, 194.
162
    Rec. Doc. 750, Puisis Testimony at 102:15-106:11; PX 1-a, pp. 90-92; JX 4, pp. 165, 272-73, 279, 292.
163
    PX 1-a, pp. 63-65.
164
    JX 48, pp. 116, 111, 110; DX 35-c, pp. 194–195; JX 48, p. 94; DX 35-c, p. 195; JX 48, p. 49.
165
    PX 1-a, pp. 63-65.
166
    Id. at 63.

                                                                                      Page 33 of 104

                                                                                              23-30825.30589
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   185 11/06/23
                                              778     Date Filed:
                                                              Page01/11/2024
                                                                    34 of 104




elevated blood pressure, but this appointment never occurred, without explanation.167 On

August 18, 2021, an EMT sent this patient to the ATU for evaluation; no ATU evaluation

ever occurred.168 On September 15, 2021, this patient was seen in the ATU by an EMT

after he had been vomiting for three days and had not had a bowel movement in a month.

These symptoms should have prompted an immediate examination by a provider. After

evaluation in the ATU, the patient was sent to the hospital emergency department.169

         After his hospital visit, this patient was prescribed beta blockers; however, there is

no record that he was consistently given this medication. Further, this patient was

referred for a cardiology work-up, but there was no cardiology referral in Eceptionist.170

This is one of many instances that Defendants were deliberately indifferent to the need

for specialty care follow-up.

         Dr. Puisus ultimately credibly opined that:

         [Patient #48] had persistent tachycardia diagnosed at the hospital as
         supraventricular tachycardia (SVT) needing cardiology evaluation. The SVT
         was never specifically acknowledged as a problem at the facility and there
         was no evidence of referral to a cardiologist. The patient also had severe
         constipation causing a rare disease of the colon, likely due to inattention to
         the patient’s chronic constipation. Referral for colonoscopy was made but
         was significantly delayed. The results of the colonoscopy are unknown.

         The episodic nature of this patient’s care resulted in the patient failing to
         have his serious ongoing conditions (SVT, constipation, and colitis) properly
         or timely evaluated causing potential risk of harm to the patient and delayed
         diagnosis and treatment. This patient had abnormal vital signs (blood
         pressure or tachycardia) on seven occasions over a year which were not
         acknowledged by a medic or a provider and not addressed.171




167
    Id.
168
    Id.
169
    Id. at 64.
170
    Id.
171
    Id. at 65.

                                                                              Page 34 of 104

                                                                                     23-30825.30590
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   186 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   35 of 104




                                               Patient #1172

        Patient #1 was 55 years old with a history of smoking, hypertension, peripheral

vascular disease, and high blood lipids.173 He developed metastatic lung cancer,

discovered on October 28, 2020, and “underwent intensive follow up for radiation therapy,

chemotherapy, diagnostic testing, and oncology follow ups.”174 Between February 2020

and October 2020, this patient had an unintentional weight loss of 81 pounds that went

undocumented and unaddressed by LSP medical personnel.175 Due to this patient’s age,

smoking history, severe unexplained weight loss, and other symptoms like spitting up

blood, he should have been more closely monitored and his cancer discovered earlier.176

        Eceptionist proved worthless in tracking this patient’s oncology appointments. For

example, it did not list all of the patient’s consultation or offsite appointments; it failed to

include almost all radiation and chemotherapy appointments; and it included oncology

appointments but failed to document whether they occurred.                            Verification that all

appointments were scheduled and actually occurred could not be gleaned from

Eceptionist.177

        Further problematic, “providers at LSP [were] disengaged from monitoring th[is]

patient’s progress based on recommendations and findings of consultants and reports of

diagnostic testing.”178 For example, Patient #1’s “complex arrangement for radiation

therapy and chemotherapy” was not monitored by a LSP doctor or mid-level provider.


172
    The Court offers a summary of the problems in providing this patient with appropriate specialty care for
his metastatic lung cancer. A full recitation of the problems Dr. Puisis identified for this patient’s treatment
is found at PX 1-a, pp. 84-89.
173
    Id. at 84.
174
    Id.
175
    Id.
176
    Id.
177
    Id. at 84-85.
178
    Id. at 85.

                                                                                            Page 35 of 104

                                                                                                    23-30825.30591
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   187 11/06/23
                                              778     Date Filed:
                                                              Page01/11/2024
                                                                    36 of 104




Trip nurses managed all follow-up and clinical scheduling. After this patient’s hospital

discharge with a cancer diagnosis on November 6, 2020, he was not scheduled for a

provider appointment until January 8, 2021, and he developed complications during this

delay.179

         This patient’s white blood cell count was life-threateningly low, and he was

prescribed a medication to raise his white blood cell count. However, the medication

records fail to document if or when the patient received the medication. Furthermore,

there is no evidence that the patient was seen or followed by a health care provider while

being treated for the seriously low white blood cell condition.”180 There is no record that

providers were monitoring the patient’s complications or that he was receiving this

necessary white count medication.181

         Further, Patient #1’s medical records are devoid of evaluations for headaches and

infection, and the oncologist’s recommendation for a CT of the head, chest, abdomen,

and pelvis was not performed in accordance with the specialist’s orders.182

         The provider did not document that the patient had a recent oncology visit
         and update the therapeutic plan. The assessment was tension headache
         despite the known brain metastases. The provider did not check when the
         CT scan would be done. The provider did not evaluate the facial edema
         more thoroughly for SVC syndrome. The provider did not document
         awareness of the oncology plan which called for an earlier evaluation if
         problems occurred. The CT scan should have been promptly performed. A
         3-month follow up was ordered and ibuprofen prescribed for the tension
         headache.183




179
    Id.
180
    Id.
181
    Id.
182
    Id. at 86.
183
    Id.

                                                                           Page 36 of 104

                                                                                 23-30825.30592
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   188 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   37 of 104




        On June 21, 2021, this patient arrived for chemotherapy without recent lab testing

that had been ordered but not performed; thus, this chemotherapy appointment had to be

cancelled and rescheduled.184            Countless problems like this continued to occur

throughout this patient’s cancer treatment.185

                        Pandemic/Natural Disasters/UMCNO Providers

        LSP refers its sickest inmates to UMCNO. Defendants justify a record replete with

treatment and referral delays, citing the COVID-19 pandemic and natural disasters which

befell the State.186 While the delays attributed to these events are understandable and

not the fault of LSP, the record establishes that the problems identified with specialty care

were evident from 2019 through March 2020, and they persisted after the pandemic and

natural disaster issues subsided.187 This is confirmed by the credible testimony of the

UMCNO providers.

        The improved communication LSP boasts between its medical staff and specialty

providers was undermined by the testimony of the UMC doctors who testified in this case.

Dr. Helen Pope, Dr. Daniel Brady, and Dr. Marcia Glass credibly testified about their

experiences treating LSP patients at UMC. They each testified that patients from LSP

often arrived with late-stage, undiagnosed diseases despite extended periods of

symptoms;188 they explained the difficulties obtaining follow-up appointments for patients




184
    Id.
185
    Id. at 86-89.
186
    See Rec. Doc. 754, Morrison Testimony at 18-22, 26-28; DX 35-a, pp. 33–45.
187
    Rec. Doc. 750, Puisis Testimony at 25:23-26:15; Rec. Doc. 748, LaMarre Testimony at 93:4-7.
188
    See Rec. Doc. 751, Pope Testimony at 8:8-18, 11:16-22 (“[T]he biggest [issue] is a patient presenting
later in the course of an illness than I would expect someone from the community.”); id. at 12:3-17:5
(providing additional details); Rec. Doc. 755, Brady Testimony at 134:19-137:10 (describing patients who
received delayed diagnoses); Rec. Doc. 755, Glass Testimony at 162:12-164:21 (comparing patients from
LSP population with others in the community).

                                                                                      Page 37 of 104

                                                                                              23-30825.30593
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   189 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   38 of 104




from LSP or ensuring that follow-up care occurs;189 and they expressed lack of access to

LSP patients’ full medical records.190 The testimony of the UMC providers is unrebutted,

and the Court finds the UMC physicians’ testimony particularly persuasive and credible

because they are neutral intermediaries.

        D. Emergency Care

14.     The Court previously held that LSP failed to provide constitutionally adequate

emergency care in the evaluation and assessment of emergencies by qualified providers

and failed to timely treat and/or transport patients to the hospital for emergency care.

Although LSP has improved staffing in the ATU, the constitutional deficiencies identified

by the Court persist.

        Regarding SDEs, until early 2022, EMTs responded to all SDEs and made

assessments, at times without input from a provider, which both Deputy Warden LPN

Ashli Oliveaux (“Oliveaux”) and Defendants’ expert Dr. Mathis identified as practicing

medicine without a license.191 LSP contends it has remedied the SDE process and utilizes

a new policy for responding to SDEs developed by Oliveaux.192 Under this policy, EMTs

respond to SDEs solely pursuant to Individual Treatment Orders (“ITO”) that are pre-




189
    See Rec. Doc. 751, Pope Testimony at 11:6-15 (“After the patient leaves the hospital, I have no
assurance that appointments will be taking place.”); Rec. Doc. 755, Glass Testimony at 165:21-166:7 (“We
put [orders for follow up care] in our discharge orders, but we have no way of telling whether that’s going
to happen or not . . . [I] see patients who were referred for follow-up appointments by other doctors that did
not get those appointments.”), 166:8-19 (describing the impact on patient prognosis); Rec. Doc. 755, Brady
Testimony at 137:22-140:6 (“Q: Is lack of follow-up is a common problem with patients from Angola? A: I
think so, yes.”).
190
    See Rec. Doc. 755, Glass Testimony at 171:11-16 (“[T]hey should have an electronic medical record
that doctors like me … should be able to access easily so we have some way of knowing what’s been going
on with these patients.”); Rec. Doc. 751, Pope Testimony at 10:24-11:5, 21:4-22:2 (describing how patients
are not able to give full medical histories); Rec. Doc. 755, Brady Testimony at 140:7-141:8.
191
    Rec. Doc. 757, Oliveaux Testimony at 63:11-16; Rec. Doc. 752, Mathis Testimony at 194:11-17.
192
    Rec. Doc. 757, Oliveaux Testimony at 64-65.

                                                                                          Page 38 of 104

                                                                                                  23-30825.30594
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   190 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   39 of 104




approved by medical providers.193 If a SDE is not covered by an ITO, the EMT must call

a NP or take the patient to the ATU for further assessment.194

       Plaintiffs point out that LSP’s EMT Director, Darren Cashio (“Cashio”) testified that

this “new” policy is simply “trying to streamline” the SDE process and “doesn’t change,

really, the process,” except EMTs may now contact a provider via FaceTime rather than

by phone.195

       Dr. Vassallo was critical of this purportedly new policy, concluding that it made

“really no difference” to the quality of emergency care.196 As to ITOs, Dr. Vassallo pointed

out that they are not specific to an individual patient,197 and they still require EMTs to

make diagnoses, which is outside their scope of practice.198 Dr. Mathis agreed that “some

of the ITOs need to be reworked.”199

       Defendants are correct that the ATU is not an emergency room (“ER”); however,

the ATU must be sufficiently staffed with providers capable of properly assessing

emergent situations for which transport to an ER may be warranted, and emergency

transport should not be delayed.

       LSP has improved staffing in the ATU by having a RN and an EMT present twenty-

four hours a day, seven days a week.200 A NP is now present in the ATU from 7:30 am

until 4:00 pm Monday through Friday and 24 hours a day from Friday night through




193
    Id.
194
    DX 50.
195
    PX 79, Cashio Depo at 8:13-9:9, 10:4-11:2, 12:7-14:21.
196
    Rec. Doc. 749, Vassallo at 86:9-11, 87:1-6, 88:14-89:21.
197
    Id. at 84:23-85:4, 87:1-19.
198
    Id. at 87:20-88:21.
199
    Rec. Doc. 753, Mathis Testimony at 64:12-15.
200
    Rec. Doc. 752, Park Testimony at 11-12; Rec. Doc. 757, Johnson Testimony at 139-141.

                                                                                   Page 39 of 104

                                                                                           23-30825.30595
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   191 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   40 of 104




Monday morning.201 A NP is on call and stationed on the prison grounds to address any

ATU patients in the evenings Monday through Thursday.202

        The Parties’ experts performed chart reviews of the same 60 patients in evaluating

emergency care at LSP.203 Defendants urge the Court to credit the opinions of their

medical experts, Dr. Mathis and McMunn, over Plaintiffs’ expert, Dr. Susi Vassallo, in

considering whether the deficiencies in emergency care have been remedied.204

Defendants claim that, because Dr. Vassallo has never worked in a correctional setting,

she applied the inapplicable “community standard of care,” consistent with her own Level

I Trauma practice, rather than the lesser standard of care applicable to correctional

settings; thus, her opinions are flawed.205 The Court disagrees.

        First, this Court has already found Dr. Vassallo’s opinion highly credible in the

liability portion of this case.206 Second, the Fifth Circuit and a number of courts within the

Fifth Circuit have accepted Dr. Vassallo’s expertise in medical care in prison systems.207

Finally, there is no evidence in the current record that Dr. Vassallo applied “community

standards of care” when performing chart reviews for the remedy phase trial.208 The Court




201
    Rec. Doc. 752, Park Testimony at 12-23; Rec. Doc. 757, Johnson Testimony at 139-140. Park explained
that she could also be in the nursing unit or doing paperwork, both of which are seconds away from the
ATU. Rec. Dc. 752, Park Testimony at 12.
202
    Rec. Doc. 752, Park Testimony at 13; Rec. Doc. 757, Johnson Testimony at 139-140.
203
    Rec. Doc. 770, pp. 29, 38, 42.
204
    Id.
205
    Id.
206
    Rec. Doc. 594, p. 7.
207
    See Yates v. Collier, 868 F.3d 354, 363-64 (5th Cir. 2017)(“Dr. Vassallo has previously served as an
expert witness in lawsuits challenging prison conditions, and this court has (at least) twice upheld district
court findings that relied heavily on Dr. Vassallo's testimony. See Ball, 792 F.3d at 593–94; Gates, 376 F.3d
at 339–40)); see also Cole v. Collier, 2017 WL 3049540, *9 (S.D. Tex. 2017); Cole v. Livingston, 2016 WL
3258345, *3 (S.D. Tex. 2016); McCollum v. Livingston, 2017 WL 608665, *22 (S.D. Tex. 2017).
208
    Defendants’ reliance on Gumns v. Edwards, No. 20-231, 2020 WL 2510248 at * 11 (M.D. La. May 15,
2020) is inapplicable here. In Gumns, a case challenging LSP’s emergency response to the COVID-19
pandemic, the Court noted that Dr. Vassallo’s testimony that certain care was “medically unreasonable,”
was not evidence of deliberate indifference. Defendants point to no similar testimony in the present case.

                                                                                          Page 40 of 104

                                                                                                 23-30825.30596
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   192 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   41 of 104




finds that Dr. Vassallo credibly concluded that the emergency care provided by LSP

remains constitutionally deficient as a review of the patient charts discussed below

demonstrates.

                                                Patient #38

        Patient #38 was 58 years old and suffered from diabetes, hypertension, COPD,

and had an artificial heart valve.209 In preparation for cataract removal,210 he was admitted

to the nursing unit to transition from his regular anticoagulant to a shorter-acting

anticoagulant drug to address the increased risk of blood clots due to his artificial heart

valve.211 Uncoagulated patients with an artificial heart valve are at significant risk for

serious infection.212

        While in the nursing unit, this patient developed wheezing, a fever, and an elevated

respiratory rate, suggesting a potentially life-threatening infection.213 LSP medical staff

responded by placing this patient in a locked isolation room and prescribed him Tylenol

and an anti-viral drug.214 This patient’s symptoms quickly worsened over the next three

days when he developed bloody sputum, which is cause for concern in an anticoagulated

patient, and his oxygen saturation rates declined to abnormal levels.215

        On his third day in the nursing unit, this patient’s lab results indicated signs of

sepsis, kidney failure, and bacterial infection.216 Recounting the evidence in the medical



209
    PX 1-a, pp. 115-16; JX 38.
210
    JX 38, p. 54. Dr. Vassallo erroneously stated that this patient was preparing for a dental procedure rather
than cataract surgery. Rec. Doc. 749, Vassallo Testimony at 152. This error has no impact on the deliberate
indifference displayed by LSP to this patient’s need for emergency care.
211
    Rec. Doc. 749, Vassallo Testimony at 23.
212
    Id.
213
    Id. at 23-24; JX 38, p. 94.
214
    Id. at 24-25; PX 1-a, p. 115.
215
    Id. at 25:8-26:16; PX 1-a, p. 115; JX 38, pp. 71, 86, 90.
216
    Id. at 26:21-28:13; PX 1-a, p. 115; JX 38, pp. 22-23.

                                                                                           Page 41 of 104

                                                                                                   23-30825.30597
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   193 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   42 of 104




records, Dr. Vassallo testified that, at 6:20 am, “the patient’s blood pressure was 65/40

mm Hg and the oxygen saturation was 79%. This was reported to Dr. Toce, but there is

no record of Dr. Toce conducting any assessment or providing any care. The patient’s

blood pressure and oxygen saturation were both extremely low, indicating that the patient

was in shock and should have been sent to a hospital. Instead, he received no care.”217

        At 7:20 am, the patient was found on the floor of his isolation room; CPR was

started, and he was transferred to the ATU where resuscitation efforts continued. An

ambulance was called at 8 am. As the patient continued to struggle in the ambulance,

the destination was diverted from Our Lady of the Lake Hospital (“OLOL”) in Baton Rouge,

Louisiana to the West Feliciana Hospital just minutes from Angola.218 Patient #38 was

later pronounced dead at the hospital after he suffered a fatal cardiorespiratory arrest

secondary to pneumonia.219

        Shockingly, Dr. Mathis concluded that the care provided to this patient met the

constitutional standard of care.220 Dr. Mathis testified that the patient’s bloody sputum

was “not a danger signal” in a patient with COPD,221 and he found the patient’s labs to be

“nonsignificant.”222 Further, based on the patient’s white blood cell count, Dr. Mathis

found it reasonable for the LSP provider to treat the patient for the flu rather than

pneumonia.223 Defendants maintain this patient’s chart shows a simple difference in

medical opinions rather than deliberate indifference. The Court finds Dr. Mathis’ opinions

uncredible.


217
    PX 1-a, p. 115.
218
    Id.
219
    Rec. Doc. 749, Vassallo Testimony at 30:16-31:19; JX 38, p. 82.
220
    Rec. Doc. 752, Mathis Testimony at 227:6-8.
221
    Id. at 225:5-8.
222
    Id. at 225:15-16.
223
    Id. at 225:23-226:2, 226:16-22.

                                                                          Page 42 of 104

                                                                                23-30825.30598
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   194 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   43 of 104




        The failure to order an x-ray or the failure to prescribe antibiotics could possibly be

argued to reflect what Dr. Mathis calls a difference of medical opinion as to the appropriate

diagnostics, care, or treatment. But the failure to have a health care provider examine this

patient to substantiate a proper course of action is not mere neglect, it is callous

disregard.224 Dr. Vassallo credibly concluded that “[t]his was an egregious example of

delayed care, and this lack of care caused this patient’s death.”225

        The Court is dumbfounded to understand how treating these symptoms as flu can

be justified without so much as a physical examination. No health care provider saw this

seriously ill patient in the days preceding his death. The failure to see and examine this

patient constitutes deliberate indifference at best and more aptly, callous disregard.

                                             Patient #35

        Patient #35 was 56 years old and presented to the ATU with a temperature of

103.2 degrees and confusion.226 Dr. Vassallo opined that this was an emergent situation

indicating a brain infection or severe urinary tract infection.227 Instead of treating this

situation like an emergency, ATU staff transferred this patient to the nursing unit for

observation.228 Although this patient presented to the ATU on a Saturday when a NP was

available, nothing was done for this patient until the following Monday.229

        Dr. Mathis agreed that this patient should have been transferred to the infirmary,

and LSP’s treatment for this patient was below the standard of care.230 When the patient




224
    PX 1-a, p. 116.
225
    Id.
226
    Id. at 118; JX 35, p. 121.
227
    Rec. Doc. 749, Vassallo Testimony at 35:6-16.
228
    Id. at 33:24-25; JX 35, p. 121.
229
    Id. at 33:14-34:13.
230
    Rec. Doc. 753, Mathis Testimony at 13:12-15.

                                                                              Page 43 of 104

                                                                                     23-30825.30599
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   195 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   44 of 104




finally got to a hospital, he was diagnosed with meningitis.231 Without citation to any

evidence, LSP claims the medical provider that handled this situation with Patient #35 is

no longer with LSP. Contrary to its own expert, LSP further claims this incident does not

constitute deliberate indifference. The Court disagrees.

        Patient #35 was a “high-risk patient with an aortic valve replacement, a high fever,

and an altered mental state.”232 The delay in treating this patient with emergent care

demonstrates deliberate indifference.

                                             Patient #36

        Patient #36 was 65 years old with a history of chronic obstructive pulmonary

disease (“COPD”), which had previously required hospitalization.233 He presented to the

ATU gasping, with a significantly elevated respiratory rate and blood pressure, and

complaining of shortness of breath for two days.234 ATU staff appropriately treated him

with a nebulizer and monitoring; however, his conditioned worsened over the next two

hours.235 The patient did not see a provider in the ATU for over two hours; by the time he

was seen, he was unstable and in respiratory distress with poor oxygen levels.236 He was

prescribed a Beta blocker, which increased his respiratory distress.237 Instead of sending

this patient to the hospital, he was sent to the nursing unit where he died from a heart

attack within 30 minutes.238




231
    Rec. Doc. 749, Vassallo Testimony at 35:1-25; JX 35 at 111.
232
    PX 1-a, p. 118.
233
    Rec. Doc. 749, Vassallo Testimony at 36:1-41:21; PX 1-a, p. 116; JX 36, pp. 106-07.
234
    Id. at 36:1-21; PX 1-a, p. 116; JX 36, p. 106.
235
    Id. at 36:22-41:21; PX 1-a, p. 116; JX 36, p. 106.
236
    Id.
237
    Rec. Doc. 749, Vassallo Testimony at 39:19-40:13; JX 36, p. 106.
238
    Id. at 40:13-41:21; PX 1-a, p. 116; JX 36, pp. 106-07.

                                                                                      Page 44 of 104

                                                                                           23-30825.30600
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   196 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   45 of 104




        Again, Defendants chalk this incident up to a difference in medical opinions.239 Dr.

Mathis testified that it was advantageous to send this patient to the nursing unit because

it is “a place to hold somebody where you don't think they really need to be admitted but

they need to be at a higher level of care as possible rather than in their housing unit.”240

Given the speed with which this patient expired, Dr. Vassullo’s opinion that this patient

should have received emergency care after the nebulizer treatment failed is more credible

than that of Dr. Mathis.

        The Court finds that Patient #38’s treatment was below the constitutional standard

of care. The patient was treated in the ATU. The patient worsened despite the treatment.

He was not monitored in the ATU as his condition deteriorated and then, in this

deteriorating state, with a history of ineffective treatment, he was stepped down to the

nursing unit where he died within (30) minutes. The care of this patient constitutes

deliberate indifference to his history of failed treatment and a worsening condition.

                                             Patient #29

        Patient #29 was 28 years old and housed in a segregation unit.241 The records for

this patient showed that he made repeated sick calls but was never given a physical exam

or assessed by a provider.242 On March 27, 2020, he made a SDE request complaining

of stomach and back pain.243 The patient was evaluated by an EMT at 6:40 am and

charged $6.00 with no indication of any treatment.244 That afternoon, approximately eight

hours later, the patient was found collapsed on the floor, foaming at the mouth, with a



239
    Rec. Doc. 770, p. 42.
240
    Rec. Doc. 752, Puisis Testimony at 235:9-13.
241
    Rec. Doc. 749, Vassallo Testimony at 41:23-47:18; PX 1-a, p. 120; JX 29, p. 39.
242
    PX 1-a, p. 120.
243
    Id.
244
    Id.

                                                                                      Page 45 of 104

                                                                                           23-30825.30601
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   197 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   46 of 104




temperature of 108.2 degrees.245           Dr. Vassallo testified this was “obviously a heat

stroke.”246 No attempt was made to cool the patient with ice. Instead, he was catheterized

in an apparent attempt at urine toxicology in the ATU. He died in the ATU at 2:34pm.247

        Defendants do not address the eight hours between the patient’s self-declared

emergency and his demise. They do not explain why this patient was given no physical

exam and did not see a provider. Rather, Defendants ostensibly suggest illicit drug use,

arguing that the patient’s SDE form contains a note, pictured below, that there was a

“burning aroma in his cell.”248 Dr. Vassallo interprets this note as saying “bouncing around

in cell.”249




Neither the observing security officer nor the nurse who made the note testified to this

matter. In any event, treatment of this patient should not have been dismissed based on

an assumption of drug use.

        Relying on Dr. Mathis’ opinion, Defendants maintain that, by the time EMTs arrived

in the patient’s cell, he “was essentially a dead man at that time.”250 Thus, there was no

reason to administer ice to this patient because “there was nothing that could be done.”251

The Court disagrees. The failure to administer ice in an attempt to save a 28-year-old’s

life is the least of the failures. The fact that the persistent complaints of a 28-year-old

went unanswered constitutes deliberate indifference. Moreover, the cavalier response


245
    Id.
246
    Rec. Doc. 749, Vassallo Testimony at 43:10.
247
    PX 1-a, p. 120.
248
    JX 29, p. 37.
249
    Rec. Doc. 749, Vassallo Testimony at 43:8.
250
    Rec. Doc. 770, p. 44; Rec. Doc. 752, Mathis Testimony at 227-228.
251
    Rec. Doc. 770, p. 49.

                                                                             Page 46 of 104

                                                                                   23-30825.30602
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   198 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   47 of 104




that this patient “was a dead man” is evidence of apathy and further evidence of an

attitude of general indifference. Sadly, Patient #29 is yet another example of LSP medical

staff dismissing a SDE.

                                             Patient #25

       Patient #25 was 52 years old suffering with aortic stenosis who, after a fainting

episode, went into cardiac arrest, causing him to fall and hit his head.252 Security staff

failed to use the automatic external defibrillator (“AED”), which the EMT noted on the

ambulance run report.253 When the EMTs arrived, they applied the AED and began CPR;

however, six to ten minutes had passed without defibrillation, and this patient died.254

Although Dr. Mathis declined to agree that a minimum four minute response was required

to meet the standard of care,255 he was presented with both LSP policy and American

Correctional Association (“ACA”) standards, mandating a four-minute response to such

an event.256 The ACA standards state: “(MANDATORY) All health care staff in the facility

are trained in the implementation of the facility’s emergency plans. Health care staff are

included in facility’s emergency drills, as applicable.”257 Likewise, LSP Directive 13.007

requires that “All employees of Louisiana State Penitentiary shall be trained to respond

to health-related situations within a four-minute response time.”258

       Dr. Vassallo credibly concluded that this patient’s death was preventable had AED

been applied within four minutes, as required by LSP and the ACA. Defendants offered


252
    Rec. Doc. 749, Vassallo Testimony at 47:20-50:20; PX 1-a, pp. 120-21; JX 25, pp. 31-34.
253
    Rec. Doc. 749, Vassallo Testimony at 50:21-52:8 (“It’s very unusual to write when something was not
done that should have been done, so somebody was a little mad about it.”); PX 1-a, p. 120; JX 25, p. 31.
254
    Rec. Doc. 749, Vassallo Testimony at 50:21-51:20, 113:9-16.
255
    Rec. Doc. 753, Mathis Testimony at 60:1-61:17.
256
    See DX 11, p. 29; PX 21-y, p. 2. LSP contends the ACA standards are the relevant national standards
as opposed to the more rigorous NCCHC standards advocated by Plaintiffs.
257
    Id.
258
    PX 21-y, p. 2.

                                                                                     Page 47 of 104

                                                                                             23-30825.30603
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   199 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   48 of 104




no response to the failure to administer the AED within four minutes. The emergency

response to Patient #25 was below the standard of care and evidence of deliberate

indifference. LSP’s cavalier dismissal of a four-minute response time mandated by its

own policy underscores a pervasive ethic of indifference and callous disregard.

                                               Patient #55

        Patient #55 is 54 years old and suffers from a history of strokes who, on February

3, 2021, presented to the ATU with hypertension. The assessment was noncompliance

with medications.259 On February 4, 2021, an ambulance was called to this patient’s

housing unit because he “just started drooling and slumped to the side.”260 Dr. Vassallo

testified that these symptoms are indicative of stroke.261 Although he should have been

taken to a hospital, he was not even examined by a provider; rather, he was kept in the

ATU for four hours with only telephone orders from Dr. Lavespere. He was discharged

to his room although his status was unchanged.262 The patient was sent to West Feliciana

Hospital the next morning for a CT scan, some 17 hours after symptom onset, by which

time he was unable to walk and was having focal seizures.263 Dr. Vassallo explained that

sending this patient to West Feliciana Hospital for a CT scan was below the standard of

care because this test cannot exclude an ischemic stroke.264 The hospital radiologist

advised LSP that this patient needed an MRI, but he was never referred for one, and

there is no record that any follow-up of this patient ever took place.265




259
    PX 1-a, p. 113.
260
    Id.; JX 55, p. 63.
261
    Rec. Doc. 749, Vassallo Testimony at 58:24-25.
262
    Id. at 59:1-60:11; PX 1-a, p. 113; JX 55, p. 64.
263
    Id. at 60:16-61:21; PX 1-a, p. 113; JX 55, pp. 57, 61.
264
    Id. at 62:2-21; PX 1-a, p. 113; JX 55, p. 60.
265
    Id. at 63:15-64:15; 67:8-68:15; PX 1-a, p. 113; JX 55, pp. 56, 59.

                                                                            Page 48 of 104

                                                                                  23-30825.30604
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   200 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   49 of 104




        On March 17, 2021, this patient presented with an inability to walk and urinary

incontinence.266 Despite these symptoms, NP Bordelon erroneously noted that there were

no “signs and symptoms of a new stroke.”267 Rather than refer this patient for an MRI,

Bordelon issued a telephone order and sent him back to his quarters with instructions for

a follow-up appointment.268

        On April 26, 2021, an ambulance was called for this patient after he presented with

slurred speech and a numb mouth.269 The patient was taken to the ATU and, based on

suspicion of a stroke, he was sent to OLOL about an hour later.270 At the hospital, it was

determined that this patient was a level one stroke alert, and his MRI showed an acute

stroke; the patient was ultimately left “with a devastating inability to speak properly” and

“dysphasia, difficulty swallowing.”271

        McMunn determined that the response treatment for this patient’s symptoms met

the standard of care.272        However, there is no explanation by Defendants why the

radiologist’s recommendation for an MRI was not followed. Defendants claim that the CT

scan performed at West Feliciana Hospital indicated “no acute intracranial

abnormality,”273 but they ignore that LSP was told that a CT was diagnostically useless

for an ischemic stroke. McMunn admitted he was not qualified to opine on this issue:

        Q       Let me go back to the CT scan. There was some criticism by Dr.
                Vassallo -- JX_55.0060 -- that this should have been a different type
                of CT scan. All right? Do you have any opinions on that?



266
    PX 1-a, p. 113; JX 55, p. 54.
267
    Rec. Doc. 749, Vassallo Testimony at 64:16-67:7; PX 1-a, p. 113; JX 55, p. 54.
268
    Id. at 64:16-67:7; PX 1-a, p. 113; JX 55, p. 54.
269
    JX 55, p. 450.
270
    PX 1-a, p. 113.
271
    Rec. Doc. 749, Vassallo Testimony at 68:19-70:5; PX 1-a, pp. 113-14; JX 55, p. 450.
272
    Rec. Doc. 756, McMunn Testimony at 64; DX 35-b, p. 99.
273
    JX 55, p. 60.

                                                                                      Page 49 of 104

                                                                                           23-30825.30605
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   201 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   50 of 104




        A       I -- I'd say as a non-neurologist that I probably shouldn't have an
                opinion one way or the other, other than he ordered what he felt like
                was helpful.274

        Dr. Vassallo’s opinion regarding Patient #55 was not credibly rebutted. Moreover,

it is not as simple as whether Patient #55 was timely transported to the hospital on April

26, 2021; rather, the question is whether LSP appropriately responded to multiple

presentations of stroke symptoms by this patient. Bordelon’s note of “no new signs or

symptoms of a stroke,” when this patient presented with an inability to walk and urinary

incontinence, was egregious. Dr. Vassallo credibly concluded that “the provider either

did not examine the patient or doesn’t know anything about how to recognize a stroke.

That’s absurd.”275 The emergency response to this patient was below the constitutional

standard of care and evidence of deliberate indifference.

                                              Patient #6

        Patient #6 was 50 years old at the time of his death on May 3, 2021.276 In the last

two weeks of his life, he made at least seven separate requests for medical attention for

escalating back pain, yet no provider ever examined his back.277 By his last request, he

was incontinent and unable to get out of bed, which Dr. Mathis acknowledged could be a

red-flag for cord compression, requiring evaluation by a doctor.278 On five occasions

during his last two weeks, providers ordered no transport to the ATU and declined to see

him.279 Plaintiffs’ experts credibly concluded that Patient #6 “should have been




274
    Rec. Doc. 756, McMunn Testimony at 64:15-22.
275
    Rec. Doc. 749, Vassallo Testimony at 151:13-15.
276
    PX 1-a, pp. 60-61; Rec. Doc. 753, Mathis Testimony at 35:4-47:16; JX 6.
277
    PX 1-a, pp. 60-61; Rec. Doc. 753, Mathis Testimony at 35:18-44:18; JX 6, pp. 35-37, 54-59, 61.
278
    Rec. Doc. 753, Mathis Testimony at 34:6-12.
279
    PX 1-a, pp. 60-61; Rec. Doc. 753, Mathis Testimony at 35:18-44:18; JX 6, pp. 35-37, 54-59, 61.

                                                                                      Page 50 of 104

                                                                                              23-30825.30606
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   202 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   51 of 104




transported to a hospital or had immediate higher-level imaging studies . . . Instead, the

patient was managed by medics and treated indifferently by providers.”280

        On May 3, 2021, at 5:11 pm, medics evaluated the patient as he was unable to get

up and had urinated on himself.281 The patient did not have wheelchair access to a

shower, so he was lying on a mattress near the shower; when medics moved him, he

yelled out in pain.282 At this point, a doctor was called in to see the patient, and he

prescribed a pain injection and steroids.283                 At 7:43 pm, the patient was found

unresponsive and moved to the ATU, where he was pronounced dead at 8:25 pm.284

        The patient’s autopsy showed that his cause of death was a large liver abscess

with bloodstream spread of the infection to the spinal cord which resulted in cord

compression.285 Dr. Mathis concluded that LSP was not at fault for this patient’s death

because he had recently resumed self-cutting.286

        Plaintiffs’ experts concluded that:

        Care of this patient was incompetent and indifferent to his serious medical
        needs. The patient had escalating symptoms all of which should have
        included provider evaluation and imaging. Symptoms progressed to red-flag
        symptoms by 4/27/21 or 4/30/21 and the patient should have been
        transported to a hospital or had immediate higher-level imaging studies as
        these studies were unavailable onsite … The infection could have been
        recognized earlier with higher-level diagnostic testing and his death may
        have been prevented with earlier treatment.287

        Dr. Toce’s caustic response to this patient’s care highlights the underlying

indifference to all patients’ medical needs at LSP. He testified in a deposition that: “you


280
    PX 1-a, p. 61.
281
    Id.
282
    Id.
283
    Id.
284
    Id.
285
    Id.
286
    Rec. Doc. 753, Mathis Testimony at 45:9-13.
287
    PX 1-a, p. 61 (quoting JX 71-b, Paul Toce Dep. at 23).

                                                                                Page 51 of 104

                                                                                      23-30825.30607
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   203 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   52 of 104




know, this is entirely consistent with manipulative behavior that we see so frequently.”288

Later, he added, “but with this ongoing picture and him unable to really get to the

bathroom, I’m concerned that it’s a bit more serious. Might need to take lab or x-rays or

something on him.”289

       The care and treatment provided to Patient #6 was woefully deficient, and Dr.

Toce’s testimony demonstrates a callous disregard of medical symptoms. The

predisposition to attribute serious medical conditions to malingering or manipulation is

unacceptable, and the Court finds that the lack of emergency care provided to this patient

fell far below the constitutional standard of care.

       E. Infirmary/Inpatient Care

15.    The Court previously held that infirmary and inpatient care at LSP was below the

constitutional standard of care because LSP failed to provide adequate, qualified staff in

infirmary/inpatient care.290 The evidence at the remedy trial established that an

appropriate number of qualified, adequate staff remains lacking in the infirmary, and

inmate orderlies are still utilized to provide care beyond the scope of the medically

accepted use of orderlies.

       LSP claims to have increased the ratio of nurses to patients in the nursing units

with one registered nurse for every ten patients in acute care (NU1) and one registered

nurse for every 15 patients in long-term care (NU2);291 Dr. Lavespere testified in March

2022 that this ratio “depends on the census” and “there’s a very strong effort” to achieve




288
    Id.
289
    Id.
290
    Rec. Doc. 594, p. 120.
291
    Rec. Doc. 752, Park Testimony at 22:16-21; Rec. Doc. 757, Johnson Testimony at 147, 150-51.

                                                                                    Page 52 of 104

                                                                                           23-30825.30608
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   204 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   53 of 104




these ratios.”292 Dr. Toce testified of these staffing ratios, “Look, that’s a goal okay. That

change is how we would really like to run the units, and most of the time, we can put that

together. It does happen like that. It is still a bit of a struggle, because people call-in last-

minute sick, and people get sick, and I think we still have an issue with understaffing.”293

While the Court commends efforts to improve staffing levels, the evidence discussed

below shows that constitutional inadequacies in infirmary care persist.

        LSP presented evidence that it addressed the issue of patients being in locked

rooms by installing a red call light outside the door of these rooms with an activation

switch located at the patient’s bedside.294 Paralyzed patients are still inexplicably placed

in locked rooms, but now appear to be positioned within reach of the call light switch.295

Evidence shows that the nursing units are clean and not in disarray.296 NP Cynthia Park

(“Park”) testified that she rounds in NU1 on Friday and Saturday mornings, and she

rounds in NU2 every other Saturday morning.297

        Despite the call lights installed outside of locked rooms, evidence shows that

patients continue to be outside of sight or sound of nurses due to the positioning of nurses

and black coverings over windows.298 In NU2, lockers placed in the open bay area block

the line of sight between patients and the nursing station, and patients in the open bay



292
    JX 69-a, Lavespere Depo. at 141:12-25.
293
    JX 71-a, Toce Depo at 86:5-12.
294
    Rec. Doc. 752, Park Testimony at 21-25; Rec. Doc. 756, McMunn Testimony at 26; DX 46, pp. 173, 175;
DX 46, p. 130.
295
    Rec. Doc. 752, Park Testimony at 24.
296
    DX 35-c, pp. 34–44.
297
    Rec. Doc. 752, Park Testimony at 10-11.
298
    PX 1-a, p. 100: “The nursing station in Nursing Unit 1 has black coverings over the windows prohibiting
nursing staff from visualizing the patients without standing up. Although there are call light mounted above
the locked cells, patients in open bay area cannot be seen by the staff when they are sitting, nor do they
have a call light to summon the nurse.” Additionally, “[i]nmates reported that a few days before the team
toured the facility on April 6-8, 2022, the paper was removed, and it was placed back up after the tour of
the facility concluded.” Id. Plaintiffs’ experts detailed specific examples of this problem. Id. at 101.

                                                                                         Page 53 of 104

                                                                                                23-30825.30609
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   205 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   54 of 104




area have no way to summon a nurse. Patients in this area reported they must get the

attention of an orderly and ask for a nurse.299

        During the three days Plaintiffs’ experts toured LSP, multiple team members

observed NU1 and NU2 on multiple occasions, and they reported that they never

observed a nurse rounding patients even though infirmary nurses document that rounds

are done every two hours, whether the patient is sleeping or awake.300 Multiple inmates

reported to Plaintiffs’ expert team that nurses remained seated in the nurses’ station and

relied on inmate orderlies to provide care.301

        No “head-to-toe” physical assessment of a patient by nursing staff, as required by

LSP policies, was observed during this tour. Nurses were primarily observed sitting in the

nurses’ station or administering medications.302 Infirmary forms are inadequate as they

fail to provide a space for date and time, and vital sign flowsheets do not allow for

documentation of the time vitals were taken.303 “Pre-printed nursing care plans are not

specific to correctional health care space and include interventions more in line with

community nursing, e.g., contact the home health nurse.”304

        Additionally, the LSP infirmary fails to provide adequate equipment and supplies

for effective patient care. Plaintiffs’ experts observed several instances where patients

were not timely provided crutches, walkers, or bedside commodes until after patient injury

had occurred.305 A particularly cruel and egregious example of this problem involves




299
    Id.
300
    PX 1-a, p. 104.
301
    Id.
302
    Id. at 106.
303
    Id. at 107.
304
    Id.
305
    Id.

                                                                          Page 54 of 104

                                                                                23-30825.30610
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   206 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   55 of 104




Patient #50, a 35-year-old paraplegic who requires a catheter to empty his bladder.306 He

was forced to reuse single-use catheters for weeks at a time, leading to repeated urinary

tract infections.307 This patient reported to Goehring that he sought more catheters from

Nurse Parks, but she advised him they were not budgeted to use clean catheters each

time so he must re-use.308 Goehring credibly concluded that “[r]euse of single use

medical supplies is dangerous and does not meet minimal standards of care.”309

                                        Inmate Orderlies

       While LSP maintains its inmate orderly program is improved, evidence

demonstrates that “[o]rderlies are utilized the same today as they were at the close of

liability discovery.”310 Currently, LSP utilizes three to four inmate orderlies on every shift

in the infirmary.311 LSP claims these orderlies assist patients with activities of daily living

like handing out food trays, feeding patients who cannot feed themselves, cleaning

incontinent patients, turning patients to prevent skin breakdown, and bathing patients.312

NP Parks testified that inmate orderlies do not perform wound care, dispense

medications, or administer insulin.313

       Nurse Jennifer Stickells (“Stickells”) is responsible for training inmate orderlies.314

She testified that inmate orderlies are supervised by both security staff and nurses; Park

testified that nurses monitor orderlies and guide and direct them as necessary.315



306
    Rec. Doc. 755, Goehring Testimony at 42:19-52:9; PX 1-a, pp. 102, 104-06; JX 50.
307
    Rec. Doc. 755, Goehring Testimony at 51:6-22; PX 1-c, p. 320; PX 1-a, p.106.
308
    Rec. Doc. 755, Goehring Testimony at 52:4-9.
309
    PX 1-a, p. 106.
310
    PX 44-d at 04, Response to ROG No. 16.
311
    Rec. Doc. 752, Park Testimony at 23:2.
312
    Rec. Doc. 752, Park Testimony at 26-28, 110, 187; Rec. Doc. 756, McMunn Testimony at 29:12-14.
313
    Rec. Doc. 752, Park Testimony at 29-30, 110.
314
    Rec. Doc. 757, Stickells Testimony at 20.
315
    Id. at 29:20-22; Rec. Doc. 752, Park Testimony at 29.

                                                                                   Page 55 of 104

                                                                                          23-30825.30611
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   207 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   56 of 104




Candidates for the inmate orderly job are screened for disciplinary issues and vetted for

eligibility.316 The training of inmate orderlies has increased since 2019, and Stickells

testified that this training takes place over five days, and the orderlies are given lectures

on ethics, neglect, abuse, transfer of patients, body mechanics, and communication with

patients.317 The final day of training involves hands-on training where Stickells brings

orderlies into the nursing unit and works with them throughout the day.318 Stickells makes

rounds to ensures that the orderlies are following the training.319

        At first glance, this training procedure appears robust; however, Defendants’ own

witnesses testified that LSP’s training practices have not changed since the liability phase

and acknowledged that this training had not occurred for at least three years, until right

before trial.320 The following evidence reflects the inadequacy of orderly training.

        Trial evidence demonstrates that inmate orderlies continue to perform tasks

outside the scope of their appropriate use. Defendants’ own inmate orderly witnesses

testified to this. Bruce Hines testified that, although he has worked as a health care orderly

for the past three years, he completed his first training class at LSP “three or four” days

before he was deposed on March 30, 2022, mere weeks before the discovery cutoff.321

He testified that the orderlies “are the ones that are going to be more hands-on than the

nurses[,]” and “it seems like I’m doing their job as well.”322 He also testified that nurses

often fail to follow up with patients he has flagged as having an issue, like a bloody



316
    Rec. Doc. 752, Park Testimony at 29.
317
    Id. at 23; DX, p. 47.
318
    Id. at 23-24, 27.
319
    Id. at 27.
320
    JX 72-a, Falgout Depo. at 24:9-12; Rec. Doc. 757, Stickells Testimony at 41:22-42:24, 43:14-17.
321
    JX 75-a, Hines Depo. at 6:10-11, 7:24-9:12, 34:25-35:4. Jennifer Stickells admitted that she had orderlies
working that did not have proof of their certification. Rec. Doc. 757, Stickells Testimony at 44:9-12.
322
    JX 75-a, Hines Depo. at 10:9-11:2, 18:2-10.

                                                                                          Page 56 of 104

                                                                                                  23-30825.30612
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   208 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   57 of 104




stool.323 Similarly, Donald Murray testified that the orderlies “fill the gaps in” for the nurses

and are very important because “by it being a shortage of nurses, they couldn’t do all that

work that needs to be done.”324

       Further, Plaintiffs’ experts observed inmate orderlies in the infirmary provide direct

patient care, including routinely performing wound care, handling patient lab reports, and

taking x-rays.325 Orderlies were also observed emptying catheters, clearing catheter

supplies, and changing oxygen tanks.326 Patient #50 and Patient #67 reported that

inmate orderlies sometimes performed wound care: Patient #50 stated that he prefers the

orderlies do it because he believes they do it better than nurses.327 As the Court held

previously, inmate orderlies can assist with activities of daily living, but the evidence

shows far more being handled by orderlies than appropriate under either NCCHC or ACA

standards. In many instances, the orderlies are performing tasks that should only be

performed by medical staff.328

       The most egregious example of both substandard infirmary care and inmate

orderlies providing direct medical care to patients is Patient #22. Patient # 22 was 60

years old and suffered with left-sided weakness due to a traumatic brain injury.329 After

being assaulted by a cellmate in May 2020, this patient suffered head and leg injuries that

affected his ability to walk and eat; his ankle was surgically repaired, and a hospital




323
    Id. at 33:14-34:11.
324
    JX 76-a, Murray Depo. at 5:18-21, 17:14-22, 23:23-25.
325
    PX 1-a, pp. 11-12, 101-04; PX 1-d, p. 19; Rec. Doc. 751, Goehring Testimony at 75:7-76:7; Rec. Doc.
755, Goehring Testimony at 58:24-59:6, 62:13-63:21; Rec. Doc 748, LaMarre Testimony at 176:17-177:1;
see also Rec. Doc. 594, p. 90.
326
    PX 1-a, p. 101.
327
    Id. at 102.
328
    See generally PX 1-a, pp. 100-104.
329
    Rec. Doc. 755, Goehring Testimony at 26:16-42:18; PX 1-a, pp. 11, 103; PX 1-c, pp. 258-286; JX 22.

                                                                                     Page 57 of 104

                                                                                            23-30825.30613
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   209 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   58 of 104




speech pathologist recommended a mechanical soft diet and that he be fed upright, both

because he had no teeth and because he was unable to use utensils with his left hand.330

       After his discharge from the hospital, Patient #22 was placed in NU1, where he

was not immediately assessed, and he was not placed on the recommended diet.331 Over

the next two and a half months, he suffered at least nine falls, yet, instead of moving him

to a room where he could be more closely monitored and/or safety measures like bed

rails could be utilized, this patient was placed in a locked room with nothing but a mattress

on the floor.332 A doctor ordered a bedside toilet so he did not have to ambulate to the

restroom; however, he was not provided a bucket to catch waste for three days.333

       The failure to provide the patient with the mechanical soft diet and feeding

assistance led to this patient’s death; he was forced to feed himself regular food in a

locked room in the infirmary.334 On January 6, 2021, this patient choked on a piece of

sausage and died when the airway obstruction resulted in cardiopulmonary arrest.335 An

inmate orderly administered CPR until EMS arrived.336

       McMunn flippantly explains away Patient #22’s death by choking and inexplicably

concludes that the care provided to this patient met the standard of care.337 Defendants

utterly ignore the fact that an inmate orderly administered CPR to this patient, not infirmary

staff, and no AED was applied.




330
    Rec. Doc. 755, Goehring Testimony at 27:10-29:11; JX 22, p. 674.
331
    Rec. Doc. 755, Goehring Testimony at 29:13-17.
332
    Id. at 34:4-35:13; JX 22, p. 954.
333
    Id. at 35:23-36:23.
334
    Id. at 38:18-39:10, 41:13-42:14.
335
    Id. at 41:13-42:14; JX 22, pp. 900-01.
336
    Id.; JX 22, p. 547.
337
    Rec. Doc. 756, McMunn Testimony at 66:4-13.

                                                                             Page 58 of 104

                                                                                    23-30825.30614
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   210 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   59 of 104




        Considering the evidence discussed above, the Court finds the barriers to sight

and sound between patients and nurses, coupled with admitted staffing shortages and

the resulting improper use of inmate orderlies, demonstrates unconstitutionally deficient

infirmary care.

        F. Medical Leadership and Organization

16.     The Court previously found that the combination of inadequacies in the following

areas of medical leadership and organization at LSP contributed to an unconstitutional

system of healthcare: (a) lack of meaningful mortality review; (b) use of correctional

personnel to manage medical decisions; (c) lack of peer review; (d) lack of medical staff

involvement in budgeting; (e) lack of medical supervision by the medical director (Dr.

Lavespere and now Dr. Toce); and (f) failure to maintain proper credentialing records.338

Based on the evidence presented at the remedy trial, the Court finds that none of these

inadequacies have been remedied. This is unsurprising since, although the Court found

in its liability ruling that, “[t]he buck stopped with Dr. Lavespere, and his medical

supervision and quality review was woefully inadequate,” he was promoted by

Defendants and given even greater oversight and responsibility for all DOC medical.339

                               Medical Leadership and Supervision

        In August 2020, LSP hired Dr. Jacob Johnson (“Dr. Johnson”) as long-term

healthcare administrator; the Court finds that Dr. Johnson has the training and experience

necessary for this position, and that this hiring is a positive development for LSP.340




338
    For ease of discussion, the Court will address these issues in a slightly different order than as held in
the liability ruling.
339
    Rec. Doc. 594, p. 40.
340
    Rec. Doc. 750, Puisis Testimony at 145:4-10.

                                                                                          Page 59 of 104

                                                                                                 23-30825.30615
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   211 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   60 of 104




Without citation to supporting evidence, Defendants contend that “[t]he hiring of Dr.

Johnson has significantly improved the medical leadership and organization.”341

       LSP also recently appointed LPN Oliveaux to Deputy Warden, and as part of her

duties, she oversees medical operations at LSP.342 Oliveaux previously worked in the

clinic at LSP; Dr. Johnson currently reports directly to Oliveaux.343 She testified that she

ensures that Dr. Johnson “has what he needs for our medical department to run.”344

Oliveaux and Dr. Johnson meet regularly to discuss how to “make sure [they] provide

efficient healthcare for [LSP’s] offender population.”345 Again, Defendants claim that the

promotion of Oliveaux “has improved operations and provides a protective barrier

between security and medical staff.”346 Notably, as an LPN, Oliveaux has less medical

training than her predecessor Tracy Falgout, an RN.347

       Dr. Lavespere, of whom the Court was very critical in its liability ruling, was

promoted to statewide Medical Director, and Dr. Toce, a physician at LSP during the

liability period, was promoted to LSP’s Medical Director.348 Neither Dr. Lavespere nor Dr.

Toce testified at the remedy trial, but both gave trial depositions. NP Park, who believes

the medical staff culture at LSP is “great,” testified that the work culture has not changed

since Dr. Toce took over, and no real changes have taken place.”349

       Defendants offered evidence of purported improvement in medical leadership. Dr.

Johnson maintains a weekly backlog tracker, which allows him to identify any health care


341
    Rec. Doc. 770, p. 56.
342
    Rec. Doc. 757, Oliveaux Testimony at 55.
343
    Id. at 55:14-19.
344
    Id. at 55:22-24.
345
    Id. at 55:24-56:5.
346
    Rec. Doc. 770, p. 56.
347
    Rec. Doc. 757, Oliveaux Testimony at 53:11-12; Rec. Doc. 757, Johnson Testimony 186:19-21.
348
    PX 44-c, p. 8, Response to ROG No. 10; PX 1-a, p. 15.
349
    Rec. Doc. 752, Park Testimony at 66:8-22.

                                                                                   Page 60 of 104

                                                                                          23-30825.30616
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   212 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   61 of 104




issues and develop a quick response.350 Dr. Johnson and Dr. Toce conduct morning

meetings on Monday through Friday with medical staff to discuss the status of patients in

NU1 and NU2, patients in the ATU, and patients in outside hospitals.351

        However, the overwhelming evidence demonstrates that these improvements

have not remedied the constitutional deficiencies identified by the Court. The form has

not improved the function. Dr. Toce testified that he wishes he had more time to spend

with the LSP nursing staff, but his administrative duties are overwhelming.352 Dr. Puisis

credibly concuded that:

        Dr. Toce is the only full-time physician at the facility with two physician
        vacancies. There is no Assistant Medical Director position and no one to
        assist him with supervisory responsibilities. In our opinion, due to physician
        understaffing, Dr. Toce is not able to meet all his supervisory duties,
        especially with respect to the quality of clinical care. Nurse practitioners are
        providing almost all clinical care with no evidence of supervision or
        collaboration with a physician.353

        While the Court finds that Dr. Johnson is a good addition to LSP’s leadership team,

the evidence shows that his presence has had little impact on the delivery of medical care

at LSP. In fact, there is no evidence that either Oliveaux or Dr. Johnson have significantly

impacted the medical care provided by LSP.

        Dr. Johnson acknowledged difficulties in changing the LSP culture to be more

patient centered.354 However, in his deposition, he “appeared unaware that he frequently

received nearly blank monthly management reports from several departments—which he



350
    DX 48-a; Rec. Doc. 757, Johnson Testimony at 159:7-17.
351
    Rec. Doc. 757, Oliveaux Testimony at 68:16-70:10.
352
    JX 71-a, Toce Depo. at 46:1-12.
353
    PX 1-a, p. 15 (quoting JX 71-a, Toce Depo. at 46:4-10: “I don’t think I’m involved enough with them. I
want to spend more time in the trenches with them, and the administrative duties just keep coming. I could
stay locked in my office all day long doing just administrative work and never even see them, but that would
not be – that would not work.”).
354
    Rec. Doc. 757, Johnson Testimony at 180:14-181:5.

                                                                                         Page 61 of 104

                                                                                                23-30825.30617
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   213 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   62 of 104




admitted reflects a ‘lack of oversight and a lack of leadership’ in the departments he

supervises.”355 This was confirmed during Dr. Johnson’s trial testimony.356

        Evidence also suggests the medical leadership at LSP has dismissed the Court’s

liability findings. Dr. Toce disagreed with several of the Court’s liability findings,357 and

Dr. Johnson had no memory of having read the Court’s liability ruling.358

        Dr. Lavespere identified very few changes to LSP policy since the liability ruling:

        Dr. Lavespere acknowledged that DOC and LSP largely had not updated
        its policies in ways that impacted the overall delivery of care. Asked about
        11 DOC policies and 19 LSP directives, the only changes that he identified
        as potentially impacting patient care were changes to the sick call policy;
        the peer review policy (which has not yet been implemented at LSP); the
        infirmary care policy (where the change was only to the amount of time and
        documentation required for some patients, and didn’t “change[] a whole lot
        of health care”); and the replacement of standing orders with “individual
        treatment orders” in the ATU. He also noted that changes to ATU staffing
        were not reflected in the policy.359

        Accordingly, the Court finds that the medical leadership and organization at LSP

has not been significantly remedied such that constitutional deficiencies no longer exist.

The lack of leadership, supervision, and organization, discussed further below, is the sin

qua non to the unconstitutional care.




355
    PX 1-a, pp. 114-15 (quoting DX 37-k, Johnson Dep.).
356
    Rec. Doc. 757, Johnson Testimony at 210:24-215:24, 216:23-225:19; see, e.g., 222:2-20 (blank reports
from the nursing units); 224:7-10 (respiratory care); 224:11-13 (laboratory); 224:14-16 (central supply);
224:17-20 (health information management); 224:21-24 (quality improvement and ADA); compare, e.g., PX
29-a, p. 617 with Liability Trial JX 2-a, p. 222; see generally PX 29-a; PX 29-b.
357
    JX 71-a, Toce Depo. at 9-26.
358
    DX 37-k, Johnson Depo at 7.
359
    PX 1-a, p. 13 (quoting JX 69-a, Lavespere Depo. at 51:11-19).

                                                                                      Page 62 of 104

                                                                                              23-30825.30618
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   214 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   63 of 104




                         Mortality Review/Quality Improvement (“QI”)360

        Without reference to supporting evidence, Defendants claim that LSP began

conducting mortality reviews in late 2021;361 the trial evidence undermines this claim and,

rather, reveals that LSP’s mortality review process is essentially unchanged from 2016.362

Dr. Lavespere testified that mortality reviews had improved from quarterly meetings to

monthly meetings and that more medical staff is “at the table” during mortality reviews,

but LSP still has no specific mortality review policy.363 Although LSP Policy HCP6 makes

cursory reference to “[a] review of all in-custody deaths,” the policy is devoid of review

criteria.364

        Dr. Puisis credibly testified that mortality review must “be a critical review to identify

deficiencies, and then, from those deficiencies, to identify opportunities to improve

them.”365 However, LSP’s mortality reviews contain “no critical analysis, so there’s no

critical review; there’s no identification of the deficiencies.”366 Not a single review contains

identification of anything in the patient’s care that could have been improved, even where

fatal errors occurred.367

        At the time of the remedy trial, LSP had conducted four mortality review meetings

since January 2021; these meetings occurred on October 2021, November 2021,



360
    Tellingly, Defendants failed to respond in their Reply to any evidence identified by Plaintiffs regarding
deficient mortality review.
361
    Rec. Doc. 770, p. 57. Defendants also state, without citation to evidence, that DOC headquarters also
perform mortality reviews. Id.
362
    PX 1-a, pp. 14, 25-26; Rec. Doc. 750, Puisis Testimony at 127:18-130:24, 134:17-135:5.
363
    JX 69-a, Lavespere Depo. at 203-204.
364
    PX 1-a, p. 26 (quoting Health Care Staffing and Staff Development, Peer Review, Internal Review, and
Quality Assurance dated 12 July 2020).
365
    Rec. Doc. 750, Puisis Testimony at 127:20-22.
366
    Id. at 128:19-21; see generally PX 1-a, pp. 25-31.
367
    Rec. Doc. 750, Puisis Testimony at 66:8-68:19, 74:9-23, 78:7-22, 107:1-14 (describing mortality reviews
for Patients #5 & 8); Rec. Doc. 749, Vassallo Testimony at 31:20-24 (Patient #38); PX 1-a, pp. 27-30
(Patients #1 & #5).

                                                                                         Page 63 of 104

                                                                                                 23-30825.30619
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   215 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   64 of 104




February 2022, and March 2022. These meetings included Dr. Toce, Dr. Johnson, the

Warden, EMS, nursing, medical, and security staff. Minutes from these meetings were

provided to Plaintiffs’ experts.368 Plaintiffs’ experts observed: “The minutes do not discuss

the deaths critically. Neither do those meeting minutes identify any opportunities for

improvement or corrective actions that might be taken to improve. In the four monthly

mortality meeting minutes that were provided, twenty-six deaths were discussed. Not a

single opportunity for improvement was identified.”369 Dr. Lavespere was asked in his

trial deposition if he was aware of any corrective actions taken as a result of mortality

reviews; he testified that he was aware of none.370

        Even Dr. Mathis criticized LSP’s mortality review. He agreed that LSP’s mortality

reviews were not “particularly critical,” did not document any problems in patient care that

should be corrected, did not document standard of care violations that Dr. Mathis himself

identified, and were generally inadequate.371

        Based on the trial evidence, the Court finds that no significant changes have been

made to LSP’s mortality review process, and the process persists in failing to identify and

correct necessary issues. LSP offered no countervailing evidence. Meaningful mortality

review is a tool for improving medical care. It is an opportunity which is being squandered

by the medical leadership. The Court finds that inadequate mortality review at LSP

contributes to an unconstitutional system of healthcare.

                          Inappropriate Use of Correctional Personnel

        The Court previously held:


368
    PX 1-a, pp. 26-27 (citation omitted).
369
    Id. at 27.
370
    JX 69-a, Lavespere Depo. at 204:8-18.
371
    Rec. Doc. 753, Mathis Testimony at 78:9-79:6.

                                                                            Page 64 of 104

                                                                                   23-30825.30620
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   216 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   65 of 104




       As evidenced by the malingering policy, the medical department at LSP is
       controlled by LSP security rather than medical care providers. Both
       Plaintiffs’ and Defendants’ experts agreed that this organizational hierarchy,
       under which the medical department reports to security, is not working.
       Moreover, orderlies and EMTS also report to the security chain of command
       for supervision, and correctional officers supervise the delivery of
       medications by other correctional officers. Dr. Lavespere admitted that
       security personnel - not medical personnel - are tasked with the initial
       assessment of whether an inmate is “really sick” when they purport to have
       a medical emergency. Additionally, the Assistant Warden makes resource-
       allocation decisions such as when nurses are required for pill call. The
       Court finds that this system where health care decisions are largely made
       by security rather than qualified health care providers is unconstitutional.372

       Defendants’ only statement regarding security’s role in medical decisions at LSP

is that promoting Deputy Warden Oliveaux, who reports directly to Warden Timothy

Hooper, “provides a protective barrier between security and medical staff at LSP.”373

Notably, Dr. Johnson reports directly to Oliveaux, who is in the custody chain of

command.374

       Although now a shared duty with nurses, security staff continues to supervise

inmate orderlies.375 Additionally, it appears that Dr. Toce still defers to security’s opinion

regarding the need for restraints. Although Dr. Toce testified that he has “the last say” on

the use of black box restraints for medical transport, he also admitted that “unless they

have a really good reason, you don’t let them out of appropriate restraints.”376 There

remains an inappropriate deference to and reliance upon security opinions in medical

decisions.




372
    Rec. Doc. 594, p. 30 (footnotes omitted).
373
    Rec. Doc. 770, p. 51.
374
    Rec. Doc. 750, Puisis Testimony at 145:18-149:21.
375
    Rec. Doc. 757, Stickells Testimony at 29:22.
376
    JX 71-a, Toce Depo. at 134:18-20.

                                                                             Page 65 of 104

                                                                                    23-30825.30621
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   217 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   66 of 104




                                    Peer Review/Quality Control

        The Court previously held there was a lack of necessary peer review at LSP.377

As of the date of remedy trial, Dr. Puisis concluded that LSP’s peer review failed to: (a)

evaluate individual providers’ clinical work,378 (b) consider a sufficient sample of records,

and (c) address whether patients who need specialty care are actually referred.379 These

failures caused repeated errors that contributed to the risk of serious harm to patients. 380

And, although the DOC changed its department-wide peer review policy in 2020 to

increase the number of records reviewed, LSP did not follow suit.381 Dr. Mathis provided

no opinions regarding LSP’s peer review.382

        Defendants made no of mention of peer review in any post-trial briefing to the

Court.383 Dr. Toce testified in his trial deposition that he believed the Court’s finding that

LSP lacked an adequate peer review process was “no longer true;” however he failed to

specifically address how LSP’s peer review process has been corrected.384 Defendants

presented no evidence regarding peer review to rebut the evidence presented by

Plaintiffs. Thus, the Court finds that LSP’s inadequate peer review process persists.

        LSP’s quality assurance/quality improvement program (“QA/QI”) is now directed

by Stickells, who collects data and prepares reports reviewed by the QA/QI team.385




377
    Rec. Doc. 594, p. 37.
378
    Rec. Doc. 750, Puisis Testimony at 118:16-22, 121:6-11.
379
    PX 1-a, pp. 21-25. In 2020, a total of 9 records were reviewed using the same methodology as in 2016.
Id. at 23 (citation omitted).
380
    Rec. Doc. 750, Puisis Testimony at 120:2-6, 122:5-8.
381
    Id. at 115:14-116:25; compare PX 19-I, p. 5 (as of July 12, 2020, requiring review of either ten charts
or 1% of the prison’s population) with PX 1-a, pp. 22-24 (reviewing nine charts in October 2020).
382
    Dr. McMunn’s opinions regarding LSP’s peer review practices was excluded for the reasons set for in
Rec. Doc. 720, pp. 7-8.
383
    See Rec. Docs. 770, 774.
384
    JX 71-a, Toce Depo. at 11-12.
385
    Rec. Doc. 757, Stickells Testimony at 10; Rec. Doc. 757, Oliveaux Testimony at 68.

                                                                                        Page 66 of 104

                                                                                                23-30825.30622
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   218 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   67 of 104




However, Defendants presented no empirical evidence that this program has been

effective in remedying constitutional deficiencies. Dr. Toce testified that he disagreed

with the Court’s liability finding that this area was lacking: “We have plenty of space, and

quality control, I’ve been doing [adequate] quality assessment and quality QA and QI for

years.”386

        Despite now being in charge of LSP’s QA/QI program, Stickells has never read

this Court’s liability ruling, and the issues identified by this Court have never been

discussed with her.387

        Critical of the purportedly new QA/QI process, Plaintiffs’ experts opined that

““[s]imply counting events does not measure the effectiveness of the services delivered

nor measure outcomes of healthcare.”388 Defendants offered no evidence to rebut these

opinions; indeed, Defendants remain unpersuaded that anything was ever lacking in this

regard. The Court disagrees and finds that LSP continues to lack an adequate quality

improvement program aimed at critical analysis and corrective efforts.

                        Lack of Medical Staff Involvement in Budgeting

        Although the Court previously held that the lack of medical staff involvement in

budgeting contributed to a constitutionally deficient healthcare system at LSP, Dr.

Lavespere testified that the process of developing the budget has not changed since

2016.389 Despite evidence to the contrary, Dr. Lavespere testified that, “the budget has

no impact on the delivery of healthcare at LSP. There’s a standard of care that we’re




386
    JX 71-a, Toce Depo. at 12:2-8.
387
    Rec. Doc. 757, Stickells Testimony at 48:20-49:4.
388
    PX 1-a, p. 41.
389
    JX 69-a, Lavespere Depo. at 11:3-18.

                                                                           Page 67 of 104

                                                                                  23-30825.30623
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   219 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   68 of 104




going to deliver, regardless of what the budget it.”390 Dr. Lavespere did not know an exact

number for the current budget to provide medical care for inmates at LSP,391 but he is

“not really concerned with it, because it doesn’t impact the way that we deliver care.”392

        Evidence establishes that LSP’s medical budget is determined at a departmental

and legislative level and is fixed based on the prior year’s spending.393 Because this

budget is fixed, the budget is not amended to meet potential increasing demands in health

services. Further problematic, “[n]either Stacye Rodriguez, the Director Nursing for the

Department of Corrections, nor Dr. Lavespere, the Medical Director for the Department

of Corrections, has an appreciable role in setting the budget, which is ‘handed to

[them]’”394 If funding cannot be obtain to meet these changing needs, LSP leadership

should prioritize the allocation of funding to meet the most critical patient needs at the

prison.395

        The Court finds that the lack of medical leadership involvement in LSP’s budgeting

process continues to negatively impact the adequacy of medical care received by inmates

at LSP.

                                       Credentialing

        Finally, the Court found previously that LSP’s failure to maintain proper

credentialing records contributed to the constitutionally inadequate medical leadership

and organization at LSP.396




390
    Id. at 13:1-4.
391
    Id. at 15:15-17.
392
    Id. at 17:12-14.
393
    PX 1-a at 15 (citation omitted).
394
    Id.
395
    Id. at 16.
396
    Rec. Doc. 594, pp. 39-40.

                                                                           Page 68 of 104

                                                                                  23-30825.30624
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   220 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   69 of 104




       Defendants made no of mention of credentialing in any post-trial briefing to the

Court,397 and the evidence shows no changes have been made in this area. Dr.

Lavespere testified that “credentialing is the same. There wasn’t anything wrong with our

credentialing.”398 Unsurprisingly, the evidence demonstrates that the lack of proper

credentialing at LSP persists.

       Plaintiffs’ experts identified a host of examples of improper credentialing records

and certifications demonstrating LSP’s failure to follow its own personnel directives and

showing how this failure impacts the delivery of healthcare to inmates.399 The Court finds

this evidence and Plaintiffs’ experts’ findings to be credible, and both went unrebutted by

countervailing evidence.

       Accordingly, the failure to maintain proper credentialing records at LSP persists

and contributes to the overall constitutionally deficient medical leadership and

organization at LSP. The systemic leadership and management failures perpetuates the

deliberate indifference and callous disregard that permeates the delivery of medical care

at LSP.




397
    See Rec. Docs. 770, 774.
398
    JX 69-a, Lavespere Depo. at 213:8-10.
399
    PX 1-a, pp. 12-14, 18-21, 110-111.

                                                                           Page 69 of 104

                                                                                 23-30825.30625
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   221 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   70 of 104




                                        ADA/RA VIOLATIONS

        A. Expert Witnesses - Credibility

17.     Plaintiff’s expert Mark Mazz (“Mazz”) is a highly experienced expert in architectural

compliance with the ADA.400 Mazz was accepted by the Court as an expert under the

ADA in the field of architectural barriers in both the liability and remedy phases of trial.401

        Mazz conducted a site visit of LSP on April 6, 2022, during which he toured those

parts of LSP identified by Defendants as accessible spaces. This included the spaces

Mazz surveyed in 2016 that are still deemed necessary for access, and any spaces that

had been deemed substitute spaces for those surveyed in 2016.402 Mazz toured Ash

dorms 1-4, segregation cellblock 28, NU 1 and NU2, the Visitor’s Center, and the

walkways leading to and from these areas.403 In surveying these areas, he applied the

same methodology utilized during his liability phase visit–measuring spaces to ensure

programmatic access required for new construction, altered spaces, and unaltered

areas.404 Mazz testified credibly at the remedy phase trial, and his testimony and findings

went unrebutted, just as they did at the liability phase trial.405

18.     Plaintiff’s expert Dr. Dora Schriro was accepted by the Court as an expert in the

field of corrections administration.406


400
    Mazz has over 40 years of experience in this field, having worked with private and public entities to
identify and remedy architectural barriers to the disabled, including for the Architect of the Capitol, federal
agencies, Montgomery County, Maryland, the Department of Justice’s Housing and Civil Enforcement and
Disability Rights sections, and the Department of Housing and Urban Development’s Office of Fair Housing
and Equal Opportunity. For over ten years, Mazz has served as a member of the ACA. PX 4, pp. 5–9.
401
    Rec. Doc. 748, Mazz Testimony at 47:24-48:1.
402
    PX 4, p. 2; Rec. Doc. 748, Mazz Testimony at 46:17-24.
403
    Rec. Doc. 748, Mazz Testimony at 49:9-51:6.
404
    Id. at 48:11-21.
405
    See Rec. Doc. 594, pp. 8, 97-98.
406
    PX 3, pp. 1-2; Rec. Doc. 747, Schriro Testimony at 114:3-17. Dr. Schriro has served as Director of the
Missouri and Arizona correctional systems; Commissioner of the St. Louis and New York City jail systems;
warden of the St. Louis city jail; Assistant Commissioner for Program Services in New York City. She also


                                                                                           Page 70 of 104

                                                                                                   23-30825.30626
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   222 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   71 of 104




19.     LSP did not remedy the ADA violations found by the Court following the liability

trial. The Court finds the ADA violations persist and a remedy is required based on the

following.

        Dr. Schriro toured LSP on April 6, 7, and 8, 2022, during which time she

interviewed approximately 40 Class members, including an estimated 30 members of the

ADA Subclass and around ten healthcare orderlies.407 At the remedy trial, Dr. Schriro

testified about the inadequacies of LSP’s ADA administration, opining that the ADA

violations found by the Court identified at LSP persist, including problems with the ADA

coordinator,     the   ADA      advisory     committee,      staff   training,    orderly    assistance,

accommodation requests, the ADA tracking system, and disciplinary accommodations.408

The Court found Dr. Schriro’s testimony credible and credits her opinions.

        LSP offered no evidence and no expert testimony that the violations previously

found under the ADA and RA have been addressed or remedied.

        B. Architectural Barriers409

20.     On the following record evidence, the Court finds that architectural barriers which

violate the ADA and the RA persist at LSP.

        At the time of the liability trial, Mazz identified 190 architectural barriers at LSP that

required remediation to be ADA compliant.410 Mazz inspected LSP on April 6, 2022 in




served as Commissioner of the Connecticut Department of Emergency Services and Public Protection and
as Connecticut’s Homeland Security Advisor. She was also the first Director of the ICE Office of Detention
Policy and Planning. In all of these positions, Dr. Schriro was responsible for implementing and ensuring
compliance with state and federal law, including the ADA and RA.
407
    PX 3, p. 4; Rec. Doc. 747, Schriro Testimony at 131:3-4, 131:17-21, 133:5-10.
408
    Rec. Doc. 747, Schriro Testimony at 133:25-135:16.
409
    Defendants claim they have remedied all architectural barriers required by LSP’s settlement with the
DOJ. First, they offer no evidence from the DOJ affirming this claim. Second, as the Court previously held,
LSP’s settlement with the DOJ is irrelevant to the ADA violations established in this case.
410
    Rec. Doc. 594, p. 49 (citations omitted).

                                                                                        Page 71 of 104

                                                                                                23-30825.30627
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   223 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   72 of 104




connection with the remedy trial and issued a report connecting each barrier found to the

specific ADA provision it violates.411 By Mazz’s estimation, only 19–20% of the barriers

identified in his 2016 report have been remediated by LSP.412

        Mazz credibly showed several barriers that had not been remedied since his 2016

report, including inter alia, abrupt changes in walkway levels impacting wheelchair bound

inmates; cell windows difficult to open and close; doors that cannot be opened

independently by wheelchair bound inmates; and inaccessible drinking fountains.413

        Defendants claim that they have remedied 141 of the 190 barriers identified in

Mazz’s 2016 report;414 however, the evidence does not bear this out. and Defendants did

not offer evidence to support this claim.

        Defendants presented evidence that they converted Ash 1, 3 & 4 dormitories

(“dorms”) into handicapped accessible dorms for disabled inmates, replacing Cypress 2

and Hickory 4 as disabled dorms.415 This move has placed disabled inmates closer to

the treatment center, pill call, cafeteria, law library, education building, and the easiest

point of access for LSP’s two chapels416–a welcome improvement allowing greater

program access to these services. However, evidence does not support Defendants’

claim that the Ash dorms are fully handicapped accessible or that all disabled inmates

have been moved to the Ash dorms. The Court finds that this change did not rectify the

barriers to access.




411
    PX 4.
412
    Rec. Doc. 748, Mazz Testimony at 61:23-62:2; see also id. at 58:3-5, 59:14-15, 61:3-11.
413
    Id. at 60:2-61:11.
414
    Rec. Doc. 770, p. 54.
415
    JX 72-a, pp. 19–20.
416
    JX 73-a, pp. 99–101.

                                                                                       Page 72 of 104

                                                                                              23-30825.30628
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   224 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   73 of 104




        Although Defendants characterized the testimony of three disabled inmates

currently housed in the Ash dorms as essentially having no accessibility issues in the Ash

dorms,417 the actual testimony from these inmates reveals otherwise. Dennis Mischler

(“Mischler”), currently housed in Ash 1, testified that he is able to access the toilets and

showers in Ash 1; however, he also testified that “it’s very difficult” to move around in Ash

1 in his wheelchair,418 and this access is “with difficulty because they have a ramp there

. . . the width of the wheelchair” with “two cement lips on both sides. And if you don’t

manipulate that . . . you can hit those and tip over.”419 Mischler “almost fell a couple of

times but was caught by inmates,” and “other people had the same problem.”420 He

further testified that, because there are sixty (60) inmates in Ash 1, “it’s become very –

real problematic and dangerous because when – if one person in a wheelchair is coming

one way and the other person in a wheelchair is going the other way, somebody has to

give. And where the problem comes in is that if you have an emergency, it could really

cause a hazard really bad.”421

        Jean Paul Creppel (“Creppel”) also housed in Ash 1, is a wheelchair-bound inmate,

who testified that wheelchair access to the shower is “limited,”422 and because of the width

of the makeshift ramp, “if you don’t hit it the right angle, you could hit the sharp curb and

it could tip you over.”423 Creppel also testified that, “right before they moved us to Ash 1,

they did like a – kind of a quick upgrade of the dorm and it was like a – kind of a real fast

fix and they overlooked a lot of things, and they kind of shortchanged a lot of things …


417
    Rec. Doc. 770, p. 56 (citations omitted).
418
    Rec. Doc. 747, Mischler Testimony at 54:21-23.
419
    Id. at 55:9-13.
420
    Id. at 55:13-15.
421
    Id. at 55:2-7.
422
    Rec. Doc. 749, Creppel Testimony at 238:2.
423
    Id. at 238:16-18.

                                                                            Page 73 of 104

                                                                                   23-30825.30629
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   225 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   74 of 104




.”424 Creppel further testified that, even from Ash 1, he had issues getting around the

prison complex: “there’s long distances between callouts; like, say, the chapel or the

visiting shed or library, all these places that are well over 300 yards to get to. So you

usually have a pusher, unless you’re physically able to push yourself.”425

        Additionally, although Defendants claim they have moved all disabled inmates into

what they call “fully handicapped accessible” Ash dorms, Warden Falgout admitted just

weeks before the remedy trial that there were still wheelchair-bound inmates housed in

Hickory 4.426

21.     The Court finds the orderly assistance program does not overcome the structural

barriers to access.

        Defendants point to Creppel’s testimony that he is assisted by orderlies with

various tasks, including making his bed.427 Creppel testified that the inmate orderlies did

everything that he needed help with and that they “had kind hearts and did a good job.”428

However, Creppel also testified that there were not enough inmate orderlies to “keep up

with” the needs of the disabled inmates: “well, you have a lot of old, irritable sick men.

You have people with conditions like mine, some worse, some less. It’s not very sanitary.

The orderlies try to keep up with it. But you got so much -- you have a lot of urine and

defecation. Usually in the shower area. The access is limited.”429

        Mischler described an instance when the orderlies locked the inmates out of an

Ash dorm to clean the dorm. In an effort to get out of the sun due to his history of skin


424
    Id. at 238:4-7.
425
    Id. at 239:21-24.
426
    JX 73-a., Falgout Depo. at 116:22-23 (testifying on March 8, 2022, that “[w]e have some offenders [in
wheelchairs] right now that are on Hickory 4”).
427
    Rec. Doc. 749, Creppel Testimony at 249:21-25.
428
    Id. at 245:5-7, 17-19.
429
    Id. at 237:23-238:2.

                                                                                      Page 74 of 104

                                                                                              23-30825.30630
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   226 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   75 of 104




cancer, and after he knocked on the door of the dorm but no one answered, Mischler

attempted to wheel himself into a shaded area; however, he flipped over and landed on

his back after trying to use an incomplete ramp with no guardrails.430 Mischler testified

that he was in a great deal of pain after this fall, but “there was only one orderly, health

care orderly, out there. And he was with another patient at the end of the -- on the other

side of the dorm.”431 Other inmates had to assist Mischler because there not was an

orderly available; the inmates “pounded on the door” for assistance, but the “orderlies

wouldn’t open the door.”432

        Dr. Shriro testified that, of the 80 inmate orderlies assigned to assist disabled

inmates, 58 were assigned to the Ash dorms, leaving only 22 to serve as “pushers” or

“walkers,” i.e. “the folks who either push those wheelchairs around or assist in the, you

know, walking of the wheelchair, I guess.”433 Dr. Shriro credibly explained why this

number is insufficient: “And the campus is so big, and it’s of so many different kinds of

terrains, and the configuration of housing units are such, I just can’t imagine that 22 is

sufficient for a facility as large as that is with the demographics of the population that, you

know, I described to you a couple of minutes ago.”434

22.     The Court finds that numerous architectural barriers remain at LSP that are not

sufficiently ameliorated by orderlies. The Court finds that the physical barriers to program

access necessitate injunctive relief to bring LSP’s facilities into compliance with the ADA

and RA, where legally applicable.435


430
    Rec. Doc. 747, Mischler Testimony at 52:17-53:9.
431
    Id. at 53:13-15.
432
    Id. at 53:17-18.
433
    Rec. Doc. 747, Schriro Testimony at 144:24-145:8.
434
    Id. at 145:9-14.
435
    The Court intends to appoint a monitor to assist in determining the specifics of remediation of structural
barriers.

                                                                                          Page 75 of 104

                                                                                                  23-30825.30631
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   227 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   76 of 104




        C. Inmate Orderly Assistance Program

23.     The Court previously held that LSP violated the ADA and RA by failing to provide

adequately trained, staffed, and safe orderly assistance where physical modifications

were not made and by failing to provide proper oversight of health care orderlies. The

Court finds that inmate orderlies continue to be utilized beyond the scope of their duties

and training. The Court further finds that inmate orderlies are tasked beyond their training

and knowledge to compensate for the serious lack of medical staff that should be

assessing and assisting the medical needs of the disabled.436

        Defendants concede that “The training materials or practices for inmate orderlies

have not changed since the close of liability discovery,” and “Orderlies are used the same

today as they were at the close of liability discovery.”437

                                                Training

        The Defendants failed to prove that inmate orderlies are trained before they are

assigned to work with disabled inmates.438               Some orderlies observed by Dr. Shriro

reported that they had no training while others said they were not trained until after they

had already started working on the assisted living wards.439

        The training materials, when provided to the orderlies, are limited in usefulness

considering the breadth of needs facing disabled inmates. While LSP’s PowerPoint

training teaches wheelchair safety, a narration of body systems, and how to change a

bed and rotate a patient, this training is extremely limited and fails to address myriad other



436
    See PX 3, p. 12.
437
    PX 44-d, p. 4.
438
    As discussed supra, healthcare orderly Bruce Hines testified that, although he had been working as an
orderly for three years, he did not receive training until March of 2022, just weeks before the remedy phase
discovery deadline.
439
    PX 3, p. 12.

                                                                                         Page 76 of 104

                                                                                                23-30825.30632
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   228 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   77 of 104




disabilities, such as blindness, respiratory problems, diabetes, or dementia/mental illness,

to name a few.440

        Defendants advance Stickells’ testimony regarding the inmate orderly training,441

as evidence that LSP’s orderly inmate training is improved, Dr. Schriro was critical of this

training as it pertains to assisting disabled inmates in accordance with the ADA and RA.

Stickells testified that the inmate orderly training has been updated to include a

wheelchair safety tip,442 but she admitted that “the substance” of the training “is the same,”

she “just changed the way it looks.”443 On cross, Stickells admitted that the “new” training

Power Point slides did not add new content; she simply “changed its appearance for

easier reading.”444

        Stickells testified that orderly training is done “as needed” and generally when

“brought to [her] attention by Dr. Jacobs”. Stickells further that she advised Dr. Jacob that

this training “needs to be done at least quarterly,” but there is no evidence before the

Court that this recommendation by LSP’s ADA compliance official was followed.

                                           Abuse/Neglect

        The Court finds no pervasive pattern of orderly abuse and/or neglect of disabled

patients at LSP. Plaintiffs contend that their evidence “showed multiple examples of

orderly abuse,”445 and they point to three instances–two where an orderly allegedly

punched a patient in the head and one where an orderly choked a patient.446 However,



440
    Id.
441
    Rec. Doc. 757, Stickells Testimony at 23-28.
442
    Id. at 27:7-18; DX 47, p. 33.
443
    Id. at 42:22-24.
444
    Id. at 43:14-17.
445
    Rec. Doc. 771, p. 62.
446
    PX 1-a, p. 102 (Patient #18, who was punched in the head by an orderly); id. at 103 (Patient #69, who
was choked by an orderly; Patient #22, who was punched in the head by an orderly).

                                                                                      Page 77 of 104

                                                                                              23-30825.30633
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   229 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   78 of 104




Defendants presented evidence that the orderly who choked a patient was immediately

disciplined and removed from the program.447 Defendants also presented evidence that

one of the instances of abuse claimed by Plaintiffs could not have occurred because that

particular patient was deceased at the time of the alleged abuse.448

        Evidence also establishes that LSP screens applicants for the inmate orderly

program. Stickells testified that applicants are screened for “any disciplinary action, you

know, if they have a history of any type of, you know, something -- they have to meet that

criteria.”449 Stickells highlighted that LSP does not want orderlies that, for example, have

“multiple disciplinary actions for theft or strong-arming somebody or something like that.

We like to keep the patients safe.”450

        After Dr. Shriro’s site visit, she credibly concluded that “[m]ost Healthcare Orderlies

work hard and are deeply affect by the severity of patients’ afflictions … most Healthcare

Orderlies take a lot of pride in their work.”451 The Court concludes that there is no

pervasive problem of orderly abuse of disabled patients at LSP.

                                      Supervision of Orderlies

        While there is insufficient evidence of orderly abuse/neglect, the Court finds that

there is a serious lack of supervision or oversight of inmate orderlies by both medical staff

and security personnel. This lack of supervision necessarily contributes to violations of

the ADA and RA at LSP.


447
    NP Park testified that this orderly “was disciplined and written up and he no longer works there.” Rec.
Doc. 752, Park Testimony at 30:22-23.
448
    According to Plaintiffs’ expert report, Patient #18 “was housed in a locked infirmary room and reported
an orderly punched him in his head” on August 6, 2020. See PX1-a, p. 102. However, Patient #18 died on
May 6, 2020. See DX 2 at 653 (confirming that Patient 18 died May 6, 2020, not on January 6, 2021, as
stated in Plaintiffs’ expert report).
449
    Rec. Doc. 757, Stickells Testimony at 29:13-16.
450
    Id. at 29:17-19.
451
    PX 3, p. 13.

                                                                                        Page 78 of 104

                                                                                               23-30825.30634
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   230 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   79 of 104




        Preliminarily, the Court rejects any assertion that that security should have no role

in supervising inmate orderlies. Some overlap in supervision is necessary considering

the position of trust inmate orderlies are placed in. It is appropriate for security to

supervise the conduct of orderlies, which the Court finds is a prophylactic against potential

abuse of an inmate patient by an inmate orderly. However, security is not qualified to

supervise whether inmate orderlies are complying with their duties to assist inmates with

health care needs and/or disabilities. Qualified medical staff must supervise this aspect

of the orderly program.

        Stickells, who oversees the orderly program, testified that she knows that orderlies

are following their training because “the nurses will let [her] know if they’re not.”452 She

further testified that she also makes rounds and “check[s] on [the orderlies] [herself].”453

In her deposition, she testified that she conducts surprise visits approximately once a

month, and the orderlies “know where to find” her if they need her.454 Dr. Shriro expressed

doubt as to Stickells’ purported oversight because, during her site visit, she observed the

orderlies routinely exceed the scope of their duties and did not see any nurses on the

floor with patients; in fact, no nurses or medical personnel visited the Ash dorms during

her three-day site visit.455

        The evidence shows that nurses and medical personnel are not rounding the Ash

dorms where the disabled patients are housed; thus, Stickells’ reliance on nurses to report

problems of abuse/neglect/failure to adhere to training is pointless. Further, given the

number of disabled inmates at LSP, the Court finds that monthly surprise visits are


452
    Rec. Doc. 757, Stickells Testimony at 30:12-18.
453
    Id. at 30:18-19.
454
    PX 3, p. 13 (quoting Stickells Deposition at 60:24 – 61:18).
455
    Id. at 12.

                                                                            Page 79 of 104

                                                                                   23-30825.30635
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   231 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   80 of 104




woefully insufficient to determine if orderlies are properly performing appropriately

assigned tasks. For example, Stickells testified in her deposition that LSP did not have

many problems with falls on the nursing unites; at trial, she was “surprised” to learn that,

between March 2020 and December 2021, there were “at least 87 documented falls in

the medical occurrence reports.”456

        The evidence shows that orderlies, rather than nursing staff or corrections officers,

determine their work assignments.457             Orderlies do not have the training or skill to

determine what assistance they are qualified to offer disabled inmates or what assistance

requires medical staff. Dr. Schriro credibly concluded that there was no rationale to the

orderly staffing levels, nor did she observe any supervision of orderlies by either medical

staff or security personnel.458

        D.      LSP ADA Directives/Qualified ADA Coordinator

24.     The Court finds that LSP continues to fail to meaningfully comply with its own ADA

Policy Directives, which contributes to violating the ADA and RA rights of disabled

inmates.

        Specifically, “LSP Directive 01.016 requires LSP to maintain an ADA Advisory

Committee consisting of the ADA Coordinator, the Deputy Warden for Operations, a staff

attorney, the Safety Director, and the Health Information Management Supervisor. The

purpose of this committee is to review ADA compliance on a monthly basis and

recommend corrective action to the warden where appropriate.”459 The Court found that:

“Despite this Directive, neither LSP’s ADA Coordinator, nor its past or present wardens,


456
    Rec. Doc. 757, Stickells Testimony at 45:4-17.
457
    PX 3 at 12.
458
    Id.
459
    Rec. Doc. 594, p. 59 (footnotes omitted).

                                                                                Page 80 of 104

                                                                                      23-30825.30636
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   232 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   81 of 104




were aware of the existence of such a committee, and Defendants have admitted that

‘[n]o such committee existed during the pendency of this lawsuit.’”460

        Rather than address policy compliance, LSP simply removed several of the

Directive’s requirements. In 2018, after the Court issued its findings, Directive 01.016

was amended to remove any mention of an ADA Advisory Committee, any reference to

training, and the qualification requirements for the ADA Coordinator.461                     Dr. Schriro

credibly testified that the original Policy created “good expectations,” but the removal of

these requirements is “a significant step backwards.”462 The Court agrees. The Court

finds that the ADA Coordinator is untrained and lacks the experience to manage a

compliant ADA program.

        The Court also finds that LSP’s new ADA Coordinator, Warden Oliveaux, is

perhaps less qualified than her predecessor, Warden Falgout, to oversee and

administrate LSP’s ADA compliance. Specifically, the Court found that “Asst. Warden

Falgout is juggling far too many competing responsibilities to adequately fulfill his

obligations as ADA Coordinator for the LSP,” and that “LSP failed to provide adequate

training and resources to any of its ADA Coordinators, and none of the ADA Coordinators

during the relevant time period possessed the knowledge or experience necessary to

oversee and ensure ADA compliance.”463

        The evidence establishes that Oliveaux is juggling just as many responsibilities at

LSP as Falgout did, she has less experience in general than Falgout, and the ADA training


460
    Id. (citations omitted).
461
    PX 21-d. The only language related to ADA Coordinator qualifications in the updated version reads “For
the purpose of this directive, an appropriately trained and qualified individual is one who has been
designated by the Warden to coordinate efforts to comply with and carry out responsibilities defined by the
ADA.” Id. at 1.
462
    Rec. Doc. 747, Schriro Testimony at 125:15-18.
463
    Rec. Doc. 594, p. 58 (citations omitted).

                                                                                        Page 81 of 104

                                                                                                23-30825.30637
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   233 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   82 of 104




she has received is just as lacking. Aside from managing ADA administration at LSP,

Oliveaux is also tasked with the oversight of LSP’s medical care, mental health care,

emergency medical services, fire, legal program, and training academy.464 She testified

that at least four department heads report directly to her.465 She further testified that

medical, mental health, EMS, and fire duties account for 50% of her time while other

duties make up the remaining 50%.466

       Revealingly, when Oliveaux interviewed for her current position of deputy warden

in February 2022, she testified that the role of ADA Coordinator was never discussed

during the interview.467 Oliveaux also testified that she was not aware that the role ADA

Coordinator was within her job duties until after she started the job.468 At the time

Oliveaux took over as deputy warden and became the ADA coordinator, she had no

knowledge of the specifics of this lawsuit, the findings of the Court relevant to the ADA/RA

after the liability trial, and no knowledge of what the ADA/RA requires for prisons.469 In

her pre-trial deposition, Oliveaux testified that she intended to take the same ADA training

that Falgout had received–training this Court found insufficient.470 At the remedy trial,

Oliveaux testified that she had obtained additional ADA training during an “ADA

Symposium,” however, she also testified that this training pertained primarily to physical

barriers, an area over which she has little involvement.471




464
    Rec. Doc. 757, Oliveaux Testimony at 54:13-17, 57:5-13.
465
    Id. at 56:9-20.
466
    Id. at 58:1-5.
467
    Id. at 80:7-17.
468
    Id. at 80:18-21.
469
    Id. at 81:1-24.
470
    Id. at 82:25-83:3; see Rec. Doc. 594, p. 58.
471
    Id. at 83:4-8, 83:17-19; 79:1-3.

                                                                            Page 82 of 104

                                                                                  23-30825.30638
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   234 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   83 of 104




        LSP’s hiring of a new DOC ADA Coordinator, Sharita Spears (“Spears”) does not

affect the Court’s finding.472 Although Spears has been an attorney since December

2020,473 her background is in family law; she has no experience with disability law or the

ADA/RA.474 Spears’ duties include supervising all ADA coordinators within the DOC;

reviewing institutional policies and directives related to the ADA; maintaining the ADA

database; creating and coordinating ADA training; and answering “second-level” ARPs

related to the ADA.475 Defendants claim Spears has “overhauled” the ADA training

program for staff at headquarters and all DOC facilities, including LSP.476 Spears intends

to enhance the annual in-serving training of DOC staff to include more ADA topics.477

While Spears appears committed to and invested in her role, some aspects of her training

and administration of ADA matters are flawed and directly against LSP policy, which

provides that “[t]he ADA does not require that a request for accommodation be provided

in any particular manner.”478

        While Spears testified that an inmate could make an ADA accommodation request

verbally or by filling out a “request for accommodation form,”479 and that the ADA

Coordinator could grant such a request, she also testified several times that, according

to the ADA training slides, accommodation requests were made using the ARP

process.480 The Court cannot discern from Spears’ testimony or the training slides if the

ADA accommodation request policy is being followed per the Policy Directive or forced


472
    Rec. Doc. 757, Spears Testimony at 88:3-7.
473
    Id. at 88:11-14.
474
    Id. at 107:14-19.
475
    Rec. Doc. 770, p. 64 (citing Rec. Doc. 757, Spears Testimony at 88-91, 105).
476
    Id. (citing Rec. Doc. 757, Spears Testimony at 90-91).
477
    Rec. Doc. 757, Spears Testimony at 94-95; see also DX43.
478
    JX 73-c, p. 4.
479
    Rec. Doc. 757, Spears Testimony at 111:3-15.
480
    Id. at 111:24-112:4; 114:15-25.

                                                                                   Page 83 of 104

                                                                                        23-30825.30639
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   235 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   84 of 104




through the ARP process. However, the evidence makes clear that this leadership

training Power Point is confusing and could lead LSP leadership and employees to apply

the policy incorrectly.

       Spears testified that the DOC intends to engage Accessology, an independent

ADA consulting firm, to create a transition plan to comprehensively analyze and evaluate

DOC’s (including LSP’s) ADA practices, policies, procedures, program access, and

physical access.481 While this is very encouraging, the Court must determine appropriate

injunctive relief for those deficiencies that remain at LSP as of the remedy trial; the Court

cannot make findings based on the promise of future remedies.

           E. ADA Training of Medical/Correctional Staff

25.    The Court finds that LSP fails to adequately train medical and correctional staff in

ADA compliance. The Court finds that ADA training for medical and correction staff is

essentially unchanged since the liability ruling and, thus, remains unlawful.

       LSP admitted that training has not changed.482 Even more troubling, LSP removed

from Directive 01.016 the requirement that all employees receive: “comprehensive annual

training . . . relevant to access to programs, and activities available to individuals with

disabilities.”483 Spears testified that the annual in-service training for all correctional staff

occurs annually, and these trainings are “geared toward deaf and hard-of-hearing

offenders” and how to effectively communicate with them.484 Spears testified that this

training would be updated even though, “there is not anything that [LSP] need[s] to update




481
    Id. at 98:2-25.
482
     PX 44-d, p. 3, Response to ROG 15 (“[T]he training materials [and] practices related to ADA
accommodations have not changed.”).
483
    Compare JX 73-b (2012 version), p. 8 with JX 73-c (2020 version).
484
    Rec. Doc. 757, Spears Testimony at 94:12-18.

                                                                                Page 84 of 104

                                                                                       23-30825.30640
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   236 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   85 of 104




so far as content,” to “kind of add a little bit more information to it to better help the security

staff know how to deal with these offenders.”485 However, Spears also testified at the

remedy trial that, “right now the content has not been decided upon.”486 References to

purported non-specific, future changes cannot mitigate the need for injunctive relief.

       F. Identifying and Tracking Accommodation Requests/Disability Grievances

26. The Court finds that LSP continues to fail to identify and track disabilities and

accommodations. The Court further finds that LSP’s tracking system does not provide

meaningful identification and tracking of disability grievances or ADA accommodation

requests. The evidence before the Court demonstrates that nothing has changed to

remedy this tracking procedure since the liability ruling. The Defendants admit that “there

have been no changes in the way documents and/or databases are compiled, collected,

or maintained with respect to … the ADA Tracking Database.”487

       While Spears testified that she checks ADA database “probably two to three times

a week” and finds it searchable by year, institution, inmate DOC number, inmate name,

and accommodations granted,488 she did not testify that the database had been changed

in any way since the liability ruling. Indeed, Defendants ostensibly acknowledge this

deficiency as part of the need to engage Accessology to review all ADA policies

procedures.

       Evidence demonstrates that the tracking database information routinely conflicts

with the QA/QI program, showing conflicting numbers of accommodations for most




485
    Id. at 95:1-9.
486
    Id. at 95:12-13.
487
    PX 44-c, p. 6.
488
    Rec. Doc. 757, Spears Testimony at 100:22-101:23.

                                                                                 Page 85 of 104

                                                                                        23-30825.30641
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   237 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   86 of 104




quarters.489    When asked about this discrepancy, Stickells, as QA/QI Coordinator,

testified that this conflict was because accommodation requests had not been submitted

to her, not necessarily because none were made.490 Warden Falgout was questioned

about the discrepancy between the reports, and he could not explain why the QA/QI study

did not document all ADA requests.491 Based on her experience in other correctional

facilities, the reports of Subclass members, the size of LSP, and the number of disabled

and aging inmates at LSP, Dr. Schriro reasonably concluded that LSP’s tracking system

is undercounting accommodation requests, stating that the recorded accommodation

requests per month “really seems to be an exceptionally low number.”492

       G. Evaluation/Resolution of Accommodation Requests/Disability Grievances

27.    The Court finds that the evaluation and resolution of accommodation requests

and/or disability grievances remain unchanged and violate the ADA and RA. There has

been no effective remedial changes made to LSP’s training of medical and correctional

staff or inmate orderlies, no changes to the tracking system, and there remains confusion

about whether disabled inmates are required to file accommodation requests as ARPs.

       Evidence shows that individualized response plans, required under LSP Directive

01.016, are not created for disabled patients.493 Disabled inmates reported to Dr. Shriro

that, when they file accommodation requests via ARP, they receive no response.494

There is also evidence of the inexplicable removal of an accommodation. For example,

although he has used a wheelchair for over 20 years, Class Member John Price testified



489
    Compare PX 34-b and PX 34-a (QA/QI reports) with PX 36 (ADA accommodation requests).
490
    Rec. Doc. 757, Stickells Testimony at 38:3-18.
491
    JX 72-a, Falgout Depo at 41-43:10-12.
492
    Rec. Doc. 748, Schriro Testimony at 44:20-24, 135:2-6.
493
    PX 3, p. 14.
494
    Id.

                                                                                Page 86 of 104

                                                                                       23-30825.30642
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   238 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   87 of 104




(via stipulation) that LSP has tried to take away his wheelchair. This allegation was

uncontroverted.495

        H. Identifying and Tracking Accommodation Requests/Disability Grievances

28.     The Court finds that LSP fails to accommodate disabled inmates when applying

discipline. The Court finds that Defendants fail to consider the need for appropriate

accommodations when disciplining disabled inmates in violation of the ADA and RA. The

Court concludes that LSP’s discipline policies, as applied to disabled inmates, violate the

ADA/RA.

        Testifying on behalf of LSP, Warden Falgout testified that LSP had no plans “at

this time” to change any LSP’s practices, policies, or procedures regarding discipline of

disabled inmates.496 Falgout was asked when an inmate’s disability under the ADA would

become relevant in making disciplinary decisions, and he responded, “They wouldn’t …

A rule violation is a rule violation.”497 Although security is purportedly trained to seek

counsel from the ADA Coordinator and/or medical staff when an inmate’s conduct could

be related to an infraction, and the matter should be referred to the Disciplinary Board,

Falgout could not recall any specific instances when he was asked to make this

determination.498 He recalled one instance where a disabled inmate was “written up” for

not placing his locker box away properly, and it was determined after consulting with

medical and the inmate’s duty status that he could not physically move the locker box,




495
    JX77-c, pp. 8-9.
496
    JX 72-a, Falgout Dep. at 44:1-4.
497
    Id. at 46:6-12.
498
    Id. at 46-48.

                                                                           Page 87 of 104

                                                                                 23-30825.30643
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   239 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   88 of 104




and stated “so that was taken into consideration in the infraction.”499 However, Falgout

could not recall whether or not the inmate was still disciplined for the infraction.500

       Rather than preemptively ensure that an inmate’s disability is considered when

creating proper discipline, if a disabled inmate wishes to appeal a disciplinary decision

based on his disability, he must endure the discipline and seek an appeal.501           Falgout

could not recall a single time when a disabled inmate appealed discipline.502

       Oliveaux      testified   that   she    has   received   no   training   regarding   ADA

accommodations for disabled inmates when applying discipline.503

       The evidence established that a quadriplegic inmate was disciplined by means of

solitary condiment in a cell. When placed in disciplinary segregation in a locked cell,

Class Member Derrick Martin, who is a quadriplegic confined to a wheelchair with limited

use of one arm, could not reach the call button to activate the call light. While Parks

testified that she responded to Martin’s call bell on one occasion when he was in a locked

cell, there is ample evidence before the Court that causes the Court to question whether

nurses always or routinely respond to call lights, given the sight and sound barriers,

observations by Plaintiffs’ experts, and testimony of inmate orderlies. The Court does not

question the truthfulness of Park’s testimony; however, the fact that she recalls

responding once to a call light does not establish that disabled patients in disciplinary

segregation are accommodated.




499
    Id. at 49:2-11.
500
    Id. at 49:24-25.
501
    Id. at 51-52.
502
    Id. at 52:8*12.
503
    Rec. Doc. 757, Oliveaux Testimony at 83:20-22.

                                                                                 Page 88 of 104

                                                                                       23-30825.30644
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   240 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   89 of 104




        Evidence shows that black box restraints are routinely used on disabled inmates

regardless of their disabilities, and a sign on the Trip Office in the Treatment Center reads:

“WE DO NOT MODIFY RESTRAINTS IN THIS OFFICE. THANK YOU FOR NOT

ASKING!!!”504 This violates LSP’s policy that allows any disabled inmate to request an

accommodation of any LSP employee at any time.505

        The Court does not discount the need for security in a prison setting, and not every

disability accommodation request should be granted when balanced against security

needs. However, in practice, the evidence established that LSP has no process for

considering the propriety of accommodation requests. LSP’s blanket practices, such as

the black box restraint practice o disregard a disabled inmate’s disability in applying

discipline. The law requires the accommodation requests of disabled inmates to be

balanced against the security needs of the prison, but these determinations are to be

made on a case-by-case basis.506 This is not occurring at LSP, and the Court finds that

LSP persists in failing to consider and/or make accommodations where appropriate in

administering discipline.

        I. Exclusionary Policies

29.     The Court finds that Plaintiffs have failed to carry their burden of demonstrating

that LSP continues to violate the ADA/RA by uniformly excluding disabled inmates form

certain duty statuses, work assignments, or hobby craft.




504
    PX 1-d, p. 6.
505
    JX 73-c.
506
    Determining “whether a modification or accommodation is reasonable always requires a fact-specific,
context-specific inquiry.” Pierce v. Cnty. of Orange, 526 F.3d 1190 (9th Cir. 2008)(citing Zukle, 166 F.3d
at 1048)).

                                                                                       Page 89 of 104

                                                                                               23-30825.30645
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   241 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   90 of 104




        The only evidence offered by Plaintiffs regarding blanket exclusionary policies is

the expert report of Dr. Schriro, who concluded, based on Defendants’ general response

that “there have been no changes to the practices, procedures, or policies related to ADA

accommodations.”507 Dr. Schriro’s conclusion is unfounded and speculative.

        While Falgout testified that there was no specific, written change to LSP’s duty

status policy, he testified that “the practice has changed to afford more specificity for all

staff to be able to understand and be able to provide the offender with abilities to do things

based on limitations.”508 Following 2019, Falgout explained that “the emphasis got to be

more specific on what an offender was able to do and not just blanket, no duty or no

hobby craft or no rodeo … there was a general consensus to transition to providing them

with the ability to do things were within -- within their ability, to be able to paint or draw or

do other things as far as, like, hobby craft.”509 When asked whether all blind inmates at

LSP are on no-duty status, Falgout responded that he was unaware specifically if that

was the case but that it would “not necessarily” be so because medical would determine

the appropriate duty for a blind inmate.510 Falgout explained that the severity of the

blindness would impact an inmate’s duty status:

        If he was blind completely blind, both bilaterally, then, if he felt comfortable
        in doing any work, we would do our best to provide him with something that
        would be safe for him, safe in the environment that he’s in. If we have
        someone who has unilateral sight loss, then, if they wanted to have a job,
        we’d have to look at their safety. They would have to wear safety glasses.
        We don’t want to put them in anything that would increase their potential to
        lose the sight in the unaffected eye. So that’s what we would look at.
        Specific job, I don’t -- again, it depends.511


507
    PX 3, p. 17.
508
    JX 72-a, Falgout Depo at 55:3-7.
509
    Id. at 55:21-56:17.
510
    Id. at 57:9-22.
511
    JX 73-a, Falgout Dep. at 95:24-96:12.

                                                                                Page 90 of 104

                                                                                       23-30825.30646
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   242 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   91 of 104




        Falgout testified similarly when asked about elderly inmates, inmates with chronic

pain issues, and inmates with mental health challenges; in each case, he responded that

work assignments would be based on the inmate’s limitations and abilities.512

V.      CONCLUSIONS OF LAW

        A.      Eighth Amendment Standard

        In a “prison injunction case . . . The evidence must show over the course of the

timeline that officials knowingly and unreasonably disregarded an objectively intolerable

risk of harm, and that they will continue to do so; and finally to establish eligibility for

an injunction, the inmate must demonstrate the continuance of that disregard

during the remainder of the litigation and into the future.”513 “Courts may not allow

constitutional violations to continue simply because a remedy would involve intrusion into

the realm of prison administration.”514

        Deliberate indifference to “serious medical needs of prisoners constitutes the

‘unnecessary and wanton infliction of pain’ proscribed by the Eighth Amendment.”515 This

inquiry consists of both an objective and a subjective test. The objective test requires

showing that the prisoner has “serious medical needs,”516 and “either has already been

harmed or been ‘incarcerated under conditions posing a substantial risk of serious

harm.’”517 To prove an Eighth Amendment violation, Plaintiffs must prove that prison

officials “1) show[ed] a subjective deliberate indifference to 2) conditions posing a


512
    Id. at 97-99.
513
    Valentine v. Collier, 993 F.3d 270, 282 (5th Cir. 2021) (quoting Farmer v. Brennan, 511 U.S. 825, 846
(1993))(emphasis added)(internal quotation marks omitted).
514
    Brown v. Plata, 563 U.S. 493, 511 (2011).
515
     Estelle v. Gamble, 429 U.S. 97, 104 (1976) (quoting Gregg v. Georgia, 428 U.S. 153, 173
(1976)(citations omitted); see also Jackson v. Cain, 864 F.2d 1235, 1244 (5th Cir. 1989).
516
    Estelle, 429 U.S. at 104.
517
    Braggs v. Dunn, 257 F. Supp.3d 1171, 1189 (M.D. Ala. 2017) (quoting Farmer v. Brennan, 511 U.S.
825, 834 (1994)).

                                                                                      Page 91 of 104

                                                                                              23-30825.30647
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   243 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   92 of 104




substantial risk of serious harm to the inmate.”518 An official is not liable for deliberate

indifference “unless the official knows of and disregards an excessive risk to inmate health

or safety; the official must both be aware of facts from which the inference could be drawn

that a substantial risk of serious harm exists, and he must also draw the inference.”519 To

meet his burden, “the plaintiff must show that the officials ‘refused to treat him, ignored

his complaints, intentionally treated him incorrectly, or engaged in any similar conduct

that would clearly evince a wanton disregard for any serious medical needs.’”520

        Whether or not officials knew of the risk is considered the subjective component of

the deliberate indifference standard,521 which requires a state of mind amounting to

recklessness as used in criminal law.522 The subjective test requires a showing that prison

officials had requisite knowledge of the risk of harm and either (1) disregarded it or (2)

failed to act reasonably to abate it.523 Willful blindness to the risk posed to inmates is not

a valid defense to a deliberate indifference claim.524

        Systemic deficiencies in a prison’s health-care system can provide the basis for a

finding of deliberate indifference at an institutional level.525 The cumulative effect of


518
    Gates v. Cook, 376 F.3d 323, 333 (5th Cir. 2004) (citing Farmer v. Brennan, 511 U.S. at 833-34).
519
    Farmer v. Brennan, 511 U.S. 825, 837 (1994).
520
    Domino v. Tex. Dep’t of Criminal Justice, 239 F.3d 752, 756 (5th Cir. 2001) (quoting Johnson v. Treen,
759 F.2d 1236, 1238 (5th Cir. 1985)).
521
    Farmer, 511 U.S. at 848.
522
    Williams v. Hampton, 797 F.3d 276, 281 (5th Cir. 2015) (en banc) (citing Farmer, 511 U.S. at 839–40);
see also Hacker v. Cain, No. 3:14-00063-JWD-EWD, 2016 WL 3167176, at *10 (M.D. La. June 6, 2016)
(“An intent to harm or animus towards a particular inmate is not itself required so long as such reckless
disregard for his or her medical needs can be shown.”); Hall v. Johnson, No. 12-00099-BAJ-RLB, 2013 WL
870230, at *3 (M.D. La. Mar. 7, 2013).
523
    Farmer, 511 U.S. at 844-45; see also Braggs v. Dunn, 257 F. Supp. 3d 1171, 1250 (M.D. Ala. 2017)(“To
establish deliberate indifference, plaintiffs must show that defendants had subjective knowledge of the harm
or risk of harm, and disregarded it or failed to act reasonably to alleviate it.”).
524
    See Farmer, 511 U.S. at 843 n.8 (a prison official “would not escape liability if the evidence showed that
he merely refused to verify underlying facts that he strongly suspected to be true, or declined to confirm
inferences of risk that he strongly suspected to exist”).
525
    See Gates v. Cook, 376 F.3d 323, 333 (5th Cir. 2004)(“Conditions of confinement may establish an
Eighth Amendment violation ‘in combination’ when each would not do so alone, but only when they have a
mutually enforcing effect that produces the deprivation of a single, identifiable human need . . . .”).

                                                                                          Page 92 of 104

                                                                                                  23-30825.30648
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   244 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   93 of 104




different deficiencies can demonstrate the subjective component of deliberate

indifference, as the Supreme Court acknowledged in Wilson v. Seiter.526 In class actions

challenging systemic health care deficiencies, deliberate indifference to inmates’ health

needs may be shown by proving “repeated examples of negligent acts which disclose a

pattern of conduct by the prison medical staff,” or by proving there are such “systemic

and gross deficiencies in staffing, facilities, equipment, or procedures that the inmate

population is effectively denied access to adequate medical care.”527

        The fact that a risk is obvious is sufficient to allow a fact finder to conclude that

prison officials knew of the risk.528 Plaintiffs may also demonstrate knowledge through

inference from circumstantial evidence.529 If there is proof of a problem that is

“longstanding, pervasive, well-documented, or expressly noted by prison officials in the

past, and the circumstances suggest that the defendant-official being sued had been

exposed to information concerning the risk and thus ‘must have known’ about it, then

such evidence could be sufficient to permit a trier of fact to find that the defendant-official

had actual knowledge of the risk.”530

        For purposes of the remedy trial, Plaintiffs have demonstrated that “systemwide

deficiencies in the provision of medical . . . care . . . taken as a whole, subject sick

prisoners in [LSP] to ‘substantial risk of serious harm’ and cause the delivery of care in




526
    501 U.S. 294, 300 (1991) (rejecting a distinction between “one-time” or “short-term” conditions of
confinement and “continuing” or “systemic” conditions).
527
    Ramos v. Lamm, 639 F.2d 559, 575 (10th Cir. 1980) (citations omitted); Lawson v. Dallas Cnty., 112 F.
Supp. 2d 616, 635 (N.D. Tex. 2000); see, e.g., Williams v. Edwards, 547 F.2d 1206, 1215-16 (5th Cir.
1977).
528
     Farmer, 511 U.S. at 842; Hinojosa v. Livingston, 807 F.3d 657, 667 (5th Cir. 2015); Gates, 376 F.3d at
333; Robinson v. Babin, No. 12-00629-BAJ-RLB, 2014 WL 2769099, at *4 (M.D. La. June 18, 2014).
529
    Farmer, 511 U.S. at 842.
530
    Hinojosa, 807 F.3d at 665 (quoting Farmer, 511 U.S. at 842-43) (internal quotation marks omitted).

                                                                                        Page 93 of 104

                                                                                                23-30825.30649
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   245 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   94 of 104




[LSP] to fall below the evolving standards of decency that mark the progress of a maturing

society,”531 and that, in large part, these deficiencies persist.

       Turning to the objective test, the Fifth Circuit has defined a “serious medical need”

as “one for which treatment has been recommended or for which the need is so apparent

that even laymen would recognize that care is required.”532 To establish a substantial risk

of serious harm, “it does not matter whether the risk comes from a single source or

multiple sources.”533 “[M]ultiple policies or practices that combine to deprive a prisoner

of a ‘single, identifiable human need,’ such as [medical care], can support a finding of

Eighth Amendment liability.”534 Moreover, the Fifth Circuit has long recognized that “the

totality of circumstances concerning medical care” may violate the Eighth Amendment.535

The “seriousness” of an inmate’s medical need may also be determined by reference to

the effects of a delay in treatment.536 “Serious medical needs” also include conditions that

threaten to cause health problems in the future.537 Plaintiffs have carried this burden at

the remedy trial.

       As for the subjective test, Plaintiffs must demonstrate that Defendants have the

same “sufficiently culpable state of mind” as found by the Court in the liability ruling.538 “In

prison-conditions cases that state of mind is one of deliberate indifference to inmate




531
    Rec. Doc. 573, p. 247 (quoting Brown v. Plata, 563 U.S. 493, 505 n.3 (2011)).
532
    Gobert v. Caldwell, 463 F.3d 339, 345 n.12 (5th Cir. 2006).
533
    Farmer, 511 U.S. at 843; see also Wilson v. Seiter, 501 U.S. 294, 304 (1991) (“Some conditions of
confinement may establish an Eighth Amendment violation ‘in combination’ when each would not do so
alone, but only when they have a mutually enforcing effect that produces the deprivation of a single,
identifiable human need such as food, warmth or exercise[.]” (emphasis in original)).
534
    Braggs, 257 F. Supp. 3d at 1192 (quoting Gates v. Cook, 376 F.3d at 333).
535
    Williams v. Edwards, 547 F.2d 1206, 1215 (5th Cir. 1977).
536
    Hill, 40 F.3d at 1188.
537
     See Farmer, 511 U.S. at 843.
538
    Id. at 834 (internal citation and quotation marks omitted).

                                                                                   Page 94 of 104

                                                                                          23-30825.30650
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   246 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   95 of 104




health or safety.”539 Even in situations where awareness is shown, prison officials will not

be liable “if they responded reasonably to the risk.”540 However, prison officials cannot

escape liability simply by demonstrating that they eventually took some form of “corrective

action” in response to a risk of harm.541 Efforts to correct systemic deficiencies that

“simply do not go far enough,” when weighed against the risk of harm, also constitute

deliberate indifference542 because such insufficient efforts are not “reasonable measures

to abate” the identified substantial risk of serious harm.543 Further, “[i]nsisting upon a

course of action that has already proven futile is not an objectively reasonable response

under the deliberate-indifference standard” and would support a finding of liability under

the Eighth Amendment.544

        In this case, deliberate indifference may also be established “by proving that there

are such systemic and gross deficiencies in staffing, facilities, equipment, or procedures

that the inmate population is effectively denied access to adequate medical care.”545 “In

challenges to a correctional institution’s provision of medical care, evidence of systemic

deficiencies can also establish the ‘disregard’ element of deliberate indifference.”546 “As

an evidentiary matter, these systemic deficiencies may be identified by a ‘series of

incidents closely related in time’ or ‘[r]epeated examples of delayed or denied medical

care.’”547 “[A]lthough one-off negligent treatment is not actionable, . . . frequent

negligence, just like a single instance of truly egregious recklessness, may allow the court


539
    Id. (internal citation and quotation marks omitted).
540
    Id. at 844.
541
    Bradley v. Puckett, 157 F.3d 1022, 1026 (5th Cir. 1998).
542
    Laube v. Haley, 234 F. Supp.2d 1227, 1251 (M.D. Ala. 2002).
543
    Farmer, 511 U.S. at 847.
544
    Braggs, 257 F. Supp. 3d at 1260.
545
    Id. at 1251 (internal citation and quotation marks omitted).
546
    Id. (citing Harris v. Thigpen, 941 F.2d 1495, 1505 (11th Cir. 1991)).
547
    Id. at 1251-52 (quoting Rogers v. Evans, 792 F.2d 1052, 1058-59 (11th Cir. 1986)).

                                                                                         Page 95 of 104

                                                                                              23-30825.30651
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   247 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   96 of 104




to infer subjective deliberate indifference.”548 Deliberate indifference may also be

“demonstrated straightforwardly, through direct evidence that an administrator was aware

of serious systemic deficiencies and failed to correct them.”549

        The “long duration” of unconstitutional conditions can also demonstrate

correctional officials’ knowledge of the deficiencies that cause a substantial risk of

harm.550    Thus, if Plaintiffs show that a substantial risk of unreasonable harm was

“longstanding, pervasive, well-documented, or expressly noted by prison officials in the

past” and that “the circumstances suggest that the [prison officials] . . . had been exposed

to information concerning the risk . . . , then such evidence could be sufficient to permit a

trier of fact to find that the defendant-official had actual knowledge of the risk.”551

        Applying the law to the findings of fact set forth above, and considering only

evidence during the remedy phase period, the Court concludes as a matter of law that

Plaintiffs have carried their burden of demonstrating that most of the systemic

unconstitutional and/or discriminatory practices at LSP persist such that injunctive relief

is necessary. The Court finds that Defendants have been continuously deliberately

indifferent to the serious medical needs of Plaintiffs in failing to address and/or correct

known deficiencies; Defendants have continuously acted with deliberate indifference

toward the standards of care “within modern and prudent professional standards” by

delaying or denying access to medical attention to serious and urgent medical needs of

inmates.552 As discussed at length above, the record is replete with instances showing



548
    Dunn v. Dunn, 219 F. Supp.3d 1100, 1129 (M.D. Ala. 2016).
549
    Id.
550
    Alberti v. Sheriff of Harris Cty., 937 F.2d 984, 998 (5th Cir. 1991).
551
    Farmer, 511 U.S. at 842-43; see also Williams, 547 F.2d at 1216 (concluding that the Eighth Amendment
may be violated on a showing of “evidence of rampant and not isolated deficiencies”).
552
    Morales Feliciano v. Rossello Gonzales, 13 F.Supp.2d 151, 208 (D. P.R. 1998).

                                                                                      Page 96 of 104

                                                                                              23-30825.30652
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   248 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   97 of 104




failure by Defendants to take the necessary steps to provide access or avoid delay in

access to medical and health care.

        Specifically, the trial testimony and evidence demonstrate constitutionally

inadequate care and/or access to care as it relates to the following: providing timely and

adequate access to clinical care (including sick call and medication management),

inpatient/infirmary care, emergency care, and specialty care. The continued deficient

medical leadership, administration, and organizational structure underpins the

constitutionally deficient system of healthcare. As set forth in the Court’s Findings of Fact,

the remedy trial evidence satisfies both the objective and subjective standards for

deliberate indifference.

        B.       ADA/RA

        Although “the ADA ‘does not require prisons to provide new services or programs

for disabled prisoners,’ these same entities ‘do have an affirmative obligation to make

reasonable modifications . . . so that a disabled prisoner can have meaningful access to

existing public services or programs.’”553              Further, “the Fifth Circuit has held that a

defendant’s failure to make the reasonable modifications necessary to adjust for the

unique needs of disabled persons can constitute intentional discrimination under the

ADA.”554

        A public entity may fulfill this programmatic access mandate by constructing new

facilities or altering its existing facilities to bring them into compliance with the accessibility




553
    George v. Louisiana Department of Public Safety and Corrections, No. 3:14-00338-JWD-EWD, 2016
WL 3568109 at *9 (M.D. La. June 23, 2016)(quoting Borum v. Swisher Cnty., No. 2:14-CV-127-J, 2015
U.S. Dist. LEXIS 8628, at *21, 2015 WL 327508, at *9 (N.D. Tex. Jan. 26, 2015)).
554
    Id. (citing e.g., Melton v. Dall. Area Rapid Transit, 391 F.3d 669, 672 (5th Cir. 2004); Garrett v. Thaler,
560 F. App’x 375, 382 (5th Cir. 2014)).

                                                                                           Page 97 of 104

                                                                                                   23-30825.30653
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   249 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   98 of 104




requirements of Section 35.151 or through alternative methods such as “redesign or

acquisition of equipment, reassignment of services to accessible buildings, assignment

of aides to beneficiaries, home visits, [or] delivery of services at alternate accessible

sites.”555 It is true that “a public entity may comply with Title II by adopting a variety of

less costly measures, including . . . assigning aides to assist persons with disabilities in

accessing services. Only if these measures are ineffective in achieving accessibility is

the public entity required to make reasonable structural changes.”556 And further, courts

must be “sensitive to the fact that prisons are unique environments with heightened

security and safety concerns.”557 However, where there is no evidence to conclude that

such methods are shown to ameliorate barriers presented by structural deficiencies,

alterations must be made.558

        The evidence in this case demonstrates that, even after moving most disabled

inmates to the Ash dorms, there remain structural barriers both within the dorms and on

the campus of LSP that are not entirely ameliorated by the use of “walkers” or orderlies.

Part of the Court’s injunctive relief will include the appointment of a monitor to determine

what structural barriers have not been effectively ameliorated by alternate means of

access.      Further, although efforts have been made to increase staffing in the

infirmary/nursing units, evidence shows that inmate orderlies continue to do far more than

is within the scope of their duties and knowledge, and they continue to “fill the gap” due

to medical staff shortages. The regularity and sufficiency of the ADA training provided to




555
    28 C.F.R. § 35.150(b)(1).
556
    Garrett v. Thaler, 560 F. App’x 375, 382 (5th Cir. 2014)(internal citations and quotations omitted).
557
    Wright v. N.Y. State Dep't of Corr., 831 F.3d 64, 75 (2d Cir. 2016)(citing Pierce v. Cty. of Orange, 526
F.3d 1190, 1216–17 (9th Cir. 2008)).
558
    Pierce v. County of Orange, 526 F.3d 1190 (9th Cir. 2008).

                                                                                         Page 98 of 104

                                                                                                23-30825.30654
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   250 11/06/23
                                             778     Date Filed:
                                                             Page01/11/2024
                                                                   99 of 104




inmate orderlies were not established, and a serious lack of supervision of the inmate

orderlies by medical staff persists.

        Based on the Court’s factual findings above, LSP’s methods of administration

violate continue to violate the ADA and RA by failing to provide adequate access and

accommodations to its disabled inmates due to neglect and/or failure to follow both Title

II’s implementing regulations and some of LSP’s own ADA Directives.           “A public entity

may not . . . utilize criteria or methods of administration . . . [t]hat have the purpose or

effect of defeating or substantially impairing accomplishment of the objectives of the

public entity’s program with respect to individuals with disabilities.”559 “In other words, a

public entity cannot actively undercut the ability of a public program to benefit those with

disabilities.”560 While some of the faces of leadership at LSP have changed, the evidence

demonstrates, and Defendants often concede, that none of their ADA policies and

procedures have been changed since the liability ruling. LSP’s ADA compliance

leadership has not been equipped to address the systemic ADA/RA deficiencies.561

        More troubling, in response to the liability ruling, LSP watered down its ADA

training policies for staff and, rather than comply, it removed altogether certain LSP ADA

directives. The ADA tracking database is unchanged; there remain conflicts between

QA/QI and the ADA database regarding the number of, and resolution of, accommodation

requests; training slides are confusing in training LSP leadership and employees

regarding how a disabled inmate must request an accommodation; evidence shows that

accommodations continue to be denied without reason or analysis; and disabled inmates



559
    28 C.F.R. § 35.130(b)(3)(ii).
560
    Van Velzor v. City of Burleson, 43 F.Supp.3d 746, 752 (N.D. Tex. 2014).
561
    See Finding of Fact No. 24.

                                                                              Page 99 of 104

                                                                                    23-30825.30655
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 77825111/06/23
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   100 of 104




are still inexplicably forced to perform tasks of which they are physically incapable or left

to fend for themselves when medical assistance is clearly warranted.

        As one court explained, “failure to make reasonable accommodations to the needs

of a disabled prisoner may have the effect of discriminating against that prisoner because

the lack of an accommodation may cause the disabled prisoner to suffer more pain and

punishment than non-disabled prisoners.”562 In fact, “where the defendant otherwise had

knowledge of the individual’s disability and needs but took no action,” not even the

failure to expressly request a specific accommodation (or modification) fatally

undermines an ADA claim.563

        The law does not require, nor is the Court suggesting, that LSP must

accommodate every request of a disabled inmate. Additionally, it is well-established that

“[t]he ADA provides for reasonable accommodation, not preferred accommodation. The

accommodation of the inmate’s disability need not be ideal; instead, it need only be

reasonable and effective. Further, a correctional facility is afforded deference in its

determination of an appropriate accommodation.”564 Nevertheless, “the ADA invariably

requires ‘a fact-specific, case-by-case inquiry that considers, among other factors, the

effectiveness of . . . [a possible] modification in light of the nature of the disability in

question.’565 As another appellate court said, an ADA or RA case frequently rides upon



562
    McCoy v. Tex. Dep't of Crim. Justice, No. C-05-370, 2006 WL 2331055, at *7 (S.D. Tex. Aug. 9, 2006);
see also United States v. Georgia, 546 U.S. 151, 157 (2006).
563
    Greer v. Richardson Indep. Sch. Dist., 472 F.App’x 287, 296 (5th Cir. 2012); see also Borum v. Swisher
Cty., No. 2:14-CV-127-J, 2015 WL 327508, at *9 (N.D. Tex. Jan. 26, 2015); Hinojosa v. Livingston, 994 F.
Supp. 2d 840, 843–44 (S.D. Tex. 2014).
564
    Arce v. Louisiana, 226 F. Supp. 3d 643, 651 (E.D. La. 2016)(internal citations and quotation marks
omitted).
565
    Mealey v. Gautreaux, No. 16-716-JWD-RLB, 2020 WL 515853, *9 (M.D. La. Jan. 3, 2020)(quoting
Staron v. McDonald's Corp., 51 F.3d 353, 356 (2d Cir. 1995); e.g., cf., Henderson v. Ford Motor Co., 403
F.3d 1026 (8th Cir. 2005) (employment discrimination under the ADA).

                                                                                      Page 100 of 104

                                                                                               23-30825.30656
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 77825211/06/23
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   101 of 104




‘resolution of . . . complicated, fact-intensive inquiries.’”566

        Certainly, LSP has the authority to determine whether an accommodation is

appropriate at all and, if so, what accommodation is reasonable when balanced against

the security and other interests of the prison. However, the evidence shows that LSP

generally denies accommodation requests without serious investigation, particularly

regarding black box restraints. The problem is not that LSP utilizes black boxes to

transport disabled patients; rather, the problem is that there is no evidence that LSP is

considering each accommodation request on a case-by-case basis as required by the

ADA.

        Evidence also establishes that LSP continuously fails to consider the need for

accommodations in applying discipline to disabled inmates. While “[m]aintenance of

prison security is a legitimate function of prison officials, who must be accorded broad

discretion in that function,”567 a prison must evaluate a disabled inmate’s needs and the

accommodations necessary to ensure reasonable access to prison services, and failure

to do so violates the ADA and RA as a matter of law.568 This obligation to provide

accommodations applies to the discipline of disabled inmates, as well: “A failure to

provide a reasonable accommodation can occur where a correctional officer could have

used less force or no force during the performance of his or her penological duties with




566
    Id. (quoting R.K. ex rel J.K. v. Bd. of Educ. of Scott Cnty., Ky., 494 F. App'x 589, 597 (6th Cir. 2012)).
567
     Williamson v. Larpenter, No. 19-254, 2019 WL 3719761, at *12 (E.D. La. July 15, 2019)(citing
Waganfeald v. Gusman, 674 F.3d 475, 485 (5th Cir. 2012), petition for cert. filed, 81 U.S.L.W. 3064 (U.S.
July 18, 2012) (No. 12-85) (citing Whitley v. Albers, 475 U.S. 312, 322 (1986); Bell v. Wolfish, 441 U.S.
520, 546–47 (1979))(“[S]ecurity considerations are peculiarly within the province and professional expertise
of corrections officials, and, in the absence of substantial evidence in the record to indicate that the officials
have exaggerated their response to these considerations, courts should ordinarily defer to their expert
judgment in such matters.”) (quotation omitted)).
568
    Pierce v. District of Columbia, 128 F.Supp.3d 250, 271–72 (D.D.C. 2015).

                                                                                            Page 101 of 104

                                                                                                      23-30825.30657
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 77825311/06/23
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   102 of 104




respect to a disabled person. A failure to provide a reasonable accommodation, or

discrimination by reason of disability, constitutes a violation of the ADA.”569

       Actions like assigning wheelchair-bound disabled inmates to top bunks while in

disciplinary segregation is unquestionably a failure to accommodate in applying discipline,

yet Falgout made clear that there is no intention at LSP to change its policies, procedures

or practices in disciplining disabled inmates. Although there is an appeal process to

challenge particular disciplinary actions, it appears broken or unutilized.

       With the exception of exclusionary policies in duty status/work assignments, the

Court finds that all of the ADA violations identified by the Court in the liability ruling persist

at LSP with no indication, except for the purported future partnership with Accessology,

that changes are planned or thought to be necessary.

       C. Remedy

       The Prison Litigation Reform Act (PLRA) allows a federal court to order injunctive

relief to remedy a constitutional violation “with respect to prison conditions,” but the

injunctive relief fashioned “shall extend no further than necessary to correct the violation

of the Federal right of a particular plaintiff or plaintiffs.”570 Additionally, the Court must find

that the injunctive relief “is narrowly drawn, extends no further than necessary to correct

the violation of the Federal right, and is the least intrusive means necessary to correct the

violation of the Federal right.”571 Further, the Court must “give substantial weight to any

adverse impact on public safety or the operation of a criminal justice system caused by

the relief,”572 but “[c]ourts may not allow constitutional violations to continue simply


569
    Armstrong v. Newsom, No. 94-cv-02307 CW, 2021 WL 933106, at *3 (N.D. Cal. Mar. 11, 2021).
570
    18 U.S.C. § 3626(a)(1)(A).
571
    Id.
572
    Id.

                                                                                 Page 102 of 104

                                                                                         23-30825.30658
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 77825411/06/23
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   103 of 104




because a remedy would involve intrusion into the realm of prison administration.”573

Although “plaintiffs are not entitled to the most effective available remedy[,] they are

entitled to a remedy that eliminates the constitutional injury.”574

        The attitudes of those in medical leadership at the DOC and LSP easily

demonstrate that injunctive relief is required in this case. The court in Madrid v. Gomez

found a need for injunctive relief in a prison setting based in large part on the attitudes

and conduct of prison leadership:

         Our assessment of defendants’ current attitudes and conduct only
        reinforces our view that injunctive relief is not only appropriate in this case,
        but perhaps “indispensable, if constitutional dictates—not to mention
        considerations of basic humanity—are to be observed in the prison [ ].”
        Stone, 968 F.2d at 861. Throughout this litigation, defendants have shown
        no indication that they are committed to finding permanent solutions to
        problems of serious constitutional dimension. On the contrary, defendants
        have expended most of their energies attempting to deny or explain away
        the evidence of such problems. Even when defendants modify certain
        policies (as they have done in the use-of-force area), they do not argue that
        such changes evidence an intent to address the problems raised by this
        complaint; rather, defendants typically assert that they were precipitated by
        unrelated matters.575

The same could be said of the LSP Defendants. The Court’s liability ruling appears to

have been dismissed out of hand by Dr. Lavespere and Dr. Toce. They claim of many

unconstitutional aspects of healthcare that nothing is wrong with their policies and

procedures. Several new leaders at LSP have never seen the liability ruling, nor do they

have any idea what specific aspects of healthcare at LSP must be remedied. In the rare

instances that Defendants concede necessary changes, evidence suggests that they

have taken a “band-aid” approach to remedies. Such changes do not prevent the Court


573
    Brown v. Plata, 563 U.S. at 511.
574
    Ball v. LeBlanc, 792 F.3d 584, 599 (5th Cir. 2015)(citing Westefer v. Neal, 682 F.3d 679, 683–84 (7th
Cir.2012)).
575
    889 F.Supp. 1146, 1281 (N.D. Cal. 1995)(footnotes omitted).

                                                                                     Page 103 of 104

                                                                                              23-30825.30659
         Case:3:15-cv-00318-SDD-RLB
        Case    23-30825    Document: 113-1 Page:
                                       Document 77825511/06/23
                                                         Date Filed:
                                                                Page01/11/2024
                                                                     104 of 104




from ordering injunctive relief because “[c]hanges made by defendants after suit is filed

do not remove the necessity for injunctive relief, for practices may be reinstated as swiftly

as they were suspended.”576 Moreover, a defendant’s assurance that it is “already on the

path towards compliance is insufficient to moot the issue.”577

           Accordingly, the Court will enter Permanent Injunctive relief by separate order.

VI.        CONCLUSION

           For the reasons set forth above, The Court finds that Plaintiffs have established

their entitlement to permanent injunctive relief by a preponderance of the evidence. The

Court will enter judgment in favor of Plaintiffs and against Defendants.

           IT IS SO ORDERED.
           Baton Rouge, Louisiana, this 6th day of November, 2023.



                                                       S
                                                    ________________________________
                                                    SHELLY D. DICK
                                                    CHIEF DISTRICT JUDGE
                                                    MIDDLE DISTRICT OF LOUISIANA




576
      Gates v. Collier, 501 F.2d 1291, 1321 (5th Cir. 1974).
577
      Gates v. Cook, 376 F.3d at 342–43.

                                                                             Page 104 of 104

                                                                                     23-30825.30660
Case: 23-30825   Document: 113-1   Page: 256   Date Filed: 01/11/2024




                     TAB 4
          Case:
           Case23-30825    Document: 113-1
                3:15-cv-00318-SDD-RLB       Page: 779
                                         Document 257 11/06/23
                                                       Date Filed: 01/11/2024
                                                                 Page  1 of 5




                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF LOUISIANA


         JOSEPH LEWIS, JR., et al., on behalf
         of themselves and all others similarly          CIVIL ACTION NO. 3:15-cv-
         situated,                                       00318


         Plaintiffs,
                                                         JUDGE SDD
                           v.

         BURL CAIN, Warden of the Louisiana              MAGISTRATE RLB
         State Penitentiary, in his official
         capacity, et al.,

         Defendants.

                                       REMEDIAL ORDER
          For the reasons set forth in the Court’s Rulings, dated March 31, 2021,1 (“Liability

    Ruling”) and November 6, 2023,2 (“Remedial Ruling”):

    IT IS HEREBY ORDERED:
    I.     SPECIAL MASTERS
           A. The Court hereby Orders the appointment of 3 Special Masters to develop
              proposed remedial plans, make recommendations regarding implementation
              and monitor implementation of remedial plans (“Remedial Plans”) to cure and
              eliminate the violations found in the Court’s Liability Ruling and Remedial
              Ruling.

           B. The Court will appoint one physician and one nurse or nurse practitioner to
              develop, make recommendations regarding implementation, and monitor
              implementation of a medical care remedial plan and one Special Master with
              knowledge and expertise in handicap and disability access and
              accommodations      to   develop,    make     recommendations   regarding
              implementation and monitor implementation of a remedial plan to address
              and rectify the ADA and RA violations found by the Court.


1
    Rec. Doc. 594.
2
    Rec. Doc. 778.

                                                1

                                                                                      23-30825.30661
      Case:
       Case23-30825    Document: 113-1
            3:15-cv-00318-SDD-RLB       Page: 779
                                     Document 258 11/06/23
                                                   Date Filed: 01/11/2024
                                                             Page  2 of 5



      C. The parties are hereby Ordered to meet and confer within 14 days of this
         Order to identify and discuss potential Special Masters with the qualifications
         set forth herein. Within 30 days of this Order, the parties shall submit names of
         proposed Special Masters for each position. If the parties are unable to agree
         on proposed Special Masters, each party will submit up to three proposed
         names for each position.
         D. The Court will appoint three Special Masters to prepare proposed
         Remedial Plans and monitor and report on implementation and compliance.
II.   REMEDIAL PLANS
      A. Medical Care Remedial Plan
      A proposed Remedial Plan addressing the following shall be submitted to the
      Court within 120 days after the appointment of the Special Master.
         1. Standards and Procedures for Sick Call, including but not limited to, the
            sick call request process, evaluation by a provider, and documentation
            and/or charting and follow-up.
         2. Standards and Procedures for Clinical Care, including but not limited to,
            protocols pertaining to obtaining and documenting patient history, medical
            charting, examination and diagnostic protocols, treatment protocols,
            including review and recommendations of existing “Individual Treatment
            Orders,” medication administration, documentation protocols, and
            medication charting and follow-up.
         3. Standards and Procedures for Specialty Care, including but not limited to,
            protocols pertaining to referrals, tracking, follow-up, review, and
            implementation of specialists’ orders and charting.
         4. Standards and Procedures for Infirmary and In-Patient Care, including but
            not limited to, protocols pertaining to admission, level of care
            determinations, rounding and assessments, care planning, medication
            administration and documentation, charting, and the protocols for the
            appropriate use and training of inmate orderlies.
         5. Standards and Procedures for Emergency Care, including but not limited
            to, staffing numbers and disciplines in the ATU, standards and protocols for
            transfer to outside hospitals, and protocols for the appropriate use and
            training of EMTs.
         6. Standards and Procedures for medical records management, including
            electronic medical records and protocols for providing real time or
            contemporaneous access to medical records by outside providers,
            specialists, and related disciplines.
         7. Standards and Procedures for medical management and administration,
            including but not limited to, recommendations for medical management
            policies   and   procedures,     recommendations   regarding  medical

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                                                                                23-30825.30662
       Case:
        Case23-30825    Document: 113-1
             3:15-cv-00318-SDD-RLB       Page: 779
                                      Document 259 11/06/23
                                                    Date Filed: 01/11/2024
                                                              Page  3 of 5



             administrative organization, staffing levels, credentialing, performance
             reviews, peer reviews, mortality reviews, quality control and quality
             improvement.
       B. ADA REMEDIAL PLAN
       A proposed Remedial Plan addressing the following shall be submitted to the Court
       within 120 days after the appointment of the Special Master.

          1. Identification of architectural barriers to be remedied as set forth in Mark
             Mazz’s expert report, a determination of the appropriate remedies, and a
             schedule for such remediation.
          2. Standards and procedures for Methods of Administration, including but not
             limited to, the appointment of a qualified, properly trained ADA Coordinator
             and a determination regarding the necessity of an ADA Advisory
             Committee as previously contemplated by Directive 1.016.

          3. Standards and procedures for receiving, tracking, and appropriately
             responding to accommodation requests.
          4. Standards and procedures pertaining to the appropriate ADA training for
             LSP staff and inmate orderlies.
          5. Standards and Procedures for the appropriate consideration of disabled
             status when imposing discipline and training related thereto.
III.    COOPERATION AND ACCESS
       A. No later than 30 days after their appointment, the Special Masters shall have
          access to Louisiana State Penitentiary (“LSP”) to conduct reviews of the
          facility, the health care and ADA operations.

       B. The Special Masters shall have access to any and all records and documents
          appropriate and necessary for their tasks and the Department of Corrections
          shall provide any records and documents requested without delay and in no
          event later than 14 days following the request. Oral requests for records and
          documents should be confirmed by electronic mail.
       C. The Department of Corrections shall designate, in writing, employees to whom
          records requests should be directed by the Special Masters.

       D. The Department of Corrections shall designate, in writing, one headquarters
          employee, one or more Wardens and one or more security employee(s) to
          coordinate and facilitate the work of the Special Masters.
       E. Special Masters’ visits to LSP shall be facilitated by the DOC on 24 hours
          written notice by the Special Master(s). The Special Masters shall be given
          reasonable access to class members.

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                                                                               23-30825.30663
      Case:
       Case23-30825    Document: 113-1
            3:15-cv-00318-SDD-RLB       Page: 779
                                     Document 260 11/06/23
                                                   Date Filed: 01/11/2024
                                                             Page  4 of 5



      F. The Special Masters shall be provided electronic access to the record of these
         proceedings and the Court shall designate a Clerk to assist the Special
         Masters in retrieval of documents from the record if necessary.
IV.   REPORTING
      A. Within 90 days of appointment, the Special Masters shall submit a proposed
         Medical Care Remedial Plan and a proposed ADA/RA Remedial Plan to the
         Court and the parties.

      B. The Remedial Plans should include recommended steps for implementation
         and proposed timelines for completion and compliance.
      C. Within 30 days of the Special Masters’ submission of the proposed
         Remedial Plans, either party may submit proposed amendments to the
         proposed Remedial Plans. If either party intends to submit proposed
         amendments, the parties shall meet and confer no less than 14 days after
         the Monitors’ submission in an effort to agree upon proposed amendments.
         The parties shall discuss any proposed amendments with the Special
         Masters no less than 7 days before submission of proposed amendments to
         the Court.
      D. The Court will review the proposed Remedial Plans and any requests for
         amendment and will enter Orders necessary and appropriate to effect
         remedies.
V.     MONITORING IMPLEMENTATION OF REMEDIAL PLANS AND PERIODIC
       REPORTS TO COURT
      A. Beginning six months after the Court enters Orders effectuating the
         Remedial Plans, and at recurring intervals every six months thereafter, the
         Special Masters shall submit a comprehensive report advising the Court of
         the implementation status of each component of the Plan and any non-
         compliance or concerns regarding whether completion deadlines will be met.
         The parties shall have 14 days to comment on any periodic report and the
         Court will schedule a conference to review progress and impediments to
         completion and compliance if needed.

      B. Monitoring of progress and compliance with Court’s Remedial Order(s) shall
         continue until further Order of this Court.
      C. The Special masters shall continue to have access to LSP, class members,
         and records and documents during the monitoring period under the terms
         set forth above.
VI.   FEES AND COSTS
      All costs associated with the work and reporting of the Special Masters shall be
      paid by the Defendants.
                                           4

                                                                                 23-30825.30664
    Case:
     Case23-30825    Document: 113-1
          3:15-cv-00318-SDD-RLB       Page: 779
                                   Document 261 11/06/23
                                                 Date Filed: 01/11/2024
                                                           Page  5 of 5



     As the prevailing parties, Plaintiffs are directed to file a Motion to Award
     Attorneys’ Fees and Costs within 30 days of this Order. Oppositions, if any
     shall be filed by the Defendants within 14 days thereafter.
     Plaintiffs may file Supplemental Motions for Attorneys’ Fees and Costs during
     the implementation and monitoring period, but in any event, no more frequently
     than 90-day intervals. Oppositions, if any, to Motions for Supplemental fees
     and Costs shall be filed within 14 days of the filing of the Motion.


IT IS SO ORDERED.

Baton Rouge, Louisiana, this 6th day of November, 2023.


                                      S
                                     ________________________________
                                     SHELLY D. DICK
                                     CHIEF DISTRICT JUDGE
                                     MIDDLE DISTRICT OF LOUISIANA




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                                                                            23-30825.30665
Case: 23-30825   Document: 113-1   Page: 262   Date Filed: 01/11/2024




                     TAB 5
     Case:
      Case23-30825    Document: 113-1
           3:15-cv-00318-SDD-RLB       Page: 780
                                    Document 263 11/06/23
                                                  Date Filed: 01/11/2024
                                                            Page  1 of 1




                         UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA



JOSEPH LEWIS, JR., ET AL.                                            CIVIL DOCKET

VERSUS                                                               15-318-SDD-RLB

BURL CAIN, ET AL.



                                      JUDGMENT

       For the written reasons assigned:

       Judgment is hereby entered in favor of Class Plaintiffs and the ADA Sub-Class

Plaintiffs and against Defendants, the current Warden of the Louisiana State Penitentiary,

et al. This matter shall be closed by the Clerk of Court; however, the Court retains

jurisdiction over the procedures set forth in the Court’s Remedial Order and any issues

pertaining thereto.

       IT IS SO ORDERED.
       Baton Rouge, Louisiana, this 6th day of November, 2023.




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                                           ________________________________
                                           SHELLY D. DICK
                                           CHIEF DISTRICT JUDGE
                                           MIDDLE DISTRICT OF LOUISIANA




                                                                                23-30825.30666
Case: 23-30825   Document: 113-1   Page: 264   Date Filed: 01/11/2024




                     TAB 6
        Case:
         Case 23-30825    Document: 113-1
              3:15-cv-00318-SDD-RLB        Page:394
                                       Document  265 02/26/18
                                                      Date Filed: 01/11/2024
                                                               Page  1 of 30




                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA



JOSEPH LEWIS, JR., ET AL.                                                 CIVIL ACTION

VERSUS                                                                    15-318-SDD- RLB

BURL CAIN, ET AL.

                                            RULING

        This matter is before the Court on the Motion for Class Certification1 filed Plaintiffs,

Joseph Lewis, Jr., Kentrell Parker, Farrell Sampier, Reginald George, John Tonubbee,

Otto Barrera, Clyde Carter, Edward Giovanni, Ricky D. Davis, Lionel Tolbert, and Rufus

White (“Plaintiffs”).2 Defendants, Louisiana Department of Public Safety and Corrections

(“DOC”), Darrel Vannoy, in his official capacity as Warden of the Louisiana State

Penitentiary (“LSP” or “Angola”), Stephanie LaMartiniere, in her official capacity as

Assistant Warden of LSP, James M. Leblanc, in his official capacity as Secretary of DOC,

Raman Singh, M.D., in his official capacity as Medical Director for DOC, Stacye Falgout,

in her official capacity as the Chief Nursing Officer for DOC, Randy Lavespere, M.D., in

his official capacity as the Medical Director for LSP, Sherwood Poret, RN, in his official

capacity as the Director of Nursing for the LSP, and Cynthia Park, ACNP, in her official

capacity as an Acute Care Nurse Practitioner at LSP (jointly “Defendants”), have filed an

Opposition3 to this motion, to which Plaintiffs filed a Reply.4 The Court held a class



1
  Rec. Doc. No. 133; Supporting Memorandum, Rec. Doc. No. 140.
2
  Plaintiff Cedric Evans was terminated on June 21, 2016.
3
  Rec. Doc. No. 174.
4
  Rec. Doc. No. 187.
43681
                                                                                    Page 1 of 30


                                                                                      23-30825.17733
        Case:
         Case 23-30825    Document: 113-1
              3:15-cv-00318-SDD-RLB        Page:394
                                       Document  266 02/26/18
                                                      Date Filed: 01/11/2024
                                                               Page  2 of 30




certification hearing on November 2, 2017, where the Parties presented argument and

evidence regarding class certification.5 Subsequently, the Parties were allowed to submit

post-hearing briefs for the Court’s consideration.6 For the following reasons, Plaintiffs’

motion shall be granted.

I.      BACKGROUND AND PARTIES’ ARGUMENTS

        This suit is brought by several inmates incarcerated at the Louisiana State

Penitentiary (“LSP”). Plaintiffs claim that the medical care provided at LSP violates the

Eighth Amendment prohibition of cruel and unusual punishment. Plaintiffs also claim that

the medical treatment of disabled inmates at LSP violates the Americans with Disabilities

Act (“ADA”)7 and the Rehabilitation Act (“RA”).8

        Plaintiffs seek to represent a class of all prisoners who are now, or will in the future,

be confined at LSP (the “Class”), as well as an ADA Subclass of inmates with disabilities

who are now, or will in the future, be confined at LSP (the “ADA Subclass”).9 Plaintiffs

request injunctive relief to abate the alleged systemic deficiencies in Defendants’ policies

and practices that subject all inmates to unreasonable risks of serious harm.10

        The Defendants oppose Plaintiffs’ Motion for Class Certification arguing that both

the proposed Class and ADA Subclass are not entitled to class-wide injunctive relief

under Rule 23(b)(2) because: (1) the class members have not “been harmed in essentially




5
  Rec. Doc. No. 375.
6
  See Rec. Doc. Nos. 377 & 378.
7
  42 U.S.C. § 12101, et seq.
8
  29 U.S.C. § 701.
9
  Rec. Doc. No. 140 at 2.
10
   Id.
43681
                                                                                     Page 2 of 30


                                                                                       23-30825.17734
        Case:
         Case 23-30825    Document: 113-1
              3:15-cv-00318-SDD-RLB        Page:394
                                       Document  267 02/26/18
                                                      Date Filed: 01/11/2024
                                                               Page  3 of 30




the same way,” and (2) a single injunction could not “provide relief to each member of the

class.”11

        In addition, Defendants assert that, even if the ADA Subclass meets the

requirements of FRCP 23(a) and (b)(2), the ADA Subclass of individuals have failed to

meet the Prison Litigation Reform Act’s (“PLRA”)12 exhaustion requirement. Thus,

Defendants argue that the ADA Subclass - regardless of meeting the class certification

requirements - cannot bring legal action until administrative remedies are exhausted.

II.     STANDING AND THE PLRA EXHAUSTION REQUIREMENT

        Only after the Court has determined if the Named Plaintiffs have standing may it

consider whether they have representative capacity to assert the rights of others. Indeed,

the Fifth Circuit holds that “[s]tanding is an inherent prerequisite to the class certification

inquiry.”13 Defendants contend that several Named Plaintiffs lack standing to represent

a class because their claims are moot for various reasons. Named Plaintiffs Joseph

Lewis, Jr., Edward Giovanni, Shannon Hurd, and Alton Batiste are now deceased. Cedric

Evans has been released from DOC custody, and Alton Adams is no longer at LSP.14

Defendants also argue that Named Plaintiffs Kentrell Parker (“Parker”) and Farrell

Sampier (“Sampier”) have failed to exhaust administrative remedies prior to filing suit as

required by the PLRA.




11
   Rec. Doc. No. 174.
12
   42 U.S.C. § 1997e(a).
13
   Bertulli v. Indep. Ass’n of Cont’l Pilots, 242 F.3d 290, 294 (5th Cir. 2001).
14
   Plaintiffs dispute whether Alton Adams is still a Named Plaintiff: “Plaintiffs dispute whether Defendants’
decision to transfer Mr. Adams to a different prison, transfer him back to LSP, and transfer him out again
moots his claim.” Rec. Doc. No. 222, p. 2 (citing Rec. Doc. 201-3 at 2-3). Nevertheless, the Court cannot
consider his ARP as it was filed after the filing of the Complaint on May 20, 2015.
43681
                                                                                                Page 3 of 30


                                                                                                 23-30825.17735
        Case:
         Case 23-30825    Document: 113-1
              3:15-cv-00318-SDD-RLB        Page:394
                                       Document  268 02/26/18
                                                      Date Filed: 01/11/2024
                                                               Page  4 of 30




        The PLRA mandates that “[n]o action shall be brought with respect to prison

conditions ... by a prisoner ... until such administrative remedies as are available are

exhausted.”15 The Supreme Court has held that “the PLRA's exhaustion requirement

applies to all inmate suits about prison life, whether they involve general circumstances

or particular episodes.”16         The Supreme Court made clear that exhaustion is now

mandatory.17 The Fifth Circuit has held that the available administrative remedy must be

pursued to its conclusion.18 In Gates v. Cook, the Fifth Circuit held that exhaustion of

remedies by one named representative plaintiff is sufficient to satisfy the requirement for

the class.19

        Defendants contend that, as of May 20, 2015, the date suit was filed, no Named

Plaintiff had exhausted his administrative remedies as to the following claims: (1) the use

of a co-pay system; (2) malingering; (3) adequacy of the medical records; and (4) ADA

facilities.20 Defendants argue that two of these do not relate to current Named Plaintiffs

and are therefore irrelevant, and the remaining two do not raise ADA facilities claims.

Defendants maintain that the grievances of Parker and Sampier do not raise a complaint

regarding the inadequacy of the facility structures themselves or any structural barriers

preventing them from accessing medical care or other LSP programs.



15
   Supra n. 12.
16
   Porter v. Nussle, 534 U.S. 516, 532, 122 S.Ct. 983, 152 L.Ed.2d 12 (2002).
17
   Id. at 524, 122 S.Ct. 983.
18
   Wright v. Hollingsworth, 260 F.3d 357 (5th Cir. 2001).
19
   376 F.3d 323, 330 (5th Cir. 2004)(citing Oatis v. Crown Zellerbach Corp., 398 F.2d 496, 498–99 (5th
Cir.1968) (exhaustion of remedies requirement satisfied for class action if named plaintiff representing class
exhausted remedies); 7A Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice and
Procedure: Civil 2d § 1776 (2d ed. 1986) (“[W]hen prospective relief is the primary remedy being sought, a
representative who has exhausted his administrative remedies may bring a class suit on behalf of those
who have not done so.”).
20
   Rec. Doc. No. 378, p. 4.
43681
                                                                                                 Page 4 of 30


                                                                                                  23-30825.17736
        Case:
         Case 23-30825    Document: 113-1
              3:15-cv-00318-SDD-RLB        Page:394
                                       Document  269 02/26/18
                                                      Date Filed: 01/11/2024
                                                               Page  5 of 30




         Plaintiffs claim that, before filing suit, Named Plaintiffs filed and exhausted at least

twenty-eight (28) Administrative Remedy Procedure grievances (“ARPs”) regarding

medical care and at least eight (8) specifically relating to an individual’s disability.

Plaintiffs contend that the burden of establishing failure to exhaust administrative

remedies is on the Defendants. Indeed, the Fifth Circuit has held that, “[f]ailure to exhaust

is an affirmative defense, such that the defendants have the burden of demonstrating that

[plaintiff] failed to exhaust administrative remedies.”21 Plaintiffs further contend that the

Defendants have failed to carry this burden as to the General Class and ADA Subclass

based at least on the allegations set forth in the ARPs submitted by Parker, Sampier, and

Davis.

         As to the General Class, Defendants argue that no claims have been exhausted

regarding the issue of co-pays or malingering.22 This is incorrect. In the ARPs filed by

Clyde Carter (“Carter”), he clearly complains about being charged a $6.00 co-pay

although he allegedly received no medical treatment.23 Further, in the same ARP, Carter

complains that he was “locked up” “just for trying to get some kind of medical assistance”24

and requests relief that “no kind of retaliation be taken against me for the fling of this

Administrative Remedy.”25 This ARP was exhausted on June 30, 2014, well before the

filing of this action. This establishes that administrative remedies have been exhausted

as to claims of malingering and co-pays.



21
   Wilson v. Epps, 776 F.3d 296, 299, 5th Cir. 2015)(citing Jones v. Bock, 549 U.S. 199, 216, 127 S.Ct.
910, 166 L.Ed.2d 798 (2007)).
22
   Defendants do not appear to challenge the exhaustion of other complaints of the General Glass.
23
   Rec. Doc. No. 261-6, p. 6, 9-10.
24
   Id. at p. 9.
25
   Id. at p. 10.
43681
                                                                                          Page 5 of 30


                                                                                            23-30825.17737
        Case:
         Case 23-30825    Document: 113-1
              3:15-cv-00318-SDD-RLB        Page:394
                                       Document  270 02/26/18
                                                      Date Filed: 01/11/2024
                                                               Page  6 of 30




        As to the ADA Subclass, Parker’s ARP includes the following summarization of his

complaint: “COMPLAINS THAT THE TREATMENT CENTER IS NOT SUITABLE [sic]

STAFFED OR EQUIPPED TO ACCOMMODATE QUADRIPLEGIC PATIENTS SUCH AS

HIMSELF.”26 Sampier’s ARP complains of several inadequacies in medical care and

ultimately requests the following relief: “Complainant seek [sic] to be released to a

medical facility that is equipped to adequately handle the basic and serious medical needs

required for a quadriplegic.”27 The record reflects that both grievances were investigated,

denied, appealed, and denied again. Carter also exhausted an ARP complaining about

not being able to walk on “the uneven grounds” at LSP due to his knee disability.28 The

ARP of Ricky Davis complains of the failure of LSP to transfer him to the hospital for

surgery in a handicap accessible transport vehicle.29 It is undisputed that this claim was

exhausted on April 1, 2015, prior to filing suit.

        Plaintiffs cite to this Court’s recent decision in Hacker v. Cain,30 which involved an

inmate’s Eighth Amendment and ADA/RA claims regarding treatment of his cataracts.

Much like the present case, the defendants claimed the plaintiff’s administrative remedies

were not exhausted because he failed to specifically request a particular accommodation.

The Court denied the defendants’ argument, finding as follows:

        Defendants' second argument in favor of summary judgment as to this
        claim—Plaintiff failed to properly exhaust his remedies, as the PLRA
        requires, by not specifically requesting an accommodation (beyond
        cataracts surgery) pursuant to the ADA/RA in his ARP—is oversold. Per the

26
   Rec. Doc. No. 359, p. 26.
27
   Rec. Doc. No. 359-1, pp. 1-2.
28
   Rec. Doc. No. 187-8, p. 3.
29
   Rec. Doc. No. 359 at 42-53.
30
   No. 3:14-00063-JWD-EWD, 2016 WL 3167176 (M.D. La. June 6, 2016).
43681
                                                                                   Page 6 of 30


                                                                                    23-30825.17738
        Case:
         Case 23-30825    Document: 113-1
              3:15-cv-00318-SDD-RLB        Page:394
                                       Document  271 02/26/18
                                                      Date Filed: 01/11/2024
                                                               Page  7 of 30




        PLRA, “a grievance complaint must provide administrators with a fair
        opportunity under the circumstances to address the problem that will later
        form the basis of the suit.” It need not “give adequate notice of all claims or
        potential defendants.” Rather, an ARP must do no more than “address the
        same inappropriate behavior by ... [Defendants] that is addressed in the”
        later filed suit. Plaintiff's ARP, as well as his medical record, leave no doubt
        as to the nature of his complaint: his worsening eyesight and approaching
        blindness. While he may have specifically asked for surgery, no reasonable
        reader could be confused about the underlying medical problem; indeed,
        LSP and LDPSC specifically define “cataracts surgery” as “medically
        necessary.” With enough evidence available to validate this inference, a
        reasonable jury could readily reach the pivotal subsidiary conclusion that
        Defendants were on notice of Plaintiff's need for an accommodation,
        as his declining vision necessarily rendered him unable to perform the work
        of an inmate whose vision was unimpaired. The PLRA requires no more
        than such holistic and general notice, one which Plaintiff's ARP
        sufficiently provided.31

Relying on Hacker, Plaintiffs maintain that, at least Parker’s, Sampier’s, and Davis’ ARPs

“provided Defendants with both specific and ‘holistic and general’ notice that LSP’s

facilities were not equipped to accommodate inmates with disabilities.”32

        Plaintiffs also cite the Fifth Circuit’s decision in Johnson v. Johnson,33 holding that:

        In deciding how much detail is required in a given case, we believe that a
        court must interpret the exhaustion requirement in light of its purposes,
        which include the goal of giving officials “time and opportunity to address
        complaints internally,” Porter v. Nussle, 534 U.S. 516, 525, 122 S.Ct. 983,
        152 L.Ed.2d 12 (2002). Thus, a grievance should be considered sufficient
        to the extent that the grievance gives officials a fair opportunity to address
        the problem that will later form the basis of the lawsuit.34

The Johnson court also quoted a federal rules decision from the Northern District of Illinois

holding that “inmates complaining about various aspects of the conditions in their housing



31
   Id. at *18 (internal citations omitted)(emphasis added).
32
   Rec. Doc. No. 377, p. 12, quoting Hacker at *19. Plaintiff contend that a number of other Plaintiffs
exhausted claims on these issues; however, many of these were not filed or exhausted until after May 20,
2015.
33
   385 F.3d 503 (5th Cir. 2004).
34
   Id. at 516-17.
43681
                                                                                            Page 7 of 30


                                                                                             23-30825.17739
        Case:
         Case 23-30825    Document: 113-1
              3:15-cv-00318-SDD-RLB        Page:394
                                       Document  272 02/26/18
                                                      Date Filed: 01/11/2024
                                                               Page  8 of 30




unit need only grieve their placement in that unit, not each of the various alleged

unconstitutional conditions present in the unit; ‘[o]therwise the defendants could obstruct

legal remedies to unconstitutional actions by subdividing the grievances....’).”35

        Additionally, the Supreme Court has held that “extra-statutory limitations on a

prisoner’s capacity to sue” generally excuse any lack of detail in named plaintiffs’

grievances.36 In this context, it is important to note that Defendants do not allow multiple

complaints in a single grievance.37              Plaintiffs contend the Defendants exhaustion

requirements necessitate little specificity, multiple complaints are not allowed in a single

grievance, and inmates are barred from filing more than one grievance at a time.38 Thus,

following Supreme Court precedent, Plaintiffs argue that any lack of detail in the Named

Plaintiffs’ grievances is excused due to these extra-statutory limitations on [Plaintiffs’]

capacity to sue.

        Plaintiffs also argue that Defendants read the PLRA’s exhaustion requirement too

broadly as Defendants appear to argue that each of the subdivided claims must be

individually exhausted by one of the Named Plaintiffs. Plaintiffs maintain that many of

these subdivided claims may be exhausted by a single grievance.                    Thus, Plaintiffs

contend that violations of the ADA/RA for non-compliance by the facilities housing and

treating inmates and violations of the ADA/RA relating to the medical care and treatment

provided (or not provided) to inmates with disabilities may both be exhausted by a single

grievance claiming any violation of the ADA/RA with sufficient facts to place LSP on notice



35
   Id. at 521 (quoting Lewis v. Washington, 197 F.R.D. 611, 614 (N.D.Ill.2000)).
36
   Ross v. Blake, 136 S.Ct. 1850, 1857 n. 1 (2016).
37
   Rec. Doc. No. 187, Exhibit B at 6.
38
   Rec. Doc. No. 180, p. 5.
43681
                                                                                        Page 8 of 30


                                                                                         23-30825.17740
         Case:
          Case 23-30825    Document: 113-1
               3:15-cv-00318-SDD-RLB        Page:394
                                        Document  273 02/26/18
                                                       Date Filed: 01/11/2024
                                                                Page  9 of 30




of the problem(s). Further, because Defendants’ procedure requires little specificity and

prohibits inmates from including multiple complaints in a single grievance, the standard

for a sufficient ARP is low.

           Considering the above, the Court finds that Parker’s, Sampier’s, and Davis’ ARPs

put the Defendants on notice that they were complaining about LSP’s failure to

accommodate inmates with disabilities in treatment, medical care, and access to

handicap accessible transportation, facilities, and medical equipment. The grievances

provided Defendants with a fair opportunity to address the problems that would later form

the basis of the lawsuit, and it is meritless to argue that these ARPs failed to provide

notice to Defendants that violations of the ADA/RA were implicated.

           Moreover, the Court finds it disingenuous to now argue an exhaustion defense

when the Defendants’ Rule 30(b)(6) designated representative Trish Foster testified,

under oath and on the record, that the claims of the Named Plaintiffs, at that time, were

exhausted:

           Q: She can have it in front of her or she can answer maybe if there are any
           unresolved ARPs of any of the plaintiffs outstanding.

           A: I know there is none that – I know everybody has went through both
           steps. I did check that. Everybody has completed and exhausted their
           ARPs.
                                             * * *

           Q: Was there any grievance in the plaintiffs that had not been exhausted
           that you recall?

           A: No. They have all went through the first and second step.39




39
     Rec. Doc. No. 180-1, p. 27, lines 9-16, 23-25 through p. 28, line 1.
43681
                                                                                  Page 9 of 30


                                                                                   23-30825.17741
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  274 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  10 of 30




This testimony was given before the Complaint was amended, but Plaintiffs Parker,

Sampier, and Davis were Named Plaintiffs at the time of this testimony. Parker later

submitted a Declaration stating that “though she testified in her deposition that all of the

Plaintiffs had exhausted the ARPs for their claims in the Complaint, she has come to the

realization sometime after giving her deposition that this statement is not true.”40

Nevertheless, the Fifth Circuit has held that a party cannot defeat a summary judgment

motion “using an affidavit that impeaches, without explanation, sworn testimony.”41

Considering that Defendants have an obligation “to prepare [their] designee to give

binding answers” and “cannot later proffer new or different allegations that could have

been made at the time of the 30(b)(6) deposition,”42 the Court finds that Defendants are

bound by this sworn statement as to the Named Plaintiffs at the time of the deposition.

        Accordingly, the Court finds that at least one Named Plaintiff has exhausted

administrative remedies and has standing to represent the ADA Subclass. Further, at

least one Named Plaintiff has standing to represent the General Class for the Eighth

Amendment claim on the theories advanced.

III.    CLASS CERTIFICATION UNDER RULE 23

        Class action is the exception to the usual rule that litigation is conducted by and

on behalf of individual named parties only.43 The requirements for class certification are




40
   Rec. Doc. No. 198-2.
41
   S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489, 495 (5th Cir. 1996). The Court acknowledges that this
is not a motion for summary judgment but finds that the principle applies equally under the circumstances.
42
   Super Future Equities, Inc. v. Wells Fargo Bank Minn., N.A., No. 06-cv-271, 2007 WL 4410370, at *8
(N.D. Tex. Dec. 14, 2007).
43
   Ibe v. Jones, 836 F.3d 516, 528 (5th Cir. 2016) (internal citation omitted).
43681
                                                                                             Page 10 of 30


                                                                                                23-30825.17742
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  275 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  11 of 30




governed by Rule 23 of Federal Rules of Civil Procedure. To obtain class certification,

parties must satisfy Rule 23(a)’s four prerequisites:

        (1) the class is so numerous that joinder of all members is impracticable;
        (2) there are questions of law or fact common to the class;
        (3) the claims or defenses of the representative parties are typical of the
        claims or defenses of that class; and
        (4) the representative parties will fairly and adequately protect the interests
        of the class.

        Assuming the proposed class satisfies the requirements of Rule 23(a), Plaintiffs

must also establish the requirements of Rule 23(b)(1), (2), or (3).44 Plaintiffs seek class

certification under Rule 23(b)(2), which permits certification if “the party opposing the

class has acted or refused to act on grounds that apply generally to the class, so that final

injunctive relief is appropriate respecting the class as a whole.”45 Plaintiffs, as the party

seeking class certification, bear the burden of demonstrating that the requirements of

Rule 23 have been met.46 “Rule 23 does not set forth a mere pleading standard.”47

        It is well-established that “[a] district court must conduct a rigorous analysis of the

[R]ule 23 prerequisites before certifying a class.”48 Generally, “a district court has broad

discretion when deciding a motion for class certification.”49 Before concluding that a class

has satisfied the requirements of Rule 23(a), an analysis will “[f]requently … entail some

overlap with the merits of the plaintiff’s underlying claim.”50                 The Fifth Circuit has



44
   M.D. ex rel. Stukenberg v. Perry, 675 F.3d 832, 837 (5th Cir. 2012) (citing Maldonado v. Ochsner Clinic
Found., 493 F.3d 521, 523 (5th Cir. 2007)).
45
   Fed. R. Civ. P. 23(b)(2).
46
   Ibe, 836 F.3d at 528 (citing O’Sullivan v. Countrywide Home Loans, Inc., 319 F. 3d 732, 737-38 (5th Cir.
2003)).
47
   Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350, 131 S.Ct. 2541, 2551 (2011).
48
   Perry, 675 F.3d at 837 (quoting Castano v. Am. Tobacco Co., 84 F.3d 734, 740 (5th Cir. 1996)).
49
   Dockery v. Fischer, No. 13-cv-326, 2015 WL 5737608 at *7 (S.D. Miss. Sept. 29, 2015) (citing Allison v.
Citgo Petroluem Corp., 151 F.3d 402, 408 (5th Cir.1998)).
50
   Wal-Mart, 564 U.S. at 351.
43681
                                                                                             Page 11 of 30


                                                                                                23-30825.17743
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  276 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  12 of 30




traditionally construed this directive to require a district court to “look beyond the

pleadings to understand the claims, defenses, relevant facts, and applicable substantive

law in order to make a meaningful determination of the certification issues.”51

        However, Rule 23 does not require Plaintiffs to show that questions common to

the class “will be answered, on the merits, in favor of the class.”52 “Rule 23 grants courts

no license to engage in free-ranging merits inquiries at the certification stage. Merits

questions may be considered to the extent—but only to the extent—that they are relevant

to determining whether the Rule 23 prerequisites for class certification are satisfied.”53

                      Class Certification of the Class and ADA Subclass

                                             Numerosity
        Under Rule 23(a)(1), certification is only appropriate where “the class is so

numerous that joinder of all members is impracticable.” The numerosity requirement

“requires examination of the specific facts of each case and imposes no absolute

limitations.”54 However, the Fifth Circuit has repeatedly noted that “the number of

members in a proposed class is not determinative of whether joinder is impracticable.”55

In addition, courts must consider “the geographical dispersion of the class, the ease with

which class members may be identified, the nature of the action, and the size of each

plaintiff’s claim.”56 Relevance of the numerosity requirement to class certification may in


51
    Perry, 675 F.3d at 837 (quoting McManus v. Fleetwood Enters., Inc., 320 F.3d 545, 548 (5th Cir.
2007)(internal quotations omitted)).
52
   Cole v. Livingston, No. 4:14-CV-1698, 2016 WL 3258345 (S.D. Tex. June 14, 2016) (quoting Amgen Inc.
v. Connecticut Ret. Plans & Trust Funds, 568 U.S. 455, 459, 133 S. Ct. 1184, 1191 (2013)).
53
   Amgen, 568 U.S. at 466, 133 S. Ct. at 1194-95.
54
   Dockery, 2015 WL 5737608 at *8 (quoting General Tel. Co. of the NW., Inc. v. EEOC, 446 U.S. 318, 329,
100 S.Ct. 1698, 64 L.Ed.2d 319 (1980)).
55
   Ibe, 836 F.3d at 528 (quoting In re TWL Corp., 712 F.3d 886, 894 (5th Cir. 2013)).
56
   Dockery, 2015 WL 5737608 at *8 (quoting Zeidman v. J. Ray McDermott & Co., Inc., 651 F.2d 1030,
1038 (5th Cir. 1981)).
43681
                                                                                          Page 12 of 30


                                                                                             23-30825.17744
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  277 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  13 of 30




appropriate cases be less significant where classwide discrimination has been alleged.

In addition, the fluid nature of a plaintiff class, as in prison-litigation context, counsels in

favor of certification of all present and future members. Although there is no strict

threshold, classes containing more than 40 members are generally large enough to

warrant certification.57

        Plaintiffs’ proposed Class consists of approximately 6400 incarcerated

individuals.58 While the number of members in Plaintiffs’ proposed ADA Subclass is not

exact, Plaintiffs estimate that hundreds of inmates at LSP have mobility, visual, cognitive,

or other medical impairments.59 To further support that the ADA Subclass satisfies the

numerosity requirement, Plaintiffs cite a 2014 statistic demonstrating that 14.4% of non-

institutionalized males in Louisiana reported a disability.60 Applying this rate to LSP’s

amount of inmates, Plaintiffs estimate that the ADA Subclass would consist of 900

members with disabilities.61 Defendants have conceded that numerosity is established in

this case:    “Defendants do not contest that Plaintiffs have satisfied the numerosity

required in order for them to establish the purported Class and purported ADA Subclass

as that class and subclass have been identified by Plaintiffs.”62 Therefore, the Court finds

that the numerosity requirement is satisfied.




57
   Braggs v. Dunn, 318 F.R.D. 653, 661 (M.D. Ala. 2017).
58
   Doc. 140 at 15.
59
   Id.
60
   Id. (discussing Doc. 133-42).
61
   Id.
62
   Rec. Doc. No. 174, p. 8 (emphasis original).
43681
                                                                                   Page 13 of 30


                                                                                      23-30825.17745
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  278 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  14 of 30




                                     Commonality & Typicality63
        The Supreme Court, in Wal-Mart Stores, Inc. v. Dukes, further defined the contours

of the “rigorous analysis” required by Rule 23.64 Under Wal-Mart, “[w]hat matters to class

certification…is not the raising of common ‘questions’—even in droves—but, rather the

capacity of a class wide proceeding to generate common answers apt to drive the

resolution of the litigation. Dissimilarities within the proposed class are what have the

potential to impede the generation of common answers.”65

        The Wal-Mart decision has heightened the standards for establishing commonality

under Rule 23(a)(2) demanding more than the presentation of questions that are common

to the class “because any competently crafted class complaint literally raises common

questions.”66 Furthermore, members of a proposed class do not establish that “their

claims can productively be litigated at once,” merely by alleging a violation of the same

legal provision by the same defendant.67 Thus, as evident in Perry, the commonality test

requires more than establishing that there is “at least one issue whose resolution will

affect all or a significant number of the putative class members.”68

        In order to satisfy commonality under Wal-Mart, the claims of every class member

must “depend upon a common contention … that is capable of class wide resolution,”

meaning that the contention is “of such a nature … that determination of its truth or falsity



63
   The Parties agreed at the hearing that the same evidence supports the requirements of commonality and
typicality, and the Court need not consider them separately.
64
   Perry, 675 F.3d at 837 (citing Wal-Mart, 131 S.Ct. at 2551-52).
65
   131 S.Ct. at 2551 (quoting Richard A. Nagareda, Class Certification in the Age of Aggregate Proof, 84
N.Y.U. L.REV. 97, 132 (2009)) (emphasis original).
66
   131 S.Ct. at 2551 (quoting Nagareda, 84 N.Y.U. L.REV. at 131-32).
67
   Id.
68
   675 F.3d at 840 (quoting Forbush v. J.C. Penney Co., Inc., 994 F.2d 1101, 1106 (5th Cir.1993)) (original
emphasis) (internal quotation marks and citation omitted).
43681
                                                                                             Page 14 of 30


                                                                                                23-30825.17746
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  279 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  15 of 30




will resolve an issue that is central to the validity of each of the claims in one stroke.”69

Commonality requires the plaintiff to demonstrate that the class members “have suffered

the same injury.”70 Yet, the Fifth Circuit has clarified that “this contention need not relate

specifically to the damages component of the class members’ claims. Even an instance

of injurious conduct, which would usually relate more directly to the defendant’s liability

than to the claimant’s damages, may constitute ‘the same injury.’”71

        As to typicality, “Rule 23(a) requires that the named representatives’ claims be

typical of those of the class.”72            Prior to Wal-Mart, the typicality test was “not

demanding.”73 The extent to which Wal-Mart changed the threshold for typicality in

unclear. The Court noted that “[t]he commonality and typicality requirements of Rule

23(a) tend to merge.”74 As the Fifth Circuit has described it, “typicality is commonality

addressed from the perspective of the named plaintiffs. Commonality requires showing

that, in fact, all members of the proposed class share a common claim….Typicality

requires showing that, in fact, the proposed representatives have that claim.”75 The

claims of all class members need not be identical.76 However, typicality demands that

claims “arise from a similar course of conduct and share the same legal theory.”77




69
   131 S.Ct. at 2551.
70
   Id. (quoting Falcon, 457 U.S. at 161, 102 S.Ct. 2364).
71
   Cole v. Livingston, No. 14-698, 2016 WL3258345 (S.D. Tex. June 14, 2016).
72
   Lanbecker v. Electronic Data Systems Corp., 476 F.3d 299, 314 (5th Cir. 2007).
73
   Cole, 2016 WL 3258345 at *8, (quoting Mullen v. Treasure Chest Casino, LLC, 186 F.3d 620, 625 (5th
Cir. 1999)).
74
   131 S.Ct. at 2551 n.5.
75
   M.D. v. Perry, 297 F.R.D. 7, 29 (S.D. Tex. 2013).
76
   Cole, 2016 WL3258345 at *8 (citing James v. City of Dallas, Tex., 254 F.3d 551, 571 (5th Cir. 2001)).
77
   Id.
43681
                                                                                          Page 15 of 30


                                                                                             23-30825.17747
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  280 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  16 of 30




        Plaintiffs claim that Defendants have failed in their constitutional obligations by

subjecting the Class and ADA Subclass members to unreasonable risks of harm.78

Failure to act can also constitute a policy or practice.79 To prove an Eighth Amendment

violation, Plaintiffs will need to prove that Defendants were deliberately indifferent to the

risk posed to LSP’s inmates.80

        The conceptual gap between an individual person’s Eighth Amendment claim and

“the existence of a class of persons who have suffered the same injury,” must be abridged

by significant proof that Defendants operated under a general policy that subjected all

inmates to unreasonable risks of serious harm.81 Such proof appears to be present here.

Defendants admit that “policies and procedures regarding medical care apply across the

board to all prisoners.”82 Additionally, Plaintiffs have offered a wide variety of evidence

alleging systemic deficiencies within Defendants’ medical healthcare policies and

procedures. Such allegations, if found to be true, subject all inmates to unreasonable

risks of serious harm.

        To determine whether Plaintiffs present “common questions of law and fact, a court

must trace the class claims and conclude that the common questions, and answers, will

resolve them without the need for additional extensive individualized inquiry.”83 Plaintiffs’

common questions regarding the General Class include:

        (a) whether the medical system at Angola increases inmates’ risk of serious
        harm; (b) whether Defendants were aware that their system at Angola

78
   Doc. 140 at 2.
79
   Dockery v. Fischer, 2015 WL 5737608 at *8-13.
80
   Cole, 2016 WL3258345 at *7.
81
   Wal-Mart, 131 S.Ct at 2553-2554 (quoting General Telephone Co. of Southwest v. Falcon, 457 U.S. 147,
102 S.Ct. 2364, 72 L.Ed.2d 740).
82
   Doc. 140 at 14.
83
   Dockery, 2015 WL 5737608 at *11.
43681
                                                                                         Page 16 of 30


                                                                                            23-30825.17748
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  281 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  17 of 30




        increases inmates’ risk of serious harm; (c) whether the staffing levels at
        Angola are adequate to provide constitutionally sufficient medical care; (d)
        whether correctional staff perform medical functions that are inappropriate
        given their limited training and lack of licensure; (e) whether the DOC
        applies its “medically necessary” policy in a way that impedes Class
        members’ ability to receive timely diagnosis and treatment; (f) whether
        Defendants’ malingering and co-pay policies impede Class members’ ability
        to receive timely diagnosis and treatment; and (g) what remedial measures
        are appropriate to mitigate the deficiencies in Defendants’ practices.84
        Similarly, the Named Plaintiffs of the ADA Subclass claim Defendants have failed

in their obligations to inmates with disabilities to comply with the RA, the Uniform Federal

Accessibility Standards, and the ADA and its implementing regulations.85             Plaintiffs’

common questions as to whether LSP meets its obligations under the ADA and RA

include:

        (a) whether LSP has architectural barriers that make its programs, services,
        and activities inaccessible to inmates with disabilities; (b) whether
        Defendants’ policies discriminate against individuals with disabilities; (c)
        whether Defendants ensure that every program, service, or activity offered
        to inmates is readily accessible to and usable by individuals with disabilities;
        (d) whether Defendants adequately take disabilities into account in the
        disciplinary process; (e) whether Defendants adequately provide access to
        jobs for inmates with disabilities; (f) whether Defendants adequately
        identify, track, and provide the accommodations that inmates with
        disabilities require; (g) whether Defendants provide accessible
        transportation to transport inmates with disabilities within the prison and
        outside the prison; and (h) hat remedial measures are appropriate to
        mitigate the deficiencies in Defendants’ practices.86
        Defendants argue that Plaintiffs fail to meet the commonality and typicality

requirements because the Class and ADA Subclass members have not suffered the same

injury.87 However, the existence of factual variations within a proposed class does not




84
   Doc. 140 at 16.
85
   Doc. 140 at 10.
86
   Id. at 17.
87
   Doc. 174 at 8.
43681
                                                                                   Page 17 of 30


                                                                                     23-30825.17749
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  282 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  18 of 30




necessarily destroy commonality.88 The commonality requirement is satisfied, as long as

the Class’s common questions are “dispositive of their claim and the claim arises out of

a single course of conduct and on a single theory of liability.”89

        The Named Plaintiffs of the Class claim that Defendants violated their Eighth

Amendment rights. The claim arises out of Defendants’ alleged failure to provide a

minimally adequate medical system that does not subject prisoners to a “substantial risk

of serious harm,” by knowingly providing care that falls below the constitutional

minimum.90 Thus, the Class’s common questions of law and fact establish commonality.

        While Defendants assert that the individually Named Plaintiffs’ disabilities and

alleged denied accommodations are different, the basis of liability Plaintiffs assert is not

the denial of the accommodations themselves, but the denial of a system that would have

the effect of ensuring that they and their fellow prisoners are appropriately

accommodated.        Furthermore, “[c]ourts regularly certify classes of inmates who are

disabled, even if they do not have the same disability.”91

        In addition, the Defendants fail to negate the injury at the center of the Class’s

claims: the exposure to an unreasonable risk of serious harm. It seems unlikely that any

two inmates would have the exact same exposure to a substantial risk of serious harm,

but this should not destroy commonality. The evidence presented by Plaintiffs calls into

serious question the adequacy of LSP’s healthcare and medical policies, as applied in

practice, in reducing the health risk of inmates, and particularly for those inmates that are


88
   Dockery, 2015 WL 5737608 at *11.
89
   Id. (internal citations omitted).
90
   Doc. 140 at 2.
91
   Cole, 2016 WL3258345 at *6 (citing Hernandez v. County of Monterey, 305 F.R.D. 132, 149 (N.D. Cal.
2015)).
43681
                                                                                       Page 18 of 30


                                                                                          23-30825.17750
         Case: 23-30825   Document: 113-1
         Case 3:15-cv-00318-SDD-RLB       Page:394
                                      Document  283 02/26/18
                                                      Date Filed: 01/11/2024
                                                               Page  19 of 30




disabled. Plaintiffs offer common complaints that Defendants’ policies pose a substantial

risk of serious harm to the health of all inmates and argue Defendants have been

deliberately indifferent to this risk.

          At the certification hearing, Plaintiffs’ expert, Dr. Michael Puisis, was accepted by

the Court as an expert in correctional medicine without opposition from the Defendants.92

In their post-hearing brief, Defendants make much of the fact that nurse practitioner

Madeleine LaMarre (“LaMarre”) and Dr. Suzi Vassallo (“Vassallo”) contributed to the

report submitted by Dr. Puisis, arguing that, to the extent Dr. Puisis relied on findings by

LaMarre and Vassallo, those opinions or findings should be “discarded.”93 However, Dr.

Puisis’ hearing testimony clearly undermines any suggestion that he adopted the opinions

of others without being personally involved with the investigation of LSP and his ultimate

findings. Dr. Puisis testified as follows:

          I worked with two colleagues, Maddy Lamar, who is a nurse practitioner,
          and Suzie Vassallo, who is an emergency room physician. We reviewed
          multiple documents. And I should add that each of us looked at a particular
          area of specialty. We did some things in common. We took a tour of the
          facility, and we also made individual observations of certain practices. I
          believe both Maddy and I, maybe Suzie did as well, watched medication
          administration of one of the units. We got up at four in the morning and
          went to sick call, accompanied the medics on sick call so we could actually
          see how they do it. I toured all the units, all the clinics on campus, and
          Suzie went to the ATU and observed directly the process of the delivery of
          care in that emergency area.

          Maddy went to the pharmacy and observed the inside of the pharmacy, and
          she observed nursing medication as well. So we did a fair amount of
          observation that supported our findings. And in addition to that, we
          interviewed a number of key staff. We talked to multiple inmates. And we
          reviewed multiple records. And in the review of the records, it’s important
          to note that we reviewed a large span of time for each record. So while we
          may have reviewed 40-some records, and actually we reviewed more than
92
     See Transcript, Rec. Doc. No. 373, p. 37
93
     Rec. Doc. No. 378, p. 11.
43681
                                                                                   Page 19 of 30


                                                                                     23-30825.17751
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  284 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  20 of 30




        that if you include the named plaintiffs and other chronic care records that
        were reviewed that are not included in the report, we reviewed multiple
        episodes of care. So if we reviewed 40 records, we may have reviewed
        thousands of episodes of care within the span of that grouping. And the
        evidence for that is in our report, which is included as appendices. So the
        combination of that resulted in our report.94

It is clear to the Court that Dr. Puisis was a substantial participant in the investigation

which yielded his conclusions. Further, nothing prohibits an expert relying on a research

team to collect data and conduct research upon which the expert can base his ultimate

findings and conclusions.95

        Next, Defendants argue that very few LSP policies and procedures were actually

considered, and no LSP Healthcare Directives were discussed in Plaintiffs’ expert report,

although evidence established that the Healthcare Manual reviewed by Plaintiffs’ experts

contained LSP’s Directives. The Court finds this a curious argument considering that the

Defendants were recently sanctioned96 for failing to disclose several LSP Directives that

were responsive to Plaintiffs’ discovery requests. Further, Plaintiffs obtained a copy of

the LSP Healthcare Manual - not from the Defendants as requested - but from a public

records request, and the Manual did not include all of LSP’s current Directives.97

        The Court finds that sufficient evidence has been presented to establish that the

commonality and typicality requirements are met. Warden Darrel Vannoy testified that

the prison’s policies and procedures regarding medical care apply across the board to all




94
   Transcript, Rec. Doc. No. 373, p. 37, lines 18-25 through p. 38, lines 1-21.
95
   Daubert v. Merrell Dow Pharm., 509 U.S. 578, 591 (1993)(“Unlike an ordinary witness, see Rule 701,
an expert is permitted wide latitude to offer opinions, including those that are not based on first-hand
knowledge or observation.”
96
   See Rec. Doc. No. 388.
97
   See Rec. Doc. No. 387, p. 3.
43681
                                                                                             Page 20 of 30


                                                                                               23-30825.17752
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  285 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  21 of 30




prisoners.98 A great deal of evidence was introduced to suggest that understaffing at LSP

increases the risk of harm to inmates. The Fifth Circuit has held that “class claims could

conceivably be based on an allegation that the State engages in a pattern or practice of

agency action or inaction—including a failure to correct a structural deficiency within the

agency, such as insufficient staffing—‘with respect to the class,’ so long as declaratory or

injunctive relief ‘settling the legality of the [State's] behavior with respect to the class as a

whole is appropriate.’”99 Dr. Puisis testified that, “what is eminently evident in Angola is

that they lack staffing for sure in nursing and in physicians, and the EMT’s are misplaced.

In other words, I think they’re doing the wrong assignments.”100 Dr. Puisis also testified

that this understaffing was demonstrated by several non-nurses performing nursing

duties. Dr. Puisis stated that inmates were performing nursing duties in the infirmary,

inmate orderlies advised that they assist officers in administering medications, and a large

number of officers are administering medications to a large number of seriously ill

patients.101 Thus, in Dr. Puisis’ opinion: “you don’t have enough staff if you have to use

officers to administer medication.”102            Additionally, Dr. Puisis was critical of his

observation that “diabetics seldom get, diabetics who are taking insulin seldom get the

number of blood sugar checks that I think is typical of a diabetic. And that’s a result of

lack of access to nurses, I believe.”103

        Dr. Puisis also testified, based on his thirty years of experience and management


98
   Rec. Doc. No. 358-3, p. 32.
99
   M.D. ex rel. Stukenberg v. Perry, 675 F.3d 832, 847-48 (5th Cir. 2012)(quoting Fed.R.Civ.P. 23(b)(2)
1966 Amendment advisory committee note).
100
    Rec. Doc. No. 373, p. 45, lines 8-11.
101
    Id. at p. 45, lines 12-20.
102
    Id.
103
    Id. at p. 45, lines 21-25 through p. 46, lines 1-2.
43681
                                                                                            Page 21 of 30


                                                                                               23-30825.17753
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  286 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  22 of 30




of prisons and jails, that “the number of inmates per physician is extremely high at

Angola.”104 Dr. Puisis testified:

        If you look at the numbers and you say one doctor is seeing --responsible for 1600
        people, and you review records and you note that when medics are seeing people,
        both in the ATU and in sick call, there is seldom a physician related evaluation.
        And you also note that the physicians seldom write histories and physical
        examinations. In part, I believe that is due to staffing. In part, I believe it is due to
        practice, inter-credential. But it became clear to us that under any scenario we
        could think of, both nursing and physicians midlevels and doctors were deficient.105

        Dr. Puisis was also critical of the credentialing and training of the Angola

physicians. Dr. Puisis explained that, in a typical practice, physicians are credentialed,

meaning that the hiring authority reviews a physician’s experience and training and then

gives the physician privileges based on the credentials. Dr. Puisis testified that, in a

prison setting, the need for physicians is typically primary care medicine, so physicians

should be trained and privileged in either family practice or internal medicine, which

typically includes emergency room training.106 Yet, at Angola, Dr. Puisis testified that

“there really is no credentialing at all that I could tell.”107 Further problematic, in Dr. Puisis’

opinion, “the organization goes out of its way to just hire any physician they can get,

because they’re desperate for physicians.”108 Thus, the practice is “that the system

approaches the state licensing board to solicit physicians who have problems with their

license who are not permitted by the state to otherwise see civilian patients. But they are

permitted to see prisoners.”109 Dr. Puisis testified that, “the character issues of all five of


104
    Id. at p. 46, lines 5-6.
105
    Id. at p. 46, lines 6-16.
106
    Id. at p. 47.
107
    Id. at p. 48, lines 6-7.
108
    Id., lines 10-12. Dr. Puisis testified about a comment in a newspaper article by Dr. Singh, who said the
prison just needed to get any doctors because they were desperate. Id.
109
    Id., lines 15-19.
43681
                                                                                              Page 22 of 30


                                                                                                 23-30825.17754
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  287 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  23 of 30




the physicians that we looked at [at Angola] had prior state sanctions. And at one point

were not permitted to work in the civilian community for a variety of reasons.”110 Also

problematic for Dr. Puisis is that one of the five doctors is an orthopedic doctor who would

not be appropriate to provide general medical care in a prison based on the general kinds

of conditions presented. Dr. Puisis posed the question: “People have diabetes, what is

an orthopedic doctor going to do to manage the diabetes?”111

        Dr. Puisis testified that there is a problem with Angola hiring doctors with

insufficient training and potential character issues because those doctors need to be

monitored and managed; however, “because everyone is in the same boat, the monitoring

will probably not occur, and we did not see evidence of it. So that’s my concern with the

credentialing at LSP.”112

        Dr. Puisis was also critical of the use of emergency medical technicians (“EMTs”)

to provide care for sick calls. He explained that state regulations typically require EMTs

to work under direct supervision of a physician under a set of clearly defined protocols.

However, at LSP:

        The way medics are used … is extremely different. So it’s out of the
        ordinary with respect to their training. So you would not have medics in the
        community going house to house, for example, when people have
        complaints about shortness of breath, or a rash, and then making a decision
        and giving them medication based on an evaluation without a
        communication with a provider. And what we noticed on multiple chart
        reviews was there was no documented communication to a provider, none.
        And we noticed that repeatedly on hundreds and hundreds of episodes of
        care.

        And so basically the emergency medical technicians are working
        independently it appears based on the documentation. And we believe that

110
    Id. at p. 49, lines 5-8.
111
    Id., lines 13-14.
112
    Id. at p. 49, lines 24-25 through p. 50, lines 1-2.
43681
                                                                                Page 23 of 30


                                                                                  23-30825.17755
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  288 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  24 of 30




        it is out of the scope of their license, and we believe it’s a direct impediment
        to access to care, because the patient in access to care is seeking a
        professional opinion with respect to their condition, and they’re not receiving
        it. Very few medic evaluations result in a physician evaluation.113

This was particularly troubling to Dr. Puisis because:

        some of the deaths that we saw were inmates who were repeatedly trying
        to access care and were being seen by a medic and basically managed by
        a medic without physician intervention over multiple episodes of care even
        when they had extremely serious conditions such as shock, or they were
        about to die, literally, and some of them did within a matter of days.114

        Plaintiffs also offered evidence that several policies and practices at LSP restrict

inmate access to diagnosis and treatment. Dr. Puisis testified about several systemic

practices that, in his opinion, contribute to the risk of inadequate medical care and serious

harm. In addition to his criticism of understaffing, lack of credentials and proper training,

use of EMTs to handle sick calls, and use of inmate orderlies and officers to administer

medication, Dr. Puisis also took issue with LSP’s policy regarding malingering. Dr. Puisis

testified that Angola is one of the only correctional programs in which he has seen this

policy. He explains:

        Aggravated malingering is actually displayed on the sick call form. It warns
        the person filling out the form that if you complain and do not have the
        condition that you state you have, you can be punished. Well, imagine if
        you’re a civilian, and I go to an emergency room with chest pains. I really
        don’t know what I have when I go to the emergency room. I don’t know if I
        have an ulcer, or if I have a heart attack. That’s why I go to an emergency
        room. And yet to expect an inmate to know in advance that they will have
        or not have a condition, is so beyond the concept of, to me, fairness that it
        struck me as you could only have this if the leadership agree to it. And, but
        because any leadership that I’m familiar with would oppose that and get rid
        of that immediately.

113
   Id. at pp. 55, lines 9-25 through p. 56, line 1.
114
   Id. at p. 56, lines 4-10. Dr. Puisis also testified that the barrier to access was further demonstrated by
the fact that, although at a typical correctional facility, approximately 80% of the sick calls would result in a
physician or physician assistant consultation, at Angola, his team found “virtually no physician evaluations
based on sick call requests.” Id. at p. 57, lines 2-4.
43681
                                                                                                  Page 24 of 30


                                                                                                     23-30825.17756
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  289 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  25 of 30




        Another policy troubling to Dr. Puisis is the restriction of access to specialty care.

Dr. Puisis testified that, “[w]hen the seriousness of a patient’s condition exceeds the ability

of a physician at the site to care for the patient, the patient should be referred to a

consultant who can properly care for the patient. That’s the kind of backdrop of what

specialty care is in a prison.”115 However, Dr. Puisis testified that Angola utilizes a facility

in New Orleans, nearly two hours away, and the system of managing specialty care

“makes it extremely difficult to track whether people actually have received their care.”116

Dr. Puisis further testified that there are also numerous problems with the system utilized

to refer a patient for offsite care, including timely scheduling, getting “lost” in the system,

and timely appointments.117 Another problematic discovery regarding specialty care is

that patient inmates would report to the specialist without the appropriate relevant testing

done beforehand to provide to the specialist.118 Dr. Puisis also ascertained that there

was “hardly ever”119 a follow-up with a primary care doctor to discuss what treatment the

specialist had recommended.               Dr. Puisis described one incident demonstrating this

problem:

        And tragically, in one circumstance a patient was admitted to a hospital and
        was diagnosed with atrial fibrillation and started on a blood thinner.
        Because, as you know, blood thinners prevent atrial fibrillation from causing
        emboli. And the patient, the patient was not evaluated post-hospitalization
        with respect to what the recommendations were, so the anti-coagulant was
        never ordered. And within ten days the patient died of multiple pulmonary
        emboli in a cardiac thrombus.120



115
    Id. at pp. 64, lines 23-23 through p. 65, lines 1-2.
116
    Id. at p. 65, lines 7-9.
117
    Id. at pp. 65-66.
118
    Id. at p. 66.
119
    Id. at p. 67, lines 8-9.
120
    Id., lines 9-18.
43681
                                                                                   Page 25 of 30


                                                                                      23-30825.17757
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  290 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  26 of 30




Finally, with respect to specialty care, Dr. Puisis testified that there were many cases of

delayed referral for patients who needed referral. He explained: “Many of the preventable

deaths were people who for months or years had a complaint that required an evaluation

which did not occur timely, and result[ed] in either morbidity or mortality.”121

        The Court finds that the evidence clearly satisfies commonality and typicality as

the challenged policies and practices pose several common question of fact and law as

set forth above. Because Defendants admit that these policies and practices apply to all

inmates, and all inmates will at some point will need some type of medical care while

incarcerated, the alleged exposure of the entire Class to these policies is capable of

classwide resolution under Rule 23. Further, the Court finds that there are common

resolutions that would answer these common questions across the board.

                                              ADA SubClass

        Turning to the ADA Subclass, Plaintiff claim that the policies and practices at LSP

present common questions capable of classwide resolution. Plaintiffs contend that the

policies and practices subject to the ADA claims fall into two broad categories: (1) denial

of the benefit of services, programs, or activities on the basis of a disability, and (2)

Defendants’ use of methods of administration that effect discrimination.122

        The Supreme Court has held that Title II of the ADA applies to state prison facilities

and state prison services.123 The Supreme Court has also recognized that, “insofar as



121
    Id., lines 20-25.
122
    See Rec. Doc. No. 377, p. 7.
123
    See Pennsylvania Dep't of Corrections v. Yeskey, 524 U.S. 206, 210, 118 S.Ct. 1952, 141 L.Ed.2d 215
(1998) (noting that state prisons “fall squarely within the statutory definition of ‘public entity’” because the
ADA, 42 U.S.C. § 12131(1)(B), defines public entity as “any department, agency, special purpose district,
or other instrumentality of a State or States or local government”).
43681
                                                                                                 Page 26 of 30


                                                                                                    23-30825.17758
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  291 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  27 of 30




Title II creates a private cause of action against the States for conduct that actually

violates the Fourteenth Amendment, Title II validly abrogates state sovereign

immunity.”124 The RA applies to recipients of federal funding.125 Furthermore, when a

plaintiff asserts a cause of action against an employer-municipality, under either the ADA

or the RA, the public entity is liable for the vicarious acts of any of its employees as

specifically provided by the ADA.126

        Title II of the ADA, which governs access to “Public Services,” states in part that

“no qualified individual with a disability shall, by reason of such disability, be excluded

from participation in or be denied the benefits of the services, programs, or activities of a

public entity, or be subjected to discrimination by any such entity.”127 The Rehabilitation

Act states that “[n]o otherwise qualified individual with a disability ... shall solely by reason

of his disability, be excluded from the participation in, be denied the benefits of, or be

subjected to discrimination under any program or activity receiving Federal financial

assistance .... ”128 The ADA states that “[t]he remedies, procedures and rights” available

under the Rehabilitation Act are also accessible under the ADA.129 The Fifth Circuit has

recognized that “[j]urisprudence interpreting either section is applicable to both,”130 and

that “[t]he RA and the ADA are judged under the same legal standards, and the same

remedies are available under both Acts.”131




124
    United States v. Georgia, 546 U.S. 151, 159, 126 S.Ct. 877, 163 L.Ed.2d 650 (2006).
125
    Delano–Pyle v. Victoria County, Tex., 302 F.3d 567, 574 (5th Cir. 2002).
126
    Id. at 574–75.
127
    42 U.S.C. § 12132.
128
    29 U.S.C. § 794(a).
129
    Delano–Pyle v. Victoria County, Tex., 302 F.3d 567, 574 (5th Cir. 2002) (quoting 42 U.S.C. § 12133).
130
    Hainze v. Richards, 207 F.3d 795, 799 (5th Cir. 2000).
131
    Kemp v. Holder, 610 F.3d 231, 234 (5th Cir. 2010).
43681
                                                                                            Page 27 of 30


                                                                                              23-30825.17759
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  292 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  28 of 30




        Considering the claim regarding access to programs, benefits, and services,

Plaintiffs have presented sufficient evidence to certify an ADA Subclass on this issue.

Inmate Davis testified about the lack of a handicap accessible van to transport him back

to LSP from a hospital following his back surgery and the fact that he was laid face down

across the front seat in a rodeo van with staples in his back.132 A plethora of physical

barriers and inappropriately equipped facilities were found and documented in the

Evaluation by Plaintiffs’ architectural expert Mark Mazz.133 Evidence was presented

showing that disabled inmates with a duty status134 were prohibited from certain programs

and activities,135 were not provided reasonable accommodations, modifications, and

medical aids,136 and were not considered in LSP’s evacuation plans or emergency

planning.137

        With regard to methods of administration, Plaintiffs submitted evidence regarding,

inter alia, the inadequacy of the current LSP ADA Coordinator as required by 28 C.F.R.

35.107(a),138 the failure to adequately train employees on the implementation of disability

policies,139 placing disabled inmates in “medical dormitories” not equipped for the



132
    Rec. Doc. No. 358-5 at 14-16.
133
    Rec. Doc. No. 358-2 at 294-296.
134
     A “duty status” is a written designation assigned by a prison medical doctor indicating an inmate’s
physical or mental ability to perform hard labor in accordance with his sentence. Duty statuses are generally
assigned by physicians following a medical evaluation, and they are subject to change depending on
changes in the medical condition of a particular inmate. Duty statuses may range from no duty (indicating
a need for bed rest), to light duty or regular duty with restrictions, and finally to regular duty without
restrictions (indicating the inmate is capable of performing any and all hard labor). Armant v. Stalder, 287
Fed. Appx. 351, 352 n. 1 (5th Cir. 2008).
135
    Rec. Doc. No. 358-4 at 152; Rec. Doc. No. 358-5 at 132, 134; Rec. Doc. No. 358-2 at 294-96; Rec. Doc.
No. 358-3 at 2.
136
    Rec. Doc. No. 358-5 at 4-11.
137
    Id. at 17-30; Rec. Doc. No. 358-4 at 167-68.
138
    Rec. Doc. No. 358-3 at 2; Rec. Doc. No. 358-5 at 122-23, 127, 130; Rec. Doc. No. 358-6 at 94, 101,
103-104; Rec. Doc. No. 359 at 1.
139
    Rec. Doc. No. 358-4 at 164.
43681
                                                                                              Page 28 of 30


                                                                                                 23-30825.17760
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  293 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  29 of 30




disabled,140 and LSP’s alleged failure to provide adequate procedures for requesting

accommodations and appealing denials.141

        Because all of the ADA policies and procedures pose multiple common questions

of fact and law and apply across the board to all disabled inmates, the Court finds that

certification of the ADA Subclass is appropriate. Whether Defendants had knowledge of

insufficient accommodations for persons with disabilities can be evaluated in “one stroke”

for this entire Subclass.142 As the District Court for the Northern District of California

succinctly stated: “No individualized inquiry into the experiences of any particular inmate

or Plaintiff is necessary. The claims of the inmates with disabilities sub-class also satisfy

the commonality requirement: either the Plaintiffs are housed in a facility that comports

with the ADA or they are not.”143




140
    Id. at 139-140, 142.
141
    Rec. Doc. No. 385-6 at 96-97.
142
    See Hernandez, 305 F.R.D. at 157.
143
    Id.
43681
                                                                                Page 29 of 30


                                                                                   23-30825.17761
        Case: 23-30825   Document: 113-1
        Case 3:15-cv-00318-SDD-RLB       Page:394
                                     Document  294 02/26/18
                                                     Date Filed: 01/11/2024
                                                              Page  30 of 30




IV.     CONCLUSION144

        For the reasons set forth above, the Court GRANTS Plaintiffs’ Motion for Class

Certification145 and appoints all Named Plaintiffs who are still living and currently housed

at LSP, and have fully exhausted administrative remedies at the time of the filing of this

lawsuit, as class representatives. The Court designates Plaintiffs’ counsel as Class

Counsel under Rule 23(g). The Class and Subclass are defined as follows: “all inmates

who now, or will be in the future, incarcerated at LSP” and “all qualified individuals with a

disability, as defined by the ADA/RA, who are now, or will be in the future, incarcerated

at LSP.”

        The Court will set a Scheduling Conference by separate notice.

        IT IS SO ORDERED.

        Signed in Baton Rouge, Louisiana on February 26, 2018.




                                                S
                                            JUDGE SHELLY D. DICK
                                            UNITED STATES DISTRICT COURT
                                            MIDDLE DISTRICT OF LOUISIANA




144
    The Court notes that the findings herein regarding exhaustion under the PLRA are final and are the “law
of the case”; however, the Court makes no definitive findings on the merits, and Plaintiffs will be required
to prove the merits of their case at trial.
145
    Rec. Doc. No. 133.
43681
                                                                                              Page 30 of 30


                                                                                                23-30825.17762
Case: 23-30825   Document: 113-1   Page: 295   Date Filed: 01/11/2024




                     TAB 7
      Case: 23-30825   Document: 113-1
      Case 3:15-cv-00318-SDD-RLB       Page:594
                                   Document  296 03/31/21
                                                   Date Filed: 01/11/2024
                                                            Page  1 of 124




                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA



JOSEPH LEWIS, JR., ET AL.                               CIVIL DOCKET NO.: 3:15-CV-318

VERSUS                                                  JUDGE: SHELLY DICK

BURL CAIN, ET AL.                                        MAGISTRATE: RICHARD BOURGEOIS



                                              OPINION

I.      GENERAL ALLEGATIONS AND PROCEDURAL BACKGROUND

        This suit was originally brought by several inmates incarcerated at the Louisiana

State Penitentiary (“LSP”). The LSP at Angola (sometimes referred to as “Angola”) is a

maximum-security men’s prison in Angola, Louisiana that housed between 6200-6400

men throughout the discovery period.1 Plaintiffs claim that the medical care provided at

LSP violates the Eighth Amendment prohibition of cruel and unusual punishment.

Plaintiffs also claim that, through various general practices and policies, LSP systemically

violates the rights of disabled inmates covered by the Americans with Disabilities Act

(“ADA”)2 and the Rehabilitation Act (“RA”).3

        The Plaintiffs sought to represent a class of all prisoners who are now, or will in

the future, be confined at LSP (the “Class”), as well as an ADA Subclass of inmates with




1
   Undisputed Facts (“UF”) ¶ 1, First Amended Joint Pretrial Order (“JPTO”), Rec. Doc. No. 242-2; PX 6 at
0017; DX 14 at 02876. The relevant time period in this matter was confined to May 20, 2015 (the date of
filing) and September 30, 2016 (the close of the discovery period).
2
   42 U.S.C. § 12101, et seq.
3
   29 U.S.C. § 701.
Document Number: 52892
                                                                                           Page 1 of 124


                                                                                              23-30825.22399
       Case: 23-30825   Document: 113-1
       Case 3:15-cv-00318-SDD-RLB       Page:594
                                    Document  297 03/31/21
                                                    Date Filed: 01/11/2024
                                                             Page  2 of 124




disabilities who are now, or will in the future, be confined at LSP (the “ADA Subclass”).4

Plaintiffs seek injunctive relief to abate the alleged systemic deficiencies in Defendants’

policies and practices that subject all inmates to unreasonable risks of serious harm.5

    On February 26, 2018, following a class certification hearing and subsequent briefing

by the Parties, the Court certified a class consisting of “all inmates who [are] now, or will

be in the future, incarcerated at LSP,” and a Subclass of “all qualified individuals with a

disability, as defined by the [Americans with Disabilities Act (“ADA”) and Rehabilitation

Act (“RA”)], who are now, or will be in the future, incarcerated at LSP.”6 The Class and

Subclass are represented by Otto Barrera, Clyde Carter, Ian Cazenave, Ricky Davis,

Reginald George, Kentrell Parker, Lionel Tolbert, John Tonubbee and Edward

Washington.7

        This matter came before the Court for an eleven-day non-jury trial on the merits

beginning October 9, 2018. The undersigned also made a site visit to LSP on February

5, 2020.8 The Court has considered the Parties’ pre-trial and post-trial submissions, the

evidence admitted at trial, and the arguments presented, and the Court finds that Plaintiffs

have satisfied their burden of proving that Defendants have been deliberately indifferent

to the inmates’ serious medical needs in the means and manner of the delivery of health

care, in violation of the Eighth Amendment to the United States Constitution. The Court

also finds that Plaintiffs have met their burden of establishing, in part, that Defendants


4
  Rec. Doc. No. 140 at 2.
5
  Id.
6
  Rec. Doc. No. 394.
7
  Id. at 1, 30. Farrell Sampier testified at trial, but he passed away in March 2019 after a stroke. Rufus White
was released from custody in March 2019.
8
  The Court issued an electronic notice that it found constitutional violations in the delivery of medical care
at LSP. At the Parties’ request, the Court delayed the issuance of these written reasons to permit the
Parties to explore an amicable resolution, which was unsuccessful.
Document Number: 52892
                                                                                                 Page 2 of 124


                                                                                                    23-30825.22400
      Case: 23-30825   Document: 113-1
      Case 3:15-cv-00318-SDD-RLB       Page:594
                                   Document  298 03/31/21
                                                   Date Filed: 01/11/2024
                                                            Page  3 of 124




violated the Americans with Disabilities Act, as modified by the Americans with Disabilities

Act Amendment Act, and Section 504 of the Rehabilitation Act of 1973.

       The Court’s credibility findings, findings of fact, and conclusion of law are set forth

below pursuant to Rule 52(a) of the Federal Rules of Civil Procedure.

II.    FINDINGS OF FACT

       A. Stipulated Facts

       The Parties stipulated to the following facts by written submission prior to trial.

Stipulated facts that had changed as of the time of trial are noted.

       Facts Related to Medical Care

1.     Louisiana State Penitentiary at Angola (“Angola” or “LSP”) is a maximum security

prison in Angola, Louisiana that currently houses approximately 6400 inmates.

2.     Defendant Louisiana Department of Public Safety and Corrections (“DOC”) is a

division of the State of Louisiana charged with overseeing the custody and care of inmates

in state prisons, including LSP.

3.     Defendant Burl Cain was the Warden of Angola from February 1, 1995 through

December 31, 2015. He was succeeded by Defendant Darrel Vannoy, who is currently

the Warden of Angola. The Warden’s duties include, among other things, assigning

people to manage the medical care and then being sure that they do what the policies

and procedures say.

4.     Defendant Raman Singh was the Chief Medical and Mental Health Director of the

DOC since November 2007, which included managing several departments such as




Document Number: 52892
                                                                                 Page 3 of 124


                                                                                    23-30825.22401
         Case: 23-30825   Document: 113-1
         Case 3:15-cv-00318-SDD-RLB       Page:594
                                      Document  299 03/31/21
                                                      Date Filed: 01/11/2024
                                                               Page  4 of 124




nursing, dental and mental health.9 Before November 2007, he served as Medical

Director of Angola, where his duty was to manage offender healthcare for LSP inmates.10

5. Defendant James LeBlanc is the Secretary of the DOC. In that capacity, he supervises

Dr. Singh as well as the rest of the employees of the Department. Although he has

authority over the entire Department in a supervisory capacity, he has delegated authority

for certain tasks and responsibilities to subordinate employees.

6. Defendant Stephanie Lamartiniere was the Assistant Warden for Health Services at

Angola from June 2013 until sometime in 2016. She was succeeded by Defendant Tracy

Falgout, who was the Assistant Warden at the time of trial. The Assistant Warden has

operational control over the medical unit at LSP. This includes, among other

responsibilities, budgeting, hiring of certain classes of employees, medical records, and

any kind of staffing issues.

7. Defendant Randy Lavespere is the current Medical Director of Angola. This position

is responsible for managing, among other things, Angola’s doctors, nurses, patients,

relationship with headquarters, and relationships with administration.

8. Defendant Stacye Falgout has been the Chief Nursing Officer for the DOC since

October 2011. Prior to that time, she was Assistant Director of Nurses at Angola. She

reported to Dr. Singh and is the number two medical employee at DOC headquarters.

9. Defendant Sherwood Poret has been the Director of Nursing at Angola since January

2013 and was the infection control supervisor before that. He supervises all nurses

working at LSP.



9
    JX 4-bbb, R. Singh Depo at 9.
10
     As of the date of trial, Dr. Singh had been terminated from this position.
Document Number: 52892
                                                                                  Page 4 of 124


                                                                                    23-30825.22402
      Case: 23-30825   Document: 113-1
      Case 3:15-cv-00318-SDD-RLB       Page:594
                                   Document  300 03/31/21
                                                   Date Filed: 01/11/2024
                                                            Page  5 of 124




10. LSP’s medical staff currently includes five doctors and one nurse practitioner. Each

of the doctors on LSP’s staff was disciplined by the Louisiana State Board of Medical

Examiners prior to being employed at LSP. Each of the doctors on LSP’s staff had a

restricted license or was restricted to practicing in institutional settings at the time they

were hired by LSP. Some LSP medical staff have completed requirements imposed by

the Medical Board and are no longer under restriction.

11. LSP mainly provides medical care at R.E. Barrow Treatment Center (often called

“REBTC” or the “Treatment Center”), which comprises the Acute Treatment Unit (“ATU”),

an infirmary, and seven examination rooms.

12. The infirmary has two units: “Unit 1,” which treats acute care patients, and “Unit 2,”

which treats patients requiring long-term nursing home care and hospice patients.

13. Outside of the infirmary, medication is administered cell side by correctional officers.

14. Outside of the infirmary, inmates can request to see a doctor by submitting “sick call”

requests, which are triaged cell side by Emergency Medical Technicians (“EMTs”).

Facts Related to ADA Claims

15. At the time this lawsuit was filed, Warden Peabody was the ADA Coordinator at LSP.

Warden Peabody became ill sometime before January 1, 2016 and was replaced by

Warden Barr in July 2016. Defendant Tracy Falgout succeeded Warden Barr and has

been the ADA Coordinator at LSP since September 2016.

16. ADA Coordinators do not receive any formal ADA training upon taking office or on a

regular or recurring basis.

17. LSP does not provide braille versions of forms such as sick call requests,

Administrative Remedy Procedure forms, or forms to request accommodations.
Document Number: 52892
                                                                                Page 5 of 124


                                                                                   23-30825.22403
         Case: 23-30825   Document: 113-1
         Case 3:15-cv-00318-SDD-RLB       Page:594
                                      Document  301 03/31/21
                                                      Date Filed: 01/11/2024
                                                               Page  6 of 124




18. DOC Directive No. 01.016(B) requires LSP to maintain an “ADA Advisory Committee.”

No such committee existed during the pendency of this lawsuit.

19. LSP Directive 07.004 provides that all “[s]everely handicapped inmates requiring

medical care and/or assistance with basic life functions shall be housed at” REBTC or

Medical Dorms.

20. LSP Directive # 09.036 prohibits any inmate “requiring a duty status” from utilizing the

hobbyshop until such time as the inmate is returned to regular duty without restrictions.

21. Louisiana State Penitentiary and DOC receive some federal funding.

B.        Court’s Findings of Fact

          The following findings of fact are supported by the evidence in the record. Where

a particular fact was controverted, the Court weighed the evidence and determined that

the evidence presented by the party supporting that fact was more persuasive.

22.       Prior to the trial of this matter, Plaintiffs’ medical experts, Dr. Michael Puisis, D.O.

(Dr. Puisis) and Nurse Practitioner Madeleine LaMarre, (“NP LaMarre”), conducted a four-

day in-person site visit at LSP, and Dr. Susi Vassallo, M.D. (“Dr. Vassallo”) conducted a

two-day site visit.11           NP LaMarre and Dr. Vassallo observed Angola’s facilities,

interviewed numerous Angola staff members and patients, observed medical care in

practice, and reviewed the medical records of 47 patients, in addition to the medical

records of the ten named Plaintiffs.12

23.       Dr. Puisis was principally responsible for evaluating LSP’s chronic care, specialty

care, infirmary care, organizational structure, staffing, budget, healthcare operations,



11
     Rec Doc. 573 at 16, #29.
12
     Id. at
Document Number: 52892
                                                                                     Page 6 of 124


                                                                                        23-30825.22404
      Case: 23-30825   Document: 113-1
      Case 3:15-cv-00318-SDD-RLB       Page:594
                                   Document  302 03/31/21
                                                   Date Filed: 01/11/2024
                                                            Page  7 of 124




medical records, laboratory, mortality review, and quality improvement.13 Dr. Vassallo

was principally responsible for evaluating emergency care and the work performed by

EMTs.14 NP LaMarre was principally responsible for evaluating access to care, chronic

disease management, pharmacy, medication administration, policies and procedures,

clinical spaces and sanitation, and health information management.15

24.     The Court had the opportunity to evaluate the credibility of Plaintiffs’ experts and

finds them to be credible. All three experts testified at trial. Dr. Puisis testified for the

better part of three days, and Dr. Vassallo and NP LaMarre each testified for

approximately a day. Dr. Vassallo also provided brief rebuttal testimony after Defendants’

case. The Court also had the opportunity to observe and evaluate Dr. Puisis’s testimony

at the November 2017 class certification hearing.

25.     Prior to the trial of this matter, Plaintiff’s architectural accessibility expert Mark

Mazz (“Mazz”) conducted a site visit to LSP on July 6, 2016 to assess ADA accessibility

in specific areas at LSP used by disabled inmates in accessing programs, services, and

activities, as those areas would be subject to Title II and Section 504’s programmatic

access requirement, without respect to the dates of construction or alteration.16 Mazz

issued a report of his findings, which was admitted into evidence without objection.17




13
   Rec. Doc. No. 544, Testimony of Puisis at 101:8-13.
14
   Rec. Doc. No. 547, Testimony of Vassallo at 138:21-25.
15
   Rec. Doc. No. 548, Testimony of LaMarre at 152:12-153:3.
16
   Rec. Doc. No. 546, Testimony of Mark Mazz, at 11:13-19 12:5-15, 14:15-15:22; see also, P Exh. 7 at
0009 & 0005. Mazz was not advised which areas of LSP’s facilities were constructed or altered after the
Uniform Federal Accessibility Standards went into effect on March 7, 1988, or after the 1991 ADA
Standards for Accessible Design went into effect on January 26, 1992. Rec. Doc. No. 546 at 15:1-7; PX
7 at 0008.
17
   PX 7.
Document Number: 52892
                                                                                          Page 7 of 124


                                                                                             23-30825.22405
         Case: 23-30825   Document: 113-1
         Case 3:15-cv-00318-SDD-RLB       Page:594
                                      Document  303 03/31/21
                                                      Date Filed: 01/11/2024
                                                               Page  8 of 124




26.       The Court found Mazz’s testimony credible, and Defendants’ expert Brian Nolan

(“Nolan”), who reviewed Mazz’s report setting forth the ADA violations findings and

photographs, did not controvert or contradict Mazz’s report; rather, Nolan opined he could

“substantiate the items recorded” in the Mazz report “as being violations of the 1991 and

2010 ADA Standards for Accessible Design.”18

27.       The Court rejects Defendants’ attack on Mazz’s methodology and analysis

because he applied the 1991 standards to his findings; Mazz reviewed a letter from the

DOJ regarding its investigation results and noted that the DOJ’s analysis applied the

same methodology.19 Defendants offered no evidence or testimony to rebut this.

Facts Relating to Medical Care

28.       Generally, the Court concludes that LSP lacks the infrastructure necessary to

provide a constitutionally adequate health care system for patients with serious medical

needs. This includes a lack of adequate organizational structure, credentialing and peer

review processes, health care policies and procedures, clinic space, and a quality control

program. Further, the Court finds the following aspects of inmate access to health care

is constitutionally inadequate in the following ways: clinical care, specialty care, infirmary

care, and emergency care. The Court further finds that overwhelming deficiencies in the

medical leadership and administration of health care at LSP contributes to these

constitutional violations.




18
     PX 18.
19
     Rec. Doc. No. 546 at 24:23-25:22; 25:21-26:4; PX 7 at 0008 & 0009.
Document Number: 52892
                                                                                 Page 8 of 124


                                                                                    23-30825.22406
       Case: 23-30825   Document: 113-1
       Case 3:15-cv-00318-SDD-RLB       Page:594
                                    Document  304 03/31/21
                                                    Date Filed: 01/11/2024
                                                             Page  9 of 124




                1.      Clinical Care

29.     At LSP, emergency medical technicians (“EMTs”) and paramedics are front line

staff for screening and treatment of patients with routine (sick call) and urgent health care

needs. EMTs conduct sick calls in inmate housing units without the patient's medical

record, adequate medical equipment, or supplies. Pursuant to both LSP Policy and

applicable Standards of Care, physicians are required to clinically supervise EMTs; yet,

this does not meaningfully or consistently occur at LSP.

30.     Clinic exam rooms lack privacy and standardized, typically required, equipment,

i.e. blood pressure cuffs and glucometers.20 Dr. Puisis testified, and the Court observed

on its site visit, that the outlying camps at LSP likewise lack standardized supplies.21

31.     Medics who see patients cell side lack access to medical records.22

32.     There are serious hygiene deficiencies in clinic spaces. The condition of the clinic

exam rooms indicates that the exam rooms are not used for patient examinations. For

example, the exam tables are covered with medical records and cannot possibly

accommodate a patient exam.23 Clinic spaces are also cluttered with microwaves,

refrigerators, and food items.24 Further, there is a lack of usable handwashing facilities

in clinic rooms25 and a lack of paper covering on exam tables.26

33.     LSP physicians routinely fail to identify patient diseases and are focused on

episodic complaints rather than the underlying state of disease.27 Physicians routinely


20
   Rec. Doc. No. 544 at 111:23-112:16; 114:10-24; observed by the Court during its site visit.
21
   Id. at 117:8-25.
22
   Id.at 116:5-8.
23
   Id. at 116:9-22
24
   Id. at 118:1-6.
25
   Id. at 119:18-120:2; PX 6 at 278.
26
   Rec. Doc. No. 544 at 120:12-18; PX 6 at 274.
27
   Rec. Doc. No. 544 at 126:2-9.
Document Number: 52892
                                                                                             Page 9 of 124


                                                                                                 23-30825.22407
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   305 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   10 of 124




fail to adequately obtain information regarding a patient’s medical history upon

evaluation.28 Physicians routinely fail to perform a meaningful physical examination, read

and monitor testing, and monitor and manage medications, including educate patients

regarding medications.29 Further, physicians inappropriately allow medics to triage

patients and evaluate health requests.30

34.    Dr. Puisis concluded that the consequence of the inadequacy of the clinical care

results in an inadequate therapeutic plan, and the associated risk of harm includes

increased morbidity, unnecessary hospitalization, and deterioration of disease.31

                                       Patient #1132

35.    Patient #11 suffers from Crohn’s disease and was referred for a colonoscopy. A

diagnostic colonoscopy was not performed until six months after the referral.           The

colonoscopy findings resulted in a referral to a gastroenterologist, and the specialty

consultation was not completed for another three months.

36.    The gastroenterologist recommended additional testing of the intestines which

later revealed an abscess, resulting in inpatient emergency treatment to drain the

abscess. Ultimately, this patient required five subsequent surgical interventions and two

hospitalizations.

37.    Dr. Pusis concluded that the delay in treatment and the failure to coordinate

specialty care resulted in the patient requiring a higher level of treatment. The failure of




28
   Id.at 126:21 – 127:9; 153:1-2.
29
   Id. at 153:2-10.
30
   Rec. Doc. No. 545 at 108:10-13.
31
   Rec. Doc. No. 544 at 127:10-15.
32
   Id. at 133:6-139:9.
Document Number: 52892
                                                                               Page 10 of 124


                                                                                  23-30825.22408
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   306 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   11 of 124




the coordination of care is evidenced by the fact that the patient was treated by surgeons

for almost two years without being managed by a gastroenterologist.

38.     Following stabilization of Patient #11’s acute conditions, LSP physicians

prescribed Humira, but the patient was started on the wrong dose. Dr. Puisis concluded

that “it is likely that the patient had more episodes of fistula than necessary.”33

                                        Patient #1334

39.     Patient #13 suffers with high blood lipids and peripheral vascular disease and is at

risk for stroke. This patient required Statin drugs to prevent heart disease, yet the stroke

review of the patient’s record showed no evidence of statin medication administration

other than a four-month duration.

40.     On December 17, 2014, Patient #13 had a heart attack, which according to Dr.

Puisis was “likely that was preventable.”35        Plaintiff’s heart attack resulted in his

hospitalization, and he was followed by a cardiologist who recommended an

echocardiogram, which was completed on February 8, 2015. However, there is no

evidence in the chart that any LSP provider referred to the echocardiogram and no

evidence that the test results were provided to the outside cardiologist. Thus, lacking any

report from the first echocardiogram, the cardiologist ordered a second echocardiogram;

meanwhile, Patient #13 had two additional hospitalizations for heart failure.

41.     On March 17, 2015, Patient #13 presented with slurred speech and aphasia

(inability to speak), and he was seen by EMTs and sent to the ATU. The only notation by




33
   Id. at 138:14-15.
34
   Id. at 139:10-152:19; JX 10-JJJ.
35
   Id. at 141:21.
Document Number: 52892
                                                                                Page 11 of 124


                                                                                      23-30825.22409
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   307 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   12 of 124




an LSP provider is: “patient brought in for brief episode of slurred speech and expressive

aphasia.” No neurological exam was charted.36 Dr. Puisis testified that:

        Strokes express themselves in terms of a neurological exam. So you would
        have to see if the patient has any motor problem with their arms, legs,
        whether they have facial paralysis, whether they still have that, whether they
        can hear, whether their cranial nerves are intact. And that requires a
        neurological exam, which was not done.”37

A LSP physician ordered the patient to be seen “this week and [he] needs a CT.”38

However, a CT scan was not completed until 3 months later, revealing that the patient

had suffered a stroke.

                2.     Specialty Care Services

42.    Specialty care is provided at LSP in one of two ways: either a panel of specialists

who come to LSP or outside specialists to whom LSP refers patients. Based on the

following, the Court finds that inmates at LSP experience unnecessary and harmful delays

in the assessment for and receiving of specialty medical care; harmful failure to follow

specialty care recommendation; and failure to coordinate care. Referrals of patients for

specialty care is untimely. There are systematic and recurring failures by LSP providers

to follow-up on specialty care recommendations. There are repeated breakdowns in

communication between the specialty care providers and the LSP medical providers. In

sum, the timeliness of referrals to specialists, and the coordination of care between

specialists and LSP physicians, is seriously flawed and constitutionally inadequate.




36
   Rec. Doc. 544 at 145:15-25.
37
   Id. at 145:18-23.
38
   Id.at 146:4.
Document Number: 52892
                                                                                Page 12 of 124


                                                                                   23-30825.22410
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   308 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   13 of 124




                                        Patient #5

43.      Patient #5 complained for two years of weight loss and abdominal pain. This

patient’s abdominal pain worsened to the point that he could not walk, and he developed

diarrhea and vomiting. After a two-year delay, he was finally hospitalized, and diagnosed

with advanced colon cancer. Surgery was performed after which the patient developed

complications and died. Plaintiffs’ experts concluded that, “His death was preventable as

an earlier diagnosis would have most likely prolonged his life.”39 Further, this patient was

seen on 10/25/14 for a bowel obstruction, a potentially life-threatening issue.         The

provider who saw this patient did not evaluate the x-ray.        This patient required an

immediate transfer to the hospital but was not sent, which constitutes a “significant

departure from standard of care and placed the patient at risk of harm.”40 Plaintiffs’

experts concluded that this patient medically required hospitalization on 10/27/14,

10/30/14, and 11/1/14, but he was never sent, further delaying his diagnosis.41

                                        Patient #17

44.      Patient 17 was a 46- year old man who arrived at LSP in 2006 and died on

February 1, 2014 due to pneumonia, lung adenocarcinoma, respiratory failure, and septic

shock.

45.      After undergoing chemotherapy for leukemia, this patient developed a suspicious

lung nodule identified on a CT scan in May 2012. Two specialists, an oncologist and a

pulmonologist, noted possible malignancy and recommended that follow-up diagnostics

be performed. However, no follow-up diagnostics were ever received. Patient 17’s


39
   PX 6 at 0075-76; 0112-117.
40
   Id. at 0116, #7.
41
   Id. at 0016.
Document Number: 52892
                                                                               Page 13 of 124


                                                                                  23-30825.22411
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   309 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   14 of 124




condition worsened through November 2013 at which time he could no longer walk and

became wheelchair-bound.42

46.    By the time Patient #17 was finally diagnosed in November 2013, he had

metastasized cancer. He died three months later.43

                                       Patient #13

47.    Patient #13 was seen by a vascular specialist on November 20, 2013, who

recommended a CT angiogram, but the test was not done for ten months.44 During this

ten months, the patient was not being followed by a vascular surgeon although he was at

risk for peripheral vascular disease and had been identified as having the disease.45

48.    Patient #13 was hospitalized after having a heart attack on December 17, 2014,

and on January 29, 2015, he was seen by an outside cardiologist who recommended an

echocardiogram.46 The echocardiogram was completed on February 8, but the LSP

doctor failed to document that the echocardiogram had been done and failed to chart the

findings. When this patient returned to the cardiologist, the cardiologist did not have the

echocardiogram to review or any chart notes of findings, which impaired the cardiologist’s

ability to provide proper medical care and advice. The failure to coordinate and document

was not an isolated incident. Patient #13 had three follow-up cardiology appointments in

which the cardiologist was not provided the echocardiogram to review.47




42
   PX 6 at 0078, 0086-87, 0193-199.
43
   Id.
44
   Rec. Doc. No. 544 at 141:9-11.
45
   Id. at 141:12-16.
46
   Id. at 141:18-24.
47
   Id. at 142:13-23; 157:16-24.
Document Number: 52892
                                                                              Page 14 of 124


                                                                                 23-30825.22412
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   310 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   15 of 124




                                         Patient #7

49.    The care and treatment of Patient #7 is further evidence of a failure to chart and

make appropriate medical notes and demonstrates repeated failures to coordinate care

that resulted in harm. Patient #7 was a 58-year old male who had an x-ray in February

2013 which revealed a potential malignancy for which the patient was not referred for a

CT scan for three months.48 When a CT scan was performed, it revealed a suspicious

lesion, and the patient was referred to a pulmonologist. However, this patient did not see

a pulmonologist for approximately four months, which was seven or eight months from

the initial abnormal x-ray. Upon seeing Patient #7, the pulmonologist recommended a

biopsy.49

50.    At trial, Dr. Puisis emphasized the difference between the pulmonologist’s exam

notes and those of LSP with respect to this patient:

       So this is a note of the specialist. Now it’s a pulmonologist’s note, but I
       would draw attention to just the presentation of the note itself as an example
       of how someone should write a note, recognizing that this is a specialist, I
       grant that, but he’s an internist who also is a pulmonologist. And to a certain
       extent, the notes at LSP should look more like that than not, and you’ll note
       that there’s a history, that there’s a physical exam section, and that there’s
       an assessment and recommendations.50

When referring to the LSP physician notes on the same patient, Dr. Puisis explained:

       Okay. So this is the [LSP] physician's note after the specialty visit, and this
       occurred, I believe, a month after the visit, approximately. So that already is
       a little tardy for a post-specialty visit. Nevertheless, the doctor -- there's no
       specific history, there's no examination, there's no assessment, but the
       doctor does write the conditions one, two, three, hypertension, chronic
       vertigo, and left upper lobe mass. But on the left upper lobe mass, the doctor
       writes: pulmonary plan equals CT-guided biopsy, question mark, bronc,


48
   Id. at 158:19-21; JX 10-b.
49
   JX 10-b at 02651-52.
50
   Rec. Doc. No. 544 at 160:25-161:8.
Document Number: 52892
                                                                                 Page 15 of 124


                                                                                     23-30825.22413
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   311 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   16 of 124




        question mark. the specialist was not questioning whether the test needed
        to be done. He had specific recommendations.

        My interpretation of this note is that the doctor wasn’t sure what the
        pulmonologist recommended. What should have occurred on this note is
        the doctor should have documented, reviewed pulmonogist’s [sic] note,
        recommendation for biopsy. And it appears that the doctor wasn’t sure what
        was recommended, and that just verifies to us that the coordination between
        the specialist and the primary care doctor was poor and, in our opinion,
        resulted in the delays that occurred.51

51.     The trial evidence established that Patient #7 was recommended for a biopsy on

February 19, 2013, he was seen by a LSP physician in March 2013, and on August 28,

2013 – seven months from the recommendation and one year after the initial x-ray – the

patient was seen by the pulmonologist who noted: “the biopsy didn’t occur, what gives?”,

and he recommended another biopsy.52 The pulmonologist also noted on that date,

“strongly suggest immediate IR [interventional radiology], FNA [fine needle aspiration] of

left upper lobe nodule.”53

52.     On September 25, 2013, a biopsy had still not been completed. The pulmonologist

again recommended a biopsy. Eventually, having never undergone a biopsy, this patient

underwent a lobectomy to remove a “portion of the lung that was infested with cancer.”54

53.     This patient was returned to LSP on October 14, 2013 and was first referred to

oncology to begin chemotherapy on November 19, 2013; however, records show that

chemotherapy was delayed and not scheduled to begin until January 8, 2014.55

54.     After his return to LSP, the patient made a health care request on November 21



51
   Id. at 161:19-162:12 (explaining JX 10-b at 02656).
52
   Id. at 162:13-21.
53
   JX 10-b at 02601.
54
   Rec. Doc. No. 544 at 164:2-3.
55
   Id. at 164:20-24.
Document Number: 52892
                                                                             Page 16 of 124


                                                                                23-30825.22414
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   312 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    17 of 124




complaining of tongue and mouth swelling and vomiting. An EMT evaluated and treated

these complaints with coal tablets and cough syrup. Dr. Puisis testified that, given the

patient’s medical history and return from a lobectomy with chemotherapy to follow, a

physician should have seen and evaluated these complaints.56 Before Patient #7 began

chemotherapy, he died.57

                                              Patient #6

55.     Patient #6 was evaluated by an outside cardiologist for hypertension and

significant cardiac arrhythmia. In 2013, the cardiologist ordered an echocardiogram and

an event recorder test.58 The echocardiogram was performed, but the event recorder was

not.    As a result, the patient’s atrial fibrillation was not treated with necessary

anticoagulation.

56.     Two years later, in April 2015, the patient was hospitalized after he developed

another episode of atrial fibrillation.         During this hospitalization, the patient was

anticoagulated at the hospital. When the patient returned to LSP, the patient was not

evaluated and did not receive recommended anticoagulation for approximately 10 days.

Within four days of his return to LSP, this patient developed critical symptoms. Rather

than send the patient to a hospital, Defendants ordered a next day follow-up. This patient

soon developed signs of serious heart failure. Instead of hospitalizing the patient, he was

treated in the infirmary without any diagnostic testing. It took four days in the infirmary




56
   Id. at 165:7-21.
57
   Id. at 159:7-166:3.
58
   Rec. Doc. No. 133-2 at 76; PX 6 at 0076.
Document Number: 52892
                                                                                Page 17 of 124


                                                                                   23-30825.22415
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   313 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   18 of 124




before anticoagulation was finally begun, but this patient failed to improve and

subsequently died.59

57.     Plaintiffs’ experts found Patient #6’s death was preventable, and it “was caused by

lack of recognition of the need for anticoagulation over a two-year period and, finally, a

lack of providing ordered anticoagulation medication for 10 days due to lack of review and

acting on consultant recommendations.”60

                                             Patient #10

58.    Lab results for this patient revealed obstructive jaundice that was potentially life-

threatening. A CT scan revealed a mass in the patient’s pancreas. Rather than being

sent to the hospital for a biopsy, this patient was kept in the infirmary where he developed

a fever. The patient was ultimately sent to the hospital where he was diagnosed with

pancreatic cancer.61

59.     Following this diagnosis, Patient #10 was returned to the infirmary where LSP

providers “seldom took a history or performed a physical examination, did not coordinate

a follow up with an oncologist, and failed to monitor the patient’s bilirubin.”62       LSP

providers also failed to review the hospital care or the therapeutic plan established at the

hospital, and the patient was discharged from the infirmary and placed back in general

population. LSP subsequently made no effort to coordinate oncology care.63

60.    Although this patient was eventually evaluated by an oncologist, the patient had

developed an altered mental status and hypotension and refused the ATU doctors’


59
   Id.
60
   Id.
61
   Rec. Doc. No. 133-2 at 77;PX 6 at 0077.
62
   Id.
63
   Id.
Document Number: 52892
                                                                               Page 18 of 124


                                                                                  23-30825.22416
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   314 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   19 of 124




recommendations that he seek care. The patient refused care and was transferred to the

hospital where he died in the emergency room.64

61.     Plaintiffs’ experts opined that the LSP providers “showed a lack of concern for this

patient and appeared to promote a terminal diagnosis and delay care before the patient

had an adequate chance at treatment.”65

                                             Patient #53

62.     Patient #53, who had previously had a heart valve replacement and chronically

sub-therapeutic levels of anticoagulants, was prescribed Tegretol, an anticonvulsant

medication. A cardiologist noted the lack of indication for this drug in 2016, but this was

never reviewed by LSP physicians, and the patient remained on Tegretol for at least three

more months.66

                                             Patient #54

63.     Patient     #54     experienced       numerous      delays   in   receiving   specialist

care/recommendations between 2013 and 2016.67 Specifically, ablation of this patient’s

atrial fibrillation was delayed by over a year due to failures to schedule the patient for

procedures, failure to provide echocardiogram results to the cardiologist, and failure to

address the cardiologist’s recommendations.68 Following the ablation, LSP providers

failed to document the cardiologist’s recommendations; thus, this patient was erroneously




64
   Id.
65
   Rec. Doc. No. 133-2 at 77-78; PX 6 at 0077-78.
66
   PX 410 at 3-4; JX 10-y-1 at 21012; JX 10-y-3 at 21377.
67
   PX 410 at 1-2.
68
   Id.
Document Number: 52892
                                                                                  Page 19 of 124


                                                                                      23-30825.22417
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   315 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   20 of 124




continued on a blood thinner for a year, placing him at significant risk of stroke,

hemorrhage, and other side effects.69

                                            Otto Barrera

64.     Otto Barrera testified at the bench trial about significant delays he experienced,

since his incarceration at LSP in 2013, in obtaining necessary reconstructive surgeries to

repair his jaw, tongue, and teeth, which would require numerous surgeries over five years

altogether.70 At that time, Barrera was feeding himself through a pec tube and barely

able to speak or take his medication due to his injuries.71

65.    For the next two years, Barrera was housed on the hospital ward where he had

some teeth pulled by the on-site dentist and LSU dental providers.72 The LSU

maxillofacial providers reiterated their recommendation again in 2015 that he needed

reconstructive surgery, but he testified that he was told by the LSP doctor that the surgery

would not be approved because it was considered a cosmetic surgery.73

66.    In January 2016, LSP Nurse Practitioner Cindy Park admitted that Barrera had

been “lost to follow-up” since early 2014.74 In September 2016, Barrera had still not

received any surgery.75

                                              Joe Lewis

67.    Over a period of 33 months beginning in April 2012, Joe Lewis made numerous

sick calls complaining of cough, hoarseness, and losing his voice. He reported on a


69
   Id.
70
   Rec. Doc. No. 546, Testimony of Otto Barrera at 207:7-14; see also PX 245-b (photographs of Barrera’s
injuries).
71
   Rec. Doc. No. 546 at 206:1-207:22, 225:5-18, 229:5-19.
72
   Id. at 216:18-217:5.
73
   Id. at 217:3-219:22; Rec. Doc. No. 547 at 31:10-25.
74
   JX 10-d-2 at 04063.
75
   Rec. Doc. No. 547 at 21:9-11.
Document Number: 52892
                                                                                         Page 20 of 124


                                                                                             23-30825.22418
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   316 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   21 of 124




February 2014 sick call that he had a family history of cancer; however, he was not

referred by LSP to an ENT until November 2014, and he did not see an ENT until January

2015.76

                                         Shannon Hurd

68.    Shannon Hurd made several sick call requests for symptoms of renal cell

carcinoma between September 2013 and September 2015; yet, he did not receive a CT

scan until December 2015, which revealed a large renal mass with multiple nodules.

Despite this, LSP physicians failed to follow-up for nearly a month.77

                3.     Infirmary/In-Patient Care

69.    LSP has two infirmaries, Infirmary 1 and Infirmary 2. Infirmary 1 is the acute care

infirmary for the treatment of patients with urgent or episodic conditions. Infirmary 2 is

the chronic care infirmary for patients with chronic disabilities or conditions that require

long-term housing.78

70.    Nursing Unit (Infirmary) 2 is managed by a nurse practitioner who also oversees

more than 1000 other patients.79

71.    Dr. Puisis opined that the infirmary/in-patient care provided by LSP is severely

inadequate.80

72.    Dr. Puisis testified that, according to the National Commission on Correctional

Health Care (“NCCHC”) standards, every inmate patient should be within the sight and




76
   PX 28 at 0017-18.
77
   Id. at 0018-22.
78
   Rec. Doc. No. 544 at 172:25-173:13.
79
   Id. at 173:14-20.
80
   Id. at 123:20-124:10.
Document Number: 52892
                                                                               Page 21 of 124


                                                                                  23-30825.22419
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   317 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   22 of 124




sound of a nurse.81

73.    LSP infirmaries have individual rooms with steel doors which are separated from

nursing staff by solid locking doors and no call system to reach nurses. Dr. Puisis testified

that there should be a way for the patient to communicate with the nursing staff, and the

steel doors render adequate communication an impossibility.82 For example, Kentrell

Parker was a quadriplegic whose breathing required a tracheotomy, and he was locked

in an isolation room facing away from the door with no means to summon assistance.83

74.    Dr. Puisis testified that, in the general population, inmates may serve as orderlies

and assist patients with activities of daily living; however, inmate orderly service is

medically inappropriate in the infirmary setting.84

75.    LSP utilizes inmates as nursing assistants which is beyond the scope of the

medically accepted use of orderlies. According to NCCH, inmates may assist with

activities of daily living, but not in the inpatient environment because: (1) inmates lack

training, and (2) there is a potential for undue leverage, i.e., an inmate declining to provide

assistance unless receiving some gratuity from the patient.85

76.    The infirmaries at LSP are significantly understaffed, requiring inmate orderlies to

clean, bathe, dress, feed, and position patients - all activities of daily living as

acknowledged by LSP physician Dr. David Thomas.86




81
   Id. at 170:16-171:5 (citing PX 243 at 0130).
82
   Rec. Doc. No. 544 at 177:14-178:11.
83
   PX 6 at 0081-82.
84
   Rec. Doc. No. 544 at 174:25-175:22.
85
   Id. at 175:11-176:9.
86
   Rec. Doc. No. 552, Testimony of David Thomas at 29:6-7: 87:2-7.
Document Number: 52892
                                                                                 Page 22 of 124


                                                                                     23-30825.22420
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   318 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   23 of 124




77.     It was established that inmate orderlies are not supervised by registered nurses;

rather, they are supervised by security staff who lack medical training. Dr.Puisis testified

at length about health care standards that strongly counsel against the use of inmate

orderlies to assist inpatient inmates with activities of daily living.87

78.     Further, even if the use of inmate orderlies to assist with activities of daily living

conforms to the minimum standards of the Eighth Amendment, the trial evidence showed

that LSP failed to follow its own training policies with respect to inmate orderlies.88

                                              Patient #3

79.     This patient has underlying diabetes and peripheral vascular disease. Ulcers and

disease to both legs required amputation above-the-knee. The patient subsequently

developed serious infections to the stump in 2008, and he was sent to the hospital where

he underwent emergency surgery to remove the dead tissue. Doctors had to extend

upward to the perineum to find live tissue. All tissue in this patient’s penis and entire

perineum was dead. He was returned to LSP and placed in hospice care.89

80.     Dr. Puisis credibly testified that this type of infirmary care is representative of the

care he observed during the relevant time period; however, the Court finds that the facts

surrounding Patient 3 which occurred in 2008 are not probative of the health care

conditions at issue during the relevant time period of this lawsuit.

                                             Patient #39

81.     Patient #39 was immunosuppressed with a history of congestive heart failure and

diabetes. He was admitted into the infirmary on July 20, 2011, presenting with a fever of


87
   Rec. Doc. No. 544, Testimony of Mike Puisis at 175:4-176:11.
88
   JX 6-eee at 6 (annual training).
89
   JX 10-AAA.
Document Number: 52892
                                                                                 Page 23 of 124


                                                                                     23-30825.22421
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   319 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   24 of 124




103.6 degrees and altered status. He was placed in a “locked room” with the “hatch up”

after a nurse reported that the patient was masturbating on July 21, 2011. LSP physicians

ceased visiting the patient altogether for 3 days. He was discharged back to his housing

unit on the fourth day. Two days after his discharge, this patient was found vomiting in

his cell. Both Dr. Lavespere and Dr. McMurdo ordered EMTs not to transport the patient

to the hospital, and this patient died the next morning.90

                                            Patient #18

82.    Following multiple positive tests for HIV, Patient #18 was admitted to the infirmary

on December 2, 2013, presenting with pneumocystic pneumonia and life-threatening

abnormal vital signs.      Despite his condition, antiretrovirals therapy was not started for

four days. Less than one week after starting antiretrovirals therapy, this patient developed

a fever of 101 degrees, and he was transferred to an outside hospital on December 13,

2013, where he died one month later. While Patient #18 was in the infirmary at LSP, his

vital signs were monitored only once daily, and his medications were, at best, irregularly

administered.91

                                            Patient #11

83.    Patient #11 suffered from Chron’s Disease, which Dr. Puisis testified requires

chronic disease monitoring.92 This patient was admitted to the infirmary following a partial

colectomy. This surgery was necessary due to the failure of LSP physicians to timely and

properly monitor and treat his Crohn’s disease.              The Court finds that the evidence



90
   PX 6 at 0063; JX 10-ii-1 at 34748-49; PX 233 at 0112.
91
   PX 6 at 0039 – 40, 0083-84; Rec. Doc. No. 548, Testimony of Madeleine LeMarre at 172:11-22; 181:20-
21.
92
   Rec. Doc. No. 544 at 133:6-15.
Document Number: 52892
                                                                                       Page 24 of 124


                                                                                           23-30825.22422
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   320 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   25 of 124




demonstrating LSP’s failures to take Patient #11’s history, perform adequate physical

examinations, document a treatment plan, provide indicated immunosuppressive therapy,

and failure to refer him to gastroenterologist resulted in a preventive death.93

                4.      Sick Call

84.     Sick call is the main process by which patients access the medical system at

Angola, and it is conducted cell side by EMTs. EMTs do not commonly consult doctors

during sick call visits, and the evidence shows that fewer than half of all sick call visits

from April to June 2016 were referred for provider review.94

85.     Expert testimony at trial established that inmate patients submitted repeated

Health Service Requests (“HSR”) for the same complaint.95

86.     Evidence also demonstrated that EMTs routinely did not have access to the

patient’s health record when conducting sick calls, resulting in patients being treated

repeatedly with the same medication regimen even if such regimens had failed in the

past. This was demonstrated by the following evidence at trial:

87.    Patient #17 complained of chest pain at sick call for over 16 months. Prior to these

complaints, the patient’s medical records indicated that he had a pulmonary nodule and

had been referred to a thoracic surgeon for a biopsy. This patient was seen repeatedly

by EMTs at sick call for complaints of chest pain for 16 months from 2102 to 2014. A

biopsy of the pulmonary nodule was finally performed in 2014, and this patient was

diagnosed with adenocarcinoma of the lung. He died a little over one week later.96



93
   PX 6 at 0044-45, 146; Rec. Doc. No. 544, Testimony of Mike Puisis at 133:6 – 139:9; JX 10-R.
94
   PX 41 at 0039-41.
95
   Rec. Doc. No. 548 at 185:15-186:10.
96
   PX 6 at 0193-99.
Document Number: 52892
                                                                                         Page 25 of 124


                                                                                             23-30825.22423
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   321 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   26 of 124




88.     Patient #20 was seen by EMTs at sick call for over four months with repeated

complaints of significant abdominal pain. More than once, EMTs failed to refer the patient

to a physician despite his severe symptoms. After months of complaining of “burning”

pain, weight loss, and vomiting blood, the patient was admitted to a nursing unit. He died

the following day.97

89.     Patient #29 was seen 10 times by EMTs for sick calls in a one-month period. This

patient presented with symptoms consistent with exacerbation of congestive heart failure;

however, it took over a month for this patient to be hospitalized despite acute worsening

of symptoms.98

90.     Patient #18 was seen on multiple occasions by EMTs with complaints of chest

pain, shortness of breath, and a 55-pound weight loss. There is no documentation that

EMTs notified physicians of the patient’s abnormal vital signs, precipitous weight loss, or

the progressive worsening of his symptoms. The patient did not receive a timely or

meaningful clinical evaluation for his symptoms by a physician. Ultimately, Patient #18

was diagnosed with HIV, and he died a little over one month after this diagnosis.

According to the medical experts, a timely diagnosis of this patient’s HIV status and

corresponding anti-retroviral intervention could have prevented his death.99

91.     Plaintiff Shannon Hurd (deceased) repeatedly complained of substantial weight

loss and testicular swelling. After 2 years of presenting to EMTs with consistent and

worsening complaints, diagnostic testing revealed renal cancer. From the time that this

patient began complaining of symptoms until his ultimate diagnosis two years later, Hurd


97
   PX 6 at 0216-27.
98
   PX 6 at 0256-57.
99
   PX 6 at 0200-08.
Document Number: 52892
                                                                               Page 26 of 124


                                                                                  23-30825.22424
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   322 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   27 of 124




lost 61 pounds. During this period, Hurd saw doctors and EMTs on numerous occasions,

but they routinely failed to conduct meaningful testing or scrutinize his symptoms and

medical history. Even when tests did occur, doctors failed to provide the necessary follow

up.100

92.      Plaintiff Joseph Lewis (deceased) repeatedly complained for 33 months—nearly

three years—of symptoms consistent with laryngeal cancer. Lewis was mostly evaluated

cell side by EMTs at sick call who referred him to a physician on only a few occasions.

After 33 months of constant complaints, diagnostic testing was obtained which revealed

laryngeal cancer. Again, according to medical experts, timely diagnostics would likely

have prolonged Lewis’ life.101

93.      Regarding transport orders, the evidence showed that, when EMTs consulted LSP

physicians to request increased care or for additional patient assessment, the physicians

routinely gave “no transport” orders resulting in further diagnostic and treatment delays.

According to the undisputed expert opinions presented, these “verbal orders given to the

medics over the radio … advising that the patient not be transported from his cell,”102

“result[ed] in delay in care, lack of evaluation by a physician and in some cases death.”103

Record examples of the consequences of these “no transport” orders are as follows:

94.      Patient # 39 was a 65-year-old man with “a history of diabetes, [and] severe

coronary artery disease and heart failure.”104 In July of 2011, the patient was seen by

EMTs seven times with symptoms including a “temperature of 103.6,” “an altered mental


100
    PX 28 at 0018-22; see also Rec. Doc. No. 552, Testimony of David Thomas at 99:9-116:4.
101
    PX 28 at 0017-18.
102
    PX 6 at 0063.
103
    Id.; See also Rec. Doc. No. 547, Testimony of Susi Vassallo at 150:24-151:9, 174:24-178:7.
104
    PX 6 at 0063
Document Number: 52892
                                                                                          Page 27 of 124


                                                                                                 23-30825.22425
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   323 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   28 of 124




status,” “chest tightness,” and “breathing but unresponsive.” On one occasion, Patient 39

was observed lying on the floor of his cell “‘vomiting and won’t move [sic].’”105

Nevertheless, no-transport orders were given three times. After the third no transport

order in July 2011, this patient died in his cell. The medical records do not explain or

describe the reason for, or circumstances of, the death.106

95.     Patient # 34 made an emergency sick call for flank pain. LSP physician Dr. Toce

ordered an x-ray without seeing the patient,107 but he was subsequently seen by Dr.

Collins in the ATU the next day. Dr Collins noted that there was no bruising or injury that

could explain the patient’s pain.108 Three days later, Dr. Lavespere gave a no transport

order when the patient could not get out of bed. Three days after this no transport order,

the patient was found non-responsive in his cell. He died the following day.109

96.     Plaintiffs not only challenge the constitutionality of the medical response to sick

calls at LSP but also the constitutionality of the sick call policies, generally. Pursuant to

the DOC’s Access to Care and Clinical Services Policy,110 inmate patients are to have

daily access to routine and urgent services, with sick call requests triaged every day. Sick

Call carries a $3 co-pay, self-declared medical emergencies carry a $6 co-pay, and a new

medication (OTC or RX) carries a $2 co-pay regardless of the number of doses.111



105
    Id.
106
    Id. at 0063-64.
107
    PX 6 at 0267; Rec. Doc. No. 548, Testimony of Susi Vassallo at 57:5-58:16; JX 10-ee at 28686. It is
unclear when the patient suffered the broken ribs, and whether the rib fracture was related to his death; the
autopsy reports a “remote” fracture, suggesting that the rib injury may have been distant in time and
unrelated. See Rec. Doc. No. 548 at 57:5-58:16.
108
    JX 10-ee at 28685.
109
    Id. at 28678-81; see Rec. Doc. No. 548, Testimony of Susi Vassallo at 112:9-114:1; see also, e.g., PX
6 at 0201, 0236, 0238, 0254, 0257 (noting additional no transport orders).
110
    JX 5-A at 00020 ( HC-01).
111
    Id. at 00023.
Document Number: 52892
                                                                                             Page 28 of 124


                                                                                                 23-30825.22426
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   324 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   29 of 124




Plaintiffs argue that this co-pay system presents an unconstitutional barrier to care.

Based on the trial evidence submitted, the Court does not to find that these policies, in

and of themselves, create an unconstitutional (cruel and unusual) barrier to health care.

However, it is one factor that contributes to a delivery system that is, in this Court’s view,

woefully inadequate. Sick call policies requiring co-pays is not unconstitutionally cruel and

unusual. Even though the malingering policy is unenforced, the fact that it is on the books

arguably creates a disincentive for inmates to sick call. There was no evidence that the

policy creates access hesitance. Inasmuch as the policy is disfavored and not used, in

the Court’s view, LSP should amend its written policy to conform to its practice.

97.     In requesting a “sick call,” an inmate is required to acknowledge in writing: “I am

aware that if I declare myself a medical emergency and health care staff determine that

an emergency does not exist, I may be subject to disciplinary action for malingering.”112

In short, if an inmate is determined not to be “emergency” sick after complaining of

symptoms, the inmate can be sanctioned for “malingering.” Defendants contend the

actual use of malingering write-ups is rare. However, even the Defendants’ medical

expert, Dr. Thomas, agreed that the malingering policy at LSP should be discontinued.113

Plaintiffs’ medical expert opined that a policy which permits medical providers to punish

inmates for seeking access to care creates a conflict of interest and is a practice not seen

in other correctional facilities.114

98.     After weighing all evidence regarding this policy, the Court finds that, although

LSP’s malingering policy exists on paper, it is not enforced in practice. Accordingly, the


112
    PX 53.
113
    DX 14 at 02943.
114
    Rec. Doc. No. 545, Testimony of Puisis at 14:16-16:4.
Document Number: 52892
                                                                                Page 29 of 124


                                                                                    23-30825.22427
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   325 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   30 of 124




Court finds that Plaintiffs have failed to carry their burden of proving harm regarding this

policy.

99.       Nevertheless, although the Court finds that the unenforced malingering policy is

not unconstitutional, it is evidence of systemic health care structures that the Court does

find results in constitutionally infirm health care delivery. As evidenced by the malingering

policy, the medical department at LSP is controlled by LSP security rather than medical

care providers. Both Plaintiffs’ and Defendants’ experts agreed that this organizational

hierarchy, under which the medical department reports to security, is not working.115

Moreover, orderlies and EMTS also report to the security chain of command for

supervision,116 and correctional officers supervise the delivery of medications by other

correctional officers.117 Dr. Lavespere admitted that security personnel - not medical

personnel - are tasked with the initial assessment of whether an inmate is “really sick”

when they purport to have a medical emergency.118 Additionally, the Assistant Warden

makes resource-allocation decisions such as when nurses are required for pill call.119

The Court finds that this system where health care decisions are largely made by security

rather than qualified health care providers is unconstitutional.




115
    See e.g., DX 13 at 02845-46 (Dr. Moore describing the leadership as “most unusual” and creating
“difficulties,” including making the “success of the program [] primarily dependent upon the good will of the
wardens.”). She further explained that Wardens are not capable of assessing the quality of medical care
delivery. See also PX 6 at 0011-12.
116
    JX 4-gg, A. Cowan Depo. at 9:20-25, 10:16-20; JX 4-dd, D. Cashio Depo. at 73:18-74:18 PX 6 at 0015;
JX 4-ii, T. Falgout Depo. at 17:23-25 (Warden Falgout testifying that security deals with staffing and
assigning orderlies).
117
    Rec. Doc. No. 553,Testimony of Tammi Willis at 96:4-8; see also JX 4-ddd.
118
    JX 4-rr at 26:24-27:4.
119
    Rec. Doc. No. 551, Testimony of Randy Lavespere at 193:9-18.
Document Number: 52892
                                                                                             Page 30 of 124


                                                                                                 23-30825.22428
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   326 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    31 of 124




                5.      Emergency Care – Acute Treatment Unit (“ATU”)

100.    The ATU is not an emergency room (“ER”) and is, therefore, not equipped with

some of the equipment necessary to diagnose and treat serious medical conditions.120

Further, because the ATU does not operate as an ER, referral to outside hospitals

becomes necessary in emergency situations. However, the trial evidence demonstrates

that LSP often fails to refer patients to an outside ER when necessary. Addtionally, as

with sick calls, LSP employs EMTs as primary care providers in the ATU.

101.    In addition to sick call assessments, EMTs “perform all emergency response.”121

Plaintiffs agree that it is an “appropriate use of EMTs to respond to medical emergencies

on-site, such as in a cell or dorm.”122 However, Plaintiffs challenge the policy allowing

EMTs to deliver care and serve as the “primary providers” for patients in the ATU.123 It is

admitted that only serious medical conditions are seen in the ATU, and according to Dr.

Lavespere, as many as 76 patients may be seen in a day in the ATU.124

102.    Although a physician is assigned to provide on-call coverage to the ATU, the Court

finds from the trial evidence that physicians do not regularly or consistently staff the ATU,

and, as a result, patients in the ATU are not being consistently evaluated or treated by

physicians. The Court finds as a matter of fact that it is EMTs who are routinely delivering

patient care in the ATU, which “differs dramatically” from how prison EMTs are used in

emergencies in the rest of the country, according to Plaintiffs’ expert.125



120
    PX 6 at 0066.
121
    Id. at 0061.
122
    Rec. Doc. No. 573 at 110.
123
    Rec. Doc. No. 547, Testimony of Susi Vassallo at 141:25-142:4; Rec. Doc. No. 548 at 14:3-13.
124
    JX 4-rr, R. Lavespere Depo at 44:4-7.
125
    Rec. Doc. No. 548, Testimony of Susi Vassallo at 22:1-3.
Document Number: 52892
                                                                                         Page 31 of 124


                                                                                             23-30825.22429
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   327 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    32 of 124




103.    The Court further finds that, regarding patients in the ATU, EMTs “continue to

manage the patient” and “make serial observations over many, many, many, many

hours,” which is not within their training or scope of practice.126 EMTs are simply not

trained “to render ongoing care for a number of hours.”127 The following examples

demonstrate the improper use of EMTs in the ATU.

104.    Patient #1 was managed by EMTs in the ATU for more than 24 hours for an

episode of diabetic ketoacidosis and acute renal failure - conditions which led to his death

one day later.128

105.    Patient #15 was managed by EMTs in the ATU overnight despite suffering from

acute coronary syndrome, and then discharged to his housing unit at 3:45 in the morning;

he returned to the ATU later that morning and then died en route to the hospital.129

106.    Patient #20 was managed by EMTs in the ATU overnight, despite a physician’s

telephone order that he be admitted to the nursing unit, because the nursing unit was full.

The patient’s symptoms suggested he was “internally bleeding and at risk of death,” and

he, in fact, died the following day.130

107.    Patients #38 and #42 were managed in the ATU for at least eight hours by EMTs,

despite both having symptoms suggestive of a stroke. Patient #38, who had a medical

history of strokes, died the following day. Patient #42 lived following this ATU stay but



126
    Rec. Doc. No. 547 at 160:13-161:1; see also, e.g., id. at 151:20-152:4 (“The problem at Angola is that
the EMTs continue to manage the patient. Now, there are exceptions to that, but most commonly the EMTs
will manage patients with calling to the doctors. They will be given verbal orders or telephone orders, and
so the doctor is relying on the information they are given by someone who is observing something but not
trained to make serial observations over many, many, many hours and to know what that means.”).
127
    Rec. Doc. No. 547, Testimony of Susi Vassallo at 142:5-12; see also PX 6 at 0041, 60-71.
128
    See PX 6 at 0069, 0091-94; JX 10-w at 51299-307.
129
    See PX 6 at 0069-71, 0187-90; JX 10-v at 18943-48.
130
    PX 6 at 0034-35, 0056, 0085, 0225-27.
Document Number: 52892
                                                                                           Page 32 of 124


                                                                                                23-30825.22430
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   328 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    33 of 124




was left with long-term deficits due to lack of proper treatment.131

108.    The trial evidence also demonstrated several examples of the consequences of

delayed or failed emergency referrals. For example, Anthony Mandingo presented with

pneumonia. EMTs in the ATU administered two breathing treatments and returned him

to his dormitory. Several days later he was admitted to UMC New Orleans.132

109.    Danny Prince, who worked as a health care orderly on Ash 2 dormitory (an assisted

living/recovery dorm) during the relevant time period, testified at trial and described an

inmate with a tracheotomy in his throat who presented with a progressively worsening

cold and made repeated emergency sick calls. The inmate was seen in the ATU and

returned to his dormitory multiple times and ultimately died.133

110.    Regarding stroke patients, in August 2014, LSP was put on notice by Interim LSU

Hospital (“ILH”) that that they were not receiving stroke patients within the 4.5-hour

treatment window. Three Angola inmates within 45 days prior had arrived at outside

treatment facilities “with obvious stroke symptoms [but did not receive] emergen[cy] care

within the 4.5 [hour] window to attempt [to] prevent serious disability.”134 For example,

Lionell Parks presented to the infirmary on 3 consecutive days with stroke symptoms

before he was referred for emergency care.135 While the remote location of LSP accounts

for transportation delays, it is less than a one-hour drive to Baton Rouge, and the




131
    PX 6 at 0270-71 (Patient #38); PX 233 at 0095 (Patient #38); Rec. Doc. No. 547, Testimony of Susi
Vassallo at 153:6-164:24 (Patient #42); PX 6 at 0272-73 (Patient #42); JX 10-p at 15142, 15161-62, 15236-
39 (Patient #42).
132
    Rec. Doc. No. 551, Testimony of Mandingo at 89:2 – 91:13.
133
    Rec. Doc. No. 547, Testimony of Danny Prince at 101:14 – 102:5.
134
    PX 12 at 0002.
135
    PX 12 at 0001 – 02.
Document Number: 52892
                                                                                          Page 33 of 124


                                                                                              23-30825.22431
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   329 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    34 of 124




transportation delay does not account for multi-day delays such as those experienced by

Parks.

111.     Patient #42 was found unresponsive in July 2015 at 11:18 p.m. He was brought to

the ATU, where he was managed for more than 10 hours by EMTs without a physician

consult. While in the ATU this patient was treated with four liters of intravenous saline

without having received any prior diagnosis. Patient #42 had suffered a stroke which

caused brain swelling, which may have been exacerbated by the intravenous saline

administered by EMTs.136

112.     Patient 44 attempted to hang himself in his cell. He was transported to the ATU

with “abnormal posturing,” which Dr. Vassallo testified is indicative of brain injury and

bruising of the cervical spine. EMTs managed this patient’s care in the ATU even though

a physician, Dr. Toce, was present in the ATU. EMTs failed to ensure proper ventilation

by failing to “bag” the patient. After about 15 minutes, Dr. Lavespere entered and started

“bagging” this patient. According to Dr. Vassallo, who witnessed this incident, this level

of inadequate ventilation most likely caused harm to the patient and exacerbated his brain

injury.137

113.     Trial evidence also established that some protocols repeatedly utilized in the ATU

are inappropriate under national standards.138 For example, inmates who present with

an altered mental status are routinely treated based on a presumption that they have




136
    Rec. Doc. No. 547, Testimony of Susi Vassallo at 164: 12-23.
137
    Id. at 165:19-173:9.
138
    Rec. Doc. No. 548, Testimony of Susi Vassallo at 22:8-17.
Document Number: 52892
                                                                              Page 34 of 124


                                                                                 23-30825.22432
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   330 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    35 of 124




ingested narcotics.139 The evidence established that the following treatments are routinely

administered without clinical indicators suggestive of illegal drug use: (1) routine

treatment of patients presenting with altered mental status with Narcan; (2) routine

subjecting patients who present with altered mental status to urine toxicology testing,

often by catheterization; and (3) common use of “lavage,” i.e., stomach pumping, on

patients presenting with altered mental status.140                      The following patient studies

demonstrate this problem.

114.    Patient #42 presented to the ATU unconscious but with a normal respiratory rate.

Although there were negative indications for an opiate overdose, the patient was treated

with Narcan and catheterized to perform urine toxicology. In fact, the patient had suffered

a stroke and went 10 hours without appropriate treatment.141

115.    Patient #37 presented to the ATU with seizures and was treated with

gastrointestinal lavage (stomach pumping) and Naloxone. During this treatment, the

patient developed decerebrate posturing and other symptoms indicative of brain damage.

A subsequent CT scan revealed intracerebral bleeding, and this patient ultimately died.

As Plaintiffs’ medical experts explain, “[l]avage for drugs and administration of naloxone

for new onset of seizures shows a gross lack of knowledge of emergency care. Lavage

of a patient with new onset seizures represents medical care with no basis in modern




139
    PX 6 at 0064; see also Rec. Doc. No. 548 at 8:13-15 (“When the patient had an altered mental status,
it was in my review of the records more than half the time. I don’t want to say universally, but it was extremely
common.”).
140
    PX 6 at 0064; compare JX 8-a at 00087, 00145 (EMT Drug Overdose Treatment Protocols, which does
not involve urine toxicology); see also Rec. Doc. No. 548 at 8:13-15 (“When the patient had an altered
mental status, it was in my review of the records more than half the time. I don’t want to say universally,
but it was extremely common.”).
141
    Rec. Doc. No. 547 at 155:9-157:6; see also JX 10-p at 15237-38; PX 6 at 0069.
Document Number: 52892
                                                                                                 Page 35 of 124


                                                                                                     23-30825.22433
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   331 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    36 of 124




practice and delays transport to the hospital.”142

116.    Patient #30 presented to the ATU with focal motor seizures of the arm and face.

He was given naloxone with a plan for gastrointestinal lavage, despite having no

symptoms of opioid or any other overdose. As Plaintiffs’ medical experts concluded, “this

plan does not meet standard care” and was simply “incoherent.”143

117.    Plaintiffs also maintain that Defendants improperly attempt to obtain Do Not

Resuscitate (“DNR”) orders and offered Patients # 31 and #10 as proof of this. The Court

finds no constitutional violation as it relates to DNR orders in the ATU.

                6.       Chronic Care

118.    Plaintiffs complain that LSP’s chronic disease program is “woefully inadequate,”

arguing that Angola’s chronic care policy144 is vague and overly generic145 and that LSP

lacks a “true chronic disease tracking system.” Plaintiffs argue there is a “lack of chronic

care” attributed to “physician manpower shortages.” 146

119.    Notwithstanding the Court findings as to the unconstitutionality of care in Infirmary

2,147 and the Court’s findings with respect to particular patients with chronic conditions,148

the Court does not find constitutional deficiencies in the chronic care. The principal

evidence offered in support of the Plaintiff’s contention that LSP’s chronic care violates

the Eighth Amendment is LSP’s alleged failure to manage and treat patients with hepatitis



142
    PX 6 at 0064.
143
    Id. at 0065.
144
    JX 5-A at 00102-03 (HC – 11).
145
    Plaintiffs argue that LSP's chronic care manual (JX 8-L) contains guidelines for only 8 diseases and
omits guidelines for significant chronic diseases such as kidney disease, thyroid disease, sickle-cell disease
and lupus.
146
    DX 13 at 02865.
147
    See supra. pp. 20-24 of this Ruling.
148
    See e.g, supra. pp. 10-11 of this Ruling.
Document Number: 52892
                                                                                              Page 36 of 124


                                                                                                  23-30825.22434
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   332 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    37 of 124




C. The Court has previously reviewed numerous individual inmates’ Eighth Amendment

claims with respect to the care and management of Hep C at LSP. The Court declines to

revisit or reverse its prior holdings in those cases.149

                7.     Medical Leadership and Organizational Structure

120.    The Court also finds that Plaintiffs have demonstrated organizational and structural

deficiencies in the LSP health care system which underpin and contribute to Eighth

Amendment violations. The Court finds that the cumulative effect of leadership and

organizational deficiencies demonstrate the subjective component of deliberate

indifference.

121.    Regarding medical leadership, the Court finds that there is a lack of meaningful

mortality review. A mortality review entails reviewing the death of a patient to determine

if any of the problems arose in the course of the patient’s care that can be corrected in

order to prevent future deaths.150 The trial evidence established that LSP does not

conduct mortality reviews; rather, the physician who cared for the patient provides a short

narrative summary of the circumstances surrounding the death. There is no critical review

of the death or the care which preceded the death.151 Plaintiffs’ experts reviewed and

evaluated 28 death charts and they describe LSP’s review of death reports to be a

“noncritical evaluation.” Dr. Puisis testified that LSP does not look for problems and, thus,

finds none, which results in no process for continual improvement.152



149
    See, inter alia, Cormier v. Edwards, No. 17-241-SDD-EWD, 2019 WL 2438784 (M.D. La. June 11, 2019);
Henderson v. Tanner, No. 15-804-SDD-EWD, 2019 WL 885914 (M.D. La. Feb. 22, 2019); Peters v. Singh,
No. 16-842-SDD-RLB, 2020 WL 853517 (M.D. La. Feb. 20, 2020).
150
    Rec. Doc. No. 547 at 179:4-9.
151
    Rec. Doc. No. 545 at 30:19-24.
152
    Id. at 34:10-25.
Document Number: 52892
                                                                                       Page 37 of 124


                                                                                           23-30825.22435
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   333 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    38 of 124




122.    In Louisiana, the inmate death rate nearly doubled from 361 deaths in 2001 to

nearly 600 deaths in 2008.153 The Court does not consider this statistic alone probative

of the quality of care; however, the Court finds that LSP’s failure to conduct meaningful

mortality reviews, coupled with its failure to engage in a meaningful quality improvement

program and analysis, in light of this statistic, is evidence of deliberate indifference.

123.    The Court finds that, while the failure to conduct meaningful and informative

mortality reviews is not unconstitutional care, the reticence of LSP medical providers to

conduct meaningful review as a means of quality control and improving care provides

fertile ground for the constitutional deficiencies in health care delivery found by the Court

and is demonstrative of wanton disregard.

124.    As discussed in previous sections of this opinion, the Court also finds that medical

management by corrections, rather than physicians, is inappropriate and also contributes

to the unconstitutional care provided. The Medical Department at LSP is managed by an

assistant Warden; the Deputy Warden, a layperson with no medical training, is the health

authority.154

125.    There is also a lack of peer review in the medical department at LSP. Dr. Puisis

explained that “peer review is groups of peers who evaluate the care of another peer or

colleague based on the clinical process that a certain individual has provided.”155 Further,

“there are two kinds of peer reviews. One is called professional evaluation program, or

PEP, by which, a physician's practice is evaluated typically on an annual basis.”156 This



153
    Rec. Doc. No. 573 at 82-83 (citing PX 466 at 26).
154
    PX 6 at 0012; Rec. Doc. No. 545 at 14:18.
155
    Rec. Doc. No. 545 at 25:8-10.
156
    Id. at 25:14-17.
Document Number: 52892
                                                                                 Page 38 of 124


                                                                                     23-30825.22436
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   334 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    39 of 124




type of review evaluates the records of a physician’s care to determine whether the

treatment was appropriate. “A second type of peer review is when there has been a

sentinel event such as a death or an unusual morbid event that is unexpected and

suggests that there may have been problems; that type of peer review is a -- more of a

quasi-legal procedure where the physician may be reported for clinical actions that were

inappropriate, and a group of senior physicians would review that care to determine if a

reduction of privileges is necessary.”157 Dr. Puisis explained that the peer review at LSP

consists of the medical director coming in one time per year to review 15 records. The

director does not review the delivery of health care by any single physician; rather, it is

more akin to a facility review. Also troubling, “[a]t LSP, since 2010, peer review of

physician care has been performed only three times.”158

126.    The Court finds that the repeated failure of any meaningful or systematic review of

the medical care at LSP is evidence of wanton disregard and directly contributes to

conditions which cause harm to patients.

127.    LSP also lacks a quality improvement (“QI”) program. Plaintiffs’ experts reviewed

minutes of QI meetings from 2010 to 2015 which revealed the following: (1) the medical

director, Dr. Lavespere, did not participate in QI meetings;159 (2) nursing supervisors

participated in QI meetings;160 (3) there was no physician participation in QI meetings and

no clinical evaluation.161




157
    Id. at 25:25-26:7.
158
    Id. at 27:17-18.
159
    Id. at 36:21-25.
160
    Id. at 37:5-6
161
    Id. at 37:14-16.
Document Number: 52892
                                                                              Page 39 of 124


                                                                                 23-30825.22437
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   335 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    40 of 124




128.    Evidence also established that there is an absence of medical personnel

involvement in the development and allocations of the medical budget at LSP.162

129.    Finally, the Court finds that the LSP medical director, Dr. Lavespere, directly

contributed to constitutionally infirm health care at LSP in the following ways: (1) failure

to supervise; (2) failure to perform peer review; (3) failure to be aware of the credentialing

of physicians who worked for him; (4) failure to review and analyze sentinel events (a

serious episode that proceeded an adverse event); and (5) failure to conduct mortality

review.163 Additionally, there was no evidence of medical supervision by the DOC central

office.164 The buck stopped with Dr. Lavespere, and his medical supervision and quality

review was woefully inadequate.

130.    Regarding staffing levels, the Court finds that Plaintiffs failed to carry their burden

on this claim. Plaintiffs maintain that the per-physician caseload at LSP is excessive, but

this assertion was not supported by referencing documentation or other record evidence

to establish the caseload per LSP physician. Dr. Puisis testified that a reasonable staffing

level is 800 patients per provider165 and that staffing budgets at LSP are low compared to

other states.166 The fact that LSP may have spent less money on staffing is not probative

of constitutional care.

131.    As to credentialing, the Court finds that LSP fails to maintain provider credentialing

documentation. NCCHC standard number 4 requires that “the HRA maintains verification

of current credentials for all qualified health care professionals at a readily accessible


162
    PX 6 at 0012, 16, 27, 88; JX 4-rr, R. Lavespere Depo. at 97:12-14.
163
    Rec. Doc. No. 544 at 202:24-217:5.
164
    Id. at 218:18-219:10.
165
    Id. at 208:12-23.
166
    Rec. Doc. No. 545 at 21:15-22:13.
Document Number: 52892
                                                                                 Page 40 of 124


                                                                                     23-30825.22438
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   336 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   41 of 124




location.”167 Pusis testified that he could not ascertain if providers were practicing within

their proper credentials because “there were no credential files so I couldn’t know what

credentials people had.”168

                8.      Defendants’ Subjective Knowledge

132. Considering the evidence discussed above, the Court finds that Defendants’

knowledge of the constitutionally inadequate practices set forth herein is established. The

evidence demonstrates that Defendants have been put on notice regarding the serious

risks of harm presented herein and have failed to take reasonable steps to address same.

133. On August 8, 1989, the Civil Rights Division of the United States Department of

Justice (“DOJ”) began an investigation into conditions of confinement at Angola, pursuant

to the Civil Rights of Institutionalized Persons Act (“CRIPA”), 42 U.S.C. § 1997.169

134. On May 13, 1991, the DOJ issued a findings letter that concluded that several

conditions at LSP deprived inmates of their constitutional rights, including the failure to

provide adequate medical and psychiatric care.170 The DOJ concluded that “serious flaws

in the provision of medical care” existed system-wide at LSP such that “inmates who need

medical care and attention are not receiving it,” and identified deficiencies regarding, inter

alia, staffing, sick call procedures, delays in treatment, and safeguards to ensure receipt

of proper medication and treatment. 171

135. A class action lawsuit was filed against LSP in January 1992 alleging that the

medical care provided by LSP was constitutionally deficient. The DOJ intervened as a


167
    Rec. Doc. No. 544 at 215:19-21.
168
    Id. at 216:2-3.
169
    PX 239.
170
    Id. at 0002.
171
    Id. at 0002-04.
Document Number: 52892
                                                                                Page 41 of 124


                                                                                    23-30825.22439
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   337 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   42 of 124




plaintiff, and the case was tried in September 1994.172 In connection with this lawsuit, Dr.

Puisis, acting as an expert for the DOJ, made investigatory visits to LSP and identified

several deficiencies in the delivery of medical care that have been alleged in the current

lawsuit, and the trial evidence established continue to persist.173

136. The DOJ prepared a report of its findings, which included: significant delays in

treatment because security decided the manner and time of patients’ transportation;

inmates forced to wait for excessive and unacceptable periods for elective and

radiological services; and delays in treatment caused by the practice of placing patients

in the infirmary who should have been sent to the hospital.174 The report also criticized

the use of EMTs, finding: EMTs were “not adequately trained nor sufficiently experienced

to recognize serious medical illness or triage sick call,” and they could not differentiate

“between acute, chronic, and minor illnesses.”175 The report concluded that LSP had “no

policies or procedures specifically designed to guide health care practitioners in managing

care on the infirmary unit;”176 there was “no quality assurance”177 and no peer review

system to monitor the quality of medical care.178

137. In 1998, a settlement was reached resolving the 1992 lawsuit. The agreement

required specific improvements be made to the system of medical care at LSP, including:

sick call reviews; implementing contemporary standards of care; establishing mortality

review and an effective quality assurance program; automatic referrals to external


172
    PX 17.
173
    See PX 19.
174
    PX 20 at 0006, 0009, & 0014.
175
    Id. at 0002.
176
    Id. at 0007.
177
    Id. at 0012.
178
    Id. at 0016.
Document Number: 52892
                                                                              Page 42 of 124


                                                                                  23-30825.22440
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   338 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   43 of 124




physicians; documentation of deviations from outside provider orders and communication

of those deviations to the outside provider; removing discipline of inmates for malingering

without an evaluation by an outside physician, and the provision of “adequate medical

leadership.”179

138. Given the fact that many of the complaints in this lawsuit – and the deficiencies

proven at trial - are the same as those “settled” in 1998, the Court finds that Defendants

have been aware of these deficiencies in the delivery of medical care at LSP for decades.

139. Defendants were also on notice of the very deficiencies shown at trial, as evidenced

by a report of findings issued by the Wexford Consulting Group in 2009, an entity retained

by LSP to assess the medical care provided by the DOC at LSP and other prisons.180

140. On numerous occasions, outside providers also provided notice to LSP of medical

care deficiencies. In January 2014, Defendants were notified that outside providers had

to cancel several procedures and surgery dates “due to inadequate preparation and/or

following of instructions,” in a wide variety of settings, including cardiac catheterization

labs, endoscopy, and surgical procedures.181 Defendant Stacye Falgout was specifically

advised of the need for staff to “be aware of instructions and follow through with the

specific time frames for preps, stopping [anticoagulants], adding [m]edications, etc.…”182

141. In August 2014, Defendant Singh received notice from the Director of the Louisiana

Emergency Response Network and the Stroke Program Coordinator at ILH LSP patients

were arriving at ILH with “obvious stroke symptoms” based on LSP staff failing to


179
    PX 17 at 0003-05.
180
    PX 265. The Court ruled during trial that the Wexford report was admitted only for the Defendants’
knowledge, not for the truth of its contents. See Rec. Doc. No. 546 at 181:16-183:17.
181
    PX 142 at 0001.
182
    Id.
Document Number: 52892
                                                                                       Page 43 of 124


                                                                                           23-30825.22441
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   339 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   44 of 124




determine or realize that inmates were having strokes.183 Defendants were advised that

stroke patients “need to get emergent care within [4.5 hours] to attempt [to] prevent severe

disability,” and that the patients arriving at ILH all suffered “pretty significant deficits” due

to the lack of recognition and transport.184

142. Also in 2014, LSUP received notice via written communication from LSU’s Chairman

of Oral Surgery to Dr. Singh and Stacye Falgout that LSP had sent a number of inmates

“with 3 week old fractures that are already infected and thus use a lot of resources to fix

something that could have been treated easily if diagnosed sooner.”185

143. Dr. Catherine Jones, a doctor at University Medical Center in New Orleans, who

frequently treats patients from LSP, testified at trial about multiple attempts to contact Dr.

Lavespere to discuss the delayed diagnoses of LSP inmate patients, but those calls are

often unanswered.186

144. Current and former LSP medical personnel also documented and/or testified

regarding treatment backlogs and other deficiencies.187 Former Assistant Warden for

Healthcare Services Kenneth Norris testified that patients “did not get the timely

treatment” because Defendants refused to authorize hernia surgery “until, you know, it

becomes a life-threatening deal.”188



183
    PX 12 at 0001-02.
184
    Id. at 0002.
185
    PX 13 at 0001-0002.
186
    Rec. Doc. No. 550, Testimony of Dr. Catherine Jones at 145:6-16.
187
    PX 36; PX 37; PX 42 (Dr. Singh on 12/13/13: “Some of the offenders at LSP were waiting for CT scan
and MRI or cancer care since late 2011. … As far as I know no [colonoscopies] were done at LSP for 2
years or longer. Once access has been restored, even then we can not [sic] get all 600 colonoscopies done
immediately.”) id.at 0001; PX 26 (Ms. Lamartiniere: “[W]e will temporarily suspend the entering of screening
referrals [for colonoscopies] until notified by [headquarters] to resume.” Id. at 0001); PX 32 (summary of
the cataract backlog).
188
    JX 4-tt, Norris Depo at 37:22-38:4.
Document Number: 52892
                                                                                            Page 44 of 124


                                                                                                23-30825.22442
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   340 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    45 of 124




145. The lack of meaningful, in-depth mortality review is further evidence of deliberate

indifference by Defendants; by failing to critically review causes of death, Defendants

avoid documenting existing deficiencies within the health care system that need to be

addressed and corrected. Indeed, not a single Medical Summary Report reviewed by

Plaintiffs’ experts noted a problem with patients’ care, despite the serious errors and

delays in treatment discovered in nearly every death these experts reviewed.189 This

inference is supported by Dr. Singh’s recommendation to Secretary LeBlanc that the DOC

not “dig too deep” in investigating a death because “liability is still ours.”190 Dr. Vassallo

credibly testified at trial regarding the frequency of death summaries that “misrepresented

the facts of the patient’s death.”191

                9.      Laboratory Services

146.    The Court finds that Plaintiffs failed to carry their burden of demonstrating

constitutional violations regarding the laboratory services provided at LSP. According to

Dr. Puisis, the laboratory is CLIA certified, and both the laboratory and radiology

departments functioned properly during the relevant time period.192

                10.     Pain Medication Management

147.    The Court also finds that Plaintiffs failed to carry their burden of demonstrating

constitutional violations in the management of pain medicine provided at LSP. The trial

evidence demonstrated that narcotic pain management is not available to patients in the

general population due to LSP’s policy prohibiting the dispensation of narcotics in general



189
    PX 6 at 0084-87.
190
    PX 66 at 0001.
191
    Rec. Doc. No. 547 at 178:19.
192
    Rec. Doc. No. 544, Testimony of Puisis at 196:4-13.
Document Number: 52892
                                                                                Page 45 of 124


                                                                                    23-30825.22443
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   341 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    46 of 124




population. However, LSP policy does allow for the availability of narcotics to hospice

care patients.193

Facts Relating to ADA Claims

             1.     Effect of DOJ ADA Investigation and Settlement with LSP

148.    In May 2010, the United States Department of Justice (“DOJ”) conducted a site

visit at LSP to assess whether LSP complied with Title II of the ADA and its implementing

regulations.194 Although no settlement between the DOJ and LSP had been reached at

the close of discovery in this matter, evidence was admitted at trial demonstrating that

LSP had been working since the DOJ’s 2010 site visit to address compliance issues

identified by the DOJ.195

149.    Plaintiffs’ architectural expert Mazz admitted that the DOJ conducted a far more

expansive assessment of LSP facilities than he, as the DOJ reviewed the entire property

for programmatic access.196 However, the Court rejects Defendants’ argument that the

DOJ’s investigation renders Mazz’s investigation and findings moot or that any facts found

by this Court would be necessarily duplicative of the DOJ’s investigation and findings.

150.    The Court limited the trial of this matter to the discovery period, and any post-

discovery remedial measures are more appropriately addressed at the remedy phase;

such measures do not inform the Court regarding liability in this matter.197 Furthermore,

Defendants’ architectural expert Nolan conducted a review of both the DOJ’s findings and



193
    Rec. Doc. No. 545 at 20:15-17; 131:2-3.
194
    PX 7 at 0008.
195
    See JX 12-e. The Court notes that, at the remedy phase of this matter, any remedial measures
undertaken by LSP will certainly be recognized and credited where appropriate.
196
    Rec. Doc. No. 546 at 60:18-25; 76:25-77:4.
197
    Rec. Doc. No. 419 at 3.
Document Number: 52892
                                                                                  Page 46 of 124


                                                                                      23-30825.22444
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   342 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    47 of 124




Mazz’s findings and concluded there is little overlap – at most, 11 items out of 190.198

Additionally, Defendants presented no evidence at trial to dispute or controvert Mazz’s

findings.

                  2.     Architectural Barriers to LSP’s Programs, Services, and Activities

                        a.      Facilities

151.    Trial evidence demonstrated that certain areas of the buildings Mazz surveyed

have been altered since the 1991 ADA Standards took effect. In 2016, LSP’s facilities

maintenance staff compiled a list of renovations completed at Main Prison and the

outcamps between 2010 and May 2016.199               Odis Ratcliff, an Assistant Facilities

Maintenance Manager designated by the DOC to testify regarding the compliance of

LSP’s facilities with the ADA,200 confirmed that the list includes alterations made since

2010 to attempt to bring the facilities into compliance with the ADA and fire marshal

regulations.201    Notably, the bathrooms and JPay Stations in Ash 2 and Cypress 2

dormitories were modified after the 1991 Standards took effect.202

152.    Mazz surveyed Dormitories Ash 2 and Cypress 2, focusing on sleeping areas and

shower and bathroom areas, as well as the accessible routes from those dormitories to

the public check-in desk, associated recreation yards, van transit parking, law library, and

visiting area.203 He also surveyed portions of the visiting area and law library used by

residents of those dormitories.204 Ash 2 and Cypress 2 are two of three dormitories


198
    Rec. Doc. No. 546 at 80:15-81:5.
199
    JX 12-e.
200
    JX 4-aaa, O. Ratcliff Depo. at 6:23-25.
201
    Id. at 10:16-11:18.
202
    JX 12-e.
203
    PX 7 at 0009; Rec. Doc. No. 546 at 18:7-19:15.
204
    Id.; Rec. Doc. No. 546 at 20:13-21:1.
Document Number: 52892
                                                                               Page 47 of 124


                                                                                   23-30825.22445
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   343 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   48 of 124




designated as “medical dormitories” or “offender assistance dormitories” and house

inmates with mobility impairments and other disabilities.205 Of the three dormitories, Ash

2 is reserved for patients who require the most assistance with the activities of daily

living.206 Mazz also surveyed Dormitory 1 at Camp F, a trustee dorm that has been used

to house blind and otherwise vulnerable individuals.207 Mazz also reviewed various cells

and showers in LSP’s Transition Unit (“TU”),208 including in the Protection Tier and Mental

Health Tier.209 The TU operates as transitional housing for inmates with severe mental

illness or developmental disabilities,210 and it frequently houses inmates with physical and

mental disabilities, including blind patients211 and patients in wheelchairs, like Plaintiff

Reginald George.212 Mazz surveyed Wards I and II on the Nursing Unit at the R.E. Barrow

Treatment Center.213 Ward I operates as LSP’s infirmary, while Ward II houses patients

requiring long-term nursing care and assistance with basic life functions, including LSP’s

hospice patients.214




205
     Rec. Doc. No. 547, Testimony of Danny Prince at 95:1-4; JX 4-c, A. Brent Depo. at 75:17-76:23
(identifying Ash 2 and Cypress 2 as the dormitories housing disabled individuals receiving care from inmate
health care orderlies); JX 6-eee (LSP Directive 13.088) at 00269 (establishing offender assistance
dormitories to provide housing “for offenders who require assistance with activities of daily living”).
206
    Rec. Doc. No. 547 at 95:5-8.
207
    PX 7 at 0009; Rec. Doc. No. 546 at 22:5-23:1; id. at 139:4-5, 152:3-154:5 (Tonubbee describing his
experience assisting former Named Plaintiff Alton Batiste around Camp F after he went blind).
208
    In his report, Mr. Mazz identified the TU as the “Treatment Unit,” consistent with the floor plans that were
provided to him. See JX 7 at 0009.
209
    PX 7 at 0009; Rec. Doc. No. 546 at 20:7-10.
210
    See JX 6-y (LSP Directive 13.037) at 00140 (designating the TU as a housing area for “offenders with
severe mental illness or developmental disabilities”).
211
    PX 85 at 0003.
212
    PX 231 at 1354 (ARP paperwork reflecting that Mr. George was housed in the TU).
213
    PX 7 at 0009; Rec. Doc. No. 546 at 19:24-20:5.
214
    JX 6-v (LSP Directive 13.033) at 00130-32 (describing the purpose and admission criteria for Wards I
and II); JX 7-b (LSP Directive 07.004) at 00002 (stating that “severely handicapped inmates” will be housed
at the Treatment Center). See also Rec. Doc. No. 546, Testimony of Francis Brauner, at 97:22-25
(explaining that Ward II houses “some of the worst cases of, you know, illnesses, stroke victims, cancer
victims, heart problems, you name it, me, paralyzed, wounds.”).
Document Number: 52892
                                                                                                Page 48 of 124


                                                                                                    23-30825.22446
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   344 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    49 of 124




153.    Mazz testified that, in the correctional setting, he typically looks at access to

services, programs, and activities ranging from toilets and showers to law libraries, visiting

areas, and classrooms.215 At LSP, he specifically considered housing at various security

levels, including toilets, showers, bathtubs and sinks; water fountains; mail services; meal

services; medication administration; medical services; telephones; JPay stations;216

recreation areas; transportation services; the law library; and the visiting area.217

154.    As detailed in Attachment 2 to his report,218 Mazz identified 190 architectural

barriers impeding independent access to a range of programs, services, and activities,

including housing, toilets, showers, phones, JPay stations, common areas, drinking

fountains, recreation areas, transportation, the law library, visiting areas, medication

administration, meals, medical services, and mail services.219 Photographs documenting

each violation are included in his report as Attachment 3.220 Because Mazz’s findings

were uncontroverted by Defendants’ expert Nolan and any other evidence presented by

Defendants at trial, the Court adopts the findings of violations as detailed in Mazz’s report.

155. Anecdotal evidence in the form of the testimony of Named Plaintiffs and Subclass

Members generally confirmed Mazz’s findings. Aaron Brent, a former LSP health care

orderly, testified that the showers in Ash 2 were not usable for patients with disabilities

because there were “showers you couldn’t reach.”221 Farrell Sampier testified at trial

about the difficulty he experienced navigating the paved walkways between the medical


215
    Rec. Doc. No. 546 at 12:16-13:4.
216
    Id. at 34:14-23.
217
    See PX 7.
218
    Id. at 0018-39.
219
    Id.; Rec. Doc. No. 546 at 23:2-10.
220
    PX 7 at 0040-112; Rec. Doc. No. 546 at 27:8-14.
221
    JX 4-c, A. Brent Depo. at 32:10-33:10.
Document Number: 52892
                                                                                Page 49 of 124


                                                                                    23-30825.22447
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   345 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    50 of 124




wards and other areas while in his wheelchair, stating that he had to perform “wheelies”

to maneuver over various humps and obstacles to get across the sidewalk such that

Sampier usually had to ask for someone to push him to get around the property.222

Former inmate Francis Brauner, who uses a wheelchair, described problems regarding

the accessibility of Ward II; for example, he was unable to access the shower or bathtub,

which caused him to give himself bed baths and shave and wash his hair in the sink.

However, the sinks were positioned above chest level for those in wheelchairs, making

them difficult to use. Sampier also testified that he could not reach the mirrors or the water

fountains.223

156.    Testimony from Subclass members also demonstrated that the physical barriers

at LSP deny them access to a variety of programs. At trial, Sampier testified that, while

living on the medical wards, he was not allowed to attend any classes offered at the

prison, including programs such as anger management, victim awareness, and substance

abuse classes.224 Brauner testified that he and other patients living on the ward could not

attend church services or sporting events available to other inmates.225 Barrera, who was

housed on Ward II until December 2015, also testified that he was not permitted to leave

the ward to attend classes or church services. Further, he was required to take anger

management and substance abuse courses to be eligible for release; however, LSP

would not come to the ward to teach the class because there were not enough patients

on the ward who needed the courses to warrant the accommodation.226


222
    Rec. Doc. No. 544, Testimony of Farrell Sampier at 63:11-19; 82:15-24.
223
    Rec. Doc. No. 546 at 100:22-102:25.
224
    Rec. Doc. No. 544, Testimony of Sampier at 48:13-16; 62:13-24.
225
    Rec. Doc. No. 546, Testimony of Francis Brauner at 108:5-19.
226
    Id., Testimony of Otto Barrera at 213:8-214:23.
Document Number: 52892
                                                                                Page 50 of 124


                                                                                    23-30825.22448
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   346 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    51 of 124




157.    Current and former officials at LSP also confirmed ADA noncompliance issues.

LSP Warden Darryl Vannoy admitted that “Angola has a lot of work to do on a physical

plant to be ADA, to meet the ADA requirements.”227 Former LSP ADA Coordinator Donald

Barr testified that there were “access problems for wheelchairs within the main prison” at

the time the DOJ reviewed LSP’s facilities.228 Although LSP’s own policies require the

medical dormitories to be “handicap accessible,”229 Defendants acknowledged that LSP

is “operating Medical Dorms in dormitories designed for general, unimpaired

population.”230

                         b.      Use of Inmate Orderlies as Alternative Means to Access

158.    LSP assigns inmate health care orderlies to the medical dorms and Wards I and II

to assist sick and disabled patients with the activities of daily living.231 Health care

orderlies are not assigned to all areas Mazz surveyed, such as the Camp F dormitories

and the TU.

159.    LSP’s health care orderly program trains inmates to assist sick and disabled

inmates with activities of daily living, such as bathing, toileting, transfers, feeding, and

personal hygiene.232      This training program was modeled after a Certified Nursing

Assistant (“CNA”) course.233 Training topics include: Abuse and Neglect, Negligence,




227
    JX 4-ccc, D. Vannoy Depo. at 71:18-20.
228
    JX 4-z, D. Barr Depo. at 39:5-9.
229
    JX 6-eee (LSP Directive 13.088) at 00269.
230
    PX 15 at 0002 (Proposal to Open EHCC Building Four).
231
    JX 6-eee (LSP Directive 13.088 – Offender Assistance Dorm) at 00269-70; JX 6-vv (LSP Directive
13.076 – Use of Offenders in Health Care) at 0236-37.
232
    Rec. Doc. No. 553, Testimony of Falgout at 192:8-193:18; 205:11-19; see also JX 4-ii at 10:9-22.
233
    Id. at 193:4-8.
Document Number: 52892
                                                                                     Page 51 of 124


                                                                                         23-30825.22449
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   347 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    52 of 124




Activities of Daily Living, Patient Safety, Ambulation, Bathing the Patient, and Feeding a

Patient.234

160.    The orderly program is severely understaffed. Aaron Brent, a former health care

orderly in Ash 2, testified that he and three other orderlies were responsible for 43 patients

requiring assistance, including 29 or 30 in wheelchairs, and others who used walkers.235

Brent and the other orderlies were responsible for distributing meals; changing bed linens;

counseling patients regarding their medication; providing emotional support to patients;

delivering patients to religious services, scheduled medical appointments, and

unscheduled emergency visits to the ATU; and actually attending appointments with

patients.236 Disabled inmates suffer neglect because orderlies are shorthanded.237

Evidence demonstrated inmates filed ARPs complaining about being unable to access

LSP facilities without orderlies assisting by pushing their wheelchairs, to no avail.238

161.    Trial evidence and testimony also revealed that orderlies are often “overwhelmed”

and spread too thin to provide proper assistance to disabled inmates. Trial evidence

showed that orderlies would sometimes leave inmates sitting in their own feces and




234
    JX 15 at 5, 10, 104, 107, 158, 164, 182.
235
    JX 4-c, A. Brent Depo. at 75:18-76:23. Danny Prince, another former Ash 2 health care orderly, also
testified at trial that the dorm housed 43 patients and 43 non-patients. Rec. Doc. No. 547, Testimony of
Danny Prince, at 95:11-12. He explained that two orderlies would cover the night shift, and during the day
there could be anywhere from three to five orderlies, depending on whether the positions were fully staffed
at the time. Id. at 96:19-24.
236
    JX 4-c, A. Brent Depo. at 34:7-19; 35:16-36:10; 42:2-14; 68:7-70:8; 75:17-76:4; 76:24-77:15. See also
Rec. Doc. No. 547, Testimony of Danny Prince, at 116:3-13 (explaining that as an Ash 2 health care orderly,
he would transport patients in wheelchairs to medical callouts and other areas of the prison, help patients
in and out of their wheelchairs from the bed or shower, and clean up after patients who urinate or defecate
in bed or on themselves, among other tasks).
237
    Prince testified that that accompanying patients to their appointments often would require the full
attention of two orderlies, leaving just one orderly in the dorm to look after the remaining patients. Rec.
Doc. No. 547 at 98:6-19.
238
    PX 231 at 1936-1940 (ARP of L.L.); id. at 1995-1996 (ARP of T.P.); Rec. Doc. No. 547 at 102:14-17.
Document Number: 52892
                                                                                           Page 52 of 124


                                                                                               23-30825.22450
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   348 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    53 of 124




urine;239 it was common for orderlies to be called to respond to another emergency before

properly completing assistance in changing disabled inmates, resulting in disposing of

dirty diapers or pads on the floor of Ward I.240 Disabled inmates observed orderlies

cursing at patients, becoming aggressive, and in some instances, nearly dropping

patients they were assisting.241 Disabled inmates often had to transfer themselves from

their beds to wheelchairs because the orderlies were assisting others and unavailable;

disabled inmates often relied on other, untrained inmates for assistance.242

162. Trial evidence also established that disabled inmates are often subjected to neglect

and abuse by some orderlies. Prince testified that he had observed verbal and physical

altercations between orderlies and patients.243 Brauner testified that he and others in

Ward II regularly heard an elderly inmate attempt to defend himself from an orderly who

molested him in the shower,244 and Brauner personally witnessed the same orderly

fondling the inmate in his bed.245 Brauner also testified that he witnessed an orderly pour

a bucket of bleach on a mentally impaired inmate who had defecated on himself.246

163.    Some orderlies tasked with assisting sick and disabled inmates appear unwilling

to perform their duties. Subclass member Benny Prine testified that most of the orderlies

demand a bribe to assist him in pushing him from his dorm to other locations.247



239
    See Rec. Doc. No. 544, Testimony of Farrell Sampier, at 46:9-12.
240
    Id. at 46:12-16.
241
    Id. at 65:5-8.
242
    See Rec. Doc. No. 546, Testimony of Francis Brauner, at 101:6-25; Rec. Doc. No. 544, Testimony of
Farrell Sampier at 65:21-66:2 (explaining that he and other patients on the ward would assist each other
with feeding, covering up, and other tasks when the orderlies were not available).
243
    Rec. Doc. No. 547 at 97:15-23.
244
    Rec. Doc. No. 546 at 99:17-25.
245
    Id. at 100:1-8.
246
    Id. at 100:9-21.
247
    JX 4-q, B. Prine Depo. at 71:25-72:5, 74:10-14.
Document Number: 52892
                                                                                          Page 53 of 124


                                                                                               23-30825.22451
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   349 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    54 of 124




Deceased Named Plaintiff Shannon Hurd testified via video deposition that many

orderlies on Ward II did not fulfill their responsibilities and were in the program only for

the air conditioning available on the ward.248 Brent testified that he had to report orderlies

who did not perform their jobs and needed to be removed from the program.249 Prince,

testified at trial that, while some orderlies go above and beyond their assigned duties,

others seem to be looking for an easy job and are unwilling to assist patients.250

164.    Trial testimony and evidence established that Tracy Falgout, who runs the health

care orderly training program and testified on behalf of the DOC regarding the training

and qualifications of orderlies, is aware of the deficiencies within this program. He

acknowledged that orderlies may have “different angles” when joining the program and

may try to “strong-arm” vulnerable patients;251 there is a prison culture of “not being a rat,”

and there may be consequences for inmates or orderlies who report misconduct.252

Warden Falgout advises patients and orderlies to “figure out a way to get it to somebody

who can take care of it,” but he admitted that “sometimes it just is going to be what it is,”

if “somebody out there is not doing what they are supposed to be doing.”253 Although

Warden Falgout did not know the percentage of orderlies who are removed from the

position for infractions,254 he acknowledged that he is “continually training” new orderlies




248
    JX 4-u, S. Hurd Depo. at 60:25-61:4. Brauner also testified that some orderlies take the job for the
access to air conditioning and are unwilling to assist patients. Rec. Doc. No. 546 at 99:11-16.
249
    JX 4-c, A. Brent Depo. at 46:5-22.
250
    Rec. Doc. No. 547 at 97:3-14.
251
    JX 4-ii, T. Falgout Depo. at 27:25-28:7; see also Rec. Doc. No. 554, Testimony of Tracy Falgout, at 41:8-
14.
252
    Id. at 28:12-15; Rec. Doc. No. 554 at 42:18-43:4.
253
    Id. at 28:17-25; Rec. Doc. No. 554 at 43:5-7.
254
    Rec. Doc. No. 554 at 43:8-19 (explaining that he only becomes aware that orderlies have left the program
when security gives him a new list of candidates to train).
Document Number: 52892
                                                                                             Page 54 of 124


                                                                                                 23-30825.22452
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   350 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    55 of 124




because “we do have that percentage of guys who don’t play by the rules.”255 Warden

Falgout knew that at least one orderly has been accused by a patient of sexual assault

but admitted there could be other allegations of which he is unaware as such complaints

generally go to security.256

165.    Trial evidence clearly demonstrated that the architectural barriers at LSP puts

disabled inmates at risk of injury, notwithstanding health care orderly assistance.

Evidence demonstrated falls from wheelchairs caused by gaps and/or other problems in

walkways and ramps occur often, as do slips and falls in the showers and bathrooms of

dorms.257

166.    The Court finds that LSP uses inmate orderlies to attempt to accommodate or work

around the access barriers, but the orderly program creates an unnecessary risk of harm

to disabled and vulnerable inmates.

                        c.      Segregation without Justification

167.    Trial evidence also demonstrated that LSP unjustifiably segregates its disabled

population as it relates to housing.          Inmates with long-term physical disabilities are

typically housed in the medical dormitories or on Ward II.258 As set forth above, this

excludes inmates on nursing wards from participating in a host of activities and programs

at LSP.



255
    JX 4-ii, T. Falgout Depo. at 34:2-4.
256
    Id. at 41:4-14; 33:12-18; 34:16-24; 42:1-13.
257
    JX 4-q, B. Prine Depo. at 64:12-65:2; PX 231 at 2263-65 (ARP of J.W.); JX 4–c, A. Brent Depo. at 78:4-
80:21; Rec. Doc. No. 547, Testimony of Danny Prince, at 104:10-19; PX 231 at 2358-64, 2437-39 (ARP of
J.W.); PX 231 at 1794-1809 (ARP of C.H.); PX 231 at 1609-13 (ARP of S.G.); PX 231 at 1846-55 (ARP of
E.J.); PX 231 at 1887 (ARP of T.K.).
258
    JX 7-b (LSP Directive 07.004) at 00002; JX 6-eee (LSP Directive 13.088) at 0269-70; see also JX 4-z,
D. Barr Depo. at 49:10-18 (deaf inmates housed in medical dorms); JX 4-ii, T. Falgout Depo. at 119:3-7
(blind inmates housed in medical dorms).
Document Number: 52892
                                                                                           Page 55 of 124


                                                                                               23-30825.22453
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   351 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    56 of 124




168.    Disabled or impaired inmates housed in the medical dorms do not receive many

of the services that are used to justify this segregation. Defendants claim placing disabled

inmates in the medical dorms is justified because these dorms are handicap accessible

and allow for assistance with personal care, meals, and medication administration. Also,

the medical dorms are close in proximity to LSP’s treatment center.259 Despite these

claims, the trial evidence demonstrated that inmates are still transported to the ATU for

services,260 and neither doctors nor nurses make rounds in the medical dorms.261 That

inmate orderlies are available to assist in the medical dorms is a justification that is not

substantiated based on the Court’s findings regarding the inmate orderly program.262

                3.      Methods of Administration

169.    LSP has systemically failed to provide access and accommodations to disabled

inmates by failing to follow both Title II’s implementing regulations and its own policies

and procedures relating to ADA compliance.

                        a.       ADA Coordinator

170.    LSP had a designated ADA Coordinator during the relevant time periods; however,

evidence established that these Coordinators all lacked sufficient education, training, and

qualifications to carry out the obligations with which the ADA Coordinator is charged.

Defendants concede that ““[t]here are no specific qualifications of LSP’s ADA Coordinator



259
    JX 6-eee at 00269.
260
    JX 4-c, A. Brent Depo. at 75:14-76:4; see also Rec. Doc. No. 551, Testimony of Randy Lavespere at
205:17- 20, 208:17-21.
261
    JX 4-c at 73:25-76:4. See also Rec. Doc. No. 547, Testimony of Danny Prince at 98:20-24 (explaining
that no doctors or nurses come to Ash 2 dormitory “unless there’s like a tour or something coming through”).
EMTs only visit the dormitories to conduct regular sick call. JX 4-c, A. Brent Depo. at 74:8-12.
262
    The Court does not conclude that no justifiable reasons could exist for segregation; however, based on
the evidence at trial, the Court finds that the offered justifications are unsubstantiated. The Court is
confident that the segregation issues will be addressed during the remedial phase.
Document Number: 52892
                                                                                            Page 56 of 124


                                                                                                23-30825.22454
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   352 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    57 of 124




or interim ADA coordinator,”263 and the ADA Coordinator “do[es] not receive any formal

ADA training upon taking office or on a regular basis.”264

171.     As ADA Coordinator from 2015-2016, Deputy Warden Peabody identified only a

basic four-hour training course he received;265 he did not attend trainings regarding

disability law and acknowledged that he was not “kept in some sort of loop” on updates

in disability law.266 Peabody showed a general lack of familiarity with assessment forms

he was responsible for evaluating and approving, and often concluded that inmates’

disabilities were purely medical conditions not in need of accommodations.267 The Court

finds that Warden Peabody had an overall lack of knowledge and understanding of the

ADA and its requirements, particularly regarding accommodations.

172.    Warden Barr, who followed Peabody as ADA Coordinator, was likewise

insufficiently trained for this position. Barr received no ADA training other than the

standard annual hour that all staff receives;268 received no training manual;269 testified

that “[t]he Warden came to me and told me that he appointed me to that position and

pretty much that was it”;270 and, when he took on this role, his workload was unaffected

as he viewed this position as simply an “extra assignment.”271 The Court finds that



263
     PX 403 at 0004. However, LSP Directive 01.016 states: ”The ADA coordinator shall possess the
educational background, experience and skills necessary to carry out all of the duties and responsibilities
of the position, and have knowledge and experience in dealing with the legal rights of persons with
disabilities and the obligations of public entities under Federal and State disability laws.” JX 7-a at 1.
264
    Rec. Doc. No. 242-2 at ¶ 16.
265
    JX 4-ww, R. Peabody Depo. at 12:23-13:11.
266
    Id. at 13:16-23.
267
    JX 4-vv, R. Peabody Depo. at 19:25-20:12; 21:4-7; 22:6-24.
268
    JX 4-z, D. Barr Depo. at 10:23-11:2, 16:13-17:3.
269
    Id. at 11:7-9.
270
    Id. at 11:15-17.
271
    Id. at 12:20-23. Barr was unaware of basic information such as the availability of materials in Braille,
including books and the RFA form. Id. at 43:14-24. He could not say how a blind inmate would file an ARP,
Id. at 45:19-23, and was unsure whether deaf inmates were permitted to work. Id. at 49:5-9.
Document Number: 52892
                                                                                            Page 57 of 124


                                                                                                23-30825.22455
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   353 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    58 of 124




Warden Barr was likewise ill-informed and ill-equipped on matters of ADA compliance.

173.    Current ADA Coordinator Asst. Warden Falgout took on this role in September

2016. At his October 2016 deposition, Falgout testified that he received no training or

manual when he took office and did not discuss the role with Warden Barr.272 He was

unfamiliar with the ADA Amendments Act and the Rehabilitation Act;273 as well as the

individualized response plans he was required to create for disabled patients pursuant to

LSP Directive 01.016;274 and the need for an ADA transition plan as defined in 28 C.F.R.

§ 35.150(d).275

174.    The Court finds that Asst. Warden Falgout is juggling far too many competing

responsibilities to adequately fulfill his obligations as ADA Coordinator for the LSP.276

The Court also finds that LSP failed to provide adequate training and resources to any of

its ADA Coordinators, and none of the ADA Coordinators during the relevant time period

possessed the knowledge or experience necessary to oversee and ensure ADA

compliance.




272
    JX 4-jj, T. Falgout Depo. at 8:2-19.
273
    Id. at 11:15-12:3.
274
    Id. at 58:12-14.
275
    Id. at 37:1-16; 28 C.F.R. § 35.150(d).
276
    Rec. Doc. No. 554, Testimony of Tracy Falgout at 12:10-14:1, 32:15-36:16. During the relevant time
period, Falgout was responsible for: supervising a mental health nurse; overseeing LSP’s Quality
Improvement program, which involved formulating studies, collecting data for as many as six studies at a
time, preparing reports, and leading quarterly meetings; preparing and maintaining files to demonstrate
compliance with the ACA’s medical standards, both for annual internal audits and the triennial ACA audit;
making level of care determinations for individuals being transferred from LSP to other facilities, which
required thousands of record reviews every year; providing nursing staff training and continuing education;
running the health care orderly and hospice volunteer training programs; leading re-entry classes;
performing patient histories and assessments as part the intake process for transfers to LSP, at times on a
weekly basis; teaching basic and advanced life support classes; processing and evaluating accommodation
requests, and conducting as many as 50 or more hearing tests per month in connection with many of those
requests.
Document Number: 52892
                                                                                           Page 58 of 124


                                                                                                23-30825.22456
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   354 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    59 of 124




                        b.      ADA Advisory Committee

175.    Although not required by ADA regulations, LSP Directive 01.016 requires LSP to

maintain an ADA Advisory Committee consisting of the ADA Coordinator, the Deputy

Warden for Operations, a staff attorney, the Safety Director, and the Health Information

Management Supervisor.277 The purpose of this committee is to review ADA compliance

on a monthly basis and recommend corrective action to the warden where appropriate.278

Despite this Directive, neither LSP’s ADA Coordinator279 nor its past or present

wardens,280 were aware of the existence of such a committee, and Defendants have

admitted that “[n]o such committee existed during the pendency of this lawsuit.”281

                        c.      Inadequate Training

176.    LSP staff are inadequately trained to assist with disabled inmates. Falgout testified

that both security and medical staff receive an hour of training, annually, on “special needs

offenders,”282 which is based upon the same 13-page handout that includes three pages

of instructions relating to illegal drug use.283 The handout places far more emphasis on

handling security concerns than evaluating and assisting with the accommodations and

care necessary for disabled inmates.

177.    Several LSP representatives confirmed this lack of ADA training. At his August

2016 deposition, Falgout testified that he was unaware of any formal ADA training for

staff, stating simply: “[a]ll staff have the ability to review the policy.”284 Assistant Facilities


277
    JX 7-a (LSP Directive 1.016) at 4.
278
    Id.
279
    JX 4-ii, T. Falgout Depo. at 93:23-25; JX 4-jj, T. Falgout Depo. at 36:1-9.
280
    JX 4-ccc, D. Vannoy Depo. at 72:17-20; JX 4-bb, B. Cain Depo. at 48:24-49:1.
281
    Rec. Doc. No. 242-2 at ¶ 18; see also PX 403 at 0003.
282
    Rec. Doc. No. 554, Testimony of Tracy Falgout at 6:13-7:1; 8:18-24.
283
    See DX 103 at 03275-77.
284
    JX 4-ii, T. Falgout Depo. at 93:16-22.
Document Number: 52892
                                                                                     Page 59 of 124


                                                                                        23-30825.22457
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   355 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    60 of 124




Maintenance Manager Odis Ratcliff, who testified as the DOC’s 30(b)(6) witness

regarding the accessibility of LSP’s facilities, admitted that no one in his department

receives training on the ADA’s architectural accessibility requirements.285 The DOC’s

orientation training materials focus almost entirely on hearing-impaired inmates.286

                        d.      Failure to Inform Disabled Inmates of ADA Rights/Procedures

178.    Plaintiffs failed to carry their burden of demonstrating that LSP systemically fails to

inform patients of their ADA rights and procedures. Falgout testified at trial that, in

accordance with LSP policy,287 every new inmate is asked at intake if he has a physical

limitation or need for accommodation:288

        We ask the questions on everyone coming in, do you have any physical
        limitations, do you have any issues as far as being able to ambulate. Some
        of it is quite evident. If they come in with a wheelchair or a cane or walker,
        we know that. We’ll take that into consideration. We also, like I said, we’ll
        ask them questions if they have any physical limitation.289

If the inmate is cognitively impaired or cannot read or write, the procedures are explained

verbally.290 Falgout testified:

        If in the process of doing medical intake, there appears to be that there is
        some type of cognitive deficit as far as this offender’s ability to understand,
        we will take our time and slow things down, read it for them. If there’s still
        that issue, we bring mental health in on that … to help him as much as
        possible comprehend what’s going on with the intake process and make
        sure he gets the information.291




285
    JX 4-aaa, O. Ratcliff Depo. at 9:4-11.
286
    JX 12-f.
287
    See JX 7-a (LSP Directive 1.016).
288
    JX 4-jj at 19:2-17; see also JX 4-ii at 94:20-95:20.
289
    Rec. Doc. No. 553, Testimony of Falgout, 163:19-25.
290
    JX 4-ii at 98:20-99:3.
291
    Rec. Doc. No. 553, Testimony of Falgout, at 169:11-21.
Document Number: 52892
                                                                                 Page 60 of 124


                                                                                     23-30825.22458
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   356 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    61 of 124




179.    During intake, an inmate is provided a Request for Accommodation form and

advised that he may request an accommodation at that time or later, if necessary.292

Class member Otto Barrera testified at trial that he received this form at intake, although

he also testified he did not understand it.293

180.    While Request for Accommodation forms are available in all housing areas,

Falgout testified that the form itself “is not a necessity for access.”294 Rather, an inmate

can request an accommodation verbally, through a sick call form, or even “on a blank

piece of paper.”295 “Any means of communication” satisfies the initiation of a request for

accommodation, and a request may even be made by suggestion of a correctional officer

on behalf of an inmate.296 This process was explained in detail by the documentary

evidence submitted.297          Inmates whose accommodations requests are denied are

allowed to appeal through the ARP process.298

                        e.      Failure to Properly Handle Accommodation Requests

181.    Although the request for accommodation process is explained in the above

manner, Plaintiffs presented evidence that LSP does not comply with the steps set forth

in this process; rather, nearly all accommodations requests are initiated through the ARP

process.299 Defendants’ training materials instruct LSP staff to direct inmates to the ARP

process to request an accommodation.300 Former ADA Coordinator Peabody



292
    JX 4-jj at 20:5-15; JX 12-a at 00001.
293
    Rec. Doc. No. 547, Testimony of Otto Barrera, at 49:17-50:22; JX 10-d-1 at 03748.
294
    Rec. Doc. No. 553, Testimony of Falgout at 174:18-175:1; JX 4-jj at 19:18-20:23.
295
    JX 4-jj at 19:18-20:23.
296
    Id. at 29:5-18; see also, Rec. Doc. No. 553 at 175:2-12.
297
    JX 12-a; JX 7-a (LSP Directive 1.016).
298
    JX 7-a at 8; JX 4-jj at 24:8-13, 28:1-8.
299
    JX 5-d at 0321-22.
300
    JX 12-f at 00313.
Document Number: 52892
                                                                                        Page 61 of 124


                                                                                           23-30825.22459
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   357 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    62 of 124




acknowledged that “a lot” of requests for accommodations are filed as ARPs.301 Despite

the prison policy and procedure requiring a specific routing process for accommodation-

request ARPs,302 Warden Peabody testified that, during his time as ADA Coordinator, an

ARP involving a request for accommodation would be “treated just like every other

administrative remedy procedure,”303 and he never saw an ARP routed to his office.304

He admitted that ARPs or other complaints would not come to him unless they included

“magic words” such as disability or ADA, even if they might be legitimate accommodation

requests.305 Indeed, he admitted that there was “no excuse for it, other than we were not

coordinating the two efforts together.”306 When testifying as the DOC’s 30(b)(6) witness

on ADA implementation, Warden Falgout similarly testified that he was unaware how

ARPs were routed to his office, who was responsible for routing them, or whether that

person had any familiarity with the ADA.307

182.    Trial evidence demonstrated that ADA Coordinators and medical staff routinely fail

to recognize when medical issues trigger the ADA. Warden Peabody admitted that “we’re

so used to inmates making medical requests for duty status based upon a medical

condition that I don’t necessarily see it as an ADA issue.”308 Warden Peabody did not

think requests for restricted duty statuses should come to him, even though they “could

be” considered requests for accommodations.309 He stated that “[t]his is a confusing issue



301
    JX 4-vv, R. Peabody Depo. at 12:21-24.
302
    JX 12-f at 00313; JX 5-d at 00321-22.
303
    JX 4-ww, R. Peabody Depo. at 62:5-15.
304
    Id. at 63:2-4.
305
    Id. at 75:23-77:1.
306
    Id. at 62:20-24.
307
    JX 4-jj, T. Falgout Depo. at 60:7-16.
308
    JX 4-vv, R. Peabody Depo. at 22:21-24.
309
    JX 4-ww, R. Peabody Depo. at 55:3-12.
Document Number: 52892
                                                                             Page 62 of 124


                                                                                23-30825.22460
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   358 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    63 of 124




for me and for staff as determining when something is an ADA request and when it isn’t.

Generally speaking, it gets treated as an ADA request when the inmate puts in something

about ADA in the request and basically says he wants an accommodation.”310

183.    Even when a screening officer recognizes an ADA issue and routes such a request

to the ADA Coordinator, the LSP procedure is not utilized in addressing such a request.311

Although DOC policies provide that “[s]taff who are aware of or have reason to believe

that an offender has a disability for which he may need accommodation are required to

advise the unit ADA Coordinator, who will evaluate the circumstances to determine if

auxiliary aids and services and reasonable accommodations are required,”312 Warden

Peabody testified that, in over ten years of serving as ADA Coordinator, he was never

contacted by a LSP staff member, rather than an inmate, indicating that an inmate had a

disability and required assistance.313

184.    Although DOC policy requires that an inmate’s disability be documented in his

medical record,314 and the ADA Coordinator is responsible for developing an

individualized response plan which must be included in the medical record,315 Plaintiffs’

medical experts did not find “clear documentation of disability accommodations” in a

single chart they reviewed, or “evaluations or assessments of needs in that respect,”316


310
    Id. at 58:11-17.
311
    JX 4-vv, R. Peabody Depo. at 19:25-20:12 (Warden Peabody was not familiar with Form B-08-010-A);
See, e.g., PX 231 (ARP of M.B.) at 2563-72 (denying request to use TTY phone and to have his duty status
reinstated); PX 231 (ARP of J.T.) at 2200-11 (rejecting complaint that patient was denied access to TU’s
“handicap accessible shower” with one-sentence response); PX 231 (ARPs of B.A.) at 2604-40 (denying
request for access to TTY phone and television with closed captioning); id. at 1832-45 (ARP of T.J.)(patient
waited approximately 8 months to receive a first step response to his ARP.).
312
    JX 5-d at 00320.
313
    JX 4-ww, R. Peabody Depo. at 39:5-40:16.
314
    JX 12-f at 00312-13.
315
    JX 7-a at 3-4.
316
    PX 6 at 0059 n.74.
Document Number: 52892
                                                                                            Page 63 of 124


                                                                                                23-30825.22461
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   359 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    64 of 124




and Warden Falgout testified that he was not familiar with the concept of an individualized

response plan.317

                          f.     Lack of Tracking System

185.    The DOC requires LSP’s ADA Coordinator to maintain a tracking system for all

accommodation requests318 and to record such information in a database using Form B-

08-010-B.319 However, in practice, there appears to be no such tracking system, and the

database is severely inadequate to effectively track disabled inmates’ ADA needs.320

After becoming ADA Coordinator, Warden Falgout did not recognize the first part of the

list;321 and he described the second part as “an alphabetized master list of everybody who

has requested ADA for one reason or another.”322 He admitted this list does not provide

a full picture of each individual’s disability and was not really a tracking database for

individuals,323 and he acknowledged one would have no way of knowing whether an

individual’s needs were being met by looking at the list.324 Further, staff at DOC

headquarters appeared to be either unaware of the database’s existence or unable to

utilize it to determine the number of patients with various disabilities and accommodations

at a given facility.325




317
    JX 4-jj, T. Falgout Depo. at 58:12-14.
318
    JX 7-a at 3.
319
    JX 5-d at 00324, 00329.
320
    JX 12-b.
321
    JX 4-jj, T. Falgout Depo. at 37:17-38:4.
322
    Id. at 40:8-17.
323
    Id. at 41:8-42:6.
324
    Id. at 44:15-23.
325
    PX 306 at 0002 (June 27, 2014 email from S. Falgout to staff at LSP and other facilities, asking if those
facilities “keep up with the number of offenders that are blind, handicapped, in a wheelchair,” and if they
could provide those numbers).
Document Number: 52892
                                                                                             Page 64 of 124


                                                                                                 23-30825.22462
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   360 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    65 of 124




186.    Trial evidence demonstrated that many requests never get recorded into the

tracking database. In 2014, DOC audits of LSP indicated that the ADA database was “not

being used for offender request[s].”326 During his tenure, Warden Peabody noted that the

database would not include any ARPs.327 Warden Barr admitted that he was not involved

in recording information in the database and did not know who was.328 Likewise, Warden

Falgout acknowledged that an ARP would not be recorded in the database if the

screening officer did not recognize the request as indicating an ADA issue.329

                        g.       Copays

187.    Plaintiffs failed to carry their burden of demonstrating that disabled inmates are

required to pay co-pays for accommodation requests to be addressed. To the extent co-

pays are being charged based on LSP staff misidentifying or failing to recognize that a

medical issue implicates the ADA, this issue can be addressed during the remedy phase

of this matter.

                4.      Failure to Accommodate

        Plaintiffs argue they carried their trial burden of demonstrating that LSP

systemically fails to accommodate disabled inmates in the following ways: (1) providing

assistive devices and auxiliary aids ranging from wheelchairs and wheelchair gloves to

tapping canes and informational materials in Braille; (2) work assignments; (3) dietary

needs (4) when transporting patients; (5) in prison procedures ranging from medication

administration to evacuation plans to the filing of ARPs; and (6) when imposing discipline.


326
    JX 33 at 0001. The March 25, 2014 report indicates that the failure to utilize the ADA database had been
referenced in previous reports, and corrective action was still pending. Id.
327
    JX 4-ww, R. Peabody Depo. at 65:10-66:15.
328
    JX 4-z, D. Barr Depo. at 23:20-24:12.
329
    JX 4-jj, T. Falgout Depo. at 65:8-14.
Document Number: 52892
                                                                                            Page 65 of 124


                                                                                                23-30825.22463
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   361 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    66 of 124




                         a.      Assistive Devices/Auxiliary Aids

188.    Plaintiffs failed to establish that LSP systemically fails to provide auxiliary aids and

assistive devices to disabled inmates.330 Further, Plaintiffs’ evidence that LSP does not

provide Braille for blind inmates does not satisfy their burden; rather, Plaintiffs must show

specific instances where blind inmates required Braille and were not accommodated in

this, or another appropriate, manner.

189.    Signs are posted throughout LSP advising that auxiliary aids are available on

request.331 Inmates are provided adaptive devices on a case-by-case basis.332

190.    Inmates suffering with mobility impairment may be provided wheelchairs, walkers,

canes, or specialty footwear according to physicians’ orders.333 LSP offers training in the

use of adaptive devices.334

191.    Hearing-impaired inmates are accommodated through a variety of ways: onsite

hearing tests or referrals to off-site audiologists, where necessary;335 assistive listening

devices, access to closed captioned television, FM radio adapters, and amplified

telephone headsets, and TTY phones;336 batteries for hearing aids if inmates arrived at

LSP with a hearing aid;337 American Sign Language training by a professional sign




330
    Plaintiffs claim that Falgout testified that LSP does not provide hearing aids under any circumstances in
JX 4-jj, T. Falgout Depo. at 108:18-20. However, in this deposition, Falgout testified that an accommodation
could be a hearing aid. Id. at 30:7. Further, LSP is required to accommodate the needs of hearing-impaired
inmates, but LSP may choose the manner in which it accommodates, as long as it is effective.
331
    JX 4-jj, T. Falgout Depo. at 29:19-30:8; JX 12-h.
332
    Id. at 17:11-18:1.
333
    JX 12-b at 00012-13.
334
    JX 4-ii at 122:23-23:7; JX 11-c at 00261.
335
    JX 4-ii at 110:22- 112:6.
336
    Id. at 101:23-102:13, 104:11-14; JX 7-a at 6.
337
    Id. at 108:11-13; JX 7-a at 7.
Document Number: 52892
                                                                                             Page 66 of 124


                                                                                                 23-30825.22464
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   362 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    67 of 124




language interpreter.338

192.    In the majority of inmates’ experiences specified by Plaintiffs, the Court finds that

the evidence does not demonstrate a failure to accommodate a disability under the ADA;

rather, most incidents involve a disagreement by the inmate with the accommodation

provided and/or the medical treatment dispensed.

193.    Sampier testified that prison officials refused to provide him the specific paraplegic

wheelchair he requested along with specialized gloves to accompany this specific

wheelchair.339 However, Defendants presented evidence establishing that Sampier was

provided a wheelchair and a trapeze bar, and he was able to purchase gloves in the

commissary.340 Sampier may have disagreed with his accommodation, but LSP is not

required to provide an inmate’s specific, preferred accommodation.

194.    Francis Brauner testified that LSP initially refused to provide him a wheelchair, but

ultimately a wheelchair was provided that was hard to maneuver.341                       Brauner also

complained that he was denied his request for gloves because he was told “it wasn’t in

the budget.”342     Again, the evidence reflects that Brauner was dissatisfied with his

accommodation, but he was accommodated.

195.    The incidents regarding Karl Clomberg’s foot and Michael Johnson’s propensity to

pass out occurred outside the relevant time period. Further, the Court finds that the

evidence surrounding these inmates’ experiences demonstrates a disagreement with



338
    Id. at 104:20-105:9; Dr. Daniel Burch was under contract to provide sign language training at LSP for
the period of August 2015 – August 2018. See JX 12-c at 00166-71.
339
    Rec. Doc. No. 544, Testimony of Farrell Sampier at 81:18-82:11; 59:11-60:2.
340
    Id. at 60:4-10, 59:18-20, 81:22-24.
341
    Rec. Doc. No. 546, Testimony of Francis Brauner, at 103:1-104:12.
342
    Id. at 104:13-25.
Document Number: 52892
                                                                                          Page 67 of 124


                                                                                              23-30825.22465
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   363 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    68 of 124




medical treatment, not a violation of the ADA.

196.    John Tonubbee, who claims he suffers from bunions, a hammer toe, and knee

pain,343 was provided a pair of Apex shoes rather than the specific shoes he requested.344

Thus, Tonubbee was accommodated, disagreement notwithstanding. Further, the Court

finds that Tonubbee’s complaint constitutes a disagreement with medical treatment rather

than a violation of the ADA.

197.    Plaintiffs failed to demonstrate that Derrick Woodberry’s hemorrhoids constitute a

disability under the ADA.       Further, the evidence demonstrates a disagreement with

medical treatment, not a violation of the ADA.

                       b.      Work Assignments

198.    Plaintiffs failed to demonstrate that LSP systemically fails to accommodate

disabled inmates in work assignments or duty statuses.

199.    At LSP, assignment of duty status begins at intake.345 When an inmate arrives at

LSP, he is not assigned a duty status until he evaluated by a health care provider.346 If

an inmate believes his duty status is being violated, he may utilize the ARP process.347

200.    Adrian Dunn, who suffers from diabetes and asthma, testified that his out-of-field

duty status was revoked after 13 years even though he continues to have asthma attacks

exacerbated by dust.348 Dunn’s medical records were not admitted into evidence in this

matter.



343
    Rec. Doc. No. 546, Testimony of John Tonubbee, at 147:7-149:13.
344
    JX 10-ddd-3 at 56892.
345
    Rec. Doc. No. 553, Testimony of Falgout at 216:10-14.
346
    Id. at 216:14-21; JX 4-ii at 94:1-19.
347
    JX 4-jj at 46:13-17.
348
    JX 4-h, A. Dunn Depo. at 27:5-24, 28:18-29:25.
Document Number: 52892
                                                                             Page 68 of 124


                                                                                23-30825.22466
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   364 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    69 of 124




201.    The medical records of Karl Clomberg and Michael Johnson are not in evidence in

this matter. Additionally, the complaints of these inmates fall outside the relevant time

period.349

202.    Jason Hacker was denied a restricted duty status and assigned field work despite

a medical determination that he was blind.350 However, Hacker filed a separate lawsuit

against these Defendants on the same complaints, and the Fifth Circuit affirmed a jury

verdict finding that Hacker was not disabled.351

203.    Although Hymel Varnado testified that he was required to lift heavy locker boxes

as part of his orderly duties, despite having a duty status restriction of no heavy lifting,352

Varnado also testified this issue came up in 2010,353 and he has reported no physical

problems with his duty status during the relevant time period.354

204.    Anthony Mandigo, who suffers from sickle cell disease causing ulcers to develop

on his legs and ankles,355 testified at trial that he was assigned to be a tier walker, which

involved walking up and down a prison tier for 10-hour shifts, despite having a duty status

mandating “no prolonged walking.”356            However, Mandigo’s duty status provides for

intermittent rest,357 and he testified that if he complained of pain, “I might get a duty status

of no duty, and go see the clinic every day to get a dressing change.”358 Thus, evidence




349
    See JX 4-j at 10, 24; JX 4-f at 28 for dates of incidents.
350
    JX 4-i, Hacker Depo., at 55:7-58:11.
351
    Hacker v. Cain, 759 Fed. Appx. 212, 216-218 (5th Cir. 2018).
352
    JX 4-s at 21:8-23:23.
353
    Id. at 19:8-20:22.
354
    Id. at 26:19-25, 29:2-5.
355
    Rec. Doc. No. 550, Testimony of Anthony Mandigo at 82:4-24.
356
    Id. at 85:4-19.
357
    See JX 6-oo (LSP Directive 13.063) at 00203.
358
    Rec. Doc. No. 550 at 86:1-2.
Document Number: 52892
                                                                                  Page 69 of 124


                                                                                      23-30825.22467
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   365 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    70 of 124




demonstrates that Mandigo’s physical limitations were accommodated in his work

assignment.

205.    Charles Butler testified that he was injured while hanging drywall pursuant to his

Squad A duty status work assignment, and he was required to hang drywall sheets

weighing 20 to 25 pounds, despite a lifting restriction of ten pounds.359                       However,

Defendants presented evidence that a Squad A duty status inmate is restricted to lifting

“objects weighing less than 30 pounds.”360 Thus, evidence demonstrated that Butler’s

duty status restrictions were not violated by this work assignment, as his lifting restriction

was thirty pounds, not ten.

                        c.       Dietary Accommodations

206.    Plaintiffs have failed to carry their burden of demonstrating that LSP systemically

fails to accommodate dietary restrictions for disabled inmates.

207. Plaintiffs offered testimony of four class members who claim their disabilities require

dietary accommodations that have not been met by LSP. Further, it was only established

that one class member, Adrian Dunn, would require a dietary accommodation based on

a disability – diabetes.361 Evidence relating to Clomberg, Brauner, and Barrera362 failed

to connect the purported dietary requirements to a disability as defined by the ADA.




359
    Rec. Doc. No. 547, Testimony of Charles Butler at 63:22-64:23.
360
    JX 6-oo (LSP Directive 13.063) at 00205 (emphasis in original).
361
    JX 4-h, A. Dunn Depo. at 22:13-20.
362
    Trial evidence established that Barrera preferred to receive a regular tray and cut up his own food. JX
10-d-1 at 03971-03972. Further, evidence demonstrated that Barrera was accommodated by receiving
Ensure protein drinks 2-3 times a day, see id. at 03783; 03779; JX 10-d-4 at 04449, and Barrera routinely
ignored doctor’s orders regarding his diet by eating freely and taking food off other inmates’ trays, eating
fried chicken, and purchasing commissary food items inconsistent with his dietary restrictions. See JX 4-
pp at 20:20-23:18; JX 10-d-1 at 03966 – 67; Rec. Doc. No. 547, Testimony of Otto Barrera at 42:23-45:18.
Document Number: 52892
                                                                                            Page 70 of 124


                                                                                                23-30825.22468
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   366 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    71 of 124




Further, no evidence was presented that these class members filed ARPs to complain

about their dietary needs.

                        d.       Lack of Handicapped-Accessible Transportation

208.    Benny Prine, who is capable of walking but uses a wheelchair due to issues with

his left knee and right hip,363 testified that on two occasions, he was transported to an

outside medical appointment in a regular van, which caused him pain due to the inability

to keep his bad leg extended.364 However, Prine never requested an accommodation

and did not answer the question whether he had reported his discomfort to anyone at

LSP.365

209.    Hymel Varnado testified that he was transported to the hospital in a regular van,

handcuffed and shackled, while he suffered from a ruptured spleen and internal

bleeding.366 Following surgery, Varnado was transported back to LSP in the back of a

car.367 There is no evidence that Varnado was disabled under the ADA; the evidence

demonstrates that LSP provided poor medical care and transportation to a patient in need

of surgery.

210.    The transport incidents involving Sampier and Barrera occurred outside of the

relevant time period.

211.    Danny Prince, a former health care orderly, testified that, when the handicap van

was not available, an inmate with a call-out appointment would “have their trip cancelled




363
    JX 4-q, B. Prine Depo. at 12:15-17.
364
    Id. at 84:3-85:20.
365
    Id. at 85:21-86:6.
366
    JX 4-s at 31:21-33:1.
367
    Id. at 33:11-34:13.
Document Number: 52892
                                                                                 Page 71 of 124


                                                                                    23-30825.22469
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   367 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    72 of 124




or rescheduled.”368        Prince’s testimony demonstrates that LSP was mindful of the

necessity to provide disabled inmates safe transportation. This evidence, while probative

of the failure to provide adequate care under the Eighth Amendment is not probative of

an ADA violation.

212.    Plaintiffs failed to carry their burden of demonstrating a systemic failure to

accommodate disabled inmates in providing safe transportation. Instances described

above fail to indicate a disability under the ADA and/or reference circumstantial scenarios

where improper care was provided or where substandard or unavailable transportation

impeded adequate care.

                        e.       Accommodations in Prison Procedures/Discipline

213.    Plaintiffs presented no evidence of a disabled inmate who was not accommodated

in the prison procedures of pill call, sick call, or head count.369

214.    While the LSP evacuation plan does not explicitly set forth a protocol for the safe

evacuation of disabled inmates, the plan describes how the evacuation should proceed

in all buildings on the property, including those that house disabled inmates.370 To the

extent architectural barriers, such as ramps and ledges, create an unsafe evacuation plan

for disabled inmates, that issue is adequately addressed above regarding physical and

architectural barriers to access.




368
    Rec. Doc. No. 547, Testimony of Danny Prince at 103:4-8.
369
    Plaintiffs offered testimony of Barr and Falgout that they could not identify a specifical accommodation
made during these procedures for deaf or blind patients; however, Plaintiffs failed to demonstrate an actual
failure to accommodate a deaf or blind inmate in these procedures to the Court’s satisfaction.
370
    PX 16.
Document Number: 52892
                                                                                            Page 72 of 124


                                                                                                23-30825.22470
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   368 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    73 of 124




215.    All disciplinary decisions are left to the sole discretion of security personnel, without

oversight by medical staff as to the appropriateness of discipline for disabled inmates.371

216. In the case of one disabled inmate, evidence demonstrated that the inmate suffered

from severe mental health issues, including schizophrenia, and total blindness due to

glaucoma; however, this inmate was “gassed” for refusing to shave. The email indicates

that the nurse was “looking into this as security should had (sic) checked with MH first.”372

The Court finds that LSP fails to take disability into account in its disciplinary decisions.

217.    Plaintiffs’ medical experts noted the case of Patient # 24, a quadriplegic with a

tracheostomy tube who was disciplined by being placed in a locked isolation room with

no call system.373 The experts opined that there was “no way to notify the nurses if his

trach tube became clogged and he had trouble breathing. The solid door is locked and

the nurses cannot hear him even if he screams.”374 The Court finds that isolated housing

as a form of discipline fails to accommodate many disabled inmates.

218.    Defendants’ evidence that both security and nurses perform rounds every couple

of hours, and inmates can (only) verbally scream if they require assistance,375 fails to

persuade the Court that such procedures comply with LSP’s ADA obligations.




371
    See JX 4-ii, T. Falgout Depo. at 123:12-19; JX4-jj, T. Falgout Depo. at 14:20-15:14; JX 4-z, D. Barr
Depo. at 40:13-41:24; JX 4-uu, C. Park Depo. at 13:14-21, 14:4-19.
372
    PX 85 at 0002-03.
373
    PX 6 at 0081. The Court overrules Defendants’ hearsay objection to this exhibit which was admitted at
trial.
374
    Id.
375
    See JX 4-ll, K. Hart Depo. at 34:12-35:23, 40:8-41:9.
Document Number: 52892
                                                                                          Page 73 of 124


                                                                                              23-30825.22471
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   369 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    74 of 124




               5.      Exclusionary Policies

                       a.      Hobby Craft

219.    Participation in hobby craft376 at LSP is a privilege, not a right,377 and is operated

on a “first come/first serve basis” after submission of a written request to participate.378

Further, LSP maintains a policy of ensuring the safe and secure operation of hobby craft

which includes “the temporary interruption of an inmate utilizing the hobbyshop when

under medical care and/or treatment, requiring a duty status, until such time as the inmate

is returned to regular duty without restrictions.”379 The policy further provides: “No inmate

receiving medical care and/or treatment requiring a restriction in the inmate’s regular

duties will be allowed to utilize the hobbyshops, until such time the inmate is returned to

regular duty without restrictions.”380

220.    LSP Directive 13.063 does, however, provide a caveat to this exclusion: “Offenders

assigned restrictive duty will not be allowed to participate in sports and/or recreational

activities, unless specified by the treating health care provider. Participation in these

activities could worsen or cause a recurrence of an injury or other medical condition. If

medically indicated, the treating provider may also restrict sports activities of an offender

on regular duty.”381

221.    Nurse Cynthia Park, APRN, testified that she “look[s] at the entire picture of the

patient” when making her recommendations for duty statuses to Dr. Lavespere.382 She


376
    The terms “hobby craft” and “hobby shop” are used interchangeably.
377
    JX 4-ii, T. Falgout Depo. at 107:23-108:1.
378
    JX 7-d at 00015.
379
    PX 7-c (LSP Directive 9.036) at 00004 (emphasis in original).
380
    Id. at 00005.
381
    JX 6-oo (LSP Directive 13.063) at 00204.
382
    JX 4-uu, C. Park Depo. at 30:8-9.
Document Number: 52892
                                                                                Page 74 of 124


                                                                                    23-30825.22472
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   370 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    75 of 124




acknowledged that she will sometimes recommend that a hobby craft restriction be

waived for an inmate “based on [the] patient’s situation.”383

222.    Dr. Lavespere makes the final decision regarding an inmate’s duty status.384 In

evaluating an inmate’s medical condition for purposes of assigning duty status, Dr.

Lavespere testified that: “I try to be as objective as I can without a punitive bone in my

body, and try to be fair with every one of them.”385 Dr. Lavespere emphasized that he

considers the safety of the inmate in applying duty status restrictions.386

223.    Subclass member Brauner testified that he requested to participate in hobby craft

but was denied and “told that anyone that has a duty status is not allowed to participate

in hobby craft.”387 Brauner testified that no other reason was given for this denial.388

However, on cross-examination, Brauner admitted that he never asked a doctor to adjust

his duty status and never filed an ARP.389

224.    Another Subclass member (C.F.) filed an ARP to challenge his exclusion from the

hobby shop based on his restricted duty status because he had a work assignment that

required him to sweep, mop, scrub, and walk during the day.390 Plaintiffs suggest that,

upon initial review and appeal, C.F. was summarily denied access to hobby craft based

solely on citation to LSP Directive #09.036.391




383
    Id. at 32:12-21.
384
    Id. at 31:19-32:3.
385
    JX 4-qq, Lavespere Depo. at 15:12-14.
386
    Id. at 15:12-18:25.
387
    Rec. Doc. No. 546 at 107:15-20.
388
    Id. at 107:21-22.
389
    Id. at 126:10-128:12.
390
    PX 231 at 1462. It should be noted that this incident occurred well before the designated relevant time
period in this case.
391
    Id. at 1464, 1513-14.
Document Number: 52892
                                                                                            Page 75 of 124


                                                                                                23-30825.22473
         Case:3:15-cv-00318-SDD-RLB
         Case  23-30825    Document: 113-1  Page:
                                       Document   371 03/31/21
                                                594     Date Filed:
                                                                Page01/11/2024
                                                                      76 of 124




225.       C.F.’s medical records, reviewed in consideration of his hobby craft ARP,

demonstrate that he suffers from “L5-S1 degenerative disc disease. Moderately large

right lateral recess at L5-S1 disc herniation with right S1 nerve root compression.”392 In

his initial ARP denial, the First Step Response states:393




C.F.’s medical records and First Step Response does not demonstrate a blanket denial

citing only to the general LSP Directive; it includes a medical evaluation of his medical

conditions which resulted in the denial. That C.F. disagreed with the result does not

establish that it was discriminatory.

226.       While the evidence presented demonstrates that medical staff are making

individualized assessments to determine eligibility to apply for hobby craft, it also

demonstrates that a blanket exclusion exists, and an inmate must challenge their

classification via ARP to obtain relief. However, the Court finds that the hobby craft


392
      Id. at 1506.
393
      Id. at 1512 (interlineation in original).
Document Number: 52892
                                                                             Page 76 of 124


                                                                                23-30825.22474
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   372 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    77 of 124




privilege is not the same kind of program/activity/service as the others complained of

because all inmates, disabled or not, must apply for hobby craft and are screened prior

to allowing participation. Further, evidence demonstrates that when a disabled inmate

requests to be permitted to participate in hobby craft, LSP providers give thoughtful

consideration to the inmate’s medical conditions and/or impairments in determining the

safety of participation in hobby craft.394

                         b.      Duty Status/Work Release Program

227.    All blind inmates at LSP are placed on “no duty” status.395

228.    Inmates on “no duty” are not permitted to work and are unable to earn incentive

wages,396 but they receive no discounts for phone calls or at the canteen.397

229.    Inmates with duty status restrictions are excluded from participation in LSP’s work

release program, which allows inmates with less than two years left on their sentences to

work outside the prison as part of their integration back into the community.398

230.    Dr. Singh issued a blanket prohibition on approving HIV-positive individuals for

work release.399

231.    Dr. Lavespere’s opinion that the most desirable work assignment at LSP is “no

duty status”400 is irrelevant to this issue and does not justify blanket denials and




394
    While LSP’s requirement that a disabled inmate file an ARP to apply for hobby craft is not the best policy
or practice, the Court does not find that it is a violation of the ADA because all inmates at LSP must apply,
are subject to screening, and must gain approval before participation is allowed.
395
    JX 4-z, D. Barr Depo. at 44:6-10; JX 4-ww, R. Peabody Depo. at 53:22-54:7.
396
    JX 4-z, D. Barr Depo. at 44:11-13.
397
    Id. at 47:3-6.
398
    JX 4-jj, T. Falgout Depo. at 59:11-25.
399
    PX 99 (June 8, 2010 email from Sonya Bufalo to Amanda Amman).
400
    JX 4-qq at 20.
Document Number: 52892
                                                                                              Page 77 of 124


                                                                                                  23-30825.22475
       Case:3:15-cv-00318-SDD-RLB
       Case  23-30825    Document: 113-1  Page:
                                     Document   373 03/31/21
                                              594     Date Filed:
                                                              Page01/11/2024
                                                                    78 of 124




prohibitions of access to programs that are not based on individualized medical

determinations.

232.    Defendants did not refute the evidence presented by Plaintiffs on this issue

wherein present and past ADA Coordinators acknowledged blanket denials of access

regarding these programs.

III.    CONCLUSIONS OF LAW

        A. Eighth Amendment Standard

        As expressed by the Supreme Court in Brown v. Plata,

        As a consequence of their own actions, prisoners may be deprived of rights
        that are fundamental to liberty. Yet the law and the Constitution demand
        recognition of certain other rights. Prisoners retain the essence of human
        dignity inherent in all persons. Respect for that dignity animates the Eighth
        Amendment prohibition against cruel and unusual punishment. “‘The basic
        concept underlying the Eighth Amendment is nothing less than the dignity
        of man.’”401

Prisoners are dependent on the State for necessary medical care, and

        A prison's failure to provide sustenance for inmates “may actually
        produce physical ‘torture or a lingering death.’”402 Just as a prisoner
        may starve if not fed, he or she may suffer or die if not provided
        adequate medical care. A prison that deprives prisoners of basic
        sustenance, including adequate medical care, is incompatible with
        the concept of human dignity and has no place in civilized society.403

        If a State cannot meet this obligation, “the courts have a responsibility to remedy

the resulting Eighth Amendment violation.”404 While “[c]ourts must be sensitive to the



401
    563 U.S. 493, 510 (2011)(quoting Atkins v. Virginia, 536 U.S. 304, 311, 122 S.Ct. 2242, 153 L.Ed.2d
335 (2002) (quoting Trop v. Dulles, 356 U.S. 86, 100, 78 S.Ct. 590, 2 L.Ed.2d 630 (1958) (plurality
opinion))).
402
    Id. (quoting Estelle v. Gamble, 429 U.S. 97, 103, 97 S.Ct. 285, 50 L.Ed.2d 251 (1976) (quoting In re
Kemmler, 136 U.S. 436, 447, 10 S.Ct. 930, 34 L.Ed. 519 (1890)); see generally A. Elsner, Gates of Injustice:
The Crisis in America's Prisons (2004)).
403
    Id. at 510-511.
404
    Id. at 511 (citing Hutto v. Finney, 437 U.S. 678, 687 n. 9, 98 S.Ct. 2565, 57 L.Ed.2d 522 (1978)).
Document Number: 52892
                                                                                            Page 78 of 124


                                                                                                23-30825.22476
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   374 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   79 of 124




State's interest in punishment, deterrence, and rehabilitation, as well as the need for

deference to experienced and expert prison administrators faced with the difficult and

dangerous task of housing large numbers of convicted criminals,”405 courts must

“nevertheless … not shrink from their obligation to ‘enforce the constitutional rights of all

“persons,” including prisoners.’”406         Indeed, “[c]ourts may not allow constitutional

violations to continue simply because a remedy would involve intrusion into the realm of

prison administration.”407

        Deliberate indifference to “serious medical needs of prisoners constitutes the

‘unnecessary and wanton infliction of pain’ proscribed by the Eighth Amendment.”408 This

inquiry consists of both an objective and a subjective test. The objective test requires

showing that the prisoner has “serious medical needs,”409 and “either has already been

harmed or been ‘incarcerated under conditions posing a substantial risk of serious

harm.’”410 To prove an Eighth Amendment violation, Plaintiffs must prove that prison

officials “1) show[ed] a subjective deliberate indifference to 2) conditions posing a

substantial risk of serious harm to the inmate.”411 An official is not liable for deliberate

indifference “unless the official knows of and disregards an excessive risk to inmate health

or safety; the official must both be aware of facts from which the inference could be drawn

that a substantial risk of serious harm exists, and he must also draw the inference.”412 To


405
    Id. (citing Bell v. Wolfish, 441 U.S. 520, 547–548, 99 S.Ct. 1861, 60 L.Ed.2d 447 (1979)).
406
    Id. (quoting Cruz v. Beto, 405 U.S. 319, 321, 92 S.Ct. 1079, 31 L.Ed.2d 263 (1972) (per curiam)).
407
    Id.
408
    Estelle v. Gamble, 429 U.S. 97, 104 (1976) (quoting Gregg v. Georgia, 428 U.S. 153, 173 (1976)); see
also Jackson v. Cain, 864 F.2d 1235, 1244 (5th Cir. 1989).
409
    Estelle, 429 U.S. at 104.
410
    Braggs v. Dunn, 257 F. Supp.3d 1171, 1189 (M.D. Ala. 2017) (quoting Farmer v. Brennan, 511 U.S.
825, 834 (1994)).
411
    Gates v. Cook, 376 F.3d 323, 333 (5th Cir. 2004) (citing Farmer v. Brennan, 511 U.S. at 833-34).
412
    Farmer v. Brennan, 511 U.S. 825, 837, 114 S. Ct. 1970, 1979 (1994).
Document Number: 52892
                                                                                         Page 79 of 124


                                                                                             23-30825.22477
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   375 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   80 of 124




meet his burden, “the plaintiff must show that the officials ‘refused to treat him, ignored

his complaints, intentionally treated him incorrectly, or engaged in any similar conduct

that would clearly evince a wanton disregard for any serious medical needs.”413

        Whether or not officials knew of the risk is considered the subjective component of

the deliberate indifference standard,414 which requires a state of mind amounting to

recklessness as used in criminal law.415 The subjective test requires a showing that prison

officials had requisite knowledge of the risk of harm and either (1) disregarded it or (2)

failed to act reasonably to abate it.416 Willful blindness to the risk posed to inmates is not

a valid defense to a deliberate indifference claim.417

        Systemic deficiencies in a prison’s health-care system can provide the basis for a

finding of deliberate indifference at an institutional level.418 The cumulative effect of

different deficiencies can demonstrate the subjective component of deliberate

indifference, as the Supreme Court acknowledged in Wilson v. Seiter.419 In class actions

challenging systemic health care deficiencies, deliberate indifference to inmates’ health


413
    Domino v. Tex. Dep’t of Criminal Justice, 239 F.3d 752, 756 (5th Cir. 2001) (quoting Johnson v. Treen,
759 F.2d 1236, 1238 (5th Cir. 1985)).
414
    Farmer, 511 U.S. at 848.
415
    Williams v. Hampton, 797 F.3d 276, 281 (5th Cir. 2015) (en banc) (citing Farmer, 511 U.S. at 839–40);
see also Hacker v. Cain, No. 3:14-00063-JWD-EWD, 2016 WL 3167176, at *10 (M.D. La. June 6, 2016)
(“An intent to harm or animus towards a particular inmate is not itself required so long as such reckless
disregard for his or her medical needs can be shown.”); Hall v. Johnson, No. 12-00099-BAJ-RLB, 2013 WL
870230, at *3 (M.D. La. Mar. 6, 2013).
416
    Farmer, 511 U.S. at 844-45; see also Braggs v. Dunn, 257 F. Supp. 3d 1171, 1250 (MD. Ala. 2017)(“To
establish deliberate indifference, plaintiffs must show that defendants had subjective knowledge of the harm
or risk of harm, and disregarded it or failed to act reasonably to alleviate it.”).
417
    See Farmer, 511 U.S. at 843 n.8 (a prison official “would not escape liability if the evidence showed that
he merely refused to verify underlying facts that he strongly suspected to be true, or declined to confirm
inferences of risk that he strongly suspected to exist”).
418
    See Gates v. Cook, 376 F.3d 323, 333 (5th Cir. 2004)(“Conditions of confinement may establish an
Eighth Amendment violation ‘in combination’ when each would not do so alone, but only when they have a
mutually enforcing effect that produces the deprivation of a single, identifiable human need . . . .”).
419
    501 U.S. 294, 300 (1991) (rejecting a distinction between “one-time” or “short-term” conditions of
confinement and “continuing” or “systemic” conditions).
Document Number: 52892
                                                                                              Page 80 of 124


                                                                                                  23-30825.22478
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   376 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   81 of 124




needs may be shown by proving “repeated examples of negligent acts which disclose a

pattern of conduct by the prison medical staff,” or by proving there are such “systemic

and gross deficiencies in staffing, facilities, equipment, or procedures that the inmate

population is effectively denied access to adequate medical care.”420

        The fact that a risk is obvious is sufficient to allow a fact finder to conclude that

prison officials knew of the risk.421 Plaintiffs may also demonstrate knowledge through

inference from circumstantial evidence.422 If there is proof of a problem that is

“longstanding, pervasive, well-documented, or expressly noted by prison officials in the

past, and the circumstances suggest that the defendant-official being sued had been

exposed to information concerning the risk and thus ‘must have known’ about it, then

such evidence could be sufficient to permit a trier of fact to find that the defendant-official

had actual knowledge of the risk.”423

        Plaintiffs herein have demonstrated that “systemwide deficiencies in the provision

of medical . . . care . . . taken as a whole, subject sick prisoners in [LSP] to ‘substantial

risk of serious harm’ and cause the delivery of care in [LSP] to fall below the evolving

standards of decency that mark the progress of a maturing society.”424 To prevail on their

Eighth Amendment claim, Plaintiffs proved (1) the existence of serious medical needs

among members of the Class and (2) that Defendants were deliberately indifferent to a




420
    Ramos v. Lamm, 639 F.2d 559, 575 (10th Cir. 1980) (citations omitted); Lawson v. Dallas Cnty., 112 F.
Supp. 2d 616, 635 (N.D. Tex. 2000); see, e.g., Williams v. Edwards, 547 F.2d 1206, 1215-16 (5th Cir.
1977).
421
     Farmer, 511 U.S. at 842; Hinojosa v. Livingston, 807 F.3d 657, 667 (5th Cir. 2015); Gates, 376 F.3d at
333; Robinson v. Babin, No. 12-00629-BAJ-RLB, 2014 WL 2769099, at *4 (M.D. La. June 18, 2014).
422
    Farmer, 511 U.S. at 842.
423
    Hinojosa, 807 F.3d at 665 (quoting Farmer, 511 U.S. at 842-43) (internal quotation marks omitted).
424
    Rec. Doc. No. 573 at 247 (quoting Brown v. Plata, 563 U.S. 493, 505 n.3 (2011)).
Document Number: 52892
                                                                                           Page 81 of 124


                                                                                                23-30825.22479
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   377 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   82 of 124




substantial risk of serious harm stemming from the inadequacies in LSP’s medical care

system.425

        Turning to the objective test, the Fifth Circuit has defined a “serious medical need”

as “one for which treatment has been recommended or for which the need is so apparent

that even laymen would recognize that care is required.”426 Given that this is a class

action, Plaintiffs must demonstrate that that serious medical needs exist on a widespread

basis, rather than on an individual basis. Plaintiffs must also show that Defendants acted

with deliberate indifference to the serious medical needs of the class and must establish

that Defendants exposed the Class to “a substantial risk of serious harm.”427

        To establish a substantial risk of serious harm, “it does not matter whether the risk

comes from a single source or multiple sources.”428 “[M]ultiple policies or practices that

combine to deprive a prisoner of a ‘single, identifiable human need,’ such as [medical

care], can support a finding of Eighth Amendment liability.”429 Moreover, the Fifth Circuit

has long recognized that “the totality of circumstances concerning medical care” may

violate the Eighth Amendment.430 The Court of Appeals for the Fifth Circuit has defined

that a “serious medical need” is one “for which treatment has been recommended or for




425
    Id. (citing e.g., Carlucci v. Chapa, 884 F.3d 534, 538 (5th Cir. 2018); Lawson v. Dall. Cty., 286 F.3d 257,
262 (5th Cir. 2002); Braggs, 257 F. Supp. 3d at 1189.).
426
    Gobert v. Caldwell, 463 F.3d 339, 345 n.12 (5th Cir. 2006).
427
    Id. at 345.
428
    Farmer, 511 U.S. at 843; see also Wilson v. Seiter, 501 U.S. 294, 304 (1991) (“Some conditions of
confinement may establish an Eighth Amendment violation ‘in combination’ when each would not do so
alone, but only when they have a mutually enforcing effect that produces the deprivation of a single,
identifiable human need such as food, warmth or exercise[.]” (emphasis in original)).
429
    Braggs, 257 F. Supp. 3d at 1192 (quoting Gates v. Cook, 376 F.3d at 333).
430
    Williams v. Edwards, 547 F.2d 1206, 1215 (5th Cir. 1977).
Document Number: 52892
                                                                                               Page 82 of 124


                                                                                                   23-30825.22480
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   378 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   83 of 124




which the need is so apparent that even laymen would recognize that care is required.”431

The “seriousness” of an inmate's medical need may also be determined by reference to

the effects of a delay in treatment.432 “Serious medical needs” also include conditions that

threaten to cause health problems in the future.433

       As for the subjective test, Plaintiffs must demonstrate that Defendants have a

“sufficiently culpable state of mind.”434 “In prison-conditions cases that state of mind is

one of deliberate indifference to inmate health or safety.”435 Even in situations where

awareness is shown, prison officials will not be liable “if they responded reasonably to the

risk.”436 However, prison officials cannot escape liability simply by demonstrating that

they eventually took some form of “corrective action” in response to a risk of harm.437

Efforts to correct systemic deficiencies that “simply do not go far enough,” when weighed

against the risk of harm, also constitute deliberate indifference438 because such

insufficient efforts are not “reasonable measures to abate” the identified substantial risk

of serious harm.439 Further, “[i]nsisting upon a course of action that has already proven

futile is not an objectively reasonable response under the deliberate-indifference

standard” and would support a finding of liability under the Eighth Amendment.440




431
    Gobert, 463 F.3d at 345 n. 12 (citing Hill v. Dekalb Regional Youth Detention Center, 40 F.3d 1176,
1187 (11th Cir.1994), abrogated on other grounds by Hope, 536 U.S. 730, 122 S.Ct. 2508, 153 L.Ed.2d
666 (2002)).
432
    Hill, 40 F.3d at 1187.
433
     See Farmer, 511 U.S. at 843.
434
    Id. at 834 (internal citation and quotation marks omitted).
435
    Id. (internal citation and quotation marks omitted).
436
    Id. at 844.
437
    Bradley v. Puckett, 157 F.3d 1022, 1026 (5th Cir. 1998).
438
    Laube v. Haley, 234 F. Supp.2d 1227, 1251 (M.D. Ala. 2002).
439
    Farmer, 511 U.S. at 847.
440
    Braggs, 257 F. Supp. 3d at 1260.
Document Number: 52892
                                                                                        Page 83 of 124


                                                                                            23-30825.22481
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   379 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   84 of 124




        In this case, deliberate indifference may also be established “by proving that there

are such systemic and gross deficiencies in staffing, facilities, equipment, or procedures

that the inmate population is effectively denied access to adequate medical care.”441 “In

challenges to a correctional institution’s provision of medical care, evidence of systemic

deficiencies can also establish the ‘disregard’ element of deliberate indifference.”442 “As

an evidentiary matter, these systemic deficiencies may be identified by a ‘series of

incidents closely related in time’ or ‘[r]epeated examples of delayed or denied medical

care.’”443 “[A]lthough one-off negligent treatment is not actionable, . . . frequent

negligence, just like a single instance of truly egregious recklessness, may allow the court

to infer subjective deliberate indifference.”444 Deliberate indifference may also be

“demonstrated straightforwardly, through direct evidence that an administrator was aware

of serious systemic deficiencies and failed to correct them.”445

        The “long duration” of unconstitutional conditions can also demonstrate

correctional officials’ knowledge of the deficiencies that cause a substantial risk of

harm.446    Thus, if Plaintiffs show that a substantial risk of unreasonable harm was

“longstanding, pervasive, well[-]documented, or expressly noted by prison officials in the

past” and that “the circumstances suggest that the [prison officials] . . . had been exposed

to information concerning the risk . . . , then such evidence could be sufficient to permit a

trier of fact to find that the defendant-official had actual knowledge of the risk.”447


441
    Id. at 1251 (internal citation and quotation marks omitted).
442
    Id. (citing Harris v. Thigpen, 941 F.2d 1495, 1505 (11th Cir. 1991)).
443
    Id. at 1251-52 (quoting Rogers v. Evans, 792 F.2d 1052, 1058-59 (11th Cir. 1986)).
444
    Dunn v. Dunn, 219 F. Supp.3d 1100, 1129 (MD. Ala. 2016).
445
    Id.
446
    Alberti v. Sheriff of Harris Cty., 937 F.2d 984, 998 (5th Cir. 1991).
447
    Farmer, 511 U.S. at 842-43; see also Williams, 547 F.2d at 1216 (concluding that the Eighth Amendment
may be violated on a showing of “evidence of rampant and not isolated deficiencies”).
Document Number: 52892
                                                                                          Page 84 of 124


                                                                                              23-30825.22482
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   380 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   85 of 124




        Applying the law to the findings of fact set forth above, the Court concludes as a

matter of law that Defendants have violated Plaintiffs’ Eighth Amendment rights. LSP’s

deficiencies as to medical health care are widespread; Defendants’ manner and means

of the delivery of health care to Plaintiffs creates a substantial risk of serious harm to

Plaintiffs; and Defendants have been deliberately indifferent to the serious medical needs

of Plaintiffs in failing to address and/or correct known deficiencies. As the evidence

demonstrates, Defendants have continuously acted with deliberate indifference toward

the standards of care “within modern and prudent professional standards” by delaying or

denying access to medical attention to serious and urgent medical needs of inmates.448

The record is replete with instances showing failure by Defendants to take the necessary

steps to provide access or avoid delay in access to medical and health care. Specifically,

the trial testimony and evidence demonstrate constitutionally inadequate care and/or

access to care as it relates to the following: providing timely and adequate access to

clinical, inpatient/infirmary, emergency, and specialty care and the lack of medical

leadership, administration, and organizational structure. Evidence at trial satisfied both

the objective and subjective standards for deliberate indifference.

                1.      Clinical Care

        In Gates v. Cook, the Fifth Circuit recognized that a combination of conditions may

“have a mutually enforcing effect” that violates the Eighth Amendment.449                          This

combination of conditions regarding clinical care is amply demonstrated by the evidence

supporting the Court’s findings of fact, generally, that: (1) exam rooms lack privacy and


448
   Morales Feliciano v. Rossello Gonzales, 13 F.Supp.2d 151, 208 (D. Puerto Rico 1998).
449
   376 F.3d 323, 333 (5th Cir. 2004); See also, e.g., Williams, 547 F.2d at 1215; Braggs, 257 F. Supp.
3d at 1192.
Document Number: 52892
                                                                                          Page 85 of 124


                                                                                              23-30825.22483
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   381 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   86 of 124




standard medical equipment; (2) there are often no medical records available to the

providers making cell side visits; (3) hygiene and spacing issues abound; and (4)

physicians/providers treat complaints episodically rather than the underlying state of

diseases. Several specific practices or failings by LSP are identical or similar to matters

that have been held to violate the Constitution. These include: (1) the failure to provide

adequate facilities and equipment for necessary medical care;450 (2) the failure to ensure

that medical records are available to providers treating the inmate, which permeates

numerous aspects of health care delivery;451 and (3) the use of unqualified or untrained

staff or inmate orderlies who provide medical care outside the scope of their

qualifications.452


450
    Langley v. Coughlin, 888 F.2d 252, 254 (2d Cir.1989); Inmates of Allegheny County Jail v. Wecht, 874
F.2d 147, 153 (3d Cir.1989) (inadequate space for mental health facilities supported an order closing the
jail), vacated and remanded on other grounds, 493 U.S. 948, 110 S.Ct. 355, 107 L.Ed.2d 343 (1989);
Newman v. Alabama, 503 F.2d 1320. 1331 (5th Cir.1974); Tillery v. Owens, 719 F.Supp. 1256, 1307
(W.D.Pa.1989) (condemning infirmary's lack of space, unsanitary conditions, and deficiencies in equipment
and supplies), aff'd, 907 F.2d 418 (3d Cir.1990); Coleman v. Schwarzenegger, 922 F.Supp.2d 882, 887-88
(inmates “receive inadequate medical care in substandard facilities that lack the medical equipment
required to conduct routine examinations or afford essential medical treatment”).
451
    The record is replete with evidence that Defendants have failed to maintain medical records in a manner
that assists in providing constitutionally adequate health care at LSP. In Newman v. Alabama, the Fifth
Circuit found that, in the prison setting, medical records that are “incomplete, inaccurate and not
standardized” contribute to constitutionally inadequate delivery of health care. 503 F.2d 1320, 1323 (5th
Cir. 1974)(“The consequences of inadequate medical records are manifest in two ways. First, because
inmates transferred to and released from Mt. Meigs are accompanied by paltry records, personnel at the
receiving institutions are unaware of the diagnosis, treatment previously rendered, and the treatment
prescribed for the future. Second, there can be little or no monitoring of whether receiving facilities are
complying with a physician's orders. Indeed, the evidence indicates that such noncompliance is rampant.”)
Id. at n 4. See also, Miranda v. Munoz, 770 F.2d 255, 261 (1st Cir.1985) (prison officials' knowledge of
continuing problem of prisoners arriving at hospital without their medical records cited as a basis for damage
liability); Brown v. Coughlin, 758 F.Supp. 876, 882 (S.D.N.Y.1991) ( “failure to transfer necessary medical
records in a timely fashion” supported a deliberate indifference claim); see Burks v. Teasdale, 492 F.Supp.
650, 676 (W.D.Mo.1980) and cases cited (noting that medical records are essential to continuity of medical
care).
452
    Cooper v. City of Cottage Grove, No. 6:13-cv-551-TC, 2014 WL 4187558, *6 (D. Or. Aug. 21, 2014)(“The
essential function of EMTs is to stabilize an ill or injured person for transport to the emergency room, not to
provide medical diagnosis or treatment. They are not the equivalent of a physician or other medical
professional.”); Laaman v. Helgemoe, 437 F.Supp. 269, 312-313 (D. N.H. 1977)(citations omitted)(“ A
failure to staff a prison around the clock with qualified personnel trained to identify and cope with medical
emergencies and reliance upon unqualified and untrained inmates, civilians and employees of the prison
Document Number: 52892
                                                                                               Page 86 of 124


                                                                                                   23-30825.22484
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   382 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   87 of 124




                2.      Sick Call

        The failure to provide a sick call system that ensures that prisoners receive needed

care violates the Constitution.453 The trial evidence established that Defendants have

failed to provide a sick call system that ensures access to care and effectively handles

emergencies, which results in the endangerment to the health of inmates by denying or

delaying access to health care. Specifically, a combination of the following conditions

“have a mutually enforcing effect” that violates the Eighth Amendment: (1) improper use

of unqualified EMTs for diagnosis and treatment; (2) multiple requests by numerous

inmates for treatment of the same problems; and (3) medical records being unavailable

to the providers, which functionally impairs the provider’s ability to evaluate and treat

underlying conditions and instead promotes a “band-aid” approach to treating complaints

episodically. The Seventh Circuit and D.C. Circuit courts have held that this type of

deficiency supports a finding of deliberate indifference.454

                3.      Specialty Care

        “A prison inmate can demonstrate an Eighth Amendment violation by showing that

a prison official refused to treat him, ignored his complaints, intentionally treated him

incorrectly, or engaged in any similar conduct that would clearly evince a wanton

disregard for any serious medical needs.”455 This applies to failing to provide referrals to


to make medical decisions and to perform medical functions infringe upon the constitutional rights of
prisoners.”).
453
    Bass by Lewis v. Wallenstein, 769 F.2d 1173, 1184–86 (7th Cir.1985) (known deficiencies in sick call
system supported a finding of deliberate indifference).
454
    See id. at 1186; see also Inmates of Occoquan v. Barry, 717 F.Supp. 854, 867 (D.D.C.1989)(deliberate
indifference shown by sick call system which relied heavily on medical technical assistants by allowing them
to diagnose and dispense medication without proper supervision by trained medical staff).
455
    Blackstock v. Corrections Corp. of America, 660 F.Supp.2d 764, 769-70 (W.D. La. 2009)(citing Easter
v. Powell, 467 F.3d 459, 464 (5th Cir.2006)(citing Domino v. Tex. Dep't of Criminal Justice, 239 F.3d 752,
756 (5th Cir.2001); Chapman v. Johnson, 339 Fed.Appx. 446, 448, 2009 WL 2391496, *2 (5th Cir.
Document Number: 52892
                                                                                            Page 87 of 124


                                                                                                23-30825.22485
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   383 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   88 of 124




specialty care providers, where medically necessary,456 failing to implement follow-up

treatment instructions of specialists,457 and the general lack of medical records. The Fifth

Circuit has held that, “‘[u]nder certain circumstances, allegations of deliberate indifference

may be shown when prison officials deny an inmate recommended treatment by medical

professionals.’”458

        In Hadix v. Caruso, a case involving prison inmates’ right to constitutionally

adequate medical care, the district court for the Western District of Michigan noted that

“specialty care referrals are not negligible matters. They relate to care for cancer, cancer

diagnosis, HIV treatment, cardiology, ophthalmology and other serious medical

conditions as to which a failure to treat timely will contribute toward unnecessary death,

disease and suffering.”459 Further, in Morales Feliciano v. Rossello Gonzalez, the court

applied Eleventh Circuit jurisprudence and held that the failure to provide access to

specialized care required by a prisoner’s medical condition violates the Constitution.460


2009)(fact that defendant was aware that inmate had a serious injury and was instructed to provide pain
relieve medication, but did not do so, could demonstrate an Eighth Amendment violation)).
456
    See Oxendine v. Kaplan, 241 F.3d 1272, 1277-79 (10th Cir. 2001)(finding the defendant deliberately
indifferent where the plaintiff alleged he persistently informed the defendant about his worsening condition
and requested a referral to a specialist, but the defendant only referred the plaintiff to a specialist after it
was too late).
457
    See Blackstock, 660 F.Supp.2d at 770 (failure to follow neurologist’s treatment recommendations);
Lewis v. Pacheco, No. 08-cv-1151, 2010 WL 771227 at *4 (W.D. La. Mar. 2, 2010)(doctor’s decision to
ignore specialist’s orders indicates possible deliberate indifference)(citing Gil v. Reed, 381 F.3d 649, 662-
64 (7th Cir.2004)(reasonable fact-finder could infer deliberate indifference where prison doctor canceled
specialist's prescriptions and substituted medication which specialist had specifically warned was
dangerous for persons with plaintiff's condition) and Jones v. Simek, 193 F.3d 485, 491 (7th
Cir.1999)(allegations that prison doctor refused to provide the specific treatments ordered by specialists
alleges facts sufficient to survive a motion for summary judgment)).
458
    Vanderhoff v. Prentice, 251 Fed.Appx. 861, 862 (5th Cir. 2007)(quoting Payne v. Lynaugh, 843 F.2d
177, 178 (5th Cir.1988).
459
    No. 4:92-cv-110, 2007 WL 710136, * 4 (W.D. Mich., Mar. 6, 2007).
460
    13 F.Supp.2d 151, 210 (D. P.R.1998)(citing Howell v. Evans, 922 F.2d 712, 723 (11th Cir.1991) (failure
to provide access to a respiratory therapist could constitute deliberate indifference), vacated as settled, 931
F.2d 711 (11th Cir.1991); Waldrop v. Evans, 871 F.2d 1030, 1036 (11th Cir. 1989)(non-psychiatrist was not
competent to evaluate significance of a prisoner's suicidal gesture; prison officials must “inform competent
authorities” of medical or psychiatric needs), rehearing denied, 880 F.2d 421 (11th Cir.1989); Tillery v.
Document Number: 52892
                                                                                                Page 88 of 124


                                                                                                    23-30825.22486
        Case:3:15-cv-00318-SDD-RLB
        Case  23-30825    Document: 113-1  Page:
                                      Document   384 03/31/21
                                               594     Date Filed:
                                                               Page01/11/2024
                                                                     89 of 124




         The Court concludes that Defendants have been deliberately indifferent to the

serious risk of harm in failing to provide constitutionally adequate access to specialty care

in failing to follow orders of specialty care providers. The evidence and testimony at trial

overwhelmingly demonstrated deficiencies in: (1) timeliness and adequacy in evaluating

the need for specialty care, (2)           scheduling and tracking appointments, (3) timely

complying with testing and other diagnostic requirements, (4) executing appropriate

follow-up directions from specialty care providers; and (5) general failure to coordinate

care.

                4.      Emergency Care

         The Supreme Court has held that access to emergency medical care falls within

the “minimal civilized measure of life’s necessities.”461 The Fifth Circuit holds that, when

a gatekeeper to emergency care knowingly disregards a prisoner’s complaints, he acts

with deliberate indifference to that prison’s medical needs.462 The evidence in this case

demonstrates that Defendants have been deliberately indifferent to Plaintiffs’ care in

emergency evaluation and treatment. As set forth above, Defendants primarily rely on

EMTs to staff the ATU and evaluate medical emergencies; they fail to consistently and

adequately staff the ATU. Patients are often not properly evaluated or timely transported

to emergency facilities for proper treatment. The Court observed during its site visit that

the ATU is not a properly equipped emergency room capable of treating serious medical




Owens, 719 F.Supp. 1256, 1307 (W.D.Pa.1989) (services of cardiologist and dermatologist should be
provided), aff'd, 907 F.2d 418 (3d Cir.1990).
461
    See Wilson v. Seiter, 501 U.S. 294, 298 (1991).
462
    See Rodrigue v. Morehouse Det. Ctr., No. 09-985, 2012 WL 4483438, at *6 (W.D. La. 2012), aff'd, 557
Fed.Appx. 341 (5th Cir. 2014) (prison officials were not entitled to qualified immunity where they ignored
prisoner's requests for medical care for his obviously dire condition).
Document Number: 52892
                                                                                           Page 89 of 124


                                                                                               23-30825.22487
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   385 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   90 of 124




emergencies; hence, referral and transport to an off-site emergency room is required but

transportation and referral to outside emergency services is irregular and incompetent.

Further, Plaintiffs demonstrated that it is the general practice at LSP for EMTs and

providers to hold patients in the ATU for observation for several hours instead of transport

them off-site immediately, where appropriate. Such practices have inexorably led to

preventable deaths and avoidable exacerbation of conditions.

                5.       Inpatient/Infirmary Care

        The Court concludes that inpatient/infirmary care at LSP is constitutionally deficient

because it provides significantly inadequate staffing, which results in the inappropriate

use of inmate orderlies. Courts have held that deliberate indifference to serious medical

needs may be shown by proving a policy of deficiencies in staffing or procedures such

that the inmate is effectively denied access to adequate medical care.463

                6.       Medical Leadership/Organizational Structure

        The lack of “adequate organization and control in the administration of health

services” in a prison can support the finding of an Eighth Amendment violation.464 The

Court concludes that the cumulative effect of the lack of medical leadership and

organizational structure of the health care system at LSP meets the subjective component

of deliberate indifference based on a combination of the following deficiencies: (1) lack




463
    Ancata v. Prison Health Services, Inc., 769 F.2d 700, 704 (11th Cir.1985); see also Garcia v. Salt Lake
County, 768 F.2d 303, 308 (10th Cir.1985); White v. Cooper, No. 08–CV–1321, 2009 WL 1230008, *4-5
(W.D. La. May 5, 2009)(holding that inmate stated a viable claim under the Eighth Amendment where prison
understaffed medical infirmary); cf Braggs, 257 F. Supp. 3d at 1212 (noting that understaffing of mental
health care workers “created a substantial risk of serious harm,” including a “greater risk for continued pain
and suffering”).
464
    See DeGidio v. Pung, 920 F.2d 525, 529 (8th Cir.1990).
Document Number: 52892
                                                                                              Page 90 of 124


                                                                                                  23-30825.22488
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   386 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   91 of 124




of meaningful mortality review, quality control, and quality improvement of care;465 (2) use

of correctional personnel to manage medical decisions;466 (3) lack of peer review;467 (4)

absence of medical personnel involvement in the development and allocation of medical

budget funds;468 (5) lack of medical supervision by Lavespere;469 and (6) failure to

maintain proper credentialing.470

        Accordingly, Plaintiffs are entitled to injunctive relief to remedy the Eighth

Amendment violations discussed above.

        B.      ADA

        “The ADA is a ‘broad mandate’ of ‘comprehensive character’ and ‘sweeping

purpose’ intended ‘to eliminate discrimination against disabled individuals, and to


465
    See Braggs, 257 F. Supp. 3d at 1257 (prison’s “quality-control process is hopelessly inadequate in
implementing corrective actions”); see also, Madrid v. Gomez, 889 F.Supp. 1146, 1258 (N.D. Cal.
1995)(“First, ‘[a] primary component of a minimally acceptable correctional health care system is the
implementation of procedures to review the quality of medical care being provided.’ Lightfoot, 486 F.Supp.
at 517–18. Reviews of records to evaluate the delivery of care are essential. Capps, 559 F.Supp. at 912
(lack of chart review is part of violation); Lightfoot, 486 F.Supp. at 517 (lack of chart review is element of
violation); Todaro, 431 F.Supp. at 1160 (failure to audit system part of violation); see also Palmigiano, 443
F.Supp. at 975. In addition, peer review and death reviews should be instituted to improve the quality of
care. Capps, 559 F.Supp. at 912 (lack of peer review part of violation); Lightfoot, 486 F.Supp. at 517–18
(noting lack of peer review and expressing court's “alarm[ ]” at the “lack of regular system of review of
deaths”).
466
    See Hartman v. Correctional Med. Servs., Inc., 960 F. Supp. 1577, 1582-83 (M.D. Fla. 1996)(holding
medical provider could be found deliberately indifferent based on evidence that it permitted a person with
only a master’s degree and no processional licenses to have substantial authority over mental health
system); see also Hernandez v. County of Monterey, 110 F.Supp.3d 929, 949 (N.D. Cal. 2015)(granting
summary judgment and injunctive relief where plaintiffs’ expert found it a “major problem” that correctional
officers were conducting intake screenings: “Officers are not trained to identify persons at risk for
withdrawal, to evaluate persons who appear to be intoxicated, or to make medical decisions with respect
to isolation for this purpose. This should be done by medical professionals[,] not custody officers.”).
467
    See fn 461, supra.
468
    See Tillery v. Owens, 719 F.Supp. 1256, 1293 (W.D. Pa. 1989)(the prison staff is not involved in the
budgetary process and medical budget is prepared without any input from the hospital administrator).
469
    See id. at 1305-06; Braggs, 257 F.Supp. at 1257; Madrid, 889 F.Supp. at 1258.
470
    See Plata v. Schwarzenegger, No. C01-1351-TEH, 2005 WL 2932253, * 21 (N.D. Ca. Oct. 3, 2005)(high
number of incompetent or unqualified doctors is due in part to failure to track physician credentials and
board certifications); Tillery, 719 F.Supp.3d at 1306 (court recognized need for medical director to provide
education and assess credentials for inhouse medical staff); Laaman v. Helgemoe, 437 F.Supp. 269, 289
(D. N.H. 1977)(staff of persons with “less than full academic credentials for their positions” contributed to
constitutionally inadequate health care).
Document Number: 52892
                                                                                              Page 91 of 124


                                                                                                  23-30825.22489
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   387 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   92 of 124




integrate them into the economic and social mainstream of American life.’”471 Title II, in

particular, “focuses on disability discrimination in the provision of public services.”472

Section 504 of the RA complements Title II by “prohibit[ing] disability discrimination by

recipients of federal funding.”473 These laws “are judged under the same legal

standards, and the same remedies are available under both.”474

        As another section of this Court so aptly explained in George v. Louisiana

Department of Public Safety and Corrections:

        Under well-established precedent, prisoners may bring claims against their
        jailors for disability discrimination under Title II of the ADA and Section 504
        of the RA. Pa. Dep't of Corrections v. Yeskey, 524 U.S. 206, 209-10, 118
        S. Ct. 1952, 1954-55, 141 L.Ed. 2d 215 (1998); see also, e.g., Frame v. City
        of Arlington, 657 F.3d 215, 224-25 (5th Cir. 2011). Title II prohibits
        discrimination by “public entities,” 42 U.S.C. § 12131(1), and state punitive
        institutions fall squarely within this statutory definition, Yeskey, 524 U.S. at
        210. Typically, a plaintiff proceeding under Title II must “show that: (1) he or
        she is a ‘qualified individual with a disability’; (2) he or she is being excluded
        from participation in, or being denied the benefits of some service, program,
        or activity by reason of his or her disability; and (3) the entity which provides
        the service, program or activity is a public entity.” Douglas v. Gusman, 567
        F. Supp. 2d 877, 889 (E.D. La. 2008).

        Beyond these general guiding principles, precedent establishes two other
        cardinal rules. First, while the ADA's reasonable accommodation
        requirement does not apply under Title II, its “reasonable modifications”
        requirement—“A public entity shall make reasonable modifications in
        policies, practices, or procedures when the modifications are necessary to
        avoid discrimination on the basis of disability, unless the public entity can
        demonstrate that making the modifications would fundamentally alter the
        nature of the service, program, or activity,” 28 C.F.R. § 35.130(b)(7); 42
        U.S.C. § 12182(b)(2)(A)(ii); PGA Tour, Inc. v. Martin, 532 U.S. 661, 682,
        121 S. Ct. 1879, 1893, 149 L.Ed. 2d 904 (2001)—has been held to apply in
        the prison context. Garrett v. Thaler, 560 Fed.Appx. 375, 382 (5th Cir.

471
    Frame v. City of Arlington, 657 F.3d 215, 223 (5th Cir. 2011) (en banc) (quoting PGA Tour, Inc. v. Martin,
532 U.S. 661, 675, 121 S.Ct. 1879, 149 L.Ed.2d 904 (2001)).
472
    Id. at 224.
473
    Id.
474
    Kemp v. Holder, 610 F.3d 231, 234 (5th Cir. 2010) (citing Delano-Pyle v. Victoria Cnty., Tex., 302 F.3d
567, 574 (5th Cir. 2002)). Thus, the Court analyzes the ADA Subclass ADA and RA claims under one rubric.
Document Number: 52892
                                                                                              Page 92 of 124


                                                                                                  23-30825.22490
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   388 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   93 of 124




        2014). Consequently, while the ADA “does not require prisons to provide
        new services or programs for disabled prisoners,” these same entities “do
        have an affirmative obligation to make reasonable modifications ... so that
        a disabled prisoner can have meaningful access to existing public services
        or programs.” Borum v. Swisher Cnty., No. 2:14-CV-127-J, 2015 U.S. Dist.
        LEXIS 8628, at *21, 2015 WL 327508, at *9 (N.D. Tex. Jan. 26, 2015)
        (emphasis added). Second, the Fifth Circuit has held that a defendant's
        failure to make the reasonable modifications necessary to adjust for the
        unique needs of disabled persons can constitute intentional discrimination
        under the ADA. See, e.g., Melton v. Dall. Area Rapid Transit, 391 F.3d 669,
        672 (5th Cir. 2004); Garrett v. Thaler, 560 Fed.Appx. 375, 382 (5th Cir.
        2014). A different kind of intent, in other words, governs in ADA cases. See
        Garrett, 560 Fed.Appx. at 385.475

        In Pennsylvania Department of Corrections v. Yeskey, the Supreme Court held

that Title II applied to correctional facilities, recognizing that “[m]odern prisons provide

inmates with many recreational ‘activities,’ medical ‘services,’ and educational and

vocational ‘programs,’ all of which at least theoretically ‘benefit’ the prisoners (and any of

which disabled prisoners could be ‘excluded from participation in’).”476 In light of Yeskey,

numerous courts have recognized that:

        [b]ecause of the unique nature of correctional facilities, in which jail staff
        control nearly all aspects of inmates’ daily lives, most everything provided
        to inmates is a public service, program or activity, including sleeping, eating,
        showering, toileting, communicating with those outside the jail by mail and
        telephone, exercising, entertainment, safety and security, the jail’s
        administrative, disciplinary, and classification proceedings, medical, mental
        health and dental services, the library, educational, vocational, substance
        abuse and anger management classes and discharge services.477


475
     No. 3:14-00338-JWD-EWD, 2016 WL 3568109 at *8 -*9 (M.D. La. June 23, 2016).
476
     524 U.S. 206, 210 (1998).
477
     Hernandez, 110 F. Supp. 3d at 935-36; see also Armstrong v. Schwarzenegger, 622 F.3d 1058, 1068
(9th Cir. 2010) (noting that jails provide inmates “with various positive opportunities, from educational and
treatment programs, to opportunities to contest their incarceration, to the fundamentals of life, such as
sustenance, the use of toilet and bathing facilities, and elementary mobility and communication”); Phipps
v. Sheriff of Cook Cty., 681 F. Supp. 2d 899, 916 (N.D. Ill. 2009) (collecting cases holding that in the prison
setting, “services, programs, and activities” include facilities such as showers, toilets, and sinks); Jaros v.
Ill. Dep’t of Corrs., 684 F.3d 667, 672 (7th Cir. 2012) (same); Arce v. La. State, 226 F. Supp. 3d 643, 650
n.7 (E.D. La. 2016) (holding that “[t]he use of prison telephones is a service or activity protected by the
ADA.”)(citing Spurlock v. Simmons, 88 F. Supp. 2d 1189, 1195 (D. Kan. 2000)).
Document Number: 52892
                                                                                               Page 93 of 124


                                                                                                   23-30825.22491
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   389 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   94 of 124




Title II implementing regulations note that:

        [D]etention and correctional facilities are unique facilities under Title II.
        Inmates cannot leave the facilities and must have their needs met by the
        corrections system, including needs relating to a disability. If the detention
        and correctional facilities fail to accommodate prisoners with disabilities,
        these individuals have little recourse, particularly when the need is great
        (e.g., an accessible toilet; adequate catheters; or a shower chair). It is
        essential that corrections systems fulfill their nondiscrimination and program
        access obligations by adequately addressing the needs of prisoners with
        disabilities, which include, but are not limited to, proper medication and
        medical treatment, accessible toilet and shower facilities, devices such as
        a bed transfer or a shower chair, and assistance with hygiene methods for
        prisoners with physical disabilities.478

        It is generally undisputed479 in this matter that the members of the ADA Subclass

are qualified individuals with disabilities that substantially limit one or more major life

activities and that LSP is a public entity. Thus, the necessary determination for the Court

is whether Plaintiffs carried their burden of demonstrating that members of the Subclass

are being excluded from participation in, or being denied the benefits of some service,

program, or activity by reason of their disabilities. Notably, as the law pertains to a class

of disabled inmates, rather than separate individual claims, Plaintiffs’ burden is to

demonstrate a systemic failure; they are not required to demonstrate a failure of policies

applied to each class member individually.480


478
    28 C.F.R Part 35, App. A.
479
    Defendants do dispute that certain conditions complained of by specific Plaintiffs in this matter do not
constitute disabilities under the ADA. The Court will address those below, where appropriate.
480
    See P.V. ex rel. Valentin v. School Dist. of Philadelphia, 289 F.R.D. 227, 233–34 (E.D. Pa. 2013)
(“Defendants fail to recognize, however, that the central tenant of Plaintiffs' Complaint alleges a systemic
failure, not a failure of the policy as applied to each member individually.”); see also Parsons v. Ryan, 754
F.3d 657, 680 (9th Cir. 2014)(explaining that plaintiffs sufficiently proved the system-wide policies alleged
with “formal [prison] policies, admissions by [prison] officials in discovery documents, declarations by the
named plaintiffs ... and [plaintiffs'] expert report”); Brand v. Comcast Corp., Inc., 302 F.R.D. 201, 219
(N.D.Ill.2014) (relying on class members' testimony to find “significant proof of the common question of
whether a hostile work environment existed”); Olson v. Brown, 284 F.R.D. 398, 400 (N.D.Ind.2012) (finding
that the named plaintiff showed that a jail's practices “caused inmates to suffer the same potential injury,
which tie[d] all their jail standards claims together”).
Document Number: 52892
                                                                                             Page 94 of 124


                                                                                                 23-30825.22492
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   390 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   95 of 124




       1.      Architectural Barriers/Facilities/Segregation

       Under its ADA rulemaking power, the DOJ has promulgated rules requiring public

entities such as prisons to comply with certain architectural accessibility standards.481

Construction or alterations that began after July 26, 1992, but prior to September 15,

2010, must comply with either the 1991 ADA Standards for Accessible Design (“1991

Standards”) or the Uniform Federal Accessibility Standards (“UFAS”).482 If physical

construction or alterations commenced on or after September 15, 2010, and before March

15, 2012, the new construction or alterations must comply with either the 2010 ADA

Standards for Accessible Design (“2010 Standards”), UFAS, or the 1991 Standards.483 If

physical construction or alterations commenced on or after March 15, 2012, the new

construction or alterations must comply with the 2010 Standards.484

       If an existing facility has not been altered since these standards first took effect, it

must still operate each service, program, or activity in a manner that, when viewed in its

entirety, the service, program, or activity is readily accessible to and usable by individuals

with disabilities.485 A public entity may fulfill this “programmatic access” mandate by

constructing new facilities or altering its existing facilities to bring them into compliance

with the accessibility requirements of Section 35.151, or through alternative methods such

as “redesign or acquisition of equipment, reassignment of services to accessible

buildings, assignment of aides to beneficiaries, home visits, [or] delivery of services at




481
    See 42 U.S.C. § 12134(a).
482
    28 C.F.R. § 35.151(c)(1). Courts often refer to the 1991 Standards and the ADAAG interchangeably.
483
    28 C.F.R. § 35.151(c)(2).
484
    Id. § 35.151(c)(3).
485
    Id. § 35.150(a).
Document Number: 52892
                                                                                        Page 95 of 124


                                                                                            23-30825.22493
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   391 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   96 of 124




alternate accessible sites.”486

        There are, however, exceptions to the general principle of affording existing

facilities greater flexibility in providing programmatic access. In choosing among methods

of compliance, the facility must give priority to methods that provide program access in

the most integrated setting appropriate.487 Further, the facility must provide “meaningful

access” to the programs and services offered.488 Finally, the facility’s programs and

services must be “readily accessible.”489

        The implementation of Title II and the construction and access requirements, as it

pertains to ensuring public facilities are accessible to individuals with disabilities, are

articulated in the ADAAG regulations. These regulations provide the minimum technical

requirements for ADA compliance for newly constructed facilities and for alterations made

to existing facilities. 28 C.F.R. pt. 36 app. A. In Greer v. Richardson Independent School

Dist., the Fifth Circuit explained:

        When enacting the ADA, Congress acknowledged that some public entities
        operating then-existing buildings and structures would be unable to comply
        with all technical aspects of the new ADAAG regulations. Accordingly, the

486
    Id. § 35.150(b)(1).
487
    Id.
488
    See, Melton v. Dall. Area Rapid Transit, 391 F.3d 669, 672 (5th Cir. 2004)(“Supreme Court precedent
suggests that denial of “meaningful access” is equivalent to a full denial of access under the ADA.”)(citing
Choate, 469 U.S. at 301 (stating in the context of the Rehabilitation Act that a benefit cannot be offered in
a way that “effectively denies” otherwise qualified handicapped individuals the “meaningful access” to which
they are entitled)); Wright v. N.Y. State Dep't of Corr. & Cnty. Supervision, 831 F.3d 64, 73 (2d Cir. 2016)
(recognizing that “meaningful access” requires the provision of accommodations that overcome structural
impediments limiting access to a prison’s services); Chaffin v. Kan. State Fair Bd., 348 F.3d 850, 857 (10th
Cir. 2003) (collecting cases holding that ADA requires more than mere physical access, and concluding
that barriers to accessible dining, restrooms, and parking prevented “meaningful access” to state
fairgrounds, even though wheelchair users were able to attend).
489
    See Chaffin, 348 F.3d at 861 (quoting Shotz v. Cates, 256 F.3d 1077, 1080 (11th Cir. 2001)). In Chaffin,
the Court held that “the ‘individual elements’ that [were] not handicap accessible add[ed] up to a wholesale
exclusion of disabled individuals from buildings, restrooms, dining areas, and seating areas across the
entire fairgrounds.” Id. See also Saunders v. Horn, 959 F. Supp. 689, 697 (E.D. Pa. 1996) (allegation that
prison did not provide “readily accessible bathroom and shower facilities” stated a claim under Title II’s
program access requirement).
Document Number: 52892
                                                                                             Page 96 of 124


                                                                                                 23-30825.22494
         Case:3:15-cv-00318-SDD-RLB
         Case  23-30825    Document: 113-1  Page:
                                       Document   392 03/31/21
                                                594     Date Filed:
                                                                Page01/11/2024
                                                                      97 of 124




          regulations promulgated by the United States Attorney General to
          implement the requirements of Title II differentiate between structures built
          prior to the Act taking effect in January 1992 (“existing facilities”) and
          facilities built or altered after January 1992. Tennessee v. Lane, 541 U.S.
          509, 531–32, 124 S.Ct. 1978, 158 L.Ed.2d 820 (2004); 28 C.F.R. § 35.104.
          The accessibility requirements for existing facilities are less stringent and
          more flexible than for new facilities. “[I]n the case of older facilities, for which
          structural change is likely to be more difficult, a public entity may comply
          with Title II by adopting a variety of less costly measures, including
          relocating services to alternative, accessible sites and assigning aides to
          assist persons with disabilities in accessing services.” Lane, 541 U.S. at
          532, 124 S.Ct. 1978 …

          When considering ADA compliance for such existing structures, the
          touchstone is thus not the facility's technical compliance with the ADAAG,
          but is instead “program accessibility.” “A public entity shall operate each
          service, program, or activity so that the service, program, or activity, when
          viewed in its entirety, is readily accessible to and usable by individuals with
          disabilities.” 28 C.F.R. § 35.150(a). Making a program or activity accessible
          under this standard does not require a public entity to make all of its existing
          facilities accessible to disabled individuals nor does it require a public entity
          to take an action that would place an undue burden on the entity. Id. at
          (a)(1), (3). Furthermore, the regulations do not provide any objective criteria
          for evaluating program accessibility. While an existing facility's compliance
          with the ADAAG regulations may be informative, program accessibility is
          ultimately a subjective determination by viewing the program or activity at
          issue in its entirety and not solely by evaluating individual elements of the
          facility where the program is held.490

          The Court acknowledges the requirement in Greer that program accessibility

should be viewed in its entirety and not solely by evaluating individual elements of a

facility. However, that Mazz did not survey LSP entirely does not undermine his findings

and conclusions regarding the medical dormitories that house disabled inmates. Mazz

testified that he did not have access to the construction or alteration dates of LSP’s

facilities; thus, he assumed that all facilities would be subject to the more flexible

programmatic access requirement that applies to existing constructions.491                       Mazz


490
      472 Fed.Appx. 287, 291-92 (5th Cir. 2012).
491
      Rec. Doc. No. 546 at 15:1-7; 12:5-15; 14:15-15:22. See also PX 7.
Document Number: 52892
                                                                                       Page 97 of 124


                                                                                           23-30825.22495
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   393 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   98 of 124




followed the industry-standard methodology for evaluating programmatic access, and

Defendants have acknowledged that courts routinely rely on the 1991 Standards for

guidance in determining whether a facility’s programs are accessible.492

        Defendants maintain they have overcome architectural barriers in these facilities

by way of alternative methods of compliance in the form of using trained health care

orderlies to assist disabled inmates with their needs.

        The Court rejects Plaintiffs’ assertion that providing alternative methods of access

to disabled inmates through health care orderlies does not comply with the law “in

theory.”493      As set forth above, “a public entity may comply with Title II by adopting a

variety of less costly measures, including … assigning aides to assist persons with

disabilities in accessing services. Only if these measures are ineffective in achieving

accessibility is the public entity required to make reasonable structural changes.”494

Further, courts must be “sensitive to the fact that prisons are unique environments with

heightened security and safety concerns.”495               However, “because the ADA and RA

‘unmistakably’ apply to State prisons and prisoners,496 [DOC] is statutorily required to

ensure that all of their inmates, including [plaintiffs], have the opportunity effectively to

access the services and programs [DOC] provides.”497

        Applying this jurisprudence to facts found above, the Court finds that it is a

generally acceptable and lawful practice to implement a health care orderly assistance


492
    Rec. Doc. No. 497 at 40 (citing Greer, 472 F. App’x at 292 n.3).
493
    Rec. Doc. No. 573 at 272.
494
    Garrett v. Thaler, 560 Fed. Appx. 375, 382 (5th Cir. 2014)(internal citations and quotations omitted).
495
    Wright v. N.Y. State Dep't of Corr., 831 F.3d 64, 75 (2d Cir. 2016)(citing Pierce v. Cty. of Orange, 526
F.3d 1190, 1216–17 (9th Cir. 2008)).
496
    Id. (quoting Yeskey, 524 U.S. at 209).
497
    Id.
Document Number: 52892
                                                                                            Page 98 of 124


                                                                                                23-30825.22496
      Case:3:15-cv-00318-SDD-RLB
      Case  23-30825    Document: 113-1  Page:
                                    Document   394 03/31/21
                                             594     Date Filed:
                                                             Page01/11/2024
                                                                   99 of 124




program to provide disability access.              However, Plaintiffs carried their burden of

demonstrating that this program, in practice, is ineffective in achieving accessibility with

respect to assistance in the dorms themselves (i.e., bathing, showering, using bathrooms,

transfers,    and     transport).    This     is   largely       due   to   understaffing   and   the

abuse/neglect/misconduct of the orderlies. As to training, the Court finds the training

program itself to be adequate in content but finds lacking the “as-needed” explanation for

how often training occurs. Further, the Court finds that more oversight of the orderlies in

this program is glaringly necessary to prevent the too-often instances of abuse, neglect,

and misconduct.

        Certainly, where reasonable alternative methods achieve compliance, structural

changes to existing facilities need not be made.498 However, where there is no evidence

to conclude that such methods are shown to ameliorate barriers presented by structural

deficiencies, alterations must be made.499 In Pierce v. County of Orange, the Ninth Circuit

highlighted how the use of deputy or other inmate assistance cannot overcome all

physical barriers to access: “Plaintiffs …presented evidence to show that deficiencies

were not remedied.”500 Whether there was testimony that witnesses observed

“detainees—not deputies—struggling to lift a fellow wheelchair-bound detainee over a

foot-high retention wall in one of Ward C's inaccessible showers” and disabled inmates

“forced to rely on fellow inmates for assistance when faced with inaccessible bathroom

facilities,” the court concluded that: “The impediment posed by such a barrier highlights




498
    28 C.F.R. § 35.150(b)(1).
499
    Pierce v. County of Orange, 526 F.3d 1190 (9th Cir. 2008).
500
    Id. at 1219.
Document Number: 52892
                                                                                        Page 99 of 124


                                                                                            23-30825.22497
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59439503/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   100 of 124




the inadequacy of deputy or other inmate assistance.”501 In this case, the Court finds that

orderly assistance has been inadequate to overcome the structural barriers to access for

disabled inmates.

        Regarding segregation of disabled inmates, which denies them access to

programs and services provided to non-disabled inmates at LSP, the Court finds that the

manner in which disabled inmates are segregated violates the ADA. Along with several

other regulations promulgated under Title II of the ADA is the “integration regulation,”

which provides that: “A public entity shall administer services, programs, and activities in

the most integrated setting appropriate to the needs of qualified individuals with

disabilities.”502 “[T]he most integrated setting appropriate” is “a setting that enables

individuals with disabilities to interact with non-disabled persons to the fullest extent

possible.”503     Evaluating this regulation, the Supreme Court has concluded that:

“Unjustified isolation ... is properly regarded as discrimination based on disability.”504

Many courts thereafter have acknowledged that the unnecessary segregation of the

disabled in institutions is a form of illegal discrimination against the disabled under the

ADA.505      Unnecessary segregation of individuals with disabilities in the provision of

public services is itself a form of “discrimination” within meaning of ADA and RA,

independent of discrimination that arises when individuals with disabilities receive

different services from those provided to individuals without disabilities.506 Based on the


501
    Id. at 1219-20.
502
    Henderson v. Thomas, 913 F.Supp.2d 1267, 1287 (M.D. Ala. 2012)(quoting 28 C.F.R. § 35.130(d)).
503
    28 C.F.R. Pt. 35, App. B (2011).
504
    Olmstead v. L.C. ex rel Zimring, 527 U.S. 581, 597 (1999).
505
    See, e.g., Fisher v. Oklahoma Health Care Authority, 335 F.3d 1175 (10th Cir. 2003)
506
    Helen L. v. DiDario, 46 F.3d 325, 335 (3rd Cir. 1995), rehearing and rehearing in banc denied, certiorari
denied, 516 U.S. 813.
Document Number: 52892
                                                                                            Page 100 of 124


                                                                                                 23-30825.22498
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59439603/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   101 of 124




findings of fact above, the Court concludes that Defendants have failed to demonstrate

the necessity of, and justify the proffered reasons for, the segregation of disabled inmates

in the manner LSP employs. The proximity of the medical dorms to the ATU and

purported availability of inmate orderly assistance does not overcome the general denial

of access to various programs, activities, and services available to non-disabled inmates.

        2.      Methods-of-Administration Claim

        The Subclass Plaintiffs’ methods-of-administration claim is comprised of the

following allegations which, analyzed together, operate to deny programmatic access to,

and discriminate against, disabled inmates: LSP (1) fails to maintain a qualified and

adequately trained ADA Coordinator; (2) fails to maintain and ADA advisory committee

as required by its own policies; (3) inadequately trains its staff regarding the ADA; (4) fails

to inform patients of their rights and the procedures for requesting accommodations; (5)

fails to appropriately process accommodation requests and disability-related grievances;

(6) fails to identify and track patients’ disabilities and accommodation requests; and (7)

charges patients co-pays to evaluate their accommodation requests.507 The Court found

that Plaintiffs carried their burden on all of the above, except (4) and (7).

        “A public entity may not ... utilize criteria or methods of administration ... [t]hat have

the purpose or effect of defeating or substantially impairing accomplishment of the

objectives of the public entity's program with respect to individuals with disabilities.”508 “In

other words, a public entity cannot actively undercut the ability of a public program to

benefit those with disabilities.”509 Some of Plaintiffs’ complaints regarding methods of


507
    Rec. Doc. No. 573 at 283-85.
508
    28 C.F.R. § 35.130(b)(3)(ii).
509
    Van Velzor v. City of Burleson, 43 F.Supp.3d 746, 752 (N.D. Tex. 2014).
Document Number: 52892
                                                                                   Page 101 of 124


                                                                                       23-30825.22499
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59439703/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   102 of 124




administration trigger obligations imposed on LSP by Title II’s self-evaluative regulations

which, Defendants argue, as a court in the Southern District of Texas held, that “[t]he Fifth

Circuit has not specifically ruled on whether there is a private cause of action under”510

the “self-evaluative procedures required by 28 C.F.R. §§ 35.105-107.”511                     While not

specifically addressing the numbered regulations at issue herein, the Fifth Circuit did hold,

generally, in Frame:

        As mentioned, there is no question that Title II and § 504 are enforceable
        through an implied private right of action. Moreover, to the extent Title II's
        implementing regulations “simply apply” Title II's substantive ban on
        disability discrimination and do not prohibit conduct that Title II permits, they
        too are enforceable through Title II's private right of action. This is
        because when Congress intends a statute to be enforced through a private
        right of action, it also “intends the authoritative interpretation of the statute
        to be so enforced as well.”512

In so ruling, the Frame court relied on the Supreme Court’s decision in Alexander v.

Sandoval, where it explained:

        Such regulations, if valid and reasonable, authoritatively construe the
        statute itself, see NationsBank of N.C., N.A. v. Variable Annuity Life Ins.
        Co., 513 U.S. 251, 257, 115 S.Ct. 810, 130 L.Ed.2d 740 (1995); Chevron
        U.S.A. Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 843–
        844, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984), and it is therefore meaningless
        to talk about a separate cause of action to enforce the regulations apart
        from the statute. A Congress that intends the statute to be enforced through
        a private cause of action intends the authoritative interpretation of the
        statute to be so enforced as well.513




510
    Rec. Doc. No. 556 at 183 (quoting Green v. City of Mission, No. 7:18-CV-00049, 2018 WL 2200094, at
*11 (S.D. Tex. May 14, 2018)).
511
    Id.
512
    Frame, 657 F.3d at 224 (internal citations omitted)(emphasis added).
513
    Alexander v. Sandoval, 532 U.S. 275, 284 (2001)(citing NationsBank of N.C., N.A. v. Variable Annuity
Life Ins. Co., 513 U.S. 251, 257, 115 S.Ct. 810, 130 L.Ed.2d 740 (1995); Chevron U.S.A. Inc. v. Natural
Resources Defense Council, Inc., 467 U.S. 837, 843–844, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984)). While
this case addressed the implementing regulations for Title VI, the Court cited to cases involving the ADA
and RA to support the general principle.
Document Number: 52892
                                                                                        Page 102 of 124


                                                                                              23-30825.22500
         Case:3:15-cv-00318-SDD-RLB
        Case    23-30825    Document: 113-1 Page:
                                       Document 59439803/31/21
                                                         Date Filed:
                                                                Page01/11/2024
                                                                     103 of 124




Accordingly, the Court interprets the language in Frame to extend a private cause of

action under Title II’s implementing regulations where the claims relate to a systemic

failure to comply with the ADA.

           Alternatively, as the court stated in Dunn v. Dunn, assuming for the sake of

argument that Defendants are correct that these regulations do not create a private right

of action:

           This would not, however, have made them irrelevant. They are binding
           regulations promulgated by the Department of Justice (which would be
           empowered to bring an enforcement action). When courts have found them
           not to be privately enforceable, as in Ability Ctr. of Greater Toledo v. City of
           Sandusky, 385 F.3d 901, 913–14 (6th Cir.2004) (relying on Alexander v.
           Sandoval, 532 U.S. 275, 121 S.Ct. 1511, 149 L.Ed.2d 517 (2001)), they
           have reasoned that the regulations are designed to facilitate, but do more
           than merely describe, compliance with the ADA, such that “it is conceivable
           that a public entity could fully satisfy its obligations to accommodate the
           disabled while at the same time fail to put forth a suitable transition plan.”

           All this means is that the Department's failure to implement a transition plan
           would not have constituted a per se violation; plaintiffs could not have
           shown liability merely by proving that the Department had no transition plan,
           without showing that the Department had, as a result, failed to
           accommodate prisoners with disabilities. That said, plaintiffs could have
           argued, and proven at trial, that the Department's failure to do the things
           required by these regulations had the effect of discriminating.514

           Following this reasoning, even if Defendants are correct that no private cause of

action exists to enforce the self-evaluation regulations at issue, clearly the violation(s) of

such regulations can support a claim of general, system-wide noncompliance, and courts

across the country have not been unwilling to order injunctive relief mandating compliance

therewith.




514
      318 F.R.D. 652, 663-64 (M.D. Al. 2016)(internal citations omitted).
Document Number: 52892
                                                                                   Page 103 of 124


                                                                                        23-30825.22501
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59439903/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   104 of 124




         Furthermore, privately enforceable methods-of-administration regulation would

give rise to the claims Plaintiffs have raised. The Dunn court stated:

         Indeed, there is another—privately enforceable—ADA regulation which
         makes clear that policies and practices (or their absence) which result in
         discrimination against people with disabilities are actionable under the ADA,
         even if the policies and practices (such as the three regulations discussed
         above) are not themselves required by the statute. Under this regulation,
         plaintiffs in an ADA case can challenge a policy or practice—whether it is
         one described in another regulation or simply one articulated by the plaintiffs
         themselves—if it causes the public entity to discriminate against them,
         including by failing to accommodate them.515

         Additionally, “an omission as well as a commission can be an actionable method

of administration.”516 The Dunn court noted:

         The methods-of-administration regulation makes clear that a know-nothing,
         do-nothing policy of non-administration is a privately actionable violation of
         the ADA, at least when plaintiffs can show that it has the effect of
         discriminating. As Justice Marshall explained in Alexander v. Choate,
         Congress designed the Rehabilitation Act, the predecessor statute to the
         ADA, to address not only “invidious animus,” but also, more commonly,
         “thoughtlessness and indifference—[ ] benign neglect.” 469 U.S. 287, 295,
         105 S.Ct. 712, 83 L.Ed.2d 661 (1985). Courts have consistently explained
         that “Title II [of the ADA] imposes affirmative obligations on public entities
         and does not merely require them to refrain from intentionally discriminating
         against the disabled.” Ability Ctr. of Greater Toledo v. City of Sandusky, 385
         F.3d 901, 910 (6th Cir.2004); see also Disabled in Action v. Bd. of Elections
         in City of N.Y., 752 F.3d 189, 200–01 (2d Cir.2014); Toledo v. Sanchez, 454
         F.3d 24, 32 (1st Cir.2006); Bennett–Nelson v. La. Bd. of Regents, 431 F.3d
         448, 454–55 (5th Cir.2005); Constantine v. Rectors & Visitors of George
         Mason Univ., 411 F.3d 474, 488 (4th Cir.2005). Under the ADA, a public
         entity must be “proactive.” Clemons v. Dart, 168 F.Supp.3d 1060, 1068–69,
         2016 WL 890697, at *6 (N.D.Ill. Mar. 9, 2016) (Tharp, J.).517

         A prison’s failure to follow its own, internal procedures is also relevant to this overall

determination. In Holmes v. Godinez, an ADA class challenge brought by handicapped



515
    Id. at 664.
516
    Id. at 665.
517
    Id. at 665 n. 12.
Document Number: 52892
                                                                                    Page 104 of 124


                                                                                         23-30825.22502
         Case:3:15-cv-00318-SDD-RLB
        Case    23-30825    Document: 113-1 Page:
                                       Document 59440003/31/21
                                                         Date Filed:
                                                                Page01/11/2024
                                                                     105 of 124




inmates against the prison, the plaintiffs alleged violations of the ADA by a system-wide

policies and practices, including the prison’s failure to follow its own, internal ADA

directives and/or policies or failure of those policies to adequately remedy barriers to

access: “Whether the ADA Directive—an express and undisputed statement of IDOC

system-wide policy—satisfies IDOC's obligations under the ADA is indeed a common

question apt to drive resolution of the litigation.518

           Applying the foregoing law and jurisprudence to the facts found above, the Court

finds that the LSP methods of administration at LSP violate the ADA and RA by failing to

provide adequate access and accommodations to its disabled inmates due to neglect

and/or failure to follow both Title II’s implementing regulations and failure to follow some

of LSP’s own ADA Directives. As the court noted in Holmes v. Godinez:

           Plaintiffs present a slew of different programs, activities, and services for
           which they contend IDOC fails to provide reasonable accommodations
           under the ADA. These include: (1) reception and classification; (2)
           orientation; (3) educational and vocational programs; (4) work programs; (5)
           counselor services; (6) medical, mental health, and rehabilitative services;
           (7) religious services; (8) telephones; (9) televisions; (10) library services;
           (11) disciplinary proceedings; (12) emergency and routine notification
           services; (13) grievance process; and (14) pre-parole services. (See Compl.
           ¶¶ 63–140.) In conducting our analysis, we consider Plaintiffs' claims
           as to each one of these programs separately. See Fed. R. Civ. P. 56(g);
           Phipps, 681 F.Supp.2d at 919 (ruling separately on wheelchair-bound
           plaintiffs' three claims that prison did not provide them shower chairs,
           shower bars, and accessible sinks). We reiterate that an ADA violation
           exists only if the defendant's action or inaction prevents the plaintiff from
           participating in a program, activity or service. Certain of Plaintiffs'
           complaints, such as IDOC's alleged failure to properly train its employees
           and centrally track hearing impaired offenders, do not specifically target
           programs, activities, or services, and thus cannot alone sustain a claim
           under the ADA. (See SJ Reply at 4, Dkt. 258.) Despite this limitation, that
           evidence is still relevant to the extent such inaction contributed to a


518
      311 F.R.D. 177, 219 (N.D. Ill. 2015).
Document Number: 52892
                                                                                  Page 105 of 124


                                                                                       23-30825.22503
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59440103/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   106 of 124




        widespread denial of access to the programs, activities, and services
        that Plaintiffs do challenge.519

                a.      ADA Coordinator/Advisory Committee

        Public prisons are required by ADA implementing regulations to maintain an ADA

Coordinator. 28 C.F.R. § 35.107 provides that:

        A public entity that employs 50 or more persons shall designate at least
        one employee to coordinate its efforts to comply with and carry out its
        responsibilities under this part, including any investigation of any complaint
        communicated to it alleging its noncompliance with this part or alleging any
        actions that would be prohibited by this part.520

Additionally, LSP Directive 01.016 states:

        The ADA coordinator shall possess the educational background,
        experience and skills necessary to carry out all of the duties and
        responsibilities of the position, and have knowledge and experience in
        dealing with the legal rights of persons with disabilities and the obligations
        of public entities under Federal and State disability laws.521

        Although it is undisputed that LSP has maintained a designated ADA Coordinator

for all time periods relevant to this litigation, the Court finds that the ADA Coordinators

are mere “window dressing.” They have not been sufficiently trained and educated to

effectively carry out their obligations under the ADA; in some instances, this role has been

secondary to other roles at LSP, and oversight is lacking. The lack of a qualified ADA

Coordinator contributes to LSP’s system-wide failure to comply with the ADA. Likewise,

the inexplicable ignorance of the LSP Directive requiring an ADA advisory committee,

while not violative by itself, demonstrates and contributes to LSP’s systemic failure to

ensure compliance with the ADA.



519
    Id. at 226 (emphasis added).
520
    Emphasis added.
521
    JX 7-a at 1.
Document Number: 52892
                                                                              Page 106 of 124


                                                                                   23-30825.22504
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59440203/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   107 of 124




                        b.      Staff Training

        The Court found that LSP staff are not adequately trained to identify ADA issues

within the disabled inmate population. This lack of training contributes to the systemic

failure to accommodate disable inmates as required by the ADA. In Clark v. California,

the court found that staff training, including ADA training similar to the training exhibited

in this case, was “essential to the provision of necessary services … and “apparently

insufficient on its own to meet the statutory minimal levels of care.”522 The court also

stated that: “The current training regimen is clearly inadequate to prepare staff members

to adequately preserve Plaintiffs' rights,” and the court ordered further injunctive relief

regarding the training issue.523 Similarly, in Armstrong v. Davis, the district court found

an ADA violation where some staff received a one-hour training that many employees

could not recall, while others received “virtually no general training pertaining to the

identification and accommodation of disabled prisoners and parolees,” because “[w]ithout

training, even when staff have sufficient information before them to identify and

accommodate disabilities, they do not do so because they lack the necessary skills.”524

The Ninth Circuit affirmed in relevant part the district court’s order requiring all personnel

with relevant roles to undergo training “in the general requirements of the ADA, disability

awareness, the appropriate method of determining whether a prisoner adequately

understands written and verbal communications, and other relevant policies and

procedures.”525


522
    739 F.Supp.2d 1168, 1231 (N.D. Cal. 2010).
523
    Id. at 1234.
524
    No. 94-2307 CW,1999 WL 35799705 at *31 (N.D. Cal. Dec. 22, 1999).
525
    275 F.3d 849, 859 (9th Cir. 2001), abrogated on other grounds by Johnson v. California, 543 U.S. 499
(2005)).
Document Number: 52892
                                                                                        Page 107 of 124


                                                                                              23-30825.22505
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59440303/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   108 of 124




                c.       Failures of Notice/Processing/Tracking

        While Plaintiffs failed to carry their burden of demonstrating that Defendants fail to

provide notice of their ADA rights and LSP’s procedures in widespread fashion, Plaintiffs

did prove that Defendants do not follow their own procedures in practice, fail to

appropriately process accommodation requests, and fail to track inmates’ disabilities and

accommodation requests, all of which contribute to LSP’s systemic failure to comply with

the ADA. In Armstrong v. Brown, the Ninth Circuit affirmed the district court’s finding that

class members’ ADA rights were violated where they lacked access to “functional and

timely grievance procedures at county jails to request and obtain disability

accommodations.”526 Similarly, in Armstrong v. Davis, the Ninth Circuit held that the

prison’s accommodations procedures violated ADA where the practice was “to rely

primarily on Department employees untrained in issues of disability to determine whether

an individual is disabled or not, what accommodations are appropriate if he is, and

whether those accommodations will be provided.”527 The court also held that: “Because

the regulations implementing the ADA require a public entity to accommodate individuals

it has identified as disabled, some form of tracking system is necessary in order to enable

the Board to comply with the Act.”528

                         3.      Failure to Accommodate

        “The     ADA       provides      for    reasonable       accommodation,           not    preferred


526
    857 F.Supp.2d 919, 933 (N.D. Ca. 2012).
527
    275 F.3d at 863.
528
    Id. at 876. See also Hernandez, 110 F. Supp. 3d at 960 (requiring defendants to propose a remedial
plan that would include a “system for identifying and tracking all inmates who are qualified individuals with
disabilities,” as well as “a system for identifying and tracking the reasonable accommodations necessary
for qualified inmates with disabilities to participate in programs, services and activities offered by
Defendants at the jail”).
Document Number: 52892
                                                                                            Page 108 of 124


                                                                                                 23-30825.22506
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59440403/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   109 of 124




accommodation.”529 Even in a prison setting, “[t]he accommodation of the inmate's

disability need not be ideal; instead, it need only be reasonable and effective.530 Further,

a correctional facility is afforded deference in its determination of an appropriate

accommodation.”531 However, in evaluating a disability for purposes of the ADA, courts

should be cautious not to confuse a disagreement with, or inadequate medical treatment

for, a disability with intentional discrimination because of a disability. Indeed, this Court

held in George v. Louisiana Dep't of Pub. Safety & Corr., “[g]enerally, the ADA prohibits

discrimination because of disability, not inadequate treatment for disability. Thusly

interpreted by sundry courts, the ADA is not violated by a prison failing to attend to the

medical needs of its disabled prisoners.”532

                         a.      Availability of Assistive Devices and Auxiliary Aids

        28 C.F.R. § 35.160(b)(1) requires that “[a] public entity shall furnish appropriate

auxiliary aids and services where necessary to afford individuals with disabilities,

including applicants, participants, companions, and members of the public, an equal

opportunity to participate in, and enjoy the benefits of, a service, program, or activity of a

public entity.” Indeed, “[t]he ADA does not create a remedy for medical malpractice.”533


529
    Stafford v. King, No. 11–242, 2013 WL 4833863, at *2 (S.D. Miss. Sept. 11, 2013) (citing EEOC v. Agro
Distrib., 555 F.3d 462, 471 (5th Cir. 2009)).
530
    Arce v. Louisiana, 226 F.Supp.3d 643, 651 (E.D. La. 2016)(citing Wells v. Thaler, 460 Fed.Appx. 303,
313 (5th Cir. 2012)).
531
    Id. (citing Wells, at 313).
532
    No. CV-3:14-00338-JWD-EWD, 2016 WL 3568109, at *10 (M.D. La. June 23, 2016).
533
    Walker v. LeBlanc, No. 13-553-JJB-RLB, 2015 WL 1276578, *8 (M.D. La. Mar. 19, 2015)(quoting Brown
v. Wilson, 2012 WL 6719464, *3 (N.D.Tex. Dec. 27, 2012)(quoting Moore v. Prison Health Services, Inc.,
24 F.Supp.2d 1164, 1168 (D.Kan.1998), affirmed, 201 F.3d 448 (10th Cir.1999))(internal quotation marks
omitted); see also Nottingham v. Richardson, 499 Fed. Appx. 368, 377 (5th Cir.2012)(finding that “[t]he
ADA is not violated by ‘a prison's simply failing to attend to the medical needs of its disabled prisoners'”);
Hay v. Thaler, 470 Fed. Appx. 411, 418 (5th Cir.2012) (finding no ADA violation where the plaintiff
complained that prison officials refused to provide him with dentures but where the plaintiff made no
showing that the refusal was “by reason of his disabilities”); Moore v. Prison Health Services, Inc., 201 F.3d
448 (5th Cir.1999)(noting that the ADA “afford[s] disabled persons legal rights regarding access to programs
Document Number: 52892
                                                                                             Page 109 of 124


                                                                                                  23-30825.22507
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59440503/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   110 of 124




         Another section of this Court noted in Hacker v. Cain that “’[t]he ADA prohibits

discrimination because of disability, not inadequate treatment for disability.’”534 Thus,

“neither the RA nor the ADA is violated by a prison's simply failing to attend to the medical

needs of its disabled prisoners.”535 Just like in medical indifference cases, “it ‘does not

create a remedy for medical malpractice,’”536 and “‘purely medical decisions ... do not

ordinarily fall within the scope of the ADA or the Rehabilitation Act.’”537 On the other hand,

as the Court noted in Cleveland v. Gautreaux:

        Despite this body of law, however, a contrary principle controls in
        accommodations cases: in case after case, “the Fifth Circuit has held that a
        defendant's failure to make the reasonable modifications necessary to
        adjust for the unique needs of disabled persons can constitute intentional
        discrimination under the ADA.” Hacker, 2016 U.S. Dist. LEXIS 73014, at
        *40, 2016 WL 3167176, at *13 (citing Melton v. Dall. Area Rapid Transit,
        391 F.3d 669, 672 (5th Cir.2004), and Garrett v. Thaler, 560 Fed.Appx. 375,
        382 (5th Cir.2014)). As one court explained, “failure to make reasonable
        accommodations to the needs of a disabled prisoner may have the effect of
        discriminating against that prisoner because the lack of an accommodation
        may cause the disabled prisoner to suffer more pain and punishment than
        non-disabled prisoner.” McCoy v. Tex. Dep't of Crim. Justice, No. C–05–
        370, 2006 WL 2331055, at *7 (S.D.Tex. Aug. 9, 2006); see also United
        States v. Georgia, 546 U.S. 151, 157, 126 S.Ct. 877, 880–81, 163 L.Ed.2d
        650, 658 (2006). In fact, “where the defendant otherwise had knowledge of
        the individual's disability and needs but took no action,” not even the failure
        to expressly request a specific accommodation (or modification) fatally
        undermines an ADA claim. Greer v. Richardson Indep. Sch. Dist., 472
        Fed.Appx. 287, 296 (5th Cir.2012); see also Borum v. Swisher Cnty., No.



and activities enjoyed by all, not a general federal cause of action for challenging the medical treatment of
their underlying disabilities”)).
534
     No. 3:14-00063-JWD-EWD, 2016 WL 3167176, at *19 (M.D. La. June 6, 2016)(quoting Simmons v.
Navajo Cnty., Ariz., 609 F.3d 1011, 1022 (9th Cir. 2010)).
535
    Id. (citing Grzan v. Charter Hosp. of Nw. Ind., 104 F.3d 116, 121, 123 (7th Cir. 1997) (as to Section 504);
Bryant v. Madigan, 84 F.3d 246, 249 (7th Cir. 1996) (as to the ADA); see also, e.g., Kiman v. N.H. Dep't of
Corr., 451 F.3d 274, 284 (1st Cir. 2006) (emphasizing that “courts have differentiated ADA claims based
on negligent medical care from those based on discriminatory medical care”); Lesley v. Chie, 250 F.3d 47,
55 (1st Cir. 2001) (“[A] plaintiff's showing of medical unreasonableness [under the Rehabilitation Act] must
be framed within some larger theory of disability discrimination.”)).
536
    Id. (quoting Bryant, 84 F.3d at 249).
537
    Id. (quoting Fitzgerald v. Corr. Corp. of Am., 403 F.3d 1134, 1144 (10th Cir. 2005)).
Document Number: 52892
                                                                                             Page 110 of 124


                                                                                                   23-30825.22508
         Case:3:15-cv-00318-SDD-RLB
        Case    23-30825    Document: 113-1 Page:
                                       Document 59440603/31/21
                                                         Date Filed:
                                                                Page01/11/2024
                                                                     111 of 124




           2:14–CV–127–J, 2015 WL 327508, at *9 (N.D.Tex. Jan. 26, 2015); Hinojosa
           v. Livingston, 994 F.Supp.2d 840, 843–44 (S.D.Tex.2014).538

           Plaintiffs failed to carry their burden in proving that LSP systemically fails to

accommodate disabled inmates with auxiliary and/or assistive devices. In light of the

Court’s findings of fact set forth above, the Court finds that most of the evidence Plaintiffs

presented on this issue demonstrates a disagreement with medical treatment and/or

dissatisfaction with not receiving a preferred accommodation, rather than blatant failures

to accommodate in the provisions of such aids/devices.

                           b.      Work Assignments/Duty Status

           “A ‘duty status’ is a written designation assigned by a prison medical doctor

indicating an inmate's physical or mental ability to perform hard labor in accordance with

his sentence. Duty statuses are generally assigned by physicians following a medical

evaluation, and they are subject to change depending on changes in the medical

condition of a particular inmate. Duty statuses may range from no duty (indicating a need

for bed rest), to light duty or regular duty with restrictions, and finally to regular duty

without restrictions (indicating the inmate is capable of performing any and all hard

labor).”539

           Although the inmate testimony and evidence presented by Plaintiffs regarding

failures to accommodate disabled inmates in work assignments and duty statuses failed

to demonstrate a violation of the ADA, the Court notes that this is not because Plaintiffs

failed to establish that certain inmates suffered from a disability, as argued by Defendants

regarding diabetes and asthma. Notably, and contrary to Defendants’ contentions and


538
      198 F.Supp.3d 717, 746 (M.D. La. 2016).
539
      Armant v. Stalder, 287 Fed. Appx. 351, 352 n. 1 (5th Cir. 2008).
Document Number: 52892
                                                                               Page 111 of 124


                                                                                    23-30825.22509
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59440703/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   112 of 124




outdated jurisprudence, both diabetes and asthma can be considered disabilities under

the ADA. “The ADA Amendments Act of 2008 (“ADAAA”) essentially broadened the

definition of ‘disability’ to make it easier for an individual seeking protection under the ADA

to establish that he or she has a disability.540 The ADAAA did not alter the definition of

disability, but it added provisions 42 U.S.C. § 12102(2)-(4) to supersede cases that

interpreted the scope of ‘disability’ narrowly.”541 Under these amendments, the term

“‘disability’ now includes an impairment that is episodic or in remission if it would

substantially limit a major life activity when active; examples include epilepsy,

hypertension, asthma, diabetes, major depression, bipolar disorder, schizophrenia, and

cancer.”542 The Fifth Circuit has noted that diabetes is a qualifying disability affecting the

endocrine system.543

        Nevertheless, pursuant to the facts found above, Plaintiffs failed to demonstrate a

systemic ADA violation in the failure to accommodate disabled inmates in work

assignments and duty statuses.

                                     c. Dietary Accommodations

        While the ADA clearly requires dietary accommodations where an inmate’s

disability warrants,544 Plaintiffs failed to demonstrate more than two instances where such

needs at LSP were ostensibly unmet. Thus, the evidence presented failed to demonstrate



540
    McNeal v. Louisiana Department of Public Safety and Corrections, No. 20-312-JWD-EWD, 2021 WL
359737, at *13 (M.D. La. Feb. 2, 2021)(citing Neely v. PSEG Texas, Ltd. P'ship, 735 F.3d 242, 245–46 (5th
Cir. 2013)).
541
    Id. (citing Neely, 735 F.3d 245).
542
    Weed v. Sidewinder Drilling, Inc., 245 F.Supp.3d 826, 834 (N.D. Tex. 2017)(citing ADA Amendments
Act of 2008, §§ 4, § 3(4)(D), 122 Stat. 3553, 3555; 29 C.F.R. § 1630(j)(5))(emphasis added).
543
    Marlowe v. LeBlanc, No. 18-00063-BAJ-EWD, 2020 WL 6276956, at *10 (M.D. La. Oct. 26, 2020)(citing
Clark v. Champion Nat'l Sec., Inc., 952 F.3d 570, 578 n.15 (5th Cir. 2020)).
544
    See e.g., id., 2020 WL 6276956 at *10-*11.
Document Number: 52892
                                                                                        Page 112 of 124


                                                                                              23-30825.22510
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59440803/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   113 of 124




a general, systemic failure by LSP to accommodate disabled inmates’ dietary restrictions.

However, the Court rejects Defendants’ contention that diabetes is not disability subject

to a dietary accommodation as contradicted by the jurisprudence set forth above.

                                d. Disability Accessible Transportation

        "Because public entities must make modifications that are necessary to avoid

discrimination on the basis of disability, liability does not depend on evidence of

purposeful discrimination.”545 Rather, “a plaintiff must simply show that ‘but for’ his

disability, he would not have been deprived of the services or benefits he desired.546 In

the prison context, failure to accommodate the needs of a disabled prisoner is

discrimination if it causes the disabled prisoner to suffer more pain and punishment than

non-disabled prisoners.”547

        Defendants misconstrue this Court’s holding in Miller v. Chapman548 by arguing

that this Court held that “[t]here is no affirmative obligation under the ADA to transport

disabled persons in handicap-accessible vehicles.”549 What the Court actually held was

that, at the Rule 12(b)(6) stage, the plaintiff’s argument that “LSP has a responsibility

under the law to provide a handicapped equipped van to transport handicapped inmates




545
    Coker v. Dallas County Jail, No. 3:05-CV-005-M (BH), 2009 WL 1953038, at *17 (N.D. Tex. Feb. 25,
2009)(citing Patterson v. Kerr County, No. SA-05-CA-0626-RF, 2007 WL 2086671, at *7 (W.D.Tex. July
18, 2007)).
546
    Id. (citing Patterson at *7)(citing Wisconsin Cmty. Servs., Inc. v. City of Milwaukee, 465 F.3d 737, 752
(7th Cir.2006))).
547
    Id. (citing McCoy v. Tex. Dep't of Crim. Justice, 2007 WL 2331055, at *7 (S.D.Tex. Aug. 9, 2006) (citing
U.S. v. Georgia, 546 U.S. 151, 157, 126 S.Ct. 877, 163 L.Ed.2d 650 (2006) (“[I]t is quite plausible that the
alleged deliberate refusal of prison officials to accommodate [the inmate's] disability-related needs in such
fundamentals as mobility, hygiene, medical care, and virtually all other prison programs constituted
‘exclu[sion] from participation in or ... deni[al of] the benefits of’ the prison's ‘services, programs, or
activities.’”))).
548
    No. 13-00367-SDD, 2014 WL 2949287 (M.D. La. June 30, 2014).
549
    Rec. Doc. No. 556 at 167.
Document Number: 52892
                                                                                            Page 113 of 124


                                                                                                 23-30825.22511
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59440903/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   114 of 124




safely” was “alone [] insufficient to support a claim of discrimination based on Plaintiff's

disability arising under the ADA and the RA.”550 The Court ruled so because the plaintiff

failed to plead any supporting factual allegations with this statement; however, the Court

granted the plaintiff leave to amend his complaint.551 Further, the Court disagrees with

the notion that LSP does not have an affirmative obligation to accommodate disabled

inmates in safe transportation, particularly when the need for such accommodation is

readily known without the need for a request.

        In Reyes v. Razor, a disabled, wheelchair-bound inmate sued the prison under the

ADA and RA alleging he was discriminated against on the basis of his disability by the

prison’s failure to provide a handicap bus to transport him on one occasion.552 The court

dismissed the plaintiff’s ADA/RA claims, noting that he pled no facts to show that the

prison “systemically denies handicap accessible transportation for inmates with

disabilities.”553

        In Allah v. Goord, the court maintained a claim brought by an inmate against the

prison that allegedly violated the ADA by transporting him in an unsafe vehicle.554 The

plaintiff alleged that the prison knew or should have known of the dangers wheelchair-

bound prisoners are exposed to when they are transported in an unsafe vehicle; yet,

despite this knowledge, the prison allegedly failed to remedy the unsafe transportation

conditions by providing training, supervision or new equipment to prison personnel. The

plaintiff further argued that this policy was “motivated by ill will or animus towards


550
    Miller, 2014 WL 2949287, at * 3.
551
    Id.
552
    No. 3:16-CV-0314, 2018 WL 3632100, at *5 (S.D. Tex. July 30, 2018).
553
    Id.
554
    405 F.Supp.2d 265 (S.D. N.Y. 2005).
Document Number: 52892
                                                                             Page 114 of 124


                                                                                  23-30825.22512
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59441003/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   115 of 124




prisoners with disabilities who require a wheelchair for mobility”555 because “prisoners

who do not require a wheelchair for mobility are transported to outside medical providers

in a safe manner.”556 The court found that the plaintiff stated a claim under the ADA.

        Nevertheless, based on the findings of fact set forth above, the Court cannot

conclude that Plaintiffs herein carried their burden of demonstrating sufficient evidence to

show a systemic denial of transportation accommodations that would support class-wide

injunctive relief on this issue. The Court maintains, however, that LSP does have the

obligation under the ADA and RA to accommodate disabled inmates in transportation in

instances where the need is readily known or knowable, without a formal request.557

Danny Prince’s testimony reinforces that LSP would not transport inmates in need of the

handicap van if it was not available, and the inmates call-out would be rescheduled,558

resulting in an unconstitutional delay of medical care under the Eighth Amendment but

not disability discrimination.

                                      e. Discipline Accommodations

        The Court acknowledges that “[m]aintenance of prison security is a legitimate

function of prison officials, who must be accorded broad discretion in that function.”559



555
    Id. at 276.
556
    Id. at 279.
557
    The Court understands that this determination still requires evaluation on a case-by-case basis.
558
    The Court acknowledges this testimony cuts both ways – the lack of availability of a handicap van caused
inmates in need of care to suffer delays; however, on the issue of accommodating disabled inmates in
transportation, it demonstrates an acknowledgment that such an accommodation is mandated for disabled
inmates.
559
     Williamson v. Larpenter, 2019 WL 3719761, at *12 (E.D. La. July 15, 2019)(citing Waganfeald v.
Gusman, 674 F.3d 475, 485 (5th Cir. 2012), petition for cert. filed, 81 U.S.L.W. 3064 (U.S. July 18, 2012)
(No. 12-85) (citing Whitley v. Albers, 475 U.S. 312, 322 (1986); Bell v. Wolfish, 441 U.S. 520, 546–47
(1979))(“[S]ecurity considerations are peculiarly within the province and professional expertise of
corrections officials, and, in the absence of substantial evidence in the record to indicate that the officials
have exaggerated their response to these considerations, courts should ordinarily defer to their expert
judgment in such matters.”) (quotation omitted)).
Document Number: 52892
                                                                                             Page 115 of 124


                                                                                                   23-30825.22513
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59441103/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   116 of 124




However, a prison must evaluate a disabled inmate's needs and the accommodations

necessary to ensure reasonable access to prison services, and failure to do so violates

the ADA and RA as a matter of law.560 This obligation to provide accommodations applies

to the discipline of disabled inmates, as well:           “A failure to provide a reasonable

accommodation can occur where a correctional officer could have used less force or no

force during the performance of his or her penological duties with respect to a disabled

person. A failure to provide a reasonable accommodation, or discrimination by reason of

disability, constitutes a violation of the ADA[.]”561

       The Ninth Circuit has held that the second element of this test can be
       satisfied where a law enforcement officer could have used less force or no
       force during the performance of his law-enforcement duties with respect to
       a disabled person. See Sheehan v. City & Cty. of San Francisco, 743 F.3d
       1211, 1232-33 (9th Cir. 2014), rev'd on other grounds sub nom., City & Cty.
       of San Francisco, Calif. v. Sheehan, 575 U.S. 600 (2015) (holding that a
       failure to reasonably accommodate a person's disability in the course of an
       investigation or arrest by using unnecessary force, causing the person to
       suffer “greater injury or indignity in that process than other arrestees,” gives
       rise to a claim under § 12132, and that a reasonable jury could conclude
       that a police officer's failure to use less force or no force during an arrest of
       a person with mental illness could constitute a failure to provide a
       reasonable accommodation in violation of § 12132); Vos v. City of Newport
       Beach, 892 F.3d 1024, 1037 (9th Cir. 2018), cert. denied sub nom. City of
       Newport Beach, Cal. v. Vos, 139 S. Ct. 2613 (2019) (same). When applied
       in the prison context, it follows that the second element of a § 12132 claim
       can be satisfied where a correctional officer could have used less force or
       no force during the performance of his or her penological duties with respect
       to a disabled person.562

       From the trial evidence, the Court concludes that the ADA Coordinator and medical

staff at LSP employ a completely “hands off” approach to discipline, even as it relates to

the discipline of disabled inmates. In the Court’s view, this violates the ADA and RA. The


560
    Pierce v. District of Columbia, 128 F.Supp.3d 250, 271–72 (D.D.C. 2015).
561
    Armstrong v. Newsom, No. 94-cv-02307 CW, 2021 WL 933106, at *3 (N.D. Cal. Mar. 11, 2021).
562
    Id. at *25.
Document Number: 52892
                                                                                    Page 116 of 124


                                                                                         23-30825.22514
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59441203/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   117 of 124




Court finds that the lack of medical oversight in disciplinary decisions for disabled inmates

creates a serious risk that disabled inmates will be disciplined in the same manner as

non-disabled inmates, without taking into consideration any accommodations in discipline

that may be warranted by a disabled inmate’s medical condition(s).

        4.       Exclusionary Policies

        Numerous courts have held that prisons must provide disabled inmates access to

work assignments and recreational services; they are not to be excluded simply because

they are disabled.563

                         a.       Hobby Craft

        On its face, the hobby craft policy does constitute a blanket denial of access for

disabled inmates; however, as applied, disabled inmates can apply for hobby craft, albeit

through the ARP process. The Court finds that this process does not violate the ADA

because all inmates at LSP must apply for the privilege of hobby craft. Thus, the Court

does not find that the hobby craft program is discrimination because of an inmate’s

disability. Defendants presented credible evidence that exceptions to the exclusionary

policy can be made, and are made, where appropriate, after evaluation by medical staff.

The two examples Plaintiffs presented are insufficient to carry their burden. As to C.F.,

the ARP records regarding his request to participate in hobby shop undermine Plaintiffs’


563
    See Holmes, 311 F.R.D. at 227 (“Numerous other courts, including in this circuit, have permitted
prisoners to bring Title II ADA claims related to job assignments. See Jaros, 684 F.3d at 673 (permitting
plaintiff to proceed with his Rehabilitation Act claim that IDOC prevented him from participating in work
release program because of his cane); Hale v. King, 642 F.3d 492, 499 (5th Cir.2011) (finding the plaintiff's
allegation that the defendant prevented him from working in a prison kitchen because of his disability stated
a claim under Title II of the ADA); Neisler, 2015 WL 998439, at *5 (allowing prisoner to pursue an
employment-related claim under Title II of the ADA); Muhammad v. Randle, 9 C 1014, 2010 WL 2680708,
at *2 (S.D.Ill. July 2, 2010) (allowing prisoner to pursue Title II ADA claim related to prison work); see also
Love, 103 F.3d at 560 (affirming verdict under the ADA in favor of prisoner who was denied access to the
prison's work programs))).
Document Number: 52892
                                                                                             Page 117 of 124


                                                                                                   23-30825.22515
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59441303/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   118 of 124




argument that denials are perfunctorily given without medical assessment of safe

participation.     Rather, the records indicated medical conditions for which it was

reasonable for a medical professional to determine whether C.F.’s participation in hobby

craft was appropriate, and the records demonstrate that the medical staff evaluated C.F.’s

medical conditions when considering his request. Thus, the Court finds that Plaintiffs

failed to present sufficient evidence to establish an ADA violation as to access to hobby

craft. Further, the Court notes that it is not the role of the Court to second-guess the

medical decisions and treatment protocols determined by medical staff for such

programs; rather, under the ADA, the Court is only evaluating whether the entire sub class

of disabled inmates were systemically denied access to hobby shop because of their

disabilities. This was not proven.

                               b. Duty Status/Work Release Program

        In Yeskey, the Supreme Court noted that “[m]odern prisons provide inmates with

many recreational activities, medical services, and educational and vocational programs,

all of which at least theoretically benefit the prisoners and any of which disabled prisoners

could be ‘excluded from participation in.”564 Another section of this Court denied summary

judgment in Guy v. LeBlanc, where a hearing-impaired inmate asserted that the prison

violated the ADA and RA by prohibiting him from (1) using the teletypewriter phone, (2)

obtaining a paying job, (3) participating in sports, (4) participating in hobbycraft, and (5)




564
    524 U.S. at 210 (internal quotation and parenthetical marks omitted). See also McGuire v. Lafourche
Parish Work–Release Facility, No. 09-6755, 2009 WL 4891914, *6 (E.D.La. Dec. 4, 2009)(deferring for
further development the inmate plaintiff's claim regarding an alleged ADA violation arising from denial of
participation in a work-release program).
Document Number: 52892
                                                                                         Page 118 of 124


                                                                                               23-30825.22516
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59441403/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   119 of 124




participating in rodeo.”565      The Court noted that “[t]he implementing regulations of the

ADA forbid the Department from

        impos[ing] or apply[ing] eligibility criteria that screen out or tend to screen
        out an individual with a disability or any class of individuals with disabilities
        from fully and equally enjoying any service, program, or activity, unless such
        criteria can be shown to be necessary for the provision of the service,
        program, or activity being offered.566

        In evaluating the plaintiff’s complaint about access to the TTY phone, the Court

noted that the defendant’s policy regarding TTY phones excluded use “unless the

prisoner shows ‘profound hearing loss that keeps him from utilizing a telephone with an

amplified headset.’”567       The Court ruled that “a reasonable jury could find that the

Department's ‘profound hearing loss’ standard creates an ‘eligibility criteria’ that tends to

‘screen out’ a class of hearing-impaired persons whose impairments do not rise to the

level of ‘profound hearing loss.’”568

        As to the plaintiff’s exclusion from incentive pay, the Court rejected the defendant’s

argument that it denied the plaintiff’s access to incentive pay jobs based on “classification

decision” and not discrimination.569 The Court noted that “Louisiana law requires that the

Department ‘provide employment opportunities and vocational training for all inmates,

regardless of gender, consistent with available resources, physical custody, and

appropriate classification criteria.’570 ‘Classification of prisoners is a matter left to the




565
    400 F.Supp.3d 536, 543 (M.D. La. 2019).
566
    28 C.F.R. § 35.130(b)(8). The Court notes that this section also applies to hobby craft where, on its
face, the policy screens out all disabled inmates. Nonetheless, as set forth above, because hobby craft is
a privilege, ostensibly all inmates, disabled or not, must apply and are screened for participation.
567
    Guy, 400 F.Supp.3d at 543.
568
    Id. (quoting 28 C.F.R. § 35.130(b)(8)).
569
    Id. at 543-544.
570
    Id. at 544 (quoting La. Rev. Stat. § 15:832(A)).
Document Number: 52892
                                                                                         Page 119 of 124


                                                                                               23-30825.22517
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59441503/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   120 of 124




discretion of prison officials.’”571 The Court rejected the defendants’ motion on this issue,

finding:

        The record reflects that the Department housed Guy in “working cell blocks”
        because he received disciplinary violations. (Doc. 19-8 at p. 3). In a “working
        cell block,” offenders are “automatically assigned to the field.” (Doc. 19-4 at
        p. 154). Because of his “no field” duty status, Guy could not perform paying
        field work. (Doc. 18-10). But his duty status is attributable to his hearing
        impairment; so it is his impairment—not his history of disciplinary
        violations—that ultimately made him ineligible for a paying job, despite his
        undisputed ability to perform some paying work at Angola. (Docs. 21-2 at ¶
        13; 27-1 at ¶ 13).

        Accordingly, viewing the facts and drawing all reasonable inferences in
        Guy's favor, the Court concludes that a reasonable jury could find that the
        Department violated the ADA and RA by denying Guy incentive pay for a
        nine-month period from 2016–2017.572

        Turning to sports, the defendant claimed it did not violate the ADA or RA in denying

the plaintiff access to sports “because safety – not discrimination – accounts for the

denial.”573 The Court also rejected this argument, finding:

        As a public entity, the Department may “impose legitimate safety
        requirements necessary for the safe operation of... services, programs, or
        activities.” 28 C.F.R. § 35.130(h). But it “must ensure that its safety
        requirements are based on actual risks, not on mere speculation,
        stereotypes, or generalizations about individuals with disabilities.” Id.

        The testimony of Angola's medical director, Dr. Randy Lavespere, tends to
        show that the Department's “safety requirements” are based on
        generalizations and speculation—not an individualized assessment of
        Guy's hearing impairment. See 28 C.F.R. § 35.130(h). For example, Dr.
        Lavespere testified, categorically, that he “won't make an adjustment for
        sports.” (Doc. 19-4 at p. 69). Worse, he testified that Guy's hearing
        impairment places him at an “increased risk” playing the sport of
        “pickleball”—a non-contact sport he admitted not knowing. (Docs. 19-4 at
        pp. 71, 90).574


571
    Id. (quoting McCord v. Maggio, 910 F.2d 1248, 1250 (5th Cir. 1990)).
572
    Id.
573
    Id.
574
    Id.
Document Number: 52892
                                                                               Page 120 of 124


                                                                                    23-30825.22518
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59441603/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   121 of 124




        Similarly, the Court rejected the defendant’s contention that it did not discriminate

against the plaintiff in denying him access to hobbycraft because it argued “its medical

director ‘would potentially allow’ Guy to participate in ‘certain’ hobbycraft activities.”575

The Court stated: “The contention lacks merit. A public entity's assurance that it will not

violate the ADA and RA in the future does not immunize it from liability for past

violations.”576

        Guy testified that he would like to participate in the prison's leather-working
        program. (Doc. 19-3 at pp. 50). To that end, he requested access to leather-
        working and other hobbycraft activities. (Doc. 19-7 at pp. 3–4). The
        Department denied the request without explaining why Guy cannot safely
        perform these activities. (Id. at p. 5). Angola's medical director, Dr.
        Lavespere, even testified that certain hobbycraft activities, such as leather
        work and painting, pose “no inherent danger to [Guy].” (Doc. 19-4 at p. 69).
        So it is unclear what motive—other than disability discrimination—drove the
        Department's denial of Guy's request to participate in hobbycraft
        activities.577

        What is clear from the Guy decision is that a prison’s implementation of policies

that creates an “eligibility criteria” that tends to “screen out” a class of persons based

solely on their medical conditions and/or disabilities is a violation of the ADA’s

implementing regulations. Defendants cannot automatically exclude disabled inmates

from various programs and activities based solely on their disabled or medical status and

then justify such exclusion by arguing they will consider exceptions where the inmate

makes a request. This practice is the opposite of what the ADA and RA require.

        Plaintiffs presented uncontroverted evidence that certain disabled inmates are

issued “no duty” status work assignments based solely on their disabilities, which



575
    Id. at 545.
576
    Id. (citing 42 U.S.C. § 12132; 29 U.S.C. § 794(a)).
577
    Id.
Document Number: 52892
                                                                               Page 121 of 124


                                                                                    23-30825.22519
       Case:3:15-cv-00318-SDD-RLB
      Case    23-30825    Document: 113-1 Page:
                                     Document 59441703/31/21
                                                       Date Filed:
                                                              Page01/11/2024
                                                                   122 of 124




precludes them from participating in work release, work assignments, hobby craft, and

other programs. The Court finds that this is a violation of the ADA and implementing

regulations. The Court notes that it is not a violation of the ADA or RA for the prison’s

medical staff to properly evaluate and determine, on a individualized basis, that certain

programs or activities are unsafe for certain inmates; however, a blanket denial or

classification turns the regulations on their head and places the burden on disabled

inmates to demand access to programs that the prison is obligated to provide in the first

place.

IV.      CONCLUSION/INJUNCTIVE RELIEF

         For the reasons set forth above, the Court holds that the Defendants, in their official

capacities, are violating the Eighth Amendment rights of the Plaintiff Class and the ADA

and RA rights of the Plaintiff Subclass. Based on the overwhelming evidence presented

at trial, judgment shall be entered in favor of Plaintiffs following the remedy phase. The

Court shall order injunctive relief regarding the following deficiencies:

         (1) Failing to provide constitutionally adequate clinical care in the following

            particulars: privacy in examinations; lack of routine medical equipment in exam

            rooms; lack of adequate medical records management; lack of clinical hygiene

            and spacing; episodic treatment of complaints;

         (2) Failing to provide adequate medical care with qualified providers at sick call;

         (3) Failing to provide access to medically necessary specialty care in a timely

            manner; failure to schedule and track specialty appointments; failure to comply

            with testing and diagnostic requirements; failure to execute appropriate follow-

            up care ordered by specialty care providers; and failure to coordinate care;
Document Number: 52892
                                                                                 Page 122 of 124


                                                                                      23-30825.22520
     Case:3:15-cv-00318-SDD-RLB
    Case    23-30825    Document: 113-1 Page:
                                   Document 59441803/31/21
                                                     Date Filed:
                                                            Page01/11/2024
                                                                 123 of 124




      (4) Failing to provide constitutionally adequate emergency care in the evaluation

         and assessment of emergencies by qualified providers and failing to timely treat

         and/or transport to hospital for emergent care;

      (5) Failing to provide adequate, qualified staff in infirmary/inpatient care;

      (6) Failing to provide medical leadership and organization in the following

         particulars: lack of meaningful mortality review; use of correctional personnel

         to manage medical decisions; lack of peer review; lack of medical staff

         involvement in budgeting; lack of medical supervision by Dr. Lavespere; and

         failure to maintain proper credentialing records;

      (7) Failing to comply with the ADA and RA in providing disabled inmates access to

         programs and services due to physical and architectural barriers;

      (8) Failing to provide adequately trained, staffed, and safe orderly assistance

         where physical modifications have not been made to provide access; failure to

         provide proper oversight of health care orderlies;

      (9) Failing to comply with LSP’s own ADA Directives in maintaining a qualified ADA

         Coordinator and advisory committee to handle ADA issues;

      (10)   Failing to make efforts to integrate disabled inmates within the spirit of the

         ADA implementing regulations;

      (11)   Failing to adequately train medical staff regarding ADA compliance;

      (12)   Failing to appropriately evaluate and address ADA accommodation

         requests and disability-related grievances;

      (13)   Failing to identify and track disabilities and accommodation requests in a

         meaningful way;
Document Number: 52892
                                                                              Page 123 of 124


                                                                                      23-30825.22521
     Case:3:15-cv-00318-SDD-RLB
    Case    23-30825    Document: 113-1 Page:
                                   Document 59441903/31/21
                                                     Date Filed:
                                                            Page01/11/2024
                                                                 124 of 124




      (14)   Failing to accommodate disabled inmates in applying discipline;

      (15)   Maintaining blanket exclusionary policies for disabled inmates regarding

          access to various services, activities, and programs in violation of the ADA.

      By separate notice, the Court will set a Status Conference to discuss proceeding

to the remedy phase of this matter.

      IT IS SO ORDERED.

      Baton Rouge, Louisiana, this 31st day of March, 2021.


                                              S
                                         ________________________________
                                         SHELLY D. DICK
                                         CHIEF DISTRICT JUDGE
                                         MIDDLE DISTRICT OF LOUISIANA




Document Number: 52892
                                                                            Page 124 of 124


                                                                                23-30825.22522
Case: 23-30825   Document: 113-1   Page: 420   Date Filed: 01/11/2024




                     TAB 8
         Case:
          Case23-30825    Document: 113-1
               3:15-cv-00318-SDD-RLB       Page: 727
                                        Document 421 06/03/22
                                                      Date Filed: 01/11/2024
                                                                Page  1 of 5




                                 UNITED STATES DISTRICT COURT

                                 MIDDLE DISTRICT OF LOUISIANA



JOSEPH LEWIS, JR., ET AL.                                              CIVIL DOCKET

VERSUS                                                               15-318-SDD-RLB

BURL CAIN, ET AL.



                                             RULING

          Before the Court is Defendant’s Motion in Limine to Exclude Expert Testimony of

of Dr. Dora B. Schriro, Ed.D., J.D. (“Dr. Schriro”).1 Plaintiffs filed an Opposition.2 The

Court has considered the law and the arguments of the Parties, and the Motion is DENIED

for the following reasons.

          Defendants urge exclusion of Dr. Schriro arguing that she lacks the qualifications

to render ADA/RA opinions and that her opinions are unreliable and not supported by

facts. In the alternative, Defendants move to exclude: 1) opinions concerning medical

care, including the training and utilization of health care orderlies at LSP; 2) opinions

reached by reliance on statements of unidentified inmates; and 3) opinions and

recommendations for relief on matters beyond the specific ADA violations found by the

Court in its liability ruling.

                                    Dr. Schriro’s Qualifications

          Plaintiffs retained Dr. Dora Schriro to provide opinions “on compliance with and

administration of the Americans with Disabilities Act (ADA), the ADA Amendments Act


1
    Rec. Doc. 699.
2
    Rec. Doc. 701.

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      Case:
       Case23-30825    Document: 113-1
            3:15-cv-00318-SDD-RLB       Page: 727
                                     Document 422 06/03/22
                                                   Date Filed: 01/11/2024
                                                             Page  2 of 5




(ADAAA), and the Rehabilitation Act (RA) at Louisiana State Penitentiary (LSP).”3

Plaintiffs represent that “Dr. Schriro is an expert in correctional administration.”4 Dr.

Schriro testified that “[t]he scope of my expert[ise] is as a correction administrator who

has been involved in system-wide reform, and in this case, as it relates to the ADA.”5

        Defendants argue that “Dr. Schriro does not possess the education, training, or

past experience necessary to provide a reliable opinion in this case concerning

Defendants’ compliance with and administration of ADA.”6 She holds a Doctorate in

Education and Juris Doctorate in Law.7 She has held no position that tasked her with

direct responsibility for ADA compliance.8 Defendants assert that Schriro “has never

previously been qualified as an expert in the area of ADA compliance in any court

proceeding,” and she has not authored any publications which directly address the ADA.9

        A review of her report and CV reveals that Dr. Schriro has held several executive

level administrative and policy making positions within the corrections industry and related

law enforcement and security affiliated fields, which included responsibility “for

implementing and ensuring compliance with state and federal law, including the ADA and

RA.”10 In support of her qualifications to provide opinion testimony on ADA compliance,

Plaintiffs argue that Schriro has experience “creating systems for identifying and

assessing individuals with disabilities; creating a centralized, comprehensive tracking

system; classifying individuals coming into the system and returning to it; and



3
  Rec. Doc. No. 699-2, p. 1.
4
  Rec. Doc. No. 701, p. 1.
5
  Rec Doc. No. 699-3, p. 19, lines 21-23.
6
  Rec. Doc. No. 699-1, p. 4.
7
  Rec. Doc. No. 699-2, p. 26.
8
  Rec. Doc. No. 699-1.
9
  Id. at p. 4.
10
   Rec. Doc. No. 699-2, p. 2.

                                             2
      Case:
       Case23-30825    Document: 113-1
            3:15-cv-00318-SDD-RLB       Page: 727
                                     Document 423 06/03/22
                                                   Date Filed: 01/11/2024
                                                             Page  3 of 5




accommodating disabilities.”11 Her CV discloses extensive publication in subjects related

to design and administration of correctional facilities in a manner to comply with applicable

laws and regulations.12

       The Court finds that Dr. Schriro possesses the education, experience, and

knowledge to provide opinion testimony regarding ADA and RA compliance in a

correctional setting and to offer opinions on remedial measures to facilitate and improve

ADA and RA compliance.

                             Reliability and Bases for Opinions

       Defendants argue that Dr. Schriro’s opinions are both unreliable and speculative.

Defendants claim Dr. Schriro failed to review key evidence “before forming her opinions

in this matter – i.e., the full 30(b)(6) deposition testimony of Warden Falgout; the

deposition testimony of Sharita Spears; the deposition testimony of the two heath care

orderlies deposed; and the ADA requests for accommodations for the Relevant Period.

These deficiencies seriously undermine the reliability of her report.”13 Plaintiffs counter

that “Dr. Schriro personally met with Mr. Hines,” one of the health care orderlies, “as

confirmed by her site inspection notes” and that, although “first part of the 30(b)(6)

deposition [by] Deputy Warden Tracy Falgout was delayed past the deadline for expert

reports, . . . Dr. Schriro reviewed both the transcript of Warden Falgout’s individual

deposition and the available transcript of the second part of his 30(b)(6) deposition.”14

       Defendants further argue that: “For most of the instances in her report where she

references statements of purported issues that were communicated to her by inmates or


11
   Rec. Doc. No. 701, p. 5.
12
   See Rec Doc. No. 699-2, pp. 27-28.
13
   Rec. Doc. No. 699-1, p. 19.
14
   Rec. Doc. No. 701, p. 15.

                                             3
       Case:
        Case23-30825    Document: 113-1
             3:15-cv-00318-SDD-RLB       Page: 727
                                      Document 424 06/03/22
                                                    Date Filed: 01/11/2024
                                                              Page  4 of 5




orderlies, she could not recall the names of any of the people who had provided her this

information[,]”15 which undermines the reliability of Dr. Schriro’s opinions. Dr. Schriro

made contemporaneous notes of her site visit and her discussions with inmates.16 She

testified that she did not take notes on everybody,17 but her site visit notes identified many

of these Class Members by name.18

        She conducted a site visit at LSP on April 6, 7, and 8, 2022, and she interviewed

inmates and reviewed, among other things, LSP and DOC directives and policies,

discovery responses, and deposition testimony.19 The Court finds that Dr. Schriro used

reliable methodology and obtained facts and consulted sufficient data and information to

opine on the issue of whether LSP has made significant changes or improvements to be

in compliance with the ADA and RA.

        Defendants argue that Dr. Schriro’s opinions are not helpful to the Court, as the

trier of fact, arguing that Dr. Schriro does nothing more that state the obvious. Defendants

also argue that she summarizes the Court’s ADA and RA findings and then, by

referencing depositions of the Defendants’ witnesses, concludes that the deficiencies

remain unresolved. Defendants claim that “[m]any of Dr. Schriro’s ‘findings,’ . . . were

based solely upon the Court’s prior findings . . . in conjunction with her noting merely that

Defendants recently disclosed that no changes had occurred.”20 Defendants argue that

“ADA expertise is not required for the Court to connect those dots,” and many of Dr.

Schriro’s findings merely “parrot” the Court’s liability findings. 21 Absent stipulation by the


15
   Rec. Doc. No. 699-1, p. 7.
16
   Id. at pp. 6-7.
17
   Rec. Doc. No. 699-3, p. 49, lines 1-5.
18
   See Rec. Doc. No. 700-1 (SEALED).
19
   Rec. Doc. No. 699-2, pp. 4-5.
20
   Rec. Doc. No. 699-1, p. 9.
21
   Id. at p. 5.

                                              4
         Case:
          Case23-30825    Document: 113-1
               3:15-cv-00318-SDD-RLB       Page: 727
                                        Document 425 06/03/22
                                                      Date Filed: 01/11/2024
                                                                Page  5 of 5




parties that no changes have been made to LSP’s ADA compliance policies and

practices, the interests of efficiency and judicial economy will be served by permitting the

testimony.

           The Defendants alternative motion to exclude specific opinion testimony is

DENIED for the following reasons.

1.        Motion to exclude opinions concerning medical care, including the training and
          utilization of health care orderlies at LSP: The Court found that the “[t]he orderly
          program creates an unnecessary risk of harm to disabled and vulnerable
          inmates.”22 Accordingly, the Court will permit opinion testimony from Dr. Schriro
          regarding orderly assistance to inmates with disabilities.

2.        Motion to exclude opinions reached by reliance on statements of unidentified
          inmates: For the reasons stated above, the Court denies the Motion to exclude
          opinions that rely on inmate interviews and will afford these opinions the weight
          that is appropriate.

3.        Motion to exclude opinions and recommendations for relief on matters beyond the
          specific ADA violations found by the Court in its liability ruling: The Court has
          reviewed the report of Dr. Schriro and finds that it is confined to the specific areas
          of ADA and RA noncompliance articulated by Court in its liability Ruling.

          Accordingly, Defendant’s Motion in Limine to Exclude Expert Testimony of Dr.

Dora B. Schriro, Ed.D., J.D.23 is DENIED.

          IT IS SO ORDERED.

          Baton Rouge, Louisiana, this 3rd day of June, 2022.



                                              S
                                             ________________________________
                                             SHELLY D. DICK
                                             CHIEF DISTRICT JUDGE
                                             MIDDLE DISTRICT OF LOUISIANA



22
     Rec. Doc. No. 594, p. 55.
23
     Rec. Doc. No. 699.

                                                5
Case: 23-30825   Document: 113-1   Page: 426   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 427   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 428   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 429   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 430   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 431   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 432   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 433   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 434   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 435   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 436   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 437   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 438   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 439   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 440   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 441   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 442   Date Filed: 01/11/2024
Case: 23-30825   Document: 113-1   Page: 443   Date Filed: 01/11/2024
     Case: 23-30825    Document: 113-1    Page: 444    Date Filed: 01/11/2024




                        CERTIFICATE OF SERVICE

      On January 11, 2024, this Record Excerpt was served via CM/ECF on all

registered counsel and transmitted to the Clerk of the Court for the U.S. Court of

Appeals for the Fifth Circuit by using the appellate CM/ECF system.

                                            /s/ Connell L. Archey
                                            Connell L. Archey
